Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 1 of 248




                               EXHIBIT B

       Schedule of Assumed Executory Contracts and Unexpired Leases
Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 2 of 248




                             EXHIBIT B-1

                Schedule of Assumed Executory Contracts
                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 3 of 248
Party City Holdco Inc
Amended Schedule of Assumed Contracts
As of May 12, 2023

         Debtor Name             Counterparty Name          Contract ID          Title of Agreement              )   Cure Amount      503(b)(9)       Notice Name      Address                 City   State    ZIP Code
Party City Holdings Inc.    1010data Services LLC            M03982 1010data Services LLC ‐ PCHI ‐ Order                 $23,280.56               ‐ Jeri Allen    432 Park Avenue       New York       NY       10016
                                                                        Form "C"                                                                                  South 15th Floor



Party City Holdings Inc.    22squared, Inc.                  M05766    22squared, Inc ‐ PCHI ‐ Master Services                    ‐               ‐                 1170 Peachtree      Atlanta        GA       30309
                                                                       Agreement and Statement of Work                                                              Street NE, Suite
                                                                                                                                                                    1400

Party City Corporation      2324523 Ontario, Inc dba FAHM    M01691    2324523 O+I5ntario, Inc dba FAHM                           ‐               ‐ Iqbal Khan      100 Mural Street,   Markham ON    Canada   L4B 1J3
                            Technology Partners                        Technology Partners ‐ PCC ‐ Master                                                           Ste 100
                                                                       Services Agreement+I5

Print Appeal, Inc.          4imprint, Inc.                   M01334    4imprint, Inc ‐ Print Appeal ‐ Supply                      ‐               ‐ Jon Hendricks   101 Commerce        Oshkosh        WI       54901
                                                                       Chain Responsibility & Compliance                                                            Street
                                                                       Expectations Agreement

Amscan Inc.                 84.51 LLC; Crossmark, Inc.       M04540    84.51 LLC, Crossmark ‐ Amscan ‐ Broker           $27,150.00                ‐ Bob Corona      100 W 5th Street    Cincinnati     OH       45202
                                                                       Client Data Sharing and Terms of
                                                                       Services Agreement

Party City Corporation      8x8 Inc f/k/a/ Fuze, Inc.        M05294    Fuze Inc‐ PCC‐ Renewal Order Form                $48,000.00                ‐ Frank Hillery   2 Copley Place,     Boston         MA       02116
                                                                                                                                                                    Suite 700,
                                                                                                                                                                    #7

Amscan Inc.                 8x8 Inc f/k/a/ Fuze, Inc.        M05408    Fuze, Inc ‐ Amscan ‐ Order Form                            ‐               ‐ Laurie Harrison 2 Copley Place,     Boston         MA       02116
                                                                       20170214085951‐9                                                                             Suite 700,
                                                                                                                                                                    #7

Amscan Inc.                 8x8 Inc f/k/a/ Fuze, Inc.        M05293    Fuze Inc ‐ PCC‐ Amscan Expansion Order                     ‐               ‐ Frank Hillery   2 Copley Place,     Boston         MA       02116
                                                                       Form                                                                                         Suite 700,
                                                                                                                                                                    #7

Party City Corporation      8x8 Inc f/k/a/ Fuze, Inc.        M05295    Fuze Inc‐ PCC‐ Order Form                                  ‐               ‐ John Milton     2 Copley Place,     Boston         MA       02116
                                                                                                                                                                    Suite 700,
                                                                                                                                                                    #7

Party City Corporation      8x8 Inc f/k/a/ Fuze, Inc.        M05296    Fuze Inc. ‐ PCC ‐ Order Form                               ‐               ‐ John Milton     2 Copley Place,     Boston         MA       02116
                                                                       20210319132725‐4                                                                             Suite 700,
                                                                                                                                                                    #7

Amscan Inc.                 8x8 Inc f/k/a/ Fuze, Inc.        M05421    Fuze, Inc ‐ Amscan ‐ Order Form                            ‐               ‐ Laurie Harrison 2 Copley Place,     Boston         MA       02116
                                                                       20180604124830‐1                                                                             Suite 700,
                                                                                                                                                                    #7

Party City Corporation      8x8 Inc f/k/a/ Fuze, Inc.        M05417    Fuze, Inc ‐ PCHI ‐ Order Form                              ‐               ‐ Laurie Harrison 2 Copley Place,     Boston         MA       02116
                                                                       20170413101619‐14                                                                            Suite 700,
                                                                                                                                                                    #7




                                                                                                                 Page 1 of 75
                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 4 of 248
         Debtor Name              Counterparty Name        Contract ID          Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name        Address                  City   State   ZIP Code
Party City Holdings Inc.   8x8 Inc f/k/a/ Fuze, Inc.        M04241 Fuze, Inc ‐ PCHI ‐ Order Form                                   ‐               ‐ Jacqui Whiting 2 Copley Place,       Boston           MA      02116
                                                                       20220722104955‐6 (Store 1200)                                                                Suite 700,
                                                                                                                                                                    #7

Party City Holdings Inc.   8x8 Inc f/k/a/ Fuze, Inc.        M05338    Fuze, Inc ‐ PCHI ‐ Toll Free Number for                      ‐               ‐ Laurie Harrison 2 Copley Place,      Boston          MA       02116
                                                                      CCPA Compliance [Order Form                                                                    Suite 700,
                                                                      20191204125451‐1]                                                                              #7

Amscan Inc.                8x8 Inc f/k/a/ Fuze, Inc.        M05570    Fuze Inc (fka Think Phone Networks Inc)                      ‐               ‐ Jacqui Whiting   2 Copley Place,     Boston          MA       02116
                                                                      ‐                                                                                               Suite 700,
                                                                      Amscan ‐ Master Services Agreement                                                              #7

Party City Holdings Inc.   A.S.G. Staffing, Inc.            M04683    ASG Staffing, Inc ‐ PCHI ‐ Temporary              $29,236.09                 ‐ Ed Plesa         231 W. Grand        Bensenville      IL      60106
                                                                      Employee Staffing Agreement and                                                                 Avenue, Suite 102
                                                                      Statement of Work

Party City Holdings Inc.   Abacus Health Solutions                    Provide incentives to eligible employees                     ‐               ‐ Migdon Allen     900 Route 9 N,      Woodbridge       NJ      07095
                                                                      with Diabetes to reduce long term plan                                         Associates       Suite 503
                                                                      costs

Party City Holdings Inc.   Abacus Health Solutions, LLC     M05308    Abacus Health Solutions, LLC ‐ PCHI ‐                        ‐               ‐                  1210 Pontiac        Cranston         RI      02920
                                                                      Business Associate Agreement &                                                                  Avenue
                                                                      Diabetes Services Agreement

Amscan Inc.                Abel Womack, Inc.                M03708    Abel Womack ‐ Amscan ‐ Monthly                   $131,006.42                 ‐ Kim Sussman      1 International Way Lawrence        MA       01843
                                                                      Rental Agreement & Equipment Lease
                                                                      MC05122022‐2 [Chester]

Amscan Inc.                Abel Womack, Inc.                M03723    Abel Womack ‐ Amscan ‐ Proposal                              ‐               ‐ Kim Sussman      1 International Way Lawrence        MA       01843
                                                                      398628‐1 [26 Orderpickers]



Amscan Inc.                Abel Womack, Inc.                M03725    Abel Womack ‐ Amscan ‐ Proposal                              ‐               ‐ Kim Sussman      1 International Way Lawrence        MA       01843
                                                                      398629‐R2 [17 Reach‐Fork Trucks]



Amscan Inc.                Abel Womack, Inc.                M03724    Abel Womack ‐ Amscan ‐ Proposal                              ‐               ‐ Kim Sussman      1 International Way Lawrence        MA       01843
                                                                      435911‐3 [18 Swing Reach Trucks]



Amscan Inc.                Abel Womack, Inc.                M01040    Abel Womack ‐ Amscan, Inc. ‐                                 ‐               ‐ Mary Lynn        140 Rodeo Drive     Edgewood         NY      11717
                                                                      Equipment Lease                                                                Slusher



Party City Corporation     Abston Enterprises, Inc.         M00587    Franchise Agreement with Abston                              ‐               ‐ Emily Morgan     20515 Wind Ridge    Spring           TX      77379
                                                                      Enterprises, Inc. dated 04/03/2021                                                              Lane
                                                                      Store 320

Party City Corporation     Abston Enterprises, Inc.         M00587    Franchise Agreement with Abston                              ‐               ‐ Emily Morgan     20515 Wind Ridge    Spring           TX      77379
                                                                      Enterprises, Inc. dated 04/03/2021 store                                                        Lane
                                                                      175




                                                                                                                 Page 2 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 5 of 248
         Debtor Name             Counterparty Name       Contract ID            Title of Agreement                  )   Cure Amount      503(b)(9)      Notice Name        Address                  City    State    ZIP Code
Party City Corporation     Accurate                                    Temporary Employee Staffing                           $6,490.15               ‐ David Wheeler 7515 Irvine Center    Irvine            CA       92618
                                                                                                                                                                     Dr



Party City Holdings Inc.   Actum II, LLC                  M04441       Actum II, LLC ‐ PCHI ‐ Consulting                   $69,747.22                ‐ Fabian Nuñez    9000 Sunset Blvd,   West Hollywood    CA       90069
                                                                       Agreement                                                                                       Floor 3



Party City Corporation     Acumera, Inc. f/k.a Reliant    M01566       Reliant Info Security, Inc. ‐ PCC ‐ Master                    ‐               ‐ Richard         450 7th Avenue,     New York          NY       10123
                           Security, Inc.                              Services Agreement                                                              Newman          Suite 503



Party City Corporation     Acumera, Inc. f/k/a Reliant    M01916       Reliant Security, Inc ‐ PCC ‐ 2022                            ‐               ‐ Mark Weiner     450 7th Avenue,     New York          NY       10123
                           Security, Inc.                              Renewal Statement of Works [Reliant                                                             Suite 503
                                                                       Platform SAAS & Managed Security
                                                                       Services]
Party City Corporation     Acumera, Inc. f/k/a Reliant    M02552       Reliant Security, Inc ‐ PCC ‐                                 ‐               ‐ Richard         450 7th Avenue,     New York          NY       10123
                           Security, Inc.                              Headquarters and Data Center                                                    Newman          Suite 503
                                                                       Migration Statement of Work

Party City Corporation     Acumera, Inc. f/k/a Reliant    M05504       First Amendment to Acumera Reliant                  $11,250.00                    Bill Morrow   3307 Northland      Austin            TX       78371
                           Security, Inc.                              Master Agreement effective January 1,                                                           Drive,
                                                                       2019                                                                                            suite 500

Party City Holdings Inc.   Addigy, Inc.                   M01041       Addigy, Inc. ‐ PCHI ‐ Master Services                $2,982.48                ‐ Jason Dettbarn 7315 S.W. 87th       Miami             FL       33173
                                                                       Agreement                                                                                      Avenue, Suite 200



Party City Holdings Inc.   Adecco USA, Inc.               M04428       Adecco USA, Inc ‐ PCHI ‐ Temporary                            ‐               ‐                10151 Deerwood       Jacksonville      FL       32256
                                                                       Employee Staffing Agreement and                                                                Park
                                                                       Statement of Work                                                                              Blvd Bldg. 200, Ste.
                                                                                                                                                                      400
Party City Corporation     Adobe Inc.                     M01890       Adobe Inc ‐ PCC ‐ Amendment to                      $12,106.19                ‐ Anthony Miller 345 Park Avenue      San Jose          CA       95110
                                                                       Contract 00858591 [DR3201354]



Party City Corporation     Adobe Inc.                     M01889       Adobe Inc ‐ PCC ‐ Sales Order                                 ‐               ‐ Legal           345 Park Avenue     San Jose          CA     95110‐2704
                                                                       DR2805264 with General Terms                                                    Department
                                                                       (Contract 00858591)

Party City Corporation     Adobe Inc.                     M03996       Adobe Inc ‐ PCC ‐ Sales Order                                 ‐               ‐ Garrett         345 Park Avenue     San Jose          CA     95110‐2704
                                                                       DR3154709 with Terms and Conditions                                             Holbrook
                                                                       (Adobe Contract 00774651)

Party City Corporation     ADP Wisley                                  Service Agreement                                             ‐               ‐ Attn: Legal Dept 1 ADP BLVD         Roseland          NJ       07068




Party City Corporation     ADT Commercial                 M04044       ADT ‐ PCC ‐ Services Rider [Naperville]             $78,561.33                ‐ Edward Plesa    1 Town Center Rd    Boca Raton        FL       33486




                                                                                                                    Page 3 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 6 of 248
         Debtor Name             Counterparty Name      Contract ID           Title of Agreement         ) Cure Amount          503(b)(9)      Notice Name      Address                    City   State   ZIP Code
Party City Holdings Inc.   Advanced Wireless             M04361 Northfield Telecommunications, Inc dba         $27,262.12                   ‐ Kenneth J.   20809 Kensington       Lakeville        MN      55044
                           Communications; Northfield               Advanced Wireless Communications ‐                                        Coons        Blvd
                           Telecommunications, Inc.                 PCHI ‐ Master Services Agreement and
                                                                    Statement of Work
Party City Holdings Inc.   Advantax Inc.                 M04896 Advantax Inc ‐ PCHI ‐ Master Services                    ‐                  ‐ Andy King      2500 Westfield       Elgin            IL      60124
                                                                    Agreement and Statement of Work 1                                                        Drive



Party City Holdings Inc.   Advent Creative               M01050    Advent Creative ‐ PCHI ‐ Staffing                        ‐               ‐ Sue Miller     7101 York Ave. S.,   Edina           MN       55435
                                                                   Agreement                                                                                 Suite
                                                                                                                                                             240

Amscan Inc.                Aerotek, Inc.                 M05894    Aerotek, Inc ‐ Amscan ‐ Services                         ‐               ‐                7301 Parkway Drive Hanover           MD       21076
                                                                   Agreement                                                                                 South



Party City Holdings Inc.   Aetna                                   Provide Dental service under PPO and                     ‐               ‐ PHCS /         16 Crosby Drive      Bedford         MA       01730
                                                                   DMO                                                                        Multiplan



Party City Corporation     Aetna                                                                                $156,761.32                 ‐ Attn: Legal Dept 151 Farmington     Hartford         CT      06156
                                                                                                                                                               Avenue



Party City Corporation     Agency Within, LLC            M02977    Agency Within, LLC ‐ PCC ‐ Order Form                    ‐               ‐ Legal          43‐01 22nd St Suite Queens            NY      11101
                                                                   to the Modified DoubleClick Advertising                                    Department     602
                                                                   Platform Agreement

Party City Holdings Inc.   Aggressive Energy, LLC        M04712    Aggressive Energy, LLC ‐ PCHI ‐                          ‐               ‐                78 Rapelye Street    Brooklyn         NY      11231
                                                                   Electricity Sales Agreement



Party City Holdings Inc.   AGP LLC                                 AGP LLC Supply Agreement                                 ‐               ‐ Matthew        91 Montvale          Stoneham        MA       02180
                                                                                                                                              D’Auria        Avenue,
                                                                                                                                                             Suite 315

Party City Corporation     AGP, LLC                      M03365    AGP, LLC ‐ PCC ‐ Master Industrial Gas                   ‐               ‐ Matthew        24 Vine Street       Everett         MA       02149
                                                                   Supply Agreement (Bulk), Exhibit A                                         D’Auria



Party City Corporation     AGP, LLC                      M03366    AGP, LLC ‐ PCC ‐ Helium Cylinder Supply      $746,972.29                 ‐ Matthew        91 Montvale          Stoneham        MA       02180
                                                                   Agreement                                                                  D’Auria        Avenue,
                                                                                                                                                             Suite 315

Party City Corporation     AGP, LLC                      M02398    AGP, LLC ‐ PCC ‐ Helium Supply                           ‐               ‐ Matthew        91 Montvale          Stoneham        MA       02180
                                                                   Agreement                                                                  D’Auria        Avenue,
                                                                                                                                                             Suite 315

Party City Corporation     Aiko Party, Inc.              M00532    Franchise Agreement with Aiko Party,                     ‐               ‐ Jason Craig    9760 Birch Canyon San Diego           CA      92126
                                                                   Inc. dated 08/29/2011                                                                     Place




                                                                                                             Page 4 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 7 of 248
         Debtor Name              Counterparty Name          Contract ID           Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name       Address             City         State   ZIP Code
Party City Corporation     Aiko, Inc.                         M00529 Franchise Agreement with Aiko, Inc.                             ‐               ‐ Jason Craig   9760 Birch Canyon San Diego             CA      92126
                                                                         dated 10/06/2010                                                                            Place



Party City Holdings Inc.   Airgas USA, LLC                    M04190    Airgas USA, LLC ‐ PCHI ‐ Letter to                $54,957.00                 ‐ Jeff Smith       N112 W13333         Germantown       WI      53022
                                                                        Remove Stores                                                                                   Mequon
                                                                                                                                                                        Rd

Party City Holdings Inc.   Airgas USA, LLC                    M05326    Airgas USA, LLC ‐ PCHI ‐ Letter to                 $3,564.64                 ‐ Jeff Smith       N112 W13333         Germantown       WI      53022
                                                                        Remove Stores                                                                                   Mequon Road



Party City Corporation     Airgas USA, LLC                    M02967    Airgas USA, LLC ‐ PCC ‐ Strategic                            ‐               ‐ Dave Domach      N112 W13333         Germantown       WI      53022
                                                                        Accounts Sales Agreement                                                                        Mequon Road



Party City Holdings Inc.   Airgas USA, LLC                    M04464    Airgas USA, LLC ‐ PCHI ‐ Letter to                           ‐               ‐ Jeff Smith       N112 W13333         Germantown       WI      53022
                                                                        Remove Stores                                                                                   Mequon Road



Amscan Inc.                Aldi, Inc.                         M01128    Aldi, Inc. ‐ Amscan, Inc. dba Deco Paper                     ‐               ‐ Corporate       1200 N. Kirk Road    Batavia          IL      60510
                                                                        Products ‐ Master Purchase Agreement                                           Buying Director



Party City Corporation     Alert Media, Inc.                  M04466    AlertMedia, Inc ‐ PCHI ‐ Quote [Threat             $3,955.20                 ‐ Garrett Sparling 401 S. 1st Street   Austin           TX      78704
                                                                        Intelligence Tool]                                                                              Suite 1400



Party City Corporation     Alliant                                                                                                   ‐               ‐ Attn: Legal Dept 21255 Burbank Blvd Woodland Hills    CA      91367
                                                                                                                                                                        Suite 220



Party City Corporation     Allied Waste Systems, Inc. dba     M01871    Allied Waste Systems, Inc. dba Republic                      ‐               ‐ Jeffrey J Dill   61 Midland Ave      Wallington       NJ      07057
                           Republic Services                            Services ‐ PCC ‐ Equipment Rental
                                                                        Proposal and Terms & Conditions

Party City Corporation     Allport Cargo Services USA Inc.    M03056    Allport Cargo Services USA Inc ‐ PCC ‐            $72,912.59                 ‐ Kim Sussman      1455 Broad Street   Bloomfield       NJ      07003
                                                                        Power of Attorney



Party City Holdings Inc.   Alteryx, Inc.                      M03992    Alteryx, Inc ‐ PCHI ‐ Order Form Q‐               $49,999.00                 ‐ Sandra Nunley    17200 Laguna        Irvine           CA      92618
                                                                        313492                                                                                          Canyon Road



Party City Holdings Inc.   Alteryx, Inc.                      M05319    Alteryx, Inc ‐ PCHI ‐ Order Form Q‐                          ‐               ‐ Sandra Nunley    17200 Laguna        Irvine           CA      92618
                                                                        381841                                                                                          Canyon Road



Party City Holdings Inc.   AMERICAN COMPRESSED GASES                    AMERICAN COMPRESSED GASES INC                                ‐               ‐                  PO BOX 715          WESTWOOD         NJ      07675
                           INC                                          Supply Agreement




                                                                                                                   Page 5 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 8 of 248
         Debtor Name                    Counterparty Name          Contract ID           Title of Agreement            )   Cure Amount     503(b)(9)       Notice Name         Address              City      State     ZIP Code
Party City Holdings Inc.          American Compressed Gases,        M04524 American Compressed Gas ‐ PCC ‐                   $249,206.91               ‐                 34‐52 Laurel Hill   Maspeth           NY        11378
                                  Inc.                                         Amendment 1 to Master Industrial Gas                                                      Blvd
                                                                               Supply Agreement

Party City Corporation            American Compressed Gases,        M02948    American Compressed Gases, Inc ‐ PCC ‐                   ‐               ‐ Keith A.        34‐52 Laurel Hill   Maspeth           NY        11378
                                  Inc.                                        1st Amend (Tristate) and 2nd Amend                                         Ramsdell        Blvd
                                                                              (Chicago) to Helium Supply Agreement

Party City Corporation            American Compressed Gases,        M02005    American Compressed Gas ‐ PCC ‐                          ‐               ‐                 34‐52 Laurel Hill   Maspeth           NY        11378
                                  Inc.                                        Master Industrial Gas Supply                                                               Blvd
                                                                              Agreement and Exhibit A for Canadian
                                                                              Helium
Party City Holdings Inc.; Party   American Greetings Corporation    M01182    SBT Supply Agreement as of December                      ‐               ‐                 1 American          Cleveland         OH      44145‐8151
Ci                                                                            8, 2017                                                                                    Boulevard



Party City Holdings Inc.          Amplience, Inc.                   M01108    Amplience, Inc. ‐ PCHI ‐ Statement of                    ‐               ‐ Will Turner     10 Southampton      London            UK      WC2E 7HA
                                                                              Work 8.2.2021                                                                              Street 6th Floor,
                                                                                                                                                                         Tower House

Party City Holdings Inc.          Amplience, Inc.                             Amplience, Inc. ‐ PCHI ‐ Statement of                    ‐               ‐ Will Turner     10 Southampton      London            UK      WC2E 7HA
                                                                              Work [Party City Bucket of Service                                                         Street 6th Floor,
                                                                              Hours Support 2023]                                                                        Tower House

Party City Holdings Inc.          Amplience, Inc.                   M01109    Amplience, Inc. ‐ PCHI ‐ Terms and                       ‐               ‐ Will Turner    10 Southampton     London              UK      WC2E 7HA
                                                                              Conditions and Statement of Work 1                                                        Street
                                                                              (6.29.21)                                                                                 6th Floor, Tower
                                                                                                                                                                        House
Party City Holdings Inc.          Anderson Oxford Inc. dba          M01044    Anderson Oxford Inc. dba ThinkLP ‐                       ‐               ‐ Doug Treleaven 219 Labrador Drive Waterloo ON        Canada    N2K 4M8
                                  ThinkLP                                     PCHI
                                                                              ‐ MSA

Party City Corporation            Andrews, Lockie                   M01763    Lockie Andrews ‐ PCC ‐ Severance                         ‐               ‐                 168 sixth avenue    Brooklyn          NY        11217
                                                                              Agreement and General Release



Party City Holdings Inc.          Angelillo, Richard                M00639    Richard Angelillo ‐ Retention Bonus                      ‐               ‐                 100 Tice Blvd       Woodcliff Lake     NJ       07677
                                                                              Letter



Party City Holdings Inc.          Aniplex                                     Alchemist                                                ‐               ‐ Yosuke Kodaka 2120 Colorado         Santa Monica      CA        90404
                                                                                                                                                                       Avenue
                                                                                                                                                                       Suite 220

Party City Holdings Inc.          Anthony Puppo Software            M05514    Software Support and Maintenance                         ‐               ‐                 79 Camp Green Ln    Green Lane        PA        18054
                                                                              SOW                                                                                        Rd



Party City Holdings Inc.          Aramark Services, Inc.            M04362    Aramark Services Inc ‐ PCHI ‐ Master                     ‐               ‐ Richard         2400 Market Street Philadelphia       PA        19103
                                                                              Services Agreement and Statement of                                        Zakrzwski
                                                                              Work




                                                                                                                       Page 6 of 75
                                                      Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 9 of 248
        Debtor Name              Counterparty Name           Contract ID       Title of Agreement                  )   Cure Amount       503(b)(9)      Notice Name       Address                  City      State     ZIP Code
Amscan Inc.                Aras Corporation                   M04989 Aras Corporation ‐ Amscan ‐ Quote Q‐                            ‐               ‐ David Murray 100 Brickstone          Andover           MA        01810
                                                                         01061                                                                                      Square,
                                                                                                                                                                    Suite 100

Amscan Inc.                Arbon Equipment Corporation        M01386    Arbon Equipment Corporation ‐                                ‐               ‐                  8900 North Arbon    Brown Deer        WI        53223
                                                                        Amscan, Inc. ‐ Planned Maintenance                                                              Drive
                                                                        Program 2021

Amscan Inc.                Ascensus                                                                                                  ‐               ‐ Dansky, Joseph 200 Dryden Road       Dresher           PA        19025




Amscan Inc.                Ascential Inc. (Formerly WGSN                Order Form                                        $17,954.78                 ‐                  229, West 43rd      New York          NY        10036
                           Inc.)                                                                                                                                        Street, 7th Floor



Party City Holdings Inc.   Ashley, Kent R                     M04689    Kent Ashley ‐ PCHI ‐ Revised Bonus and                       ‐               ‐ N/A              100 Tice Blvd       Woodcliff Lake     NJ       07677
                                                                        Severance Eligibility Letter



Party City Corporation     ASN Available staffing network               What legal entiy is contract with? AP is                     ‐               ‐ Attn: Legal Dept 500 Broad Street # Providence          RI       02907
                                                                        with Amsource                                                                                   &



Party City Holdings Inc.   ASSA Abloy Entrance Systems        M04493    ASSA ABLOY Entrance Systems ‐ PCHI ‐                         ‐               ‐ Sylvia Schultz   261 44 Landskrona Landskrona         Sweden   SE‐261 22
                                                                        Door Automation Equipment Purchase
                                                                        Agreement

Party City Corporation     Asset Management Technologies      M02199    Asset Management Technologies ‐ PCC ‐             $30,180.75                 ‐ Kenny Osley      17039 Kenton        Cornelius         NC        28031
                                                                        Order Form to Master Cloud Services                                                             Drive, Suite 200
                                                                        with Customer

Party City Corporation     Asset Management Technologies      M02200    Asset Management Technologies ‐ PCC ‐                        ‐               ‐                  17039 Kenton        Cornelius         NC        28031
                                                                        Master Cloud Services with Customer                                                             Drive, Suite
                                                                                                                                                                        200

Amscan Inc.                Associated Grocers, Inc.           M03850    Associated Grocers, Inc ‐ Amscan ‐                           ‐               ‐                  3600 Vanderbilt     Birmingham         AL     35217‐4200
                                                                        Standard Vendor Agreement for                                                                   Road
                                                                        Merchandise

Party City Corporation     AT&T Corp.                         M01495    AT&T ‐ PCC ‐ Master Services                                 ‐               ‐ Veronica Danao One AT&T Way          Bedminster         NJ     07921‐0752
                                                                        Agreement 2345327 & Internet Service
                                                                        Pricing Schedule 2345326 [Naperville]

Party City Holdings Inc.   AT&T Mobility National Accounts    M01105    AT&T ‐ PCHI ‐ Corporate Digital                              ‐               ‐                  221 River Street    Hoboken            NJ       07030
                           LLC                                          Advantage Agreement



Party City Holdings Inc.   AT&T Mobility National Accounts    M01106    AT&T ‐ PCHI ‐ Amendment 1 to                        $356.06                  ‐ Veronica Danao 7229 Parkway Dr.      Hanover           MD        21076
                           LLC                                          Corporate Digital Advantage Agreement




                                                                                                                   Page 7 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 10 of 248
         Debtor Name              Counterparty Name         Contract ID           Title of Agreement             )   Cure Amount      503(b)(9)       Notice Name          Address                 City    State    ZIP Code
Party City Corporation     Atlas Welding Supply Co., Inc. &  M05169 Atlas Welding Supply Co ‐ PCC ‐ Bulk                 $48,999.09                                  808 Brook Rd           Lakewood        NJ       08701
                           Ozarc Gas Equipment and Supply               Supply Agreement [Helium]
                           Inc

Party City Corporation     Atlas Welding Supply Co., Inc. &   M05169   Atlas Welding Supply Co ‐ PCC ‐ Bulk             $37,127.42                                   808 Brook Rd           Lakewood        NJ       08701
                           Ozarc Gas Equipment and Supply              Supply Agreement [Helium]
                           Inc

Party City Corporation     Attentive Mobile Inc.              M05035   Attentive Mobile Inc. ‐ PCC ‐ Order              $26,036.09                ‐ Brian Long       221 River Street,      Hoboken         NJ       07030
                                                                       Form                                                                                          Suite
                                                                       2022 to Master Services Agreement                                                             9047
                                                                       dated 4/15/2019
Party City Corporation     Attentive Mobile Inc.              M05317   Attentive Mobile Inc ‐ PCC ‐ Order Form                    ‐               ‐ John Trani       221 River Street,      Hoboken         NJ       07030
                                                                       Q‐11149 (promo)                                                                               Suite 9047



Party City Corporation     Attentive Mobile Inc.              M01511   Attentive Mobile Inc. ‐ PCC ‐ Master                       ‐               ‐ Brian Long       221 River Street Ste Hoboken           NJ       07030
                                                                       Services Agreement dated 4/15/2019                                                            9047



Party City Holdings Inc.   AuditBoard, Inc.                   M01056   AuditBoard, Inc. ‐ PCHI ‐ Amendment                        ‐               ‐ Tina Yeh         12900 Park Plaza       Cerritos        CA       90703
                                                                                                                                                                     Drive, Suite 200



Party City Corporation     Automatic Data Processing Inc                                                                          ‐               ‐ Attn: Legal Dept 1 ADP BLVD             Roseland        NJ       07068




Party City Corporation     Automatic Data Processing Inc                                                                          ‐               ‐ Attn: Legal Dept 1 ADP BLVD             Roseland        NJ       07068




Party City Corporation     Automatic Data Processing Inc                                                                          ‐               ‐ Attn: Legal Dept 1 ADP BLVD             Roseland        NJ       07068




Party City Corporation     AVALARA INC                        M02864                                                    $22,912.21                ‐ Pinney, Alesia L. 255 S. King Street,   Seattle         WA       98104
                                                                                                                                                                      Ste 1800



Party City Holdings Inc.   Avanti                                      Treat bags only                                            ‐               ‐ Chip Owen        155 West Congress Detroit              MI       48226
                                                                                                                                                                     Street
                                                                                                                                                                     Suite 200

Party City Holdings Inc.   Bank of America, N.A.              M04102   Bank of America, NA ‐ PCHI ‐ Advisory                      ‐               ‐ Joseph Burt      100 North Tryon        Charlotte       NC       28255
                                                                       Fee Letter                                                                                    Street



Party City Corporation     Baymard Institute                           Baymard invoice                                            ‐               ‐                  Kastanie Alle 41,      Farum         Denmark
                                                                                                                                                                     3520 Farum,
                                                                                                                                                                     Denmark, EUROPE




                                                                                                                 Page 8 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 11 of 248
         Debtor Name              Counterparty Name        Contract ID              Title of Agreement               )   Cure Amount      503(b)(9)       Notice Name       Address              City    State   ZIP Code
Party City Holdings Inc.   BBC                                           Bluey ‐ US, terr and Poss                           $35,999.73               ‐ Eleonore      1 Television Centre London          UK     W12 7FA
                                                                                                                                                        Pieczanski    101 Wood Lane



Party City Holdings Inc.   BBC                                           Bluey ‐ Canada                                               ‐               ‐ Eleonore        1 Television Centre London        UK     W12 7FA
                                                                                                                                                        Pieczanski      101 Wood Lane



Party City Corporation     BDO USA, LLP                     M04465       BDO USA, Inc ‐ PCC ‐ Master Services                         ‐               ‐ Janet Bernier   622 Third Ave, Suite New York     NY      10017
                                                                         Agreement and Statement of Work [NY                                                            3100
                                                                         Tax Audit]

Party City Corporation     Benefit Resource Inc                          Manage participant funds in FSA                     $1,215.45                ‐ Attn: Legal     245 Kenneth Drive    Rochester    NY      10423
                                                                         Accounts                                                                       Dept



Amscan Inc                 Benefit Resource Inc                          Manage participant funds in FSA                       $600.00                ‐ Attn: Legal Dept 245 Kenneth Drive   Rochester    NY      10423
                                                                         Accounts



Party City Holdings Inc.   Benefit Resource Inc                          Manage participant funds in FSA                     $3,189.15                ‐ Corestream      5404 Cypress         Tampa        FL      33609
                                                                         Accounts                                                                                       Center
                                                                                                                                                                        Drive, Suite 130

Party City Holdings Inc.   BeyondTrust Software, Inc.       M02068       BeyondTrust Software, Inc. ‐ PCHI ‐                          ‐               ‐                 5090 North 40th      Phoenix      AZ      85018
                                                                         Master Services Agreement and Service                                                          Street, Suite 400
                                                                         Level Agreement

Amscan Inc.                Big Mouth Toys                  new owner Designsense‐Over the Hill                                        ‐               ‐ James Lenowitz 14301 FNB Parkway Omaha            NE      68154
                                                             2020                                                                                                      Suite 100



Party City Corporation     Bismarck Party & Paper, Inc.     M05364       Bismarck Party & Paper Inc‐ PCC‐ Asset                       ‐               ‐ Mary Hoff       439 Laredo Drive     Bismarck     ND      58504
                                                                         Agreement 2019



Party City Holdings Inc.   Blue Sky Utility LLC             M04790       Blue Sky Utility LLC ‐ PCHI ‐ Electricity                    ‐               ‐ Ran Bujanover   860 Napa Valley   Napa            CA      94558
                                                                         Discount Agreement                                                                             Corporate Way Ste
                                                                                                                                                                        R

Party City Corporation     Blue Yonder Group Inc.           M01389       Blue Yonder Group Inc. ‐ PCC ‐ Change                        ‐               ‐ Terry Turner    15059 N Scottsdale Scottsdale     AZ      85260
                                                                         Request 02 to SOW                                                                              Rd



Party City Corporation     BrightEdge Technologies Inc.     M05366       BrightEdge Tech.‐ PCC‐ Ammend 1                              ‐               ‐ krish Kumar     500 W 3RD St Ste     cleveland    OH      44113
                                                                         Order Form                                                                                     405



Party City Corporation     BrightEdge Technologies, Inc.    M01512       BrightEdge Technologies, Inc. ‐ PCC ‐                        ‐               ‐ krish Kumar     500 W 3RD St Ste     cleveland    OH      44113
                                                                         Master Subscription Agreement and                                                              405
                                                                         SOW




                                                                                                                     Page 9 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 12 of 248
        Debtor Name             Counterparty Name           Contract ID             Title of Agreement              )   Cure Amount      503(b)(9)      Notice Name       Address                   City     State     ZIP Code
Amscan Inc.                Brown Machine                                                                                     $7,528.39               ‐ Legal        330 North Ross           Beaverton        MI        48612
                                                                                                                                                       Department   Street



Party City Holdings Inc.   Brown's Energy Services, LLC      M04690       Brown's Energy Services, LLC ‐ PCHI ‐                      ‐               ‐ Robert Reicher 9 Sommers Lane         Staten Island    NY        10314
                                                                          Large Commercial Natural Gas &                                                              2nd Floor
                                                                          Electrical Sales Agreement

Party City Holdings Inc.   Bruce Clay, Inc.                  M03456       Bruce Clay, Inc. ‐ PCHI ‐ Statement of                     ‐               ‐ Bruce Clay       2245 First Street,   Simi Valley      CA        93065
                                                                          Work 5 [SEO Block Simple Agreement]                                                           Suite 101



Party City Corporation     Budget Truck Rental, LLC          M05442       Budget Truck Rental, LLC ‐ PCC ‐ Budget           $1,665.31                ‐ Beth Kinerk      4500 S. 129th East   Tulsa            OK        74134
                                                                          Truck Rental Rate Agreement                                                                   Avenue



Party City Corporation     BURLINGTON LEVCOR‐HARVEST,        M05370       Burlington Levcor‐ PCC ‐ Leasing                 $15,100.48                ‐ Herbert L.       7800 Washington ‐ Houston              Tx     77007‐1406
                           LLC                                            Agreement                                                                    Levine           Suite 800



Party City Corporation     Burlington Levcor‐Harvest, LLC    M05372       Burlington Levcor‐ PCC ‐ Leasing                           ‐               ‐ Herbert L.       7800 Washington ‐ Houston             TX      77007‐1406
                                                                          Amendment                                                                    Levine           Suite 800



Amscan Inc.                Burlington Merchandising Corp     M05368       Amscan‐ Burlington Merchandising‐                          ‐               ‐ Michael          47 ELIZABETH DRIVE Chester            NY        10918
                                                                          Vendor Agreement                                                             Harrison



Party City Corporation     Canadian Helium Inc.              M04360       Canadian Helium Inc ‐ PCC ‐ Helium              $145,348.20    $80,372.70                     888‐3rd Street SW    Calgary AB      Canada    T2P‐5C5
                                                                          Supply Agreement



Party City Corporation     Cannon Business Solutions                      Toner, supplies                                            ‐               ‐ Stephen Pollio   106 Apple st suite   Tinton Falls      NJ       07724
                                                                                                                                                                        100b



Party City Corporation     Cannon Financial Services                      Multi purpose machine leases for PCHI            $27,677.37                ‐ Stephen Pollio   106 Apple st suite   Tinton Falls      NJ       07724
                                                                          Enterprise.                                                                                   100b



Party City Holdings Inc.   Canon Solutions America, Inc.     M04523       Canon ‐ PCHI ‐ Change Order 1 to                  $9,403.01       $379.79 Enrico Fiannaca 1 Canon Park             Melville         NY        11747
                                                                          Statement of Work [uniFLOW]
                                                                          (MA24579 Tice)

Party City Holdings Inc.   Canon Solutions America, Inc.     M03368       Canon ‐ PCHI ‐ Lease Schedule                              ‐               ‐                  1 Canon Park         Melville         NY        11747
                                                                          (MA24579 Tice)



Party City Holdings Inc.   Canon Solutions America, Inc.     M03369       Canon ‐ PCHI ‐ Software and Cloud                          ‐               ‐                  1 Canon Park         Melville         NY        11747
                                                                          Subscriptions Order Schedule
                                                                          (MA24579 Tice)




                                                                                                                    Page 10 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 13 of 248
         Debtor Name            Counterparty Name             Contract ID           Title of Agreement            )   Cure Amount       503(b)(9)       Notice Name         Address                     City   State    ZIP Code
Party City Holdings Inc.   Canon Solutions America, Inc.       M04490 Canon ‐ PCHI ‐ Lease Schedule [EA ELT                         ‐               ‐                  1 Canon Park          Melville           NY       11747
                                                                          Printer; MSA MA24579 Tice]



Party City Holdings Inc.   Canon Solutions America, Inc.       M04429    Canon ‐ PCHI ‐ Lease Schedule [Photo                       ‐               ‐                  1 Canon Park          Melville           NY       11747
                                                                         Studio; MSA MA24579 Tice]



Party City Holdings Inc.   Canon Solutions America, Inc.       M03367    Canon ‐ PCHI ‐ Master Sales & Services                     ‐               ‐                  1 Canon Park          Melville           NY       11747
                                                                         Agreement (MA24579 Tice)



Amscan Inc.                Cardinal Carryor, Inc.; BFG         M04561    BFG Corporation dba Byline Financial               $692.19                 ‐ Brian Wunsch     2801 Lakeside         Bannockburn        IL       60015
                           Corporation dba Byline Financial              Group ‐ Amscan (Deco) ‐ Equipment                                                             Drive, Suite 212
                           Group                                         Lease Agreement (No 72081)

Party City Corporation     CareerBuilder Employment                      Employment Screening Program ‐ Retail                      ‐               ‐ George           200 N LaSalle Drive Chicago              IL       60601
                           Screening, LLC                                Stores                                                                       Dionyssiou       Suite 1100



Party City Holdings Inc.   CareerBuilder Employment                      Addendum to Service Agreement                              ‐               ‐ George           200 N LaSalle Drive Chicago              IL       60601
                           Screening, LLC                                                                                                             Dionyssiou       Suite 1100



Party City Holdings Inc.   CareerBuilder Employment                      Employment Screening Program                               ‐               ‐ George           200 N LaSalle Drive Chicago              IL       60601
                           Screening, LLC                                                                                                             Dionyssiou       Suite 1100



Party City Holdings Inc.   Cartel Entertainment Inc                      US CA MX‐Creepshow TV Series                               ‐               ‐ Stan Spry        1108 Tamarind Ave. Los Angeles           CA       90038




Party City Holdings Inc.   Casco Development, LLC              M05355    Casco Development ‐ PCHI ‐ THIRD                           ‐               ‐                  Portland Fish Pier,   Portland          ME        04101
                                                                         PARTY NETWORK ACCESS AGREEMENT                                                                Suite
                                                                                                                                                                       310

Party City Holdings Inc.   Casco Development, LLC              M01523    Casco Development, LLC ‐ PCHI ‐ Master          (82,682.67)                ‐ Steve Cascio     540 W 21st St         New York           NY       10011
                                                                         License Agreement with Addendum
                                                                         [ShopVue]

Party City Corporation     Cayan LLC                           M04126    Cayan LLC ‐ PCC ‐ Amendment 5 to                           ‐               ‐ David L. Green   1 Federal Street      Boston            MA        02110
                                                                         Enterprise Platform Agreement



Party City Corporation     Cayan LLC                           M01736    Cayan LLC ‐ PCC ‐ Amendment 3 to                           ‐               ‐                  1 Federal Street      Boston            MA        02110
                                                                         Enterprise Platform Agreement



Party City Corporation     Cayan LLC                           M01428    Cayan LLC ‐ PCC ‐ Amendment 2 to               $160,983.30                 ‐                  1 Tsys Way            Columbus           GA     31901‐4222
                                                                         Enterprise Platform Agreement




                                                                                                                  Page 11 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 14 of 248
         Debtor Name             Counterparty Name          Contract ID         Title of Agreement              )   Cure Amount      503(b)(9)      Notice Name       Address                City   State     ZIP Code
Party City Corporation     CBTS Technology Solutions, LLC    M02471 CBTS Technology Solutions, LLC ‐ PCC ‐              $23,056.27               ‐ Guncha Mehta 221 East Fourth      Cincinnati      OH        45202
                                                                        Amendment 1 (00016738) to Service                                                       Street
                                                                        Agreement (00009902)

Party City Corporation     CBTS Technology Solutions, LLC    M03461    CBTS Technology Solutions, LLC ‐ PCC ‐                    ‐               ‐ Brandon        221 East Fourth    Cincinnati      OH        45202
                                                                       Addendum (00016737) to Service                                              Bowman         Street
                                                                       Agreement (00009902)

Party City Corporation     CBTS Technology Solutions, LLC    M01258    CBTS Technology Solutions, LLC ‐ PCC ‐                    ‐               ‐ Brandon        221 East Fourth    Cincinnati      OH        45202
                                                                       Master Services, Products & License                                         Bowman         Street
                                                                       Agreement

Party City Corporation     CBTS Technology Solutions, LLC    M01259    CBTS Technology Solutions, LLC ‐ PCC ‐                    ‐               ‐ Brandon        221 E 4th Street   Cincinnati      OH        45202
                                                                       Service Agreement No. 00009902                                              Bowman



Party City Corporation     CBTS Technology Solutions, LLC    M04268    CBTS Technology Solutions, LLC ‐ PCC ‐                    ‐               ‐ Matthew        221 E 4th Street   Cincinnati      OH        45202
                                                                       Change Order to Service Agreement No.                                       Masturzo
                                                                       00009902 [Velo Cloud]

Amscan Inc.                CCA & B LLC dba The Lumistella    M04602    CCA & B LLC dba The Lumistella                  $55,438.63                ‐ Regan Holroyd 3350 Riverwood      Atlanta         GA        30339
                           Company                                     Company ‐ Amscan ‐ Addendum to the                                                        Pkwy SE Suite 300
                                                                       Vendor Standards Manual

Party City Holdings Inc.   CCH Incorporated                  M02829    CCH Incorporated (Legisway) ‐ PCHI ‐                      ‐               ‐ Legal          2700 LAKE COOK RD RIVERWOODS        IL       60015
                                                                       Work Order [Project Management                                              Department
                                                                       Custom Module Add‐On & SSO]

Party City Holdings Inc.   CCH Incorporated                  M04160    CCH Incorporated (Legisway) ‐ PCHI ‐                      ‐               ‐                2700 Lake Cook     Riverwoods       IL     60015‐3867
                                                                       Legal & Regulatory US Quote/Order                                                          Road
                                                                       (Renewal) & PCHI Address Change
                                                                       Notification
Party City Corporation     CCS Rights Management Corp        M05407    PCC ‐ CCS Rights Management Corp ‐                        ‐               ‐ Jodie          16 Orchard Park    Toronto ON     Canada    M4L 3E2
                                                                       License Agreement                                                           Ferneyhough    Blvd



Party City Holdings Inc.   CDW Direct, LLC (Focal Point)     M00692    Focal Point Data Risk, LLC ‐ PCHI ‐                $576.18                ‐ Ray Paolantonio 201 E Kennedy Blvd, Tampa          FL       33602
                                                                       Statement of Work (UAR/PAR                                                                  Suite 1750
                                                                       Compliance Review Assistance)

Party City Holdings Inc.   CDW Direct, LLC (Focal Point)     M00675    Focal Point Data Risk, LLC ‐ PCHI ‐                       ‐               ‐ Andrew          201 E. Kennedy Blvd Tampa          FL       33602
                                                                       Master Services Agreement and                                               Cannata & Larry Suite 1750
                                                                       Statement of Work (IT Risk Assessment)                                      Burke

Party City Holdings Inc.   CDW Direct, LLC (Focal Point)     M04300    CDW Direct, LLC (Focal Point) ‐ PCHI ‐                    ‐               ‐ Larry Burke    5908 Headquarters Plano             TX       75024
                                                                       Notice of Assignment [Acquire of Focal                                                     Drive
                                                                       Point]                                                                                     Suite 400

Party City Holdings Inc.   CDW Direct, LLC (Focal Point)     M04444    CDW Direct, LLC (Focal Point) ‐ PCHI ‐                    ‐               ‐ Larry Burke    5908 Headquarters Plano            TX        75024
                                                                       Statement of Work cp4369 [Technical                                                        Dr.
                                                                       Lead Advisory Services]                                                                    Suite 400




                                                                                                                Page 12 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 15 of 248
         Debtor Name              Counterparty Name         Contract ID         Title of Agreement          ) Cure Amount            503(b)(9)      Notice Name      Address                   City     State    ZIP Code
Party City Holdings Inc.   Cellco Partnership dba Verizon    M01546 Verizon Wireless ‐ PCHI ‐ Major Account       $73,126.78                     ‐ Mark Wilets  One Verizon Way        Basking Ridge     NJ       07920
                           Wireless                                     Agreement Contract ID 3182825



Party City Holdings Inc.   Cellco Partnership dba Verizon    M01547    Verizon Wireless ‐ PCHI ‐ Amendment 2                     ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    to Contract ID 3182825



Party City Holdings Inc.   Cellco Partnership dba Verizon    M02698    Cellco Partnership dba Verizon Wireless                   ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    ‐ PCHI ‐ Acknowledgement Form to
                                                                       Contract 3182825

Party City Holdings Inc.   Cellco Partnership dba Verizon    M03997    Verizon Wireless ‐ PCHI ‐                                 ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    Acknowledgement Form to Contract
                                                                       3182825 [Internet Gateway]

Party City Holdings Inc.   Cellco Partnership dba Verizon    M04288    Verizon Wireless ‐ PCHI ‐ Amendment 3                     ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    to Contract ID 3182825 (VZW Network
                                                                       Monitoring Tool)

Party City Holdings Inc.   Cellco Partnership dba Verizon    M05580    Cellco Partnership dba Verizon Wireless                   ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    ‐ PCHI ‐ Acknowledgement Form to
                                                                       Contract 3182825

Party City Holdco Inc.     Cellco Partnership dba Verizon    M03974    Verizon Wireless ‐ PCHI ‐                                 ‐               ‐ Mark Wilets      One Verizon Way    Basking Ridge      NJ      07920
                           Wireless                                    Acknowledgement Form to Contract
                                                                       No. 3182825

Party City Holdings Inc.   Central Graphics and Container    M04151    Central Graphics and Container Group                      ‐               ‐ Colin Bales      5526 Timberlea     Mississauga ON   Canada   L4W 2R7
                           Group Ltd.                                  Ltd ‐ PCHI ‐ Master Services Agreement                                                       Boulevard
                                                                       and Statement of Work

Party City Corporation     Challenger, Gray and Christmas                                                                        ‐               ‐ Attn: Legal Dept 150 South Wacker   Chicago            IL      60606
                                                                                                                                                                    Drive Suite 2800



Party City Corporation     Champion Elevator                 M01670    Champion Elevator ‐ PCC ‐ Full Service         $11,496.02                 ‐ Steven Tilchen   1450 Broadway, 5th New York          NY       10018
                                                                       Hydraulic Elevator Maintenance                                                               Floor
                                                                       Contract

Party City Corporation     Champion Elevator                 M01671    Champion Elevator ‐ PCC ‐ Escalator                       ‐               ‐ Steven Tilchen   1450 Broadway, 5th New York          NY       10018
                                                                       Maintenance & Service Contract                                                               Floor



Party City Corporation     ChannelAdvisor Corporation        M02230    ChannelAdvisor Corporation ‐ PCC ‐             $17,832.95                 ‐ Paul Colucci     3025 Carrington    Morrisville       NC       27560
                                                                       Amendment 5 to Statement of Work                                                             Mill
                                                                       (Managed Marketplaces)                                                                       Boulevard, Suite
                                                                                                                                                                    500
Amscan Inc.; Party City    ChannelAdvisor Corporation        M05443    ChannelAdvisor Corporation ‐ PCC ‐                        ‐               ‐                  3025 Carrington    Morrisville       NC       27560
Corporat                                                               Master Services Agreement, SOW, 1st                                                          Mill
                                                                       Amendment to SOW                                                                             Boulevard, Suite
                                                                                                                                                                    500




                                                                                                                 Page 13 of 75
                                                Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 16 of 248
         Debtor Name          Counterparty Name         Contract ID        Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name         Address               City     State   ZIP Code
Party City Corporation   ChannelAdvisor Corporation      M05374 ChannelAdvisor Corp‐ PCC ‐ Ammend 4                          ‐               ‐ Paul Colucci    3025 Carrington     Morrisville       NC      27560
                                                                    to SOW                                                                                     Mill
                                                                                                                                                               Boulevard, Suite
                                                                                                                                                               500
Party City Corporation   ChannelAdvisor Corporation      M02273   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐ Richard         3025 Carrington     Morrisville       NC      27560
                                                                  Amendment 2 to Statement of Work                                             Cornetta        Mill
                                                                  (Managed Marketplaces)                                                                       Boulevard, Suite
                                                                                                                                                               500
Party City Corporation   ChannelAdvisor Corporation      M02272   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐ Richard         3025 Carrington     Morrisville       NC      27560
                                                                  Amendment 1 to Statement of Work                                             Cornetta        Mill
                                                                  (Managed Marketplaces)                                                                       Boulevard, Suite
                                                                                                                                                               500
Party City Corporation   ChannelAdvisor Corporation      M02274   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐ Paul Colucci    3025 Carrington     Morrisville       NC      27560
                                                                  Amendment 3 to Statement of Work                                                             Mill
                                                                  (Managed Marketplaces)                                                                       Boulevard, Suite
                                                                                                                                                               500
Party City Corporation   ChannelAdvisor Corporation      M05305   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐                 3025 Carrington     Morrisville       NC      27560
                                                                  Amendment 6 to Statement of Work                                                             Mill
                                                                  (Managed Marketplaces)                                                                       Boulevard, Suite
                                                                                                                                                               500
Party City Corporation   ChannelAdvisor Corporation      M01047   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐ Twiddy, Kathryn 1010 Sync Street,   Morrisville       NC      27560
                                                                  Amendment 4 to Statement of Work                                             F.              Ste 600
                                                                  (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation      M02271   ChannelAdvisor Corporation ‐ PCC ‐                         ‐               ‐ Twiddy, Kathryn 1010 Sync Street,   Morrisville       NC      27560
                                                                  Statement of Work (Managed                                                   F.              Ste 600
                                                                  Marketplaces)

Party City Corporation   ChargebackOps, LLC              M05589   ChargebackOps, LLC ‐ PCC ‐ Amendment                       ‐               ‐ Legal           859 W SOUTH         SOUTH JORDAN      UT      84095
                                                                  1 to Management Services Agreement                                           Department      JORDAN
                                                                                                                                                               PKWY STE 104

Party City Corporation   ChargebackOps, LLC              M05588   ChargebackOps, LLC ‐ PCC ‐                                 ‐               ‐ Legal           859 W SOUTH     SOUTH JORDAN          UT      84095
                                                                  Management Services Agreement                                                Department      JORDAN PKWY STE
                                                                                                                                                               104

Party City Corporation   Charleston Road Registry Inc    M04477   Charleston Road Registry Inc dba                           ‐               ‐                 1600 Amphitheatre Mountain View       CA      94043
                         (dba Google Registry)                    Google Registry ‐ PCC ‐ Anchor Tenant                                                        Parkway
                                                                  Program Allocation Agreement

Amscan Inc.              Charter Communications          M01465   Charter Communications Operating, LLC              $71.02                  ‐                 400 Washington      Stamford          CT      06902
                         Operating, LLC (Spectrum)                (Spectrum) ‐ Amscan, Inc. ‐ Customer                                                         Blvd
                                                                  Service Order, Service Level Agreement
                                                                  and Terms and Conditions
Party City Corporation   Cheng, Ka Shing (Matthew)       M03745   L‐1A Extension Petition                                    ‐               ‐ N/A             100 Tice Blvd       Woodcliff Lake    NJ      07677




Party City Corporation   Cherukuri, Naresh               M01809   H‐1B Compliance Materials                                  ‐               ‐ N/A             100 Tice Blvd       Woodcliff Lake    NJ      07677




                                                                                                           Page 14 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 17 of 248
         Debtor Name               Counterparty Name     Contract ID        Title of Agreement                 )   Cure Amount      503(b)(9)      Notice Name         Address                 City   State    ZIP Code
Party City Corporation     Chillicothe Clothe Shopping    M05380 Chillecothe‐ PCC ‐ Ammend 2 to Lease                   $7,261.92               ‐ Robert A Ferree 633 Charleston Pike Chillicothe      OH     45601‐9333
                           Center



Party City Corporation     CircusTrix, LLC                M03607    CircusTrix, LLC ‐ PCC ‐ Vendor Service                      ‐               ‐ Joshua Shenk    86 N. University    Provo            UT       84601
                                                                    Agreement                                                                                     Avenue,
                                                                                                                                                                  #350

Party City Corporation     Cirgadyne Inc. dba             M00837    LiquorLicense.com ‐ PCC ‐ Consulting               $2,888.00                ‐ Sam Block       2222 Damon Street Los Angeles        CA       90021
                           LiquorLicense.com                        Agreement



Print Appeal, Inc.         Clean Earth Environmental      M02793    Clean Earth ‐ Print Appeal ‐ Quote                          ‐               ‐ Lisa Wylie      11220 Pagemill      Dallas           TX       75243
                           Services, Inc.                           Addendum to MSA                                                                               Road



Print Appeal, Inc.         Clean Earth Environmental      M02792    Stericycle Environmental Solutions, Inc                     ‐               ‐                 11220 Pagemill      Dallas           TX     75243‐8313
                           Services, Inc.                           (now Clean Earth) ‐ PA ‐ Master Services                                                      Road
                                                                    Agreement and Proposal

Party City Holdings Inc.   Cloud Cover Media, Inc.        M01572    Cloud Cover Media, Inc. ‐ PCHI ‐                            ‐               ‐ Mark Lehman     999 North Pacific   El Segundo       CA       90245
                                                                    Subscription Service Agreement, Service                                                       Coast Highway,
                                                                    Level Agreement and Order Form                                                                Suite 500

Party City Corporation     Coalfire Systems, Inc.         M02653    Coalfire Systems, Inc ‐ PCC ‐ Master                        ‐               ‐ Alan Ferguson   11000 Westmoor      Westminster      CO       80021
                                                                    Services Agreement                                                                            Circle,
                                                                                                                                                                  Suite 450

Party City Corporation     Coalfire Systems, Inc.         M05241    Coalfire Systems Inc ‐ Amscan ‐ Master                      ‐               ‐ Esmond          361 Centennial      Lousiville       CO       80027
                                                                    Services and License Agreement                                                Wallerson       Parkway
                                                                                                                                                                  Suite 150

Party City Holdings Inc.   Coalfire Systems, Inc.         M05244    Coalfire‐ PCI DSS Penetration Test ‐ 21‐                    ‐               ‐ Jennifer        11000 Westmoor      Westminster      CO     80021‐2753
                                                                    0812                                                                          Velnoskey       Circle,
                                                                                                                                                                  Suite 450

Party City Corporation     Coalfire Systems, Inc.         M05242    Coalfire ‐ Amscan Inc ‐ 21‐0126                             ‐               ‐ Jennifer        11000 Westmoor      Westminster      CO     80021‐2753
                                                                                                                                                  Velnoskey       Circle,
                                                                                                                                                                  Suite 450

Party City Corporation     Coalfire Systems, Inc.         M05243    Coalfire ‐ Amscan Inc ‐ 21‐0507 Service                     ‐               ‐ Jennifer        11000 Westmoor      Westminster      CO     80021‐2753
                                                                    Order PCI Compliance                                                          Velnoskey       Circle,
                                                                                                                                                                  Suite 450

Party City Holdings Inc.   Cobalt Labs, Inc.              M02009    Cobalt Labs, Inc. ‐ PCHI ‐ Cobalt SaaS                      ‐               ‐                 575 Market Street   San Francisco    CA       94105
                                                                    Master Agreement                                                                              4th Floor



Party City Holdings Inc.   Coda Staffing LLC              M04369    Coda Staffing LLC ‐ PCHI ‐ Temporary                        ‐               ‐ Terrance        461 From Road       Paramus          NJ       07652
                                                                    Employee Staffing Agreement and                                               Madden
                                                                    Statement of Work




                                                                                                               Page 15 of 75
                                                 Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 18 of 248
         Debtor Name            Counterparty Name            Contract ID            Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name          Address           City     State    ZIP Code
Party City Holdings Inc.   COEFFICIENT                                     COEFFICIENT Supply Agreement                                ‐               ‐                  1 FIRST AVE       PEABODY         MA       01960




Party City Corporation     Cohen‐Friedberg Associates, LLC    M04516       Cohen‐Friedberg Associates, LLC ‐ PCC ‐                     ‐               ‐ Eric Friedberg   17 Lantern Road   Framingham     MA        01702
                                                                           Statement of Work [Halloween City IW
                                                                           Lady Kilgore Prize Management]

Party City Corporation     Cohen‐Friedberg Associates, LLC    M04410       Cohen‐Friedberg Associates ‐ PCC ‐               $11,800.00                 ‐ Eric Friedberg   17 Lantern Road   Framingham     MA      01702‐5500
                                                                           Statement of Work (Halloween City
                                                                           Lady Kilgore)

Party City Corporation     Comcast Cable Communications       M05038       Comcast ‐ PCC ‐ Amendment 12 to MSA                         ‐               ‐ Shawn            1701 John F.      Philadelphia    PA       19103
                           Management, LLC                                 NJ‐12859315‐mkeen                                                             Adamson          Kennedy Blvd.



Party City Corporation     Comcast Cable Communications       M05186       Comcast ‐ PCC ‐ Amendment 13 to MSA                         ‐               ‐                  1701 John F       Philadelphia    PA       19103
                           Management, LLC                                 NJ‐12859315‐mkeen                                                                              Kennedy Blvd



Party City Corporation     Comcast Cable Communications       M05247       Comcast ‐ PCC ‐ Order Form 22939010                         ‐               ‐                  1701 John F       Philadelphia    PA       19103
                           Management, LLC                                 to MSA NJ‐12859315‐mkeen                                                                       Kennedy Blvd



Party City Corporation     Comcast Cable Communications       M04661       Comcast ‐ PCC ‐ Order Forms 22632856                        ‐               ‐ David Egan       1701 John F.      Philadelphia    PA       19103
                           Management, LLC                                 and 22629993 to MSA NJ‐12859315‐                                                               Kennedy Blvd.
                                                                           mkeen

Party City Corporation     Comcast Cable Communications       M04791       Comcast ‐ PCC ‐ Order Forms 22937623                        ‐               ‐ David Egan       1701 John F.      Philadelphia    PA       19103
                           Management, LLC                                 to MSA NJ‐12859315‐mkeen                                                                       Kennedy Blvd.



Party City Corporation     Comcast Cable Communications       M01908       Comcast Cable Communications                                ‐               ‐ Daniel J. Carr   1701 John F.      Philadelphia    PA       19103
                           Management, LLC                                 Management ‐ PCC ‐ Master Services                                                             Kennedy Blvd.
                                                                           Agreement

Party City Corporation     Comcast Cable Communications       M01823       Comcast ‐ PCC ‐ Order Forms 20568094                        ‐               ‐ Legal            1701 John F.      Philadelphia    PA       19103
                           Management, LLC                                 and 20657552 to MSA NJ‐12859315‐                                              Department       Kennedy Boulevard
                                                                           mkeen

Party City Corporation     Comcast Cable Communications       M05253       Comcast‐ PCC‐ Amend to Sow 5                                ‐               ‐ Daniel J Carr    1601 Mile High    Denver          CO       80204
                           Management, LLC                                                                                                                                Stadium Cir



Party City Corporation     Comcast Cable Communications       M05254       Comcast‐ PCC‐ Amend to Sow 7                                ‐               ‐ Daniel J Carr    1601 Mile High    Denver          CO       80204
                           Management, LLC                                                                                                                                Stadium Cir



Party City Corporation     Comcast Cable Communications       M05252       Comcast‐ PCC ‐ Ammend to sow 1                              ‐               ‐ Daniel J Carr    1601 Mile High    Denver          CO       80204
                           Management, LLC                                                                                                                                Stadium Cir




                                                                                                                     Page 16 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 19 of 248
         Debtor Name                   Counterparty Name           Contract ID       Title of Agreement                )   Cure Amount       503(b)(9)      Notice Name        Address                   City   State    ZIP Code
Party City Corporation            Comcast Cable Communications      M05251 Comcast‐ PCC‐ Amend to Sow 3                                  ‐               ‐ Daniel J Carr 1601 Mile High        Denver            CO       80204
                                  Management, LLC                                                                                                                        Stadium Cir



Party City Corporation            Comcast Cable Communications      M05246   Comcast ‐ PCC ‐ Amend 8 to Sow ‐                            ‐               ‐                 1601 Mile High      Denver            CO     80204‐1953
                                  Management, LLC                            ExecuSummary                                                                                  Stadium Cir



Party City Corporation            Comcast Cable Communications      M03560   Comcast ‐ PCC ‐ Sales Order NJ‐                  $84,000.00                 ‐ Shawn           1701 John F.        Philadelphia      PA       19103
                                  Management, LLC                            12859315‐mkeen‐ 20846365 (DIA 6)                                              Adamson         Kennedy
                                                                                                                                                                           Blvd.

Party City Corporation            Comcast Cable Communications      M03774   Comcast ‐ PCC ‐ Sales Order NJ‐                             ‐               ‐ Shawn           1701 John F.        Philadelphia      PA       19103
                                  Management, LLC                            12859315‐mkeen‐21836915                                                       Adamson         Kennedy
                                                                                                                                                                           Blvd.

Amscan Inc.                       Commerce Technologies, LLC dba    M01211   Commerce Technologies, LLC dba                    $5,028.00                 ‐                 800                 Latham            NY       12110
                                  CommerceHub                                CommerceHub ‐ Amscan, Inc. ‐ Terms                                                            Troy‐Schenectady
                                                                             and Conditions                                                                                Road Suite 100

Party City Corporation            Commission Junction, LLC.         M05416   Commission Junction, LLC ‐ PCC ‐ CJ                         ‐               ‐ Heather Pilat   530 Montecito       Santa Barbara     CA       93103
                                                                             Affiliate Service Order                                                                       Street



Party City Holdings Inc.          Commvault Systems, Inc.           M03644   Commvault Systems, Inc ‐ PCHI ‐ Master                      ‐               ‐ Jacob Bishop    1 Commvault Way     Tinton Falls      NJ       07724
                                                                             Terms and Conditions, Software Terms
                                                                             and Condition's; Pricing Proposal

Party City Holdco Inc.            Computershare Governance          M05569   Computershare Governance Services                           ‐               ‐ Daryl           100 Beard Sawmill   Shelton           CT       06484
                                  Services Inc.                              Inc                                                                           McDearman       Rd.
                                                                             ‐ PCH ‐ Order Form for Registered Agent
                                                                             Services
Party City Holdco Inc.            Computershare Trust Company,      M05761   Computershare Trust Company, N.A.                           ‐               ‐ President ‐ Plan 480 Washington     Jersey City       NJ       07310
                                  N.A. and Computershare Inc.                and Computershare Inc. ‐ Agency                                               Managers US      Boulevard
                                                                             Services Agreement

Party City Holdco Inc.            Computershare, Inc.               M01152   Computershare, Inc. and                                     ‐               ‐ Amy Walden      150 Royall St       Canton           MA      02021‐1031
                                  Computershare Trust Company,               Computershare
                                  N.A.                                       Trust Company, N.A. ‐ Party City Holdco
                                                                             Inc. ‐ Standard Transfer Agent and
Party City Holdings Inc.; Party   Concentrix Corporation            M01398   Concentrix Corporation ‐ PCC ‐                  $372,015.39                 ‐                 44051 Nobel Drive   Fremont           CA       94538
Ci                                                                           Statement of Work 05



Party City Holdings Inc.          Concentrix Corporation            M01400   Concentrix Corporation ‐ PCC ‐ Change                       ‐               ‐ Pat Wilson      44051 Nobel Drive   Fremont           CA       94538
                                                                             Order No. 01 to Statement of Work 05



Party City Holdings Inc.          Concentrix Corporation            M05185   Concentrix Corporation ‐ PCC ‐ Change                       ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                             Order No. 05 to Statement of Work 05




                                                                                                                       Page 17 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 20 of 248
         Debtor Name                   Counterparty Name        Contract ID           Title of Agreement            )   Cure Amount       503(b)(9)       Notice Name        Address               City      State    ZIP Code
Party City Holdings Inc.          Concentrix Corporation         M05182 Concentrix Corporation ‐ PCC ‐ Change                         ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Order No. 02 to Statement of Work 05



Party City Holdings Inc.          Concentrix Corporation         M05183     Concentrix Corporation ‐ PCC ‐ Change                     ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Order No. 03 to Statement of Work 05



Party City Holdings Inc.          Concentrix Corporation         M05184     Concentrix Corporation ‐ PCC ‐ Change                     ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Order No. 04 to Statement of Work 05



Party City Corporation            Concentrix Corporation         M05422     Concentrix Corporation ‐ PCC ‐ Master                     ‐               ‐ Andrew Landon 44201 Nobel Drive     Fremont           CA       94538
                                                                            Service Agreement



Party City Corporation            Concentrix Corporation         M01394     Concentrix Corporation ‐ PCC ‐ Master                     ‐               ‐ Andrew Landon 44051 Nobel Dr        Fremont           CA       94538
                                                                            Services Agreement and Statement of
                                                                            Work 01

Party City Holdings Inc.; Party   Concentrix Corporation         M01401     Concentrix Corporation ‐ PCC ‐                            ‐               ‐ Andrew Landon 44051 Nobel Drive     Fremont           CA       94538
Ci                                                                          Statement of Work 06



Party City Corporation            Concentrix Corporation         M01395     Concentrix Corporation ‐ PCC ‐                            ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Statement of Work 02



Party City Corporation            Concentrix Corporation         M01396     Concentrix Corporation ‐ PCC ‐                            ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Statement of Work 03



Party City Holdings Inc.          Concentrix Corporation         M01397     Concentrix Corporation ‐ PCC ‐                            ‐               ‐                 44201 Nobel Drive   Fremont           CA       94538
                                                                            Statement of Work 04



Party City Holdings Inc.          Condeco Software, Inc.         M03645     Condeco Software, Inc. ‐ PCHI ‐ Order                     ‐               ‐ Jim Eppen       2105 S Bascom Ave Campbell            CA     95008‐3276
                                                                            Form Q‐27099                                                                                Ste 150



Party City Holdings Inc.          Condeco Software, Inc.         M01130     Condeco Software, Inc. ‐ PCHI ‐ Order            $487.95                  ‐ Domenico        2 Harbour Exchange London             UK      E14 9GE
                                                                            Form & SOW                                                                  Pagano          Square



Amscan Inc.                       Conlon, John                              John Conlon ‐ Amscan ‐ Separation                         ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ       07677
                                                                            Agreement and General Release



Party City Corporation            Connor Construction, LLC       M04423     Connor Construction ‐ PCC ‐                               ‐               ‐ Benjamin J.     763 Susquehanna     Franklin Lakes    NJ       07417
                                                                            Construction Agreement                                                      Conner          Ave




                                                                                                                    Page 18 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 21 of 248
         Debtor Name             Counterparty Name           Contract ID             Title of Agreement            )   Cure Amount       503(b)(9)       Notice Name       Address              City          State     ZIP Code
Party City Corporation     Consolidated Transaction           M02891 Consolidated Transaction Processing                             ‐               ‐ John Meli     Devlin Law Firm LLC Wilmington            DE        19806
                           Processing LLC                                LLC                                                                                         1526 Gilpin Ave
                                                                         ‐ PCC ‐ Settlement and Patent License
                                                                         Agreement
Amscan Inc.; Party City    Controladora Mexicana PC, S.A.     M01874 Controladora Mexicana PC, S.A. de C.V.                          ‐               ‐                 Av. Revolución 780, Ciudad de México   Mexico     03730
Corporat                   de C.V.                                       ‐                                                                                             San Juan, Benito
                                                                         Amscan, Inc. ‐ PCC ‐ Amscan Promissory                                                        Juarez
                                                                         Note, Forbearance Agreement, Non‐
Party City Holdings Inc.   Convoy, Inc.                       M03814 Convoy, Inc ‐ PCHI ‐ Transportation                  $32,317.77                 ‐ Courtney        1301 2nd Ave, Suite Seattle             WA        98191
                                                                         Broker Agreement and Statement of                                             Mcklveen        1300
                                                                         Work

Party City Holdings Inc.   Corestream                                    Provide, in partnership with ADP Health                     ‐               ‐ Abacus Health   1210 Pontiac          Cranston           RI       02920
                                                                         and Welfare, voluntary benefits for all                                       Solutions       Avenue
                                                                         employees

Amscan Inc.                Corestream                                    ADP Health & Welfare product.                               ‐               ‐ Attn: Legal Dept 5404 Cypress         Tampa              FL       33609
                                                                                                                                                                        Center
                                                                                                                                                                        Drive, Suite 130

Party City Holdings Inc.   CoreTrust Purchasing Group         M04579     CoreTrust Purchasing Group ‐ PCHI ‐                         ‐               ‐                 1100 Dr. Martin L.    Nashville         TN        37203
                                                                         Participation Customization Form &                                                            King Jr. Blvd Suite
                                                                         Acknowledgement [PCF]                                                                         1150

Party City Holdings Inc.   CoreTrust Purchasing Group         M04578     CoreTrust Purchasing Group ‐ PCHI ‐                         ‐               ‐ Ed Jones        1100 Dr. Martin L.    Nashville         TN        37203
                                                                         Participation Agreement                                                                       King Jr. Blvd Suite
                                                                                                                                                                       1150

Party City Holdings Inc.   Corptax, Inc.                                 Corptax, Inc. Assumption Agreement                          ‐               ‐                 1751 Lake Cook        Deerfield          IL       60015
                                                                                                                                                                       Road



Party City Holdings Inc.   CoStar Realty Information, Inc.    M04810     CoStar Realty Information, Inc ‐ PCHI ‐           $2,625.07                 ‐ Andy Thomas     1331 L Street, NW     Washington        DC      20005‐4293
                                                                         Application Services and Professional
                                                                         Services Agreement

Party City Holdings Inc.   Courtyard by Marriott              M03776     Courtyard by Marriott (Montvale) ‐ PCHI                     ‐               ‐ Kathleen Evans 10400 Fernwood         Bethesda          MD        20817
                                                                         Special Room Rate Agreement (Tice)                                                           Road



Party City Holdings Inc.   Courtyard by Marriott              M04467     Marriott (Park Ridge) ‐ PCHI ‐ Special                      ‐               ‐ John Giuliano   10400 Fernwood        Bethesda          MD        20817
                                                                         Room Rate Agreement (Tice)                                                                    Road



Amscan Inc.                Cox Communications                                                                                        ‐               ‐ Philpott, Joiava 6205‐B Peachtree Atlanta               GA        30328
                                                                                                                                                                        Dunwoody Road NE



Amscan Inc.                CREX of New York, Inc.             M03890     CREX of New York, Inc dba Credit                            ‐               ‐ Marc Rosenberg 204 Stonehinge Ln      Carle Place       NY        11514
                                                                         International ‐ Amscan ‐ Credit
                                                                         Recommendations and
                                                                         Acknowledgements Agreement




                                                                                                                   Page 19 of 75
                                                      Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 22 of 248
         Debtor Name             Counterparty Name         Contract ID         Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name       Address                   City   State    ZIP Code
Party City Holdings Inc.   Crossmark, Inc.                  M03402 Crossmark, Inc ‐ PCHI ‐ Master Services                        ‐               ‐ Jim Rose      5100 Legacy Drive     Plano             TX     75024‐3104
                                                                       Agreement



Party City Holdings Inc.   Crossmark, Inc.                  M03403    Crossmark, Inc ‐ PCHI ‐ Statement of                        ‐               ‐                 5100 Legacy Drive   Plano             TX     75024‐3104
                                                                      Work



Party City Holdings Inc.   CrowdStrike Services, Inc.       M05344    CrowdStrike, Inc. ‐ PCHI ‐ Master                           ‐               ‐ Mike Forman     150 Mathilda Place, Sunnyvale         CA       94086
                                                                      Purchase Agreement Terms and                                                                  3rd Floor
                                                                      Conditions

Party City Holdings Inc.   CrowdStrike Services, Inc.       M05386    CrowdStrike, Inc. ‐ PCHI ‐ Extended                         ‐               ‐ Mike Forman     150 Mathilda Place, Sunnyvale         CA       94086
                                                                      Support Agreement (MPA)                                                                       3rd Floor



Amscan Inc.                Crown Castle Fiber LLC           M01893    Crown Castle Fiber LLC ‐ Amscan ‐ Order           $8,342.37                 ‐ James V. Nocito 900 Corporate       Newburgh          NY       12550
                                                                      Form 2021‐82813 ‐ Chester                                                                     Boulevard



Amscan Inc.                Crown Castle Fiber LLC           M01483    Crown Castle Fiber LLC ‐ Amscan ‐ Order                     ‐               ‐ James V. Nocito 900 Corporate       Newburgh          NY       12550
                                                                      Form 2021‐79415 ‐ Chester                                                                     Boulevard



Party City Holdings Inc.   Crown Castle Fiber LLC           M03340    Crown Castle Fiber LLC ‐ PCHI ‐ Order                       ‐               ‐ James V. Nocito 900 Corporate       Newburgh          NY       12550
                                                                      Form 2022‐87559 [100 Tice]                                                                    Boulevard



Amscan Inc.                Crown Castle Fiber LLC           M01484    Crown Castle Fiber LLC fka DataNet, LLC                     ‐               ‐ James V. Nocito 900 Corporate       Newburgh          NY       12550
                                                                      dba Lightower Fiber Networks ‐ Amscan                                                         Boulevard
                                                                      ‐ Master Services Agreement

Amscan Inc.                Crown Lift Trucks                          LEASE                                                       ‐               ‐ Legal           104 Bauer Drive     Oakland           NJ       07436
                                                                                                                                                    Department



Party City Corporation     Culebra Party Company, LLC       M00589    Franchise Agreement with Culebra                            ‐               ‐ Don Lasseter, Jr. 10838 Vandale     San Antonio       TX       78216
                                                                      Party Company, LLC dated 04/22/2018                                                             Street



Amscan Inc.                Cummins Sales & Service          M05341    Amscan Inc‐ Cummins Sales & Service ‐                       ‐               ‐ Robert          890 Zerega Ave      Bronx             NY     10473‐1122
                                                                      Equipment Agreement‐ Terms&                                                   Mongrandi
                                                                      Conditions

Party City Corporation     Cupertino Electric, Inc.                                                                               ‐               ‐ Debra Olson     1132 North Seventh San Jose           CA       95112
                                                                                                                                                                    Street



Party City Corporation     CVS Caremark                               Prscription Drug Vendor, CVS Pharmacy            $34,901.18                 ‐ Attn: Legal Dept 1 CVS Drive        Woonsocket        RI       02895
                                                                      on Retail side 66133,




                                                                                                                Page 20 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 23 of 248
         Debtor Name             Counterparty Name        Contract ID              Title of Agreement             )   Cure Amount       503(b)(9)      Notice Name       Address                  City       State   ZIP Code
Party City Holdings Inc.   CVS Caremark                                 Provides prescription drug coverage for                     ‐               ‐ UnitedHealth 1 CVS Drive              Woonsocket         RI     02895
                                                                        all medical plans                                                             Group



Amscan Inc.                Data Clean Corporation          M04019       Data Clean Corporation ‐ Amscan ‐ 2022                      ‐               ‐                  1033 Graceland       Des Plaines       IL      60016
                                                                        Cleaning Renewal Proposal (Chester)                                                            Avenue



Party City Corporation     DBL K Liquor Consulting, LLC    M03831       DBL K Liquor Consulting, LLC ‐ PCC ‐                        ‐               ‐ Kevin A.         536 East Wagon       Tucson            AZ      85704
                                                                        Agreement to Act as Agent                                                     Kramber          Bluff Drive



Party City Corporation     Deacon Construction             M04307       Deacon Construction ‐ PCC ‐                        $736.05                  ‐                  8343 154th Avenue Redmond             WA       98052
                                                                        Construction Agreement                                                                         NE Suite 210



Party City Holdings Inc.   Decision Analyst, Inc.          M03284       Decision Analyst, Inc ‐ PCHI ‐ Master                       ‐               ‐ Heather Kluter 2670 E Lamar Blvd      Arlington         TX      76011
                                                                        Services Agreement and Statement of
                                                                        Work

Party City Corporation     Dellurefico Vazquez, Alyssa     M03549       Alyssa Dellurefico Vazquez ‐ PCC ‐                          ‐               ‐ N/A              100 Tice Blvd        Woodcliff Lake    NJ      07677
                                                                        Separation Agreement and General
                                                                        Release

Party City Corporation     DeZavala Party Company, LLC     M00590       Franchise Agreement with DeZavala                           ‐               ‐ Don Lasseter, Jr. 10838 Vandale       San Antonio       TX      78216
                                                                        Party Company, LLC dated 04/22/2018                                                             Street



Party City Holdings Inc.   Diligent Corporation            M01581       Diligent Corporation ‐ PCHI ‐                               ‐               ‐ Bill Wright      1385 Broadway        New York          NY      10018
                                                                        Amendment Effective 2/26/2020                                                                  19th Floor



Party City Holdings Inc.   Diligent Corporation            M01058       Diligent Corporation ‐ PCHI ‐                               ‐               ‐ John Van         1385 Broadway        New York          NY      10018
                                                                        Amendment Effective 10/07/2021                                                Arsdale          19th Floor



Party City Holdings Inc.   Diligent Corporation            M01794       Diligent Corporation ‐ PCHI ‐ Service                       ‐               ‐ Jeffrey A Hilk   1385 Broadway        New York          NY      10018
                                                                        Agreement                                                                                      19th Floor



Party City Holdings Inc.   Diligent Corporation            M04393       Diligent Corporation ‐ PCHI ‐                               ‐               ‐ John Van         1111 19th Street     Washington        DC      20036
                                                                        Amendment to Service Agreement                                                Arsdale          NW, 9th Floor



Party City Holdings Inc.   Dish                                         Blockbuster                                                 ‐               ‐ Douglas Mohr     9601 South         Englewood           CO      80112
                                                                                                                                                                       Meridian Boulevard



Party City Holdings Inc.   Disney                         2200029668 Disney US                                          $877,883.68                 ‐ Rob Michaelis    500 S. Buena Vista   Burbank           CA      91521
                                                                                                                                                                       Street




                                                                                                                  Page 21 of 75
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 24 of 248
         Debtor Name                    Counterparty Name           Contract ID          Title of Agreement               )   Cure Amount     503(b)(9)      Notice Name        Address                City      State   ZIP Code
Party City Holdings Inc.          Disney                            2200029667 Disney Party US                                  $192,951.61               ‐ Rob Michaelis 500 S. Buena Vista    Burbank           CA      91521
                                                                                                                                                                          Street



Party City Holdings Inc.          DISNEY CONSUMER PRODUCTS                       DISNEY CONSUMER PRODUCTS INC                             ‐               ‐                 500 S BUENA VISTA BURBANK             CA      91521
                                  INC                                            Supply Agreement                                                                           STREET



Party City Corporation            DISQO Feedback Loop Solution      12/31/2023                                                            ‐               ‐ Neil Marcus     588 Broadway #503 New York            NY      10012
                                  Subscription Service – up to
                                  5,000 Completes

Party City Corporation            Diversified Business Computers,    M06007      Web Learning ‐ o365                              $2,713.00               ‐ Jeff Davidson   333 US‐46 Suite 210 Fairfield         NJ      07004
                                  Inc.



Party City Holdings Inc.          Diversified Business Computers,    M05515      WEBLEARNING DATTO PRODUCT                                ‐               ‐ Jeff Davidson   333 US‐46 Suite 210 Fairfield         NJ      07004
                                  Inc.                                           SERVIC



Party City Corporation            Diversified Business Computers,                Web Learning ‐ Datto                                     ‐               ‐ Jeff Davidson   333 US‐46 Suite 210 Fairfield         NJ      07004
                                  Inc.



Party City Corporation            Dizzion, Inc.                      M02202      Dizzion, Inc. ‐ PCC ‐ Quote                              ‐               ‐                 600 17th Street,    Denver            CO      80202
                                                                                                                                                                            Suite 2600S



Party City Corporation            Dizzion, Inc.                                  Dizzion, Inc. ‐ PCC ‐ Master Service                     ‐               ‐                 600 17th Street,    Denver            CO      80202
                                                                                 Agreement                                                                                  Suite
                                                                                                                                                                            2600S

Party City Corporation            DJMJ Enterprises, Inc.             M00586      Franchise Agreement with DJMJ                            ‐               ‐ Don Lasseter, Jr. 10838 Vandale     San Antonio       TX      78216
                                                                                 Enterprises, Inc. dated 07/21/2019                                                           Street



Party City Holdings Inc.          DocuSign, Inc.                     M03577      DocuSign, Inc ‐ PCHI ‐ eSignature                        ‐               ‐ Jessica         221 Main Street,    San Francisco     CA      94105
                                                                                 Renewal Q‐00758861                                                         O'Connor        Suite 1550



Party City Holdings Inc.; Party   Dodge, Daisy                       M03290      Daisy Dodge ‐ PCHI ‐ Party City Holdco                   ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
Ci                                                                               Inc. ‐ CIC Severance Agreement



Party City Corporation            Dojo Enterprises, Inc.             M00588      Franchise Agreement with Dojo                            ‐               ‐ Don E. Lasseter, 10838 Vandale      San Antonio       TX      78216
                                                                                 Enterprises, Inc. dated 06/30/2011                                         Jr.              Street



Party City Holdco Inc.            Donnelley Financial LLC            M03807      Donnelley Financial LLC ‐ PCH ‐                    $525.00               ‐ Adam Belkin     35 West Wacker      Chicago           IL      60601
                                                                                 Subscription Order Form                                                                    Drive
                                                                                 (ActiveDisclosure Renewal)




                                                                                                                          Page 22 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 25 of 248
         Debtor Name            Counterparty Name       Contract ID           Title of Agreement             )   Cure Amount       503(b)(9)      Notice Name       Address                       City   State   ZIP Code
Party City Holdco Inc.     Donnelley Financial LLC       M04366 Donnelley Financial LLC ‐ PCH ‐                                ‐               ‐ Adam Belkin  35 West Wacker            Chicago            IL     60601
                                                                    Amendment to Subscription Order                                                           Drive
                                                                    Form (ActiveDisclosure)

Party City Corporation     DoorDash G&C, LLC             M05033    DoorDash G&C, LLC ‐ PCC ‐ Ecommerce                         ‐               ‐ Mike Goldblatt 303 2nd Street,         San Francisco     CA      94107
                                                                   Merchant Agreement                                                                           South
                                                                                                                                                                Tower, Suite 800

Amscan Inc.                Dove Print Solutions, Inc.    M01486    Dove Print Solutions, Inc. ‐ Amscan dba           $2,266.92                 ‐ David R. Harris 1819 Otis Way          Florence          SC      29501
                                                                   Deco ‐ Maintenance Agreement



Amscan Inc.                DP 78, LLC                    M05367    DP 78, LLC ‐ Amscan Inc. ‐ 32 Leone                         ‐               ‐ James A.           333 North Bedford Mount Kisco         NY      10549
                                                                   Lane Lease [2nd Amendment]                                                    Diamond            Road, Suite 45



Party City Corporation     DPIDirect                               DPIDirect                                                   ‐               ‐                    13257 Kirkham Way Poway               CA      92064
                                                                                                                                                                    | Poway, CA 92064



Amscan Inc.                Dunn Paper                    M01417    Dunn Paper ‐ Amscan, Inc. ‐ Supply              $182,599.88     $390,855.41 D'Arcy        10000 Avalon Blvd          Alpharetta        GA      30009
                                                                   Agreement                                                                   Schnekenburge Suite 750
                                                                                                                                               r

Amscan Inc.                Dunn Paper                    M01419    Dunn Paper ‐ Amscan, Inc. ‐ Supply                          ‐               ‐ D’Arcy        10000 Avalon Blvd        Alpharetta        GA      30009
                                                                   Agreement Amendment 02                                                        Schnekenburge Suite 750
                                                                                                                                                 r

Amscan Inc.                Dunn Paper                    M01420    Dunn Paper ‐ Amscan, Inc. ‐ Supply                          ‐               ‐ Legal              10000 Avalon Blvd   Alpharetta        GA      30009
                                                                   Agreement Amendment 03                                                        Department         Suite 750



Party City Holdings Inc.   DUNN PAPER INC                          DUNN PAPER INC Supply Agreement                             ‐               ‐ Legal              10000 Avalon Blvd   Alpharetta        GA      30009
                                                                                                                                                 Department         Suite 750



Amscan Inc.                dunnhumby Inc.                M05044    dunnhumby Inc ‐ Amscan ‐ Insight                            ‐               ‐ Jessica Pfeiffer   3825 Edwards        Cincinnati        OH      45209
                                                                   Services Contract                                                                                Road, Suite
                                                                                                                                                                    600

Amscan Inc.                eComchain Inc.                M01248    eComchain Inc. ‐ Amscan ‐ Cloud                             ‐               ‐ Robert Hayes       9300 Wade Blvd      Frisco            TX      75035
                                                                   Services Agreement and Statement of
                                                                   Work 1

Amscan Inc.                eComchain Inc.                M01249    eComchain Inc. ‐ Amscan ‐ Addendum                          ‐               ‐ Robert Hayes       9300 Wade Blvd      Frisco            TX      75035
                                                                   to Statement of Work 1



Party City Holdings Inc.   Econoco Corporation           M04249    Econoco Corporation ‐ PCHI ‐ Master             $356,102.92                     Dana Delfino     300 Karin Lane      Hicksville        NY      11801
                                                                   Services Agreement and Statement of
                                                                   Work 1




                                                                                                             Page 23 of 75
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 26 of 248
         Debtor Name                    Counterparty Name           Contract ID         Title of Agreement                )   Cure Amount       503(b)(9)       Notice Name        Address              City      State    ZIP Code
Party City Corporation            ECOVA f/k/a/ ENGIE INSIGHT         M05760 ENGIE INSIGHT SERVICES INC Supply                               ‐               ‐                 1313 N ATLANTIC ST Spokane           WA     99201‐2330
                                  SERVICES INC                                  Agreement



Party City Corporation            Edmond Public Schools              M03652   Edmond Public Schools ‐ PCC ‐ Vendor                          ‐               ‐                 1001 W. Danforth     Edmond          OK     73003‐4801
                                                                              Registration Form                                                                               Rd



Party City Holdings Inc.          Egnyte, Inc.                       M03993   Egnyte, Inc ‐ PCHI ‐ Quote Q‐27406                            ‐               ‐ Raghu           1350 W. Middlefield Mountain View    CA       94043
                                                                              Enterprise Renewal                                                              Gangavathi      Road



Party City Holdings Inc.; Party   Ehle, Marc                         M03291   Marc Ehle ‐ PCHI ‐ Party City Holdco Inc.                     ‐               ‐                 18 Coddington Lane Califon           NJ       07830
Ci                                                                            ‐
                                                                              CIC Severance Agreement

Amscan Inc.                       Employbridge Southeast, LLC dba    M04766   Employbridge Southeast ‐ Amscan ‐                             ‐               ‐ Gale Bender     3050 Peachtree Rd Atlanta            GA     30305‐2212
                                  ResourceMFG                                 Service Agreement                                                                               NW



Party City Holdings Inc.          Engie Insight Services Inc         M05774   Engie Insight Services dba Engie Impact                       ‐               ‐ Stephanie       1313 N Atlantic St   Spokane        WA        99201
                                                                              ‐                                                                               Krebs‐          Ste 5000
                                                                              PCC ‐ Change Authorization to Total                                             Anderson
                                                                              Energy and Sustainability Service
Party City Corporation            Engie Power & Gas LLC              M05049   Engie Power & Gas LLC ‐ PCC ‐ Natural             $323,178.38                 ‐ Michael Reiss   920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (New York)

Party Cit+A344y Corporation       Engie Power & Gas LLC              M05299   Engie Power & Gas LLC ‐ PCC ‐ Natural                         ‐               ‐                 920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (Ohio)

Party City Corporation            Engie Power & Gas LLC              M05300   Engie ‐ PCC ‐ Natural Gas Firm                                ‐               ‐                 920 Railroad Ave     Woodmere        NY       11598
                                                                              Commercial Service Agmnt (Ohio‐
                                                                              Columbia‐Dominion)

Party City Corporation            Engie Power & Gas LLC              M05053   Engie Power & Gas LLC ‐ PCC ‐ Natural                         ‐               ‐ Michael Reiss   920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (Maryland)

Party City Corporation            Engie Power & Gas LLC              M05298   Engie Power & Gas LLC ‐ PCC ‐ Natural                         ‐               ‐                 920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (NJ)

Party City Corporation            Engie Power & Gas LLC              M05051   Engie Power & Gas LLC ‐ PCC ‐ Natural                         ‐               ‐ Michael Reiss   920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (Illinois)

Party City Corporation            Engie Power & Gas LLC              M05050   Engie Power & Gas LLC ‐ PCC ‐ Natural                         ‐               ‐ Ann Harris      920 Railroad Ave     Woodmere        NY       11598
                                                                              Gas Firm Commercial Service
                                                                              Agreement (Pennsylvania)




                                                                                                                          Page 24 of 75
                                                 Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 27 of 248
         Debtor Name             Counterparty Name          Contract ID           Title of Agreement             )   Cure Amount       503(b)(9)       Notice Name         Address              City         State      ZIP Code
Party City Corporation     Engie Resources LLC               M05312 Engie Resources LLC ‐ PCC ‐ Sales                              ‐               ‐                 1360 Post Oak Blvd. Houston              TX         77056
                                                                        Confirmation (Illinois)                                                                      Suite 400



Party City Corporation     Engie Resources LLC               M05314    Engie Resources LLC ‐ PCC ‐ Sales                           ‐               ‐                 1360 Post Oak Blvd. Houston               TX        77056
                                                                       Confirmation (Illinois‐Ameren)                                                                Suite 400



Party City Corporation     Engie Resources LLC               M04000    Engie Resources LLC ‐ PCC ‐ Easy Flex                       ‐               ‐ Jay Bell        1360 Post Oak Blvd. Houston               TX        77056
                                                                       Day Ahead Agreement (AmSource)                                                                Suite 400



Party City Corporation     Engie Resources LLC               M03999    Engie Resources LLC ‐ PCC ‐ Easy Flex                       ‐               ‐ Jay Bell        1360 Post Oak Blvd. Houston               TX        77056
                                                                       Day Ahead Agreement (Rhode Island                                                             Suite 400
                                                                       Stores)

Amscan Inc.                Enk, Richard                      M02888    Richard Enk ‐ Amscan ‐ Separation                           ‐               ‐                 1711 Jaxon Way      Goshen                KY        40026
                                                                       Agreement and General Release



Amscan Inc.                EnviroProtect, LLC                M03796    EnviroProtect, LLC ‐ Amscan ‐ Consent                       ‐               ‐                 298 Kororoit Creek Williamstown, VIC   Australia    3016
                                                                       Judgment                                                                                      Road



Party City Corporation     ePlus ‐ Acronis                                                                                         ‐               ‐ Legal           13595 Dulles        Herndon               VA        20171
                                                                                                                                                     Department      Technology Drive



Party City Holdings Inc.   Equinix LLC                       M02236    Equinix LLC ‐ PCHI ‐ Master Country              $33,003.91                 ‐ Phil Read       One Lagoon Drive,   Redwood City          CA        94065
                                                                       Agreement with Terms & Conditions;                                                            4th Floor
                                                                       Sales Orders [IBX Center; Network Edge]

Amscan Inc.                Equipment Depot Kentucky, Inc.    M05463    Equipment Depot Kentucky, Inc ‐                   $4,705.60                 ‐ Josh Warren     4820 Crittenden     Louisville            KY        40209
                                                                       Amscan ‐ Lift Truck Quote                                                                     Drive,



Amscan Custom Injection    Equipment Finance Group, LLC;     M03501    Equipment Finance Group, LLC,                               ‐               ‐                 200 Clark Street    Dayton                KY        41074
Moldi                      Churchill Container, LLC                    Churchill Container, LLC ‐ ACIM ‐
                                                                       Assignment [227790‐001] &
                                                                       Incumbency Certificate
Amscan Custom Injection    Equipment Finance Group, LLC;     M03044    Equipment Finance Group, LLC,                               ‐               ‐                 200 Clark Street    Dayton                KY        41074
Moldi                      Churchill Container, LLC                    Churchill Container, LLC ‐ ACIM ‐
                                                                       Assumption Agreement

Amscan Custom Injection    Equipment Finance Group, LLC;     M01592    Equipment Finance Group, LLC ‐                              ‐               ‐                 200 Clark Street    Dayton                KY        41074
Moldi                      Wittman Battenfeld, Inc.                    Amscan Custom Injection Molding, LLC‐
                                                                       Lease Agreement 5/3/2019

Amscan Custom Injection    Equipment Finance Group, LLC;     M01594    Equipment Finance Group, LLC ‐                              ‐               ‐                 200 Clark Street    Dayton                KY        41074
Moldi                      Wittman Battenfeld, Inc.                    Amscan Custom Injection Molding, LLC ‐
                                                                       2019 Wittmann Battenfeld SmartPower
                                                                       400/3400 Injection Molding Machine w/




                                                                                                                 Page 25 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 28 of 248
       Debtor Name               Counterparty Name             Contract ID           Title of Agreement           ) Cure Amount           503(b)(9)        Notice Name         Address                City   State     ZIP Code
Amscan Custom Injection    Equipment Finance Group, LLC;        M01593 Equipment Finance Group, LLC ‐                           ‐                     ‐                  200 Clark Street   Dayton            KY        41074
Moldi                      Wittman Battenfeld, Inc.                        Amscan Custom Injection Molding, LLC ‐
                                                                           Wittman Battenfield, Inc. 240/1330
                                                                           Unilog B8 Lease Agreement
Party City Corporation     Ermetic, Inc.                        M04355 Ermetic, Inc ‐ PCC ‐ Order Form 0030514                  ‐                     ‐                  33 Arch Street     Boston            MA        02110




Party City Holdco Inc.     Ernst & Young LLP (EY)               M05598    Ernst & Young LLP ‐ PCH ‐ Master                            ‐               ‐ Teodora          99 South Wood Ave Iselin              NJ       08830
                                                                          Services Agreement (Tax, Post‐Petition)                                       Pankova



Amscan Inc.; Party City    Ernst & Young LLP (EY)               M00926    Amscan, PCC ‐ EY ‐ EBP Rep Letter                           ‐               ‐                  99 Wood Avenue     Iseline            NJ     08830‐0471
Corporat                                                                                                                                                                 South



Party City Holdings Inc.   Essex Technology Group Inc.          M03267    Essex Technology Group Inc ‐ PCHI ‐               $2,885.00                 ‐ David Luftig     250 Pehle Ave. Park Saddle Brook      NJ       07663
                                                                          Statement of Work [Mimix Role Swap                                                             80 West Plaza II
                                                                          Testing]

Party City Holdings Inc.   Essex Technology Group Inc.          M01956    Essex Technology Group LLC ‐ PCHI ‐                         ‐               ‐ David Luftig     250 Pehle Avenue   Saddle Brook       NJ       07663
                                                                          Master Services Agreement                                                                      Suite 200



Amscan Inc.                Essex Technology Group Inc.;         M02566    IBM (Essex) ‐ Amscan ‐ Statement of              $21,770.14                 ‐ Randolph         1 New Orchard      Armonk            NY        10504
                           International Business Machines                Work for ServiceElite (AVBYF9)                                                Masucci          Road
                           Corp. (IBM)

Party City Holdings Inc.   Ethoca Limited                                 Merchant Order Form                                 440.21                      ethoca.legal@m 605 100 Sheppard   Toronto          Canada   M2N 6N5
                                                                                                                                                          astercard.com Ave E



Party City Holdings Inc.   EVERTS (MALAYSIA) SDN.BHD.           M05682    Supply Agreement                                            ‐               ‐ Everts ‐      148 Edmund Street Birmingham            UK        B3 2JR
                                                                                                                                                        Summerhouse
                                                                                                                                                        Bidco Limited
                                                                                                                                                        c/o Squire
Party City Corporation     Excell Marketing, L.C.               M05401    Excell Marketing, L.C. ‐ PCC ‐ Vendor                       ‐               ‐ Mark Den Adel 5501 Park Avenue Des Moines              IA       50321
                                                                          Agreement



Party City Corporation     Excess Space Retail Services, Inc    M05464    Excess Space Retail Services, Inc ‐ PCC ‐                   ‐               ‐ Michael Weiner One Hollow Lane,     Lake Success      NY        11042
                                                                          Lease Restructuring Agreement                                                                Suite 112



Amscan Inc.                Facilities Maintenance Corp.         M05432    Facilities Maintenance Corp ‐ Amscan ‐           $27,140.88                 ‐ Scott King       P.O. Box 3689      Poughkeepsie      NY        12603
                                                                          Service Agreement Newburgh 2020



Party City Holdings Inc.   Fanatics Retail Group North, LLC     M05369    MLB Sublicense Agreement                        $174,026.64                                    8100 Nationsway    Jacksonville       FL       32256




                                                                                                                      Page 26 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 29 of 248
         Debtor Name             Counterparty Name         Contract ID         Title of Agreement                 )   Cure Amount       503(b)(9)       Notice Name       Address                City       State     ZIP Code
Party City Corporation     Fanplayr Inc.                    M05446 Fanplayr Inc. ‐ PCC ‐ Services                                   ‐               ‐ Simon Yencken 830 Menlo Ave.,       Menlo Park         CA        94025
                                                                       Agreements, Credit Note, Statement of                                                        Suite 201
                                                                       Work

Party City Corporation     Feedback Loop, Inc. (formerly    M01735     Feedback Loop, Inc. (fka Alpha UX, Inc.)                     ‐               ‐ Neil Marcus     588 Broadway #503 New York             NY        10012
                           known as Alpha UX, Inc.)                    ‐
                                                                       PCC ‐ Order Form FL3385

Party City Holdings Inc.   Fidelity Institutional Asset     M01533     Fidelity ‐ PCHI ‐ Target Date                                ‐               ‐ Casey Condron 900 Salem Street      Smithfield         RI        02917
                           Management Trust Company                    Participation Agreement [FIAM Group
                                                                       Trust for Employment Benefit Plans]

Amscan Inc.                Fink, Ralph                      M01147     Ralph Fink ‐ Amscan ‐ Severance                              ‐               ‐                 100 Tice Blvd       Woodcliff Lake     NJ        07677
                                                                       Agreement and General Release



Party City Corporation     Flipp Corporation                M05418     Flipp Corporation ‐ PCC ‐ Storefronts                        ‐               ‐ Lavan           3250 Bloor Street   Toronto ON       Canada     M8X 2X9
                                                                       Platform Order Form                                                            Jeyamuraly      West, Suite 1200



Party City Holdings Inc.   ForeScout Technologies, Inc.     M03611     Forescout Technologies, Inc ‐ PCHI,                          ‐               ‐ Amanda Barry    2400 Dallas Pkwy.   Plano              TX        75093
                                                                       Amscan International ‐ Asset Transfer                                                          Suite 230
                                                                       Letter

Party City Holdings Inc.   ForeScout Technologies, Inc.     M05342     ForeScout Technologies, Inc. ‐ PCHI ‐                        ‐               ‐ Darren J.       190 West Tasman     San Jose           CA        95134
                                                                       Master Product and Services Agreement                                          Milliken        Drive



Party City Corporation     Forum Party Company, LLC         M00591     Franchise Agreement with Forum Party                         ‐               ‐ Don Lasseter, Jr. 10838 Vandale     San Antonio        TX        78216
                                                                       Company, LLC dated 07/21/2015                                                                    Street



Party City Corporation     Front Range Retail Company,                                                                              ‐               ‐ Legal           PO BOX 440          Fort Collins       CO        80522
                           L.L.C.                                                                                                                     Department



Party City Holdings Inc.   FRSecure, LLC                    M01768     FRSecure, LLC ‐ PCHI ‐ Master Services             $1,750.00                 ‐                 141 W 1st St Ste    Minnetonka         MN        55345
                                                                       Agreement                                                                                      300



Amscan Inc.                FSC Global Development GmbH      M05592     FSC Global Development GmbH ‐                                ‐               ‐ Kim Bering      Charles‐de‐Gaulle   Bonn             Germany     53113
                                                                       Amscan dba Deco ‐ License Agreement                                            Becker          Str. 5
                                                                       for the FSC Certification Scheme                                               Carstensen

Party City Holdings Inc.   GAM Property Corp.               M04802     GAM Property Corp ‐ PCHI ‐ Letter                            ‐               ‐ Herbert Zakarin 3 Police Drive      Goshen             NY        10924
                                                                       Agreement [Forklift Lease Extension]



Party City Holdings Inc.   GAM Property Corp.               M04136     GAM Property Corp ‐ PCHI ‐ Letter                            ‐               ‐ Herbert Zakarin 3 Police Drive      Goshen             NY      10924‐6730
                                                                       Agreement [Forklift Lease]




                                                                                                                  Page 27 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 30 of 248
         Debtor Name             Counterparty Name          Contract ID            Title of Agreement           )   Cure Amount      503(b)(9)       Notice Name        Address             City             State      ZIP Code
Party City Corporation     Garda CL Atlantic, Inc.           M01406 Garda CL Atlantic, Inc. ‐ PCC ‐ Armored             $14,483.31               ‐                 2000 NW Corporate Boca Raton                FL        33431
                                                                        Car Service Agreement                                                                      Boulevard



Party City Holdings Inc.   General Mills‐                              Pillsbury Dougboy US/CA MX                       $1,292.93                ‐ Caitlin         One General Mills    Minneapolis           MN         55426
                                                                                                                                                   Leivermann      Boulevard



Amscan Inc.                Ginger Ray Limited                M01549    Ginger Ray Limited ‐ Amscan Inc. ‐             $203,086.59                ‐                 7‐9 Baker Street     Weybridge, Surrey      UK       KT13 8AE
                                                                       Distribution Agreement and Deed of
                                                                       Waiver

Party City Corporation     Global Mobility Solutions, LLC    M05383    Global Mobility Solutions, LLC ‐ PCC ‐           $5,455.88                ‐ John Fernandez 15333 N. Pima         Scottsdale             AR        85260
                                                                       Relocation Agreement                                                                       Road, Suite 240



Party City Holdings Inc.   Global Sourcing, Inc.             M03503    Global Sourcing, Inc dba CoEfficient ‐        $1,217,952.95    $4,632.55                    150 East 52nd        New York               NY        10022
                                                                       PCHI ‐ Master Services Agreement and                                                        Street
                                                                       Statement of Work

Party City Holdings Inc.   Globe Logistics, Inc.             M03743    Globe Logistics, Inc ‐ PCHI ‐                             ‐               ‐ Nenad           2 17 Washington      Carlstadt              NJ        07072
                                                                       Transportation Agreement                                                    Momiroski       Ave



Amscan Inc.                GM Financial Leasing                        Auto Lease                                                ‐               ‐ Lucent Health   PO Box 7020          Appelton               WI        54912
                                                                                                                                                   Solutions



Party City Corporation     GM Northrup                       M04577    GM Northrup ‐ PCC ‐ Construction                          ‐               ‐                 15950 Franklin Trail Prior Lake            MN         55057
                                                                       Agreement                                                                                   S.E.



Party City Holdings Inc.   GMT Consulting                    MO5518    Consulting Agreement                                      ‐               ‐ Marty Thomas    Via Codentro 3       Muzzano             Switzerla    06933
                                                                                                                                                                                                               nd



Party City Corporation     Gondola Skate Moving Systems,     M02449    Gondola Skate Moving Systems, Inc. ‐                      ‐               ‐ Legal           9941 Prospect        Santee                 CA        92071
                           Inc.                                        PCC ‐ 2018 Rental Proposal                                                  Department      Avenue



Party City Holdings Inc.   Google, Inc                                 GOOGLE INC Supply Agreement                               ‐               ‐                 1600                 MOUNTAIN VIEW          CA        94043
                                                                                                                                                                   AMPHITHEATER
                                                                                                                                                                   PKWY

Party City Holdings Inc.   Google, Inc                                 Advertising Service Agreement                             ‐               ‐ Walker, J. Kent 1600 Amphitheatre Mountain View             CA        94043
                                                                                                                                                                   Parkway



Party City Holdings Inc.   Gordon Brothers Commercial &      M05124    Gordon Brothers Commercial &                              ‐               ‐ Ulos Anderson   800 Boylston Street, Boston                MA         02199
                           Industrial, LLC                             Industrial LLC ‐ PCHI ‐ Statement of                                                        27th Floor
                                                                       Work and Bill of Sale Project 1
                                                                       (12.27.2020)




                                                                                                                Page 28 of 75
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 31 of 248
         Debtor Name                   Counterparty Name           Contract ID           Title of Agreement               )   Cure Amount       503(b)(9)      Notice Name       Address               City         State   ZIP Code
Party City Corporation            Gordon Brothers Retail Partners,  M05593 Gordon Brothers Retail Partners, LLC ‐                           ‐               ‐ Rick Edwards 800 Boylston Street, Boston               MA      02199
                                  LLC                                          PCC ‐ Amended and Restated                                                                  27th Floor
                                                                               Consulting Agreement

Party City Corporation            Gordon Brothers Retail Partners,   M05591   Gordon Brothers Retail Partners, LLC ‐                        ‐               ‐                 800 Boylston Street, Boston           MA       02199
                                  LLC                                         PCC ‐ Store Closing Program – Master                                                            27th Floor
                                                                              Consulting Agreement

Party City Holdings Inc.          Gordon Brothers Retail Partners,   M04892   Gordon Brothers Retail Partners, LLC ‐                        ‐               ‐ Andy Stone      15950 Franklin Trail Prior Lake       MN       55057
                                  LLC                                         PCHI ‐ Statement of Work [Wave 10] to                                                           S.E.
                                                                              Store Closing Program Master
                                                                              Consulting Agreement
Party City Holdings Inc.          Gordon Brothers Retail Partners,   M05125   Gordon Brothers Commercial &                                  ‐               ‐ Ulos Anderson   800 Boylston Street, Boston           MA       02199
                                  LLC                                         Industrial LLC ‐ PCHI ‐ Statement of                                                            27th
                                                                              Work Burt Road Facility                                                                         Floor

Party City Corporation            Gottimukkala, Vidya                M01817   Green Card ‐ PERM Residency                                   ‐               ‐ N/A             100 Tice Blvd        Woodcliff Lake    NJ      07677




Party City Corporation            Gottimukkala, Vidya                M01816   H‐1B Compliance Materials                                     ‐               ‐ N/A             100 Tice Blvd        Woodcliff Lake    NJ      07677




Party City Corporation            GovDocs                                     Subscription Order                                            ‐               ‐ Kara Kanis      1305 Corporate       Eagan            MN       55121
                                                                                                                                                                              Center
                                                                                                                                                                              Drive, ste 400

Party City Corporation            Granite Telecommunications, LLC    M04267   Granite Telecommunications, LLC ‐ PCC              $12,703.86                 ‐                 100 Newport Ave      Ext Quincy       MA       02171
                                                                              ‐
                                                                              Order Form

Party City Corporation            Granite Telecommunications, LLC    M01911   Granite Telecommunications, LLC ‐ PCC                         ‐               ‐                 100 Newport Ave      Ext Quincy       MA       02171
                                                                              ‐
                                                                              Master Services Agreement

Party City Corporation            Guruprasad, Vishwas                M01811   H‐1B Compliance Materials                                     ‐               ‐ N/A             100 Tice Blvd        Woodcliff Lake    NJ      07677




Amscan Inc.                       Handshake Corp.                    M05434   Handshake, Corp ‐ Amscan ‐ Master                             ‐               ‐                 627 Broadway, 9th New York             NY      10012
                                                                              Services Agreement                                                                              Floor



Party City Holdings Inc.; Party   Hans, John                         M03325   John Hans ‐ PCHI ‐ Party City Holdco Inc.                     ‐               ‐                 100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                            ‐
                                                                              CIC Severance Agreement

Party City Corporation            Harding, Renee                     M04539   Renee Harding ‐ PCC ‐ Separation                              ‐               ‐                 100 Tice Blvd        Woodcliff Lake    NJ      07677
                                                                              Agreement and Release




                                                                                                                          Page 29 of 75
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 32 of 248
         Debtor Name                    Counterparty Name        Contract ID         Title of Agreement                )   Cure Amount       503(b)(9)       Notice Name       Address                City     State   ZIP Code
Party City Corporation            Healthy Commerce, Inc.          M01280 Healthy Commerce, Inc. ‐ PCC ‐                                  ‐               ‐ Jason Brook   11722 Sorrento       San Diego         CA      92121
                                                                             Addendum                                                                                    Valley Rd STE H



Party City Holdings Inc.          HEBO Consulting Ltd.            M02909    HEBO Consulting Ltd ‐ PCHI ‐ First                           ‐               ‐ Suteesh        167‐169 Great        London           UK     W1W 5PF
                                                                            Amendment to Master Services                                                   Chumber        Portland Street, 5th
                                                                            Agreement                                                                                     Floor

Party City Corporation            Helium SEO, LLC                           Helium SEO                                                   ‐               ‐                11500 Northlake Dr. Cincinnati        OH      45249
                                                                                                                                                                          Suite
                                                                                                                                                                          125 Cincinnati OH
                                                                                                                                                                          45249
Party City Holdings Inc.; Party   Heller, Ian                     M04709    Ian Heller ‐ PCH ‐ Change in Control                         ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
Ci                                                                          Severance Agreement



Party City Corporation            Holden, Joanne                  M00986    Joanne Holden ‐ PCC ‐ Settlement                             ‐               ‐ N/A            100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                            Agreement and General Release



Party City Corporation            Honeywell/Intelligrated                   Honeywell/Intelligrated ‐ (expired                           ‐               ‐ Legal          7901 Innovation     Mason             OH      45050
                                                                            amendments are there but current                                               Department     Way
                                                                            renewal is not)

Party City Corporation            HP Inc.                         M05413    HP, inc ‐ PCC ‐ Customer Terms                     $9,703.79                 ‐ Jancsy Scott   11311 Chinden       Boise             IA      83714
                                                                            [Portfolio Documents]                                                                         Blvd., Bldg 3, MS
                                                                                                                                                                          334

Party City Corporation            HP Inc.                         M02475    HP Inc ‐ PCC ‐ Terms of Service                              ‐               ‐                1501 Page Mill      Palo Alto         CA      94304
                                                                                                                                                                          Road



Party City Holdings Inc.          HSA Bank                                  Banking facility that provides access to                     ‐               ‐ Attn: Legal Dept 1515 North River    Milwaukee       WI      53212
                                                                            HSA funds                                                                                       Center Drive, Suite
                                                                                                                                                                            235

Party City Corporation            HSA Bank                                                                                               ‐               ‐ Attn: Legal Dept 1515 North River    Milwaukee       WI      53212
                                                                                                                                                                            Center Drive, Suite
                                                                                                                                                                            235

Amscan Inc.                       HSA Bank                                                                                               ‐               ‐ Attn: Legal    1515 North River    Milwaukee         WI      53212
                                                                                                                                                           Dept           Center
                                                                                                                                                                          Drive, Suite 235

Party City Holdco Inc.            HSTechnology Solutions, Inc.    M05451    HSTechnology Solutions, Inc. ‐ PCHI ‐                        ‐               ‐ Ryan T. Day    23382 Mill Creek    Laguna Hills      CA      92653
                                                                            Plan Sponsor Service Agreement                                                                Drive, Suite 200



Party City Holdings Inc.          ICE Robotics LLC, dba ICE       M05307    ICE Robotics LLC, dba ICE Cobotics ‐                         ‐               ‐                101 E Roosevelt Ave Zeeland           MI      49464
                                  Cobotics                                  PCHI
                                                                            ‐ Cobot Trial Subscription Service
                                                                            Agreement




                                                                                                                       Page 30 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 33 of 248
         Debtor Name              Counterparty Name          Contract ID            Title of Agreement                )   Cure Amount       503(b)(9)        Notice Name        Address               City      State    ZIP Code
Party City Corporation     Icon International, Inc.           M04409 Icon International ‐ PCC ‐ Straight Trade                          ‐               ‐ Clarence V. Lee One East Weaver      Greenwich         CT       06831
                                                                         Credits Agreement                                                                III             Street



Party City Corporation     IDEA Public Schools                M04185     IDEA Public Schools ‐ PCC ‐ Vendor                             ‐               ‐ Jennifer Ornelas 2115 W. Pike Blvd   Weslaco           TX       78596
                                                                         Maintenance Agreement



Party City Holdings Inc.   IDMWORKS, LLC                      M04667     IDMWORKS, LLC ‐ PCHI ‐ Change Order                  $7,499.50                 ‐ Paul Bedi       PO BOX 140040        Coral Gables       FL      33114
                                                                         to Statement of Work 1



Party City Holdings Inc.   IDMWORKS, LLC                      M04514    IDMWORKS, LLC ‐ PCHI ‐ Master                                   ‐               ‐ Paul Bedi       PO BOX 140040        Coral Gables       FL      33114
                                                                        Services Agreement and Statement of
                                                                        Work (IAM Automation Phase 1
                                                                        Implementation)
Party City Corporation     Imperva                                                                                                      ‐               ‐ Steiner, Brad   One Curiosity Way, San Mateo           CA       94403
                                                                                                                                                                          Ste
                                                                                                                                                                          203

Party City Corporation     InComm Financial Services, Inc.    M05577     InComm Financial Services, Inc ‐ PCC ‐                         ‐               ‐ Michael         2525 Williams Rd     Columbus          GA       31909
                                                                         Appointment Agreement for Payment                                                Gruenhut
                                                                         Services

Party City Holdings Inc.   Independent II, LLC                M03660     Independent II, LLC ‐ PCHI ‐ Master                $199,617.19                 ‐ Finn MacDonald 7825 National         Louisville        KY       40214
                                                                         Services Agreement and Statement of                                                             Turnpike
                                                                         Work

Amscan Inc.                Infante, Piero                     M00640     Amscan ‐ Piero Infante ‐ Severance                             ‐               ‐                 100 Tice Blvd        Woodcliff Lake     NJ      07677
                                                                         Agreement



Party City Corporation     Information Clearinghouse LLC      M02833     Creditntell Real Estate Intelligence ‐ PCC                     ‐               ‐                 310 East Shore       Great Neck        NY       11023
                           d/b/a Creditntell                             ‐                                                                                                Road, Suite 309
                                                                         License Agreement

Party City Corporation     Information Systems Expert Inc                                                                               ‐               ‐ Legal           11711 N COLLEGE      CARMEL             IN      46032
                                                                                                                                                          Department      AVE, STE 200



Party City Holdings Inc.   Infosys BPM Limited                M04175     Infosys BPM Limited ‐ PCHI ‐                       $318,756.71                 ‐ Kaipal Jain     130 Diaz Ordaz       Santa Maria      Mexico    64650
                                                                         Amendment 1 to Master Services                                                                   Boulevard, 16th      Monterrey
                                                                         Agreement [Infosys Guarantor]                                                                    Floor Col

Party City Holdings Inc.   Infosys BPM Limited                M03771    Infosys BPM Limited ‐ PCHI ‐ Master                             ‐               ‐ Kaipal Jain     130 Diaz Ordaz       Santa Maria      Mexico    64650
                                                                        Services Agreement and Statement of                                                               Boulevard, 16th      Monterrey
                                                                        Work [FA Outsourcing]                                                                             Floor Col

Party City Holdings Inc.   Infosys BPM Limited                M04472     Infosys BPM Limited ‐ PCHI ‐ Procedural                        ‐               ‐ Kaipal Jain     130 Diaz Ordaz       Santa Maria      Mexico    64650
                                                                         Change Order 1 [Digitran]                                                                        Boulevard, 16th      Monterrey
                                                                                                                                                                          Floor Col




                                                                                                                      Page 31 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 34 of 248
         Debtor Name             Counterparty Name            Contract ID              Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name        Address                 City   State   ZIP Code
Party City Corporation     INSCRIBE, INC.                                   Inscribe                                                     ‐               ‐                 9 MICRO DRIVE       Woburn           MA      01801




Party City Holdings Inc.   Institutional Wholesale Co, Inc.    M05815       Institutional Wholesale Co, Inc ‐ PCHI ‐                     ‐               ‐                 535 Dry Valley Rd   Cookeville       TN      38506
                                                                            Hold Harmless Agreement



Amscan Inc.                Intelligrated Systems, LLC dba      M05349       Amscan‐ Intelligrated Systems Inc ‐                          ‐               ‐ Tathagata Basu 7901 Innovation      Mason            OH      45040
                           Honeywell                                        Master Tech. Agreement                                                                        Way



Amscan Inc.                Intelligrated Systems, LLC dba      M05318       Intelligrated Systems, LLC dba                               ‐               ‐ President       7901 Innovation     Mason            OH      45040
                           Honeywell                                        Honeywell ‐ Amscan ‐ Software Sales                                                            Way
                                                                            Proposal and Agreement 161559
                                                                            [EASYpick]
Party City Corporation     InTempo Software Inc., dba                                                                                    ‐               ‐ Crystal Roberts 95 Whitfield Drive, Jasper           GA      30143
                           Curbstone                                                                                                                                       SUITE D



Party City Holdings Inc.   International Business Machines     M03979       IBM ‐ PCHI ‐ Project Change Request 3 ‐                      ‐               ‐ Randolph        1 New Orchard       Armonk           NY      10504
                           Corp. (IBM)                                      Statement of Work 2 [Naperville WMS                                            Masucci         Road
                                                                            Implementation]

Party City Holdings Inc.   International Business Machines     M05127       IBM ‐ PCHI ‐ Master Service Agreement                        ‐               ‐ Cathy Finch     1 New Orchard       Armonk           NY      10504
                           Corp. (IBM)                                      for ServiceElite 08102006                                                                      Road



Party City Holdings Inc.   IOWA PRISON INDUSTRIES                           IOWA PRISON INDUSTRIES Supply                                ‐               ‐ Bob Fairfax     510 E 12th Street   Des Moines       IA      50319
                                                                            Agreement



Party City Corporation     Iron Mountain Information           M03659       Iron Mountain ‐ PCHI ‐ Addendum to                $31,035.84                 ‐ Matthew         1101 Enterprise     Royersford       PA      19468
                           Management, LLC                                  2014 Customer Agreement (Chester)                                              Fischer         Drive



Party City Corporation     Iron Mountain Information           M03658       Iron Mountain ‐ PCHI ‐ Customer                              ‐               ‐ Jorge Martins   1101 Enterprise     Royersford       PA      19468
                           Management, LLC                                  Agreement (IT ‐ 2014 Agreement)                                                                Drive



Party City Holdings Inc.   Iron Mountain Information           M03818       Iron Mountain ‐ PCHI ‐ Customer                              ‐               ‐ Matthew         1101 Enterprise     Royersford       PA      19468
                           Management, LLC                                  Agreement (Physical Storage) and                                               Fischer         Drive
                                                                            Statement of Work (Destruction)

Party City Holdings Inc.   Iron Mountain Information           M02333       Iron Mountain ‐ PCHI ‐ Termination                           ‐               ‐ Matthew         1101 Enterprise     Royersford       PA      19468
                           Management, LLC                                  Notice                                                                         Fischer         Drive



Party City Holdco Inc.     ISS Corporate Solutions, Inc.       M03751       ISS Corporate Solutions, Inc ‐ PCH ‐                         ‐               ‐ Mark Brockway 702 King Farm         Rockville       MD       20850
                                                                            Termination Agreement                                                                        Boulevard #400




                                                                                                                       Page 32 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 35 of 248
         Debtor Name              Counterparty Name            Contract ID            Title of Agreement              )   Cure Amount       503(b)(9)      Notice Name        Address                 City    State   ZIP Code
Party City Holdco Inc.     ISS Corporate Solutions, Inc.        M03753 ISS Corporate Solutions, Inc ‐ PCH ‐                             ‐               ‐ Mark Brockway 702 King Farm        Rockville         MD      20850
                                                                           Letter Agreement 1.6.20 with T&C's                                                           Boulevard, Suite
                                                                                                                                                                        400

Party City Corporation     J & H Party City,Inc.                M04165     J & H Party City, Inc ‐ PCC ‐ Asset                          ‐               ‐ John Cole       8044 Ritchie       Pasadena         MD       21122
                                                                           Purchase Agreement [Cole]                                                                      Highway



Amscan Inc.                J.R. Hoe & Sons                      M05381     J.R. Hoe & Sons ‐ Amscan ‐ Amendment                         ‐               ‐ Alice Johnson   101 Ironwood Road Middlesboro        KY      40965
                                                                           to Sublease [04.01.2018 ‐ 03.31.2023]



Amscan Inc.                Johnson Controls Fire Protection,    M01693     Johnson Controls Fire Protection, LP ‐             $9,420.29                 ‐ Melissa         4 Commerce Drive   Harriman          NY      10926
                           LP                                              Amscan, Inc. ‐ Rider to Service                                                DeGiglio
                                                                           Agreement

Amscan Inc.                Johnson Controls Fire Protection,    M05420     Johnson Controls Fire Protection, LP ‐                       ‐               ‐ Jay Cohen       4 Commerce Drive   Harriman          NY      10926
                           LP                                              Amscan ‐ Newburgh Renewal



Amscan Inc.                Johnson Controls Fire Protection,    M05409     Johnson Controls Fire Protection, LP ‐                       ‐               ‐ Mohammad        4 Commerce Drive   Harriman          NY      10926
                           LP                                              Amscan ‐ Chester Upgrade                                                       Anwar



Amscan Inc.                Johnson Controls Fire Protection,    M01695     Johnson Controls Fire Protection, LP ‐                       ‐               ‐ Melissa         4 Commerce Drive   Milwaukee         NY      10926
                           LP                                              Amscan, Inc. ‐ Proposal and Service                                            DeGiglio
                                                                           Agreement 2/26/2021

Amscan Inc.                Johnson Controls Fire Protection,    M01694     Johnson Controls Fire Protection, LP ‐                       ‐               ‐ Melissa         4 Commerce Dr      Harriman          NY      53201
                           LP                                              Amscan, Inc. ‐ Proposal and Service                                            DeGiglio
                                                                           Agreement

Party City Corporation     Jones, Catherine                     M03162     Catherine Jones ‐ PCC ‐ Separation                           ‐               ‐                 100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                           Agreement and General Release



Amscan Inc.                Jones, Shelly                        M04485     Shelly Jones ‐ Amscan ‐ Separation                           ‐               ‐                 100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                           Agreement and General Release



Party City Corporation     K Logix, LLC                         M01253     K Logix, LLC ‐ PCC ‐ Application                             ‐               ‐ George Gal      1319 Beacon Street, Brookline       MA       02446
                                                                           Penetration Testing Proposal                                                                   Suite 1



Party City Corporation     K Logix, LLC                         M03805     K Logix, LLC ‐ PCC ‐ Application                             ‐               ‐ George Gal      1319 Beacon Street, Brookline       MA       02446
                                                                           Penetration Testing SAF 20220518                                                               Suite 1



Party City Holdings Inc.   Kaiser Permanente                               Provides medical benefits for California                     ‐               ‐ Remedy          234 West Florida   Milwaukee         WI      53204
                                                                           residents                                                                      Analytics       Street, #150




                                                                                                                      Page 33 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 36 of 248
         Debtor Name                     Counterparty Name           Contract ID             Title of Agreement               )   Cure Amount      503(b)(9)      Notice Name           Address                City   State   ZIP Code
Party City Corporation            Kaiser Permanente                                Health Plan North & South                          $71,731.12               ‐ Attn: Legal Dept One Kaiser Plaza   Oakland           CA      94612
                                                                                                                                                                                  19th Floor



Party City Holdings Inc.          Kaleidoscope Imaging Inc.           M03867       Kaleidoscope Imaging Inc ‐ PCHI ‐                           ‐               ‐ Maria Berry     700 N. Sacramento Chicago             IL      60612
                                                                                   Change Order to Statement of Work 1                                                           Blvd



Party City Holdings Inc.          Kaleidoscope Imaging Inc.           M03789       Kaleidoscope Imaging Inc ‐ PCHI ‐                           ‐               ‐ Maria Berry     700 N. Sacramento Chicago             IL      60612
                                                                                   Master                                                                                        Blvd
                                                                                   Services Agreement and Statement of
                                                                                   Work
Amscan Inc.                       Kalluru, Srini                      M03738       H‐1B Compliance Materials                                   ‐               ‐ N/A             100 Tice Blvd       Woodcliff Lake    NJ      07677




Party City Holdings Inc.          Kenset Corporation                  M05070       Kenset Corporation ‐ PCHI‐ Letter to V.                     ‐               ‐ Vicken S.       2259 North Hobart Los Angeles         CA      90027
                                                                                   Setrakian (Kenset) re PCHI International                                      Setrakian       Boulevard
                                                                                   Transaction

Amscan Inc.                       Kenset Corporation                  M04181       Kenset Corporation ‐ Amscan ‐ 9th                           ‐               ‐ Vicken          2259 N. Hobart      Los Angeles       CA      90027
                                                                                   Addendum to A&R Distribution                                                  Setrakian       Boulevard
                                                                                   Agreement

Party City Holdings Inc.          Key Container Corp.                 M01194       Key Container Corp. ‐ PCHI ‐ Master                         ‐               ‐ David Strauss   21 Campbell Street Pawtucket          RI      02861
                                                                                   Services Agreement



Party City Holdings Inc.          Kivvit, LLC                         MO2987       Kivvit, LLC ‐ PCHI ‐ Statement of Work                      ‐               ‐ Attn: Eric      222 W.              Chicago           IL      60654
                                                                                   #1                                                                            Sedler,         Merchandise
                                                                                                                                                                 Managing        Mart, Suite 2400
                                                                                                                                                                 Partner
Amscan Inc.; Party City           Klauber Brothers, Inc.              M03787       Klauber Brothers, Inc ‐ PCC, Amscan ‐                       ‐               ‐ Mark Klauber    1101 Geartech       Pacific          MO       63069
Corporat                                                                           Settlement Agreement and Release of                                                           Parkway
                                                                                   Claims

Party City Holdings Inc.          KMCS Services LLC                   M04925       KMCS Services LLC ‐ PCHI ‐ Independent                      ‐               ‐ Kelley          8 Fayson Lake Rd.   Kinnelon          NJ      07405
                                                                                   Contractor Agreement                                                          McSweeney



Amscan Inc.                       Knapp Logistics Automation, Inc.    M05435       Knapp, Inc ‐ Amscan ‐ System Support              $14,709.74                ‐ Josef Mentzer   2124 Barret Park    Kennesaw          GA      30144
                                                                                   Contract                                                                                      Drive, Suite 100



Party City Holdings Inc.; Party   Koller, Tracey                      M03316       Tracey Koller ‐ PCHI ‐ Party City Holdco                    ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
Ci                                                                                 Inc. ‐ CIC Severance Agreement



Amscan Inc.                       Konica Minolta 181Qc                             MAINTENANCE‐ FINAL                                          ‐               ‐ Legal           JP Tower 2‐7‐2      Tokyo            Japan   100‐7015
                                                                                                                                                                 Department      Marunouchi
                                                                                                                                                                                 Chiyoda‐ku




                                                                                                                              Page 34 of 75
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 37 of 248
        Debtor Name                     Counterparty Name          Contract ID           Title of Agreement                 )   Cure Amount       503(b)(9)      Notice Name       Address                   City       State   ZIP Code
Amscan Inc.                       Konica Minolta 652                             MAINTENANCE                                                  ‐               ‐ Legal        JP Tower 2‐7‐2         Tokyo               Japan   100‐7015
                                                                                                                                                                Department   Marunouchi
                                                                                                                                                                             Chiyoda‐ku

Amscan Inc.                       Konica Minolta C360                            MAINTENANCE                                        $1,330.05                 ‐ Legal           JP Tower 2‐7‐2      Tokyo               Japan   100‐7015
                                                                                                                                                                Department      Marunouchi
                                                                                                                                                                                Chiyoda‐ku

Party City Holdco Inc.            Kulikowsky, Denise                M03451       Denise Kulikowsky ‐ PCH ‐ Second                             ‐               ‐                 100 Tice Blvd       Woodcliff Lake       NJ      07677
                                                                                 Amended and Restated Employment
                                                                                 Agreement vf

Party City Holdings Inc.; Party   Kulikowsky, Denise                M03292       Denise Kulikowsky ‐ PCHI ‐ Party City                        ‐               ‐                 100 Tice Blvd       Woodcliff Lake       NJ      07677
Ci                                                                               Holdco Inc. ‐ CIC Severance Agreement



Party City Holdco Inc.            Kulikowsky, Denise                M04685       Denise Kulikowsky ‐ PCH ‐ Third                              ‐               ‐                 100 Tice Blvd       Woodcliff Lake       NJ      07677
                                                                                 Amended and Restated Employment
                                                                                 Agreement

Party City Holdco Inc.            Kulikowsky, Denise                M05362       Denise Kulikowsky‐ PCHI‐ Amended                             ‐               ‐ Denise          100 Tice Blvd       Woodcliff Lake       NJ      07677
                                                                                 and Restated 2012 Omnibus Equity                                               Kulikowsky
                                                                                 Incentive Plan

Party City Holdings Inc.; Party   Kupsch, John                      M03303       John Kupsch ‐ PCHI ‐ Party City Holdco                       ‐               ‐                 100 Tice Blvd       Woodcliff Lake       NJ      07677
Ci                                                                               Inc. ‐ CIC Severance Agreement



Amscan Inc.                       L&L Nursery Supply, Inc.          M05480       L&L Nursery Supply, Inc.                                     ‐               ‐                 2552 Shenandoah     San Bernardino       CA      92407
                                                                                                                                                                                Way



Party City Holdings Inc.          Labor Network, Inc.               M05086       Labor Network, Inc ‐ PCHI ‐ Temporary             $20,813.64                 ‐ Ralph           888 E. New York     Aurora               IL      60505
                                                                                 Employee Staffing Agreement and                                                Brandonisio     Street
                                                                                 Statement of Work

Party City Corporation            Labor Network, Inc.               M05086       Labor Network, Inc ‐ PCHI ‐ Temporary                        ‐               ‐ Ralph           888 E. New York     Aurora               IL      60505
                                                                                 Employee Staffing Agreement and                                                Brandonisio     Street
                                                                                 Statement of Work

Party City Holdings Inc.          Labtest International Inc. dba    M02469       Labtest International Inc dba Intertek ‐          $72,271.00                 ‐ John Luzzi      545 E. Algonquin Rd Arlington Heights    IL      60005
                                  Intertek                                       PCHI ‐ Master Services Agreement,
                                                                                 Statement of Work and Amendment 1
                                                                                 to
Party City Holdings Inc.          Ladder Creek, LLC                 M02799       Ladder Creek, LLC ‐ PCHI ‐ Helium                            ‐               ‐ Durell Johnson P.O. Box 442         Cheyenne Wells       CO      80810
                                                                                 Tolling
                                                                                 Agreement

Party City Corporation            Lasseter Enterprises, Inc.        M00585       Franchise Agreement with Lasseter                            ‐               ‐ Don Lasseter,   6094 Appletree      Memphis              TN      38115
                                                                                 Enterprises, Inc. dated 01/21/2018                                             Sr.             Drive,
                                                                                                                                                                                Suite 11




                                                                                                                            Page 35 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 38 of 248
         Debtor Name             Counterparty Name             Contract ID           Title of Agreement                   )   Cure Amount       503(b)(9)      Notice Name         Address              City   State   ZIP Code
Party City Corporation     Lasseter Enterprises, Inc.           M00584 Franchise Agreement with Lasseter                                    ‐               ‐ Don Lasseter, 6094 Appletree        Memphis       TN      38115
                                                                           Enterprises, Inc. dated 09/22/2017                                                 Sr.           Drive,
                                                                                                                                                                            Suite 11

Party City Corporation     Lastpass                                                                                                         ‐               ‐ Legal          333 Summer Street Boston          MA       02210
                                                                                                                                                              Department



Amscan Inc.                Latham Time                                     MAINTENANCE                                                      ‐               ‐ Legal          200 Selig Drive SW Atlanta         GA      30336
                                                                                                                                                              Department



Amscan Inc.                Lazarus 3D, Inc.                     M02845     Lazarus 3D, Inc ‐ Amscan ‐ Supplier                              ‐               ‐ Jacques        421 Water Ave NE. Albany           OR      97321
                                                                           Quality Agreement                                                                  Zaneveld       STE 1100



Party City Holdings Inc.   LeanPie USA Inc                      M05673     Leanpie will produce and supply                                  ‐               ‐                610 Winters Ave      Paramus       NJ      07652
                                                                           specialty store fixtures and displays for
                                                                           PCHI stores. Market‐type fixtures will be
                                                                           non‐exclusive and there shall be 1
Party City Holdings Inc.   Leason Ellis LLP                     M03381     Leason Ellis LLP ‐ PCHI ‐ Conflict Waiver             $78,670.23                 ‐                One Barker Avenue White Plains     NY      10601
                                                                           with Ningbo TR‐Party Co Ltd [IP
                                                                           Infringement Dispute with Tangle Inc]

Party City Corporation     Lens Group, LLC doing business       M01842     Acadia.io, LLC fka as Lens Group, LLC                            ‐               ‐ Sally Kazin    25 W 8th St. Suite   Holland       MI      49423
                           as Lift361; Acadia.io LLC dba                   dba                                                                                               200.
                           Lift361, LLC (fka Lens Group LLC)               Lift361 ‐ PCC ‐ Consent to Assignment

Amscan Inc.                Level 3 Communications, LLC dba      M02327     Level 3 Communications, LLC ‐ PCHI ‐                             ‐               ‐ Dwight E       100 CenturyLink      Monroe        LA      71203
                           Lumen Technologies Group                        Master Services Agreement [use with                                                Steiner        Drive
                                                                           Lumen]

Amscan Inc.                Level 3 Communications, LLC dba      M02328     Lumen Technologies Group ‐ PCHI ‐                                ‐               ‐ Zubin Vyas     100 CenturyLink      Monroe        LA      71203
                           Lumen Technologies Group                        Quote No 12642703                                                                                 Drive



Amscan Inc.                Lewiston Realty Holdings, LLC.       M05406     Lewiston Realty Holdings, LLC ‐ Amscan                           ‐               ‐ Moses Berger   22 Route 59, Suite   Suffern       NY      10901
                                                                           ‐                                                                                                 300
                                                                           Confirmation Agreement Unit 100B

Amscan Inc.                Linde                                           LEASE                                                   $684.80                  ‐ Abhijeet Parmer 10 Riverview Drive Danbury        CT      06810




Party City Corporation     Linde Gas & Equipment Inc.           M02494     Linde, Inc. (formerly known as Praxair             $2,352,430.46                 ‐ Amer Akhras    10 Riverview Drive Danbury         CT      06588
                           (formerly known as Praxair                      Distribution, Inc.) ‐ PCC ‐ Letter
                           Distribution, Inc.)                             Agreement dated 9/12/2019, Product
                                                                           Supply Agreement and Rider
Party City Corporation     Linde Gas & Equipment Inc.           M02591     Linde, Inc (fka Praxair Distribution, Inc) ‐                     ‐               ‐ Amer Akhras    10 Riverview Drive Danbury         CT      06810
                           (formerly known as Praxair                      PCC ‐ Letter Amendment to Product
                           Distribution, Inc.)                             Supply Agreement ZN101‐07 5.2.19




                                                                                                                          Page 36 of 75
                                                Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 39 of 248
         Debtor Name              Counterparty Name     Contract ID            Title of Agreement            ) Cure Amount             503(b)(9)      Notice Name          Address             City     State    ZIP Code
Party City Corporation     Linde Gas & Equipment Inc.    M02587 Linde, Inc (fka Praxair Distribution, Inc) ‐               ‐                       ‐ Abhijeet Parmar 10 Riverview Drive Danbury          CT     06810‐5113
                           (formerly known as Praxair               PCC ‐ Cylinder Rider to Product Supply
                           Distribution, Inc.)                      Agreement ZN101‐07 1.1.205

Party City Corporation     Linde Gas & Equipment Inc.    M02586     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Tim Walters    10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Cylinder Rider to Product Supply
                           Distribution, Inc.)                      Agreement ZN101‐07 11.30.2009

Party City Corporation     Linde Gas & Equipment Inc.    M02497     Linde, Inc. (formerly known as Praxair                         ‐               ‐ Abhijeet Parmar 10 Riverview Drive Danbury          CT     06810‐6268
                           (formerly known as Praxair               Distribution, Inc.) ‐ PCC ‐ Letter
                           Distribution, Inc.)                      Amendment to Product Supply
                                                                    Agreement ZN101‐07 12 4 20
Party City Corporation     Linde Gas & Equipment Inc.    M02592     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Abhijeet Parmar 10 Riverview Drive Danbury          CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Letter Agreement to Product
                           Distribution, Inc.)                      Supply Agreement ZN101‐07 2.1.22

Party City Holdings Inc.   Linde Gas & Equipment Inc.    M03074     Linde Gas & Equipment Inc ‐ PCHI ‐                             ‐               ‐ Jason Moural   10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               Services Rider to Product Supply
                           Distribution, Inc.)                      Agreement 3‐15‐22

Party City Holdings Inc.   Linde Gas & Equipment Inc.    M03072     Linde Gas & Equipment Inc ‐ PCC ‐                              ‐               ‐ Jason Moural   10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               Letter Amendment 3‐15‐22
                           Distribution, Inc.)

Party City Corporation     Linde Gas & Equipment Inc.    M02589     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Amer Akhras    10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Letter Agreement to Product
                           Distribution, Inc.)                      Supply Agreement ZN101‐07 10.6.17

Party City Corporation     Linde Gas & Equipment Inc.    M02588     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Amer Akhras    10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Letter Agreement to Product
                           Distribution, Inc.)                      Supply Agreement ZN101‐07 9.30.2015

Party City Holdings Inc.   Linde Gas & Equipment Inc.    M04394     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Abhijeet Parmar 10 Riverview Drive Danbury          CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Notice of Declaration of
                           Distribution, Inc.)                      Contingency Event (Helium Surcharge)

Party City Corporation     Linde Gas & Equipment Inc.    M02585     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Abhijeet Parmar 10 Riverview Drive Danbury          CT     06810‐6268
                           (formerly known as Praxair               PCC ‐ Product Supply Agreement
                           Distribution, Inc.)                      ZN101‐ 07

Party City Corporation     Linde Gas & Equipment Inc.    M02590     Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐               ‐ Amer Akhras    10 Riverview Drive Danbury           CT       06588
                           (formerly known as Praxair               PCC ‐ Letter Agreement to Product
                           Distribution, Inc.)                      Supply Agreement ZN101‐07 11.20.18

Party City Holdings Inc.   Linde Gas & Equipment Inc.    M04271     Linde Gas & Equipment Inc ‐ PCC ‐ SLA                          ‐               ‐ Abhijeet       10 Riverview Drive Danbury           CT     06810‐6268
                           (formerly known as Praxair               Letter 8‐9‐22                                                                    Parmar
                           Distribution, Inc.)

Amscan Inc.                Linder, Mark                  M01063     Mark Linder ‐ Amscan ‐ Severance                               ‐               ‐                100 Tice Blvd      Woodcliff Lake    NJ       07677
                                                                    Agreement




                                                                                                                   Page 37 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 40 of 248
         Debtor Name             Counterparty Name        Contract ID       Title of Agreement                   )   Cure Amount       503(b)(9)      Notice Name      Address            City               State   ZIP Code
Party City Corporation     LinkedIn Corporation            M01252 LinkedIn Corporation ‐ PCC ‐ Order                               ‐               ‐ Marshia      1000 W Maude Ave Sunnyvale                  CA      94085
                                                                      Form                                                                           Escobar



Party City Corporation     Lisann Party Corp.              M05165     Lisann Party Corp ‐ PCC ‐ Asset Purchase                     ‐               ‐ John Gaffney    2373 W. Ridge Rd.    Rochester           NY      14626
                                                                      Agreement, Assignment and Bill of Sale



Party City Corporation     LN and NN, LLC                  M00556     Franchise Agreement with LN and NN,                          ‐               ‐ Upen Shah       7000 Hadley Road     South Plainfield    NJ      07080
                                                                      LLC dated 02/01/2017



Party City Holdings Inc.   Louis F. Leeper Company         M03395     Louis F Leeper Company ‐ PCHI ‐ Master                       ‐               ‐ Legal           419 Friday Road      Pittsburgh          PA      15209
                                                                      Services Agreement                                                             Department



Party City Holdings Inc.   Louis F. Leeper Company         M03396     Louis F Leeper Company ‐ PCHI ‐                              ‐               ‐ James Leeper    5145 Brecksville Rd Richfield            OH      44286
                                                                      Statement of Work                                                                              Ste 201



Party City Holdings Inc.   Lucas                          2200029642 Lucas CN‐Star Wars , Party, Baloons,              $157,683.00                 ‐ JP Southern     500 S. Buena Vista   Burbank             CA      91521
                                                                     Costumes                                                                                        Street



Party City Holdings Inc.   Lucas                          2200029643 Lucas US‐Star Wars                                 $62,817.30                 ‐ JP Southern     500 S. Buena Vista   Burbank             CA      91521
                                                                                                                                                                     Street



Party City Holdings Inc.   LUCENT HEALTH                              LUCENT HEALTH Supply Agreement                               ‐               ‐                 PO BOX 7020          APPLETON            WI      54912




Party City Holdings Inc.   Lucent Health Solutions                    Adminsters 3 medical/vision plans                            ‐               ‐ Peerfit, Inc.   1060 Woodcock Rd Orlando                 FL      32803
                                                                                                                                                                     Ste 128



Party City Holdings Inc.   Lucent Health Solutions, LLC    M05234     Lucent Health Solutions, LLC ‐ PCHI ‐                        ‐               ‐                 P.O. Box 7020        Appleton            WI      54912
                                                                      Aetna HSA [Gold HSA Plan]



Party City Holdings Inc.   Lucent Health Solutions, LLC    M05235     Lucent Health Solutions, LLC ‐ PCHI ‐                        ‐               ‐                 P.O. Box 7020        Appleton            WI      54912
                                                                      Aetna HSA [Gold HSA Plan] Amendment
                                                                      1

Party City Holdings Inc.   Lucent Health Solutions, LLC    M05233     Lucent Health Solutions, LLC ‐ PCHI ‐                        ‐               ‐                 P.O. Box 7020        Appleton            WI      54912
                                                                      Aetna PPO [In‐Network Only Plan]



Party City Holdings Inc.   Lucent Health Solutions, LLC    M05238     Lucent Health Solutions, LLC ‐ PCHI ‐                        ‐               ‐                 P.O. Box 7020        Appleton            WI      54912
                                                                      Aetna HSA [Gold HSA Plan] COVID
                                                                      Amendment




                                                                                                                 Page 38 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 41 of 248
         Debtor Name             Counterparty Name        Contract ID          Title of Agreement              )   Cure Amount       503(b)(9)        Notice Name         Address             City    State   ZIP Code
Party City Holdings Inc.   Lucent Health Solutions, LLC    M05236 Lucent Health Solutions, LLC ‐ PCHI ‐                          ‐               ‐                  P.O. Box 7020      Appleton        WI      54912
                                                                      Aetna PPO [In‐Network Only Plan]
                                                                      Amendment 1

Party City Holdings Inc.   Lucent Health Solutions, LLC    M05239    Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐               ‐                  P.O. Box 7020      Appleton        WI      54912
                                                                     Aetna PPO [In‐Network Only Plan]
                                                                     COVID Amendment

Party City Holdings Inc.   Lucent Health Solutions, LLC    M05237    Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐               ‐                  P.O. Box 7020      Appleton        WI      54912
                                                                     VBP HSA [Freedom HSA Plan]
                                                                     Amendment 1

Party City Holdings Inc.   Lucent Health Solutions, LLC    M05240    Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐               ‐                  P.O. Box 7020      Appleton        WI      54912
                                                                     VBP HSA [Freedom HSA Plan] COVID
                                                                     Amendment

Party City Holdings Inc.   Lucent Health Solutions, LLC    M05231    Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐               ‐                  P.O. Box 7020      Appleton        WI      54912
                                                                     VBP
                                                                     HSA [Freedom HSA Plan]

Party City Corporation     Lucid Chart                                                                                           ‐               ‐ Legal            10355 S Jordan     South Jordan    UT      84095
                                                                                                                                                   Department       Gateway #300



Party City Corporation     M. Patel Enterprises, Inc.      M00595    Franchise Agreement with M. Patel                           ‐               ‐ Mitesh Patel     11150 Research     Austin          TX      78759
                                                                     Enterprises, Inc. dated 04/28/2016                                                             Boulevard, Suite
                                                                                                                                                                    100B

Party City Corporation     M. Patel Enterprises, Inc.      M00594    Franchise Agreement with M. Patel                           ‐               ‐ Mitesh Patel     11150 Research     Austin          TX      78759
                                                                     Enterprises, Inc. dated 04/28/2016                                                             Boulevard, Suite
                                                                                                                                                                    100B

Party City Corporation     M. Patel Enterprises, Inc.      M00596    Franchise Agreement with M. Patel                           ‐               ‐ Mitesh Patel     11150 Research     Austin          TX      78759
                                                                     Enterprises, Inc. dated 04/28/2016                                                             Boulevard, Suite
                                                                                                                                                                    100B

Party City Corporation     Maine Oxy‐Acetylene Supply      M01364    Maine Oxy‐Acetylene Supply Company ‐            $125,953.02                     Bryan Gentry   100 Washington     Auburn         ME       04210
                           Company                                   PCC ‐ Supply Agreement Updated                                                                 Street North
                                                                     Pricing

Amscan Inc.                Manhattan Associates, Inc.      M05883    Manhattan Associates, Inc ‐ Amscan ‐                        ‐               ‐                  2300 Windy Ridge Atlanta           GA      30339
                                                                     Letter Amendment to Software License,                                                          Parkway, 10th Floor
                                                                     Services, Support and Enhancements
                                                                     Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05887    Manhattan Associates, Inc ‐ Amscan ‐                        ‐               ‐                  2300 Windy Ridge Atlanta           GA      30339
                                                                     Amendment (Slot‐it Transport) to                                                               Parkway, 10th Floor
                                                                     Software License, Services, Support and
                                                                     Enhancements Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05885    Manhattan Associates, Inc ‐ Amscan ‐                        ‐               ‐                  2300 Windy Ridge Atlanta           GA      30339
                                                                     Letter Amendment (HA) to Software                                                              Parkway, 10th Floor
                                                                     License, Services, Support and
                                                                     Enhancements Agreement




                                                                                                               Page 39 of 75
                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 42 of 248
        Debtor Name             Counterparty Name             Contract ID            Title of Agreement           ) Cure Amount          503(b)(9)       Notice Name         Address             City    State   ZIP Code
Amscan Inc.                Manhattan Associates, Inc.          M05884 Manhattan Associates, Inc ‐ Amscan ‐                      ‐                    ‐                  2300 Windy Ridge Atlanta          GA      30339
                                                                          Letter Amendment to Software License,                                                         Parkway, 10th Floor
                                                                          Services, Support and Enhancements
                                                                          Agreement
Amscan Inc.                Manhattan Associates, Inc.          M05882 Manhattan Associates, Inc ‐ Amscan ‐                      ‐                    ‐                  2300 Windy Ridge Atlanta          GA      30339
                                                                          Software License, Services, Support and                                                       Parkway, 10th Floor
                                                                          Enhancements Agreement

Amscan Inc.                Manhattan Associates, Inc.          M05886     Manhattan Associates, Inc ‐ Amscan ‐                       ‐               ‐                  2300 Windy Ridge Atlanta          GA      30339
                                                                          Letter Amendment (Power Upgrade) to                                                           Parkway, 10th Floor
                                                                          Software License, Services, Support and
                                                                          Enhancements Agreement
Amscan Inc.                ManpowerGroup US Inc.               M03387     Manpower ‐ Amscan Inc. ‐ Master                            ‐               ‐ Karen            100 Manpower         Milwaukee    WI      53212
                                                                          Service Agreement & Statement of                                             McGowan          Place
                                                                          Work

Party City Holdings Inc.   Mapbox, Inc.                        M03780     Mapbox, Inc ‐ PCHI ‐ Master Services                       ‐               ‐ Scott D. Hill    740 15th St NW, 5th Washington    DC      20005
                                                                          Agreement and Order Form                                                                      Floor



Party City Corporation     Mapquest, Inc.                      M05561     MapQuest, Inc ‐ PCC ‐ Enterprise Edition                   ‐               ‐ Brian            275 West Street,     Annapolis   MD       21401
                                                                          Agreement                                                                    McMahon          Suite
                                                                                                                                                                        216

Party City Corporation     Mapquest, Inc.                      M05524     Mapquest, Inc ‐ PCC ‐ Amendment NO.                        ‐               ‐ Doug Berger      1555 Blake Street,   Denver       CO      80202
                                                                          7 to Enterprise License Agreement                                                             Suite 300



Party City Corporation     Marco Contractors, Inc.             M04518     Marco Contractors ‐ PCC ‐ Construction                     ‐               ‐ Nicholas H.      100 Commonwealth Warrendale       PA      15086
                                                                          Agreement                                                                    Smith            Dr



Party City Holdings Inc.   Market Track, LLC dba               M01998     Market Track, LLC dba Numerator ‐ PCHI                     ‐               ‐ Regan Garrett    24 E Washington St, Chicago       IL      60602
                           Numerator                                      Shopper and People Insights Order                                                             Ste 1200
                                                                          Form SOW [Q‐64359]

Party City Holdings Inc.   Marriott Corporation                M04764     Marriott (Hanover) ‐ PCHI ‐ Special                        ‐               ‐ Julie Chadwick   1401 NJ‐10E          Whippany     NJ      07981
                                                                          Room Rate Agreement (Tice)



Party City Corporation     Martellus, LLC ‐ PCC ‐ Markeitng                                                                          ‐               ‐                  201 West 86th        New York     NY      10025
                           Consulting Scope Detail                                                                                                                      Street, Suite 7M



Party City Corporation     Martellus, LLC d/b/a Martellus      M02684     Martellus, LLC dba Martellus Group ‐                       ‐               ‐ Rosa Sabater     200 West 86th        New York     NY      10024
                           Group                                          PCC ‐ Business Advisory Services                                                              Street, Suite 7M
                                                                          Agreement 7.2.20

Party City Corporation     Martellus, LLC d/b/a Martellus      M05146     Martellus, LLC ‐ PCC ‐ CRM Consulting                      ‐               ‐                  200 West 86th        New York     NY      10024
                           Group                                          Scope Detail                                                                                  Street, Suite 7M




                                                                                                                     Page 40 of 75
                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 43 of 248
         Debtor Name                Counterparty Name          Contract ID            Title of Agreement             )   Cure Amount       503(b)(9)      Notice Name      Address             City             State    ZIP Code
Party City C+A558orporation   Martellus, LLC d/b/a Martellus    M02690 Martellus, LLC dba Martellus Group ‐                            ‐               ‐ Legal        200 W 86th St, 7M New York                 NY       10024
                              Group                                        PCC ‐ Statement of Work 1.12.21 [L.                                           Department
                                                                           Tierney]

Party City Corporation        Martellus, LLC d/b/a Martellus    M02685     Martellus, LLC dba Martellus Group ‐                        ‐               ‐ Legal          200 W 86th St, 7M New York               NY       10024
                              Group                                        PCC ‐ Statement of Work 7.2.20 [M.                                            Department
                                                                           McCambridge]

Party City Corporation        Martellus, LLC d/b/a Martellus    M02688     Martellus, LLC dba Martellus Group ‐                        ‐               ‐ Legal          200 W 86th St, 7M New York               NY       10024
                              Group                                        PCC ‐ Statement of Work 12.13.20 [L.                                          Department
                                                                           Tierney]

Party City Corporation        Martellus, LLC d/b/a Martellus    M02686     Martellus, LLC dba Martellus Group ‐                        ‐               ‐ Legal          200 W 86th St, 7M New York               NY       10024
                              Group                                        PCC ‐ Statement of Work 3.14.21 [M.                                           Department
                                                                           McCambridge]

Party City Holdings Inc.      Marvel                             152742    Marvel US, CN, MX                               $458,362.62                 ‐ Isaac Perlmutter 1290 Avenue of the New York            NY       10104
                                                                                                                                                                          Americas 2nd Floor



Party City Holdings Inc.      Marvel                             152722    Marvel US                                        $73,670.60                 ‐ Isaac Perlmutter 1290 Avenue of the New York            NY       10104
                                                                                                                                                                          Americas 2nd Floor



Party City Holdings Inc.      Masis Staffing Solutions LLC      M04558     Masis Staffing Solutions LLC ‐ PCHI ‐                       ‐               ‐ Dani DelleChiaie 1331 Grafton Street Worcester          MA       01604
                                                                           Temporary Employee Staffing
                                                                           Agreement and Statement of Work

Party City Holdings Inc.      Mass Minority, Inc.               M02795     Mass Minority Inc ‐ PCHI ‐ Statement of                     ‐               ‐ Christine      51 Mill Street #200 Toronto ON          Canada   M5A 3C4
                                                                           Work Proposal to MSA                                                          McArthur



Party City Corporation        Mass Minority, Inc.               M01687     Mass Minority, Inc. ‐ PCC ‐ Master                          ‐               ‐ Christine      51 Mill Street #200 Toronto ON          Canada   M5A 3C4
                                                                           Services Agreement                                                            McArthur



Party City Corporation        Massachusetts Gaming              M01304     Massachusetts Gaming Commission ‐                           ‐               ‐                101 Federal Street, Boston               MA       02110
                              Commission                                   PCC ‐ Non Gaming Vendor Registration                                                         12th Floor



Amscan Inc.                   Matrix Solar OC Newburgh Route    M01764     Matrix Solar OC Newburgh Route 17K,              $33,959.42                 ‐                296 Labrosse Ave     Pointe Claire QC   Canada   H9R 5L8
                              17K, LLC                                     LLC ‐ Amscan ‐ Community Solar
                                                                           Distributed Generation Subscription
                                                                           Agreement and Disclosure Form
Party City Holdings Inc.      Mattel                             109089    Multi: Barbie/HW/FP/MT ‐ US,CA&MX               $156,847.53                 ‐ Todd Piccus    333 Continental      El Segundo          CA       90245
                                                                           (PC only)                                                                                    Blvd



Party City Holdings Inc.      Mattel                             109104    Thomas MATTEL US ONLY                             $9,933.51                 ‐ Todd Piccus    333 Continental      El Segundo          CA       90245
                                                                                                                                                                        Blvd




                                                                                                                     Page 41 of 75
                                                 Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 44 of 248
         Debtor Name             Counterparty Name       Contract ID           Title of Agreement           ) Cure Amount          503(b)(9)      Notice Name       Address             City          State    ZIP Code
Party City Corporation     McClintock's Party City        M01519 McClintock's Party City, LLC ‐ PCC ‐ Asset               ‐                    ‐ Randall      3177 Lebanon Pike Nashville              TN     37214‐2314
                                                                     Purchase Agreement                                                          McClintock



Party City Holdings Inc.   McFarland, Aaron               M05195    Aaron McFarland ‐ PCHI ‐ Talent Release                    ‐               ‐                N/A                  N/A              N/A        N/A
                                                                    for Tinsley Shoot 7.23.2021



Party City Corporation     McLane Company Inc             M05754    Distribution Service Agreement                                 $416,159.30 Legal            5757 McLane          Temple            TX       76504
                                                                                                                                               Department       Parkway



Party City Holdco Inc.     Mehta, Guncha                  M00668    Guncha Mehta ‐ Change in Control                           ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ       07677
                                                                    Severance Agreement



Party City Corporation     MERIDIAN IT INC                                                                                     ‐               ‐ Legal          Nine Parkway         Deerfield         IL       60015
                                                                                                                                                 Department     North, Ste 500



Party City Corporation     Meridian IT, Inc.              M05657    Meridian IT Inc ‐ PCC ‐ CO11 Services                      ‐               ‐                Nine Parkway North Deerfield           IL       60015
                                                                    Renewal 2023 SRV5056                                                                        Suite 500



Party City Corporation     Merkle Inc.                    M00827    Digital Evolution Group, LLC (DEG) ‐ PCC       $280,471.90                 ‐ Dade Hazlett   6601 College Blvd,   Overland Park     KS       66211
                                                                    ‐ Amendment 3 to Master Service                                                             Sixth Floor
                                                                    Agreement [C1886] 3‐2‐2021

Party City Corporation     Merkle Inc.                    M05513    Statement of Work for Digital Program                      ‐               ‐                6601 College Blvd,   Overland Park     KS       66211
                                                                    2023                                                                                        Sixth Floor



Party City Corporation     Merkle Inc.                    M05283    Digital Evolution Group, LLC (DEG) ‐ PCC                   ‐               ‐ Dale Hazlett   6601 College Blvd,   Overland Park     KS       66211
                                                                    ‐                                                                                           Sixth Floor
                                                                    Mutual NDA

Party City Corporation     Merkle Inc.                    M00820    Merkle Inc [Digital Evolution Group, LLC                   ‐               ‐ Dade Hazlett   6601 College Blvd,   Overland Park     KS       66211
                                                                    (DEG)] ‐ PCC ‐ Master Service                                                               Sixth Floor
                                                                    Agreement [C1886] 12‐31‐2018

Party City Corporation     Merkle Inc.                    M03761    Merkle, Inc ‐ PCC ‐ Statement of Work                      ‐               ‐ Daniel Crane   6601 College Blvd,   Overland Park     KS       66211
                                                                    to                                                                                          Sixth
                                                                    MSA [C1886s] [Email Marketing                                                               Floor
                                                                    Retainer]
Party City Corporation     Merrihew, Lincoln              M02889    Lincoln Merrihew ‐ PCC ‐ Separation                        ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ       07677
                                                                    Agreement and General Release



Amscan Inc.                Merrill Communications, LLC    M02959    Merrill Communications, LLC ‐ Amscan,                      ‐               ‐ Greg Russo     388 TARRYTOWN        St. Paul         MN        10607
                                                                    Inc. ‐ Halloween DatasiteOne Statement                                                      ROAD
                                                                    of Work




                                                                                                               Page 42 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 45 of 248
         Debtor Name            Counterparty Name       Contract ID           Title of Agreement            )   Cure Amount     503(b)(9)       Notice Name        Address                  City   State    ZIP Code
Party City Holdings Inc.   MessageGears, LLC             M05302 MessageGears, LLC ‐ PCHI ‐ Statement              $111,517.70               ‐                 1180 West           Atlanta           GA       30309
                                                                    of Work 3 [Managed Services]                                                              Peachtree Street
                                                                                                                                                              NW, Suite 1500

Party City Holdings Inc.   MessageGears, LLC             M04662    MessageGears, LLC ‐ PCHI ‐ Statement                     ‐               ‐                 1180 West           Atlanta           GA       30309
                                                                   of Work 2                                                                                  Peachtree Street
                                                                                                                                                              NW, Suite 1500

Party City Holdings Inc.   MGA                                     Rainbow High                                             ‐               ‐ Elizabeth Risha 9220 Winnetka Ave. Chatsworth         CA       91311




Party City Holdings Inc.   MGA                             MLA    LOL SURPRISE                                              ‐               ‐ Elizabeth Risha 9220 Winnetka Ave. Chatsworth         CA       91311
                                                        202102854



Party City Holdings Inc.   MGM                                     Legally Blonde                                     $872.88               ‐ Pamela          245 North Beverly   Beverly Hills     CA       90210
                                                                                                                                              Reynolds        Drive



Amscan Inc.                Michaels Stores, Inc.         M02529    Michaels ‐ Amscan ‐ Amendment 1 to E‐                    ‐               ‐                 8000 Bent Branch    Irving            TX       75063
                                                                   Commerce Drop Ship Vendor                                                                  Drive
                                                                   Agreement

Amscan Inc.                Michaels Stores, Inc.         M01537    Michaels Stores, Inc. ‐ Amscan, Inc. ‐                   ‐               ‐ Amanda          8000 Bent Branch    Irving            TX       75063
                                                                   Drop Ship Vendor Addendum 2.18.21                                          Sembrat         Drive



Amscan Inc.                Michaels Stores, Inc.         M05166    Michaels Stores, Inc. ‐ Amscan, Inc. ‐                   ‐               ‐                 3939 West John    Irving              TX       75063
                                                                   Products/Merchandise Liability                                                             Carpenter Freeway
                                                                   Indemnity Agreement 5.29.2003

Party City Holdings Inc.   Microsoft Corporation         M05068    Microsoft Corporation ‐ PCHI ‐                           ‐               ‐ Luke Madden     1 Microsoft Way     Redmond          WA      98052‐8300
                                                                   Microsoft Product Giveaway Agreement



Amscan Inc.                Microwest                               MAINTENANCE                                              ‐               ‐ Legal           10981 San Diego     San Diego         CA       92018
                                                                                                                                              Department      Mission Road, Ste
                                                                                                                                                              210

Amscan Inc.                Microwest                               MAINTENANCE                                              ‐               ‐ Legal           10981 San Diego     San Diego         CA       92018
                                                                                                                                              Department      Mission Road, Ste
                                                                                                                                                              210

Party City Holdings Inc.   Migdon Allen Associates                 Act as PCHI's benefit broker                             ‐               ‐ Attn: Legal Dept 900 Route 9 N,     Woodbridge        NJ       07095
                                                                   coordinating pla design and vendor                                                          Suite 503
                                                                   management

Party City Holdings Inc.   Minute Men, Inc.              M04247    Minute Men, Inc. ‐ PCHI ‐ Temporary                      ‐               ‐                 3740 Carnegie Ave. Cleveland          OH       44115
                                                                   Employee Staffing Agreement and
                                                                   Statement of Work 1




                                                                                                            Page 43 of 75
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 46 of 248
         Debtor Name                   Counterparty Name          Contract ID          Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name          Address               City     State    ZIP Code
Party City Holdings Inc.          Minute Men, Inc.                 M04247 Minute Men, Inc. ‐ PCHI ‐ Temporary                            ‐               ‐                   3740 Carnegie Ave. Cleveland         OH       44115
                                                                              Employee Staffing Agreement and
                                                                              Statement of Work 1

Party City Holdings Inc.          Mirakl, Inc.                     M04020    Mirakl, Inc ‐ PCHI ‐ Master Services             $32,258.07                 ‐ Adrien            212 Elm Street,    Somerville       MA        02144
                                                                             Agreement and Statement of Work                                               Nussenbaum        Suite 400



Party City Corporation            Monotype Imaging Inc.            M05331    Monotype Imaging Inc ‐ PCC ‐                      $7,500.00                 ‐ Andrew Stadvec 600 Unicorn Park      Woburn           MA        01801
                                                                             Monotype Fonts Plan License Order                                                            Drive
                                                                             Form

Amscan Inc.; Party City           Moonbug Entertainment Limited    M03116    Moonbug Entertainment Limited ‐                  $41,476.97                 ‐ Todd Mohagen, 6 Water Ln, LABS       London            UK      NW1 8JZ
Corporat                                                                     Amscan, Inc. ‐ PCC ‐ Style Guide Access                                       AIA, NCARB    Upper Lock, 3rd
                                                                             Letter                                                                                      Floor #3

Party City Holdings Inc.; Party   Morin, Barry                     M03302    Barry Morin ‐ PCHI ‐ Party City Holdco                      ‐               ‐                   100 Tice Blvd      Woodcliff Lake    NJ       07677
Ci                                                                           Inc. ‐ CIC Severance Agreement



Party City Corporation            Movable, Inc.                    M05128    Movable, Inc. ‐ PCC ‐ Amendment to                $5,472.61                 ‐ John Herman       5 Bryant Park (1065 New York         NY       10018
                                                                             Order Form 9.30.2020                                                                            6th Avenue), 9th
                                                                                                                                                                             Floor

Party City Corporation            Movable, Inc.                    M05129    Movable, Inc. ‐ PCC ‐ Standard Terms                        ‐               ‐ John Herman       5 Bryant Park (1065 New York         NY       10018
                                                                             and Conditions                                                                                  6th
                                                                                                                                                                             Avenue), 9th Floor

Party City Corporation            Movable, Inc.                    M05322    Movable, Inc ‐ PCC ‐ 2023 Order Form                        ‐               ‐ Atlee Murphy      5 Bryant Park (1065 New York         NY       10018
                                                                                                                                                                             Sixth Avenue), 9th
                                                                                                                                                                             Floor

Amscan Inc.                       Mozlly, LLC                      M01110    Mozlly, LLC ‐ Amscan, Inc. ‐ Vendor                         ‐               ‐                   8944 Fullbright    Chatsworth        CA       91311
                                                                             Agreement                                                                                       Ave., Suite B



Party City Corporation            MRI Software LLC                 M04224    MRI Software ‐ PCC ‐ Order Document                         ‐               ‐ Roman             28925 Fountain     Solon             OH       44139
                                                                             Recurring Software Services                                                   Telerman          Parkway



Party City Holdings Inc.          MSG Entertainment Group, LLC     M05077    MSG Entertainment Group, LLC ‐ PCHI ‐                       ‐               ‐ Kristin Bernert   2 Pennsylvania Ave New York          NY     10121‐0091
                                                                             Letter (1‐28‐21)



Party City Holdings Inc.          MSG Entertainment Group, LLC     M05078    MSG Entertainment Group, LLC ‐ PCHI ‐                       ‐               ‐ Daniel Fleeter    2 Pennsylvania Ave New York          NY     10121‐0091
                                                                             Letter (7‐29‐21)



Party City Holdings Inc.          MTVN                              85604    Nickelodeon‐Paramount Multi CN, MX,                         ‐               ‐ Priya             1515 Broadway      New York          NY       10036
                                                                             US, Southpark CN, Southpark US                                                Mukhedkar




                                                                                                                       Page 44 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 47 of 248
         Debtor Name            Counterparty Name              Contract ID      Title of Agreement               )   Cure Amount       503(b)(9)      Notice Name       Address               City      State     ZIP Code
Party City Corporation     Mukherjee, Kaushik                   M01815 H‐1B Compliance Materials                                   ‐               ‐ N/A          100 Tice Blvd        Woodcliff Lake    NJ        07677




Party City Corporation     Muzak, LLC d/b/a Mood Media          M01329   Muzak, LLC d/b/a Mood Media ‐ PCC ‐                       ‐               ‐               1703 West 5th Suite Austin             TX       78703
                                                                         Mood Media Multi Territory Account                                                        600
                                                                         Service Agreement

Party City Corporation     NACM Commercial Services;            M01102   NACM Commercial Services (Oxarc) ‐                        ‐               ‐               606 N. Pines Road, Spokane Valley     WA        99206
                           OXARC Inc.                                    PCC ‐ Settlement Agreement                                                                Suite 102



Party City Corporation     Narvar, Inc.                         M03345   Narvar, Inc. ‐ PCC ‐ Change Order to                      ‐               ‐ Tamara Harvey 3 East Third Avenue San Mateo         CA        94401
                                                                         Statement of Work 1 dated 3/30/2022                                                       Suite 211



Party City Corporation     Narvar, Inc.                         M01263   Narvar, Inc. ‐ PCC ‐ Renewal Service                      ‐               ‐ Jim Emerich   3 East Third Avenue San Mateo         CA        94401
                                                                         Order                                                                                     Suite 211



Party City Corporation     NAVEX Global, Inc.                   M04210   NAVEX Global, Inc. ‐ PCC ‐ Order form          $31,420.84                 ‐ Shone Ramey   5500 Meadows        Lake Oswego       OR        97035
                                                                         560924                                                                                    Road
                                                                                                                                                                   Suite 500

Party City Corporation     NAVEX Global, Inc.                   M01827   NAVEX Global, Inc. ‐ PCC ‐ Order form                     ‐               ‐ Shone Ramey   5500 Meadows        Lake Oswego       OR        97035
                                                                         316454                                                                                    Road
                                                                                                                                                                   Suite 500

Party City Corporation     NAVEX Global, Inc.                   M01826   NAVEX Global, Inc. ‐ PCC ‐ Master                         ‐               ‐ Shone Ramey   5500 Meadows        Lake Oswego       OR        97035
                                                                         Services Agreement                                                                        Road
                                                                                                                                                                   Suite 500

Party City Holdings Inc.   NB Ventures, Inc. (doing business    M02614   NB Ventures, Inc dba GEP ‐ PCHI ‐                         ‐               ‐ Neha Shah     100 Walnut Ave.,    Clark              NJ     07066‐1253
                           as GEP®)                                      Statement of Work [Accelerated                                                            Suite 304
                                                                         Sourcing Program]

Party City Holdings Inc.   NB Ventures, Inc. (doing business    M01675   NB Ventures, Inc. (doing business as                      ‐               ‐ Binayak       100 Walnut Ave.,    Clark              NJ     07066‐1253
                           as GEP®)                                      GEP®) ‐ PCHI ‐ Master Services                                              Shrestha      Suite
                                                                         Agreement and Statement of Work                                                           304

Party City Holdings Inc.   NBA                                           NBA W W except China/HK/ Macau/                 $6,013.83                 ‐ Salvatore     645 Fifth Ave       New York          NY        10022
                                                                         Taiwan                                                                      LaRocca



Amscan Inc.                NBA PLAYERS Assoc                             US poss & Terr,CA Amend 1 chgs terms           $15,000.00                 ‐ Tamika        1133 Avenue of the New York           NY        10036
                                                                                                                                                     Tremaglio     Americas



Amscan Inc.                Nelvana Marketing                   TAF12062 Thomas‐CA only                                             ‐               ‐ Pam Westman   25 Dockside Drive   Toronto ON       Canada    M5A 0B5




                                                                                                                 Page 45 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 48 of 248
         Debtor Name             Counterparty Name        Contract ID         Title of Agreement                )   Cure Amount      503(b)(9)         Notice Name       Address                City      State   ZIP Code
Party City Holdings Inc.   NEST International, Inc.        M01430 NEST International, Inc. ‐ PCHI ‐ Service          $1,000,000.00                   Jason Bishop  550 Crescent         Gloucester City    NJ      08030
                                                                      Agreement                                                                                    Boulevard



Party City Corporation     Network‐Value, Inc.             M05090     Network‐Value, Inc ‐ PCC ‐ Sales Order                     ‐               ‐ Kevin Szabo      16440 Gateway       Frisco             TX      75033
                                                                      5067                                                                                          Path



Party City Holdings Inc.   New Jersey Economic             M01799     New Jersey Economic Development                            ‐               ‐ Tom Sullivan     36 West State       Trenton            NJ      08625
                           Development Authority                      Authority ‐ PCHI ‐ Emerge Letter of                                                           Street
                                                                      Intent

Party City Holdings Inc.   New Jersey Economic             M04473     NJEDA ‐ PCHI ‐ Community Benefits                          ‐               ‐ Carlos Rendo     36 West State       Trenton            NJ      08625
                           Development Authority                      Agreement [Emerge Tax Credit                                                                  Street
                                                                      Program]

Party City Holdings Inc.   New Jersey Economic             M02335     PCHI ‐ NJEDA ‐ Commitment to Defend                        ‐               ‐ Carlos Rendo     36 West State       Trenton            NJ      08625
                           Development Authority                      and Indemnify                                                                                 Street



Party City Corporation     New Paradigm Solutions, Inc.               Staffing Services                                          ‐               ‐                  3303 Plaza Drive,   New Albany         IN      47150
                           DBA Touchdown Business                                                                                                                   Suite 1
                           Solutions

Party City Corporation     Nextdoor, Inc.                  M01174     Nextdoor, Inc. ‐ PCC ‐ Marketing                           ‐               ‐                  875 Stevenson       San Francisco      CA      94103
                                                                      Release                                                                                       Street
                                                                                                                                                                    Suite 700

Party City Holdings Inc.   Nextuple, Inc.                  M01740     Nextuple, Inc. ‐ PCHI ‐ Master Services          $25,567.42                ‐ Darpan Seth      1 Elm Sq, Unit 2C   Andover           MA       01810
                                                                      Agreement



Party City Holdings Inc.   Nextuple, Inc.                  M05488     Nextuple, Inc ‐ PCHI ‐ Statement of                        ‐               ‐ Darpan Seth      875 Stevenson       San Francisco      CA      94103
                                                                      Work 3 to Master Services Agreement                                                           Street
                                                                      (Fulfillment Studio)                                                                          Suite 700

Party City Holdings Inc.   Nextuple, Inc.                  M01649     Nextuple, Inc. ‐ PCHI ‐ Service Order                      ‐               ‐                  875 Stevenson       San Francisco      CA      94103
                                                                      dated 4/01/2021                                                                               Street
                                                                                                                                                                    Suite 700

Party City Holdings Inc.   NFL USATeams&Superbowl           51029     NFL Teams & Superbowl US only                              ‐               ‐ Joseph           345 Park Avenue     New York           NY      10154
                                                                                                                                                   Ruggiero



Party City Holdings Inc.   NHL                              100162    NHL ‐ CA, US                                               ‐               ‐ Brian Jennings   1185 Avenue of the New York            NY      10036
                                                                                                                                                                    Americas



Party City Corporation     Nicoletti, Diane                M03143     Diane Nicoletti ‐ PCC ‐ Separation                         ‐               ‐                  100 Tice Blvd       Woodcliff Lake     NJ      07677
                                                                      Agreement and General Release




                                                                                                                Page 46 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 49 of 248
         Debtor Name                    Counterparty Name          Contract ID           Title of Agreement                 )   Cure Amount     503(b)(9)      Notice Name      Address            City            State   ZIP Code
Party City Holdings Inc.          Nintendo                                       US/CA/MX/ EMEA/ UAE/AU/NZ                        $171,490.36               ‐ Tom Prata    4600 150th Ave NE Redmond                WA      98052




Amscan Inc.                       Northeast Electric                             MAINTENANCE                                        $4,262.08               ‐ Legal          35 LARKIN STREET     STAMFORD          CT      06907
                                                                                                                                                              Department



Amscan Inc.                       Northeast Electric                             MAINTENANCE                                                ‐               ‐ Legal          35 LARKIN STREET     Stamford          CT      06907
                                                                                                                                                              Department



Party City Corporation            NPD Group, Inc.                   M05410       NPD Group, Inc. ‐ PCC ‐ Retail Data                        ‐               ‐ Robert Hill    10250 Constellation Los Angeles        CA      90067
                                                                                 Sharing Agreement                                                                           Blvd,
                                                                                                                                                                             Suite 100

Party City Holdings Inc.          NSA Media Group, Inc. d/b/a       M02191       NSA Media Group, Inc. d/b/a NSA                            ‐               ‐ Steven Mueller 2200 Cabot Drive,    Lisle             IL      60532
                                  NSA                                            Media                                                                                       Suite
                                  Media                                          ‐ PCHI ‐ Circular Platform Statement of                                                     330
                                                                                 Work
Party City Corporation            NTEC Helium, LLC                  M02890       NTEC Helium, LLC (Tacitus) ‐ PCC ‐                $56,762.94   $110,550.57 Matthew          385 Interlocken      Broomfield        NJ      80021
                                                                                 Amendment 1 to Helium Supply                                               Babcock          Crescent,
                                                                                 Agreement                                                                                   Suite 400

Party City Holdings Inc.          NTEC Helium, LLC                  M02805       NTEC Helium, LLC (Tacitus) ‐ PCHI ‐                        ‐               ‐ Matthew        385 Interlocken      Broomfield        NJ      80021
                                                                                 Helium Supply Agreement                                                      Babcock        Crescent,
                                                                                                                                                                             Suite 400

Party City Corporation            OB Family Holdings LLC            M02026       OB Family Holdings LLC ‐ PCC ‐                             ‐               ‐                952 School Street,   Napa              CA      94558
                                                                                 COVID‐19 Testing Laboratory Services                                                        Suite 258
                                                                                 Agreement

Party City Corporation            Occupancy Cost Audit Group        M05378       Occupancy Cost Audit Group ‐ PCC ‐                         ‐               ‐                27442 Portola        Foothill Ranch    CA      92610
                                                                                 Amendment 2 to Services Agreement                                                           Parkway,
                                                                                                                                                                             Suite 170

Party City Corporation            Occupancy Cost Audit Group        M05379       Occupancy Cost Audit Group ‐ PCC ‐                         ‐               ‐                27442 Portola        Foothill Ranch    CA      92610
                                                                                 Amendment 3 to Services Agreement                                                           Parkway,
                                                                                                                                                                             Suite 170

Party City Holdings Inc.          Odyssey Logistics & Technology    M05081       Odyssey Logistics & Technology                             ‐               ‐ Ken Stratton   100 Reserve Road     Danbury           CT      06810
                                  Corporation                                    Corporation ‐ PCHI ‐ Transportation
                                                                                 Agreement

Party City Holdings Inc.          Odyssey Logistics & Technology    M05082       Odyssey Logistics & Technology                             ‐               ‐ Ken Stratton   100 Reserve Road     Danbury           CT      06810
                                  Corporation                                    Corporation ‐ PCHI ‐ Transportation
                                                                                 Agreement Addendum 1

Party City Holdings Inc.; Party   O'Malley, Ryan                    M03301       Ryan O'Malley ‐ PCHI ‐ Party City Holdco                   ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                               Inc. ‐ CIC Severance Agreement




                                                                                                                            Page 47 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 50 of 248
         Debtor Name             Counterparty Name           Contract ID         Title of Agreement             )   Cure Amount       503(b)(9)       Notice Name         Address                City      State   ZIP Code
Party City Holdings Inc.   On Target Staffing LLC             M02243 On Target Staffing LLC ‐ PCHI ‐ Agency                       ‐               ‐                 2050 Route 27,       North Brunswick    NJ      08902
                                                                         Agreement                                                                                  Suite 103



Party City Holdings Inc.   On Target Staffing LLC             M04479    On Target Staffing LLC ‐ PCHI ‐                           ‐               ‐ Roy James,    2050 NJ‐27 Suite  North Brunswick         NJ      08902
                                                                        Temporary Employee Staffing                                                 Sayra Devito, 103
                                                                        Agreement and Statement of Work                                             Heather
                                                                                                                                                    Bellucci Bill
Party City Corporation     One Trust                          M04180    OneTrust LLC ‐ PCC ‐ Order Form Q‐                        ‐               ‐ Madeline Cook 1200 Abernathy Rd Atlanta                 GA      30328
                                                                        294371 [CCPA Management]                                                                  NE Bldg 600



Party City Corporation     OneLogin, Inc.                     M05083    OneLogin, Inc. ‐ PCC ‐ Statement of                       ‐               ‐ Oscar Rodriguez 848 Battery Street   San Francisco      CA      94111
                                                                        Work



Amscan Inc.                Open Text Inc                      M05991    Liason ‐ EDI*Net Services Agreement,            $4,153.80                 ‐                 2950 S Delaware      San Mateo          CA      94403
                                                                        Term Software License Agreement with                                                        St., Suite 400
                                                                        Terms and Conditions

Amscan Inc.                Open Text Inc                      M05992    Liason Amendment 2 to EDI*Net                             ‐               ‐                 2950 S Delaware      San Mateo          CA      94403
                                                                        Services Agreement                                                                          St., Suite 400



Amscan Inc.                Open Text Inc                      M06006    Open Text Inc ‐ Amscan ‐ TrustedLink                      ‐               ‐                 2950 S Delaware      San Mateo          CA      94403
                                                                        iSeries Translator Software license                                                         St., Suite
                                                                        Order Form                                                                                  400

Party City Holdings Inc.   Optimum                            M04152    Optimum ‐ PCHI ‐ Work Order 96479838                      ‐               ‐                 100 Greyrock Place Stamford             CT      06901
                                                                        [Tice ‐ Backup to Backup Circuit]                                                           Stamford Town
                                                                                                                                                                    Center Mall, 3rd
                                                                                                                                                                    Floor
Party City Holdings Inc.   Optimum                            M04153    Optimum ‐ PCHI ‐ Work Order 96479955                      ‐               ‐                 100 Greyrock Place Stamford             CT      06901
                                                                        [Tice ‐ POG Room]                                                                           Stamford Town
                                                                                                                                                                    Center Mall, 3rd
                                                                                                                                                                    Floor
Party City Holdings Inc.   Oracle America, Inc.               M01924    Oracle America, Inc ‐ PCHI ‐ Ordering          $56,762.00                 ‐                 500 Oracle Parkway Redwood Shores       CA      94065
                                                                        Document



Party City Corporation     OrgChartNow                                                                                            ‐               ‐                 One ADP Blvd         Roseland           NJ      07068




Party City Corporation     Papyrus‐Recycled Greetings, Inc    M05400    SBT Supply Agreement as of May 27,              $3,827.20                 ‐                 One American         Cleveland          OH      44145
                                                                        2019                                                                                        Boulevard



Party City Corporation     Parcel Pending                     M05472    Parcel Pending ‐ PCC ‐ Statement of                       ‐               ‐ Lori Torres     1 Vanderbilt         Irvine             CA      92618
                                                                        Work




                                                                                                                Page 48 of 75
                                                      Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 51 of 248
         Debtor Name             Counterparty Name         Contract ID           Title of Agreement              )   Cure Amount       503(b)(9)      Notice Name       Address               City     State   ZIP Code
Party City Holdings Inc.   Park MGM, LLC dba Park MGM       M03266 Park MGM, LLC dba Park MGM Las                                  ‐               ‐ April Black‐ 3770 Las Vegas Blvd Las Vegas         NV      89109
                           Las Vegas                                   Vegas ‐ PCHI ‐ Catering Contract                                              Kreft        S



Party City Corporation     Party City Corporation           M03283    Party City Store 959 Closing ‐ Severance                     ‐               ‐               100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                      Agreements



Party City Holdco Inc.     Party City Holdco Inc.           M05482    Pumpkin II ‐ Cash Retention Agreement                        ‐               ‐               100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                      [ELT]



Party City Holdco Inc.     Party City Holdco Inc.           M05483    Pumpkin II ‐ Cash Retention Agreement                        ‐               ‐               100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                      [Other]



Party City Holdings Inc.   Party City Holdings Inc.         M04883    Finance Transformation Severance                             ‐               ‐               100 Tice Blvd      Woodcliff Lake    NJ      07677
                                                                      Agreements 2022



Amscan Inc.; Party City    Party City Holdings Inc.         M04711    RIF 2022 Severance Agreements                                ‐               ‐               100 Tice Blvd      Woodcliff Lake    NJ      07677
Corporation



Party City Holdings Inc.   Party City Holdings Inc.         M05120    Party City ‐ Data Privacy Agreement                          ‐               ‐               N/A                N/A              N/A       N/A
                                                                      (Suppliers for 2023 New Privacy Laws)



Party City Corporation     Party City North                 M00592    Franchise Agreement with Party City                          ‐               ‐ Don Abston    20515 Wind Ridge   Spring            TX      77379
                                                                      North dated 10/05/2012                                                                       Lane



Party City Corporation     Party City of Arkansas, Inc.     M00492    Franchise Agreement with Party City of                       ‐               ‐ Warren        2024 Arkansas      Little Rock       AR      72212
                                                                      Arkansas, Inc. dated 02/01/2019                                                Stephenson    Valley
                                                                                                                                                                   Drive Suite 807

Party City Corporation     Party City of Arkansas, Inc.     M00528    Franchise Agreement with Party City of                       ‐               ‐ Warren        2024 Arkansas      Little Rock       AR      72212
                                                                      Arkansas, Inc. dated 07/17/2012                                                Stephenson    Valley
                                                                                                                                                                   Drive, Suite 807

Party City Corporation     Party City of Arkansas, Inc.     M00493    Franchise Agreement with Party City of                       ‐               ‐ Warren        2024 Arkansas      Little Rock       AR      72212
                                                                      Arkansas, Inc. dated 07/20/2015                                                Stephenson    Valley
                                                                                                                                                                   Drive, Suite 807

Party City Corporation     Party City of Arkansas, Inc.     M00570    Franchise Agreement with Party City of                       ‐               ‐ Warren        2024 Arkansas      Little Rock       AR      72212
                                                                      Arkansas, Inc. dated 08/18/2014                                                Stephenson    Valley
                                                                                                                                                                   Drive, Suite 807

Party City Corporation     Party City of Arkansas, Inc.     M00571    Franchise Agreement with Party City of                       ‐               ‐ Warren        2024 Arkansas      Little Rock       AR      72212
                                                                      Arkansas, Inc. dated 08/18/2014                                                Stephenson    Valley
                                                                                                                                                                   Drive, Suite 807




                                                                                                                 Page 49 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 52 of 248
         Debtor Name            Counterparty Name           Contract ID          Title of Agreement             )   Cure Amount       503(b)(9)       Notice Name       Address             City       State   ZIP Code
Party City Corporation   Party City of Carmel Mountain,      M00533 Franchise Agreement with Party City of                        ‐               ‐ Jason Craig   9760 Birch Canyon San Diego           CA      92126
                         Inc.                                           Carmel Mountain, Inc. dated                                                               Place
                                                                        09/26/2012

Party City Corporation   Party City of Charleston, Inc.      M00569    Franchise Agreement with Party City of                     ‐               ‐ Michael Zaifert 467 Santee Drive   Santee           SC      29142
                                                                       Charleston, Inc. dated 02/01/2022



Party City Corporation   Party City of Chesterfield, Inc.    M00598    Franchise Agreement with Party City of                     ‐               ‐ Steven Fram     9130 West Broad    Richmond         VA      23924
                                                                       Chesterfield, Inc. dated 07/11/2021                                                          Street



Party City Corporation   Party City of Clairemont, Inc.      M00534    Franchise Agreement with Party City of                     ‐               ‐ Jason Craig     9760 Birch Canyon San Diego         CA      92126
                                                                       Clairemont, Inc. dated 04/21/2014                                                            Place



Party City Corporation   Party City of Hawaii, Inc.          M00627    Franchise Agreement with Party City of                     ‐               ‐ Kwok‐Wing       94‐799 Lumiaina    Waipahu          HI      96797
                                                                       Hawaii, Inc. dated 08/28/2019                                                Shum            Street, Suite C



Party City Corporation   Party City of Hawaii, Inc.          M00551    Franchise Agreement with Party City of                     ‐               ‐ Kwok‐Wing       94‐799 Lumiaina    Waipahu          HI      96797
                                                                       Hawaii, Inc. dated 09/27/2020                                                Shum            Street, Suite C



Party City Corporation   Party City of Jacksonville, Inc.    M00549    Franchise Agreement with Party City of                     ‐               ‐ Dana Zaifert    1027 W. Dorchester St. Johns        FL      32259
                                                                       Jacksonville, Inc. dated 07/14/2013                                                          Drive



Party City Corporation   Party City of Jacksonville, Inc.    M00547    Franchise Agreement with Party City of                     ‐               ‐ Dana Zaifert    1027 W. Dorchester St. Johns        FL      32259
                                                                       Jacksonville, Inc. dated 07/29/2020                                                          Drive



Party City Corporation   Party City of Jacksonville, Inc.    M00548    Franchise Agreement with Party City of                     ‐               ‐ Dana Zaifert    1027 W. Dorchester St. Johns        FL      32259
                                                                       Jacksonville, Inc. dated 11/01/2015                                                          Drive



Party City Corporation   Party City of Portland, Inc.        M00564    Franchise Agreement with Party City of                     ‐               ‐ Joe Haberthur   18611 NE 113th     Battle Ground   WA       98604
                                                                       Portland, Inc. dated 10/30/2018                                                              Street



Party City Corporation   Party City of Puerto Rico, Inc.     M00566    Franchise Agreement with Party City of                     ‐               ‐ Aileen Amieiro C‐22 Caparra Office Guaynabo         PR      00968
                                                                       Puerto Rico, Inc. dated 02/23/2018                                                          Center, Suite 226,
                                                                                                                                                                   Gonzalez Giusti
                                                                                                                                                                   Avenue
Party City Corporation   Party City of Puerto Rico, Inc.     M00568    Franchise Agreement with Party City of                     ‐               ‐ Aileen Amieiro C‐22 Caparra Office Guaynabo         PR      00968
                                                                       Puerto Rico, Inc. dated 05/25/2019                                                          Center, Suite 226,
                                                                                                                                                                   Gonzalez Giusti
                                                                                                                                                                   Avenue
Party City Corporation   Party City of Puerto Rico, Inc.     M00567    Franchise Agreement with Party City of                     ‐               ‐ Aileen Amieiro C‐22 Caparra Office Guaynabo         PR      00968
                                                                       Puerto Rico, Inc. dated 06/18/2019                                                          Center, Suite 226,
                                                                                                                                                                   Gonzalez Giusti
                                                                                                                                                                   Avenue




                                                                                                                Page 50 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 53 of 248
         Debtor Name            Counterparty Name          Contract ID           Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name        Address              City      State   ZIP Code
Party City Corporation   Party City of Puerto Rico, Inc.    M00629 Franchise Agreement with Party City of                          ‐               ‐ Aileen Amieiro C‐22 Caparra Office Guaynabo          PR      00968
                                                                       Puerto Rico, Inc. dated 09/26/2020                                                           Center, Suite 226,
                                                                                                                                                                    Gonzalez Giusti
                                                                                                                                                                    Avenue
Party City Corporation   Party City of Puerto Rico, Inc.    M00628    Franchise Agreement with Party City of                       ‐               ‐ Aileen Amieiro C‐22 Caparra Office Guaynabo          PR      00968
                                                                      Puerto Rico, Inc. dated 10/29/2019                                                            Center, Suite 226,
                                                                                                                                                                    Gonzalez Giusti
                                                                                                                                                                    Avenue
Party City Corporation   Party City of Richmond, Inc.       M00597    Franchise Agreement with Party City of                       ‐               ‐ Steve Fram     829 Lachlan Road Manakin Sabot        VA      23103
                                                                      Richmond, Inc. dated 08/12/2019



Party City Corporation   Party City of Savannah, Inc.       M00550    Franchise Agreement with Party City of                       ‐               ‐ Michael Zaifert 467 Santee Drive   Santee            SC      29142
                                                                      Savannah, Inc. dated 05/01/2019



Party City Corporation   Party City of Temecula, Inc.       M00535    Franchise Agreement with Party City of                       ‐               ‐ Jason Craig    9760 Birch Canyon San Diego           CA      92126
                                                                      Temecula, Inc. dated 08/11/2014                                                               Place



Party City Corporation   Party City of Vancouver, Inc.      M00599    Franchise Agreement with Party City of                       ‐               ‐ Joseph         605 SE Chkalov      Vancouver        WA       98684
                                                                      Vancouver, Inc. dated 02/12/2016                                               Haberthur      Drive,
                                                                                                                                                                    Suite 106

Party City Corporation   Party City Store Closing           M05459    Party City Store #1055 Closing ‐                             ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      Columbia, SC ‐ Severance Agreements



Party City Corporation   Party City Store Closing           M02480    Party City Store #1076 Closing ‐ Tulsa,                      ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      OK ‐ Severance Agreements



Party City Corporation   Party City Store Closing           M05484    Party City Store #1094 Closing ‐                             ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      Nottingham, MD ‐ Severance
                                                                      Agreements

Party City Corporation   Party City Store Closing           M04148    Party City Store #1120 Closing ‐ Salina,                     ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      KS



Party City Corporation   Party City Store Closing           M03895    Party City Store #465 Closing ‐                              ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      Marysville, WA ‐ Severance Agreements



Party City Corporation   Party City Store Closing           M05485    Party City Store #5226 Closing ‐                             ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      Richmond, IN ‐ Severance Agreements



Party City Corporation   Party City Store Closing           M05458    Party City Store #685 Closing ‐                              ‐               ‐                100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                      Carbondale, IL ‐ Severance Agreements




                                                                                                                 Page 51 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 54 of 248
         Debtor Name              Counterparty Name      Contract ID           Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name           Address             City       State    ZIP Code
Party City Corporation     Party City Store Closing       M03542 Party City Store #847 Closing ‐                                 ‐               ‐                   100 Tice Blvd      Woodcliff Lake     NJ       07677
                                                                     Severance Agreements



Party City Corporation     Party Supply Depot, Inc.       M00554     Franchise Agreement with Party Supply                       ‐               ‐ Alice Harrigill   177 Sundown Road Madison              MS       39110
                                                                     Depot, Inc. dated 03/22/2019



Party City Corporation     Paymentech, LLC                M05444     Paymentech ‐ JP Morgan Chase NA ‐                           ‐               ‐ Jim Irish         8181               Plano              TX       75024
                                                                     PCC                                                                                             Communications
                                                                     ‐ Referral Agreement                                                                            Pkwy

Party City Holdings Inc.   PCSTrac                        M05821     PCSTrac ‐ PCHI ‐ Software Maintenance                       ‐               ‐ Chandra Allred 4250 Wissahickon      Philadelphia       PA       19129
                                                                     and Hosting Maintenance Agreement                                                            Avenue



Party City Corporation     PDQ                                                                                                   ‐               ‐                   2200 S Main St STE South Salt Lake    UT       84115
                                                                                                                                                                     200



Party City Holdings Inc.   Peerfit, Inc.                  M05058     Peerfit, Inc ‐ PCHI ‐ Peerfit Select                        ‐               ‐ Emma Maurer       1060 Woodcock Rd Orlando              FL       32803
                                                                     Provision Agreement                                                                             Ste 128



Party City Holdings Inc.   Peerfit, Inc.                             Wellness benefit introduced this plan                       ‐               ‐ Quantum         7450 Huntington      Columbus           OH     43235‐4658
                                                                     year                                                                          Health Benefits Park Drive



Party City Holdings Inc.   PeopleReady, Inc.              M04440     PeopleReady, Inc ‐ PCHI ‐ Temporary              $82,372.24                 ‐                   1015 A Street      Tacoma            WA        98402
                                                                     Employee Staffing Agreement and
                                                                     Statement of Work (TrueBlue)

Party City Corporation     Perfetti Van Melle USA Inc.    M05092     Perfetti Van Melle ‐ PCC ‐ 2021 Rebate                      ‐               ‐ Juven Najera      3645 Turfway Road Erlanger            KY       41018
                                                                     Contract



Party City Holdings Inc.   PHCS / Multiplan                          Provide PHCS services for the Freedom                       ‐               ‐ HSA Bank          1515 North River    Milwaukee         WI       53212
                                                                     Plans                                                                                           Center Drive, Suite
                                                                                                                                                                     235

Party City Holdings Inc.   Philips, Kim                   M05052     Kimberly Philips ‐ PCHI ‐ Offer Letter                      ‐               ‐ N/A               N/A                N/A               N/A        N/A
                                                                     (Part‐Time Sr Paralegal)



Party City Corporation     Pinstripe Bowl, LLC            M02278     Pinstripe Bowl, LLC ‐ PCC ‐ Sponsorship                     ‐               ‐ Lonn A. Trost     Yankee Stadium     Bronx              NY       10451
                                                                     Agreement                                                                                       One East 161st
                                                                                                                                                                     Street

Amscan Inc.                Pitney Bowes                              LEASE‐63 months                                    $121.95                  ‐ Goldstein,        3001 Summar        Stamford           CT       06926
                                                                                                                                                   Daniel J.         Street




                                                                                                               Page 52 of 75
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 55 of 248
         Debtor Name                     Counterparty Name      Contract ID           Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name         Address              City      State    ZIP Code
Party City Holdings Inc.; Party   Plesa, Ed                      M03304 Ed Plese ‐ PCHI ‐ Party City Holdco Inc. ‐                       ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ       07677
Ci                                                                          CIC Severance Agreement



Party City Corporation            PluralSight, Inc.              M04597     PluralSight, Inc. ‐ PCC ‐ Sales Order Q‐           $2,535.00                 ‐ Daniel Grief    42 Future Way       Draper            UT       84020
                                                                            657233 (Renewal)



Party City Corporation            PluralSight, Inc.              M01172     PluralSight, Inc. ‐ PCC ‐ Sales Order                        ‐               ‐ Al Resh         42 Future Way       Draper            UT       84020




Party City Corporation            PODS ENTERPRISES, LLC                     Storage Agreement                                $600,000.00                 ‐ Corporate       5585 Rio Vista Drive Clearwater       FL       33760
                                                                                                                                                           Accounts



Party City Holdings Inc.          Portier, LLC                   M05645     Portier, LLC (Uber) ‐ PCHI ‐ eCommerce                       ‐               ‐                 1515 3rd Street     San Francisco     CA       94158
                                                                            Merchant Agreement



Party City Corporation            PowerReviews, Inc.             M03020     PowerReviews, Inc ‐ PCC ‐ Service Order           $13,976.88                 ‐ Mark Dillon     1 North Dearborn    Chicago           IL       60602
                                                                            Number Q‐09438                                                                                 Street Suite 800



Party City Corporation            PowerReviews, Inc.             M04474     PowerReviews, Inc ‐ PCC ‐ Service Order                      ‐               ‐ Giuliana        1 North Dearborn    Chicago           IL       60602
                                                                            Number Q‐10693                                                                 Summer          Street Suite 800



Party City Corporation            Prawdzik, Krzysztof            M02481     Krzysztof Prawdzik ‐ PCC ‐ Consulting                        ‐               ‐ Prawdzik,       21 Monroe St.       Little Ferry      NJ       07643
                                                                            Agreement                                                                      Krzysztof



Party City Holdings Inc.          PRAXAIR DISTRIBUTION INC                  PRAXAIR DISTRIBUTION INC Supply                $2,940,538.08                 ‐ Abhijeet Parmar 10 Riverview Drive Danbury            CT     06810‐6268
                                                                            Agreement



Party City Holdings Inc.          Products Up                    M04531     Products Up ‐ PCHI ‐ Master Services               $7,741.94                 ‐ Stefan Ahrens   54 W 40th Street    New York          NY       10018
                                                                            Agreement and Order Form



Party City Corporation            Profound Logic Software Inc    M05990     Custom Software Development                                  ‐               ‐                 396 Congress Park   Centerville       OH       45459
                                                                            Agreeme                                                                                        Drive



Party City Corporation            Progressive Properties Inc.    M02423     Progressive Properties Inc. ‐ PCC ‐                          ‐               ‐ Robert          6301 Indiana        Lubbock           TX       79413
                                                                            Settlement and Release Agreement                                               Carrugino       Avenue



Party City Corporation            Progyny                                   Fertility Benefits                                           ‐               ‐ Attn: Legal Dept 1359 Broadway      New York          NY       10018




                                                                                                                       Page 53 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 56 of 248
         Debtor Name             Counterparty Name      Contract ID              Title of Agreement             )   Cure Amount       503(b)(9)      Notice Name      Address                   City       State    ZIP Code
Party City Holdings Inc.   Progyny                                    Provide fertility and adoption services                     ‐               ‐ Benefit      245 Kenneth Drive       Rochester          NY       10423
                                                                      for plan participants                                                         Resource Inc



Party City Corporation     Protection 1                  M05336       Protection 1 ‐ PCC ‐ Amendment to                $17,039.90                 ‐ Jim Devries       2505 S Finley Road, Lombard           IL       60148
                                                                      Commercial Schedule of Protection                                                               Suite 240
                                                                      Proposal and Sales Agreement

Party City Corporation     PrudentRX LLC                              Provides discounts on prescription                $4,473.43                 ‐ Attn: Legal Dept 3820 Northdale      Tampa              FL       33624
                                                                      medications                                                                                    Boulevard, Suite
                                                                                                                                                                     311A

Party City Holdings Inc.   PrudentRX LLC                              Provides discounts on prescription                          ‐               ‐ Attn: Legal       3820 Northdale     Tampa              FL       33624
                                                                      medications                                                                   Dept              Boulevard, Suite
                                                                                                                                                                      311A

Amscan Inc.                Pryor Learning Solutions      M05437       Pryor Learning Solitions ‐ Amscan ‐              $23,155.76                 ‐ Jennifer          5700 Broadmoor     Mission            KS       66202
                                                                      Scope of Work & Agreement                                                     Williamson        Street,
                                                                      [eLearning]                                                                                     Suite 300

Amscan Inc.                Quad/Graphics Inc.            M05113       Quad/Graphics Inc. ‐ Amscan ‐                    $40,580.00                 ‐ David Needham N61 W23044             Sussex             WI       53089
                                                                      Statement of Work                                                                           Harry's Way



Amscan Inc.                Quad/Graphics Inc.            M05112       Quad/Graphics Inc. ‐ Amscan ‐ Master                        ‐               ‐ David Needham N61 W23044             Sussex             WI       53089
                                                                      Services Agreement                                                                          Harry's Way



Amscan Inc.                Quad/Graphics Inc.                         Onsite services for marketing, photo                        ‐               ‐ David Needham N61 W23044             Sussex             WI       53089
                                                                      retouching, etc.                                                                            Harry's Way



Amscan Inc.                Quadient( Old Meter)                       LEASE‐63 months                                             ‐               ‐ Legal             1 Pennsylvania     New York           NY       10119
                                                                                                                                                    Department        Plaza



Party City Holdings Inc.   Quantum Health Benefits                    Provide Concierge Services for Benefit                      ‐               ‐ Aetna             PO Box 67103       Harrisburg         PA       17106
                                                                      Plans



Party City Holdings Inc.   Quantum Health Benefits       M05433       Quantum Health Benefits ‐ PCHI ‐                            ‐               ‐ Scott Doolittle   7450 Huntington    Columbus           OH     43235‐4658
                                                                      Master Service Agreement                                                                        Park Drive



Amscan Inc.                Quench                                     LEASE                                                       ‐               ‐ Miller, Brian A. 780 5th Avenue, Ste King of Prussia    PA       19406
                                                                                                                                                                     200



Amscan Inc.                Quincy Compressor LLC         M04207       Quincy Compressor LLC ‐ Amscan ‐                            ‐               ‐ Colin Barrett     19 Chapin Rd. Unit Pine Brook         NJ       07058
                                                                      Quote for Parts 63210467                                                                        D




                                                                                                                Page 54 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 57 of 248
        Debtor Name              Counterparty Name         Contract ID         Title of Agreement        ) Cure Amount            503(b)(9)      Notice Name      Address               City        State   ZIP Code
Amscan In+A740c.           Quincy Compressor LLC            M03344 Quincy Compressor LLC ‐ Amscan ‐ 2022               ‐                      ‐ Robert       19 Chapin Rd. Unit Pine Brook           NJ      07058
                                                                       GP Renewal Agreement 58461306                                            Lamanna      D



Party City Corporation     Quorso US, Inc.                  M03793    Quorso US Inc ‐ PCC ‐ Order Form                        ‐               ‐ Chris           413 W 14th Street   New York         NY      10014
                                                                                                                                                Richardson



Party City Holdings Inc.   R Systems International Ltd.     M02616    R Systems International Ltd ‐ PCHI ‐        $116,480.00                 ‐ Mandeep Sodhi C‐40, Sector 59,      Noida UP        India   201307
                                                                      Master Services Agreement                                                               Noida



Amscan Inc.                Rackspace US, Inc.               M04678    Rackspace US, Inc ‐ Amscan ‐ Term                       ‐               ‐ Kevin M. Jones 1 Fanatical Place,   San Antonio      TX      78218
                                                                      Renewal Agreement 699091                                                                 City of Windcrest



Party City Corporation     Rakuten Commerce, LLC            M02247    Rakuten Commerce, LLC ‐ PCC ‐                           ‐               ‐ Cynthia Lee     800 Concar Dr,      San Mateo        CA      94402
                                                                      Marketplace Seller Agreement                                                              Suite 175



Amscan Inc.                Ramblin Corp. and Donco Paper    M05194    Ramblin Corp & Donco Papers ‐ Deco ‐                    ‐               ‐                 737 N. Michigan     Chicago          IL      60611
                                                                      Addendums 1 and 3                                                                         Ave,
                                                                                                                                                                Suite 1450

Party City Corporation     Ramp Systems Inc                 M05719    Software License Agreeement                             ‐               ‐ Brian Mozhdehi 630 Pugh Road        Wayne            PA      19087




Party City Corporation     Ramp Systems Inc                                                                                   ‐               ‐ Brian Mozhdehi 630 Pugh Rd          Wayne            PA      19087




Party City Corporation     Randstad/Risesmart                                                                                 ‐               ‐                 42 Memorial Plaza   Pleasantville    NY      10570




Amscan Inc.                Rasta Imposta                              Hot Dog/Bannana ‐Worldwide                              ‐               ‐ Robert Berman 600 E. Clements       Runnemede        NJ      08078
                                                                                                                                                              Bridge Road



Amscan Inc.                Raymond Leasing                            Raymond Leasing ‐‐ Lease # 3046833RES        $49,776.79                 ‐ Legal           P.O. Box 203905     Houston          TX      77216
                                                                      ‐ 2 Stock Picker Lift Trucks                                              Department



Amscan Inc.                Raymond Leasing                            Raymond Leasing‐‐‐ Lease #                    $4,323.61                 ‐ Legal           P.O. Box 203905     Houston          TX      77216
                                                                      3046835RES ‐ 1 Swing Reach Lift Truck                                     Department



Party City Holdings Inc.   Red Bull North America, Inc.     M04364    Red Bull North America, Inc ‐ PCHI ‐          $1,981.70                 ‐ Marc            1630 Stewart Street Santa Monica     CA      90404
                                                                      Merchandiser Agreement                                                    Rosenmayr




                                                                                                              Page 55 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 58 of 248
        Debtor Name              Counterparty Name               Contract ID           Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name        Address               City   State     ZIP Code
Amscan Inc.                Red Hawk Fire & Security NY,           M05397 Red Hawk Fire & Security NY, LLC. ‐                              ‐               ‐ John Walsh    6 Skyline Drive       Hawthorne      NY        10532
                           LLC.                                              Amscan ‐ Fire Alarm System Inspection
                                                                             & Service Agreement

Party City Corporation     REDHAT INC                                                                                                     ‐               ‐ Cunningham,      100 East Davie     Raleigh         NC       27601
                                                                                                                                                            Michael R.       Street



Party City Corporation     Relex Solutions Inc                               Master Services Agreement dated                              ‐               ‐ Johan Haataja    1201 Peachtree     Atlanta         GA       30361
                                                                             December 13, 2017, Addendum to the                                                              Street NE
                                                                             Master Service Agreement dated
                                                                             December 19, 2019 and associated
                                                                             Order Forms by and between Party City
                                                                             Holdings Inc., along with its affiliated
                                                                             and subsidiary entities, (collectively,
                                                                             “Party City”) and Retail Logistics
                                                                             Excellence – Relex OY
Party City Corporation     Remedy                                            SOW                                                          ‐               ‐ Attn: Legal Dept 234 West Florida   Milwaukee       WI       53204
                                                                                                                                                                             Street, #150



Party City Holdings Inc.   Remedy Analytics                                  Provides audit and rebates for                               ‐               ‐ Standard         1100 Southwest 6th Portland        OR       97204
                                                                             Prescription drug plans                                                        Insurance        Ave
                                                                                                                                                            Company

Party City Holdings Inc.   Resorts World Las Vegas LLC            M02607     Resorts World Las Vegas LLC ‐ PCHI ‐                         ‐               ‐                  3000 South Las     Las Vegas       NV       89109
                                                                             Purchase Order Terms and Conditions                                                             Vegas Boulevard,



Amscan Inc.; Party City    Retail Logistics Excellence ‐ RELEX    M01621     Retail Logistics Excellence ‐ RELEX Oy ‐                     ‐               ‐ Johan Haataja    Postintaival 7     Helsinki      Finland    00230
Corporat                   Oy                                                PCC ‐ Order Form dated 12/10/2020



Party City Corporation     Retail Logistics Excellence ‐ RELEX    M05147     Retail Logistics Excellence ‐ RELEX Oy ‐                     ‐               ‐ Johan Haataja    Postintaival 7     Helsinki      Finland    00230
                           Oy                                                PCC ‐ Addendum to MSA 12.13.2019



Party City Corporation     Retail Logistics Excellence ‐ RELEX    M05441     Retail Logistics Excellence ‐ Relex Oy ‐                     ‐               ‐ Johan Haataja    Postintaival 7     Helsinki      Finland    00230
                           Oy                                                PCC ‐ Service Agreement



Party City Holdings Inc.   Retransform                            M05275     Retransform ‐ PCHI ‐ Lease Abstraction                       ‐               ‐ Lynn Peters      6330 LBJ Freeway   Dallas          TX       75240
                                                                             Proposal (Phase 1)                                                                              Suite 234‐A



Party City Corporation     RGIS, LLC                              M02836     RGIS, LLC ‐ PCC ‐ Statement of Work 4                        ‐               ‐ Richard Baxter   33 East 33rd Street, New York      NY       10016
                                                                                                                                                                             #9



Party City Holdings Inc.   RI‐2 LLC dba RedIron                   M03276     RedIron ‐ PCHI ‐ Statement of Work 1              $20,000.00                 ‐ Herb Cline       42 Fletcher Hill   Groton         MA        01450
                                                                             (Hosting)                                                                                       Lane, Suite 100




                                                                                                                        Page 56 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 59 of 248
         Debtor Name              Counterparty Name    Contract ID         Title of Agreement                )   Cure Amount       503(b)(9)      Notice Name       Address                   City   State   ZIP Code
Party City Holdings Inc.   RI‐2 LLC dba RedIron         M03280 RedIron ‐ PCHI ‐ Service Level                                  ‐               ‐ Herb Cline   42 Fletcher Hill       Groton           MA      01450
                                                                   Agreement                                                                                  Lane,
                                                                                                                                                              Suite 100

Party City Corporation     RI‐2 LLC dba RedIron         M05279    RI‐2 LLC (RedIron) ‐ PCC ‐ Statement of                      ‐               ‐ Blair L. Welsh   42 Fletcher Hill   Groton          MA       01450
                                                                  Work [EMV Contactless with Genius 2]                                                            Lane, Suite 100



Party City Holdings Inc.   RI‐2 LLC dba RedIron         M03275    RedIron ‐ PCHI ‐ Master Services                             ‐               ‐ Herb Cline       42 Fletcher Hill   Groton          MA       01450
                                                                  Agreement                                                                                       Lane, Suite 100



Party City Holdings Inc.   RI‐2 LLC dba RedIron         M03277    RedIron ‐ PCHI ‐ Statement of Work 2                         ‐               ‐ Herb Cline       42 Fletcher Hill   Groton          MA       01450
                                                                  (Managed Services)                                                                              Lane, Suite 100



Party City Corporation     RI‐2 LLC dba RedIron         M01006    RI‐2 LLC (RedIron) ‐ PCC ‐ Master                            ‐               ‐ Herbert C. Cline 42 Fletcher Hill   Groton          MA       01450
                                                                  Services Agreement 05012020                                                                     Lane, Suite 100
                                                                  [Managed Services Support]

Party City Corporation     RI‐2 LLC dba RedIron         M02451    RI‐2 LLC dba RedIron ‐ PCC ‐ Automation                      ‐               ‐ Legal            42 Fletcher Hill   Groton          MA       01450
                                                                  of RNET database RMAN backups and                                              Department       Lane, Ste 100
                                                                  Installation of Splunk Statement of
                                                                  Work
Party City Holdings Inc.   RIM LOGISTICS LTD                      RIM LOGISTICS LTD Supply Agreement               $299,687.00                 ‐                  200 GARY AVENUE ROSELLE             IL      60172




Party City Corporation     Rimini Street, Inc.          M01372    Rimini Street, Inc. ‐ PCC ‐ Statement of                     ‐               ‐ Seth A. Ravin    3993 Howard        Las Vegas        NV      89169
                                                                  Work 03                                                                                         Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Corporation     Rimini Street, Inc.          M01369    Rimini Street, Inc. ‐ PCC ‐ Master                           ‐               ‐ Seth A. Ravin    3993 Howard        Las Vegas        NV      89169
                                                                  Services Agreement                                                                              Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Corporation     Rimini Street, Inc.          M03603    Rimini Street, Inc. ‐ PCC ‐ Amendment 1                      ‐               ‐ Seth Ravin       3993 Howard        Las Vegas        NV      89169
                                                                  to Statement of Work 1 (EBS)                                                                    Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Corporation     Rimini Street, Inc.          M03604    Rimini Street, Inc. ‐ PCC ‐ Amendment 1                      ‐               ‐ Seth Ravin       3993 Howard        Las Vegas        NV      89169
                                                                  to Statement of Work 2 (Hyperion)                                                               Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Holdings Inc.   Rimini Street, Inc.          M03798    Rimini Street, Inc. ‐ PCC ‐ Amendment 1                      ‐               ‐ Seth Ravin       3993 Howard        Las Vegas        NV      89169
                                                                  to Statement of Work 4 (AMS for EBS)                                                            Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Corporation     Rimini Street, Inc.          M01370    Rimini Street, Inc. ‐ PCC ‐ Statement of                     ‐               ‐ Seth A. Ravin    3993 Howard        Las Vegas        NV      89169
                                                                  Work 01                                                                                         Hughes
                                                                                                                                                                  Parkway, Suite 500




                                                                                                             Page 57 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 60 of 248
         Debtor Name            Counterparty Name      Contract ID         Title of Agreement                 )   Cure Amount       503(b)(9)      Notice Name       Address               City      State    ZIP Code
Party City Corporation   Rimini Street, Inc.            M01371 Rimini Street, Inc. ‐ PCC ‐ Statement of                         ‐               ‐ Seth A. Ravin 3993 Howard        Las Vegas          NV       89169
                                                                   Work 02                                                                                      Hughes
                                                                                                                                                                Parkway, Suite 500

Party City Corporation   Rimini Street, Inc.            M03602     Rimini Street, Inc. ‐ PCC ‐ Statement of                     ‐               ‐ Seth Ravin      3993 Howard        Las Vegas        NV       89169
                                                                   Work 4 (AMS for EBS)                                                                           Hughes
                                                                                                                                                                  Parkway, Suite 500

Party City Corporation   RINGCENTRAL INC                                                                                        ‐               ‐ Marlow, John    20 Davis Drive     Belmont          CA       94002
                                                                                                                                                  H.



Party City Corporation   RIO SEO                                   Amendment #5 to Service Agreement                            ‐               ‐ Mark Porter   RIO SEO            Milwaukee          WI       43288
                                                                   Between RioSoft Holdings, Inc. and                                                           C/O Press Ganey
                                                                   Party City Corporation                                                                       Associates
                                                                                                                                                                PO Box 88335
Party City Corporation   RioCan Holdings, Inc           M05469     RioCan Holdings, Inc ‐ PCC ‐ Orangeville                     ‐               ‐ Howard Werger 2300 Yonge Street, Toronto ON        Canada   M4P 1E4
                                                                   OTL                                                                                          Suite 500



Party City Corporation   RioSoft Holdings, Inc.         M01844     RioSoft Holdings, Inc. ‐ PCC ‐                               ‐               ‐ Mike Williams   8080 Dagget St     San Diego        CA       92111
                                                                   Amendment 5 to Service Agreement                                                               Suite #220
                                                                   dated 03/31/15

Party City Corporation   RioSoft Holdings, Inc.         M05447     RioSoft Holdings, Inc ‐ PCC ‐ 4th                            ‐               ‐ James Wu        8080 Dagget Street, San Diego       CA       92111
                                                                   Amendment to Service Agreement                                                                 Suite 220
                                                                   dated 03/31/2015

Amscan Inc.              Rite Aid Corporation           M03618     Rite Aide ‐ Defense and Indemnity                            ‐               ‐ Patrick Hayer   30 Hunter Lane     Camp Hill        PA       17011
                                                                   Agreement / Returns Agreement



Amscan Inc.              Rkl Solutions                             SUPPORT                                                      ‐               ‐ Legal           41R Washington     Norwell          MA       02061
                                                                                                                                                  Department      Street



Party City Corporation   Robots and Pencils             M05398     Robots and Pencils, LP. ‐ PCC ‐ Master                       ‐               ‐ Tracey          1215 Superior      Cleveland        OH       44114
                                                                   Services Agreement                                                             Zimmerman       Avenue,
                                                                                                                                                                  Suite M25

Party City Corporation   Rock Developments, Inc         M05470     Rock Developments, Inc ‐ PCC ‐ Prince                        ‐               ‐ Rocco Tullio    19 Amy Croft Drive, Lakeshore ON   Canada   N9K 1C7
                                                                   Albert OTL                                                                                     Unit 201



Party City Corporation   Rocket Software, Inc.          M03105     Rocket Software, Inc ‐ PCC ‐ iCluster                        ‐               ‐ Tyson Stokes    77 4th Avenue      Waltham          MA       02451
                                                                   Order Form Q‐334329 and Statement of
                                                                   Work

Party City Corporation   RSC Solutions                  MO5893     Agency Agreement                                             ‐               ‐                 22 Paris Avenue,   Rockleigh         NJ      07647
                                                                                                                                                                  Suite 201




                                                                                                              Page 58 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 61 of 248
         Debtor Name            Counterparty Name            Contract ID         Title of Agreement                   )   Cure Amount       503(b)(9)      Notice Name       Address             City          State   ZIP Code
Party City Holdings Inc.   RSM US, LLP                        M01264 RSM US LLP ‐ PCHI ‐ Master Services                                ‐               ‐ Shawn Dahl   4 Times Square 151 New York              NY      10036
                                                                         Agreement                                                                                     West 42nd St. 19th
                                                                                                                                                                       Floor

Party City Holdings Inc.   RSM US, LLP                        M03306    RSM US LLP ‐ PCHI ‐ Statement of Work                           ‐               ‐ Shawn Dahl      4 Times Square 151 New York           NY      10036
                                                                        3 [Ongoing ERM Support]                                                                           West 42nd St. 19th
                                                                                                                                                                          Floor

Party City Corporation     Ryan, James                        M03354    James Ryan ‐ PCC ‐ Separation                                   ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                        Agreement and General Release



Party City Holdings Inc.   Sabatelli, Monica                  M05197    Monica Sabatelli ‐ PCHI ‐ Talent Release                        ‐               ‐                 N/A                 N/A              N/A       N/A
                                                                        for Tinsley Shoot 7.23.2021



Party City Corporation     SADA Systems Inc                             SADA Systems                                                    ‐               ‐                 5250 Lankershim     Hollywood         CA      91601
                                                                                                                                                                          Blvd.,
                                                                                                                                                                          Suite 620

Party City Holdings Inc.   Safeco, Inc. d/b/a Safety Plus,    M01356    Safeco, Inc. d/b/a Safety Plus, Inc. ‐ PCHI                     ‐               ‐                 3725 Airport Blvd   Mobile            AL      36608
                           Inc.                                         SaaS Master Agreement                                                                             Ste 208B



Amscan Inc.                Sage 100                                     SERVICE PLAN                                                    ‐               ‐                 271 17th Street     Atlanta           GA      30363
                                                                                                                                                                          NW, Suite 1100



Party City Corporation     Sage Software                                End User License Agreement                                      ‐               ‐                 271 17th Street     Atlanta           GA      30363
                                                                                                                                                                          NW, Suite 1100



Amscan Inc.                Sage/Mapadoc                                 SERVICE PLAN                                                    ‐               ‐ Legal           120 Eagle Rock      East Hanover      NJ      07036
                                                                                                                                                          Department      Avenue Suite 330



Party City Corporation     SailPoint Technologies, Inc.       M04413    SailPoint Technologies, Inc. ‐ PCC ‐                            ‐               ‐ Christopher     11120 Four Points   Austin            TX      78726
                                                                        Renewal Order Q‐34790‐1                                                           Burch           Drive, Suite 100



Print Appeal, Inc.         Salazar, John                      M04139    John Salazar ‐ Print Appeal ‐ Separation                        ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                        Agreement and General Release



Party City Holdings Inc.   Salesforce.com, Inc.               M05203    Salesforce ‐ PCHI ‐ Order Form ‐ Quote                          ‐               ‐ Neal Williams   415 Mission Street, San Francisco     CA      94105
                                                                        Q‐                                                                                                3rd
                                                                        04633533 [Designated Test Realm Web                                                               Floor
                                                                        2.0]
Party City Holdings Inc.   Salesforce.com, Inc.               M05204    Salesforce ‐ PCHI ‐ Notice of Non‐                              ‐               ‐ Robert Ackley   415 Mission Street, San Francisco     CA      94105
                                                                        Renewal of Certain Services                                                                       3rd Floor




                                                                                                                      Page 59 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 62 of 248
        Debtor Name               Counterparty Name    Contract ID          Title of Agreement              )   Cure Amount       503(b)(9)      Notice Name           Address               City    State   ZIP Code
Amscan Inc.                Salesforce.com, Inc.         M03766 Salesforce ‐ Amscan ‐ Order Form Q‐                            ‐               ‐ Dillon Siflinger 415 Mission Street, San Francisco    CA      94105
                                                                   05728059 [Vendor Portal Licenses                                                              3rd Floor
                                                                   Renewal]

Party City Holdings Inc.   Salesforce.com, Inc.         M05214    Salesforce ‐ PCHI ‐ Amendment 1 to                          ‐               ‐ Candace Rickert 415 Mission Street, San Francisco     CA      94105
                                                                  Master Subscription Agreement                                                                 3rd Floor
                                                                  10.23.2020

Party City Holdings Inc.   Salesforce.com, Inc.         M05212    Salesforce ‐ PCHI ‐ Amendment 1 to                          ‐               ‐ Joslyn Lacy     415 Mission Street, San Francisco     CA      94105
                                                                  Order Form Q‐03739574                                                                         3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M05456    Salesforce ‐ PCHI ‐ Amendment to Order                      ‐               ‐ Joslyn Lacy     415 Mission Street, San Francisco     CA      94105
                                                                  Form Q‐03739574                                                                               3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M03058    Salesforce ‐ PCHI ‐ Change Order 1 to                       ‐               ‐ Joslyn Lacy     415 Mission St Floor San Francisco    CA      94105
                                                                  SOW 1 ‐ Professional Services                                                                 3
                                                                  Agreement for Performance Load
                                                                  Testing
Party City Holdings Inc.   Salesforce.com, Inc.         M05277    Salesforce ‐ PCHI ‐ Change Order Form                       ‐               ‐ Joslyn Lacy     415 Mission Street, San Francisco     CA      94105
                                                                  TJO for HCity Tablets                                                                         3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M05215    Salesforce ‐ PCHI ‐ Master Subscription                     ‐               ‐ Shannon Farrell 415 Mission Street, San Francisco     CA      94105
                                                                  Agreement and Quote Q‐02333685                                                                3rd
                                                                                                                                                                Floor

Party City Holdings Inc.   Salesforce.com, Inc.         M05202    Salesforce ‐ PCHI ‐ Order Form ‐ Quote                      ‐               ‐ Neal Williams   415 Mission Street, San Francisco     CA      94105
                                                                  Q‐ 04791451 [Short Term Test Realm]                                                           3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M03858    Salesforce ‐ PCHI ‐ Order Form ‐ Quote                      ‐               ‐ Justin Goldberg 415 Mission Street, San Francisco     CA      94105
                                                                  Q‐ 05664149 [MuleSoft]                                                                        3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M04990    Salesforce ‐ PCHI ‐ Order Form ‐ Quote                      ‐               ‐ Neil Williams   415 Mission Street, San Francisco     CA      94105
                                                                  Q‐ 06571384 [Sandbox Credits]                                                                 3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M05216    Salesforce ‐ PCHI ‐ Order Form Q‐                           ‐               ‐ Neal Williams   415 Mission Street, San Francisco     CA      94105
                                                                  03739574                                                                                      3rd Floor



Party City Holdings Inc.   Salesforce.com, Inc.         M04178    Salesforce ‐ PCHI ‐ Order Form Q‐                           ‐               ‐ Gregory Winton 415 Mission Street, San Francisco      CA      94105
                                                                  05953575 [Service Cloud ‐ Customer                                                           3rd Floor
                                                                  Service Ticketing]

Party City Holdings Inc.   Salesforce.com, Inc.         M05269    Salesforce ‐ PCHI ‐ Salesforce Data                         ‐               ‐ Sam West        415 Mission Street, San Francisco     CA      94105
                                                                  Studio Edition [Q‐04117]                                                                      3rd Floor




                                                                                                            Page 60 of 75
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 63 of 248
         Debtor Name                     Counterparty Name    Contract ID        Title of Agreement                  )   Cure Amount       503(b)(9)       Notice Name      Address                 City      State   ZIP Code
Party City Holdings Inc.          Salesforce.com, Inc.         M02346 Salesforce.com, Inc.                                             ‐               ‐ Joslyn Lacy   415 Mission St Floor San Francisco      CA      94105
                                                                                                                                                                       3



Party City Holdings Inc.          Salesforce.com, Inc.         M05213    Salesforce ‐ PCHI ‐ Professional Services                     ‐               ‐ Candace Rickert 415 Mission Street, San Francisco     CA      94105
                                                                         Agreement 1.27.2020                                                                             3rd Floor



Party City Corporation            Sauce Labs                                                                                           ‐               ‐ Legal          450 Sansome          San Francisco     CA      94111
                                                                                                                                                         Department     Street, 9th Floor



Amscan Inc.                       Save Mart Supermarkets       M05850    Save Mart Supermarkets ‐ Amscan ‐                             ‐               ‐                1800 Standiford      Modesto           CA      95350
                                                                         Supply Agreement                                                                               Ave



Party City Holdings Inc.          Scamman, Bryan               M05196    Bryan Scamman ‐ PCHI ‐ Talent Release                         ‐               ‐                N/A                  N/A              N/A       N/A
                                                                         for Tinsley Shoot 7.23.2021



Party City Corporation            Scandit, Inc.                M02250    Scandit, Inc ‐ PCC ‐ Amendment 1 to                           ‐               ‐ Samuel Mueller 711 Atlantic Avenue Boston            MA       02111
                                                                         Order Form [Barcode Scanner SDK]



Party City Corporation            Scandit, Inc.                M02249    Scandit, Inc ‐ PCC ‐ Order Form [Barcode                      ‐               ‐ Samuel Mueller 711 Atlantic Avenue Boston            MA       02111
                                                                         Scanner SDK]



Party City Corporation            Scandit, Inc.                M05457    Scandit, Inc ‐ PCC ‐ Order Form [Barcode                      ‐               ‐ Samuel Mueller 711 Atlantic Avenue Boston            MA       02111
                                                                         Scanner SDK]



Party City Holdings Inc.; Party   Scarfone, Santo              M03314    Santo Scarfone ‐ PCHI ‐ Party City                            ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                       Holdco
                                                                         Inc. ‐ CIC Severance Agreement

Party City Corporation            Scott, Tim                   M02715    Tim Scott ‐ PCC ‐ Separation Agreement                        ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ      07677
                                                                         and General Release



Party City Corporation            SEMRush Inc                            SEM Rush                                                      ‐               ‐ Tyler Wilson   800 Boylston St.   Boston             MA       02199
                                                                                                                                                                        Suite 2475 Boston,
                                                                                                                                                                        MA 02199

Party City Corporation            Semrush, Inc.                M04786    Semrush, Inc ‐ PCC ‐ Order Form (2022                         ‐               ‐ Evgeny Fetisov 800 Boylston Street, Boston           MA       02199
                                                                         Renewal)                                                                                       Suite 2475



Party City Corporation            Semrush, Inc.                M01316    Semrush, Inc. ‐ PCC ‐ Order Form and                          ‐               ‐ Dmitry         7 Neshaminy          Trevose           PA      19053
                                                                         Statement of Work (SOW)                                                         Melnikov       Interplex
                                                                                                                                                                        Dr., Suite 301




                                                                                                                     Page 61 of 75
                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 64 of 248
         Debtor Name              Counterparty Name       Contract ID        Title of Agreement             )   Cure Amount       503(b)(9)      Notice Name       Address              City         State   ZIP Code
Party City Corporation     Service Management Group, Inc.  M05040 Service Management Group LLC ‐ PCC ‐                        ‐               ‐ David Cushman 1737 McGee Street Kansas City           MO      64108
                                                                      Amendment 2 to SOW 15



Party City Corporation     Service Management Group, LLC   M02448   Service Management Group, LLC ‐ PCC ‐                     ‐               ‐ Mary Widmer     25 Controls Drive   Shelton           CT      06484
                                                                    Amendment to MSA and SOW #1 ‐ 6



Party City Corporation     Service Management Group, LLC   M01291   Service Management Group, LLC ‐ PCC ‐                     ‐               ‐ Mary Widmer     25 Controls Drive   Shelton           CT      06484
                                                                    Master Services Agreement (MSA) &
                                                                    SOWs 1‐5

Party City Corporation     Service Management Group, LLC   M02448   Service Management Group, LLC ‐ PCC ‐                     ‐               ‐ Mary Widmer     25 Controls Drive   Shelton           CT      06484
                                                                    Statement of Work No.15 SMG Video
                                                                    Insights

Party City Corporation     Service Management Group, LLC   M02448   Service Management Group, LLC ‐ PCC ‐                     ‐               ‐ Mary Widmer     25 Controls Drive   Shelton           CT      06484
                                                                    Statement of Work No.7, 9 ‐ 14



Party City Corporation     Service Management Group, LLC   M05131   Service Management Group LLC ‐ PCC ‐                      ‐               ‐ Mary Widmer     1737 McGee Street Kansas City        MO       64108
                                                                    Statement of Work 15 [Cart
                                                                    Abandonment]

Party City Corporation     Service Management Group, LLC   M05121   Service Management Group LLC ‐ PCC ‐                      ‐               ‐ Mary Widmer     1737 McGee          Kansas City      MO       64108
                                                                    Amendment 1 to SOW 15



Party City Corporation     Service Management Group, LLC   M05130   Service Management Group LLC ‐ PCC ‐                      ‐               ‐ Mary Widmer     1737 McGee Street Kansas City        MO       64108
                                                                    Amendment 4 to Master Services
                                                                    Agreement

Party City Holdings Inc.   Sesame Workshop                 M04891   FE Amd 2 to No. 342768 (303433)                           ‐               ‐ Gabriela Arenas One Lincoln Plaza   New York          NY      10023
                                                                    btwen Amscan and Sesame Workshop
                                                                    for Costumes Party Ballons Dec 2022

Party City Corporation     Shah, Vandit                    M01812   H‐1B Compliance Materials                                 ‐               ‐ N/A             100 Tice Blvd       Woodcliff Lake    NJ      07677




Party City Corporation     Shannon, Cherise                M01680   Cherise Shannon ‐ PCC ‐ Severance                         ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                    Agreement and General Release



Amscan Inc.                Sherman, Dave                   M01534   David Sherman ‐ Amscan ‐ Severance                        ‐               ‐                 100 Tice Blvd       Woodcliff Lake    NJ      07677
                                                                    Agreement and General Release (REV)



Amscan Inc.                Shipp Distribution, LLC         M05340   Shipp Distribution LLC ‐ Amscan ‐                         ‐               ‐ Courtney        6630 Arroyo Springs Las Vegas         NV      89113
                                                                    Memorandum of Understanding                                                 Chance          Street, Suite 100




                                                                                                            Page 62 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 65 of 248
         Debtor Name            Counterparty Name          Contract ID           Title of Agreement          )   Cure Amount       503(b)(9)       Notice Name       Address                 City    State   ZIP Code
Party City Corporation     ShopperTrak RCT Corporation      M05449 ShopperTrak RCT Corporation ‐ PCC ‐                         ‐               ‐ Zachary W     233 S. Wacker       Chicago             IL     60606
                                                                       Purchase and Services Agreement                                           Jarrell       Drive, Suite 4100



Party City Holdings Inc.   Shutterfly, LLC                  M00845    Shutterfly, LLC ‐ PCHI ‐ Promotion                       ‐               ‐                2800 Bridge        Redwood City       CA      94065
                                                                      Agreement 2021                                                                            Parkway



Amscan Inc.                Siemans                                    SERVICE PLAN                                             ‐               ‐ Legal          2 Gatehall Drive   Parsippany‐Troy    NJ      07054
                                                                                                                                                 Department                        Hills



Party City Holdings Inc.   Sigma Computing, Inc.            M04641    Sigma Computing, Inc ‐ PCHI ‐ Master                     ‐               ‐ Mike Palmer    116 New            San Francisco      CA      94105
                                                                      Services Agreement and Order Form Q‐                                                      Montgomery
                                                                      03209                                                                                     St., #700

Amscan Inc.; Party City    Silvertop Associates Inc. dba    M02851    Silvertop Associates Inc dba Rasta            $13,724.00                 ‐                600 E Clements     Runnemede          NJ      08078
Holdings                   Rasta Imposta                              Imposta ‐ PCHI ‐ Letter Amendment to                                                      Bridge Rd
                                                                      Settlement and IP License Agreement

Party City Holdings Inc.   Simplelegal, Inc.                M04146    SimpleLegal, Inc ‐ PCHI ‐ Order Form                     ‐               ‐ Mark Weidick   488 Ellis Street   Mountain View      CA      94043
                                                                      Amendment [Cancellation of API
                                                                      Buildout]

Party City Holdings Inc.   Simplelegal, Inc.                M04436    SimpleLegal, Inc ‐ PCHI ‐ Order Form                     ‐               ‐ Mark Weidick   488 Ellis Street   Mountain View      CA      94043
                                                                      Amendment [2022‐2023 Renewal] &
                                                                      PCHI Address Change Notification

Party City Holdings Inc.   Simplelegal, Inc.                M01319    Simplelegal, Inc. ‐ PCHI ‐ Master                        ‐               ‐ Eric Smith     488 Ellis St       Mountain View      CA      94043
                                                                      Services Agreement



Party City Corporation     SITEFOLIO LLC                                                                                       ‐               ‐ Legal          1037 Northeast     Seattle           WA       98115
                                                                                                                                                 Department     65th
                                                                                                                                                                Street, Ste 229

Party City Corporation     SJ Craig Corporation             M00537    Franchise Agreement with SJ Craig                        ‐               ‐ Mack           14519 Ocean Gate   Hawthorne          CA      90250
                                                                      Corporation dated 08/09/2016                                               Mackiewicz     Avenue



Party City Corporation     SJ Craig Corporation             M00538    Franchise Agreement with SJ Craig                        ‐               ‐ Mack           14519 Ocean Gate   Hawthorne          CA      90250
                                                                      Corporation dated 10/05/2016                                               Mackiewicz     Avenue



Party City Corporation     SJ Craig Corporation             M00531    Franchise Agreement with SJ Craig                        ‐               ‐ Steven Craig   14915 Rancho Real Del Mar             CA      92014
                                                                      Corporation dated 06/01/2021



Party City Corporation     SJ Craig Corporation             M00536    Franchise Agreement with SJ Craig                        ‐               ‐ Steven Craig   14915 Rancho Real Del Mar             CA      92014
                                                                      Corporation dated 07/29/2015




                                                                                                             Page 63 of 75
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 66 of 248
         Debtor Name                     Counterparty Name      Contract ID           Title of Agreement              )   Cure Amount       503(b)(9)       Notice Name      Address              City            State   ZIP Code
Party City Corporation            SJ Craig Corporation           M00530 Franchise Agreement with SJ Craig                               ‐               ‐ Steven Craig  14915 Rancho Real Del Mar                  CA      92014
                                                                            Corporation dated 09/08/2020



Party City Corporation            SJ Craig Corporation           M00543    Franchise Agreement with SJ Craig                            ‐               ‐ Steven Craig      14915 Rancho Real Del Mar              CA      92014
                                                                           Corporation dated 10/02/2017



Party City Corporation            SMARTSHEET INC                                                                                        ‐               ‐ Legal             500 108th Avenue     Bellevue         WA       98004
                                                                                                                                                          Department        NE, Ste 200



Party City Holdings Inc.; Party   Smigel, Sheva                  M03323    Sheryl Smigel ‐ PCHI ‐ Party City Holdco                     ‐               ‐                   100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                         Inc. ‐ CIC Severance Agreement



Party City Holdco Inc.            Smith, Peter                   M04549    Peter Smith ‐ PCH ‐ Change in Control                        ‐               ‐                   100 Tice Blvd        Woodcliff Lake    NJ      07677
                                                                           Severance Agreement



Amscan Inc.                       SMSB Consulting Group, Inc.    M04482    SMSB Consulting Group, Inc. ‐ Amscan ‐                       ‐               ‐ Blaine Ross       740 Old Willets      Hauppauge         NY      11788
                                                                           Extension Letter for Work Order 1                                                                Path Suite 100



Amscan Inc.                       SMSB Consulting Group, Inc.    M00910    SMSB Consulting Group, Inc. ‐ Amscan ‐                       ‐               ‐ Jason DeRienzo 740 Old Willets         Hauppauge         NY      11788
                                                                           Master Services Agreement                                                                     Path Suite
                                                                                                                                                                         100

Party City Holdings Inc.          Snowflake Inc.                 M04644    Snowflake Inc ‐ PCC ‐ Capacity Order                         ‐               ‐ Nick Hoylman      106 East Babcock     Bozeman          MT       59715
                                                                           Form Renewal Q‐311968                                                                            Street, Suite 3A



Party City Corporation            Snowflake Inc.                 M01112    Snowflake Inc. ‐ PCC ‐ Master SAAS                           ‐               ‐ Anthony Eisen     450 Concar Drive     San Mateo         CA      94402
                                                                           Agreement



Party City Corporation            SOLARWINDS INC                                                                                        ‐               ‐ Bliss, Jason W.   7171 Southwest       Austin            TX      78735
                                                                                                                                                                            Parkway,
                                                                                                                                                                            Building 400

Party City Holdings Inc.          Sony Pic Consumer Prod Inc.    304259    Cobra Kai TV Show‐US CA MX                                   ‐               ‐ Eric Baum         10202 W.             Culver City       CA      90232
                                                                                                                                                                            Washington Blvd



Party City Holdings Inc.          Sony Pic Consumer Prod Inc.    304083    Ghostbusters US CA MX                                        ‐               ‐ Eric Baum         10202 W.             Culver City       CA      90232
                                                                                                                                                                            Washington Blvd



Party City Corporation            Source Defence Inc.            M01627    Source Defence Inc ‐ PCC ‐ Software As                       ‐               ‐                   Soundview Plaza      Stamford          CT      06902
                                                                           A Service (SAAS) Agreement and Order                                                             Suite 700R, 1266 E
                                                                           Form                                                                                             Main S




                                                                                                                      Page 64 of 75
                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 67 of 248
         Debtor Name             Counterparty Name            Contract ID            Title of Agreement             )   Cure Amount       503(b)(9)       Notice Name         Address               City   State    ZIP Code
Party City Corporation     Source Defence Inc.                 M01628 Source Defence Inc ‐ PCC ‐ Software As                          ‐               ‐                 Soundview Plaza      Stamford       CT       06902
                                                                          A Service (SAAS) Agreement and Order                                                          Suite 700R, 1266 E
                                                                          Form                                                                                          Main S

Party City Holdco Inc.     SOXHUB, Inc.                        M05412    SOXHUB, Inc. ‐ PCHI ‐ Subscription                           ‐               ‐ Jay Lee         12900 Park Plaza     Cerritos       CA       90703
                                                                         Agreement                                                                                      Drive, Suite 200



Party City Holdings Inc.   Spin Master Toys Far East Ltd.      M04065    Spin Master Toys Far East Ltd ‐ PCHI ‐             $4,847.50                 ‐                 77 Mody Rd        Kowloon          Hong      999077
                                                                         Addendum to the Vendor Standards                                                               Tsimshatsui East,                  Kong
                                                                         Manual 2022                                                                                    Room 1113, 11/F.,
                                                                                                                                                                        Chinachem Golden
Party City Holdings Inc.   Spin Master, Inc.                   M03747    Spin Master, Inc ‐ PCHI ‐ Addendum to                        ‐               ‐                 225 King Street   Toronto ON       Canada   M5V 3M2
                                                                         the Vendor Standards Manual 2022                                                               West



Party City Holdings Inc.   Sprinklr Inc.                       M02301    Sprinklr Inc. ‐ PCHI ‐ Master Services                       ‐               ‐ Greg Czaja      29 W. 35th Street,   New York       NY       10001
                                                                         Agreement and Order Form with PCC                                                              7th Floor



Am‐Source, LLC             SPS Commerce, Inc.                  M01654    SPS Commerce, Inc. ‐ Am‐Source ‐                   $3,715.18                 ‐                 333 South Seventh Minneapolis       MN       55402
                                                                         Annual MAPADOC ‐ Loftware                                                                      Street
                                                                         Maintenance Renewal                                                                            Suite 1000

Amscan Inc.                SPS Commerce, Inc.                  M05839    SPS Commerce, Inc ‐ Amscan ‐ Scope                           ‐               ‐ Darius Knight   333 South Seventh Minneapolis       MN       55402
                                                                         and Proposal with Terms and                                                                    Street Suite 1000
                                                                         Conditions

Party City Holdings Inc.   Standard Insurance Company                    Provide administration for Leave of                          ‐               ‐                 1359 Broadway        New York       NY       10018
                                                                         Absence, EAP services, Workplace
                                                                         Accommodations and Life Insurance

Amscan Inc.                Staples the Office Superstore,      M05133    Staples Inc. ‐ Amscan ‐ Vendor Program                       ‐               ‐                 500 Staples Drive    Framingham     MA       01702
                           LLC                                           Agreement Extension and Amendment



Party City Holdings Inc.   StartPulsing Limited (trading as    M05328    StartPulsing Limited (OnePulse) ‐ PCHI ‐           $2,589.04                 ‐ Mike Billingsley 1st Floor,143‐149   London         UK      EC3M 6BL
                           OnePulse)                                     Master Subscription Services                                                                    Fenchurch Street
                                                                         Agreement

Party City Corporation     Strategic Maintenance Solutions     M05135    Service Management Group LLC ‐ WL                            ‐               ‐ Geoffrey Clarke 12 Estate Drive      Gorham         ME       04038
                           Inc.; WL Tech Solutions, Inc.                 Technology Solutions ‐ PCC ‐ Maximo
                                                                         Implementation SOW

Party City Holdings Inc.   StrategIQ Commerce, LLC             M05151    StrategicIQ Commerce LLC ‐ PCHI ‐ MSA             $25,637.05                 ‐                 549 W Randolph       Chicago         IL      60661
                                                                         and SOW [Exhibit B] 02.01.2021                                                                 Street, 3rd Floor



Party City Holdings Inc.   StrategIQ Commerce, LLC             M05148    StrategIQ Commerce LLC ‐ PCHI ‐ FEDEX                        ‐               ‐ Bill Bearden    549 W Randolph       Chicago         IL      60661
                                                                         EDI Authorization Letter 06.29.2021                                                            Street, 3rd Floor




                                                                                                                    Page 65 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 68 of 248
         Debtor Name                     Counterparty Name              Contract ID         Title of Agreement              )   Cure Amount       503(b)(9)      Notice Name     Address                         City   State   ZIP Code
Party City Corporation            Strug, Elysa                           M03608 Elysa Strug ‐ PCC ‐ Separation                                ‐               ‐ N/A          N/A                       N/A               N/A      N/A
                                                                                    Agreement and General Release



Party City Holdings Inc.          Summer 1, LLC                          M04513    Summer 1, LLC ‐ PCHI ‐ Non‐Exclusive                       ‐               ‐                   304 12th Street,     Oakland           CA      94607
                                                                                   Release Agreement                                                                              Suite 4A



Amscan Inc.                       Summerhouse Bidco Limited                        Amendment to Supply Agreement                              ‐               ‐ c/o Squire       148 Edmund Street Birmingham            UK      B3 2JR
                                                                                   dated January 30, 2021 (the                                                  Patton Boggs
                                                                                   “Agreement”), by and between Amscan                                          (Uk) Llp Rutland
                                                                                   Inc. (“Amscan”) and Summerhouse
Party City Holdings Inc.          SunCentral LLC                         M05245    SunCentral LLC ‐ PCHI ‐ Illinois Small                     ‐               ‐                   1750 15th Street.,   Denver            CO      80202
                                                                                   Subscription Agreement (Ameren,                                                                Ste. 400
                                                                                   ComEd) & Capacity Commitment
                                                                                   Agreement
Party City Corporation            SUNGARD AVAILABILITY                                                                                        ‐               ‐ Legal             565 E Swedesford     Wayne             PA      19087
                                  SERVICES                                                                                                                      Department        Road, Ste 320



Party City Corporation            SurveyMonkey, Inc.                     M05157    SurveyMonkey, Inc. ‐ PCC ‐ Governing                       ‐               ‐ Tom Rattray       1 Curiosity Way      San Mateo         CA      94403
                                                                                   Services Agreement



Party City Corporation            Swalley Harrigill Enterprises, Inc.    M00555    Franchise Agreement with Swalley                           ‐               ‐ Alice Harrigill   900 E. County Line   Ridgeland         MS      39157
                                                                                   Harrigill Enterprises, Inc. dated                                                              Road, Suite 349
                                                                                   03/29/2015

Party City Holdings Inc.; Party   Swanner, Angela                        M03286    Angela Swanner ‐ PCHI ‐ Party City                         ‐               ‐                   100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                                 Holdco Inc. ‐ CIC Severance Agreement



Party City Corporation            SWM Party Company, LLC                 M00593    Franchise Agreement with SWM Party                         ‐               ‐ Don Lasseter, Jr. 10838 Vandale        San Antonio       TX      78216
                                                                                   Company, LLC dated 09/15/2017                                                                  Street



Party City Holdings Inc.          Synchronet Corp.                       M03408    Synchronet ‐ PCHI ‐ MSA & SOW                              ‐               ‐ Mike Hapner       13100 Wortham        Houston           TX      77065
                                                                                                                                                                                  Center
                                                                                                                                                                                  Dr., Suite 300

Party City Holdings Inc.          Synchronet Corp.                       M04030    Synchronet ‐ PCHI ‐ Statement of Work                      ‐               ‐                   13100 Wortham        Houston           TX      77065
                                                                                   2 to MSA [FlexStart Amazon Appstream]                                                          Center
                                                                                                                                                                                  Dr., Suite 300

Party City Holdings Inc.          Synchronet Corp.                       M04529    Synchronet ‐ PCHI ‐ Statement of Work                      ‐               ‐ Jared Cheney      13100 Wortham        Houston           TX      77065
                                                                                   to MSA [FlexStart Managed Services]                                                            Center
                                                                                                                                                                                  Dr., Suite 300

Party City Holdings Inc.          SYOXSA, Inc.                           M02777    SYOXSA, Inc ‐ PCHI ‐ Product Supply             $21,191.14                     Esteban Trejo   6996 Commerce        El Paso           TX      79915
                                                                                   Agreement                                                                                      Ave.




                                                                                                                            Page 66 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 69 of 248
         Debtor Name              Counterparty Name          Contract ID            Title of Agreement               )   Cure Amount       503(b)(9)      Notice Name      Address               City                State    ZIP Code
Party City Holdings Inc.   Tableau Software, LLC, A           M02517 Tableau Software, LLC ‐ PCHI ‐                                    ‐               ‐ Mark Nelson  1621 N 34th Street Seattle                      WA       98103
                           Salesforce Company                            Subscription Order Form



Party City Holdings Inc.   Tableau Software, LLC, A           M02938     Tableau Software, LLC ‐ PCHI ‐                                ‐               ‐ Mark Nelson     1621 N 34th Street Seattle                   WA       98103
                           Salesforce Company                            Subscription Order Form



Amscan Inc.                Tablevogue                         M05918     Worldwide effect Jan 26, 2017                                 ‐               ‐ Jane Birdwell   125 West Romana       Pensacola               FL      32502
                                                                         previously US/CA                                                                                Street
                                                                                                                                                                         Ste 222

Party City Corporation     Tacitus, LLC                       M05399     Tacitus ‐ PCC ‐ Helium Supply                                 ‐               ‐ Bruce M.        2100 Cortland Drive Farmington               NM       87401
                                                                         Agreement 7.1.2019                                                              Monroe



Party City Corporation     Tacitus, LLC; NTEC Helium, LLC     M00946     Tacitus ‐ PCC ‐ First Letter Agreement to                     ‐               ‐ Bruce M.        2100 Cortland Drive Farmington               NM       87401
                                                                         Helium Supply Agreement                                                         Monroe



Party City Corporation     Tacitus, LLC; NTEC Helium, LLC     M00945     Tacitus ‐ PCC ‐ Helium Supply                                 ‐               ‐ Bruce M.        2100 Cortland Drive Farmington               NM       87401
                                                                         Agreement 7.1.2019                                                              Monroe



Party City Corporation     Tacitus, LLC; NTEC Helium, LLC     M00947     Tacitus ‐ PCC ‐ Second Letter Agreement                       ‐               ‐ Bruce M.        2100 Cortland Drive Farmington               NM       87401
                                                                         to Helium Supply Agreement                                                      Monroe



Amscan Inc.; Party City    Tangle, Inc.                       M04176     Tangle, Inc ‐ PC ‐ Settlement Agreement                       ‐               ‐ Richard E.      310 Littlefield Ave   South San Francisco    CA       94080
Holdings                                                                 and General Mutual Releases                                                     Zawitz



Party City Corporation     Tealium Inc.                       M02025     Tealium Inc. ‐ PCC ‐ Service Order with             $4,186.19                 ‐ Jeffrey W.      11095 Torreyana       San Diego              CA       92121
                                                                         Terms and Conditions                                                            Lunsford        Road



Party City Holdings Inc.   Tele‐Communication, Inc. dba as    M02316     Tele‐Communication, Inc. dba                                  ‐               ‐ Ted Estwan      2075 E. Governors     Houston                TX       77092
                           UnifiedCommunications.com                     UnifiedCommunications.com ‐ PCHI ‐                                                              Cir
                                                                         Proof of Concept Rooms (Proj
                                                                         Burgandy)
Party City Holdings Inc.   The Bloomington Group              M05512     The Bloomington Group ‐ PCHI ‐                     $15,000.00                 ‐                 234 Valmont Crt.      Ancaster ON           Canada   L9G 5A1
                                                                         Statement of Work



Amscan Inc.                The Creative Partners Group,       M05164     The Creative Partners Group, LLC ‐                            ‐               ‐ Jeff Sunberg    88 South 10th         Minneapolis            MN       55403
                           LLC.                                          Anagram, Ampro & Print Appeal ‐                                                                 Street, Suite 100
                                                                         Addendum to Manufacturer's Sales

Amscan Inc.                The Heritage Group LLC; Encore     M05313     Encore Associates, Heritage Group LLC ‐                       ‐               ‐ The Heritage    195 S Main St         Cheshire               CT       06410
                           Associates                                    Amscan ‐ Vendor Agreement, Packet                                               Group LLC
                                                                         and NDA's




                                                                                                                     Page 67 of 75
                                                  Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 70 of 248
         Debtor Name             Counterparty Name       Contract ID            Title of Agreement              )   Cure Amount      503(b)(9)       Notice Name      Address           City           State   ZIP Code
Party City Holdings Inc.   The Lemon Group, LLC           M04433 The Lemon Group LLC dba Mid‐America                    $57,208.66               ‐ Stephen       2195 Broehm Road Obetz                 OH      43207
                                                                     Store Fixtures ‐ PCHI ‐ MSA and SOW                                           Bennett



Party City Corporation     The Price REIT, Inc.                                                                                  ‐               ‐ Legal         3333 New Hyde      New Hyde Park       NY      10042
                                                                                                                                                   Department    Park Road, Ste 100



Amscan Custom Injection    The Pros Cleaning Solutions    M01169    The Pros Cleaning Solutions ‐ ACIM ‐                         ‐               ‐ Paul Lucero   3250 Coors Blvd     Alburquerque      NM       87120
Moldi                                                               Professional Janitorial Service Proposal
                                                                    & Agreement

Party City Holdings Inc.   The Solomon‐Page Group LLC     M01256    Solomon Page Group ‐ PCHI ‐ Agency                           ‐               ‐ Kathy Brown   260 Madison         New York           NY      10016
                                                                    Agreement                                                                                    Avenue



Party City Corporation     The Standard Life Insurance              Leave Administrative, disability and life          $34,134.57                ‐ Attn: Legal   1100 Southwest 6th Portland            OR      97204
                                                                    insurance                                                                      Dept          Ave



Amscan Inc.                The WoundedNature.org                                                                                 ‐               ‐ Rudy Socha    1105 Calm Water     Mt. Pleasant       SC      29464
                           Organization                                                                                                                          Court



Party City Holdings Inc.   The Zimmerman Agency, LLC      M02477    The Zimmerman Agency, LLC ‐ PCHI ‐                           ‐               ‐ Carrie        1821 Miccosukee     Tallahassee        FL      32308
                                                                    Letter of Agreement                                                            Zimmerman     Commons Drive



Party City Corporation     The Zimmerman Agency, LLC      M05426    Zimmerman Advertising LLC ‐ PCC ‐                            ‐               ‐ Ronnie        6600 North          Fort Lauderdale    FL      33309
                                                                    Amendment Service Agreement                                                    Haligman      Andrews
                                                                                                                                                                 Ave., Suite 200

Party City Corporation     ThinkTime, LLC                 M02024    ThinkTime, LLC ‐ PCC ‐ SAAS Service                          ‐               ‐ Steve Levy    1 E Wacker Drive,   Chicago            IL      60611
                                                                    Agreement                                                                                    Suite 3200



Party City Holdings Inc.   Thomas Nelson                            Consulting Agreement                                         ‐               ‐ Thomas Nelson 1803 Dantzler Road High Point          NC      27265




Party City Holdco Inc.     Thompson, Sean                 M04686    Sean Thompson ‐ PCH ‐ Second                                 ‐               ‐               100 Tice Blvd       Woodcliff Lake     NJ      07677
                                                                    Amended and Restated Employment
                                                                    Agreement

Party City Holdings Inc.   Tibco Software Inc                       TIBCO JasperReports Professional                      $215.92                ‐               851 Cypress Creek   Fort Lauderdale    FL      33309
                                                                    (DevTest) ‐ (Instance) (E) : 04‐DEC‐22 to                                                    Road
                                                                    03‐DEC‐23

Party City Holdings Inc.   Tivian, Inc                              Provide education materials to support                       ‐               ‐ Kaiser        PO Box 629028       Eldorado Hills     CA      95762
                                                                    Open Enrollment                                                                Permanente




                                                                                                                Page 68 of 75
                                                      Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 71 of 248
         Debtor Name              Counterparty Name          Contract ID              Title of Agreement            )   Cure Amount       503(b)(9)      Notice Name           Address              City         State   ZIP Code
Party City Corporation     Tivian, Inc.                                    Full vendor name needed. What type                         ‐               ‐ Attn: Legal Dept 575 Lexington Ave   New York             NY      10022
                                                                           of contract / services                                                                        14th floor



Party City Holdings Inc.   T‐Mobile USA, Inc.                 M04679       T‐Mobile USA, Inc ‐ PCHI ‐ Master               $25,458.66                 ‐ Tamara          12920 S.E. 38th      Bellevue            WA       98006
                                                                           Corporate Services Agreement                                                 Chamberlin      Street



Party City Holdings Inc.   TNC Consulting                                  Proposal to PCHI Rationalization of                        ‐               ‐ Thomas Nelson 1803 Dantzler Road High Point               NC      27265
                                                                           Internal Manufacturing by TNC



Party City Corporation     Tom Rectenwald Construction,       M04608       Tom Rectenwald Construction, Inc. ‐                        ‐               ‐ Steve Koerper   110 N Jefferson      Zelienople           PA      16063
                           Inc.                                            PCC ‐ Construction Agreement                                                                 Street



Amscan Inc.                Topco Associates, LLC              M05481       Topco Associates, LLC ‐ Amscan ‐ Terms                     ‐               ‐                 150 North West       Elk Grove Village    IL      60007
                                                                           and Conditions                                                                               Point Boulevard



Party City Corporation     Toshiba Global Commerce            M03187       Toshiba Global Commerce Solutions ‐              $9,649.42                 ‐ Eugene          3901 S Miami Blvd    Durham               NC      27703
                           Solutions                                       PCC ‐ Change Authorization                                                   Shvartsman



Party City Corporation     TranSource                         M01926       TranSource ‐ PCC ‐ Purchase Agreement                      ‐               ‐ Legal           PO BOX 931898        Atlanta              GA      31193
                                                                                                                                                        Department



Party City Holdings Inc.   TranzAct Technologies Inc.         M04483       TranzAct Technologies Inc ‐ PCHI ‐                         ‐               ‐ Jean Regan      360 West             Elmhurst             IL      60126
                                                                           Freight Audit and Payment Statement                                                          Butterfield
                                                                           of Work                                                                                      Road, Suite 400

Amscan Inc.                TrashCo                              Auto       Worldwide                                                  ‐               ‐ John Funk       5984 S. Prince St,   Littleton            CO      80120
                                                              renewal                                                                                                   Ste 207



Party City Corporation     Trilogy Leasing Co., LLC                        Master Lease Agreement                          $21,297.02                 ‐                 2551 Route 130       Cranbury             NJ      08512




Party City Corporation     TRINTECH INC                                                                                               ‐               ‐ Joel Clark      5600 Granite         Plano                TX      75024
                                                                                                                                                                        Parkway,
                                                                                                                                                                        Ste 10000

Amscan Inc.                Trivedi, Nirali                    M01813       H‐1B Compliance Materials                                  ‐               ‐ N/A             100 Tice Blvd        Woodcliff Lake       NJ      07677




Party City Holdings Inc.   True North Growth Partners, LLC    M03851       Consulting Agreement                           $177,371.00                 ‐ David DuBose    8584 Washington      Chagrin Falls        OH      44023
                                                                                                                                                                        Street,
                                                                                                                                                                        Suite 2051




                                                                                                                    Page 69 of 75
                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 72 of 248
         Debtor Name              Counterparty Name        Contract ID           Title of Agreement               )   Cure Amount       503(b)(9)       Notice Name       Address                 City    State   ZIP Code
Party City Holdings Inc.   TTi Logistics: Tradeshow         M03633 Trade Show Technologies Incorporated                             ‐               ‐ Jeff Rossier  1680 The Greens       Jacksonville      FL     32250
                           Technologies, Inc.                          ‐                                                                                            Way,
                                                                       PCHI ‐ Master Services Agreement and                                                         Suite 100
                                                                       Statement of Work
Party City Holdings Inc.   Turbonomic, Inc.                 M01165 Turbonomic, Inc. ‐ PCHI ‐ Software                               ‐               ‐ Owen Bailey     500 Boylston Street, Boston         MA       02116
                                                                       License and Support Agreement                                                                  7th Floor



Party City Holdings Inc.   U.S. Compliance Corporation      M03121      US Compliance Corporation ‐ PCHI ‐                          ‐               ‐ Kevin Weaver    520 3rd Street,     Excelsior       MN       55331
                                                                        Master Services Agreement &                                                                   Suite 100
                                                                        Statement of Work

Party City Corporation     Uber Technologies, Inc.          M04512      Uber Technologies, Inc ‐ PCC ‐                  $293,978.31                 ‐ Tony Costanzo   1455 Market Street, San Francisco    CA      94103
                                                                        Amendment 2 to Direct Dashboard                                                               Suite 400
                                                                        Access Agreement

Party City Corporation     Uber Technologies, Inc.          M04511      Uber Technologies, Inc ‐ PCC ‐                              ‐               ‐ Tony Costanzo   1455 Market Street, San Francisco    CA      94103
                                                                        Amendment 1 to Direct Dashboard                                                               Suite 400
                                                                        Access Agreement

Party City Corporation     Uber Technologies, Inc.          M04510      Uber Technologies, Inc ‐ PCC ‐ Direct                       ‐               ‐ Tony Costanzo   1455 Market Street, San Francisco    CA      94103
                                                                        Dashboard Access Agreement                                                                    Suite 400



Amscan Inc.                Ubisoft Inc                         Not      US/CA/MX LA ‐ Assassins                                     ‐               ‐ Laurent Detoc   625 3rd Street      San Francisco    CA      94107
                                                            indicated   Creed/Hyperscape/Watchdogs



Amscan Inc.                Uncle George Productions, LLC    M04257      Uncle George Productions, LLC ‐                             ‐               ‐                 1515 Garnet Mine    Garnet Valley    PA      19060
                                                                        Amscan                                                                                        Road, Building F
                                                                        ‐ Production Release for Material

Party City Holdings Inc.   Unitas Global Inc.               M02349      Unitas Global Inc ‐ PCHI ‐ Master Terms           $1,434.91                 ‐ Mary Stanhope 910 W Van Buren       Chicago          IL      60607
                                                                        and Conditions and Service Order Form                                                       Street,
                                                                        211202Q80582                                                                                Suite 610

Party City Corporation     United Heathcare                             Vision coverage                                   $6,129.97                 ‐ Attn: Legal Dept 11000 Optum Circle Eden Prairie     MI      55344




Party City Holdings Inc.   UNITED PARCEL SERVICE                        UNITED PARCEL SERVICE Supply                                ‐               ‐ Joe O'Hara      700 Blair Mill Road Horsham          PA      19044
                                                                        Agreement



Party City Holdings Inc.   United Parcel Service General    M05187      United Parcel Service General Services                      ‐               ‐ Joe O'Hara      700 Blair Mill Road Horsham          PA      19044
                           Services Co.                                 Co. ‐ PCHI ‐ Amendment No 7 to UPS
                                                                        Incentive Program Agreement

Party City Holdings Inc.   United Parcel Service General    M05188      United Parcel Service General Services                      ‐               ‐ Joe O'Hara      700 Blair Mill Road Horsham          PA      19044
                           Services Co.                                 Co. ‐ PCHI ‐ Amendment No 8 to UPS
                                                                        Incentive Program Agreement




                                                                                                                  Page 70 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 73 of 248
         Debtor Name              Counterparty Name        Contract ID             Title of Agreement            )   Cure Amount       503(b)(9)      Notice Name       Address                    City   State    ZIP Code
Party City Corporation     United Parcel Service General    M03128 United Parcel Service General Services                          ‐               ‐ Brandon      55 Glenlake            Atlanta           GA       30328
                           Services Co.                                Co. ‐ PCC ‐ Electronic Data Access and                                        Samuels      Parkway NE
                                                                       Exchange Agreement EDAE08032019

Party City Holdings Inc.   UnitedHealth Group                          Provide vision coverage for eligible                        ‐               ‐ Tivian, Inc    PO Box 23504         New York          NY     10087‐3504
                                                                       employees



Party City Holdings Inc.   Universal                       201307423 Multi CA, MX, Multi US, PR & poss                             ‐               ‐ Dan Parez      100 Universal City   Universal City    CA       91608
                                                                                                                                                                    Plaza,
                                                                                                                                                                    Bldg. 1440/13

Party City Holdings Inc.   UNIVERSAL STUDIOS LICENSING                 UNIVERSAL STUDIOS LICENSING LLC                             ‐               ‐                10 UNIVERSAL CITY UNIVERSAL CITY       CA       91608
                           LLC                                         Supply Agreement                                                                             PLAZA



Amscan Inc.                Urgo, Laura                      M04345     Laura Urgo ‐ Amscan ‐ Separation                            ‐               ‐                100 Tice Blvd        Woodcliff Lake    NJ       07677
                                                                       Agreement and General Release



Amscan Inc.                US Bank                                     XEROXC804S BROTHER 9570                                     ‐               ‐ Jessica Buehler 1310 Madrid Street Marshall          MN        56258
                                                                       (2) BROTHER 6400
                                                                       KYOCERA 2135 (SERVICEONLY)

Amscan Inc.                US Bank                                     (2) Brother 6400                                            ‐               ‐ Jessica Buehler 1310 Madrid Street Marshall          MN        56258




Amscan Inc.                US Bank                                     2 ‐ Brother HL‐6400                                         ‐               ‐ Jessica Buehler 1310 Madrid Street Marshall          MN        56258




Amscan Inc.                US Bank                                     3 ‐ BROTHER 6900                                            ‐               ‐ Jessica Buehler 1310 Madrid Street Marshall          MN        56258
                                                                       2 ‐ BROTHER 6400



Amscan Inc.                US Bank                                     Brother6400 XeroxC8045                                      ‐               ‐ Jessica Buehler 1310 Madrid Street Marshall          MN        56258
                                                                       Xerox B7035
                                                                       HP 2055 (SERVICE ONLY)

Party City Corporation     Vaso Group, LLC                  M05450     Vaso Group, LLC ‐ PCC ‐ Representative           $15,132.21                 ‐                1601 Elm Street,     Dallas            TX       75201
                                                                       Agreement                                                                                    33rd
                                                                                                                                                                    Floor

Amscan Inc.                Veritiv ‐ Clifton (3M)           M05419     Veritiv ‐ Amscan ‐ Inventory Agreement           $45,120.37                 ‐ Jeffrey        261 River Road       Clifton           NJ       07014
                                                                                                                                                     Hoeppner



Party City Holdings Inc.   Verizon Business Network         M05453     Verizon Business Network Services LLC ‐                     ‐               ‐ Mark Wilets    1095 Avenue of the New York            NY       10036
                           Services LLC                                PCHI ‐ M2M Service Agreement                                                                 Americas,




                                                                                                                 Page 71 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 74 of 248
         Debtor Name              Counterparty Name         Contract ID            Title of Agreement       ) Cure Amount             503(b)(9)      Notice Name        Address             City         State   ZIP Code
Party City Holdings Inc.   Verizon Business Network          M04478 Verizon Business Network Services LLC ‐               ‐                       ‐ Hans Vestberg 1000 Park Meadows Lone Tree             CO      80124
                           Services LLC                                 PCHI ‐ US Services Agreement Master                                                       Drive
                                                                        Service Order Form [Tice Backup
                                                                        Internet Circuit]
Party City Holdings Inc.   Verst Group Logistics, Inc.       M04566 Verst Group Logistics, Inc ‐ PCHI ‐                   ‐                       ‐ Jim Stadmiller   300 Shorland Drive Walton            KY      41094
                                                                        General Terms ‐ Agreement on the
                                                                        Supply of Goods and Services

Party City Holdings Inc.   Visionet Systems, Inc.            M04370    Visionet Systems, Inc ‐ PCHI ‐ Statement                   ‐               ‐ Jawad Khan       4B Cedar Brook       Cranbury        NJ      08512
                                                                       of Work 2                                                                                     Drive



Party City Holdings Inc.   Warner Brothers                   584309    Canada, Mexico, US                                         ‐               ‐ Dana Lira        4000 Warner Blvd     Burbank         CA      91522




Party City Holdings Inc.   Waypost Advisors, LLC             M03573    Waypost Advisors, LLC ‐ PCHI ‐ Master                      ‐               ‐ Emily LeVasseur 16526 W 78th          Eden Prairie   MN       55346
                                                                       Services Agreement and Statement of                                                          Street, Suite 335
                                                                       Work

Party City Holdings Inc.   Waypost Advisors, LLC             M04264    Waypost Advisors, LLC ‐ PCHI ‐                             ‐               ‐ Emily LeVasseur 16526 W 78th          Eden Prairie   MN       55346
                                                                       Statement of Work 2                                                                          Street, Suite 335



Party City Corporation     Waypost Advisors, LLC ‐ PCHI ‐                                                                         ‐               ‐ Legal            16526 W 78th         Eden Prairie   MN       55346
                           Statement of Work 2                                                                                                      Department       Street, Suite 335



Amscan Inc.                Wells Fargo 3016018947003                   LEASE                                                      ‐               ‐ Legal            300 Tri ‐State       Lincolnshire    IL      60069
                                                                                                                                                    Department       International, Ste
                                                                                                                                                                     400

Amscan Inc.                Wells Fargo 3016018947004                   LEASE                                            $1,320.47                 ‐ Legal            800 Walnut Street, Des Moines        IA      50309
                                                                                                                                                    Department       4th Floor



Am‐Source, LLC             Wells Fargo Bank, N.A.            M05617    Wells Fargo Equipment Finance,                             ‐               ‐ Legal            800 Walnut Street, Des Moines        IA      50309
                                                                       Manufacturer Services Group ‐ contract                                       Department       4th Floor
                                                                       number 301‐6018947‐004

Amscan Inc.                Wells Fargo Bank, N.A.            M01903    Wells Fargo, NA ‐ Amscan dba Deco ‐                        ‐               ‐ Charles W.       800 Walnut Street, Des Moines        IA      50309
                                                                       Amendment to Forklift Lease 301‐                                             Scharf           4th
                                                                       0677007‐005                                                                                   Floor

Amscan Inc.                Wells Fargo Bank, N.A.            M01904    Wells Fargo, NA ‐ Amscan dba Deco ‐                        ‐               ‐ Charles W.       800 Walnut Street, Des Moines        IA      50309
                                                                       Amendment to Forklift Lease 301‐                                             Scharf           4th Floor
                                                                       0677007‐006

Amscan Inc.                Wells Fargo Bank, N.A.            M01902    Wells Fargo, NA ‐ Amscan dba Deco ‐                        ‐               ‐ Charles W.       800 Walnut Street, Des Moines        IA      50309
                                                                       Forklift Lease 301‐0677007‐005                                               Scharf           4th Floor




                                                                                                                  Page 72 of 75
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 75 of 248
        Debtor Name                      Counterparty Name          Contract ID             Title of Agreement          )   Cure Amount       503(b)(9)      Notice Name       Address             City            State   ZIP Code
Amscan Inc.                       Wells Fargo Bank, N.A.             M01906 Wells Fargo, NA ‐ Amscan dba Deco ‐                           ‐               ‐ Charles W.   800 Walnut Street, Des Moines               IA     50309
                                                                                Forklift Lease 301‐0677007‐006                                              Scharf       4th Floor



Am‐Source, LLC                    Wells Fargo Bank, N.A.             M05617    Wells Fargo Equipment Finance,                             ‐               ‐ Legal            300 Tri‐State        Lincolnshire      IL      60069
                                                                               Manufacturer Services Group ‐ contract                                       Department       International, Suite
                                                                               number 301‐6018947‐003                                                                        400

Am‐Source, LLC                    Wells Fargo Bank, N.A.             M05616    Wells Fargo, NA ‐ Am‐Source, LLC ‐                         ‐               ‐                  300 Tri‐State        Lincolnshire      IL      60069
                                                                               Forklift Lease 301‐6018947‐003                                                                International, Suite
                                                                                                                                                                             400

Party City Holdings Inc.; Party   Weston, Brad                                 Second Amended and Restated                                ‐               ‐                  100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                             Employment Agreement



Party City Holdings Inc.; Party   Weston, Bradley                    M05363    Brad Weston ‐ PCH, PCHI ‐                                  ‐               ‐                  100 Tice Blvd        Woodcliff Lake    NJ      07677
Ci                                                                             Indemnification Agreement



Party City Holdings Inc.          Whapps LLC                         M03309    Whapps LLC dba Work Proud ‐ Master               $5,960.63                 ‐ Michael Levy     2435 N. Central      Richardson        TX      75080
                                                                               Services Agreement and Statement of                                                           Expressway, Suite
                                                                               Work                                                                                          1180

Party City Corporation            White, Michael                     M03307    Michael White ‐ PCC ‐ Separation                           ‐               ‐                  100 Tice Blvd        Woodcliff Lake    NJ      07677
                                                                               Agreement and General Release



Amscan Inc.                       Widen Enterprises, LLC             M05178    Widen Enterprises, LLC ‐ Amscan ‐              $103,060.82                 ‐                  53 state Steet, 10th Boston           MA       02109
                                                                               Statement of Work                                                                             Fl



Amscan Inc.                       Widen Enterprises, LLC             M05179    Widen Enterprises, LLC ‐ Amscan ‐                          ‐               ‐                  53 state Steet, 10th Boston           MA       02109
                                                                               Amendment to MSA                                                                              Fl



Amscan Inc.                       Widen Enterprises, LLC             M05177    Widen Enterprises, LLC ‐ Amscan ‐                          ‐               ‐                  6911 Mangrove        Madison           WI      53713
                                                                               Master Services Agreement                                                                     Lane



Amscan Inc.                       Willis Towers Watson                                                                         $38,039.50                 ‐ Attn: Legal Dept 11 E 44th Street     New York          NY      10017




Party City Holdings Inc.          Willis Towers Watson US LLC        M03860    Willis Towers Watson US, LLC ‐ PCHI ‐                      ‐               ‐ Vincent F. Yezzi 100 Matsonford       Radnor            PA      19087
                                                                               Statement of Work                                                                             Road,
                                                                                                                                                                             Building 5, Suite
                                                                                                                                                                             200
Amscan Inc.                       Windstream (and its affiliates)    M01485    Windstream ‐ Amscan ‐ Amendment to                         ‐               ‐ Mike May         4001 N Rodney        Little Rock       AR      72212
                                                                               Service Agreement No. 2314670 and                                                             Parham Road
                                                                               Quote No. 2352045




                                                                                                                        Page 73 of 75
                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 76 of 248
        Debtor Name             Counterparty Name            Contract ID         Title of Agreement               )   Cure Amount       503(b)(9)      Notice Name      Address                  City   State    ZIP Code
Amscan Inc.                Windstream (and its affiliates)    M01303 Windstream ‐ Amscan, Inc. ‐ Service                            ‐               ‐ Mike May     4001 N Rodney        Little Rock      AR       72212
                                                                         Agreement and Addendum (#2314670)                                                         Parham Road



Party City Holdings Inc.   WL Tech Solutions, Inc.            M03467    WL Tech Solutions, Inc. ‐ PCHI ‐ Cloud                      ‐               ‐ Jeffrey       311 Route 46 West, Faifield          NJ       07004
                                                                        Solution Provider Agreement                                                   Davidson      Suite Metrographics



Party City Holdings Inc.   WL Tech Solutions, Inc.            M04211    WL Tech Solutions, Inc. ‐ PCHI ‐                            ‐               ‐ Jeffrey       311 US‐46, Suite    Fairfield        NJ       07004
                                                                        Statement of Work [Data Center Green                                          Davidson      Metrographics
                                                                        Disposal and Recycling]

Party City Corporation     WL Tech Solutions, Inc.            M05189    WL Technology Solutions ‐ PCC ‐ PPA                         ‐               ‐ Jeffrey       311 US‐46, Suite    Fairfield        NJ       07004
                                                                        Transfer Form (IBM's Passport                                                 Davidson      Metrographics
                                                                        Advantage)

Party City Corporation     Worksright Software Inc                                                                                  ‐               ‐ Legal         PO BOX 1156         MADISON          MS       39130
                                                                                                                                                      Department



Party City Holdings Inc.   Worldwide Retail Solutions Inc.    M05056    Worldwide Retail Solutions Inc ‐ PCHI ‐                                     ‐ Tony Tellez   100 Marcus Blvd,    Happaugue        NY       11788
                                                                        Master Services Agreement and                                                               Ste 6
                                                                        Statement of Work

Party City Holdings Inc.   WORTHINGTON CYLINDER PA                      WORTHINGTON CYLINDER PA Supply                              ‐               ‐               27406 NETWORK       CHICAGO          IL     60673‐1274
                                                                        Agreement                                                                                   PLACE



Amscan Inc.                Worthington Industries, Inc.       M02470    Worthington Industries, Inc. ‐ Amscan,                      ‐               ‐ Millicent     200 West Old       Worthington       OH       43085
                                                                        Inc. ‐ Master Purchasing Agreement                                            Morgan        Wilson Bridge Road



Party City Holdings Inc.   Wrike, Inc.                        M03991    Wrike, Inc ‐ PCHI ‐ Master Services                         ‐               ‐ Eileen Lo     9171 Towne Centre San Diego          CA       92122
                                                                        Agreement and Quote Q‐170222                                                                Dr., Suite 200



Party City Holdings Inc.   Xpedited Services Inc.             M03815    Xpedited Services Inc ‐ PCHI ‐                              ‐               ‐ Michael       630 New Country     Secaucus         NJ       07094
                                                                        Transportation Agreement                                                      Meldrim       Road



Party City Corporation     Y & S Party, Inc.                  M00553    Franchise Agreement with Y & S Party,                       ‐               ‐ Sok Taek O    1256 West           Springfield     MO        65810
                                                                        Inc. dated 01/20/2021                                                                       Lakewood Street



Party City Corporation     Yesmail, Inc.                      M05384    Yesmail Infogroup ‐ PCC ‐ Second                            ‐               ‐ David McRae   421 South West      Portland         OR       97204
                                                                        Amendment Master Service Agreement                                                          Sixth Avenue, Suite
                                                                                                                                                                    400

Party City Holdings Inc.   Yottaa, Inc.                       M04620    Yottaa, Inc ‐ PCHI ‐ General Terms               $34,980.00                 ‐ Richard       333 Wyman Street, Waltham           MA        02451
                                                                        Agreement and Order Form                                                      Stendardo     Suite 200




                                                                                                                  Page 74 of 75
                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 77 of 248
         Debtor Name             Counterparty Name       Contract ID            Title of Agreement              )   Cure Amount       503(b)(9)      Notice Name        Address                  City     State   ZIP Code
Party City Holdings Inc.   Z100 Community Limited         M02465 Z100 Community Limited ‐ PCHI ‐ Event                            ‐               ‐ Sam Pelosi   28 Little Russell      London             UK     WC1A 2HN
                                                                     Ticket Services Agreement with Terms                                                        Street
                                                                     and Conditions

Party City Holdings Inc.   ZEPHYR SOLUTIONS                         ZEPHYR SOLUTIONS Supply Agreement                 $687,186.96                 ‐                1050 LEAR            AVON               OH      44011
                                                                                                                                                                   INDUSTRIAL PKWY



Party City Holdings Inc.   Zephyr Solutions, LLC          M03868    Zephyr Solutions LLC ‐ PCHI ‐ Product                $839.50                  ‐ Scott          1050 Lear Industrial Avon               OH      44011
                                                                    Supply Agreement [Helium]                                                       McCullough     Parkway



Party City Holdings Inc.   Zephyr Solutions, LLC          M04270    Zephyr Solutions LLC ‐ PCHI ‐                                 ‐               ‐ Scott          1050 Lear Industrial Avon               OH      44011
                                                                    Amendment 1 to Product Supply                                                   McCullough     Parkway
                                                                    Agreement [Helium]

Party City Corporation     Zilker Technology, LLC         M05452    Zilker Technology, LLC ‐ PCC ‐ IBM                            ‐               ‐ Mark Clark     200 E. 6th Street,   Austin             TX      78701
                                                                    Software Order 0018496908                                                                      Suite 201



Party City Corporation     Zimmerman Advertising, LLC     M05429    Zimmerman Advertising LLC ‐ PCC ‐                             ‐               ‐ Ronnie         6600 North           Fort Lauderdale    FL      33309
                                                                    Amendment 1 Service Agreement                                                   Haligman       Andrews
                                                                                                                                                                   Ave., Suite 200

Party City Holdco Inc.     Zimmerman Advertising, LLC     M02476    Zimmerman Advertising, LLC ‐ Party City                       ‐               ‐ Ronnie         6600 North           Fort Lauderdale    FL      33309
                                                                    Holdco Inc. ‐ Master Services                                                   Haligman       Andrews
                                                                    Agreement and Statement of Work                                                                Ave., Suite 200

Am‐Source, LLC             ZOLL Medical Corporation       M03157    ZOLL Medical Corporation ‐ Am‐Source ‐                        ‐               ‐ Paul Dias      269 Mill Road        Chelmsford        MA       01824
                                                                    Parking Space Lease Agreement



Party City Holdings Inc.   Zoom Video Communications,     M01381    Zoom Video Communications, Inc. ‐                             ‐               ‐ Eric Yuan      55 Almaden Blvd,     San Jose           CA      95113
                           Inc.                                     PCHI                                                                                           6th Floor
                                                                    ‐ Master Subscription Agreement

Party City Holdings Inc.   Zoom Video Communications,     M01382    Zoom Video Communications, Inc. ‐                             ‐               ‐ Eric Yuan      55 Almaden Blvd,     San Jose           CA      95113
                           Inc.                                     PCHI                                                                                           6th Floor
                                                                    ‐ Order Form Quote Q876703

Party City Holdings Inc.   Zscaler, Inc.                  M05461    Zscaler, Inc ‐ PCHI ‐ Master Subscription                     ‐               ‐ Jugnu Bhatia   110 Rose Orchard     San Jose           CA      95134
                                                                    Agreement                                                                                      Way




                                                                                                                Page 75 of 75
    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 78 of 248




                                        EXHIBIT B-2

                          Schedule of Assumed Unexpired Leases

The Schedule of Assumed Unexpired Leases is organized into the following sub-schedules based
on the status of the negotiations and documentation of agreed renegotiated terms among the
Debtors and the applicable counterparties with respect to the assumption of the applicable
Unexpired Lease. The proposed cure amounts listed in each sub-schedule include taxes, common
area maintenance, and other reconciliations for which the Debtors have received an invoice. All
other reconciliations will be paid in the ordinary course upon receipt of a valid invoice.

   •   Schedule B-2(i): Unexpired Leases to be assumed.

   •   Schedule B-2(ii): Unexpired Leases to be assumed and assigned pursuant to the Order (I)
       Establishing Procedures to Sell Certain Leases and (II) Granting Related Relief [Docket
       No. 678], subject to any applicable Bankruptcy Court approvals.

   •   Schedule B-2(iii): Unexpired Leases for which (a) the Debtors and the applicable
       counterparties have agreed in writing on renegotiated terms of the applicable Unexpired
       Lease and are working to document such renegotiated terms in written amendments to the
       applicable Unexpired Lease and (b) the applicable counterparties have consented to an
       extension of the deadline by which the Debtors must assume or reject such Unexpired
       Lease (the “Agreed Deadline”). The Debtors reserve the right to alter, amend, modify, or
       supplement the Schedule of Assumed Executory Contracts and Unexpired Leases and the
       Schedule of Rejected Executory Contracts and Unexpired Leases, including to add or
       remove any Unexpired Leases on Schedule B-2(iii), at any time up to and including the
       Agreed Deadline. The Debtors reserve the right to modify the Agreed Deadline with the
       written consent of the applicable counterparties.

       Schedule B-2(iv): Unexpired Leases for which the Debtors and the applicable
       counterparties have agreed in writing on renegotiated terms of the applicable Unexpired
       Lease and are working to document such renegotiated terms in written amendments to the
       applicable Unexpired Lease. The Debtors reserve the right to alter, amend, modify, or
       supplement the Schedule of Assumed Executory Contracts and Unexpired Leases and the
       Schedule of Rejected Executory Contracts and Unexpired Leases, including to add or
       remove any Unexpired Leases on Schedule B-2(iv), at any time up to and including the
       deadline for assumption and rejection of Unexpired Leases pursuant to section 365(d)(4)
       of the Bankruptcy Code (or such later date agreed upon by the Debtors and the applicable
       counterparties to the applicable Unexpired Leases).
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 79 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                     Landlord Address
                                                                                                   Store Number /                                       Street                                                           Parent
       Counterparty           Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                   City             State   Zip        Landlord                       Street Address              City         State       Zip
                                                                                                     Property ID                                       Address 2                                                        Company
                                                     Lease Agreement by and between JL
                                                     Glenn Square, LLC and Party City                                                                                                                 FTC Property
FTC Property Management                              Corporation, dated as of February 28,                                         3090 Mountain                                                      Management                      1111 S. Calapoola
LLC                     Party City Corporation       2020                                                   1021           $0.00   View               Suite 120      Anchorage    AK            99501 LLC                             Street                Sutherlin       Oregon             97479

                                                     Lease Agreement by and between Jones                                                                                                             ACS Valley
ACS Valley Bend Shopping                             Farm South, LLC and Party City of                                             2750 Carl T Jones                                                  Bend Shopping 350 Pine
Center AL, LLC              Party City Corporation   Huntsville, LLC dated December 20, 2002                1039       $9,608.71   Dr SE             Suite 1100      Huntsville   AL            35802 Center AL, LLC Street           Suite 800             Beaumont        Texas              77701
                                                     Indenture of Lease by and between                                                                                                                Cummings &
Cummings & White                                     Azalea Center, L.L.C. and Party City of                                                                                                          White
Spunner, Inc.               Party City Corporation   Mobile, L.L.C. dated March 26, 2004                    1036           $0.00   300 Azalea Rd      Suite E        Mobile       AL            36609 Spunner, Inc.                   PO Drawer 16227       Mobile          Alabama       36616‐0227
                                                     Shopping Center Lease Agreement by
                                                     and between RCG‐Montgomery, LLC and                                                                                                              PDQ
                                                     Party City of Mobile, L.L.C. dated June 26,                                                                                                      Montgomery                      312 Catoma St, Suite
PDQ Montgomery LLC          Party City Corporation   2013                                                   1038           $0.00   2759 East Blvd                    Montgomery AL              36117 LLC                             200                  Montgomery       Alabama            36104
                                                                                                                                                                                                      Eastwood
                                                                                                                                                                                                      Village
                                                                                                                                                                                                      Shopping
                                                                                                                                                                                                      Center 1, LLC
Eastwood Village Shopping                                                                                                                                                                             and Eastwood
Center 1, LLC and Eastwood                           Lease by and between Map Eastwood, LL                                                                                                            Village
Village Shopping Center 2,                           and Party City of Eastwood, LLC d/b/a                                         1608 Montclair                                                     Shopping
LLC                        Party City Corporation    Party City dated June 7, 2006                          1034      $22,445.09   Rd                                Birmingham   AL            35210 Center 2, LLC                   5119 Magazine Street New Orleans      Louisiana          70115

                                                     Lease Agreement by and between Tiger                                                                                                                            c/o THF
                                                     Town, Ltd. And PA Acquisition Corp.                                           2534 Enterprise                                                    THF/MRP Tiger Managemen         211 N. Stadium Blvd.,
THF/MRP Tiger Town, LLC     Party City Corporation   d/b/a Party American dated July 19, 2006                 485     $11,369.29   Dr                                Opelika      AL            36801 Town, LLC      t, Inc.          Suite 201             Columbia        Missouri           65203
                                                     Lease by and between Fourth Quarter                                                                                                                             c/o Big V
                                                     Properties XXVII, LLC and Party City of                                       6275 University                                                    BVA Westside Properties         176 North Main
BVA Westside SPE LLC        Party City Corporation   Huntsville, LLC dated January 28, 2003                 1035           $0.00   Dr NW              Suite 31       Huntsville   AL            35806 SPE LLC        LLC              Street, Suite 210     Florida         New York           10921
                                                                                                                                                                                                                     c/o First
                                                     Lease Agreement by and between GS II                                                                                                                            National
                                                     Brook Highland LLC and Party City of                                                                                                                            Property
                                                     Birmingham, LLC dated December 17,                                            5287 Highway                                                       Brook Highland Managemen        151 Bodman Place,
Brook Highland SC LLC       Party City Corporation   2013                                                   1040      $40,732.14   280                               Birmingham   AL            35242 SC LLC         t                Suite 201             Red Bank        New Jersey          7701
                                                     Lease Agreement by and between
                                                     Eastern Shore Centre I, L.L.C. and Party
                                                     City of Mobile, L.L.C. dated March 31,                                        10200 Eastern      Hwy 181 & I‐                                    Eastern Shore                   701 N. Post Oak
Eastern Shore Centre I, LLC Party City Corporation   2008                                                   1041       $9,228.32   Shore Blvd         10           Spanish Fort AL              36527 Centre I, LLC                   Road, Suite 210       Houston         Texas              77024

                                                     Lease Agreement by and between Carlyle‐
                                                     Cypress Tuscaloosa I, LLC and Party City                                      1800 McFarland                                                     Tuscaloosa,                     2700 2nd Avenue
Tuscaloosa, LLC             Party City Corporation   Corporation dated June 23, 2021                        1156      $22,576.22   Blvd E                            Tuscaloosa   AL            35404 LLC                             South, Suite 200      Birmingham      Alabama            35233
                                                     Lease Agrement by and between                                                                                                                                    c/o
                                                     Pinnacle Hills, LLC and Party City                                            2203 S                                                             Pinnacle Hills, Brookfield      350 N. Orleans Street,
Pinnacle Hills, LLC         Party City Corporation   Corporation dated December 3, 2021                     1160           $0.00   Promenade Blvd                    Rogers       AR            72758 LLC             Properties      Suite 300              Chicago        Illinois      60654‐1607
                                                     Lease Agreement by and between Vestar                                                                                                            DSW Mesa        c/o DSW
DSW Mesa Grand/Spectrum                              Arizona XXVI, L.L.C. and Party City of                                        1236 E Baseline                                                    Grand/Spectru Commercial        1795 E Skyline Dr, Ste
LLC                     Party City Corporation       Mesa, Inc. dated July 11, 2000                           950          $0.00   Rd                                Mesa         AZ            85204 m LLC           Real Estate     193                    Tucson         Arizona            85718
                                                                                                                                                                                                      K‐GAM
                                                     Lease by and between K‐Gam Broadway                                                                                                              Broadway        c/o I J Kivel
K‐GAM Broadway Craycroft,                            Craycroft, LLC and Party City of Arizona,                                                                                                        Craycroft,      Holdings,       7379 E Tanque Ve de
L.L.C.                    Party City Corporation     Inc. dated July 16, 2010                                 944     $11,109.00   5566 E Broadway                   Tucson       AZ            85711 L.L.C.          LLC             Road                Tucson            Arizona            85715

                                                     Lease Agrement by and between Vestar                                                                                                             CT020
                                                     CTC Chandler, L.L.C. and Party City of                                        2770 E Germann                                                     Crossroads AZ                   2415 East Camelback
CT020 Crossroads AZ LLC     Party City Corporation   Chandler CTC, Inc. dated July 21, 2006                   953          $0.00   Rd                                Chandler     AZ            85286 LLC           c/o Vestar        Road, Suite 100     Phoenix           Arizona            85016
                                                     Lease Agreement by and between Gilbert                                                                                                                         c/o Focus
                                                     Chandler Heights, LLC and Party City of                                                       Power Road                                                       Real Estate       2158 N. Gilbert Road
BC Pico et al               Party City Corporation   Gilbert, Inc. dated July 21, 2006                        955          $0.00   5364 S Power Rd & Ray Road Gilbert             AZ            85295 BC Pico et al Services          # 113                Mesa             Arizona            85203
                                                     Sublease Agreement by and between
                                                     Vestar Arizona XLVII, L.L.C. and Party City                                                                                                      Vestar Happy
Vestar Happy Valley Phase                            of Phoenix Happy Valley, Inc. dated                                           2501 W Happy                                                       Valley Phase 2,                 2415 East Camelback
2, L.L.C.                   Party City Corporation   March 23, 2007                                           957        $428.90   Valley Rd          40‐1130        Phoenix      AZ            85085 L.L.C.          c/o Vestar      Road, Suite 100     Phoenix           Arizona            85016




                                                                                                                                                      Page 1 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 80 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                Property Address                                                               Landlord Address
                                                                                                      Store Number /                                       Street                                                           Parent
        Counterparty            Debtor Counterparty            Description of Agreement                                Cure Amount    Street Address 1                   City              State   Zip         Landlord                Street Address           City                 State   Zip
                                                                                                        Property ID                                       Address 2                                                        Company
                                                                                                                                                                                                                         c/o Arizona
                                                                                                                                                                                                                         Partners
                                                       Lease by and between Arrowhead Center                                                                                                                             Retail
                                                       01, LLC and Party City of rizona, Inc.                                         8026 West Bell                                                      Randolph Plaza Investment 8300 North Hayden
Randolph Plaza LLC            Party City Corporation   dated March 24, 2010                                      941        $463.46   Road                              Glendale      AZ            85308 LLC            Group, LLC Road, Suite A200      Scottsdale          Arizona         85258
                                                       Lease by and between BVT Capital
                                                       Partners II, L.P. and Party City of
                                                       Scottsdale, Inc. dba Party City, The                                                                                                                               c/o Yam
                                                       Discount Party Superstore dated April 7,                                       15745 N. Hayden                                                     Sonora Village, Properties,    15750 N. Northsight
Sonora Village, LLC           Party City Corporation   1998                                                      948          $0.00   Road                              Scottsdale    AZ            85260 LLC             LLC            Blvd.                 Scottsdale     Arizona         85260
                                                       Lease Agreement by and between
                                                       SimonCRE UTE III, LLC and Party City                                           Prasada West ‐     Prasada                                          SimonCRE UTE
SimonCRE UTE III, LLC         Party City Corporation   Corporation dated June 29, 2022                         1199           $0.00   Phase II           Parkway        Surprise      AZ            85379 III, LLC                       6900 East 2nd Street Scottsdale      Arizona         85251
                                                       Lease between The Westcor Company
                                                       Limited Partnership and Party Ciy of
                                                       Paradise Valley, Inc. dated November 30,                                                                                                           FTT Village       C/O Carbas
FTT Village Square I, LLC     Party City Corporation   1998                                                      949     $14,361.45   4533 E Cactus Rd                  Phoenix       AZ            85032 Square I, LLC     Properties 3573 E. Sunrise Drive Tuscon           AZ              85718

                                                       Lease by and between The Price R.E.I.T.,                                                                                                                        c/o Kimco
                                                       Inc. and Party City of Phoenix Metro, Inc.                                     2738 W Peoria                                                       Metro Square Realty
Metro Square 553, LLC         Party City Corporation   dba Party City dated June 16, 1995                        943      $8,763.97   Ave                               Phoenix       AZ            85029 553, LLC     Corporation 2429 Park Avenue            Tustin         California      92782

                                                       Tenant Lease by and between John F.
                                                       Long Properties LLLP and Party City of                                         7515 W Encanto                                                      Desert Sky
Desert Sky Esplanade, LLC     Party City Corporation   Phoenix West, Inc. dated March 11, 2002                   951          $0.00   Blvd                           10 Phoenix       AZ            85035 Esplanade, LLC                 1234 E. 17th Street   Santa Ana      California      92701
                                                       Shopping Center Lease by and between
                                                       DE RITO/Kimco Riverview, LLC and Party                                                                                                                            c/o Kimco 500 North Broadway,
                                                       City Mesa Riverview, Inc. dated                                                                                                                    KIMCO          Realty      Suite 201, PO Box
KIMCO Riverview, LLC          Party City Corporation   September 14, 2006                                        954     $12,127.51   821 N Dobson Rd                   Mesa          AZ            85201 Riverview, LLC Corporation 9010              Jericho                New York        11753

                                                       Lease Agreement by and between The
                                                       Market at Estrella Falls, LLC and Party City                                   1805 N. Pebble                                                      Estrella Falls,   c/o Stark   629 Euclid Avenue,
Estrella Falls, LLC           Party City Corporation   Corporation dated January 26, 2018                        947          $0.00   Creek Pkwy.                       Goodyear      AZ            85338 LLC               Enterprises Suite 1300             Cleveland      Ohio            44114
                                                       Lease Agreement between Barclay
                                                       Creswin Tucson Spectrum, L.P. and Party                                                                                                            DDR Tucson
                                                       City of Tucson South, Inc. dated April 4,                                      5367 S Calle                                                        Spectrum II                    3300 Enterprise
DDR Tucson Spectrum II LLC Party City Corporation      2008                                                      945     $23,963.66   Santa Cruz                        Tucson        AZ            85706 LLC                            Parkway               Beachwood      Ohio            44122
                                                       Lease Agreement by and between DDRA
                                                       Ahwatukee Foothills LLC and Party City of                                                                                                          DDRA
DDRA Ahwatukee Foothills                               Phoenix‐Ahwatukee, Inc. dated July 29,                                                                                                             Ahwatukee         c/o DDR      3300 Enterprise
LLC                      Party City Corporation        2013                                                      952     $13,945.30   4715 E. Ray Road                  Phoenix       AZ            85044 Foothills LLC     Corp.        Parkway               Beachwood      Ohio            44122
                                                       Agreement of Lease between Tully                                                                                                                   Pivotal 650
Pivotal 650 California St.,                            Corners Associates, L.P. and Party City                                                                                                            California St.,                2201 E. Camelback
LLC                           Party City Corporation   Corporation dated October 9, 1997                         614          $0.00   1986 Tully Rd                     San Jose      CA            95122 LLC               c/o Vestar   Rd.                   Phoenix        Arizona         85016
                                                       Lease Agreement by and between                                                                                                                     Tristar
                                                       Haun/Newport, LLC and Party City                                                                                                                   International            14730 Don Julian
Tristar International LLC     Party City Corporation   Corporation dated September 3, 2014                       883          $0.00   30115 Haun Road                   Menifee       CA            92584 LLC                      Road              City of Industry California              91746
                                                                                                                                                                                                                      c/o
                                                                                                                                                                                                                      American
                                                       Lease Agreement by and between                                                                                                                     AAT GATEWAY Assets Trust 3420 Carmel
AAT GATEWAY                                            Brixton‐Alto Highland LLC and Party City                                       40 North 4th                                                        MARKETPLACE Managemen Mountain Road, Suite
MARKETPLACE LLC               Party City Corporation   Corporation dated November 9, 2015                        521          $0.00   Avenue             Suite 120      Chula Vista   CA            91910 LLC         t, LLC       100               San Diego        California              92121
                                                       Lease by and between BPP/Valley
                                                       Central, L.P. and PA Acquisition Corp. dba
                                                       Party City aka Party America dated                                             44600 Valley                                                        B33 Valley      c/o Bridge33 601 Union Street,
B33 Valley Central II, LLC    Party City Corporation   December 29, 2000                                       1401           $0.00   Central Way        Suite 103      Lancaster     CA            93536 Central II, LLC Capital      Suite 1115              Seattle        WA              98101

                                                                                                                                                                                                                         c/o
                                                       Lease Agreement by and between                                                                                                                                    Browman
                                                       Morgan Hill Retail Venture LP and Party                                                                                                            Morgan Hill    Developmen
Morgan Hill Retail Venture                             City Corporation dated September 9,                                            1007 Cochrane                                                       Retail Venture t Company,
L.P.                          Party City Corporation   2013                                                      867     $19,815.02   Road                              Morgan Hill   CA            95037 L.P.           Inc.       1556 Parkside Drive        Walnut Creek   California      94596




                                                                                                                                                         Page 2 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 81 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                          Property Address                                                                       Landlord Address
                                                                                                 Store Number /                                      Street                                                              Parent
       Counterparty           Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                  City               State   Zip         Landlord                        Street Address            City           State       Zip
                                                                                                   Property ID                                      Address 2                                                           Company
                                                                                                                                                                                                     Orange Town
                                                                                                                                                                                                     & Country SPE,   c/o
Orange Town & Country                                Lease Agreement by and between EPIPD ‐                                                                                                          LLC and          Burnham
SPE, LLC and Schiffman                               Town & Country, L.P. and Party City                                                                                                             Schiffman        USA              1100 Newport Center
Place, LLC                  Party City Corporation   Corporation dated July 9, 1998                         679     $16,327.93   763 S Main St                     Orange        CA            92868 Place, LLC       Equities, Inc.   Drive, Suite 200    Newport Beach California             92660
                                                     Lease Agreement by and between AIG                                                                                                                               c/o Colliers
                                                     Baker Brentwood, L.L.C. and Party City                                      2470 Sand Creek                                                     Sand Creek       Internationa     1850 Mt. Diablo,
Sand Creek Crossing LLC     Party City Corporation   Corporation dated March 1, 2002                        444          $0.00   Rd                                Brentwood     CA            94513 Crossing LLC     l                Suite 200             Walnut Creek     California        94596
                                                                                                                                                                                                     Laguna
                                                     Lease by and between Laguna Pavilion,                                                                                                           Pavilion SC,
Laguna Pavilion SC, LLC &                            LLC and Party America, Inc. dated May                                                                                                           LLC & John       c/o Cordano
John Kontoudakis            Party City Corporation   16, 2000                                             1304       $1,858.00   7440 Laguna Blvd           104 Elk Grove        CA            95758 Kontoudakis      Company     1112 11th Street           Sacramento       California        95814

                                                     Shopping Center Lease by and between                                                                                                                             c/o
                                                     South River and Citrus Properties, LLC                                                                                                          CPF              Cornerstone
                                                     and PA Acquisition Corp. dated                                              27029 McBean                                                        Promenade,       Real Estate 100 Wilshire Blvd,
CPF Promenade, LLC          Party City Corporation   September 10, 2001                                   1517      $16,865.40   Pkwy                              Santa Clarita CA            91355 LLC              Advisers    Suite 700                  Santa Monica     California        90401
                                                     Retail Lease by and between S & V Van
                                                     Nuys Associates, LLC and Party City                                         7882 Van Nuys                                                       NF Plant        c/o Decron 6222 Wilshire Blvd.,
NF Plant Enterprises, LP    Party City Corporation   Corporation dated October 1, 1997                      639          $0.00   Blvd                              Van Nuys      CA            91402 Enterprises, LP Properties Suite 400                    Los Angeles      California        90048

                                                     Retail Lease by and between Irvine Retail                                                                                                                    c/o
                                                     Properties Company and Party City                                           2826 El Camino                                                      The Irvine   Donahue
The Irvine Company, LLC     Party City Corporation   Corporation dated January 21, 1997                     548          $0.00   Real                              Tustin        CA            92782 Company, LLC Schriber             2777 El Camino Real Tustin             California        92680

                                                     Lease Agreement by and between                                                                                                                  Downey           c/o Eclipse
                                                     Downey Landing, LLC and PA Acquisition                                      12076 Lakewood                                                      Landing SPE,     Developmen 17802 Skypark Circle
Downey Landing SPE, LLC     Party City Corporation   Corp. dated October 28, 2005                         1521      $16,923.62   Blvd                              Downey        CA            90242 LLC              t Group     #200                Irvine                  California        92618
                                                                                                                                                                                                                      C/O
                                                                                                                                                                                                                      ENGSTROM
                                                     Lease Agreement by and between W.C.                                                                                                                              PROPERTIES
                                                     Investors, LLC and Party City Corporation                                   1386 E. Main                                                        El Tigre         INC                             West
El Tigre Holding Corp       Party City Corporation   dated January 20, 2012                                 809      $5,483.87   Street                            Woodland      CA            95776 Holding Corp     TRUSTEE     837 JEFFERSON BLVD Sacramento               California        95691
                                                                                                                                                                                                     Asset
                                                     Lease Agreement by and between Asset                                                                                                            Acquisitions,    c/o Festival
                                                     Acquisitions, L.L.C. and Horowitz                                                                                                               L.L.C. and       Managemen
Asset Acquisitions, L.L.C.                           Holdings, L.L.C. and Party City                                             2935 Los Feliz                                                      Horowitz         t            9841 Airport
and Horowitz Holdings, LLC Party City Corporation    Corporation dated June 13, 2002                        439          $0.00   Blvd                              Los Angeles   CA            90039 Holdings, LLC    Corporation Boulevard, Suite 700 Los Angeles            California        90045
                                                     Lease Agreement by and between
                                                     Washington Square Associates, LLC and                                                                                                                             c/o Fulcrum
                                                     Party City Corporation dated May 23,                                        373 S. McDowell                                                       CCF PCG         Property
CCF PCG Petaluma LLC        Party City Corporation   2018                                                 1166           $0.00   Blvd.                             Petaluma      CA            94954   Petaluma LLC Group          1530 J Street, #200       Sacramento       California        95814
                                                     Lease Agreement by and between                                                                                                                                    c/o Fulcrum
                                                     Investment Bankers, Ltd. and Party City                                                                                                           F&M             Property    1530 J Street, Suite
F&M PARTNERSHIP             Party City Corporation   Corporation dated July 1, 2002                       449R           $0.00   1703 Arden Way                    Sacramento    CA            95815   PARTNERSHIP Group           200                       Sacramento       California        95814
                                                                                                                                                                                                       NTO RLR, LLC;
                                                                                                                                                                                                       NTO KPS, LLC
NTO RLR, LLC; NTO KPS, LLC                           Lease Agreement by and between                                                                                                                    and Investec c/o Investec
and Investec Capital                                 Newbury Thousand Oaks, LLC and Party                                                                          Thousand                            Capital         Real Estate 200 E. Carrillo Street,
Corporation                Party City Corporation    City Corporation dated March 1, 2002                   446          $0.00   2715 Teller Rd                    Oaks          CA            91320   Corporation     Company     Suite 200                 Santa Barbara    California        93101
                                                                                                                                                                                                       Torrance        c/o La Caze
                                                     Shopping Center Lease by and between                                                                                                              Towne Center Developmen
Torrance Towne Center                                Airport Plaza Associates II and Party                                       25361 Crenshaw                                                        Associates,     t Company 2601 Airport Drive,
Associates, LLC,            Party City Corporation   World, Inc. dated April 24, 1987                     1506           $0.00   Blvd                              Torrance      CA            90505   LLC,            LLC         Suite 300                 Torrance         California        90505
                                                     Lease Agreement by and between                                                                                                                                    c/o Lewis
                                                     Eastvale Gateway II, LLC and Party City                                     12339 Limonite                                                        Eastvale        Operating 1156 North Mountain
Eastvale Gateway II, LLC    Party City Corporation   Corporation dated July 25, 2006                        486          $0.00   Ave                               Eastvale      CA            91752   Gateway II, LLC Corp.       Avenue                    Upland           California   91786‐3633
                                                     Shopping Center Lease by and between
                                                     Redlands Joint Venture, LLC and PA                                                                                                                             c/o Majestic 13191 Crossroads
                                                     Acquisition Corp. dated February 20,                                        27588 W Lugonia                                                     Redlands Joint Realty       Parkway North, 6th
Redlands Joint Venture LLC Party City Corporation    2004                                                 1510       $5,838.90   Ave                               Redlands      CA            92374 Venture LLC    Company      Floor                       City of Industry California   91796‐3497




                                                                                                                                                    Page 3 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 82 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                     Landlord Address
                                                                                                 Store Number /                                        Street                                                                Parent
       Counterparty           Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City                State   Zip        Landlord                     Street Address           City              State   Zip
                                                                                                   Property ID                                        Address 2                                                             Company
                                                                                                                                                                                                                          c/o
                                                     Lease Agreement by and between La                                                                                                                                    Primestor
                                                     Alameda, LLC and Party City Corporation                                     7600 S Alameda                     Huntington                          La Alameda,       Developmen 201 South Figueroa
La Alameda, LLC             Party City Corporation   dated March 31, 2016                                   965     $41,952.94   St                                 Park            CA            90255 LLC               t          Street, Suite 300      Los Angeles        California    90012
                                                     Lease Agreement by and between Indio
                                                     Jackson, LLC d/b/a Jackson 42, LLC and                                                                                                                            c/o Regency
                                                     Party City Corporation dated May 20,                                        42800 Jackson                                                          Indio Jackson, Centers            265 Santa Helena,
Indio Jackson, LLC          Party City Corporation   2011                                                   760          $0.00   Ave                                Indio           CA            92203 LLC            Corporation        Suite 211            Solana Beach    California    92075
                                                     Lease by and between Concord                                                                                                                       Concord        c/o
Concord Investment                                   Investment Company and Party America,                                       545 Contra Costa                                                       Investment     Reynolds &         1200 Concord
Company                     Party City Corporation   Inc. dated July 21, 1993                             1203           $0.00   Blvd                               Pleasant Hill   CA            94523 Company        Brown              Avenue, Suite 200    Concord         California    94520
                                                     Shopping Center Lease between Santa
                                                     Rosa Southside and Party America, Inc.                                      2675 Santa Rosa                                                        Santa Rosa                        2663 Santa Rosa
Santa Rosa Southside, LLC   Party City Corporation   dated July 15, 1994                                  1101         $968.56   Ave                                Santa Rosa      CA            95407 Southside, LLC c/o ROIC           Avenue               Santa Rosa      California    95407

                                                     Lease Agreement by and between                                                                                                                     Shapell SoCal c/o Shapell
Shapell SoCal Rental                                 Shapell Industries, Inc. and PCLN, Inc.                                                                                                            Rental          Properties, 8383 Wilshire
Properties, LLC             Party City Corporation   dated August 29, 2001                                  751     $18,608.41   27110 Alicia Pkwy                  Laguna Niguel CA              92677 Properties, LLC Inc.        Boulevard, Suite 700 Beverly Hills         California    90211
                                                     Shopping Center Lease by and between                                                                                                                               c/o
                                                     Tri‐Equities Investment Pool I Limited                                                                                                             Facchino/LaBa Terracomm
Facchino/LaBarera Blossom                            Partnership and Food 4 Less Modesto,                                        863 Blossom Hill                                                       rera Blossom ercial Real
Hill LLC                  Party City Corporation     Inc. dated August 29, 1991                             638          $0.00   Rd                                 San Jose        CA            95123 Hill LLC        Corporation 873 Blossom Hill Road San Jose             California    95123
                                                     Shopping Center Lease by and between
                                                     RB Village/Orange II, LLC, RB                                                                                                                                        c/o
                                                     Village/Orange III, LLC and RB Orange                                                                                                              THE VILLAGE       Terramar
THE VILLAGE AT ORANGE                                Partners LLC and PA Acquisition Corp.                                       1500 E Village                                                         AT ORANGE         Retail          4695 MacArthur
LLC                         Party City Corporation   dated March 31, 2005                                 1520      $17,336.55   Way                 Suite 2364     Orange          CA            92865 LLC               Centers, Inc.   Court, Suite 700     Newport Beach California      92660
                                                                                                                                                                                                                          c/o Tri
                                                     Lease Agreement by and between                                                                                                                     Broadstone        Property
Broadstone Marketplace                               Broadstone Marketplace LLC and PA                                                                                                                  Marketplace       Managemen       2205 Plaza Drive,
LLC                         Party City Corporation   Acquisition Corp. dated January 10, 2002             1305         $126.28   2780 E Bidwell St           100 Folsom             CA            95630 LLC               t Services      Suite 100            Rocklin         California    95765
                                                                                                                                                                                                        CREA/PPC
                                                     Sublease Agreement by and between                                                                                                                  Long Beach
CREA/PPC Long Beach                                  Vestar Development Co. and Party City                                                                                                              Towne Center c/o Barings          2321 Rosecrans
Towne Center PO, L.L.C.     Party City Corporation   Corporation dated July 31, 1997                        605     $31,827.27   7571 Carson Blvd                   Long Beach      CA            90808 PO, L.L.C.   LLC                  Avenue, Suite 4225   El Segundo      California    90245

                                                     Standard Industrial Lease‐Gross by and
                                                     between Hansen Management and Party                                         1289 Veterans                                                          WPI/Village       c/o WP
WPI/Village Partners        Party City Corporation   America, Inc. dated April 25, 1995                   1211      $31,750.32   Blvd                               Redwood City CA               94063 Partners          Investments 2101 Woodside Road Woodside              California    94062
                                                                                                                                                                                                        Encinitas Town    c/o Zelman
                                                     Lease by and between Encinitas Town                                                                                                                Center            Retail
Encinitas Town Center                                Center Associates, LLC and Party City                                       1016 N El Camino                                                       Associates I,     Partners,   2400 E. Katella Ave.,
Associates I, LLC           Party City Corporation   Corporation dated April 15, 1996                       526     $24,069.17   Real                               Encinitas       CA            92024 LLC               Inc.        Suite 760             Anaheim,           California    92806
                                                     Lease Agreement by and between                                                                                                                     Paramount
                                                     Turlock Investment Holdings, LLC and                                                                                                               International
Paramount International                              Party City Corporation dated February 25,                                                                                                          Investment,                       1398 W. Herndon
Investment, LLC             Party City Corporation   2008                                                   414     $13,900.61   3015 N Tegner Rd                   Turlock         CA            95380 LLC                               Avenue, Ste 105      Fresno          California    93711
                                                     Lease Agreement by and between
                                                     Fallbrook Square Partners and Party City                                    6559 Fallbrook                                                         ROIC                              11250 El Camino
ROIC California, LLC        Party City Corporation   Corporation dated October 2001                         442     $24,971.30   Ave                                West Hills      CA            91307 California, LLC                   Real, Suite 200      San Diego       California    92130

                                                     Lease Agreement by and between                                                                                                                     Harden Ranch
Harden Ranch Plaza                                   Harden Ranch Associates and Party City                                                                                                             Plaza                             1490 North Main
Associates, LLC             Party City Corporation   Corporation dated May 28, 2002                         470          $0.00   1684 N Main St                     Salinas         CA            93906 Associates, LLC                   Street               Salinas         California    93906
                                                                                                                                                                                                                        c/o
                                                                                                                                                                                                                        Crosspoint
                                                     Lease Agreement by and between                                                                                                                                     Realty
                                                     Fairfield Gateway, L.P. and Party City                                      1574 Gateway                                                           Courtyard E     Services,         20211 Patio Drive,
Courtyard E Associates, LLC Party City Corporation   Corporation dated October 9, 2007                      498          $0.00   Blvd                               Fairfield       CA            94533 Associates, LLC Inc.              Suite 145            Castro Valley   California    94546
                                                     Shopping Center Lease by and between
                                                     Harvey Capital Corp. and Party City Corp.                                   2480 S Sepulveda                                                       Harvey Capital                    11835 W. Olympic
Harvey Capital Corp.        Party City Corporation   dated July 5, 1995                                     514          $0.00   Blvd                               Los Angeles     CA            90064 Corp.                             Blvd, Suite 300      Los Angeles     California    90064




                                                                                                                                                     Page 4 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 83 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                Property Address                                                                   Landlord Address
                                                                                                  Store Number /                                           Street                                                             Parent
       Counterparty            Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                       City            State   Zip         Landlord                       Street Address            City           State   Zip
                                                                                                    Property ID                                           Address 2                                                          Company

                                                      Standard Shopping Center Lease by and                                                                                                             Sierra Center
Sierra Center Investments,                            between SDC Partners, Ltd. and Party City                                   3060 Baldwin                                                          Investments,
LLC                          Party City Corporation   Corporation dated August 21, 1996                      541          $0.00   Park Blvd           Suite C‐100 Baldwin Park CA                 91706 LLC                             P.O. Box 570485        Tarzana          California    91357
                                                      Lease by and between Alhambra                                               2500 W                                                                CFT NV
                                                      Redevelopment Agency and Party City                                         Commonwealth                                                          Developments,                   1683 Walnut Grove
CFT NV Developments, LLC Party City Corporation       Corporation dated July 8, 1996                         544    $116,993.29   Ave                 B              Alhambra      CA             91803 LLC                             Avenue                 Rosemead         California    91770
                                                      Commercial Lease by and between Brea                                                                                                                                  c/o J.G.
                                                      Union Partners and Party City                                               2485 E Imperial                                                       Brea Union          Managemen 5743 Corsa Avenue,       Westlake
Brea Union Plaza I, LLC      Party City Corporation   Corporation dated October 31, 1997                     566          $0.00   Hwy                                Brea          CA             92821 Plaza I, LLC        t Co.,, Inc. Suite 200             Village          California    91362
                                                      Shopping Center Lease Agreement by
                                                      and between Daly City Serramonte
                                                      Center LLC and Party City Corporation                                       151B Serramonte Second                                                Regency                         260 California St., 4th
Regency Centers, L.P.        Party City Corporation   dated March 31, 2016                                   571        $243.30   Center          Floor              Daly City     CA             94015 Centers, L.P.                   Floor                   San Francisco   California    94111
                                                      Shopping Center Lease between Hastings                                                                                                            Hastings
                                                      Village Investment Company, L.P. and                                                                                                              Village              c/o The
Hastings Village Investment                           Party City Corporation dated April 8,                                       3353 E Foothill                                                       Investment          Arba Group, 6300 Wilshire Blvd,
Company L.P.                Party City Corporation    1997                                                   573          $0.00   Blvd                               Pasadena      CA             91107 Company L.P.        Inc.        Suite 1800             Los Angeles      California    90048

                                                      Lease Agreement by and between Tung                                                                                                               Tung Nguyen
Tung Nguyen and Lien Thi                              Nguyen and Lien Thi Duong and Party                                         2401 McHenry                                                          and Lien Thi
Duong                        Party City Corporation   City Corporation dated August 16, 2013                 624          $0.00   Ave                                Modesto       CA             95350 Duong                           P.O Box 3779           Modesto          California    95352
                                                      Lease Agreement by and between Grand
                                                      Plaza, LLC and Party City Corporation                                       157 South Las                                                         Grand Plaza,
Grand Plaza, LLC             Party City Corporation   dated August 26, 2010                                  661          $0.00   Posas Road                         San Marcos    CA             92078 LLC                             5190 Campus Drive      Newport Beach California       92660
                                                      Standard Lease between Huntington
                                                      Executive Park and PCHB, Inc. d/b/a Party
                                                      City Huntington Beach dated March 28,                                                                          Huntington                         Huntington                      16168 Beach          Huntington
Huntington Executive Park    Party City Corporation   1996                                                   749          $0.00   16100 Beach Blvd                   Beach         CA             92647 Executive Park                  Boulevard, Suite 200 Beach              California    92647
                                                      Lease Agreement by and between Byer
                                                      Properties, L.P. and Party City                                             20740 Stevens                                                         Byer
Byer Properties, L.P.        Party City Corporation   Corporation dated November 8, 2011                     810     $14,883.77   Creek Blvd.                        Cupertino     CA             95014 Properties, L.P.                66 Potrero Avenue      San Francisco    California    94103
                                                      Lease Agreement by and between Gray                                                                                                               Gray
                                                      Enterprises, L.P. and Party City                                                                                                                  Enterprises,                    2200 Harbor Blvd.,
Gray Enterprises, L.P.       Party City Corporation   Corporation dated July 30, 2013                        874          $0.00   2200 Harbor Blvd Suite P‐110 Costa Mesa          CA             92627 L.P.                            Suite B‐170            Costa Mesa       California    92627
                                                      Lease Agreement by and between HMVP
                                                      Hilltop Inc. and Party City Corporation                                                                                                           Hilltop Town                    319 South Robertson
Hilltop Town Center, LLC     Party City Corporation   dated September 23, 2013                               876      $7,660.54   1613 Hilltop Drive Suites E‐K      Redding       CA             96002 Center, LLC                     Blvd.               Beverly Hills       California    90211

                                                      Lease Agreement by and between Peter                                                                                                              Peter P.
                                                      P. Bollinger 2003 LLC and Party City                                                                                                              Bollinger 2003,
Peter P. Bollinger 2003, LLC Party City Corporation   Corporation dated February 4, 2014                     882          $0.00   6302 Sunrise Blvd                  Citrus Heights CA            95610 LLC                             540 Fulton Avenue      Sacramento       California    95825
                                                      Lease Agreement by and between
                                                      Centennial Capital , LP and Party City                                      1842 W Lacey                                                          Centennial                      1850 S. Sepulveda
Centennial Capital, LP       Party City Corporation   Corporation dated June 28, 2016                        968          $0.00   Ave                                Hanford       CA             93230 Capital, LP                     Blvd.                  Los Angeles      California    90025
                                                      Lease Agreement by and between
                                                      Raintree Realty LLC and Party City                                          1100 Jefferson                                                        Raintree Realty                 100 Shoreline Hwy,
Raintree Realty LLC          Party City Corporation   Corporation dated May 5, 2016                          976      $1,722.10   Blvd                               Culver City   CA             90230 LLC                             Bldg B, #395           Mill Valley      California    94941
                                                      Lease Agreement by and between Toys
                                                      Center, LLC and Party City Corporation                                      580 Francisco                                                         Toys Center                     855 Lakeville Street
Toys Center LLC              Party City Corporation   dated October 12, 2021                               1167           $0.00   Blvd W                             San Rafael    CA             94901 LLC                             Suite 200              Petaluma         California    94952
                                                      Store Lease by and between 4XS Corp.
                                                      and Party World, Inc. dated February 26,                                    2011 N
4XS Project Co.              Party City Corporation   1988                                                 1504       $7,459.63   Hollywood Way                      Burbank       CA             91505 4XS Project Co.                 415 E. High Street     Moorpark         California    93021
                                                      Shopping Center Lease by and between
                                                      Castle & Cooke Corona Crossings I, Inc.                                                                                                           Castle & Cooke
Castle & Cooke Corona                                 and PA Acquisition Corp. dated February                                                                                                           Corona                          10000 Stockdale
Crossings I, Inc.            Party City Corporation   9, 2005                                              1508      $10,977.77   2415 Tuscany St     Suite 101      Corona        CA             92881 Crossings I, Inc.               Highway, Suite 300     Bakersfield      California    93311
                                                      Shopping Center Lease between The SGR
                                                      Development Corporation and PA
                                                      Acquisition Corporation dated August 11,                                                                                                          ETS Properties
ETS Properties LLC           Party City Corporation   1999                                                 1515       $2,615.00   415 Cochran St      Suite 100      Simi Valley   CA             93065 LLC                             2593 Newbern Court Thousand Oaks California           91361




                                                                                                                                                      Page 5 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 84 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                        Landlord Address
                                                                                                    Store Number /                                        Street                                                                Parent
       Counterparty           Debtor Counterparty            Description of Agreement                                Cure Amount    Street Address 1                    City              State       Zip         Landlord                      Street Address             City          State   Zip
                                                                                                      Property ID                                        Address 2                                                             Company
                                                      Lease Agreement by and between REA
                                                      Victorville, LLC and PA Acquisition Corp.                                     12410 Amargosa                                                            Brittan                        24151 Ventura Blvd
Brittan Parkway LLC         Party City Corporation    dated March 24, 2006                                   1519           $0.00   Rd             Suite B             Victorville   CA                 92392 Parkway LLC                    Ste 350              LOS ANGELES     Calabasas       91302
                                                                                                                                                                                                                            c/o Pine
                                                      Lease Agreement by and between                                                                                                                          GREF GG       Tree
                                                      Eastland Shopping Center LLC and Party                                        2620 E Workman                                                            Eastland      Commercial       13450 Maxella
GREF GG Eastland Center LP Party City Corporation     City Corporation dated May 14, 1998                      560     $15,516.86   Ave            Space 2             West Covina CA                   91791 Center LP     Realty LLC       Avenue, Suite 240    Marina Del Rey California       90292
                                                                                                                                                                                                                            c/o
                                                                                                                                                                                                                            Combined
                                                      Lease Agreement by and between                                                                                                                          Reseda        Properties,      7315 Wisconsin
Reseda Shopping Center II                             Reseda Shopping Center II LLC and Party                                       19389 Victory                                                             Shopping      Incorporate      Avenue Suite 1000
LLC                         Party City Corporation    City Corporation dated May 4, 2011                       752     $16,725.23   Blvd                               Reseda        CA                 91335 Center II LLC d                West                 Bethesda        Maryland        20814
                                                      Shopping Center Lease by Cypress Creek                                                                                                                                c/o Sunbelt
                                                      Co., L.P. d/b/a PTC and Party City                                                                                                                      Cypress Creek Investment
Cypress Creek Co., L.P.     Party City Corporation    Corporation dated August 24, 1994                        507     $11,053.61   624 Palomar St                     Chula Vista   CA                 91911 Co., L.P.     Holding Inc.     8095 Othello Avenue San Diego        California      92111
                                                                                                                                                                                                                            c/o Federal
                                                      Lease Agreement by and between FR                                                                                                                                     Realty
                                                      Westgate Mall, LLC and Party City                                             1600 Saratoga                                                             FR Westgate Investment         909 Rose Avenue,
FR Westgate Mall, LLC       Party City Corporation    Corporation dated April 3, 2014                          546     $19,512.27   Ave                 Suite 303      San Jose      CA                 95129 Mall, LLC     Trust            Suite 200            North Bethesda Maryland         20852

                                                      Lease Agreement by and between                                                                                                                          Brixmor       c/o Brixmor
Brixmor Property Owner II,                            Brixmor Proeprty Owner II, LLC and Party                                      13360 E.                           Santa Fe                               Property      Property         450 Lexington
LLC                        Party City Corporation     City Corporation dated October 28, 2015                  634     $19,337.59   Telegraph Road                     Springs       CA                 90670 Owner II, LLC Group            Avenue, 13th Floor   New York        New York        10017
                                                      Lease Agreement by and between                                                                                                                                        c/o Brixmor
                                                      Brixmor Metro 580 SC, L.P. and Party City                                     4575 Rosewood                                                             Brixmor Metro Property         450 Lexington
Brixmor Metro 580 SC, L.P. Party City Corporation     Corporation dated March 25, 2015                         644         $94.96   Drive                              Pleasanton    CA                 94588 580 SC, L.P.  Group            Avenue, 13th Floor   New York        New York        10017
                                                      Restate Lease Agreement by and
                                                      between Brixmor Property Owner II, LLC                                                                                                                  Brixmor         c/o Brixmor
                                                      and Party City Corporation dated March                                                                                                                  Property        Property    450 Lexington
Brixmor Property Group      Party City Corporation    12, 2015                                               1204      $28,366.85   141 Plaza Dr        Suite B        Vallejo       CA                 94591 Group           Group       Avenue, 13th Floor      New York        New York        10017
                                                      Shopping Center Lease by and between                                                                                                                    CLPF
                                                      Prism‐IQ Partners, LLC and S.J. Craig                                                                                                                   GATEWAY
CLPF GATEWAY TOWNE                                    Corporation dba Party City dated                                              208 Towne                                                                 TOWNE                          601 S. Figueroa
CENTER LP                   Party City Corporation    December 17, 2008                                        622          $0.00   Center Drive                       Compton       CA                 90220 CENTER LP                      Street, Suite 3600   Los Angeles     California      90017
                                                      Lease by and between California State
                                                      Teachers' Retirement System and Party                                                                                                                                   c/o Kimco      500 North Broadway,
                                                      City Corporation dated November 6,                                                                                                                      PK II Anaheim Realty           Suite 201, PO Box
PK II Anaheim Plaza LP      Party City Corporation    1995                                                     506     $16,295.15   418 N Euclid St                    Anaheim       CA                 92801 Plaza LP        Corporation    9010                Jericho          New York        11753
                                                      Lease Agreement by and between                                                                                                                                          c/o Kimco      500 North Broadway
                                                      Fremont Retail Partners, LP and Party City                                    39210 Fremont                                                             Fremont Retail Realty          Suite 201, P.O. Box
Fremont Retail Partners, LP Party City Corporation    Corporation dated March 31, 2016                       1219      $27,730.98   HUB                 Suite 211      Fremont       CA                 94538 Partners, LP    Corporation    9010                Jericho          New York        11753
                                                      Lease Agreement by and between PL                                                                                                                                       c/o Kimco      500 North Broadway
                                                      Roseville LP and Party City Corporation                                       6748 Stanford                                                                             Realty         Suite 201, P.O. Box
PL Roseville LP             Party City Corporation    dated January 22, 2016                                 1301           $0.00   Ranch Rd                           Roseville     CA                 95678 PL Roseville LP Corporation    9010                Jerhico          New York        11753

                                                      Lease Agreement by and between CT                                                                                                                       CT Retail       c/o Kimco      500 North Broadway
CT Retail Properties Finance                          Retail Properties Finance II, LLC and Party                                   338 South                                                                 Properties      Realty         Suite 201, P.O. Box
II, LLC                      Party City Corporation   City Corporation dated February 12, 2014               1509      $12,253.91   Mountain Ave.                      Upland        CA                 91786 Finance II, LLC Corporation    9010                Jericho          New York        11753
                                                                                                                                                                                                                              c/o
                                                      Lease Agreement by and between                                                                                                                                          Schottenstei
                                                      Madonna Plaza SRT LP and Party City                                           271‐A Madonna                      San Luis                               Madonna Plaza n Property
Madonna Plaza SRT LP        Party City Corporation    Corporation dated October 24, 2021                     1163           $0.00   Road                               Obispo        CA           93405       SRT LP          Group          4300 East 5th Avenue Columbus        Ohio            43218
                                                      Retail Lease by and between BPP/Hilltop,
                                                      L.P. and Party City Corporation dated                                                                                                                   DDRM Hilltop c/o Site          3300 Enterprise
DDRM Hilltop Plaza L.P.     Party City Corporation    December 23, 1997                                        626          $0.00   3500A Klose Way                    Richmond      CA                 94806 Plaza L.P.     Centers         Parkway              Beachwood       Ohio            44122
                                                      Lease Agreement by and between Bristol                                                                                                                                 c/o Sarofim
                                                      Center Holding LP and Party City                                                                                                                        Bristol Center Realty          8115 Preston Rd.,
Bristol Center Holding LP   Party City Corporation    Corporation dated November 25, 2013                       76          $0.00   3837 S Bristol St                  Santa Ana     CA                 92704 Holding LP     Advisors        Suite 400            Dallas          Texas           75225




                                                                                                                                                        Page 6 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 85 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                            Landlord Address
                                                                                                    Store Number /                                        Street                                                                    Parent
       Counterparty             Debtor Counterparty            Description of Agreement                              Cure Amount    Street Address 1                    City               State      Zip            Landlord                      Street Address             City           State   Zip
                                                                                                      Property ID                                        Address 2                                                                 Company
                                                                                                                                                                                                                 Yosemite Park
                                                                                                                                                                                                                 Shopping
                                                                                                                                                                                                                 Center 05 A,
                                                       Lease Agreement by and between                                                                                                                            LLC, and
Yosemite Park Shopping                                 Yosemite Park Shopping Center 05 A, LLC                                                                                                                   Yosemite Park   c/o ACF
Center 05 A, LLC, and                                  and Yosemite Park Shopping Center 15 B,                                                                                                                   Shopping        Property
Yosemite Park Shopping                                 LLC and Party City Corporation dated                                         8222 S Yosemite                                                              Center 15 B,    Managemen 12411 Ventura
Center 15 B, LLC.             Party City Corporation   January 16, 2018                                        610          $0.00   St              Suite 100          Centennial     CO                   80112 LLC.            t, Inc.   Boulevard                  Studio City     California      91604
                                                       Shopping Center Lease by and between
                                                       Northglenn Realty Partners Ltd. And                                                                                                                       Washington    c/o ACF
Washington Point Lennane                               Paper Warehouse, Inc. dated October 20,                                                                                                                   Point Lennane PROPERTY 12411 VENTURA
04, LLC                  Party City Corporation        1995                                                  1072      $10,571.21   450 E 120th Ave     A‐1            Northglenn     CO                   80233 04, LLC       MGMT, INC. BLVD                        STUDIO CITY     California      91604

                                                       Lease Agreement by and between NMMS                                                                                                                                       c/o New
                                                       Twin Peaks, LLC and Party City                                               1240 South Hover                                                             NMMS Twin       Mark Merrill 5850 Canoga Avenue,
NMMS Twin Peaks, LLC          Party City Corporation   Corporation dated January 28, 2015                      890          $0.00   St               Suite 300         Longmont       CO                   80501 Peaks, LLC      Companies Suite 650              Woodland Hills California           91367
                                                       Shopping Center Lease between Belmar I,
                                                       LLC and PA Acquisition Corp. dated April                                     7000 W Alameda                                                               B33 Belmar II   c/o Bridge33 9330 W. Sahara
B33 Belmar II LLC             Party City Corporation   10, 2003                                              3202      $17,951.26   Ave            Unit C              Lakewood       CO                   80226 LLC             Capital      Avenue, Ste 270         Las Vegas       Nevada          89117
                                                       Lease Agreement by and between FC
                                                       Quebec Square, L.L.C. and Party City                                                                                                                      ALTO QUEBEC c/o CBRE,          1225 17th Street,
ALTO QUEBEC SQUARE LP         Party City Corporation   Corporation dated March 5, 2002                       3203      $11,735.74   7757 E 36th Ave                620 Denver         CO                   80238 SQUARE LP      Inc.            #3200                 Denver          Colorado        80202
                                                       Lease Agreement by and between Bowles                                                                                                                                    C/o Jordon
                                                       Village Center, LLC and Party City                                                                                                                        Bowles Village Perlmutter      1601 Blake Street,
Bowles Village Center, LLP    Party City Corporation   Corporation dated July 31, 2002                         472          $0.00   7735 W Long Dr                     Littleton      CO                   80123 Center, LLP    & Co.           #600                  Denver          Colorado        80202

                                                       Lease Agreement by and between
                                                       University Hills Plaza, LLC and Party City                                   2530 S. Colorado                                                             University Hills c/o Judd &
University Hills Plaza, LLC   Party City Corporation   Corporation dated December 3, 2012                      117          $0.00   Road                               Denver         CO                   80222 Plaza, LLC       Company       495 S. Pearl Street   Denver          Colorado        80209

                                                       Lease Agreement by and between First &                                                                                                                    First & Main    c/o
First & Main South, No. 1,                             Main South, LLC and PA Acquisition Corp.                                     3036 New Center                    Colorado                                  South, No. 1,   Nor'wood 111 South Tejon             Colorado
LLC                           Party City Corporation   dated February 20, 2003                               3301           $0.00   Pt                                 Springs        CO                   80922 LLC             Limited, Inc. Street, Suite 222      Springs         Colorado        80903
                                                       Lease Agreement by and between
                                                       Weingarten/Miller/Aurora Joint Venture                                                                                                                                    c/o Prep
PREP Aurora Real Estate                                and Party City Corporation dated May 29,                                     14160 E Ellsworth                                                            PREP Aurora Property           100 S. Abilene Street,
LLC                           Party City Corporation   2002                                                    457          $0.00   Ave                                Aurora         CO                   80012 Real Estate LLC Group          Unit C                 Aurora         Colorado        80012

                                                       Lease Agreement by and between Square                                                                                                                     Square
                                                       Shopping Center LLC and Party City                                           3500 S College                                                               Shopping                       3500 S. College
Square Shopping Center LLC Party City Corporation      Corporation dated September 1, 2021                   570R           $0.00   Ave                 Unit 130       Fort Collins   CO                   80525 Center LLC                     Avenue                Fort Collins    Colorado        80525
                                                       Shopping Center Lease by and between                                                                                                                                     c/o M&J
                                                       Southlands Power Center, LLC and PA                                                                                                                                      Wilkow
                                                       Acquisition Corp. dated December 2,                                          23901 E Orchard                                                              Southlands PC, Properties      20 South Clark St,
Southlands PC, LLC            Party City Corporation   2004                                                  3206           $0.00   Rd              Unit B             Aurora         CO                   80016 LLC            Inc.            Suite 3000            Chicago         Illinois        60602
                                                       Shopping Center Lease by and between
                                                       Marketplace One Limited Liability                                                                                                                         Brixmor GA      c/o Brixmor
Brixmor GA Westminster                                 Company and Party America, Inc. dated                                        9420 Sheridan                                                                Westminster     Property    450 Lexington
LLC                           Party City Corporation   February 13, 1995                                     3201          $86.92   Blvd                               Westminster CO                      80031 LLC             Group       Avenue, 13th Floor       New York        New York        10017
                                                       Lease Agreement by and between DDR
                                                       MCH West LLC and Party City Corporation                                      7690 N. Academy                    Colorado                                  DDR MCH         c/o Site   3300 Enterprise
DDR MCH West LLC              Party City Corporation   dated April 24, 2018                                    642          $0.00   Blvd.           Suite 115          Springs        CO                   80920 West LLC        Centers    Parkway                   Beachwood       Ohio            44122
                                                       Indenture of Lease by and between                                                                                                                                         c/o Andreo
                                                       LMA/U.S.A., LLC and iParty Retail Stores                                                       Putnam                                                      LMA/U.S.A.,    Family
LMA/U.S.A., LLC               Party City Corporation   Corp. dated October 14, 2004                          6062           $0.00   15‐17 Main Street Bridge Plaza East Hartford CT                06118          LLC            Enterprise 4 Main St                 East Hartford   Connecticut      6040

                                                       Retail Shopping Lease between Hamden
Hamden Plaza Associates,                               Plaza Associates, L.L.C. and Branford                                        2100 Dixwell                                                                  Hamden Plaza c/o MJB
LLC                           Party City Corporation   Party Inc. dated October 19, 2009                       889          $0.00   Avenue                             Hamden         CT           06514          Associates, LLC Real Estate   260 A Quarry Road     Milford         Connecticut      6460
                                                       Agreement of Lease by and between
                                                       Stamford Ridgeway Associates Limited
                                                       Partnership and Party City Corp. dated                                                                                                                     UB Stamford,
UB Stamford, L.P.             Party City Corporation   April 1996                                              545     $21,561.94   2255 Summer St                     Stamford       CT           06905          L.P.                          321 Railroad Avenue Greenwich         Connecticut      6830




                                                                                                                                                        Page 7 of 44
                                                             Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 86 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                            Landlord Address
                                                                                                     Store Number /                                       Street                                                                     Parent
       Counterparty              Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                   City              State      Zip            Landlord                       Street Address             City         State        Zip
                                                                                                       Property ID                                       Address 2                                                                  Company
                                                        Lease Agreement by and between A&J                                                                                                                       Prime
Prime Development Group                                 Equities, LLC and Party City Corporation                                     292 Boston Post                                                             Development                    101 Merritt Blvd,
LLC                     Party City Corporation          dated December 18, 2009                                 591          $0.00   Rd                                Orange       CT            06477          Group LLC                      Suite 208              Trumbull       Connecticut         6611

                                                        Lease between Turnpike Shopping                                                                                                                          Turnpike
Turnpike Shopping Center,                               Center, LLC and JJAADS, Inc. d/b/a Party                                     2009 Black Rock                                                             Shopping                       1189 Post Road, Suite
LLC                            Party City Corporation   City of Fairfield dated April 1, 2005                   913     $25,757.05   Tpke                              Fairfield    CT            06825          Center, LLC                    3B                    Fairfield       Connecticut         6824
                                                                                                                                                                                                                                                c/o Regency Ceners
                                                                                                                                                                                                                                                Corporation
                                                        Indenture of Lease by Samuel J. Heyman                                       500 Connecticut                                                             Equity One                     One Independent
Equity One (Darinor) LLC       Party City Corporation   and JJAADS II, LLC dated January 29, 1996               912          $0.00   Ave                               Norwalk      CT            06854          (Darinor) LLC                  Drive, Suite 114      Jacksonville    Florida            32202

                                                                                                                                                        THE PLAZA                                                                c/o M.S.
                                                        Lease by and between Plaza at Buckland                                                          AT                                                       Plaza at        Managemen
                                                        Hills, LLC and iParty Retail Stores Corp.                                    1444 Pleasant      BUCKLAND                                                 Buckland Hills, t Associates 111 Monument
Plaza at Buckland Hills, LLC   Party City Corporation   dated January 10, 2011                                6071       $1,100.00   Valley Rd D‐01     HILLS     Manchester        CT            06042          LLC             Inc.         Circle, Suite 3500       Indianapolis   Indiana       46204‐3438
                                                        Shopping Center Lease by and between
                                                        Waterford Commons of CT, LLC and                                                                                                                         Brixmor GA  c/o Brixmor
Brixmor GA Waterford                                    iPartyRetail Stores Corp. dated November                                     915 Hartford                                                                Waterford   Property    450 Lexington
Commons LLC                    Party City Corporation   14, 2002                                              6049           $0.00   Tpke                              Waterford    CT            06385          Commons LLC Group       Avenue, 13th Floor            New York       New York           10017
                                                        Lease Agreement by and between JPMCC
                                                        2006‐LDP Centro Enfield, LLC and Party                                                                                                                   ENFIELD
ENFIELD SQUARE REALTY                                   City Corporation dated December 19,                                                                                                                      SQUARE            c/o Namco    150 Great Neck Road,
LLC                            Party City Corporation   2016                                                  6014       $7,919.34   90 Elm Street      Space 8        Enfield      CT            06082          REALTY LLC        Realty LLC   Suite 304            Great Neck       New York           11021

                                                        Lease Agreement by and between Berlin                                                                                                                    Berlin
Berlin Newington                                        Newington Associates, LLC and Party City                                     3087 Berlin        JoAnne's                                                 Newington
Associates, LLC                Party City Corporation   Corporation dated June 29, 2017                         575          $0.00   Turnpike           Plaza          Newington    CT            06111          Associates, LLC                55 Watermill Lane      Great Neck     New York           11021
                                                        Lease Agreement by and between
                                                        E&A/I&G Simsbury Commons, Limited                                                                                                                                     c/o
                                                        Partnership and Party City Corporation                                       530 Bushy Hill                                                              Simsbury     Northpath         114 East 44th Street,
Simsbury Commons, LLC          Party City Corporation   dated August 5, 2014                                    901          $0.00   Road               Suite 50       Simsbury     CT            06070          Commons, LLC Investments       Suite 502             New York        New York           10017
                                                                                                                                                                                                                              c/o
                                                                                                                                                                                                                 BH Premium Lexington
                                                        Lease by and between DDRTC Naugatuck                                                                                                                     Quality      Realty
BH Premium Quality                                      Valley SC LLC and Braford Party Inc. dated                                   910 Wolcott                                                                 Waterbury,   Internationa      911 East County Line
Waterbury, LLC                 Party City Corporation   June 2, 2009                                            887      $6,964.64   Street                            Waterbury    CT            06705          LLC          l, LLC            Road, Suite 207      Lakewood         NJ                  8701

                                                                                                                                                                                                                CENTERPOINT
                                                                                                                                                                                                                CAP I, LLC,
CENTERPOINTCAP I, LLC,                                  Lease Agreement by and between                                                                                                                          CENTERPOINT
CENTERPOINTCAP II, LLC,                                 Centerpointcap I, LLC; Centerpointap II,                                     1297                                                                       CAP II, LLC, and
and CENTERPOINTCAP III,                                 LLC; and Centerpointcap III, LLC and Party                                   Churchman's                                                                CENTERPOINT
LLC                            Party City Corporation   City Corporation dated January 11, 2021               1015           $0.00   Road                              Newark       DE                    19713 CAP III, LLC                    105 Foulk Road         Wilmington     Delaware           19803
                                                                                                                                                                                                                              c/o
                                                        Lease Agreement by and between CW                                                                                                                                     Milbrook
                                                        Dover, LLC and Party City Coporation                                         1047 North                                                                 North Dover C Properties
North Dover C ommons, LLC Party City Corporation        dated December 12, 2012                                 852          $0.00   Dupont Hwy         Suite 1049     Dover        DE                    19901 ommons, LLC LTD                 42 Bayview Avenue      Manhasset      New York           11030
                                                        Lease Agreement by and between RCG                                                                                                                                    c/o Harbert
                                                        Pensacola, LLC and Party City Corporation                                    6241‐A North                                                               Pensacola     Realty            2 North 20th Street,
Pensacola Commons, LLC         Party City Corporation   dated April 9, 2013                                     338          $0.00   Davis Highway                     Pensacola    FL                    32504 Commons, LLC Services           Sutie 1700             Birmingham     Alabama            32502
                                                        Shopping Center Lease between NAP                                                              Market                                                                 c/o CBRE
                                                        Seminole Marketplace LLC and Factory                                                           Place @                                                  SPUS8 FB      Global
SPUS8 FB Seminole JV                                    Card Outlet of America, LTD. dated                                                             Seminole                                                 Seminole JV   Investors,        601 S. Figueroa
PROP, LLC                      Party City Corporation   October 29, 2004                                      5332           $0.00   2171 Wp Ball Blvd Towne           Sanford      FL                    32771 PROP, LLC     LLC               Street, 49th Floor     Los Angeles    California         90017
                                                        Lease Agreement by and between                                                                                                                                        c/o
                                                        Benderson Properties, Inc. & Donald                                                                                                                                   Benderson
                                                        Robinson and Party City Corporation                                          1745 NW St Lucie                                                           Benderson     Developmen        7978 Cooper Creek
Benderson Properties           Party City Corporation   dated May 2, 2011                                       708     $13,210.81   West Blvd                         Port St Lucie FL                   34986 Properties    t                 Boulevard, Suite 100 University Park Florida             34201




                                                                                                                                                        Page 8 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 87 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                     Landlord Address
                                                                                                    Store Number /                                        Street                                                             Parent
       Counterparty            Debtor Counterparty           Description of Agreement                                Cure Amount    Street Address 1                    City               State   Zip        Landlord                       Street Address            City           State   Zip
                                                                                                      Property ID                                        Address 2                                                          Company

                                                                                                                                                                                                                           c/o
                                                      Lease Agreement by and between                                                                                                                                       LandQwest
                                                      Bradenton Associates and Factory Card                                                                                                                                Property
                                                      Outlet of America, LTD. dated September                                                                                                             Bradenton I,     Managemen 5601 Mariner Street,
Bradenton I, LLC             Party City Corporation   25, 1997                                               5285           $0.00   845 Cortez Rd W Cortez Plz E Bradenton           FL             34207 LLC              t Tampa Bay Suite 220          Tampa                Florida         33907
                                                      Lease Agreement by and between
                                                      Coramar Investment, Inc. and Party City                                                                                                             Coramar
                                                      Franchise Group, LLC dated March 20,                                          15947 Biscayne                                                        Investment,                     15923 Biscayne Blvd., North Miami
Coramar Investment, Inc      Party City Corporation   2008                                                     316          $0.00   Blvd                               Miami         FL             33160 Inc                             Suite 212             Beach          Florida         33160
                                                      Lease Agreement by and between GRE                                                                                                                  ECA Buligo       c/o East
ECA Buligo Red Willow                                 Red Willow LP and Party City Corporation                                      5916 Red Bug                       Winter                             Red Willow       Coast        13041 W Linebaugh
Partners LP                  Party City Corporation   dated July 16, 2013                                      866          $0.00   Lake Rd                            Springs       FL             32708 Partners LP      Acquisitions Avenue                  Tampa          Florida         33626

                                                      Shopping Center Lease between                                                                                                                                      c/o
                                                      University Commercial Center, LTD. And                                                                                                                             Foresight
                                                      Party City of Fowler, Inc. dated December                                     1719 E Fowler                                                                        Property      3980 Tampa Road,
PV‐Fowler, LLC               Party City Corporation   2, 1994                                                1104           $0.00   Ave                                Tampa         FL             33612 PV‐Fowler, LLC Services, LLC Suite 205                Oldsmar        Florida         34677
                                                      Lease Agreement by and between                                                                                                                      Columbia‐BBB
                                                      Columbia‐BBB Westchester Shopping                                                                                                                   Westchester
                                                      Center Associates and Party City                                                                                                                    Shopping       c/o Ideal
Columbia‐BBB Westchester                              Franchise Group, LLC dated November                                                                                                                 Center         Managemen 12568 N Kendall
Shopping Center Associates Party City Corporation     20, 2008                                                 135     $18,016.43   8675 SW 24th St                    Miami         FL             33155 Associates     t             Drive                    Miami          Florida         33186
                                                      Lease Agreement by and between Ireland                                                                                                              Ireland
                                                      Tallahassee, Ltd. and The Party                                               1739 Apalachee                                                        Tallahassee                  85 Weston Road,
Ireland Tallahassee Ltd.     Party City Corporation   Supermarket, Inc. dated May 28, 1998                     327      $9,355.26   Parkway                            Tallahassee   FL             32301 Ltd.                         Suite 101                Weston         Florida         33326
                                                      Indenture of Lease between Hayday, Inc.
                                                      and Party City of Little Havana, Inc. dated                                                                                                                        c/o Leon
Hayday, Inc.                 Party City Corporation   September 1, 2003                                        210          $0.00   3727 NW 7th St                     Miami         FL             33126 Hayday, Inc.   Reithaver        401 NW 38th Court     Miami          Florida         33126
                                                                                                                                                                                                                         c/o
                                                      Lease Agreement by and between                                                                                                                                     O'Connor
                                                      Osceola Crossings Owner, LLC and Party                                        641 Centerview                                                        HUH DI/OCP Capital              240 Royal Palm Way,
HUH DI/OCP Crosslands LLC Party City Corporation      City Corporation dated August 17, 2015                   377      $4,448.27   Blvd.                              Kissimmee     FL             34741 Crosslands LLC Partners         2nd Floor           Palm Beach       Florida         33480
                                                                                                                                                                                                                         c/o
                                                      Lease Agreement by and between                                                                                                                                     Partridge
                                                      Brixmor HTG SPE 1 LLC and Party City                                          3501 N Federal                     Lighthouse                         W4C LLC and Equity
W4C LLC and NH 13 LLC        Party City Corporation   Corporation dated January 5, 2012                        549     $52,974.75   Hwy                                Point         FL             33064 NH 13 LLC      Group            1769 NE 33rd Street. Pompano Beach Florida           33064
                                                      Shopping Center Lease by and between
                                                      IPSC Associates, L.L.C. and Party City of                                                                                                           SPG Doral        c/o Schmier
SPG Doral Retail Partners,                            Miami (Doral), Inc. dated September 12,                                       10650 NW 19th       Internationa                                      Retail Partners, Property       2200 Butts Road,
LLC                          Party City Corporation   2002                                                     333          $0.00   St                  l Plaza      Miami           FL             33172 LLC              Group          Suite 300             Boca Raton     Florida         33431
                                                      Lease Agreement by and between                                                                                                                                       c/o SEC
                                                      Savannah Square Associates, Ltd. and                                                                                                                Savannah         Commercial
Savannah Square Associates                            Party City Corporation dated May 10,                                          12540 W. Sunrise                                                      Square           Realty         1541 Sunset Drive,
Ltd                        Party City Corporation     2013                                                     326     $30,922.83   Blvd             Bay 22B           Sunrise       FL             33323 Associates Ltd Group, Inc.      Ste 300               Coral Gables   Florida         33143
                                                      Lease between Jensen Town Center, Ltd.                                                                                                                               c/o Phillips
                                                      And The Party Supermarket, Inc. dated                                         4189 NW Federal                                                       Jensen Beach Edison &           11501 Northlake
Jensen Beach Station, LLC    Party City Corporation   October 18, 2004                                         350     $12,527.61   Hwy                                Jensen Beach FL              34957 Station, LLC     Company        Drive                 Cincinnati     Ohio            45249
                                                      Lease between Crossroads Associates                                                                                                                 Northwoods c/o The
Northwoods Limited                                    Limited and The Big Party Corporation                                                                                                               Limited          Sembler
Partnership                  Party City Corporation   dated January 18, 1997                                 6025           $0.00   1960 Tyrone Blvd.                  St. Petersburg FL            33710 Partnership      Company        5858 Central Avenue St. Petersburg   Florida         33707
                                                      Lease Agreement by and between                                                                                                                      Aventura
Aventura Fashion Island,                              Aventura Fashion Island, L.P. and Party                                       18861 Biscayne                                                        Fashion Island, c/o             19501 Biscayne Blvd.,
L.P.                         Party City Corporation   City Corporation dated July 12, 2012                     309          $0.00   Blvd.                              Aventura      FL             33180 L.P.             Turnberry      Suite 400             Aventura       Florida         33143

                                                      Lease Agreement by and between                                                                                                                                     C/o Orion
                                                      Metropolitan Life Insurance Co. and Party                                     13615 South Dixie                                                     Orion Colonial Real Estate      200 S. Biscayne Blvd.,
Orion Colonial Plaza, LLC    Party City Corporation   City Corporation dated January 19, 2011                  317          $0.00   Hwy               Suite 119        Palmetto Bay FL              33176 Plaza, LLC     Group            7th Floor              Miami         Florida         33131
                                                      Lease Agreement by and between G & I                                                                                                                G&I IX         c/o
                                                      IX Southgate Shopping Center LLC and                                                                                                                Southgate      Woolbright
G&I IX Southgate Shopping                             Party City Corporation dated December                                                                            New Port                           Shopping       Developmen       3200 N. Military Trail,
Center LLC                Party City Corporation      22, 2021                                               6064           $0.00   5145 US‐19                         Richey        FL             34652 Center LLC     t, Inc.          4th Floor               Boca Raton   Florida         33431




                                                                                                                                                        Page 9 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 88 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                    Landlord Address
                                                                                                    Store Number /                                        Street                                                               Parent
       Counterparty           Debtor Counterparty            Description of Agreement                                Cure Amount    Street Address 1                    City               State   Zip        Landlord                      Street Address            City           State       Zip
                                                                                                      Property ID                                        Address 2                                                            Company

                                                     Lease by and between Palm Springs Mile                                                                                                               Palm Springs
Palm Springs Mile                                    Associates, Ltd. and Party City                                                                                                                      Mile                           419 West 49th Street,
Associates, Ltd.            Party City Corporation   Corporation dated November 7, 1995                        166      $1,480.51   775 W 49th St       Unit 2          Hialeah      FL             33012 Associates, Ltd.               Suite 300             Hialeah         Florida            33012

                                                     Lease by and between United States                                                                                                                   United States
United States Development,                           Development, Ltd. and Party City of West                                                        Units C20 &                                          Development,                   3001 Ponce de Leon
Ltd.                       Party City Corporation    Dade, Inc. dated September 20, 1996                       207     $27,962.65   11865 SW 26th St C21         Miami               FL             33175 Ltd.                           Boulevard, Suite 101 Coral Gables     Florida            33134
                                                     Shopping Center Lease between Fraga CR
                                                     LLC and Party City Franchise Gorup, LLC                                        20831 S Dixie                                                         MS Shopping
MS Shopping Center LLC      Party City Corporation   dated November 20, 2007                                   238          $0.00   Hwy                                 Miami        FL             33189 Center LLC                     845 NE 79th Street    Miami           Florida            33138
                                                     Shopping Center Lease Agreement
                                                     between Glades ‐ Pike East, Ltd. and
                                                     Party City Corporation dated April 8,                                                                                                                Investments                    215 North Federal.
Investments Limited         Party City Corporation   1996                                                      523          $0.00   8095 Glades Rd                      Boca Raton   FL             33434 Limited                        Highway, Suite 1      Boca Raton      Florida            33432
                                                     Lease Agreement by and between Pine                                                                                                                                                 101 Plaza Real South,
                                                     Trail Square, LLC and Party City                                               1901 North                          West Palm                         Pine Trail                     Suite 200, Royal Palm
Pine Trail Square, LLC      Party City Corporation   Corporation dated April 13, 2018                          651     $18,519.84   Military Trail                      Beach        FL             33409 Square, LLC                    Place                 Boca Raton      Florida            33432
                                                     Lease Agreement by and between
                                                     Narcoossee Acquisitions, LLC and Party                                                                                                               Narcoossee
Narcoossee Acquisitions,                             City Franchise Gorup, LLC dated March                                          7153 Narcoosse                                                        Acquisitions,                  130 S. Orange
LLC                         Party City Corporation   23, 2010                                                  655          $0.00   Road                                Orlando      FL             32822 LLC                            Avenue, Suite 202     Orlando         Florida            32801
                                                     Lease Agreement by and between                                                                                                                       BlueRock
                                                     Waterford Oaks, LLC and Party City                                             1444 N. Alafaya                                                       Developent,
BlueRock Developent, LLC    Party City Corporation   Corporation dated June 21, 2015                           697     $14,545.12   Trail                               Orlando      FL             32828 LLC                            8998 Gladin Court     Orlando         Florida            32819
                                                     Lease Agreement by and between
Vicenza Plaza Associates,                            Vicenza Plaza Associates, LLC and Party                                        11860 Hialeah                       Hialeah                           Vicenza Plaza                  703 Waterford Way,
LLC                         Party City Corporation   City Corporation dated May 4, 2012                        825      $7,810.10   Gardens Blvd                        Gardens      FL             33018 Associates, LLC                Suite 800          Miami              Florida       33126‐4677
                                                     Lese by and between Developers
                                                     Diversified Finance Coporation and                                                                                                                                  c/o The
                                                     Factory Card Outlet of America Ltd.,                                           1474 W Granada Ormond               Ormond                            J‐7 Land       Jaffe
J‐7 Land Partners, LLLP     Party City Corporation   dated May 16, 1997                                      5245           $0.00   Blvd Ste 455   Town Sq              Beach        FL             32174 Partners, LLLP Corporation 300 North Nova Road Ormond Beach Florida                     32174
                                                     Lease Agreement by and between SDC
                                                     Retail Country Club Plaza‐ FL, Inc. and
                                                     Party City Franchise Group, LLC dated                                          18452‐18538 NW                                                        Jamestown                      675 Ponce De Leon
Jamestown CCP LP            Party City Corporation   November 22, 2010                                         510          $0.00   67th Avenue                         Hialeah      FL             33015 CCP LP                         Ave NE, 7th Floor     Atlanta         Georgia            30308
                                                     Lease Agreement by and between RPAI                                                                                                                                 c/o Hiffman
                                                     Royal Palm Beach Commons, L.L.C. and                                                                                                                                Asset
                                                     Party City Corporation dated December                                          521 N State Road                    Royal Palm                        511 SR7        Managemen       One Oakbrook          Oakbrook
511 SR7 Owner, LLC          Party City Corporation   31, 2015                                                  331     $40,822.72   7                                   Beach        FL             33411 Owner, LLC     t               Terrace, #400         Terrace         Illinois           60181
                                                                                                                                                                                                                         c/o
                                                                                                                                                                                                                         InvenTrust
                                                     Lease Agreement by and between Branch                                          8051A Dr Martin                                                                      Property
                                                     Capital Partners, L.P. and Party City of St.                                   Luther King Jr St                                                     IA St.         Managemen       3025 Highland
IA St. Petersburg LLC       Party City Corporation   Petersburg, Inc. dated March 11, 1999                   1108      $12,627.55   N                                   St Petersburg FL            33702 Petersburg LLC t, LLC          Parkway, Suite 350    Downers Grove Illinois             60515
                                                     Lease Agreement by and between WMD
                                                     London Square, LLC and The Party
                                                     Supermarket, Inc. dated September 22,                                          13550 SW 120th                                                        BVK London                     222 S. Riverside Plaza
BVK London Square LLC       Party City Corporation   2006                                                      374     $24,741.95   St             Suite 438            Miami        FL             33186 Square LLC         c/o RREEF   26th Floor             Chicago        Illinois           60606
                                                     Lease Agreement between Powerline                                                                                                                    KRG Boca           c/o Kite
KRG Boca Raton Palms                                 Associates and The Party Supermarket,                                          22191 Powerline                                                       Raton Palms        Realty      30 South Meridian
Plaza, LLC                  Party City Corporation   Inc. dated August 23, 1996                                323          $0.00   Rd Ste 23C                          Boca Raton   FL             33433 Plaza, LLC         Group       Street, Suite 1100    Indianapolis    Indiana            46204
                                                     Lease Agreement by and between KRG
                                                     CREC/KS Pembroke Pines, LLC and Party                                                                                                                             c/o Kite
                                                     City Franchise Group, LLC dated October                                                                            Pembroke                          KRG Pembroke Realty            30 South Meridian
KRG Pembroke Pines, LLC     Party City Corporation   28, 2008                                                  324          $0.00   14804 Pines Blvd                    Pines        FL             33027 Pines, LLC   Group             Street, Suite 1100    Indianapolis    Indiana            46204

                                                                                                                                                                                                                        c/o M.S.
                                                     Lease by and between Coconut Point                                                                                                                   Coconut Point Managemen
Coconut Point Developers,                            Developers, LLC and Party City of Bonita                                       8070                                                                  Developers,   t Associates 225 West Washington
LLC                         Party City Corporation   Springs, Inc. dated March 15, 2005                        348     $23,079.71   Mediterranean Dr                    Estero       FL             33928 LLC           Inc.         Street              Indianapolis          Indiana       46204‐3438




                                                                                                                                                        Page 10 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 89 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                 Property Address                                                                     Landlord Address
                                                                                                      Store Number /                                        Street                                                              Parent
       Counterparty            Debtor Counterparty             Description of Agreement                                Cure Amount    Street Address 1                    City               State   Zip        Landlord                       Street Address            City         State      Zip
                                                                                                        Property ID                                        Address 2                                                           Company
                                                       Standard Retail Lease between Danis
                                                       Properties Limited Partnership and
                                                       Factory Card Outlet of America, Ltd.                                           4286 US Highway                                                       PMAT VILLAGE c/o PMAT           109 Northpark Blvd.
PMAT VILLAGE PLAZA LLC       Party City Corporation    dated June 30, 1997                                     5289           $0.00   98 N            Village Plaza Lakeland           FL             33809 PLAZA LLC      COMPANIES        Suite 300              Covington     Louisiana        70433
                                                       Lease Agreement by and between Tri‐                                                                                                                                 c/o Federal
                                                       County Plaza Associates, Ltd. and Party                                                                                                                             Realty
                                                       City Franchise Group, LLC dated August                                         2134 South                                                            Federal Realty Investment       909 Rose Ave, Suite
Federal Realty OP LP         Party City Corporation    17, 2010                                                  302          $0.00   University Drive                    Davie        FL             33324 OP LP          Trust            200                    North Bethesda Maryland        20852
                                                                                                                                                                                                                           c/o
                                                       Lease Agreement by and between Equity                                                                                                                LRF1           Longpoint
                                                       One (Florida Portfolio), Inc. and Party City                                   220 University                      Pembroke                          Crossroads     Realty           116 Huntington
LRF1 Crossroads Square LLC Party City Corporation      Corporation dated March 15, 2013                          308     $12,567.92   Drive                               Pines        FL             33024 Square LLC     Partners         Avenue, Suite 601      Boston        Massachusetts     2116
                                                       Shopping Center Lease by and between                                                                                                                                c/o
                                                       FC‐WRE Realty Associates I, LP and Party                                                                                                                            Winstanley
                                                       City of Fort Myers, Inc. dated March 1,                                        5025 S Cleveland                                                      Page Field     Enterprises      150 Baker Avenue
Page Field Commons LLC       Party City Corporation    2000                                                      266        $645.43   Ave                                 Ft Myers     FL             33907 Commons LLC LLC                 Extension, Suite 303   Concord       Massachusetts     1742
                                                                                                                                                                                                                           c/o
                                                       Lease Agreement between Kimco West                                                                                                                   ARC            American
                                                       Melbourne 668, Inc. and The Party                                              1557 W New                                                            SMWMBFL001 Finance              650 Fifth Avenue,
ARC SMWMBFL001 LLC           Party City Corporation    Supermarket, Inc. dated May 17, 2006                      357     $15,381.96   Haven Ave                           Melbourne    FL             32904 LLC            Trust, Inc.      30th Floor             New York      New York         10019
                                                       Lese Agreement by and between                                                                                                                                       c/o
                                                       Weingarten Herndon Plaza, JV and Party                                                                                                               ARC            American
                                                       City Franchise Group, LLC dated February                                       3220 East                                                             CLORLFL001     Finance          650 Fifth Avenue,
ARC CLORLFL001 LLC           Party City Corporation    8, 2010                                                   500     $12,409.40   Colonial Drive                      Orlando      FL             32803 LLC            Trust, Inc.      30th Floor             New York      New York         10019

                                                       Lease Agreement by and between                                                                                                                       Brixmor GA
                                                       Brixmor GA Cobblestone Village at St.                                                                                                                Cobblestone c/o Brixmor
Brixmor GA Cobblestone                                 Augustine, LLC and Party City Corporation                                                                                                            Village at St. Property         450 Lexington
Village at St. Augustine, LLC Party City Corporation   dated February 5, 2015                                    914      $9,765.68   440 CBL Drive       Suite 101       St. Augustine FL            32086 Augustine, LLC Group            Avenue, 13th Floor     New York      New York         10017
                                                       Lease Agreement by and between                                                                                                                                      c/o Brixmor
                                                       Brixmor Park Shore SC LLC and Party City                                       4377 9th Street                                                       Brixmor Park Property           450 Lexington
Brixmor Park Shore SC LLC    Party City Corporation    Corporation dated March 13, 2015                          923     $43,812.07   North                               Naples       FL             34104 Shore SC LLC Group              Avenue, 13th Floor     New York      New York         10017
                                                       Short Form Lease by and between                                                                                                                                     c/o Brixmor
                                                       Buckhead Co. III, L.P. and The Big Party                                       3670 Bee Ridge                                                        CA New Plans Property           450 Lexington
CA New Plans Sarasota, L.P. Party City Corporation     Corporation dated March 24, 1997                        6028      $20,337.59   Rd.                                 Sarasota     FL             34233 Sarasota, L.P. Group            Avenue, 13th Floor     New York      New York         10017
                                                       Store Lease between Boynton Beach                                                                                                                                   c/o Carlyle
                                                       Developent Associates and Party City                                           339 N Congress                      Boynton                                          Managemen        254 Katonah Ave
B Comm                       Party City Corporation    Corporation dated July 15, 1997                           623          $0.00   Ave                                 Beach        FL             33426 B Comm         t                Suite 203              Katonah       New York         10536

                                                       Lease Agreement by and between WRI JT                                                                                                                               c/o Kimco
                                                       Northridge, LP and Party City Franchise                                        843 East                                                              WRI JT         Realty      500 North Broadway
WRI JT Northridge, LP        Party City Corporation    Group, LLC dated January 8, 2010                          304     $22,753.73   Commercial Blvd                 Oakland Park FL                 33334 Northridge, LP Corporation Suite 201          Jericho                New York         11753
                                                       Shopping Center Lease by and between
                                                       Oakwood Plaza Limited Partnership and                                                                                                                  Oakwood Plaza   c/o Kimco
Oakwood Plaza Limited                                  Party City Franchise Gorup, LLC dated                                          3911 Oakwood                                                            Limited         Realty      500 North Broadway,
Partnership                  Party City Corporation    April 16, 2008                                            315          $0.00   Blvd                                Hollywood    FL             33020   Partnership     Corporation Suite 201           Jericho            New York         11753
                                                       Retail Lease by and between Kendale                                                                                                                    Kendale
                                                       Associates Limited Partnership and The                                                                                                                 Associates      c/o Kimco
Kendale Associates Limited                             Party Supermarket, Inc. dated October                                                                                                                  Limited         Realty        500 North Broadway,
Partnership                Party City Corporation      26, 1994                                                  319     $15,584.51   13865 SW 88th St                    Miami        FL             33186   Partnership     Corporation   Suite 201           Jericho          New York         11753
                                                       Lease Agreement by and between Kimco                                                                                                                   Kimco           c/o Kimco
                                                       Maplewood 673, Inc. and Party City                                             1270 N University                                                       Maplewood       Realty        500 North Broadway,
Kimco Maplewood 673 Inc      Party City Corporation    Corporation dated June 1, 2016                            332     $31,846.88   Dr                                  Coral Springs FL            33071   673 Inc         Corporation   Suite 201           Jericho          New York         11753
                                                       Shopping Center Lease by and between                                                                                                                   Kimco South     c/o Kimco
Kimco South Miami 634,                                 Kimco South Miami 634, Inc and Party                                                                                                                   Miami 634,      Realty        500 North Broadway,
Inc.                         Party City Corporation    City Corporation dated June 25, 1996                      558      $2,770.03   6272 S Dixie Hwy                    South Miami FL              33143   Inc.            Corporation   Suite 201           Jericho          New York         11753
                                                       Shopping Center Lease by and between
                                                       Massachusetts Mutual Life Insurance                                                                                                                  Kimco          c/o Kimco
                                                       Company and Party City Corporation                                             3615 S Florida                                                        Lakeland 123, Realty            500 North Broadway,
Kimco Lakeland 123, Inc.     Party City Corporation    dated June 20, 1997                                       595          $0.00   Ave                                 Lakeland     FL             33803 Inc.           Corporation      Suite 201           Jericho          New York         11753
                                                       Shopping Center Lease by and between                                                                                                                                c/o Kimco
                                                       The Kimco Corporation and Party City                                           911 N Homestead                                                       Kimco          Realty           500 North Broadway,
Kimco Delaware, Inc.         Party City Corporation    Corporation dated June 2, 1997                            671     $13,073.41   Blvd                                Homestead    FL             33030 Delaware, Inc. Corporation      Suite 201           Jericho          New York         11753




                                                                                                                                                          Page 11 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 90 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                Property Address                                                                   Landlord Address
                                                                                                      Store Number /                                       Street                                                            Parent
       Counterparty            Debtor Counterparty            Description of Agreement                                 Cure Amount    Street Address 1                   City              State   Zip        Landlord                      Street Address            City          State   Zip
                                                                                                        Property ID                                       Address 2                                                         Company
                                                      Shopping Center Lease between Brandon
                                                      Convenience Center Partners, Ltd. and                                                                                                                               c/o Kimco
                                                      Blockbuster Music Retail, Inc. dated                                            145 Brandon                                                         KIR Brandon     Realty      500 North Broadway,
KIR Brandon 011 LLC          Party City Corporation   August 10, 1994                                          1106           $0.00   Town Center Dr                     Brandon      FL            33511 011 LLC         Corporation Suite 201           Jericho            New York        11753
                                                      Shopping Center Lease by and between
                                                      Kimco Carrollwood 664, Inc. and Factory                                                                                                             Kimco           c/o Kimco
                                                      Card Outlet of America, Ltd. dated May                                          15064 N Dale       Carrollwood                                      Carrollwood     Realty         500 North Broadway,
Kimco Carrollwood 664, Inc Party City Corporation     12, 1997                                                 5249           $0.00   Mabry Hwy          Commons Tampa                FL            33618 664, Inc        Corporation    Suite 201           Jericho         New York        11753
                                                      Lease between Countryside Square                                                                                                                                    c/o Kimco
                                                      Limited Partnership and The Big Party                                           2539 Countryside                                                    Kimco Realty    Realty         500 North Broadway,
Kimco Realty Corporation     Party City Corporation   Corporation dated February 17, 1997                      6027      $33,938.57   Blvd                               Clearwater   FL            33761 Corporation     Corporation    Suite 201           Jericho         New York        11753
                                                      Shopping Center Lease by and between                                                                                                                                c/o Kimco
                                                      KIR Tampa 003, LLC and iParty Retail                                            12799 Citrus       Plaza at                                         KIR Tampa       Realty         500 North Broadway,
KIR Tampa 003, LLC           Party City Corporation   Stores Corp. dated March 30, 2004                        6058      $10,264.25   Plaza Dr           Citrus Park     Tampa        FL            33625 003, LLC        Corporation    Suite 201           Jericho         New York        11753
                                                      Standard Shopping Center Lease
                                                      Agreement between C.L.D. Associates,
                                                      Ltd. And Party City of Tampa, Inc. dated                                        418 N Dale Mabry                                                    1220         c/o Shire   501 Madison Avenue,
1220 Broadway LLC            Party City Corporation   December 20, 2004                                        1102           $0.00   Hwy                                Tampa        FL            33609 Broadway LLC Realty Corp Suite 502           New York              New York        10022
                                                      Lease Agreement by and between
                                                      Sembler Winter Garden Partnership #1,                                                                                                                               c/o SITE
                                                      Ltd and Party City of Winter Garde, Inc.                                                                           Winter                           DDR Winter      Centers        3300 Enterprise
DDR Winter Garden LLC        Party City Corporation   dated November 20, 2006                                    376          $0.00   3089 Daniels Rd                    Garden       FL            34787 Garden LLC      Corp.          Parkway             Beachwood       Ohio            44122
                                                      Lease Agreement by and between
                                                      Millenia Crossing, LLC and Party City                                                                                                                               c/o SITE
                                                      Franchise Group, LLC dated April 30,                                            4024 Eastgate                                                       BRE DDR IVA Centers            3300 Enterprise
BRE DDR IVA Millenia FL LLC Party City Corporation    2009                                                       424          $0.00   Drive              Suite 104       Orlando      FL            32839 Millenia FL LLC Corp.          Parkway             Beachwood       Ohio            44122
                                                      Lease Agreement by and between DDR                                                                                                                                  c/o SITE
                                                      Miami Avenue LLC and Party City                                                 3401 N Miami                                                        DDR Miami       Centers        3300 Enterprise
DDR Miami Avenue, LLC        Party City Corporation   Corporation dated May 2, 2011                              705     $24,169.30   Avenue #126                        Miami        FL            33127 Avenue, LLC     Corp.          Parkway             Beachwood       Ohio            44122

                                                                                                                                                                                                                         c/o Silvestri
                                                      Lease Agreement by and between G&I                                                                                                                                 Investments
                                                      VIII Piedmont Plaza LLC and Party City                                          2370 E Semoran                                                      Lago Bello,    Incorporate
Lago Bello, L.L.C.           Party City Corporation   Corporation dated June 28, 2016                            963          $0.00   Blvd.                              Apopka       FL            32703 L.L.C.         d               1215 Gessner Road   Houston         Texas           70055
                                                                                                                                                                                                                         c/o
                                                      Shopping Center Lease by and between                                                                                                                               Crawford
                                                      NAP Camp Creek Marketplace LLC and                                                                                                                  G&I IX CAMP Square Real
G&I IX CAMP CREEK                                     Party City of Atlanta, Inc. dated Marh 7,                                       3628                                                                CREEK          Estate          2829 Second Avenue
PROPERTY LLC                 Party City Corporation   2003                                                       336      $1,691.20   Marketplace Blvd                   East Point   GA            30344 PROPERTY LLC Advisors          South, Suite 310   Birmingham       Alabama         35233
                                                                                                                                                                                                                         c/o
                                                      Shopping Center Lease by and between                                                                                                                               American
                                                      East‐West Commons, LLC and Party City                                                                                                               ARCP MT        Finance         650 Fifth Avenue,
ARCP MT Austell GA LLC       Party City Corporation   of Atlanta, Inc. dated November 23, 1998                   139      $8,514.26   4155 Austell Rd    Suite 500       Austell      GA            30106 Austell GA LLC Trust           30th Floor          New York        New York        10019
                                                                                                                                                                                                                         c/o
                                                                                                                                                                                                                         Crawford
                                                      Lease Agreement between Dogwood                                                                                                                                    Square Real
                                                      Drive, L.L.C. and Party City of Atlanta, Inc.                                   1390 Dogwood Dr                                                     Alto Conyers Estate            2093 Philadelphia
Alto Conyers Plaza, LP       Party City Corporation   dated May 28, 1997                                         221     $15,720.15   SE                                 Conyers      GA            30013 Plaza, LP      Advisors        Pike, #1971         Claymont        Delaware        19703

                                                      Lease Agreement by and between Branch                                           2100‐A                                                                              c/o Regency
                                                      Properties, L.P. and Party City of Atlanta,                                     Henderson Mill                                                      Regency         Realty      One Independent
Regency Centers, L.P.        Party City Corporation   Inc. dated May 3, 1996                                     183     $16,276.87   Rd NE                              Atlanta      GA            30345 Centers, L.P.   Corporation Drive, Suite 114       Jacksonville    Florida         32202

                                                      Lease Agreement by and between GRI‐                                                                                                                 GRI‐EQY         c/o First
GRI‐EQY (Presidential                                 EQY (Presidential Markets) LLC and Party                                        1905 Scenic                                                         (Presidential   Washington 7200 Wisconsin
Markets) LLC                 Party City Corporation   City Corporation dated January 16, 2013                    102          $0.00   Highway            Suite 710     Snellville     GA            30078 Markets) LLC    Realty Inc. Avenue, Suite 600      Bethesda        Maryland        20814

                                                      Lease Agreement by and between                                                                                                                      Mansell
                                                      Mansell Crossing Retail LP and Party City                                       7011 North Point                                                    Crossing Retail c/oLivingsto
Mansell Crossing Retail LP   Party City Corporation   Corporation dated November 19, 2015                        292     $24,339.74   Parkway                            Alpharetta   GA            30022 LP              n Properties 1109 Russell Parkway Warner Robins Georgia            31088




                                                                                                                                                         Page 12 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 91 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                    Landlord Address
                                                                                                   Store Number /                                        Street                                                              Parent
       Counterparty           Debtor Counterparty           Description of Agreement                                Cure Amount    Street Address 1                    City                State   Zip        Landlord                     Street Address            City           State     Zip
                                                                                                     Property ID                                        Address 2                                                           Company
                                                                                                                                                                                                          Peach Retail
                                                     Lease Agreement by and between Peach                                                                                                                 Center LLC and
                                                     Retail Center, LLC and Robertco                                                                                                                      Robertco
Peach Retail Center LLC and                          Management, LLC and Party City                                                2900 Peachtree                                                         Management                    2900 Peachtree Road,
Robertco Management LLC Party City Corporation       Corporation dated December 23, 2010                      178          $0.00   Road NW             Suite 100E      Atlanta        GA            30305 LLC                           NW, Suite 201        Atlanta         Georgia           30305
                                                     Lease Agreement by and between Inland
                                                     Western Gainesville Village, L.L.C. and                                                                                                              Branch         Branch
Branch Gainesville                                   Party City Corporation dated March 30,                                        863 Dawsonville                                                        Gainesville    Properties,    3340 Peachtree Road,
Associates, LP              Party City Corporation   2012                                                     223          $0.00   Highway             Suite 710       Gainesville    GA            30501 Associates, LP LLC            NE, Suite 2775       Atlanta         Georgia           30326
                                                     Shopping Center Lease by and between
                                                     East Cobb Crossing, LLC and Party City of                                                                                                            East Cobb
East Cobb Crossing LLC      Party City Corporation   Atlanta, Inc. dated August 5, 2005                       239     $15,289.68   4281 Roswell Rd                     Marietta       GA            30062 Crossing LLC                  182 Hilderbrand Road Atlanta         Georgia           30328
                                                     Shopping Center Lease by and between
                                                     Faison‐Sofran Partnership No. II and Party
1500 Highway 20 West,                                City of Atlanta, Inc. dated December 20,                                      1554 HWY 20                                                            1500 Highway                  3350 Riverwood
LLLP                        Party City Corporation   2000                                                     829      $9,940.30   West                                McDonough      GA            30253 20 West, LLLP                 Parkway, Suite 1800   Atlanta        Georgia           30339
                                                     Lease Agreement by and between Perlis
                                                     Nease Canton, LLC and Party City                                              2243 Cumming                                                           Perlis Nease                  1220 East 16th
Perlis Nease Canton, LLC    Party City Corporation   Corporation dated April 28, 2017                         980          $0.00   Highway             Suite 120       Canton         GA            30115 Canton, LLC                   Avenue                Cordele        Georgia           31015
                                                     Lease by and between Fourth Quarter                                                                                                                                   c/o Kite
                                                     Properties XIV, LLC and Party City of                                                                                                                KRG Newnan       Realty       30 South Meridian
KRG Newnan Crossing LLC     Party City Corporation   Atlanta, Inc. dated May 9, 1999                          248          $0.00   553 Bullsboro Dr                    Newnan         GA            30265 Crossing LLC     Group        Street, Suite 1100    Indianapolis   Indiana           46204

                                                     Lease by and between Mall of Georgia                                                                                                                               c/o
                                                     Crossing LLC and Party City of Atlanta,                                       3205 Woodward                                                          MOG Crossing, Washington 111 Monument
MOG Crossing, LLC           Party City Corporation   Inc. dated April 24, 2003                                337      $3,911.63   Crossing Blvd                       Buford         GA            30519 LLC           Prime Group Circle, Suite 3500        Indianapolis   Indiana           46204
                                                     Shopping Center Lease by and between
                                                     Faison‐Sofran Partnership No. II and Party                                                                                                           NEIS
NEIS Acquisitions AUXGA                              City of Atlanta, Inc. dated December 20,                                      4666 Presidential                                                      Acquisitions    c/o Zachary   2885 Sanford Avenue
LLC                         Party City Corporation   2000                                                     289      $9,895.91   Pkwy                                Macon          GA            31206 AUXGA LLC       Zurich        SW, #25343          Grandville       Michigan          49418
                                                                                                                                                                                                                          c/o AR
                                                     Lease Agreement by and between EIG                                                                                                                   ARG             Global
                                                     Albany LLC and Party City Corporation                                         2709 Dawson                                                            ASALBGA001, Investments       650 5th Avenue, 30th
ARG ASALBGA001, LLC         Party City Corporation   dated March 19, 2013                                     863          $0.00   Road                Suite 2         Albany         GA            31707 LLC             , LLC         Floor                New York        New York          10019
                                                     Lease by and between Columbus Park                                                                                                                                   c/o AVR
                                                     Crossing, LLC and Party City of Atlanta,                                      5555 Whittlesey                                                        AVR CPC         Realty        One Executive
AVR CPC Associates, LLC     Party City Corporation   Inc. dated January 23, 2002                              310      $1,232.14   Blvd                          2400 Columbus        GA            31909 Associates, LLC Company       Boulevard, 4th Floor Yonkers         New York          10701
                                                     Lease by and between WRI Retail Pool I,                                                                                                                              c/o Kimco     500 North Broadway,
                                                     L.P. and Party City Corporation dated                                         4743‐A Ashford                                                         WRI Retail      Realty        Suite 201, P.O. Box
WRI Retail Pool I, L.P.     Party City Corporation   December 13, 2010                                        737     $16,605.92   Dunwoody Road                       Atlanta        GA            30338 Pool I, L.P.    Corporation   9010                 Jericho         New York          11753
                                                     Lease Agreement by and between EIG                                                                                                                   PROVEST
PROVEST ALTAMA VILLAGE,                              Altama Village, LLC and Party City                                            40 Altama Village                                                      ALTAMA
LLC                     Party City Corporation       Corporation dated September 9, 2013                      862          $0.00   Drive                               Brunswick      GA            31525 VILLAGE, LLC                  PO Box 515            Hudson         New York          12534
                                                                                                                                                                                                                          C/O
                                                     Lease Agreement by and between                                                                                                                                       RIVERCREST
                                                     Gwinnett Market Fair Owner, LLC and                                                                                                                  Duluth          REALTY
                                                     Party City Corporation dated November                                         3675 Satellite                                                         (Gwinnett) SSR ASSOCIATES
Duluth (Gwinnett) SSR LLC   Party City Corporation   19, 2010                                                 143     $26,008.47   Blvd                Suite 580       Duluth         GA            30096 LLC             LLC           8816 SIX FORKS RD     RALEIGH        North Carolina    27615
                                                     Lease by and between Augusta Exchange,
                                                     L.L.C. and Party City Corporation dated                                       249 Robert C                                                           AE Holdings I, c/o Select     400 Techne Center
AE Holdings I, LLC          Party City Corporation   October 29, 1997                                         619          $0.00   Daniel Jr Pkwy                      Augusta        GA            30909 LLC            Strategies     Drive, Suite 320      Cincinnati     Ohio              45150

                                                     Agreement of Lease by and between
                                                     Homart Development Co. and Party City                                                                                                                              c/o Site        3300 Enterprise
DDR Prado, LLC              Party City Corporation   of Atlanta, Inc. dated September 6, 1995                 159          $0.00   50 Barrett Pkwy     200A            Marietta       GA            30066 DT Prado, LLC Centers         Parkway               Beachwood      Ohio              44122
                                                     Lease Agreement between JDN Realty
                                                     Corporation and Party City of Atlanta, Inc.                                   1150 Market                                                            JDN Realty       c/o Site     3300 Enterprise
JDN Realty Corporation      Party City Corporation   dated March 22, 2000                                     264     $11,152.11   Place Blvd                          Cumming        GA            30041 Corporation      Centers      Parkway               Beachwood      Ohio              44122
                                                     Lease Agreement by and between USPG                                                                                                                  USPG
                                                     Portfolio Five, LLC and Party City                                            1892 Mount Zion                                                        PORTFOLIO                     3665 Fishinger
USPG PORTFOLIO FIVE, LLC Party City Corporation      Corporation dated February 1, 2013                       158      $8,599.18   Rd                                  Morrow         GA            30260 FIVE, LLC                     Boulevard             Hilliard       Ohio              43026
                                                     Lease by and between Fourth Quarter
DOUGLASVILLE PAVILION                                Properties XV, LLC and Party City of                                          2910 Chapel Hill                                                       DOUGLASVILLE                  2415 W ALABAMA
LLC                         Party City Corporation   Atlanta, Inc. dated November 30, 1997                    234     $10,468.66   Rd                                  Douglasville   GA            30135 PAVILION LLC                  STREET, SUITE 205     HOUSTON        Texas             77098




                                                                                                                                                       Page 13 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 92 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                          Property Address                                                                       Landlord Address
                                                                                                Store Number /                                       Street                                                                   Parent
       Counterparty           Debtor Counterparty           Description of Agreement                             Cure Amount    Street Address 1                   City                State       Zip         Landlord                   Street Address          City                State       Zip
                                                                                                  Property ID                                       Address 2                                                                Company
                                                                                                                                                                                                                           c/o
                                                                                                                                                                                                                           Cushman &
                                                                                                                                                                                                                           Wakefield
                                                     Lease Agreement by and between Collins                                                                                                                Thes Shops at Iowa
Thes Shops at Collins                                Square, LLC and Party City Corporation                                     1420 Twixt Town                                                            Collins Square, Commercial 3737 Woodland Ave., West Des
Square, LLC                 Party City Corporation   dated May 31, 2016                                  5151           $0.00   Rd                                 Marion        IA                  52302 LLC             Advisors   Suite 100             Moines             Iowa                50266

                                                     Lease Agreement by and between Jordan                                                                                                                 Jordan Creek
Jordan Creek Investments                             Creek Investments IX, LLC and Party City                                   6503 Mills Civic                   West Des                                Investments
IX, LLC                     Party City Corporation   Corporation dated October 31, 2013                    763          $0.00   Pkwy                               Moines        IA                  50266 IX, LLC                       2540 73rd Street      Urbandale       Iowa                50322
                                                     Shopping Center Lease between DLE
                                                     Seven, L.L.C. and Factory Card Outlet of                                   2010 SE Delaware Delaware                                                  DLE Seven,                    2401 S.E. Tones
DLE Seven, L.L.C.           Party City Corporation   America, LTD. dated July 23, 2004                   5329      $12,515.10   Ave Ste 214      Centre Ii         Ankeny        IA                  50021 L.L.C.                        Drive, P.O. Box 187   Ankeny          Iowa                50021

                                                     Shopping Center Lease by and between
                                                     Ryan Construction Company of
                                                     Minnesota, Inc. and Factory Card Outlet                                                                                                               Agree Realty
Agree Realty Corporation    Party City Corporation   of America, LTD. dated April 26, 1996               5203       $9,916.98   5255 Elmore Ave                    Davenport     IA                  52807 Corporation                   720 E Long Lake Road Bloomfield Hills MI                  48304
                                                     Lease Agreement by and between Legacy                                      3271
                                                     CB, LLC and Party City Corporation dated                                   Marketplace                                                                               c/o RED
Legacy CB, LLC              Party City Corporation   March 15, 2010                                        907     $18,761.23   Drive           Suite A‐7          Council Bluffs IA                 51501 Legacy CB, LLC Legacy, LLC 4717 Central             Kansas City     Missouri            64112
                                                                                                                                                                                                           Terveen
                                                                                                                                                                                                           Manufactured
Terveen Manufactured                                 Shopping Center Lease between Lakeport                                                      Lakeport                                                  Homes, LLC
Homes, LLC and SJ Terveen,                           Commons, LLC and Factory Card Outlet of                                    5001 Sergeant Rd Commons                                                   and SJ
LLC                        Party City Corporation    America, LTD. Dated January 31, 2005                5334           $0.00   Ste 70           S/C               Sioux City    IA                  51106 Terveen, LLC               P.O. Box 88621           Sioux Falls     South Dakota        57109
                                                                                                                                                                                                                          c/o
                                                     Lease Agreement by and between 22nd                                                                                                                                  Downtown
                                                     Street Plaza 837, LLC and Party City                                       17W740 22nd                        Oakbrook                                Rio Grande     Managemen 541 S Spring Street,
Rio Grande Investment Inc   Party City Corporation   Corporation dated June 22, 2016                       584          $0.00   Street                             Terrace       IL                  60181 Investment Inc t           Suite 240                Los Angeles     California          90013
                                                     Lease Agreement by and between Shane
                                                     Stratford, LLC, Shane University, LLC,
                                                     NMC Stratford, LLC and Chino Stratford,                                                                                                                              c/o New
                                                     LLC and Party City Corporation dated May                                   152 S. Gary                                                                NMC Stratford, Mark Merrill 5850 Canoga Ave,
NMC Stratford, LLC, et el   Party City Corporation   29, 2012                                            5105           $0.00   Avenue                             Bloomingdale IL                   60108 LLC, et el     Companies Suite 650                  Woodland Hills California           91367

                                                     Lease between Winston Plaza Associates                                                                                                                NMC Grove         c/o New
NMC Grove Melrose, LLC, et                           and Factory Card Outlet of America, Ltd.                                                                                                              Melrose, LLC,     Mark Merrill 5850 Canoga Ave,
el                         Party City Corporation    Dated August 7, 1996                                5207           $0.00   1222 Winston Plz                   Melrose Park IL                   60160 et el             Companies Suite 650               Woodland Hills California           91367
                                                     Shopping Center Lease by and between
                                                     First Washington Realty Limited                                                                                                                       FW IL‐
FW IL‐ Riverside/Rivers                              Partnership and Party City Corporation                                                                                                                Riverside/River             One Independent
Edge, LLC                   Party City Corporation   dated June 30, 1998                                   664     $26,721.79   1514 W 33rd St     Units 3‐9       Chicago       IL                  60608 s Edge, LLC                 Suite 114            Jacksonville       Florida             32202
                                                                                                                                                                                                                           c/o Bonnie
                                                     Lease Agreement by and between Marc                                                                                                                   Marc Naperw Managemen
Marc Naperw LLC & Naperw                             Naperw LLC & Naperw, LLC and Party City                                                                                                               LLC & Naperw t              1350 E. Touhy
LLC                      Party City Corporation      Corporation dated August 18, 2022                  5137R           $0.00   576 S Route 59                     Naperville    IL            60540       LLC             Corporation Avenue, Suite 360E Des Plaines          Illinois            60018
                                                                                                                                                                                                                           c/o
                                                                                                                                                                                                                           Concordia
                                                     Retail Lease by and between Cermak                                                                                                                                    Realty
Cermak Plaza Associates,                             Plaza Associates and Party City                                            7123 Cermak Rd                                                             Cermak Plaza Managemen
LLC                         Party City Corporation   Corporation dated February 4, 1998                    629          $0.00   Plaza                              Berwyn        IL                  60402 Associates, LLC t, Inc.     1010 Jorie Boulevard Oak BRook          Illinois            60523
                                                     Lease Agreement by and between OTR,
                                                     an Ohio General Partnership Acting as
                                                     the Duly Authorized Nominee of the
                                                     Board of the State Teachers Retirement                                                                                                                              c/o
                                                     System of Ohio and Party City                                              5651 W. Touhy                                                              DDRTC Village Fairbourne      200 S. Michigan
DDRTC Village Crossing LLC Party City Corporation    Corporation dated August 13, 2012                      15          $0.00   Avenue                             Niles         IL                  60714 Crossing LLC  Properties      Avenue, Suite 400     Chicago         Illinois       60604‐2411

                                                                                                                                                                                                                             c/o
                                                     Lease Agreement by and between KRC                                                                                                                    WC MRP            Frontline
WC MRP Calumet Center,                               Calumet City 836, Inc. and Party City                                      450 River Oaks                                                             Calumet           Real Estate
LLC                         Party City Corporation   Corporation dated June 23, 2011                       532          $0.00   West                               Calumet City IL                   60409 Center, LLC       Partners LLC 477 Elm Place        Highland Park   Illinois            60035




                                                                                                                                                   Page 14 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 93 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                      Landlord Address
                                                                                                  Store Number /                                        Street                                                                 Parent
       Counterparty           Debtor Counterparty             Description of Agreement                             Cure Amount    Street Address 1                    City                State   Zip        Landlord                       Street Address            City         State   Zip
                                                                                                    Property ID                                        Address 2                                                             Company
                                                      Amended and Restated Lease between                                                                                                                                   c/o Horizon
                                                      American National Bank and Trust                                                                                                                                     Realty
                                                      Company of Chicago and Party City                                           3417 N Western                                                         3415 N.           Services,     1540 E. Dundee Road,
3415 N. Western LLC         Party City Corporation    Corporation dated August 27, 1997                      171          $0.00   Ave                                 Chicago        IL            60618 Western LLC       Inc.          Suite 240            Palatine       Illinois       60074
                                                                                                                                                                                                                           c/o Horizon
                                                      Lease by and between Washington                                                                                                                                      Realty
Norcor Cicero Associates,                             National Insurance Company and Party                                                                                                               Norcor Cicero     Services,     1540 E. Dundee Road,
LLC                         Party City Corporation    City Corporation dated June 29, 1994                   505      $6,300.79   8141 S Cicero Ave                   Chicago        IL            60652 Associates, LLC   Inc.          Suite 240            Palatine       Illinois       60074
                                                      Lease Agreement by and between                                                                                                                                       c/o Mid‐
                                                      Northbrook Sub, LLC, Northbrook VNBP,                                                                                                              Village Square    America
Village Square of                                     LLC and Northbrook PLIC, LLC and Party                                                                                                             of Northbrook     Asset
Northbrook Principal RE                               City Corporation dated September 30,                                                                                                               Principal RE      Managemen     One Parkview Plaza,   Oakbrook
Investors, LLC              Party City Corporation    2014                                                   168        $760.00   307 Skokie Blvd                     Northbrook     IL            60062 Investors, LLC    t, Inc.       9th Floor             Terrace       Illinois       60181
                                                                                                                                                                                                                           c/o Mid‐
                                                                                                                                                                                                                           America
                                                      Lease Agreement by and between                                                                                                                     Mansfield         Asset
                                                      Fullerton Plaza, L.L.C. and Party City                                      1755 W Fullerton                                                       Investments,      Managemen     One Parkview Plaza,   Oakbrook
Mansfield Investments, LLC Party City Corporation     Corporation dated May 29, 1998                         650          $0.00   Ave                                 Chicago        IL            60614 LLC               t, Inc.       9th Floor             Terrace       Illinois       60181
                                                                                                                                                                                                                           c/o Mid‐
                                                      Lease Agreement by and between JDK                                                                                                                                   America
                                                      Townline LLC/Overlook Townline LLC and                                                                                                             JDK Townline      Asset
JDK Townline LLC /Overlook                            Party City Corporation dated May 31,                                        555 East                                                               LLC /Overlook     Managemen     One Parkview Plaza,   Oakbrook
Townline LLC               Party City Corporation     2011                                                 5210           $0.00   Townline Road                       Vernon Hills   IL            60061 Townline LLC      t, Inc.       9th Floor             Terrace       Illinois       60181
                                                      Lease Agreement by and between Inland                                                                                                                                c/o Pine
                                                      Commercial Property Management Inc.                                                                                                                                  Tree
                                                      and Party City Corporation dated March                                      2019 N Prospect Baytowne                                               IRC Baytowne      Commercial    814 Commerce Drive,
IRC Baytowne Square, LLC    Party City Corporation    30, 2011                                             5190       $9,497.13   Ave             Sq                  Champaign      IL            61822 Square, LLC       Realty LLC    Ste. 300            Oak Brook       Illinois       60523
                                                      Lease by and between 9503 North                                                                                                                                      c/o Pine
                                                      Milwaukee Avenue Shopping Center and                                                                                                                                 Tree
                                                      Factory Card Outlet of America Ltd. dated                                   9471 N              Four Flags                                         IRC Four          Commercial    814 Commerce Drive,
IRC Four Flaggs, L.L.C.     Party City Corporation    June 10, 1997                                        5266           $0.00   Milwaukee Ave       S/C             Niles          IL            60714 Flaggs, L.L.C.    Realty LLC    Suite 300           Oak Brook       Illinois       60523
                                                      Lease Agreement by and between                                                                                                                                       c/o Pine
                                                      Dalan/Geneva L.L.C. and Factory Card                                                                                                               IN Retail Fund    Tree
IN Retail Fund Randall                                Outlet of America, Ltd., dated September                                                      Randell                                              Randall           Commercial    814 Commerce Drive,
Square, L.L.C.              Party City Corporation    10, 1997                                             5295      $12,739.22   1548 S Randall Rd Square S/C        Geneva         IL            60134 Square, L.L.C.    Realty LLC    Suite 300           Oak Brook       Illinois       60523
                                                                                                                                                                                                                           c/o Pine
                                                      Lease Agreement by and between BMD                                                                                                                                   Tree
                                                      Crystal Lake, LLC and Party City                                            5360 Northwest                                                         Agree Limited     Commercial    814 Commerce Drive,
Agree Limited Partnership   Party City Corporation    Corporation dated February 1, 2016                   5331      $10,138.30   Highway                             Crystal Lake   IL            60014 Partnership       Realty LLC    Ste. 300            Oak Brook       Illinois       60523
                                                                                                                                                                                                         TNG Mokena,
                                                                                                                                                                                                         LP, Niki          c/o Pine
TNG Mokena, LP, Niki                                  Lease Agreement by and between                                                                                                                     Holdings, LP,     Tree      814 Commerce Drive,
Holdings, LP, NG21, LP, and                           Mokena Retail Associates, LLC and Party                                     11375 Lincoln                                                          NG21, LP, and     Commmerci Suite 300, Attn:
TNG ES, LLC                 Party City Corporation    City Corporation dated March 23, 2012                  817      $8,870.01   Hwy                                 Mokena         IL            60448 TNG ES, LLC       al Realty General Counsel     Oak Brook           Illinois       60523
                                                      Lease Agreement by and between Otter
                                                      Creek Shopping Center, LLC and Party                                                                                                               Otter Creek       c/o Prodigy
Otter Creek Shopping                                  City Corporation dated November 26,                                                                                                                Shopping          Real Estate 700 Commerce Drive,
Center LLC                  Party City Corporation    2015                                                   932          $0.00   214 S Randall Rd                    Elgin          IL            60123 Center LLC        LLC         Suite 500           Oak Brook         Illinois       60523

                                                      Lease Agreement by and between
                                                      Marketplace of Rockford, LLC and Party                                                                                                             Marketplace of c/o Sidcor       950 N Western Ave
Marketplace of Rockford     Party City Corporation    Ctiy Corporation dated January 31, 2017                569     $10,268.17   5836 E State St                     Rockford       IL            61108 Rockford       RE               #2                    Lake Forest   Illinois       60045
                                                      Lease Agreement by and between
                                                      Fidelity Development Group, Inc. and                                                                                                               Village Square c/o The
Village Square Retail Center                          Party City Corporation dated October 11,                                                                                                           Retail Center Fidelity
LLC                          Party City Corporation   2001                                                   433          $0.00   795 W Il Route 22                   Lake Zurich    IL            60047 LLC            Group, Ltd. 745 Ela Road               Lake Zurich   Illinois       60047

                                                      Lease Agreement by and between Park                                                                                                                Park Pointe     c/o The
Park Pointe Plaza                                     Pointe Plaza Associates and Party City                                      14906 S La                                                             Plaza           Fidelity
Associates, LLC             Party City Corporation    Corporation dated September 12, 2002                   482          $0.00   Grange Rd                           Orland Park    IL            60462 Associates, LLC Group, Ltd. 745 Ela Road              Lake Zurich   Illinois       60047




                                                                                                                                                      Page 15 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 94 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                    Landlord Address
                                                                                                 Store Number /                                        Street                                                            Parent
       Counterparty           Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City              State   Zip        Landlord                      Street Address              City          State       Zip
                                                                                                   Property ID                                        Address 2                                                         Company
                                                     Lease by and between Commerce Bank
                                                     f/k/a The Peoples Bank, as Trustee under
                                                     McLean County Land Trst No. PB‐80, an                                                                                                            Tentac
                                                     Illinois Land Trust and Park City                                           401 N Veterans                                                       Commercial
Tentac Enterprises          Party City Corporation   Corporation dated June 30, 1997                        601          $0.00   Pkwy               Unit 1          Bloomington IL              61704 Rentals, LLC                   1 Brickyard Drive     Bloomington     Illinois            61704
                                                     Lease Agreement by and between
                                                     Midtown Plaza, LLC and Party City                                           5001 N. Big                                                          Midtown                        5001 N. University
Midtown Plaza, LLC          Party City Corporation   Corporation dated August 2, 2019                     5229       $9,234.20   Hollow Road                        Peoria        IL            61615 Plaza, LLC                     Street                Peoria          Illinois            61614
                                                     Direct Lease by and between Robin
                                                     Realty Management Company, as agent
                                                     for Golf Rose Shopping Center and                                                                                                                Robin Realty &
Robin Realty &                                       Factory Card Outlet of America, Ltd.,                                       10 Golf Ctr Ste    Golf Rose       Hoffman                           Management                     1333 North Wells
Management Company          Party City Corporation   dated November 9, 2009                               5256      $30,317.17   194                Ctr             Estates       IL            60169 Company                        Street                Chicago         Illinois            60610
                                                     Lease by and between Amerian National
                                                     Bank Trust No. 121451‐08 and Factory                                                                                                             Shiner
Shiner Management Group,                             Card Outlet of America, Ltd. Dated                                          6675 Grand Ave     Stonebrook                                        Management                     3201 Old Glenview
Inc.                     Party City Corporation      December 30, 1997                                    5283           $0.00   Ste B              Commons Gurnee                IL            60031 Group, Inc.                    Road, Suite 301       Wilmette        Illinois            60091
                                                     Lease Agreement by and between RPAI                                                                                                              KRG Chicago      c/o Kite
KRG Chicago Brickyard                                Chicago Brickyard, L.L.C. and Party City                                    2554 N                                                               Brickyard        Realty        30 South Meridian
L.L.C.                      Party City Corporation   Corporation dated December 31, 2015                  5117      $21,460.46   Narragansett                       Chicago       IL            60639 L.L.C.           Group         Street, Suite 1100    Indianapolis    Indiana             46204
                                                     Lease Agreement by and between
                                                     Oswego Partners LLC and Party City                                                                                                               Oswego                         1055 Eagle Ridge
Oswego Partners LLC         Party City Corporation   Corporation dated May 16, 2022                       477R           $0.00   2406 US 34                         Oswego        IL            60543 Partners LLC                   Drive                 Schererville    Indiana             46375
                                                     Lase Agreement by and between Carroll
                                                     W. Rogers and Party City Corporation                                        3329 S Veterans                                                      The Bosworth
The Bosworth Group LLC      Party City Corporation   dated July 24, 2015                                  5209           $0.00   Pkwy                               Springfield   IL            62704 Group LLC                      3 Old e Fort Road     Cape Elizabeth Maine                 4107
                                                     Lease Agreement between Gary S.
                                                     Holmes and Factory Card Outlet of                                                                                                                CSM Family       c/o CSM       500 Washington Ave
CSM Family Holdings, L.L.C. Party City Corporation   America Ltd. dated November 25, 1992                 5139           $0.00   4371 16th St                       Moline        IL            61265 Holdings, L.L.C. Corporation   S, Suite 3000      Minneapolis        Minnesota      55415‐1151
                                                     Lease Agreement by and between Big                                                                                                               Novus
Novus Crestwood Sam's,                               Red, LLC and Party City Corporation                                         10845 Lincoln                      Fairview                          Crestwood                      20 Allen Ave, Suite
LLC                         Party City Corporation   dated July 15, 2010                                  5162           $0.00   Trail                              Heights       IL            62208 Sam's, LLC                     400                   Webster Groves Missouri             63119

                                                     Lease by and between Rubloff Oakridge                                                        Woodscreek                                          B33
B33 Woodscreek Commons                               Algonquin, L.L.C. and Factory Card Outlet                                                    Shopping                                            Woodscreek c/o Bridge33 4001 S. Decatur Blvd.,
LLC                    Party City Corporation        of America, Ltd., dated March 3, 2003                5318       $1,048.10   704 S Randall Rd Ctr        Algonquin            IL            60102 Commons LLC Capital     Suite 6                Las Vegas             Nevada              89103
                                                                                                                                                                                                                    c/o First
                                                     Lease Agreement by and between Inland                                                                                                                          National
                                                     Maple Park Place, L.L.C. and Park City                                      257 N. Weber                                                         Maple Park SC Realty    151 Bodman Place,
Maple Park SC LLC           Party City Corporation   Corporation dated November 14, 2014                    432     $16,763.89   Road                               Bolingbrook   IL            60490 LLC           Partners  Suite 201              Red Bank              New Jersey           7701

                                                     Lease Agreement by and between New                                                                                                               New Plan of    c/o Brixmor
New Plan of Arlington                                Plan of Arlington Heights, LLC and Party                                                                       Arlington                         Arlington      Property        450 Lexington
Heights, LLC                Party City Corporation   City Corporation dated July 29, 2011                   196     $23,419.57   111 W Rand Rd                      Heights       IL            60004 Heights, LLC   Group           Avenue, 13th Floor    New York        New York            10017
                                                     Lease Agreement by and between                                                                                                                                  c/o Brixmor
                                                     Brixmor SPE 3, LLC and Party City                                           13220 S. Cicero                                                      Brixmor SPE 3, Property        450 Lexington
Brixmor SPE 3, LLC          Party City Corporation   Corporation dated March 21, 2012                       820     $54,125.15   Ave.                               Crestwood     IL            60418 LLC            Group           Avenue, 13th Floor    New York        New York            10017
                                                                                                                                                                                                                     C/O Viking
                                                     Lease Agreement by and between KRCV                                                                                                                             Partners
                                                     Corp. and Party City Corporation dated                                                                         Downers                           Viking DPP     Asset Mgmt      240 Madison Avenue,
Viking DPP Holdings LLC     Party City Corporation   December 28, 2011                                      144     $11,895.07   1140 75th St                       Grove         IL            60516 Holdings LLC LLC               Suite 701           New York          New York            10016
                                                     Lease by and between Lagrange
                                                     Development Company Limited                                                                    Coutntrysid                                       Plaza at         c/o
                                                     Partnership and Factory Card Outlet of                                      102 Countryside    e S/C                                             Countryside      Washington 180 E. Broad Street,
Plaza at Countryside LLC    Party City Corporation   America, Ltd., dated April 21, 1993                  5119           $0.00   Plz                Sp.A2&3     Countryside       IL            60525 LLC              Prime Group 21st Floor              Columbus        Ohio                43215
                                                     Lease by and between The Prudential
                                                     Insurance Company of America and POD                                                                                                             Danada Square
Danada Square West                                   Enterprises, Inc. d/b/a Party City of                                                                                                            West Shopping c/o CBRE,        2100 McKinney
Shopping Center, LLC        Party City Corporation   Wheaton dated April 21, 1997                           197          $0.00   116 Danada Sq W                    Wheaton       IL            60189 Center, LLC   Inc.             Avenue, Suite 800     Dallas          Texas               75201
                                                     Lease Agreement by and between Inland                                                                                                                          c/o
                                                     Commercial Property Management, Inc.                                                                                                                           Berengaria
                                                     and Party City Corporation dated                                                               Louis Joliet                                      BMA Joliet    Developmen       301 North Broadway,
BMA Joliet Commons, LLC     Party City Corporation   September 10, 2010                                   5113           $0.00   2661 Plainfield Rd Pointe          Joliet        IL            60435 Commons, LLC t LLC             Suite 300           Milwaukee         Wisconsin           60523




                                                                                                                                                    Page 16 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 95 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                          Property Address                                                                        Landlord Address
                                                                                                Store Number /                                       Street                                                                     Parent
       Counterparty          Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                   City                State      Zip            Landlord                  Street Address          City                 State   Zip
                                                                                                  Property ID                                       Address 2                                                                  Company
                                                                                                                                                                                                                             c/o
                                                                                                                                                                                                                             American
                                                                                                                                                                                                                             Asset
                                                    Lease Agreement by and between                                                                                                                            Market Place   Managemen
Market Place Valparaiso,                            Marketplace Valparaiso, L.L.C. and Party                                    2410 Laporte                                                                  Valparaiso,    t Service 4711 W. Golf Road,
L.L.C.                     Party City Corporation   City Corporation dated July 21, 2022                 822R           $0.00   Ave, Suite 150                     Valparaiso     IN           46383          L.L.C.         Corp.     Suite 1000            Skokie              Illinois        60076
                                                    Lease Agreement by and between
                                                    Coldwater Development Company LLC                                                                                                                        Coldwater      c/o Sandor      10689 N
Coldwater Development                               and Party City Corporation dated March                                      283 East                                                                     Development Developmen         Pennsylvannia St,
Company, LLC               Party City Corporation   15, 2010                                             5150      $11,805.25   Coliseum Blvd                      Fort Wayne     IN                   46805 Company, LLC t                 Suite 100             Indianapolis   Indiana         46280
                                                                                                                                                                                                                            c/o
                                                    Lease by and between Centre North, LLC                                                                                                                   Centre North, Singleton
Centre North, LLC          Party City Corporation   and Party City, Inc. dated May 7, 1997                 589          $0.00   8600 E 96th St                     Fishers        IN                   46037 LLC            Companies       115 West 8th Street   Anderson       Indiana         46016
                                                                                                                                                                                                                            c/o
                                                    Lease by and between Centre East, LLC                                       10537 E                                                                      Centre East,   Singleton
Centre East, LLC           Party City Corporation   and Party City, Inc. dated May 8 1997                  583          $0.00   Washington St      Suite I         Indianapolis   IN                   46229 LLC            Companies       115 West 8th Street   Anderson       Indiana         46016
                                                    Lease by and between G.B. Evansville                                                                                                                     Lloyd Crossing
Lloyd Crossing Shopping                             Developers LLC and Party City                                               311 N Burkhardt                                                              Shopping                       350 Massachusetts
Center, LLC                Party City Corporation   Corporation August 20, 1997                            587     $11,158.13   Rd                                 Evansville     IN                   47715 Center, LLC                    Avenue, Suite 400     Indianapolis   Indiana         46204
                                                    Lease Agreement by and between                                                                                                                           Clark Station
Clark Station Shopping                              Dancor, LLC and Party City Corporation                                      305 Lewis and                                                                Shopping                       4201 Springhurst
Center, LLC                Party City Corporation   dated September 29, 2010                             5178           $0.00   Clark Parkway      Suite 241       Clarksville    IN                   47129 Center, LLC                    Blvd., Suite 202      Louisville     Kentucky        40241
                                                                                                                                                                                                                            c/o AR
                                                    Lease Agreement by and between Inland                                                                                                                    ARG            Global
                                                    Western Columbus Clifty, L.L.C. and Party                                   1171 N National                                                              MCCOLIN001, Investments        650 Fifth Avenue,
ARG MCCOLIN001, LLC        Party City Corporation   City Corporation dated January 10, 2012                813          $0.00   Avenue             Suite 14        Columbus       IN                   47201 LLC            , LLC           30th Floor            New York       New York        10019
                                                    Lease Agreement by and between Kimco
                                                    Lafayette 671, Inc. and Party City                                          311 Sagamore                                                                 Sagamor TOV
Sagamor TOV LLC            Party City Corporation   Corporation dated March 30, 2012                     5198           $0.00   Pkwy N             Suite 16        Lafayette      IN                   47904 LLC                            PO Box 191116         Brooklyn       New York        11219
                                                    Lease Agreement by and between Equity
                                                    Property and Development Company and
                                                    Facotry Card Outlet of America, Ltd.,                                                          Indian Ridge                                              ST Indian Ridge c/o Chase      3333 Richmond Road,
ST Indian Ridge LLC        Party City Corporation   dated August 27, 1992                                5135      $11,609.26   5816 Grape Rd      S/C          Mishawaka         IN                   46545 LLC             Properties     Suite 320           Beachwood        Ohio            44122
                                                                                                                                                                                                                             c/o
                                                                                                                                                                                                                             Schottenstei
                                                    Lease by and between Jubilee Limited                                                                                                                                     n
                                                    Partnership and Party City Corporation                                                                                                                   Crossing At     Managemen
Crossing At Hobart‐I LLC   Party City Corporation   dated June 4, 1997                                     574          $0.00   2565 E 80th Ave                    Merrillville   IN                   46410 Hobart‐I LLC    t              4300 East 5th Avenue Columbus        Ohio            43219
                                                    Indenture of Lease by and between Opus                                                                                                                   DDRM
                                                    North Corporation and Factory Card                                          10229             Highland                                                   Highland        c/o Site       3300 Enterprise
DDRM Highland Grove LLC    Party City Corporation   Outlet Ltd., dated June 29, 1995                     5199           $0.00   Indianapolis Blvd Grove            Highland       IN                   46322 Grove LLC       Centers        Parkway               Beachwood      Ohio            44122
                                                    Lease Agreement by and between Viking                                                                                                                    S‐I Muncie      c/o Streak     Arbor Park Offices,
S‐I Muncie Investment                               Partners Muncie, LLC and Party City                                         800 E McGalliard                                                             Investment      Investments    6240 SOM Center
Partners I, LLC            Party City Corporation   Corporation August 10, 2012                          5276           $0.00   Rd               Suite A           Muncie         IN                   47303 Partners I, LLC , LLC          Road, #210            Solon          Ohio            44139
                                                    Lese Agreement by and between NMR
                                                    LLC and Party City Corporation dated                                        3622 Bethany                                                                                 c/o The Russ 635 W. 7th Street,
NMR, LLC                   Party City Corporation   February 7, 2013                                     5149           $0.00   Road                               Indianapolis   IN                   46268 NMR, LLC        Group, Inc. Suite 310                Cincinnati     Ohio            45203

                                                    Lese by and between Village Park Plaza,                                                                                                                                  c/o
                                                    LLC and Party City Corporation dated May                                    2009 East                                                                    Village Park    Washington 180 E. Broad Street,
Village Park Plaza, LLC    Party City Corporation   20, 2021                                               673          $0.00   Greyhound Pass     Suite D08A      Carmel         IN                   46032 Plaza, LLC      Prime Group Floor 20                 Columbus       Ohio            43215

                                                    Lease by and between Markland Mall, LC                                                                                                                                  c/o
                                                    and Party City Corporation dated                                            1371 S. Reed                                                                 Markland Mall, Washington
Markland Mall, LLC         Party City Corporation   November 29, 2017                                    5326           $0.00   Road                               Kokomo         IN                   46902 LLC            Prime Group 180 E Broad Street        Columbus       Ohio            43215
                                                    Lease by and between Third Street                                                                                                                        Hauck
                                                    Bloomington Limited Partnership and                                                                                                                      Holdings
Hauck Holdings                                      Factory Card Outlet of America dated                                                                                                                     Bloomington,               4334 Glendale‐
Bloomington, LLC           Party City Corporation   August 4, 1995                                       5185       $8,759.52   2817 E 3rd St                      Bloomington IN                      47401 LLC                        Milford Road              Cincinnati     Ohio            45242
                                                    Lease Agreement by and between Aviana
                                                    Company Ltd. and Party City Corporation                                     10123 US Route                                                               Aviana                         27500 Detroit Road,
Aviana Company LTD.        Party City Corporation   dated Febrary 18, 2016                               5321           $0.00   36                                 Avon           IN                   46123 Company LTD.                   Suite 300             Westlake       Ohio            44145




                                                                                                                                                   Page 17 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 96 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                   Landlord Address
                                                                                                    Store Number /                                       Street                                                              Parent
        Counterparty           Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                   City              State   Zip        Landlord                      Street Address            City            State   Zip
                                                                                                      Property ID                                       Address 2                                                           Company
                                                       Lease Agreement by and between OM                                                                                                                OM
                                                       Enterprises, L.L.C. and Party City                                           6866 W Kellogg                                                      Enterprises,       c/o Rekha P.
OM Enterprises, L.L.C.       Party City Corporation    Corporation dated December 14, 2015                     937          $0.00   Dr                                 Wichita      KS            67209 L.L.C.             Reddi        14008 Outlook Street Overland Park   Kansas          66223
                                                       Lease Agreement by and between S.LV.
                                                       Inc. and Party City Corporation dated                                                                           Overland                                            c/o Rekha P.
S.L.V. Inc.                  Party City Corporation    December 14, 2015                                       938          $0.00   8400 W 135th St                    Park         KS            66223 S.L.V. Inc.        Reddi        14008 Outlook Street Overland Park   Kansas          66223
                                                                                                                                                                                                        Rekha P.
                                                                                                                                                                                                        Reddi, trustee
                                                       Lease Agreement by and between Rekha                                                                                                             of the
                                                       P. Reddi, Trustee of the Raghunath P.                                                                                                            Raghunath P.
Rekha P. Reddi, trustee of                             Reddi Descendants' Trust U/T/A Dated                                                                                                             Reddi
the Raghunath P. Reddi                                 December 13, 2012 and Party City                                                                                                                 descendants
descendants Trust            Party City Corporation    Corporation dated December 14, 2015                     936          $0.00   3411 N Rock Rd     Suite 100       Wichita      KS            67226 Trust                          14008 Outlook Street Overland Park    Kansas          66223
                                                       Lease Agreement by and between Stubbs
                                                       Real Estate, LLC and Party City                                              2010 S.W.                                                                                     3501 SW Fairlawn
BCPB LC                      Party City Corporation    Corporation dated May 20, 2019                        1190           $0.00   Westport Drive                     Topeka       KS            66604 BCPB LC                   Road, Suite 200            Topeka          Kansas          66614
                                                       Lese by and between Merriam Town                                                                                                                                C/O The RH
                                                       Center Ltd. And Party City Corporation                                                                                                           DDR Merriam Johnson
DDR Merriam Village LLC      Party City Corporation    dated June 18, 1997                                     939     $12,681.38   5808 Antioch Rd                    Merriam      KS            66202 Village LLC    Company    4520 Madison Ave           Kansas City     Missouri        64111
                                                                                                                                                                                                                       c/o Core
                                                       Lese by and between Fourth Quarter                                                                                                                              Property
                                                       Properties VII, Inc. and Party City                                          2172 Sir Barton                                                     HAP Property Managemen 410 Peachtree
HAP Property Owner, LP       Party City Corporation    Corporation dated September 29, 1997                    618          $0.00   Way                                Lexington    KY            40509 Owner, LP      t, LLC     Parkway, Suite 4165        Cumming         Georgia         30041
                                                       Lease Agreement by and between Carney                                                                                                            Carney
                                                       Bowling Green, LLC and Party City                                            1865 Campbell                      Bowling                          Bowling Green,            4500 Bowling Blvd.,
Carney Bowling Green, LLC Party City Corporation       Corporation dated July 21, 2014                         905          $0.00   Lane Suite 300                     Green        KY            42104 LLC                       Suite 250                  Louisville      Kentucky        40207
                                                       Shopping Center Lease between
                                                       Kentuckiana Development, LLC and                                                                                                                 Compass
Compass Capital Retail                                 Factory Card Outlet of America, LTD.,                                        10230 Westport                                                      Capital Retail
Partners II, LLC             Party City Corporation    dated July 30, 2007                                   5346           $0.00   Rd                                 Louisville   KY            40241 Partners II, LLC          131 Kentucky Avenue Lexington              Kentucky        40502
                                                       Lese between Fayette Place                                                                                                                                     c/o DLC
                                                       Improvements LP and Factory Card                                                                                                                 Fayette Place Managemen
Fayette Place                                          Outlet of America, Ltd., dated June 29,                                      127 W Tiverton                                                      Improvements t
Improvements Owner LLC       Party City Corporation    2004                                                    891     $12,146.25   Way                Suite 120       Lexington    KY            40503 Owner LLC     Corporation 565 Taxter Road     Elmsford               New York        10523
                                                       Lease by and between PFL Life Insurance
                                                       Company, Bankes United Life Assurance
                                                       Company, and Life Investors Insurance
                                                       Company of America and Factory Card                                                                                                                             c/o Kimco       500 North Broadway,
                                                       Outlet of America, Ltd., dated December                                                      Festival @                                          Kimco Realty   Realty          Suite 201, P.O. Box
Kimco Realty Corporation     Party City Corporation    16, 1997                                              5281      $13,312.21   4631 Outer Loop Jefferson Ct Louisville         KY            40219 Corporation    Corporation     9010                Jericho           New York        11753
                                                                                                                                                                                                                       c/o CG
                                                       Lease between Adele Sutton Trusts and                                                                                                                           Commercial
                                                       Factory Card Outlet of America, Ltd.,                                        4048 Taylorsville Hikes Point                                       Adele Sutton Real Estate,
Adele Sutton Trusts          Party City Corporation    dated August 8, 1994                                  5155       $2,995.00   Rd                Plaza       Louisville        KY            40220 Trusts         Inc.            PO Box 43785          Louisville      Kentucky        40253
                                                       Lease Agreement by and between R                                                                                                                                c/o Gulf
                                                       Owensboro LLC and Party City                                                 3430 Villa Point                                                                   Stream
M3 Girls, LLC                Party City Corporation    Corporation dated February 20, 2014                   5204           $0.00   Drive                              Owensboro    KY            42303 M3 Girls, LLC Commercial       2960 Fairview Drive   Owensboro       NY              42303
                                                       Lezase Agreement by and between VM                                                                                                               Village at the c/o Neyer
Village at the Mall Holdings,                          GFP, LLC & VM MSSP, LLC and Party City                                                                                                           Mall Holdings, Managemen       3927 Brotherton
LLC                           Party City Corporation   Corporation dated March 24, 2010                      5179           $0.00   7646 Mall Rd                       Florence     KY            41042 LLC            t               Road Suite 200        Cincinnati      Ohio            45209

                                                                                                                                                                                                        Inland
                                                       Lease Agreement by nd between KRG                                                                                                                Commercial       c/o Inland
Inland Commercial Real                                 Shreveport Regal Court, LLC and Party                                        7547 Youree                                                         Real Estate      Commerical
Estate Services, L.L.C.      Party City Corporation    City Corporation dated January 8, 2015                  656          $0.00   Drive                              Shreveport   LA            71105 Services, L.L.C. Real Estate 2901 Butterfield Road Oakbrook          Illinois        60523
                                                       Shopping Center Lease between All State
                                                       Financial Companies and Party City of                                                                                                            All State                     321 Veterans
                                                       New Orleans, #2, L.L.C. dated February 7,                                    1600 West Bank                                                      Financial          C/O Wainer Memorial Boulevard,
All State Financial Company Party City Corporation     2012                                                  1043      $22,625.60   Expressway         Suite A         Harvey       LA            70058 Company            Companies Suite 201            Metairie           Louisiana       70005
                                                       Net Commercial Lease Agreement by and
                                                       between ULFERS Development, LLC and                                                                                                              Ulfers
                                                       Party City of New Orleans #3, L.L.C. dated                                   3009 Veterans                                                       Development                    1520 Bonnabel
Ulfers Development LLC       Party City Corporation    August 26, 2013                                       1044       $7,380.20   Memorial Blvd                      Metairie     LA            70002 LLC                            Boulevard             Metairie        Louisiana       70005




                                                                                                                                                       Page 18 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 97 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                           Landlord Address
                                                                                                  Store Number /                                        Street                                                                     Parent
        Counterparty           Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City              State      Zip            Landlord                      Street Address             City          State      Zip
                                                                                                    Property ID                                        Address 2                                                                  Company
                                                      Shopping Center Lease between                                                                                                                           Elmwood
                                                      Elmwood Village Center and Party City of                                                                                                                Retail
Elmwood Retail Properties,                            Alabama and Louisiana, Inc. dated April                                     1000 S Clearview                                                            Properties,                    1200 South Clearview
L.L.C.                     Party City Corporation     14, 1998                                             1046      $12,380.52   Pkwy             Suite 1030         Harahan      LA                   70123 L.L.C.                         Parkway, Suite 1166 New Orleans       Louisiana          70123
                                                                                                                                                                                                              SIEGEN
                                                      Lease Agreement between IRT Property                                                                                                                    VILLAGE
SIEGEN VILLAGE Shopping                               Company and Party City of New Orleans                                                                                                                   Shopping
Center LLC                   Party City Corporation   #1, L.L.C. dated May 28, 1998                        1048      $12,393.75   7054 Siegen Ln                      Baton Rouge LA                    70809 Center LLC                     P.O. Box 80296        Baton Rouge     Louisiana          70898
                                                                                                                                                                                                              Diamond
                                                      Lease by and between Diamond                                                                                                                            Properties
Diamond Properties                                    Properties Northshore LLC and Party City                                    3371 Highway                                                                Northshore,                    3520 North Hullen
Northshore, LLC              Party City Corporation   Holding, LLC dated January 23, 2001                  1049       $7,500.45   190                                 Mandeville   LA                   70471 LLC                            Street                Metairie        Louisiana          70002

                                                                                                                                                                                                                                 c/o Majestic
                                                      Lease by and between Realm Realty                                                                                                                                          Property
                                                      Company and Party City Corporation                                          3140 E Prien Lake                                                           OLP Lake           Manageame 60 Cutter Mill Road,
OLP Lake Charles, LLC        Party City Corporation   dated November 14, 1997                                633      $8,743.94   Rd                                  Lake Charles LA                   70615 Charles, LLC       nt           Suite 303            Great Neck      New York           11021
                                                      Amended and Restated Lease Agreement
                                                      by and between G&I VIII Acadiana, LLC
                                                      and Party City Corporation dated June 8,                                                                                                                PCDF                           8811 Gaylord Drive,
PCDF Acadiana, LLC           Party City Corporation   2016                                                   625          $0.00   5700 Johnston St Suite 1200     Lafayette        LA                   70503 Acadiana, LLC                  Suite 200             Houston         Texas              77024
                                                      Shopping Center Lease by and between
                                                      Moutaingate Walpole, LLC, Spring Street                                                                                                                                    c/o RP
                                                      Walpole, LLC, Union Street Walpole, LLC                                                         Unit 10,                                                                   Realty      1801 South La
Walpole Mall Associates,                              and iParty Retail Stores Corp. dated                                        30 Providence       Mall at                                                  Walpole Mall      Partners,   Cienega Boulevard,
LLC                          Party City Corporation   September 4, 2008                                    6046      $14,278.46   Highway             Walpole         East Walpole MA           02032          Associates, LLC   LLC         Suite 301             Los Angeles     California         90035
                                                                                                                                                                                                               Pinnacle
                                                      Lease by and between Berkshire‐                                                                                                                          Leasing and
Pinnacle Leasing and                                  Seekonk, LLC and iParty Retail Stores                                       231A Highland                                                                Management                    5865 Northpoint
Management LLC               Party City Corporation   Corp. dated January 28, 2005                         6065      $10,111.19   Ave                                 Seekonk      MA           02771          LLC                           Parkway               Alpharetta      GA                 30022
                                                                                                                                                                                                               Inland
                                                      Lease by and between Douglas Realty                                                                                                                      Commercial        c/o Inland
Inland Commercial Real                                Co., L.P. and The Big Party, L.P. dated                                                                                                                  Real Estate       Commerical
Estate Services, LLC         Party City Corporation   January 24, 1995                                     6006       $1,652.76   100 Boston Tpke.                    Shrewsbury   MA           01545          Services, LLC     Real Estate 2901 Butterfield Road Oak Brook       Illinois           60523
                                                      Shopping Center Lease by and between
                                                      Raynham Plaza Associates, LLC and SRG
                                                      Enterprises, Inc. d/b/a ITZAPARTY dated                                     600 South Street                                                             R.K. Assoicates c/o RK
R.K. Assoicates VIII, Inc.   Party City Corporation   May 17, 2002                                         6026           $0.00   West                                Raynham      MA           02767          VIII, Inc.      Centers       50 Cabot St           Needham         Massachusetts       2494
                                                      Lease by and between Tara Realty Trust                                                                                                                                   c/o The
                                                      and iParty Corp., dated December 19,                                        1660 Soldiers                                                                                Haughey       1660 Soldiers Field
Tara1660, LLC                Party City Corporation   2001                                                 6038      $17,178.23   Field Rd.                           Brighton     MA           02135          Tara1660, LLC Company         Road                  Brighton        Massachusetts       2135
                                                      Lease by and between Paul and Elaine
                                                      Cohen Realty Trust and The Big Party L.P.                                                                                                                               c/o Venture 50/60 Worcester
PEC Realty LLC               Party City Corporation   dated May 13, 1994                                   6004           $0.00   321 Worcester Rd Rt. 9              Natick       MA           01760          PEC Realty LLC West        Road                     Framingham      Massachusetts       1702
                                                      Indenture of Lease by and between
                                                      Bellingham North Main Street Limited                                                                                                                     Bellingham        c/o WS
Bellingham North Main                                 Partnership and The Big Party                                                                                                                            North Main        Developmen
Street II LLC                Party City Corporation   Corporation dated July 8, 1996                       6018           $0.00   209 Hartford Ave.                   Bellingham   MA           02019          Street II LLC     t          1330 Boylston Street Chestnut Hill     Massachusetts       2467

                                                      Indenture of Lease by and between                                                                                                                                          c/o WS
                                                      Route 146 Millbury LLC and iParty Retail                                    70 Worcester                                                                 Route 146         Developmen
Route 146 Millbury LLC       Party City Corporation   Stores Corp. dated January 29, 2003                  6048           $0.00   Providence Tpke Ste 190             Millbury     MA           01527          Millbury LLC      t          1330 Boylston Street Chestnut Hill     Massachusetts       2467
                                                      Lease Agreement by and between CQX,
                                                      LLC and Party City Corporation dated                                        1580 VFW                                                                                                   25 Recreation Park
CQX, LLC                     Party City Corporation   November 28, 2016                                    6001      $15,977.00   Parkway                             West Roxbury MA           02132          CQX, LLC                      Drive, Suite 206      Hingham         Massachusetts       2043
                                                      Lease Agreement by and between                                                                                                                           Parkingway
Parkingway Acquisitions,                              Parkingway Acquisitions, LLC and Party                                      120 Walter J.                                                                Acquisitions,
LLC                          Party City Corporation   City Corporation dated June 18, 2015                 6005           $0.00   Hannon Parkway                      Quincy       MA           02169          LLC                           27 Eliot Street       Jamaica Plain   Massachusetts       2130

                                                                                                                                                                                                               Avon West
                                                                                                                                                                                                               Associates III,
                                                      Lease Agreement by and between Avon                                                                                                                      LP.
Avon West Associates III, LP.                         West Associates III, L.P. and Party City                                    15 Stockwell                                                                 c/o FX Messina                400 Franklin Street, P
c/o FX Messina Enterprises Party City Corporation     Corporation dated March 7, 2018                      6022           $0.00   Drive                               Avon         MA           02322          Enterprises                   O Box 859059           Braintree      Massachusetts 02185‐9059




                                                                                                                                                      Page 19 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 98 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                             Landlord Address
                                                                                                   Store Number /                                        Street                                                                    Parent
       Counterparty            Debtor Counterparty            Description of Agreement                              Cure Amount    Street Address 1                    City              State      Zip             Landlord                        Street Address            City          State         Zip
                                                                                                     Property ID                                        Address 2                                                                 Company
                                                      Lease Agreement by and between Valley
                                                      MB LLC and Party City Corporation dated                                      288 Chelmsford
VALLEY MB LLC                Party City Corporation   June 1, 2015                                          6034      $14,524.82   Street                              Chelmsford   MA           01824           VALLEY MB LLC             881 East Street            Tewksbury      Massachusetts          1876
                                                      Lease Agreement by and between                                                                                                                                           c/o Brixmor
                                                      Brixmor SPE 4 LP and Party City                                              22 Watertower                                                                 Brixmor SPE 4 Property    450 Lexington
Brixmor SPE 4 LP             Party City Corporation   Corporation dated September 16, 2017                  6052      $10,644.85   Plaza               Space # 3D      Leominster   MA           01453           LP            Group       Avenue, 13th Floor         New York       New York              10017
                                                      Restated Lease Agreement by and
                                                      between Brixmor GA Chicopee                                                                                                                                CHICKOPEE
CHICKOPEE MARKETPLACE                                 Marketplace LLC and Party City                                               591 W Memorial                                                                MARKETPLACE c/o Prestige 546 Fifth Avenue,
OWNERS LLC            Party City Corporation          Corporation dated November 12, 2015                   6060           $0.00   Dr                                  Chicopee     MA           01020           OWNERS LLC Properties 15th Floor                     New York       New York              10036
                                                      Ageement of Lease by and between
                                                      Peabody Center Limited Partnership and                                                                                                                     Peabody
Peabody Center Limited                                Party City Corporation dated May 29,                                                                                                                       Center Limited c/o Chase        3333 Richmond Road,
Partnership                  Party City Corporation   1998                                                  6068       $6,609.22   300 Andover St                      Peabody      MA           01960           Partnership    Properties       Suite 320           Beachwood       Ohio                  44122
                                                      Lease Agreement by and between DDRC
                                                      Gateway LLC and Party City Corporation                                       8 Mystic View                                                                               c/o Site          3300 Enterprise
Site Centers                 Party City Corporation   dated May 13, 2016                                    6017      $20,338.75   Road                                Everett      MA           02149           Site Centers  Centers           Parkway              Beachwood      Ohio                  44122
                                                                                                                                                                                                                               c/o Edens &
                                                      Shopping Center Lease Agreement by                                                                                                                                       Avant
                                                      and between E & A Northeast Limited                                                                                                                        E&A Northeast Investments
E&A Northeast Limited                                 Partnership and iParty Retail Stores Corp.                                                                                                                 Limited       Limited           1221 Main Street,
Partnership                  Party City Corporation   dated May 5, 2010                                     6069           $0.00   8 Allstate Rd Unit Unit 85          Dorchester   MA           02125           Partnership   Partnership       Suite 1000           Columbia       South Carolina        29201
                                                      Indenture of Lease by and between B. S.                                                                                                                    Burlington    c/o Edens
Burlington Crossroads                                 C. Company and The Big Party                                                                                                                               Crossroads    Limited           1221 Main street,
(E&A), LLC                   Party City Corporation   Corporation dated August 24, 1995                     6013      $19,290.12   34 Cambridge St.                    Burlington   MA           01803           (E&A), LLC    Partnership       Suite 1000           Columbia       South Carolina        29201

                                                      Lease by and between State of Maryland
                                                      for the Use of the Board of Trustees of                                                                                                                                   c/o
                                                      the State Retirement and Pension System                                                                                                                                   American
                                                      and Factory Card Outlet of America, Ltd.,                                                        Festival @                                                SVF Riva       Realty           801 North Brand
SVF Riva Annapolis, LLC      Party City Corporation   dated August 28, 1996                                 5520         $177.91   2325H Forest Dr     Riva            Annapolis    MD                   21401   Annapolis, LLC Advisors         Blvd., Suite 800     Glendale       California            91203
                                                      Lease Agreement by and between                                                                                                                             Wheaton Plaza
                                                      Wheaton Plaza Regional Shopping Center                                                                                                                     Regional       c/o
Wheaton Plaza Regional                                LLP and Party City of Wheaton, Inc. dated                                    11006 Veirs Mill                                                              Shopping       Westfield,       11601 Wilshire
Shopping Center L.L.C        Party City Corporation   March 23, 2011                                        1100           $0.00   Road                Suite L20       Wheaton      MD                   20902   Center L.L.C   LLC              Boulevard, 11th Floor Los Angeles   California       90025‐1738
                                                                                                                                                                                                                 14700
                                                      Lease Agreement by and between Laurel                                                                                                                      Baltimore
14700 Baltimore Avenue                                Rising as Owner, LLC and Party City                                          14802 Baltimore                                                               Avenue                          30 State House Sq,
Invenstors LLC               Party City Corporation   Corporation dated March 29, 2013                        581     $14,503.61   Avenue                              Laurel       MD                   20707   Invenstors LLC                  Suite 15th Floor     Hartford       Connecticut            6103
                                                                                                                                                                                                                                c/o
                                                                                                                                                                                                                                Combined
                                                      Lease Agreement by and between                                                                                                                                            Properties,  7315 Wisconsin
                                                      Greenway Plaza LLC and Party City                                            7483 Greenbelt                                                                Greenway       Incorporate  Avenue, Suite 1000
Greenway Plaza LLC           Party City Corporation   Corporation dated July 25, 2014                         515     $20,966.17   Road                                Greenbelt    MD                   20770   Plaza LLC      d            West                     Bethesda       Maryland              20814
                                                      Lease Agreement by and between                                                                                                                                                         2001 Pennsylvania
                                                      Madison Waldorf LLC and Party City                                                                                                                       Madison           c/o Madison Avenue, NW, 10th                        District of
Madison Waldorf LLC          Party City Corporation   Corporation dated August 13, 2013                     5513           $0.00   2910 Festival Way                   Waldorf      MD                   20601 Waldorf LLC       Marquette Floor                      Washington     Columbia              20006
                                                      Amended and Restated Lease Agreement
                                                      by and between Bel Air Square LLC and
                                                      Party City Corporation dated August 31,                                      622 Marketplace                                                             KRG Bel Air                       30 South Meridian
KRG Bel Air Square LLC       Party City Corporation   2015                                                  5518           $0.00   Drive                               Bel Air      MD                   21014 Square LLC                        Street, Suite 1100   Indianapolis   Indiana               46204

                                                      Lease Agreement between AAK Dobbin                                                                                                                                         c/o Abrams
                                                      LLC and Party City of Columbia, Inc. dated                                   6181 Old Dobbin                                                             AAK Dobbin,       Developmen      8601 Robert Fulton
AAK Dobbin, LLC              Party City Corporation   October 24, 2002                                      1097           $0.00   Ln                                  Columbia     MD                   21045 LLC               t Group, Inc.   Drive, Suit 100      Columbia       Maryland              21046
                                                                                                                                                                                                                                 C/o
                                                      Lease Agreement by and between CR                                                                                                                          CR              Continental
                                                      Hagerstown, LLC and Party City                                               17682 Garland                                                                 Hagerstown,     Realty          1427 Clarkview Road,
CR Hagerstown, LLC           Party City Corporation   Corporation dated May 17, 2022                       1098R           $0.00   Groh Blvd                           Hagerstown   MD           21740           LLC             Corporation     Suite 500            Baltimore      Maryland         21209‐2100

                                                      Lease Agreement by and between The                                                                                                                                        c/o Heritage
The Centre at Forestville,                            Centre at Forestville, LLC and Party City                                    3235 Donnell                                                                The Centre at Partners,       2568A Riva Road,
LLC                          Party City Corporation   Corporation dated February 18, 2022                   600R           $0.00   Drive               Space G09    Forestville     MD                   20747 Forestville, LLC LLC          Suite 200                Annapolis      Maryland              21401




                                                                                                                                                       Page 20 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 99 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                         Landlord Address
                                                                                                   Store Number /                                       Street                                                                  Parent
       Counterparty            Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                   City              State      Zip            Landlord                     Street Address            City          State       Zip
                                                                                                     Property ID                                       Address 2                                                               Company
                                                                                                                                                                                                              Garrison       c/o M. Leo
                                                                                                                                                                                                              Forest         Storch
                                                      Lease by and between Garrison Forest                                                                                                                    Associates     Managemen
Garrison Forest Associates                            Associates and Party City of Pikesville,                                     10385                                                                      Limited        t              25 Hooks Lane, Suite
Limited Partnership          Party City Corporation   Inc. d/b/a Party City dated May 18, 2000              1090           $0.00   Reisterstown Rd                    Owings Mills MD                   21117 Partnership    Corporation    312                  Baltimore       Maryland           21208
                                                                                                                                                                                                                             c/o
                                                      Lease Agreement by and between                                                                                                                                         Maryland
                                                      Jerome Siegel and Pike Park Associates                                                                                                                                 Financial
                                                      Limited Partnership and Party City                                           6508 Baltimore                                                             Pike Park      Investors,     9475 Deereco Road,
Pike Park Associates LLP     Party City Corporation   Baltimore West, Inc. dated April 6, 1994              1091           $0.00   National Pike                      Baltimore   MD                    21228 Associates LLP Inc.           Suite 302            Timonium        Maryland           21093
                                                                                                                                                                                                                             c/o
                                                                                                                                                                                                                             Maryland
                                                      Shopping Center Lease by and between                                                                                                                                   Financial
                                                      355 Frederick L.L.C. and Party City of                                       5600 Urbana Pike                                                           355 Frederick Investors,      2800 Quarry Lake
355 Frederick L.L.C          Party City Corporation   Frederick, Inc. entered into July 17, 2000            1095       $2,284.07   Ste C                              Frederick   MD                    21704 L.L.C          Inc.           Drive, Suite 340     Baltimore       Maryland           21209
                                                                                                                                                                                                                             c/o
                                                                                                                                                                                                                             Maryland
                                                      Lease Agreement by and between Texas                                                                                                                                   Financial
                                                      Properties II and Party City Corporation                                                        Church Lane                                             Church Lane Investors,        2800 Quarry Lake
Church Lane Shops LLC        Party City Corporation   dated June 14, 2014                                   5503           $0.00   9958 York Rd       Ctr         Cockeysville    MD                    21030 Shops LLC      Inc.           Drive, Suite 340     Baltimore       Maryland           21209
                                                      Lease Agreement by and between RERE 1                                                                                                                   RERE 1 ‐       c/o Rinnier
                                                      ‐ Northgate 11, LLC and Party City                                           2640 N Salisbury                                                           NorthGate 11, Developmen
RERE 1 ‐ NorthGate 11, LLC Party City Corporation     Corporation dated May 1, 2012                         5524           $0.00   Blvd                               Salisbury   MD                    21801 LLC            t Company      218 East Main Street Salisbury       Maryland           21801
                                                      Retail Lease Agreement between                                                                                                                                         c/o
                                                      Kentlands Retail, Inc. and Party City of                                                                                                                               Windham
                                                      Gaithersburg, Inc. dated December 17,                                        295 Kentlands                                                              Kentlands      Managemen      7501 Wisconsin
Kentlands Square LLC         Party City Corporation   2001                                                  1096           $0.00   Blvd                               Gaithersburg MD                   20878 Square LLC     t Company      Avenue, Suite 1500   Bethesda        Maryland      20814‐6522

                                                      Lease Agreement by and between                                                                                                                          Woodmore
Woodmore Towne Centre,                                Woodmore Towne Centre, LLC and Party                                         9101 Woodmore                                                              Towne Centre,                 1919 West Street,
LLC                          Party City Corporation   City Corporation dated December 3, 2010                 738     $15,797.44   Centre Drive  Suite 312            Lanham      MD                    20706 LLC                           Suite 100            Annapolis       Maryland           21401
                                                      Indenture of Lease by and between TRP‐
                                                      MCB Eastpoint LLC and Party City
                                                      Baltimore East, Inc. dated September 3,                                                                                                                 TRP‐MCB                       7839 Eastpoint Mall,
TRP‐MCB Eastpoint LLC        Party City Corporation   2014                                                  1092           $0.00   7929 Eastern Ave                   Baltimore   MD                    21224 Eastpoint LLC                 Suite 10             Baltimore       Maryland           21224
                                                      Lease by and between KR Trust One, Inc.
                                                      and Party City Corporation dated June 7,                                                                                                                Anneslie                      911 Greenspring
Anneslie Center, LLC         Party City Corporation   1996                                                  1099      $21,458.34   6311 York Rd                       Baltimore   MD                    21212 Center, LLC                   Valley Road    Lutherville           Maryland           21093
                                                      Shopping Center Lease Agreement by                                                                                                                                    c/o
                                                      and between Arundel Property Investors                                                                                                                  Paramount     Paramount
Paramount Crossroads at                               Limited Partnership and J&H Party City,                                                                                                                 Crossroads at Newco     1195 Route 70, Suite
Pasadena, LLC                Party City Corporation   Inc. dated June 7, 2001                               1200           $0.00   8044 Ritchie Hwy                   Pasadena    MD                    21122 Pasadena, LLC Realty    2000                 Lakewood              New Jersey          8701
                                                      Lease between Ginn Real Estate, LLC and
                                                      The Big Party Corporation dated                                              220 Maine Mall                     South
GMC, LLC                     Party City Corporation   September 13, 1996                                    6019      $10,971.75   Rd.                                Portland    ME            04106          GMC, LLC                     220 Maine Mall Road South Portland Maine                 4106
                                                      Lese by and between Bangor Parkade,
                                                      Inc. and iParty Retail Stores Corp. dated                                                                                                                Bangor                       1195 Route 70, Suite
Bangor Parkade, Inc.         Party City Corporation   April 4, 2005                                         6066           $0.00   480 Stillwater Ave Suite C         Bangor      ME            04401          Parkade, Inc.                2000,                Lakewood        NJ                  8701
                                                      Lease Agreement by and between
                                                      Portage Crossing II, LLC and Party City                                      6805 South                                                                 Portage
Portage Crossing II, LLC     Party City Corporation   Corporation dated April 22, 2013                      4109           $0.00   Westnedge Ave                      Portage     MI                    49002 Crossing II, LLC              13766 Durango Drive Del Mar          California         92014

                                                                                                                                                                                                                                 C/O Mid‐
                                                      Lease Agreement by and between 23269                                                                                                                    XIA Property       America
XIA Property Management                               Eureka Road Investors, LLC and Party City                                    23269 Eureka                                                               Management         Real Estate 38500 Woodward
LLC                          Party City Corporation   Corporation dated June 6, 2014                        4117           $0.00   Road                               Taylor      MI                    48180 LLC                Michigan Inc Ave. Suite 100     Bloomvield Hills MI                48304
                                                      Lease Agreement by and between S & M
                                                      Heights, a Michigan Partnership, by
                                                      Frankel‐Anton Heights Partnership, a Co‐
                                                      Partnership and The 1/2 Off Card Shop,                                       32351 John R                       Madison                                 Madison Place,                1334 Maple Lawn
Madison Place, L.L.C.        Party City Corporation   Inc. dated August 9, 1990                             4110           $0.00   Road                               Heights     MI                    48071 L.L.C.                        Drive                Troy            MI                 48084




                                                                                                                                                      Page 21 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 100 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                   Landlord Address
                                                                                                    Store Number /                                       Street                                                             Parent
       Counterparty           Debtor Counterparty             Description of Agreement                               Cure Amount    Street Address 1                   City              State   Zip        Landlord                      Street Address            City           State   Zip
                                                                                                      Property ID                                       Address 2                                                          Company

                                                      Lease Agreement by and between                                                                                                                    NEMCO          c/o Argus
NEMCO BRIGHTON                                        Brighton Depot, L.L.C. and The 1/2 Off                                                                                                            BRIGHTON       Realty
HOLDINGS LLC                Party City Corporation    Card Shop, Inc. dated July 22, 1998                    4133      $41,754.80   8057 Challis Rd                    Brighton     MI            48116 HOLDINGS LLC Group, LLC        P.O. Box 36544       Grosse Pointe   Michigan        48236
                                                                                                                                                                                                                       c/o Kirco
                                                      Lease by and between Baldwin                                                                                                                      Baldwin        Managemen
                                                      Commons, L.L.C. and The 1/2 Off Card                                          4846 S Baldwin                     Orion                            Commons,       t Services,     101 West Big Beaver
Baldwin Commons, L.L.C      Party City Corporation    Shop, Inc. dated Septemeber 24, 1997                   4134           $0.00   Rd                 Unit 8          Township     MI            48359 L.L.C          Ltd.            Road, Suite 200     Troy             Michigan        48034
                                                                                                                                                                                                                       c/o
                                                                                                                                                                                                                       Lormax/Ster
                                                      Lease Agreement by and between                                                                                                                                   n
                                                      Lansing Retail Center L.L.C. and Party City                                                                                                       Lansing Retail Developmen
Lansing Retail Centre L.L.C. Party City Corporation   Corporation dated June 17, 2011                          492          $0.00   420 Frandor Ave                    Lansing      MI            48912 Centre L.L.C. t Company        300 Frandor Avenue, Lansing          Michigan        48912

                                                      Lease Agreement by and between Outer                                                                                                              Outer Drive 39
Outer Drive 39                                        Drive 39 Development Co., LLC and Party                                                                                                           Development                    One Towne Square,
Development Co., LLC        Party City Corporation    City Corporation dated December 9, 2005                  513          $0.00   23195 Outer Dr                     Allen Park   MI            48101 Co., LLC       c/o Redico      Suite 1000           Southfield      Michigan        48076
                                                      Lese Agreement by and between ATMF
                                                      VI, L.L.C. and Party City Corporation                                         30750 Orchard                      Farmington                                                      6735 Telegraph Rd,
ATMF VI, LLC                Party City Corporation    dated June 6, 2018                                       476      $2,655.62   Lake Rd                            Hills        MI            48334 ATMF VI, LLC                   Suite 110            Bloomfield Hills Michigan       48301
                                                      Lease Agreement by and between                                                32469 Gratiot                                                       Macomb
Macomb Center Holdings,                               Macomb Mall, LLC and Party City                                               Avenue Macomb                                                       Center                         38500 Woodward
LLC                         Party City Corporation    Corporation dated December 27, 2004                      511          $0.00   Mall                               Roseville    MI            48066 Holdings, LLC                  Avenue, Suite 200    Bloomfield Hills Michigan       48304
                                                      Lease Agreement by and between Archie
                                                      A. Van Elslander and Mary Ann Van
                                                      Elslander and Party City Corp. dated                                                                             Sterling                         Blue Chip
Blue Chip Properties, LLC   Party City Corporation    February 23, 1996                                        529          $0.00   12220 Hall Rd                      Heights      MI            48313 Properties, LLC                2940 Orchard Place   Orchard Lake    Michigan        48324

                                                      Lease Agreement by and between Ramco‐
                                                      Gershenson Properties, L.P. and Party                                         1316 S Rochester                   Rochester                                                       20750 Civic Center
RPT REALTY, LP              Party City Corporation    City Cororation dated May 27, 2016                       551     $37,683.73   Rd                                 Hills        MI            48307 RPT REALTY, LP                 Drive Suite 310      Southfields     Michigan        48076

                                                      Lease Agreement by and between GMN                                                                                                                GMN
GMN INVESTMENTS MILLER                                Miller Investment, LP and Party City                                                                                                              INVESTMENTS
LP                     Party City Corporation         Corporation dated December 28, 2015                    4102      $23,797.77   4339 Miller Road                   Flint        MI            48507 MILLER LP                      115 W. Brown Street Birmingham       Michigan        48009

                                                      Shopping Center Lease between
                                                      Waterfall Shoppes, LLC and PA                                                                                                                     Waterfall
Waterfall Shoppes, LLC      Party City Corporation    Acquisition Corp. dated March 27, 2006                 4107           $0.00   5114 28th St SE    Suite A         Grand Rapids MI            49512 Shoppes, LLC                   161 Ottawa NW #104 Grand Rapids      Michigan        49503
                                                      Lease Agreement by and between
                                                      Pittsfield Towne Center Limited
                                                      Partnership and The 1/2 Off Card Shop,                                        2677 Oak Valley                                                     Oak Valey                      6735 Telegraph Rd,
Oak Valey Centre, LLC       Party City Corporation    Inc. dated September 27, 1989                          4111           $0.00   Dr                                 Ann Arbor    MI            48103 Centre, LLC                    Suite 110            Bloomfield Hills Michigan       48301
                                                      Lease by and between West Oaks
                                                      Development Company and The 1/2 Off                                                                                                                                              20750 Civic Center
RPT REALTY LP               Party City Corporation    Card Shop, Inc. dated April 20, 1995                   4124           $0.00   43741 W Oaks Dr                    Novi         MI            48377 RPT REALTY LP                  Drive, Suite 310     Southfiled      Michigan        49076
                                                      Lease Agreement by and between
                                                      Maxlune Realty Corporation, Tobeck                                                                                                                                  c/o National
                                                      Realty Corporation and Antonoff Family                                                                                                                              Real Estate
                                                      Trust Partnership LLP and Party City                                          13477 Middlebelt                                                    TMA‐Livcom,       Managemen 9986 Manchester
TMA‐Livcom, LLC             Party City Corporation    Corporation dated May 22, 2015                           539     $21,255.93   Road                               Livonia      MI            48150 LLC               t Corp.      Road                 St. Louis       Missouri        63122
                                                      Lease Agreement by and between
                                                      Brixmor/IA Southfield Plaza, LLC and                                                                                                              Brixmor/IA     c/o Brixmor
Brixmor/IA Southfield Plaza,                          Party City Corporation dated May 28,                                          29800 Southfield                                                    Southfield     Property        450 Lexington
LLC                          Party City Corporation   2015                                                     924     $23,331.29   Rd                                 Southfield   MI            48076 Plaza, LLC     Group           Avenue, 13th Floor   New York        New York        10017
                                                      Lease Agreement by and between                                                                                                                                   c/o Brixmor
                                                      Heritage Lakes Crossing, LLC and Party                                        5725 South                                                          Brixmor‐Lakes Property         450 Lexington
Brixmor‐Lakes Crossing, LLC Party City Corporation    City Corporation dated April 27, 2011                  4000      $31,241.14   Harvey St                          Muskegon     MI            49444 Crossing, LLC Group            Avenue, 13th Floor   New York        New York        10017
                                                      Lease Agreement by and between New                                                                                                                               c/o Brixmor
                                                      Plan of West Ridge, LLC and Party City                                        35655 Warren                                                        New Plan of    Property        450 Lexington
New Plan of Westridge, LLC Party City Corporation     Corporation dated March 17, 2015                         430     $13,681.17   Road                               Westland     MI            48185 Westridge, LLC Group           Avenue, 13th Floor   New York        New York        10017
                                                      Lease Agreement by and between
                                                      Saginaw Center LLC and Party City                                             2918                                                                Saginaw           c/o Chase    3333 Richmond Road,
Saginaw Center LLC          Party City Corporation    Corporation dated September 14, 2012                     849      $9,851.20   Tittabawassee Rd                   Saginaw      MI            48604 Center LLC        Properties   Suite 320           Beachwood        Ohio            44122




                                                                                                                                                       Page 22 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 101 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                   Landlord Address
                                                                                                   Store Number /                                         Street                                                            Parent
       Counterparty            Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                     City               State   Zip        Landlord                     Street Address             City          State   Zip
                                                                                                     Property ID                                         Address 2                                                         Company

                                                      Lease Agreement by and between Canal                                                                                                                ROF
                                                      Street Partners, L.L.C. and Party City                                       4515 Canal Ave                                                         GRANDVILLE      c/o Chase     3333 Richmond Road,
ROF GRANDVILLE LLC           Party City Corporation   Corporation dated November 16, 2001                     431          $0.00   SW                                   Grandville    MI            49418 LLC             Properties    Suite 320           Beachwood        Ohio            44122
                                                                                                                                                                                                          SVAP III
                                                      Shopping Center Lease by and between                                                                                                                RIVERDALE       c/o The
SVAP III RIVERDALE                                    Ryan Companies US, Inc. and Party City                                       3360 124th Ave                                                         COMMONS         Sterling     302 Datura Street,    West Palm
COMMONS LLC                  Party City Corporation   Corporation dated January 16, 1998                    1139      $20,593.69   NW                                   Coon Rapids MN              55433 LLC             Organization Suite 100             Beach           Florida         33401
                                                      Agreement of Lease by and between
                                                      River Hills Mall Partners and Factory Card                                                                                                                          c/o
                                                      Outlet of America, Ltd. Dated May 14,                                                             River Hills                                       River Hills     Brookfield    350 N Orleans St
River Hills Mall, LLC        Party City Corporation   1997                                                  1136           $0.00   1870 Adams St        Mall            Mankato       MN            56001 Mall, LLC       Properties    Suite 300            Chicago         Illinois        60654
                                                      Lease by and between Woodbury Village                                                                                                               Woodbury
                                                      Green Limited Partnership and Paper                                                                                                                 Village Green   c/o
Woodbury Village Green                                Warehouse, Inc. dated December 20,                                                                                                                  Limited         Cushman       3500 American Blvd
Limited Partnership          Party City Corporation   1996                                                  1151           $0.00   1505 Queens Dr                 117 Woodbury        MN            55125 Partnership     Wakefield     West, Ste 200        Bloomington     Minnesota       55431
                                                      Lease by and between St. Cloud Rainbow                                                                                                              St. Cloud
St. Cloud Rainbow Village,                            Village, LLC and Paper Warehouse, Inc.                                                                                                              Rainbow         c/o Doran 7803 Glenroy Road,
LLC                          Party City Corporation   dated May 14, 1999                                    1149           $0.00   3959 2nd St S                        St Cloud      MN            56301 Village, LLC    Companies Suite 200                Bloomington     Minnesota       55439
                                                      Lease Agreement by and between
                                                      Roseville Fairview, LLC and Newpaper,                                                                                                                               c/o GSR Real
                                                      LLC d/b/a Party America dated February                                       2487 Fairview                                                          Roseville       Estate
Roseville Fairview, LLC      Party City Corporation   12, 2004                                              1148           $0.00   Ave N                                Roseville     MN            55113 Fairview, LLC   Services     615 First Avenue NE   Minneapolis     Minnesota       55413
                                                      Lease Agreement by and between Plaza
                                                      3000 Partnership, LLP and Factory Card
                                                      Outlet of America, LTD., d/b/a Factory                                                                                                              Plaza 3000    GHS
Plaza 3000 Partnership,                               Card Outlet Balloons and Party Shop                                          3000 White Bear                                                        Partnership,  Developmen 2935 County Drive,
L.L.P.                       Party City Corporation   dated December 18, 1997                               1138           $0.00   Ave N                              29 Maplewood    MN            55109 L.L.P.        t LLC      Suite 100                 Little Canada   Minnesota       55117
                                                                                                                                                                                                                        c/o
                                                                                                                                                                                                                        Anderson
                                                      Lease Agreement by and between HTW                                                                                                                                Property
                                                      Investment Partners, Inc. and Party City                                                                                                            Wayne & Carol Managemen
Wayne & Carol Wieber         Party City Corporation   Corporation dated February 13, 1998                   1140           $0.00   7365 153rd St W                      Apple Valley MN             55124 Wieber        t          3137 Alder Lane           St. Cloud       Minnesota       56301
                                                      Lease Agreement by and between Krau‐                                         7989 1/2                                                               Kraus‐
Kraus‐Anderson                                        Anderson, Incporated and Party City                                          Southtown                                                              Anderson                 501 South Eighth
Incorporated                 Party City Corporation   Corporation dated May 6, 1997                         1141           $0.00   Center                               Bloomington MN              55431 Incorporated             Street                    Minneapolis     Minnesota       55404

                                                      Indenture of Lease by and between Opus                                                                                                                              c/o Kimco
                                                      Northwest, L.L.C. and Paper Warehouse,                                       12810 Elm Creek                                                        KIR Maple       Realty      500 North Broadway,
KIR Maple Grove LP           Party City Corporation   Inc. dated December 24, 1998                          1152           $0.00   Blvd N                               Maple Grove MN              55369 Grove LP        Corporation Suite 201           Jericho            New York        11753
                                                      Indenture of Lease by and between Opus                                                                                                              Eagan
                                                      Northwest, L.L.C. and Paper Warehouse,                                       1279 Promenade                                                         Promenade,      c/o Invesco 2001 Ross Avenue,
Eagan Promenade, Inc.        Party City Corporation   Inc. dated June 23 1996                               1153           $0.00   Pl                                   Eagan         MN            55121 Inc.            Real Estate Suite 3400             Dallas          Texas           75201
                                                      Commercial Lease by and between
                                                      Olivette Associates, L.P. and Party City                                                                                                            OL3 BP          c/o Bianco    680 Craig Road, Suite
OL3 BP Associates, LLC       Party City Corporation   Corporation dated September 17, 1996                    561      $3,281.99   9612 Olive Blvd                      Olivette      MO            63132 Associates, LLC Properties    240                   Creve Coeur    Missouri        63141
                                                      Lease by and between Capitol‐Dierberg                                                                                                               Caplaco Ten,
                                                      Properties One and Factory Card Outlet                                                                                                              Inc. and
Caplaco Ten, Inc. and                                 of America, Ltd. dated September 21,                                         2560 Lemay Ferry                                                       Dierbergs
Dierbergs Lemay, Inc.        Party City Corporation   1994                                                  5163           $0.00   Rd               Lemay Plaza Saint Louis           MO            63125 Lemay, Inc.                   11850 Studt Avenue   St. Louis       Missouri        63141

                                                      Lease Agreement by and between IA                                                                                                                   PAVILIONS AT c/o Trimont One Alliance Center,
PAVILIONS AT HARTMAN                                  Independence Hartman, L.L.C. and Party                                       19850 E. Jackson                     Independenc                       HARTMAN      Real Estate 3500 Lenox Road,
HERITAGE LLC                 Party City Corporation   City Corporation dated May 7, 2016                    1109           $0.00   Drive                                e           MO              64057 HERITAGE LLC Advisors LLC Suite G1            Atlanta              Georgia         30326
                                                      Shopping Center Lease Agreement by
                                                      and between The Summit at Gravois                                                                                                                   The Summit at
The Summit at Gravois                                 Bluffs, L.L.C. and B. & P. Gateway                                           790 Gravois Bluffs                                                     Gravois Bluffs, c/o G.J.      9109 Watson Road,
Bluffs, L.L.C.               Party City Corporation   Enterprises, L.L.C. dated May 26, 2009                  838      $8,447.53   Plaza Dr                             Fenton        MO            63026 L.L.C.          Grewe, Inc.   Fourth Floor         St. Louis       Missouri        63126
                                                                                                                                                                                                                          c/o US
                                                      Lease Agreement by and between SVC                                                                                                                                  Federal
                                                      Fund I, LLC and Party City Corporation                                       8373 N. Booth                                                                          Properties    4706 Broadway, Suite
SVC Fund I, LLC              Party City Corporation   dated March 20, 2014                                  1119           $0.00   Avenue                               Kansas City   MO            64158 SVC Fund I, LLC Co. LLC       240                  Kansas City     Missouri        64112




                                                                                                                                                        Page 23 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 102 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                    Landlord Address
                                                                                                    Store Number /                                       Street                                                              Parent
       Counterparty            Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                   City                State   Zip        Landlord                     Street Address            City           State   Zip
                                                                                                      Property ID                                       Address 2                                                           Company
                                                       Lease Agreement between The Grewe
                                                       Limited Partnership and Factory Card                                                                                                               The Grewe
The Grewe Limited                                      Outlet of America, Ltd. Dated April 10,                                      293 Mid Rivers     Mid Rivers                                         Limited                       9109 Watson Road,
Partnership                  Party City Corporation    1996                                                  5202       $4,079.83   Mall Drive         Plaza           Saint Peters   MO            63376 Partnership                   Suite 302             Crestwood      Missouri        63126
                                                       Shopping Center Lease by and between
                                                       Drury Land Development, Inc. and                                                                                                                   Drury Land
Drury Land Development,                                Factory Card Outlet of America, Ltd.                                                            Cape West       Cape                               Development,                  8315 Drury Industrial
Inc.                         Party City Corporation    Dated May 2, 1996                                     5205           $0.00   244 Siemers Dr     Plaza           Girardeau      MO            63701 Inc.                          Parkway               St. Louis      Missouri        63114
                                                       Lease between Broadway Crossing II, LLC                                                                                                            Broadway
                                                       and Factory Card Outlet of Ameica, Ltd.                                      21 Conley Rd Ste Broadway                                             Crossings II,                 211 North Stadium
Broadway Crossings II, L.L.C. Party City Corporation   Dated June 6, 1996                                    5231      $14,577.54   K                Mktplace          Columbia       MO            65201 L.L.C.                        Boulevard, Suite 201 Columbia        Missouri        65203
                                                                                                                                                                                                          DP‐N & K, LLC,
                                                                                                                                                                                                          Caplaco Five,
                                                       Lease Agreement by and between DP‐N                                                                                                                Inc., Caplaco
DP‐N & K, LLC, Caplaco Five,                           & K, LLC, Caplaco Five, Inc., Caplaco                                                                                                              Sixteen, Inc.
Inc., Caplaco Sixteen, Inc.                            Sixteen, Inc. & Caplao Seventeen, Inc.                                                          O'Fallon                                           and Caplaco
and Caplaco Seventeen,                                 and Party City Corporation dated                                                                Retail Walk                                        Seventeen,
Inc.,                        Party City Corporation    November 4, 2010                                      5330           $0.00   2935 Highway K     S/C         O Fallon           MO            63368 Inc.,                      11850 Studt Avenue       St. Louis      Missouri        63141
                                                       Lease Agreement by and between                                                                                                                                    c/o Brixmor
                                                       Brixmor SPE 3, LLC and Party City                                            15909                                                                 Brixmor SPE 3, Property    450 Lexington
Brixmor SPE 3, LLC           Party City Corporation    Corporation dated October 31, 2014                      839     $13,059.43   Manchester Rd                      Ellisville     MO            63011 LLC            Group       Avenue, 13th Floor       New York       New York        10017

                                                       Lease Agreement by and between TW‐
                                                       Joplin Associates and Factory Card Outlet                                                     Northpoint                                                          c/o Chase      3333 Richmond Road,
RAF JOPLIN LLC               Party City Corporation    of America, Ltd., dated March 25, 1997                5260           $0.00   430 Rangeline Rd Center     Joplin                MO            64801 RAF JOPLIN LLC Properties     Suite 320           Beachwood        Ohio            44122
                                                       Amended and Restated Lease Agreement
                                                       by and between DDDR Crossroads Center                                                                                                                             c/o Stirling
PMAT‐Stirling Crossroads                               LLC and Party City of Gulfport, L.L.C.                                       15224 B                                                               PMAT‐Stirling Properties,     109 Northpark Blvd.,
LLC                          Party City Corporation    dated October 9, 2014                                 1050      $19,694.40   Crossroads Pkwy                    Gulfport       MS            39503 Crossroads LLC LLC            Suite 300            Covington       Louisiana       70433

                                                       Shopping Center Lease between Regency                                                                                                                               c/o Regency
                                                       Centers, L.P. and P.M. Parties, Inc. d/b/a                                   7601‐A Pineville                                                      Regency          Centers     121 West Forsyth
Regency Centers, L.P.        Party City Corporation    Party City dated August 7, 2003                       1068      $12,745.80   Matthews Rd                        Charlotte      NC            28226 Centers, L.P.    Corporation Street, Suite 200      Jacksonville   Florida         32202
                                                       Lease Agreement between Northlake                                                                                                                  ARC
                                                       Commons, L.L.C. and P.M. Parties, Inc.                                       9320 Center Lake                                                      NCCHRNC001,      c/o NAI      One Oakbrook
ARC NCCHRNC001, LLC          Party City Corporation    dated June 1, 2012                                    1070      $13,320.33   Drive            Suite 200         Charlotte      NC            28216 LLC              Hiffman      Terrace, Suite 400    Oakbrook       Illinois        60181
                                                       Indenture of Lease by and between
                                                       Hickory Ridge Associates Limited
                                                       Partnership and P.M. Parties, Inc. dated                                     1942 Catawba                                                          Hickory Ridge c/o Acadia      411 Theodore Fremd
Hickory Ridge Owner LLC      Party City Corporation    July 17, 1998                                         1062           $0.00   Valley Blvd SE                     Hickory        NC            28602 Owner LLC       Realty        Avenue, Suite 300  Rye               New York        10580
                                                       Lease Agreement by and between VEREIT                                                                                                                              c/o AR
                                                       Mt Raleigh (Sumner) NC, LLC and Party                                                                                                              ARG             Global
                                                       City Corporation dated November 30,                                          3604 Sumner                                                           TTRALNC001, Investments       650 5th Avenue, 30th
ARG TTRALNC001, LLC          Party City Corporation    2020                                                  1027           $0.00   Boulevard                          Raleigh        NC            27616 LLC             , LLC         Floor                New York        New York        10019
                                                       Indenture of Lease by and between JDN                                                                                                                              c/o Brixmor
                                                       Realty Corporation and Party City                                            4715 New Centre                                                       Brixmor New Property          450 Lexington
Brixmor New Centre LP        Party City Corporation    Corporation dated September 23, 1997                  1057       $3,311.85   Dr Ste F                           Wilmington     NC            28405 Centre LP       Group         Avenue, 13th Floor    New York       New York        10017
                                                       Indenture of Lease by and between JDN                                                                                                              Brixmor         c/o Brixmor
                                                       Realty Corporation and P.M. Parties, Inc.                                                                                                          Wendover        Property      450 Lexington
Brixmor Wendover Place, LP Party City Corporation      dated May 28, 1997                                    1060       $7,613.79   5408‐A Sapp Rd                     Greensboro     NC            27409 Place, LP       Group         Avenue, 13th floor    New York       New York        10017
                                                                                                                                                                                                                          c/o DLC
                                                       Lease by and between Fourth Quaeter                                                                                                                                Managemen
                                                       Properties IX, Inc. and Party City                                           2065 Skibo Rd                                                         SUSO 5          t             565 Taxter Road,
SUSO 5 Fayetteville LP       Party City Corporation    Corporation dated April 27, 1998                      1058           $0.00   Unit 4                             Fayetteville   NC            28314 Fayetteville LP Corporation   Suite 400             Elmsford       New York        10523
                                                       Lease by and between AAC Services, Inc.                                                                                                                            c/o DNA
                                                       and P.M. Parties, Inc. dated February 20,                                    3686 E Franklin                                                       Andrew          Partners,     126 Main Street,      Cold Spring
Andrew Square 85, LLC        Party City Corporation    1997                                                  1064       $9,128.64   Blvd                               Gastonia       NC            28056 Square 85, LLC LLC            Suite 250             Harbor         New York        11724

                                                       Lease Agreement by and between                                                                                                                                    c/o Kimco
                                                       Crossroads Plaza 1743, LP and Party City                                     203 Crossroads                                                        Crossroads     Realty      500 North Broadway,
Crossroads Plaza 1743, LP    Party City Corporation    Corporation dated November 30, 2020                   1028         $283.15   Blvd                               Cary           NC            27518 Plaza 1743, LP Corporation Suite 201           Jericho             New York        11753




                                                                                                                                                       Page 24 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 103 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                    Landlord Address
                                                                                                   Store Number /                                        Street                                                               Parent
       Counterparty             Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City               State   Zip        Landlord                      Street Address            City             State         Zip
                                                                                                     Property ID                                        Address 2                                                            Company
                                                       Lease Agreement by and between KIR                                                                                                                KIR New Hope
                                                       New Hope Commons Limited Partnership                                                                                                              Commons        c/o Kimco
KIR New Hope Commons                                   and Party City Corporation dated                                            5402 New Hope                                                         Limited        Realty         500 North Boradway,
Limited Partnership           Party City Corporation   November 30, 2020                                    1032      $13,383.34   Commons Dr                          Durham        NC            27707 Partnership    Corporation    Suite 201           Jericho             New York              11753
                                                       Lease Agreement by and between Kimco                                                                                                                             c/o Kimco
                                                       Ryvola, LP and Party City Corporation                                                                                                             Kimco Tyvola, Realty          500 North Broadway,
Kimco Tyvola, LP              Party City Corporation   dated April 19, 2018                                 1067      $14,827.25   5407 South Blvd                     Charlotte     NC            28217 LP             Corporation    Suite 201           Jericho             New York              11753
                                                                                                                                                                                                         Pacolet
                                                       Indenture of Lease by and between JDN                                                                                                             Milliken       c/o ACPM
Pacolet Milliken Enterprises,                          Development Company, Inc. and P.M.                                                                                                                Enterprises,   Operations,    1400 Northwood
Inc                           Party City Corporation   Parties, Inc. dated April 2, 1999                    1059      $16,756.39   2637 Lawndale Dr                    Greensboro    NC            27408 Inc            LLC            Street                 Greensboro       North Carolina        27408
                                                                                                                                                                                                                        c/o
                                                       Lease Agreement by and between Brier                                                                                                                             American
                                                       Creek Commons, LLC and Party City                                           8081 Brier Creek                                                                     Asset          5950 Fairview Road,
BC Retail, LLC                Party City Corporation   Corporation dated December 28, 2020                  1030      $13,301.40   Parkway                             Raleigh       NC            27617 BC Retail, LLC Corporation    Suite 800              Charlotte        North Carolina         2210
                                                       Indenture of Lease by and between
                                                       Glencoe Bluefield Associates, Limited                                                                                                             DDRTC
DDRTC Winslow Bay                                      Partnership and P.M. Parties, Inc. dated                                                                                                          Winslow Bay c/o CBRE,         8712 Lindholm Drive,
Commons LLC                   Party City Corporation   December 3, 2002                                     1063      $10,869.76   590 F River Hwy                     Mooresville   NC            28117 Commons LLC Inc.              Suite 206            Huntersville       North Carolina        28078
                                                       Indenture of Lese by and between CK                                                                                                                             c/o
                                                       Afton Ridge Retail, LLC and P.M. Parties,                                   6110 Bayfield                                                         Gateway Afton Childress       301 S College St, Suite
Gateway Afton Ridge, Inc.     Party City Corporation   Inc. dated November 28, 2006                         1066           $0.00   Pkwy                                Concord       NC            28027 Ridge, Inc.   Klein           2800                    Charlotte       North Carolina        28202
                                                                                                                                                                                                                       c/o
                                                       Lease Agreement between Progressive                                                                                                                             Providence
                                                       Development Partners of Sardis, LLC and                                                                                                                         Group
                                                       P.M. Parties, Inc. d.b.a Party City dated                                                                                                         Galleria 1848 Managemen       300 West Summit
Galleria 1848 LLC             Party City Corporation   Deceember 11, 2003                                   1069      $10,010.74   1816 Galleria Blvd Suite H          Charlotte     NC            28270 LLC           t Services      Suite 250              Charlotte        North Carolina        28203
                                                                                                                                                                                                                       c/o
                                                                                                                                                                                                                       Rivercrest
                                                       Lease Agreement by and between NC‐                                                                                                                NC‐Garner     Realty
                                                       Garner White‐QRX, LLC and Party City                                        280 Shenstone                                                         White–QRX,    Associates,     8816 Six Forks Road,
NC‐Garner White–QRX, LLC Party City Corporation        Corporation dated January 13, 2021                   1026      $11,337.89   Blvd                                Garner        NC            27529 LLC           LLC             Suite 201            Raleigh            North Carolina        27615
                                                       Lease Agreement by and between Triple
                                                       B #3, LLC and Party City Corporation                                        703 SE Greenville                                                                                   530 SE Greenville
Triple B #3 LLC               Party City Corporation   dated March 29, 2018                                   995          $0.00   Blvd.             Suite 102     Greenville        NC            27858 Triple B #3 LLC               Blvd., Suite 200       Greenville       North Carolina        27858
                                                       Indenture of Lease by and between GMN
                                                       Properties, LLC and P.M. Parties, Inc.                                      566 S Stratford                     Winston                           GMN
GMN Properties, LLC           Party City Corporation   dated July 17, 2009                                  1061         $808.89   Rd                                  Salem         NC            27103 Properties, LLC               405 Cedar Trail        Winston Salem North Carolina           27104

                                                       Lease Agreement by and between                                                                                                                    Burlington
Burlington Levcor‐Harvest,                             Burlington Levcor‐Harvest, LLC and Party                                    635 Huffman Mill                                                      Levcor‐                       7800 Washington,
LLC                           Party City Corporation   City Corporation dated August 26, 2019                 997          $0.00   Road             Suite 102          Burlington    NC            27215 Harvest, LLC                  Suite 800              Houston          Texas            77007‐1046
                                                       Lease Agreement by and between                                                                                                                    Overlook           c/o Armada
Overlook Village Asheville,                            Overlook SPV, LLC and Party City                                                                                                                  Village            Hoffler    222 Central Park
LLC                           Party City Corporation   Corporation dated August 2, 2019                       998      $7,750.60   80 S Tunnel Rd      Suite 15        Asheville     NC            28805 Asheville, LLC     Properties Avenue, Suite 2100     Virginia Beach   Virginia              23462
                                                       Lease Agreement by and between MEY
GRAND FORKS ASSOCIATES                                 Limited Liability Company and MEY, Inc.                                                                                                           GRAND FORKS                   14 N PEORIA ST, UNIT
LP                     Party City Corporation          dated July 21, 2018                                  1145       $3,747.31   2861 32nd Ave S                     Grand Forks   ND            58201 ASSOCIATES LP                 3F                   CHICAGO                                  60607
                                                       Commercial Lease by and between Real
                                                       Hardware, LLC and Bismarck Party and                                                                                                              Real
Real Hardware, LLC            Party City Corporation   Paper, Inc. dated December 2007                      1191       $5,574.20   807 S. 7th Street                   Bismarck      ND            58504 Hardware, LLC                 805 S. 7th Street      Bismarck         North Dakota          58504
                                                       Agreement of Lease by and between
                                                       Hallmark Village Apartments and Party
                                                       Wwarehouse, Inc. d/b/a Paper
TJ Center I, LLC              Party City Corporation   Warehouse dated September 29, 1994                   1144           $0.00   4340 13th Ave S                     Fargo         ND            58103 TJ Center I, LLC              4300 E. 5th Avenue     Columbus         Ohio                  43219
                                                                                                                                                                                                         CBL &
                                                       Shopping Center Lease by and between                                                                                                              Associates                    CBL Center, Suite
CBL & Associates                                       Dakota Square Mall CMBS, LLC and MEY,                                                                                                             Management,                   500, 2030 Hamilton
Management, Inc.              Party City Corporation   Inc. d/b/a Party City dated May 23, 2013             1146       $6,480.74   2400 10th St. SW Suite 710          Minot         ND            58701 Inc.                          Place Boulevard        Chattanooga      Tennessee        37421‐6000

                                                       Lease Agreement by and between Red                                                                                                                                   c/o RED
                                                       Capital Management, LLC and Party City                                      3120 Pine Lake                                                        RED CAPITAL        Developmen One East Washington
RED CAPITAL MGMT, LLC         Party City Corporation   Corporation dated February 24, 2020                  5189           $0.00   Road                Suite N         Lincoln       NE            68516 MGMT, LLC          t, LLC     Street, Suite 300   Phoenix             Arizona               85004




                                                                                                                                                       Page 25 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 104 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                          Landlord Address
                                                                                                   Store Number /                                       Street                                                                   Parent
       Counterparty           Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                   City               State      Zip           Landlord                      Street Address            City           State       Zip
                                                                                                     Property ID                                       Address 2                                                                Company
                                                      Lease Agreement by and between
                                                      Montclair Center, LLC and Party City                                                                                                                     G&I X
G&I X Montclair On Center                             Corporation dba Party City dated April                                       12979 West                                                                  Montclair On    c/o Chase     3333 Richmond Road,
LLC                       Party City Corporation      14, 2015                                              5157           $0.00   Center Road                        Omaha         NE                   68144 Center LLC      Properties    Suite 320           Beachwood        Ohio                44122

                                                      Lease Agreement by and between                                                                                                                           Centerco
                                                      Centerco Manchester LLC and Party City                                                                                                                   Manchester      c/o Andrew
Centerco Manchester LLC     Party City Corporation    Corporation dated December 16, 2016                   6042           $0.00   1051 S Willow St                   Manchester    NH           03103         LLC             Silberfein    222 West Hills Road   New Canaan     Connecticut          6840
                                                      Lease Agreement by and between Kimco                                                                                                                                     c/o Kimco
                                                      Webster Square, LLC dated February 17,                                       266 Daniel                                                                  Kimco Webster Realty          500 North Broadway,
Kimco Webster Square, LLC Party City Corporation      2022                                                 6047R           $0.00   Webster Hwy                        Nashua        NH           03060         Square, LLC     Corporation   Suite 201           Jericho          New York            11753
                                                      Shopping Center Lease by and between                                                                                                                                     c/o
                                                      Plaistow Project LLC and iParty Retail                                                          State Line                                               Plaistow        Northstar     150 East 58th Street,
Plaistow Project LLC,       Party City Corporation    Stores Corp. dated June 21, 2012                      6072           $0.00   4 Plaistow Road    Plaza           Plaistow      NH           03865         Project LLC,    Centers LLC   Suite 2001            New York       New York            10155
                                                                                                                                                                                                                               c/o
                                                      Lease Agreement by and between BFW                                                                                                                                       Benderson
                                                      Associates, LLC and Party City                                                                                                                           BFW             Developmen    7978 Cooper Creek
BFW Associates, LLC         Party City Corporation    Corporation dated July 27, 2016                         975     $36,810.76   4771 US Route 9                    Howell        NJ           07731         Associates, LLC t             Boulevard, Suite 100 University Park Florida             34201
                                                                                                                                                                                                                               c/o M & J
                                                      Lease Agreement by and between US                                                                                                                                        Wilkow
                                                      MJW East Gate I, LLC and Party City                                                                                                                      US MJW East Properties,       20 South Clark Street,
US MJW East Gate I LLC      Party City Corporation    Corporation dated May 31, 2017                          714          $0.00   1180 Nixon Drive                Mt. Laurel       NJ           08054         Gate I LLC      LLC           Suite 3000             Chicago       Illinois            60603

                                                                                                                                                                                                                               c/o M.S.
                                                      Lease by and between Rockaway Center                                                                                                                     Rockaway        Managemen
                                                      Associates and Party City Corporation                                        357 Mount Hope                                                              Center          t Associates 225 West Washington
Rockaway Center Associates Party City Corporation     dated June 6, 2019                                      734     $32,708.34   Avenue                             Rockaway      NJ           07866         Associates      Inc.         Street              Indianapolis      Indiana        46204‐3438
                                                      Lease Agreement between Benderson‐                                                                                                                       B33
                                                      Wainberg Associates, L.P. and Party City                                                                                                                 Wrangleboro II c/o Bridge33 9330 W. Sahara Ave,
B33 Wrangleboro II LLC      Party City Corporation    Corporation dated July 24, 2007                         480          $0.00   530 Consumer Sq                    Mays Landing NJ            08330         LLC            Capital      Suite 270           Las Vegas          Nevada              89117

                                                      Lease Agreement by and between Route                                                                                                                                   c/o
                                                      17 Land Co., Inc. and Party City of                                                                                                                      Route 17 Land Colandrea
Route 17 Land Co. Inc.      Party City Corporation    Paramus, Inc. dated November 22, 2001                   746     $28,673.91   669 N Rt 17                        Paramus       NJ           07652         Co. Inc.      Enterprises 100 Route 22              Springfield    New Jersey           7081

                                                      Lease between Bayshore Shopping Plaza,                                                                                                                   Bayshore
Bayshore Shopping Plaza                               Inc. and Stevemor, Inc. d/b/a Party City                                                                                                                 Shopping Plaza c/o Garden
Associates                  Party City Corporation    dated October 31, 1988                                1024      $13,120.41   3082 Hwy 35                        Hazlet        NJ           07730         Associates      Homes       820 Morris Turnpike Short Hills      New Jersey             7078
                                                                                                                                                                                                                               c/o Levin
                                                      Lease by and between Levin Properties                                                           Kohl's                                                                   Managemen
                                                      and Party City of Route 4, Inc. dated June                                                      Shopping                                                 Levin           t
Levin Properties, L.P       Party City Corporation    3, 1992                                                 745      $6,852.94   165 W Rt 4         Center          Paramus       NJ           07652         Properties, L.P Corporation 975 U.S. Highway 22 North Plainfield New Jersey             7060
                                                                                                                                                                                                                               c/o Levin
                                                      Lease Agreement by and between                                                                                                                                           Managemen
                                                      Eatontown 36, LLC and Party City                                                                                                                         Eatontown 36, t
Eatontown 36, LLC           Party City Corporation    Corporation dated November 18, 2020                   1020      $14,880.46   50 NJ‐36                           Eatontown     NJ           07724         LLC             Corporation PO Box 326          Plainfield       New Jersey       07061‐0326
                                                      Lease Agreement by and between BRM
                                                      Parkway Center, Inc. and Party City                                                                                                                      BRM Parkway c/o Mocci
BRM Parkway Center, Inc.    Party City Corporation    Corporation dated May 13, 2022                        402R           $0.00   Route 1 South                      Iselin        NJ           08830         Center, Inc. Industries       241 Main Street       Woodbridge     New Jersey           7095
                                                      Amended and Substituted Lease
                                                      Agreement between Brentwood Plaza
                                                      and Party City Corporation dated March                                                                                                                   Brentwood    c/o Pagano
Brentwood Plaza,            Party City Corporation    12, 1997                                                  4     $22,427.52   1625 Route 23                      Wayne         NJ           07470         Plaza,       Company    55 Harristown Road          Glen Rock      New Jersey     07452‐3303
                                                                                                                                                                                                                            c/o Patron
                                                      Lease Agreement by and between Clark                                                                                                                                  Property
                                                      Commons LLC and Party City Corporation                                       1255 Raritan                                                                Clark        Managemen
Clark Commons, LLC          Party City Corporation    dated January 27, 2014                                  884          $0.00   Road               Unit #710       Clark         NJ           07066         Commons, LLC t Company 700A Lake Street             Ramsey         New Jersey           7446

                                                      Agreement of Lease between 724 R202                                                                                                                      724 R 202       c/o Steiner
                                                      Associates, L.L.C. and Mel's Party City                                                                                                                  Associates,     Equities      75 Eisenhower
724 R 202 Associates, L.L.C. Party City Corporation   dated April 23, 2001                                    747          $0.00   730 Rte 202                        Bridgewater   NJ           08807         L.L.C.          Group, L.L.C. Parkway, Suite 150    Roseland       New Jersey     07068‐1696
                                                      Agreement of Lease between River Road                                                                                                                                    c/o The
                                                      EH LLC and Party City Corporation dated                                                                                                                  346 Route 10    Klein Group
346 Route 10 Investors LLC Party City Corporation     June 24, 2013                                             3          $0.00   346 Route 10 W                     East Hanover NJ            07936         Investors LLC   LLC           25A Hanover Rd.       East Hanover   New Jersey           7932




                                                                                                                                                      Page 26 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 105 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                  Property Address                                                                            Landlord Address
                                                                                                        Store Number /                                       Street                                                                    Parent
       Counterparty            Debtor Counterparty            Description of Agreement                                   Cure Amount    Street Address 1                   City              State       Zip           Landlord                       Street Address             City          State       Zip
                                                                                                          Property ID                                       Address 2                                                                 Company

                                                      Indenture of Lease by and between RC                                                                                                                          Woodbridge
Woodbridge NJ Holdings,                               oodbridge Crossing, LLC and Party City of                                                                                                                     NJ Holdings,                   886 Belmont Avenue,
LLC                          Party City Corporation   Woodbridge, Inc. dated May 18, 2001                          402         $97.76   455 Green St                       Woodbridge NJ             07095          LLC                            Suite B             North Haledon New Jersey              7508
                                                      Lease Agreement by and between Pop
                                                      Realty Corp. and Party City Corporation                                           2450 US Highway                                                             Pop Realty
Pop Realty Corp.             Party City Corporation   dated December 28, 2015                                      403          $0.00   22                                 Kenilworth   NJ           07033          Corp.                          275 Route 22 East.   Springfield     New Jersey           7081
                                                      Lease Agreement by and between
                                                      Treeco/Watchung Limited Partnership                                                                                                                           Treeco/Watch
Treeco/Watchung Limited                               and Party City Corporation dated March                                            1684 Route 22                                                               ung Limited
Partnership                  Party City Corporation   22, 2011                                                     408          $0.00   East                               Watchung     NJ           07069          Partnership                    10 E. Palisade Ave   Englewood       New Jersey           7631
                                                                                                                                                                                                                                     c/o ABS
                                                                                                                                                                                                                                     Managemen
                                                      Lease Agreement by and between KIOP                                                                                                                                            t&
                                                      Delran L.P. and Party City Corporation                                                                                                                        Millside Plaza   Developmen    1274 49th Street,
Millside Plaza LLC           Party City Corporation   dated September 21, 2012                                     828      $6,903.00   4004 U.S. 130      Suite 8         Delran       NJ           08075          LLC              t Corp.       Suite 302            Brooklyn        New York            11219
                                                      Shopping Center Lease by and between                                                                                                                                           c/o Carlyle
                                                      Del Coop LLC and P.C. of Voorhees, Inc.                                           79 Route 73 &                                                                                Managemen     254 Katonah Ave
Del Coop LLC                 Party City Corporation   d/b/a Party City dated August 26, 2008                       717          $0.00   Cooper Rd                       4 Voorhees      NJ           08043          Del Coop LLC     t             Suite 203            Katonah         New York            10536

                                                      Lease between Metropolitan Edgewater                                                                                                                          Edgewater        c/o Kimco
Edgewater Retail Partners,                            Associates Limited Partnership and Party                                                                                                                      Retail Partners, Realty      500 North Broadway ,
LLC                          Party City Corporation   City Corporation dated April 19, 1996                        748     $26,939.83   509 River Rd                       Edgewater    NJ           07020          LLC              Corporation Suite 201            Jericho           New York            11753
                                                      Lease Agreement by and between
                                                      FC/Treeco Columbia Park LLC and Party                                                                                                                         Columbia Park c/o Madison
Columbia Park Retail                                  City of North Bergen, Inc. dated May 14,                                          3149 Kennedy                                                                Retail Owner, Internationa 410 Park Avenue,
Owner, LLC                   Party City Corporation   1998                                                         711          $0.00   Blvd.              Space 13        North Bergen NJ           07047          LLC           l            10th Floor               New York        New York            10022
                                                                                                                                                                                                                                  c/o The
                                                      Lease Agreement between Related Retail                                                                                                                        Clifton       Related
                                                      Clifton I, L.P. and Party City of Clifton, Inc.                                                                                                               Commons I,    Companies,
Clifton Commons I, L.L.C.    Party City Corporation   dated April 28, 1998                                         710      $8,358.93   385 Route 3                        Clifton      NJ           07014          L.L.C.        LP           30 Hudson Yards          New York        New York            10001
                                                      Lease Agreement by and between
                                                      Goodmill, LLC and Party City Corporation                                                                                                                      108‐110 E.
108‐110 E. 116th St., LLC    Party City Corporation   dated August 30, 2016                                        715     $21,002.26   2148 N 2nd St      Suite B         Millville    NJ           08332          116th St., LLC                 121 Tweed Boulevard Nyack            New York            10960

                                                      Lease Agreement by and between DDR                                                                                                                            DDR Nassau       c/o SITE
DDR Nassau Pavilion                                   Nassau Pavilion Associates LP and Party                                           670 Nassau Park                                                             Pavilion         Centers       3300 Enterprise
Associates LP                Party City Corporation   City Corporation dated June 3, 2013                          712         $95.63   Blvd                           28 Princeton     NJ           08540          Associates LP    Corp.         Parkway              Beachwood       Ohio                44122

                                                      Lease between JDN Real Estate ‐                                                                                                                            JDN Real            c/o SITE
JDN Real Estate‐ Hamlton,                             Hamilton, L.P. and Party City of Hamilton                                         180 Marketplace                                                          Estate‐             Centers       3300 Enterprise
L.P.                         Party City Corporation   Square, Inc. dated January 28, 2003                          713     $11,425.30   Blvd                               Hamilton     NJ           08691       Hamlton, L.P.       Corp.         Parkway              Beachwood       Ohio                44122
                                                                                                                                                                                                                 Montgomery
                                                      Lease Agreement by and between                                                                                                                             Crossing LLC
Montgomery Crossing LLC                               Academy Plaza, Ltd. And Party City of                                             4410 Wyoming                                                             and Wyoming         c/o Ronco 8950 W. Olympic
and Wyoming Crossing LLC Party City Corporation       Albuquerque, Inc. dated March 1, 1995                        942          $0.00   Blvd NE                            Albuquerque NM                  87111 Crossing LLC        Investments Blvd., 372             Beverly Hills   California     90211‐3565
                                                      Lease Agreement by and between Hunt
                                                      Building Corporation and Party City of                                                                                                                       Cottonwood c/o Fidelis
Cottonwood Retail                                     Albuquerque West, Inc. dated December                                             10254 Coors Byp                                                            Retail          Realty          4500 Bissonnet
Associates, LLC              Party City Corporation   15, 1998                                                     946        $325.43   NW              Suite E            Albuquerque NM                    87114 Associates, LLC Partners        Street, Suite 200    Bellaire        Texas               77401

                                                      Agreement of Lease by and beetween                                                                                                                                         c/o Hawkins
                                                      Hawkins‐Smith and Party City                                                      2825 Northtowne                                                            Northtowne    Companies,        855 West Broad
Northtowne LLC               Party City Corporation   Corporation dated February 27, 1998                          646          $0.00   Ln                                 Reno         NV                   89512 LLC           LLC               Street, Suite 300    Boise           Idaho               83702
                                                      Lease Agreement by and between                                                                                                                               KRG Las Vegas c/o Kite
KRG Las Vegas Centennial                              Centennial Centre, L.L.C. and Party City                                          5643 Centennial                                                            Centennial    Realty            30 South Meridian
Gateway, LLC                 Party City Corporation   Corporation dated October 17, 2001                           426     $15,312.72   Blvd.              Suite 105       Las Vegas    NV                   89149 Gateway, LLC Group              Street, Suite 1100   Indianapolis    Indiana             46204

                                                      Lease Agreement by and between                                                                                                                               Rainbow
Rainbow Arroyo Commons,                               Rainbow Arroyo Commons, LLC and Party                                             7285 Arroyo                                                                Arroyo       c/o Laurich 1770 North Buffalo
LLC                     Party City Corporation        City Corporation dated January 11, 2007                      487     $18,627.13   Crossing Pkwy      Suite 130      Las Vegas     NV                   89113 Commons, LLC Properties Drive, Suite 101             Las Vegas       Nevada              89128




                                                                                                                                                           Page 27 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 106 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                           Landlord Address
                                                                                                  Store Number /                                         Street                                                                     Parent
       Counterparty            Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                     City               State       Zip           Landlord                      Street Address          City           State        Zip
                                                                                                    Property ID                                         Address 2                                                                  Company
                                                                                                                                                                                                                                 c/o Logic LV
                                                                                                                                                                                                                                 Property
                                                      Lease by and between Rainbow                                                                                                                                               Managemen
                                                      Promenade Partners, L.L.C. and Party City                                   2301 N Rainbow                                                                8454 Steller     t Company 3900 S Haulapai Way
8454 Steller Drive LLC       Party City Corporation   Corporation dated September 12, 1996                   550     $25,139.54   Blvd                                 Las Vegas    NV                    89108 Drive LLC        LLC          Suite 200             Las Vegas       Nevada             89147

                                                      Lease Agreement by and between Retail                                                                                                                     T Eastgate MLR
T Eastgate MLR NV, LLC /                              Development Partners, LLC and Party City                                                                                                                  NV, LLC / AZT c/o Tabani      16600 Dallas
AZT Corp.                    Party City Corporation   Corporation dated September 19, 2001                   429     $33,757.48   520 Marks St         Suite 100       Henderson    NV                    89014 Corp.          Group          Parkway, Suite 300    Dallas          Texas              75248

                                                      Lease Agreement by and between Inland                                       3860 South                                                                    ARC
                                                      Western Las Vegas, L.L.C. and Party City                                    Maryland                                                                      BBLVSNV001                    2000 McKinney Ave.,
ARC BBLVSNV001 LLC           Party City Corporation   Corporation dated December 31, 2012                    538     $12,837.90   Parkway              Suite 3         Las Vegas    NV                    89119 LLC                           Suite 1000          Dallas            Texas              75201
                                                                                                                                                                                                                             c/o
                                                      Shopping Center Lease between JC Town                                                                                                                                  Hampton
                                                      Center Associates, LLC and Lisann Party                                                                                                                 JCTC Holdings, Properties,      2550 Bates Road,      Montreal,
JCTC Holdings, LLC           Party City Corporation   Corp. dated May 25, 2007                             1228           $0.00   420 Harry L Drive                    Johnson City NY            13790       LLC            Inc.             Suite 110             Quebec          Canada        H3S 1A7
                                                                                                                                                                                                                             c/o Cheryl
                                                                                                                                                                                                                             A. Chase,
                                                                                                                                                                                                                             Esq, Chase
                                                      Lease Agreement by and between One                                                                                                                                     Enterprises
                                                      Fordham Plaza LLC and Party City                                                                                                                        One Fordham Goodwin             225 Asylum Street,
One Fordham Plaza LLC        Party City Corporation   Corporation dated May 13, 2013                         860      $2,697.16   1 Fordham Plaza                      Bronx        NY                  10458 Plaza LLC      Square           29th Floor            Hartford        Connecticut   06103‐1538

                                                      Agreement of Lease by and between
                                                      Best/Newmark Associates, LLC and Party                                      3333 Crompond                        Yorktown                                 UB Yorktown, c/o UB
UB Yorktown, LLC             Party City Corporation   City Corporation dated August 7, 1998                  690          $0.00   Rd                                   Heights      NY                    10598 LLC           Properties      321 Railroad Avenue Greenwich         Connecticut         6830
                                                      Lease Agreement by and between                                                                                                                                          c/o
                                                      Randall Benderson 1993‐1 Trust and                                                                                                                                      Benderson
                                                      Party City Corporation dated December                                                                            Wappinger's                                            Developmen      7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   3, 2013                                                880     $11,271.61   1701 Route 9                         Falls       NY                     12590 93 NYRPT, LLC t               Boulevard, Suite 100 University Park Florida             34201
                                                                                                                                                                                                                              c/o
                                                      Lease Agreement by and between MSF                                                                                                                                      Benderson
                                                      Eastgate‐I, LLC and Party City                                                                                                                            Trahwen‐E,    Developmen      7978 Cooper Creek
MSF Eastgate‐I, LLC          Party City Corporation   Corporationdated April 13, 2016                        967     $14,969.85   44 Square Drive                      Victor       NY                    14564 LLC           t               Boulevard, Suite 100 University Park Florida             34201
                                                      Lease Agreement between Randall
                                                      Benderson and David H. Baldaf as
                                                      Trustees Under a Trust Agreement Dated                                                                                                                                   c/o
                                                      December 29, 1995 Known as the Ronald                                                                                                                                    Benderson
                                                      Benderson 1995 Trust and Lisann Party                                                                                                                                    Developmen 7978 Cooper Creek
95 NYRPT, LLC                Party City Corporation   Corp. dated July 28, 2006                            1221      $16,036.98   2373 Ridge Rd W                      Rochester    NY            14626          95 NYRPT, LLC t          Boulevard, Suite100       University Park Florida            34201
                                                      Lease Agreement between 700 Jefferson
                                                      Road II, LLC known for tax purposes as                                                                                                                                     c/o
                                                      Ronald Benderson 1995 Trust and Lisann                                                                                                                                     Benderson
                                                      Party Corp. d/b/a Party City dated                                          700 Jefferson                                                                  700 Jefferson   Developmen 7978 Cooper Creek
700 Jefferson Road II, LLC   Party City Corporation   December 26, 2012                                    1223           $0.00   Road                                 Henrietta    NY            14623          Road II, LLC    t          Boulevard, Suite100     University Park Florida            34201
                                                      Lease Agreement between Ronald
                                                      Benderson, Randall Benderson and David
                                                      H. Baldauf as Trustess Under a Trust
                                                      Agreement dated Octoer 14, 1985 known                                                                                                                                    c/o
                                                      as the Benderson 85‐1 Trust and Lisann                                                                                                                                   Benderson
                                                      Party Corp. d/b/a Party City dated March                                                                                                                   The Benderson Developmen 7978 Cooper Creek
The Benderson 85‐1 Trust     Party City Corporation   28, 2011                                             1224      $15,000.65   145 Galleria Drive                   Cheektowaga NY             14225          85‐1 Trust    t          Boulevard, Suite100       University Park Florida            34201
                                                                                                                                                                                                                               c/o
                                                      Lease Agreement between Transit‐                                                                                                                                         Benderson
                                                      Eastgate Associates, LLC and Lisann Party                                                                                                                                Developmen 7978 Cooper Creek
EGATE‐95, LLC                Party City Corporation   Corporation dated December 4, 2003                   1225      $10,741.34   5097 Transit Road                    Williamsville NY           14221          EGATE‐95, LLC t          Boulevard, Suite100       University Park Florida            34201
                                                      Lease Agreement between Nathan
                                                      Benderson, Ronald Benderson and David
                                                      H. Baldauf, as Trustees Under a Trust
                                                      Agreement dated September 22, 1993,                                                                                                                                      c/o
                                                      known as the Randall Benderson 1993‐1                                                                                                                                    Benderson
                                                      Trust and Party City Corporation dated                                      2141 Elmwood                                                                                 Developmen 7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   August 15, 1996                                      1229           $0.00   Avenue                               Buffalo      NY            14207          93 NYRPT, LLC t          Boulevard, Suite100       University Park Florida            34201




                                                                                                                                                       Page 28 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 107 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                   Landlord Address
                                                                                                  Store Number /                                       Street                                                             Parent
       Counterparty            Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                   City               State   Zip        Landlord                     Street Address            City          State   Zip
                                                                                                    Property ID                                       Address 2                                                          Company

                                                      Lese Agreement between Nathan
                                                      Benderson, Ronald Benderson and David
                                                      H. Baldauf as Trustees under a Trust
                                                      Agreement dted September 22, 1993                                                                                                                              c/o
                                                      known as the Randall Benderson 1993‐1                                                          Niagra Falls                                                    Benderson
                                                      Trust and Factory Card Outlet of America,                                   7220 Niagara       Consumer                                                        Developmen      7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   Ltd. Dated December 16, 1996                         5250      $15,914.96   Falls Blvd         Sq           Niagara Falls NY               14304 93 NYRPT, LLC t               Boulevard, Suite 100 University Park Florida        34201
                                                                                                                                                                                                                     c/o
                                                      Lease Agreement by and between                                                                                                                                 Benderson
                                                      Dewcom, LLC and Party City Corporation                                                                                                                         Developmen      7978 Cooper Creek
Dewcom, LLC                  Party City Corporation   dated December 3, 2013                               5258      $19,096.33   3409 Erie Blvd. E. Suite 240       Syracuse      NY            13214 Dewcom, LLC t                 Boulevard, Suite 100 University Park Florida        34201
                                                      Indenture of Lease by FB Oceanside, LLC                                                                                                          Alpine Income c/o CTO
Alpine Income Property OP,                            and Party City Corporation dated October                                    3098 Long Beach                                                      Property OP, Realty           1140 Williamson
LP                         Party City Corporation     23, 1998                                               409          $0.00   Rd                                 Oceanside     NY            11572 LP            Growth Inc.     Blvd. Suite 1400     Daytona Beach Florida          32114

                                                      Lese between DPA Realty Co. LLC and                                                                                                                          c/o The
                                                      Party City Corporation dated March 15,                                      1239 Deer Park                     North                             DPA Realty  Phoenix
DPA Realty Company LLC       Party City Corporation   1997                                                   565          $0.00   Ave (Rte 231)                      Babylon       NY            11703 Company LLC Organization 941 A Clint Moore Rd Boca Raton           Florida        33487
                                                                                                                                                                                                                   c/o M & J
                                                      Indenture of Lease between Portcal                                                                                                               ML‐MJW Port Wilkow
ML‐MJW Port Chester SC                                Company and R & R Party City, Inc. dated                                    435 Boston Post                                                      Chester SC  Properties, 20 South Clark St,
Owner LLC                    Party City Corporation   January 11, 1994                                       422          $0.00   Rd                                 Portchester   NY            10573 Owner LLC   LLC          Suite 3000           Chicago              Illinois       60603

                                                      Shopping Center Lease by and between                                                                                                             B33
                                                      Centereah Mall Associates L.P. and Party                                    253 Centereach                                                       Centereach II    c/o Bridge33 9330 W. Sahara Ave,
B33 Centereach II LLC        Party City Corporation   City Corporation dated October 9, 1996                 525          $0.00   Mall                               Centereach    NY            11720 LLC              Capital      Suite 270           Las Vegas        Nevada         89117

                                                                                                                                                                                                                    c/o Reisman
                                                      Agreement of Lease by and between                                           256 Northern                                                                      Property
                                                      Norwill Associates and Party City                                           Lights Shopping                    North                             Norwill      Interests,       340 West Passaic
Norwill Associates           Party City Corporation   Corporation dated May 14, 1998                       1132           $0.00   Center                             Syracuse      NY            13212 Associates   Inc.             Street               Rochelle Park   New Jersey      7662
                                                      Agreement of Lease between LH                                                                                                                    660 Columbus c/o The
660 Columbus Retail Owner                             Commercial Holdings LLC and Party City                                      660 Columbus                                                         Retail Owner Klein Group,     25 A Hanover Rd, Ste.
LLC                       Party City Corporation      Corporation dated March 2, 2011                        741          $0.00   Avenue                             New York      NY            10025 LLC          LLC              350                   FLORHAM PARK New Jersey        7932

                                                      Agreement of Lease by and between FC
                                                      Grand Avenue Associates, L.P. and Party                                                                                                          Shop at Grand c/o Acadia      411 Theodore Fremd
Shop at Grand Avenue LLC     Party City Corporation   City Corporation dated July 24, 1998                   687     $22,259.83   7417 Grand Ave                     Elmhurst      NY            11373 Avenue LLC    Realty          Ave, Suite 300     Rye               New York       10580
                                                      Lease Agreement by and between
                                                      Crossroads II, LLC and Party City                                                                                                                Crossroads II,  c/o Acadia    411 Theodore Fremd
Crossroads II, LLC           Party City Corporation   Corporation dated August 17, 2012                      836          $0.00   431 Tarrytown Rd                   White Plains NY             10607 LLC             Realty        Ave, Suite 300     Rye               New York       10580
                                                                                                                                                                                                                       c/o
                                                      Lease Agreement by and between                                                                                                                                   American
                                                      Rockland Center Associates, LLC and                                                                                                              Rockland        Continental
Rockland Center Associates,                           Party City Corporation dated November                                       123 Rockland                                                         Center          Properties,   460 Park Avenue,
LLC                         Party City Corporation    2, 2012                                                846          $0.00   Center                             Nanuet        NY            10954 Associates, LLC LLC           11th Floor           New York        New York       10022
                                                                                                                                                                                                                       c/o
                                                      Agreement of Lease between Country                                                                                                               Nostrand        Ashkenazy
Nostrand Property Owner                               Leasing Limited Partnership and Party                                       3797‐3849                                                            Property        Acquisitons   150 East 58th St Suite
LLC                          Party City Corporation   City Corporation dated January 27, 1997                530     $21,378.33   Nostrand Ave                       Brooklyn      NY            11235 Owner LLC       Corp          3900                   New York      New York       10155
                                                      Lease by nd between American
CP/IPERS New Hyde Park,                               Millworks, LLC and Party City Corporation                                   2317 New Hyde                      New Hyde                          CP/IPERS New c/o Clarion      230 Park Avenue,
LLC                          Party City Corporation   dated February 19, 1997                                556      $1,511.03   Park Rd                            Park          NY            11042 Hyde Park, LLC Partners       12th Floor           New York        New York       10169
                                                                                                                                                                                                                      c/o DLC
                                                      Lease Agreement by and between G & I                                                                                                             G & I IX       Managemen
G & I IX EmpireE Big Flats                            IX Empire Big Flats LLC and Party City                                      845 County Road                                                      EmpireE Big    t              565 Taxter Road, 4th
LLC                          Party City Corporation   Corporation dated January 19, 2018                     994          $0.00   64              Suite 28A          Elmira        NY            14903 Flats LLC      Corporation    Floor                Elmsford        New York       10523




                                                                                                                                                     Page 29 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 108 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                           Landlord Address
                                                                                                   Store Number /                                        Street                                                                    Parent
       Counterparty            Debtor Counterparty            Description of Agreement                              Cure Amount    Street Address 1                    City                State      Zip            Landlord                     Street Address            City       State   Zip
                                                                                                     Property ID                                        Address 2                                                                 Company

                                                       Agreement between Ronald Benderson,
                                                       Randall Benderson and David H. Baldauf
                                                       as Trustess Under a Trust Agreement                                                                                                                                     c/o DLC
                                                       dated October 14, 1985 known as the                                                                                                                        G&I IX       Managemen
G&I IX Mohawk Commons,                                 Benderson 85‐1 Trust and Party City                                         4408 Milestrip                                                                 Mohawk       t
LLC                    Party City Corporation          Corrporation dated July 21, 1998                     1230      $26,842.89   Rd, Unit 8                          Blasdell       NY           14219          Commons, LLC Corporation 565 Taxter Road           Elmsford      New York     10523

                                                       Lease between SSMRT Latham Farms                                                                                                                                         c/o Flaum
                                                       Shopping Center (8), Inc. and Factory                                                                                                                     LATHAM         Managemen
LATHAM FARMS OWNER                                     Card Outlet of America, Ltd., dated June                                    579 Troy            Lathams                                                   FARMS          t Company,
LLC                          Party City Corporation    27, 1997                                             5242       $9,416.16   Schenectady Rd      Farm Ctr        Latham         NY                   12110 OWNER LLC      Inc.       400 Andrews St #500 Rochester           New York     14604

                                                       Lease Agreement by and between                                                                                                                            Rockaway        c/o ISJ
Rockaway Realty Associates,                            Rockaway Realty Associates, LP and Party                                    253‐01 Rockaway Level 2 Suite                                                 Realty          Managemen     110 West 34th Street,
LP                          Party City Corporation     City Corporation dated April 20, 2016                  527          $0.00   Blvd            B             Rosedale             NY                   11422 Associates, LP t Corp.        Floor 9               New York      New York     10001
                                                       Lease Agreement by and between                                                                                                                                            c/o Jeffrey
                                                       Crescent Land Development and Party                                                                                                                       Crescent Land Managemen
Crescent Land Development                              City Corporation dated September 30,                                        3541 Hempstead                                                                Development t                 7 Penn Plaza, Suite
Associates, LLC           Party City Corporation       2002                                                   478          $0.00   Tpke                                Levittown      NY                   11756 Associates, LLC Corporation   618                   New York      New York     10001
                                                       Lease by and between Philips
                                                       International Holding Corp., as agent for
                                                       Forest Avenue Shopping Associates and                                                                                                                                    c/o Kimco
                                                       Party City Corporation dated July 15,                                                                                                                     Kiop Forest    Realty      500 North Broadway,
Kiop Forest Ave. L.P         Party City Corporation    1997                                                   603          $0.00   1549 Forest Ave                     Staten Island NY                    10302 Ave. L.P       Corporation Suite 201           Jericho            New York     11753
                                                                                                                                                                                                                 Smithtown
                                                       Lease by and betweenSmithtown                                                                                                                             Venture
                                                       Venture Limited Liabiity Company and                                                                                                                      Limited       c/o Kimco
Smithtown Venture Limited                              Party City Corporation dated July 17,                                       58 Veterans                                                                   Liability     Realty          500 North Broadway,
Liability Company         Party City Corporation       1997                                                   613        $109.90   Memorial Hwy                        Commack        NY                   11725 Company       Corporation     Suite 201           Jericho         New York     11753
                                                       Lease Agreement by and between KIOP                                                                                                                                     c/o Kimco
                                                       Merrick L.P. and Party City Corporation                                     1674 Merrick                                                                  KIOP Merrick, Realty          500 North Broadway,
KIOP Merrick, L.P.           Party City Corporation    dated September 9, 2022                              1202           $0.00   Road                Suite 4B        Merrick        NY                   11566 L.P.          Corporation     Suite 201           Jericho         New York     11753
                                                       Lease Agreement by and between Ralph                                                                                                                                    c/o Kimco
                                                       Avenue 1131, LLC and Party City                                             2265 Ralph                                                                    Ralph Avenue Realty           500 North Broadway,
Ralph Avenue 1131, LLC       Party City Corporation    Corporation dated November 14, 2014                    404     $28,348.68   Avenue                              Brooklyn       NY                   11234 1131, LLC     Corporation     Suite 201           Jericho         New York     11753
                                                       Agreement of Lease between Turnwood                                                                                                                       KK            c/o Kimco
                                                       Associates, LLC and Party City                                                                                                                            MARKETPLACE Realty            500 North Broadway,
KK MARKETPLACE 2468, LLC Party City Corporation        Corporation dated January 1997                         555          $0.00   8063 Jericho Tpke                   Woodbury       NY                   11797 2468, LLC     Corporation     Suite 201           Jericho         New York     11753

                                                                                                                                                                                                                                c/o National
                                                       Lease Agreement by and between                                                                                                                                           Realty &
                                                       Middletown I Resources L.P. and Party                                                                                                                     Middletown I Developmen 3 Manhattanville
Middletown I Resources L.P. Party City Corporation     City Corporation dated June 5, 2009                    504     $17,109.84   470 Route 211 E                     Middletown     NY                   10940 Resources L.P. t Corp.      Road                    Purchase      New York     10577

                                                                                                                                                                                                                 CP Crossing,
                                                                                                                                                                                                                 L.L.C.; Crossing
                                                                                                                                                                                                                 WSA, LLC;
CP Crossing, L.L.C.; Crossing                          Lease Agreement by and between The                                                                                                                        Crossing M
WSA, LLC; Crossing M LLC;                              Crossing LLC and Party City Corporation                                     54 The Crossing                                                               LLC; Crossing c/o Nigro       20 Corporate Woods
Crossing Kings LLC            Party City Corporation   dated May 26, 2016                                     964      $9,112.00   Boulevard           Suite U1        Clifton Park   NY                   12065 Kings LLC        Companies    Blvd               Albany           New York     12211
                                                                                                                                                                                                                                  c/o
                                                       Agreement of Lease by and between                                                                                                                         Pergament        Pergament
Pergament Mall of Staten                               Pergament Enterprises of S.I. and Party                                     2795 Richmond                                                                 Mall of Staten Investments    95 Froehlich Farm
Island LLC                   Party City Corporation    City Corp. dated July 10, 1998                         674     $19,906.06   Ave                                 Staten Island NY                    10314 Island LLC       , Inc.       Boulevard             Woodbury      New York     11797
                                                       Agreement of Lease by and between
                                                       Murray Pergament and Robert
                                                       Pergament, as T.I.C. c/o Pergament
                                                       Properties and Party City Corporation                                                                                                                     Sunrise        c/o            95 Froehlich Farm
Sunrise Express, LLC         Party City Corporation    dated July 27, 1998                                    692          $0.00   120 Sunrise Hwy                     Patchogue      NY                   11772 Express, LLC   Pergament      Blvd.                 Woodbury      New York     11797
                                                       Lease by and between Philips
                                                       International Holding Corp., as agent for                                                                                                                                c/o Philips
                                                       S.P. Massapequa and Party City                                                                                                                            Sunrise Mass   Internationa 295 Madison Ave
Sunrise Mass LLC             Party City Corporation    Corporation dated September 15, 1997                   615      $6,585.84   5500 Sunrise Hwy                    Massapequa NY                       11758 LLC            l            2nd floor               New York      New York     10017




                                                                                                                                                       Page 30 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 109 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                           Landlord Address
                                                                                                    Store Number /                                       Street                                                                   Parent
       Counterparty             Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                   City               State       Zip         Landlord                        Street Address              City          State     Zip
                                                                                                      Property ID                                       Address 2                                                                Company

                                                       Shopping Center Lease by and between                                                                                                                   Washington        c/o Pyramid
Washington Commons                                     Washington Commons Associates and                                            165 Washington                                                            Commons           Managemen
Newco LLC                     Party City Corporation   Lisann Party Corp. dated January 2002                 1227       $9,689.56   Ave Ext                            Albany        NY           12205       Newco LLC         t Group LLC 4 Clinton Square  Syracuse                 New York        13202
                                                       Lease Agreement by and between FBG                                                                                                                     FBG Harriman      c/o RD
FBG Harriman Upper Retail,                             Harriman Upper Phase LLC and Party City                                      128 Bailey Farm                                                           Upper Retail,     Managemen 810 Seventh Avenue,
LLC                        Party City Corporation      Corporation dated May 28 2010                           686          $0.00   Road               Suite 6         Monroe        NY                 10950 LLC               t LLC       10th Floor        New York                 New York        10019
                                                       Lease between Prestige Bay Plaza
                                                       Development Corp. and Party City                                             310‐320                                                                  PC2‐Bay Plaza,                    546 Fifth Avenue,
PC2‐Bay Plaza, LLC            Party City Corporation   Corporation dated February 1996                         522          $0.00   Baychester Ave                     Bronx         NY                10475 LLC                               15th Floor            New York          New York        10036
                                                       Agreement of Lease between Samson
                                                       Associates and Party City Corporation                                                                                                                 The New
The New School                Party City Corporation   dated June 1998                                         681          $0.00   38 W 14th St                       New York      NY                10011 School                            55 W 13th Street      New York          New York        10011
                                                       Agreement of Lease between G. Forte
                                                       Associates, Inc. and Party City                                                                                                                       G. Forte &
G. Forte & Associates, Inc.   Party City Corporation   Corporation dated December 29, 1999                     689          $0.00   2396 Sunrise Hwy                   Islip         NY                11751 Associates, Inc.                  2 Saxwood Street      Deer Park         New York        11729
                                                       Lease Agreement by and between Dena                                                                                                                                  c/o Kaplan
                                                       Marie II, LLC and Party City Corporation                                                        Dena Marie                                            Dena Marie II, Realty
Dena Marie II, LLC            Party City Corporation   dated July 13, 2010                                     701          $0.00   950 Miron Lane     Plaza      Kingston           NY                12401 LLC            Group              170 West 74th Street New York           New York        10023
                                                                                                                                                                                                             Wachs New
                                                       Lease Agreement by and between                                                                                                                        Hartford
Wachs New Hartford                                     Mistedo Enterprises, Inc. and Fay's Drug                                     4525 Commercial                                                          Development,                      215 West Church
Development, LLC              Party City Corporation   Company, Inc. dated September 5, 1986                   411          $0.00   Dr              Rte 5A             New Hartford NY                 13413 LLC                               Road, Suite 107       King of Prussia   Pennsylvania    19406
                                                                                                                                                                                                                            c/o C‐III
                                                                                                                                                                                                                            Asset
                                                                                                                                                                                                                            Managemen
                                                                                                                                                                                                                            t LLC, DBA
                                                       Lease Agreement by and between FC                                                                                                                     PWR16‐48‐18 Greystone
PWR16‐48‐18 Northern                                   Northern Associates II, LLC and Party City                                   48‐18 Northern                     Long Island                           Northern Blvd Special             5221 N. O'Connor
Blvd LLC                      Party City Corporation   Corporation dated June 16, 2014                         512          $0.00   Blvd                               City          NY                11101 LLC            Servicing          Blvd, Sute 800        Irving            Texas           75039
                                                       Built to Suit Lease by and between Yung‐
                                                       Pong, L.L.C. and Party City Corporation                                                                                                                              c/o Jia C.         7165 E. Portobello
Yung‐Pong, LLC                Party City Corporation   dated August 5, 1997                                    609          $0.00   4962 Monroe St                     Toledo        OH                43623 Yung‐Pong, LLC Wang               Avenue                Mesa              Arizona         85212
                                                       Lease Agreement by and between BC                                                                                                                     6639AIRPORT
6639AIRPORTHWYHOLLAN                                   Aiport, LLC and Party City Corporation                                       6645 Airport                                                             HWYHOLLAND                        4339 Fitzwilliam
D LLC                Party City Corporation            dated June 4, 2018                                    4138      $11,723.51   Highway                        Holland           OH                43528 LLC                               Street                Dublin            California      94568
                                                       Shopping Center Lease by and between                                                            Bridgewater
                                                       Bridgewater Falls LLC and Factory Card                                                          Falls                                                 Bridgewater
Bridgewater Falls Station                              Outlet of America, Ltd. Dated July 25,                                       3431 Princeton     Shopping                                              Falls Station      c/o RPT        20750 Civic Center
LLC                           Party City Corporation   2005                                                  5340      $30,109.30   Rd # 105           Ctr         Hamilton          OH                45011 LLC                Realty         Drive, Suite 310      Southfield        Michigan        48076

                                                       Lease Agreement by and between North
                                                       Heights Associates and The One‐Half Off                                      8160 Old Troy                      Huber                                 PMAT North         c/o Stirling   109 Northpark Blvd.
PMAT North Heights LLC        Party City Corporation   Card Shop, Inc. dated October 8, 1990                 4139           $0.00   Pike                               Heights       OH                45424 Heights LLC        Properties     Suite 300             Covington         Louisiana       70433
                                                       Lease between B & J Development LP and                                                                                                                TKG Colerain       c/o TKG
TKG Colerain Towne Center,                             Factory Card Outlet of America, Inc.                                         10204 Colerain     Colerain                                              Towne Center,      Managemen      211 N. Stadium Blvd.,
LLC                        Party City Corporation      dated March 27, 1995                                  5168       $1,614.30   Ave                Town Ctr        Cincinnati    OH                45251 LLC                t, Inc.        Suite 201             Columbia          Missouri        65203
                                                       Lease Agreement between THF St.
                                                       Clairsville Development, L.P. and Factory                                                                                                             St. Clairsville    c/o TKG
St. Clairsville Main Parcel                            Card Outlet of America, Ltd. Dated June                                      50825 Valley       Ohio Valley Saint                                     Main Parcel        Managemen 211 North Stadium
L.L.C.                        Party City Corporation   17, 1996                                              5213       $1,583.98   Plaza Dr           Plaza       Clairsville       OH                43950 L.L.C.             t, Inc.   Blvd, Suite 201            Columbia          Missouri        65203
                                                       Lease Agreement by and between
                                                       Brixmor Holdings 10 SPE, LLC and Party                                                                                                                Brixmor            c/o Brixmor
Brixmor Holdings 10 SPE,                               City Corporation dated November 19,                                          2142 Miamisburg‐                                                         Holdings 10        Property    450 Lexington
LLC                           Party City Corporation   2014                                                  4140      $11,616.57   Centerville Road                   Dayton        OH                45459 SPE, LLC           Group       Avenue, 13th Floor       New York          New York        10017
                                                       Lease Agreement by and between                                                                                                                        Brixmor GA
                                                       Brixmor GA Southland Shopping Center                                                                                                                  Southland          c/o Brixmor
Brixmor GA Southland                                   LLC and Party City Corporation dated                                         6935 Southland                     Middleburg                            Shopping           Property       450 Lexington
Shopping Center LLC.          Party City Corporation   September 24, 2012                                    5217       $9,563.05   Drive              Unit C          Heights       OH                44130 Center LLC.        Group          Avenue, 13th Floor    New York          New York        10017
                                                       Lease Agreement by and between Duke                                                                                                                                      c/o
                                                       Realty Limited Partnership and Factory                                                                                                                                   Hauppauge
                                                       Card Outlet of America, Ltd., dated                                          5555 Glenway       Western                                               Western Hills      Properties,    1975 Hempstead
Western Hills Equities, LLC   Party City Corporation   November 5, 1997                                      5293           $0.00   Ave                Hills           Cincinnati    OH                45238 Equities, LLC      LLC            Tpke, Suite 309       East Meadow       New York        11554




                                                                                                                                                       Page 31 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 110 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                      Landlord Address
                                                                                                  Store Number /                                       Street                                                              Parent
       Counterparty            Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                   City               State   Zip         Landlord                       Street Address            City          State   Zip
                                                                                                    Property ID                                       Address 2                                                           Company

                                                      Lease by and between First Interstate                                                                                                                                             The Offices at Legacy
First Interstate Willoughby,                          Willoughby, Ltd. And Party City                                                                                                                  Willoughby                       Village, 25333 Cedar
Ltd.                         Party City Corporation   Corportion dated September 26, 1997                    594          $0.00   36315 Euclid Ave                   Willoughby    OH            44094 Commons LLC                      Road, Suite 300       Lyndhurst     Ohio            44124
                                                                                                                                                                                                                         c/o First
                                                      Lese Agreement by and between                                                                                                                                      Interstate
                                                      Steelyard Commons, LLC and Party City                                       3373 Steelyard                                                         Steelyard       Properties,    25333 Cedar Road,
Steelyard Commons LLC        Party City Corporation   Corporation dated August 19, 2015                      926          $0.00   Drive                              Cleveland     OH            44109   Commons LLC Ltd.               Suite 300              Lyndhurst    Ohio            44124
                                                      Lease Agreement by and between PEBB                                                                                                                RE Aurora       c/o
                                                      Cleveland, LLC and Party City Corporation                                   7555 Market                                                            Ohio Family     Guggenheim     23215 Commerce
RE Aurora Ohio Family LLC    Party City Corporation   dated July 29, 2015                                    930          $0.00   Place Drive                        Aurora        OH            44202   LLC             Inc.           Park, #104             Beachwood    Ohio            44122
                                                                                                                                                                                                                         c/o
                                                      Lease Agreement by and betwee Walkers                                                                                                                              Northstar
                                                      Corner LLC and Party City Corporation                                       10701 Blacklist                                                        Walkers         Developmen     150 E. Broad Street,
Walkers Corner, LLC          Party City Corporation   dated May 7, 2013                                      861          $0.00   Eastern Road       Suite 400       Pickerington OH             43147   Corner, LLC     t              Suite 305              Columbus     Ohio            43215
                                                                                                                                                                                                                         c/o Robert
                                                      Lease Agreement by and between Shops                                                                                                               Shops of        L. Stark
                                                      of Fairlawn Retail LLC and Party City                                                                                                              Fairlawn Retail Enterprises,   629 Euclid Avenue,
Shops of Fairlawn Retail LLC Party City Corporation   Corporation dated November 23, 2021                  1159           $0.00   3737 W Market St Unit B            Fairlawn      OH            44333   LLC             Inc.           Suite 1300             Cleveland    Ohio            44114
                                                      Lease by and between Developers                                                                                                                                    c/o Robert
                                                      Diversified Realty Corporation and                                                                                                                                 L. Stark
                                                      Factory Card Outlet of America, Ltd.                                        5557 Dressler Rd Belden Park                                           Belden Park     Enterprises,   629 Euclid Avenue,
Belden Park Delaware, LLC    Party City Corporation   Dated April 15, 1997                                 5273           $0.00   NW               Cross       North Canton OH                   44720   Delaware, LLC Inc.             Suite 1300             Cleveland    Ohio            44114
                                                                                                                                                                                                                         c/o
                                                      Lease by and between Shoppes of                                                                Shops At                                            Shoppes of      Schottenstei
                                                      Beavercreek Ltd. And Factory Card Outlet                                    2720 Towne Dr      Beaver                                              Beavercreek n Property
Shoppes of Beavercreek LLC Party City Corporation     of America, Ltd. Dated June 18, 1997                 5275           $0.00   Ste 400            Creek           Dayton        OH            45431   LLC             Group          4300 E. 5th Avenue     Columbus     Ohio            43219
                                                      Lease Agreement by and between Polaris                                                                                                                             c/o SITE
                                                      Center LLC and Party City Corporation                                       1297 Polaris                                                                           Centers        3300 Enterprise
DDR PTC LLC                  Party City Corporation   dated May 21, 2010                                     649        $347.90   Parkway                            Columbus      OH            43240   DDR PTC LLC Corp.              Parkway                Beachwood    Ohio            44122

                                                      Lease Agreement by and between Easton                                                                                                            Easton Market
                                                      Market Limited Liability Company and                                                                                                             Limited       c/o SITE
Easton Market Limited                                 Factory Card Outlet of America, Ltd.                                        3707 Easton                                                          Liability     Centers            3300 Enterprise
Liability Company            Party City Corporation   Dated February 24, 1997                              5279           $0.00   Market             Easton Mkt Columbus           OH            43219 Company       Corp.              Parkway                Beachwood    Ohio            44122

                                                      Lease Agreement by and between Jungle
                                                      Jim's Eastgate, LLC and Party City                                          4450 Eastgate                                                        Jungle Jim's
Jungle Jim's Eastgate, LLC   Party City Corporation   Corporation dated November 30, 2012                    627     $11,277.93   Blvd.              Suite 280       Cincinnati    OH            45245 Eastgate, LLC                    5440 Dixie Highway     Fairfield    Ohio            45014
                                                      Lease Agreement by and between
                                                      Whittingham Capital, LLC and Party City                                     6655 Sawmill                                                         Whittingham                      6689 Dublin Center
Whittingham Capital LLC      Party City Corporation   Corporation dated August 31, 2015                    5193           $0.00   Road                               Dublin        OH            43017 Capital LLC                      Drive                  Dublin       Ohio            43017
                                                      Lease Agreement by and between                                                                                                                   GGF1 North   c/o                 BNY Mellon Center,
GGF1 North Olmsted 2016                               NORCAR Company LLC and Party City                                           24800 Brookpark                    North                             Olmsted 2016 Glimcher            500 Grant Street,
LLC                          Party City Corporation   Corporation dated January 4, 2011                    5177           $0.00   Road                               Olmsted       OH            44070 LLC          Group               Suite 2000             Pittsburgh   Pennsylvania    15219

                                                      Lease Agreement by and between                                                                                                                   Chillicothe
Chillicothe Shopping Center,                          Chillicothe Shopping Center, LP and Party                                   72 Consumer                                                          Shopping
LP                           Party City Corporation   City Corporation dated February 1, 2012                790          $0.00   Center Drive                       Chillicothe   OH            45601 Center, LP              4848 Route 8 Unit #2 Allison Park            Pennsylvania    15101
                                                      Lease Agreement by and between F.I.                                                                                                              T Mentor
                                                      Mentor I LLC and Party City Corporation                                                                                                          Commons OH, c/o AZT     16600 Dallas
T Mentor Commons OH, LLC Party City Corporation       dated January 4, 2016                                5175           $0.00   9134 Mentor Ave                    Mentor        OH            44060 LLC         Corporation Parkway, Suite 300   Dallas                  Texas           75248

                                                      Shopping Center Lease by and between                                                                                                                             c/o Smithco
                                                      Jim R. Smith and Party City of Kenwood,                                     8063                                                                 Smithco         Developmen 1400 Post Oak Blvd.,
Smithco Cincinnati, LP.      Party City Corporation   Ohio, Inc. dated November 20, 1995                     165          $0.00   Montgomery Rd                      Cincinnati    OH            45236 Cincinnati, LP. t           Suite 900                   Houston      Texas           77056
                                                                                                                                                                                                                       c/o Hiffman
                                                      Lease Agreement by and between                                                                                                                   ARC             Asset
                                                      Southroads LLC and Party City                                                                                                                    SRTULOK001, Managemen One Oakbrook                      Oakbrook
ARC SRTULOK001, LLC          Party City Corporation   Corporation dated July 7, 2014                       1162      $12,082.08   5301 E 41st St                     Tulsa         OK            74135 LLC             t           Terrace #400                Terrace      Illinois        60181
                                                      Lease Agreement by and between TKG                                                                                                                               c/o TKG
                                                      Smith Farm, LLC and Party City                                              9002 N. 121st E.                                                     TKG Smith       Managemen 211 N Stadium
TKG Smith Farm, LLC          Party City Corporation   Corporation dated January 25, 2018                     991          $0.00   Avenue             #600            Owasso        OK            74055 Farm, LLC       t, Inc.     Boulevard, Suite 201        Columbia     Missouri        65203




                                                                                                                                                     Page 32 of 44
                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 111 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                        Landlord Address
                                                                                                 Store Number /                                         Street                                                                   Parent
       Counterparty          Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                     City                  State   Zip         Landlord                     Street Address           City            State    Zip
                                                                                                   Property ID                                         Address 2                                                                Company
                                                                                                                                                                                                                              c/o Gulf
                                                    Lease Agreement by and between ERP                                                                                                                                        Coast
                                                    Mingo Marketplace, LLC and Party City                                        10111 East 71st                                                           Fairlawn 35,       Commerical 788 W Sam Houston
Fairlawn 35, L.P.          Party City Corporation   Corporation dated July 27, 2011                       1161      $17,399.28   Street               Suite 1A        Tulsa            OK            74133 L.P.               Group, Inc. Pkwy. N., Suite 206 Houston             Texas         77024
                                                    Lease Agreement by and between CD
                                                    2007‐CD5 Ed Noble Parkway, LLC and
                                                    Party City Corporation dated January 30,                                     552 ED Noble                                                              UNIVERSITY SP                    2221 W. Lindsey
UNIVERSITY SP LLC          Party City Corporation   2019                                                  1075           $0.00   Parkway                              Norman           OK            73072 LLC                              Street, Suite 201     Norman          Oklahoma      73069
                                                    Lease Agreement by and between                                                                                                                         Westgate
                                                    Westgate Marketplace Developers, L.L.C.                                                                                                                Marketplace
Westgate Marketplace                                and Party City Corporation, dated March                                                                           Oklahoma                             Developers,                      7725 W. Reno, Suite
Developers, L.L.C.         Party City Corporation   21, 2018                                              1079      $23,191.03   6413 SW 3rd St.      Suite C         City             OK            73128 L.L.C.                           398                   Oklahoma City   Oklahoma      73127
                                                    Lease Agreement by and between TPP
                                                    Bryant LLC and Party City Corporation                                                                                                                    TPP Bryant,      c/o Trigate   1717 Main Street,
TPP Bryant, LLC            Party City Corporation   dated May 3, 2019                                     1073       $9,136.64   526 S Bryant Ave                     Edmond           OK            73034   LLC              Capital       Suite 2600            Dallas          Texas         75201
                                                    Lease Agreement by and between                                                                                                                           Medhoof LLC,
Medhoof LLC,                                        Medhoof, LLC, Craterlakecenter, LLC and                                                                                                                  Craterlakecent   c/o
Craterlakecenter LLC and                            Dormouse, LLC and Party City                                                 3657 Crater Lake                                                            er LLC and       Dickerhoof
Dormouse LLC               Party City Corporation   Corporation dated November 6, 2011                      996      $9,048.39   Highway                              Medford          OR            97504   Dormouse LLC     Properties    PO Box 1800           Corvalis        Oregon        97339
                                                                                                                                                                                                             Schnitzer
                                                                                                                                                                                                             Properties FKA
Schnitzer Properties FKA                            Lease Agreement by and between Harsch                                                                                                                    Harsch
Harsch Investment                                   Investment Corp. and Party City                                              8905 SW Cascade                                                             Investment                 1121 SW Salmon
Properties                 Party City Corporation   Corporation dated February 24, 2021                   1118      $21,276.03   Ave             Suite 130            Beaverton        OR            97008   Properties                 Street                Portland            Oregon        97205
                                                    Agreement of Lease by and between THF                                                                                                                    THF York         c/o TKG
                                                    York Development, L.P. and Party City                                                                                                                    Development,     Managemen 211 N. Stadium Blvd.,
THF York Development, L.P. Party City Corporation   Corporation dated June 26, 1998                       1172         $539.00   2801 E Market St Suite L2            York             PA            17402   L.P.             t, Inc.   Suite 201             Columbia            Missouri      65203
                                                    Lease by and between Fairless Hills                                                                                                                      Fairless Hills
Fairless Hills Shopping                             Shopping Center, LP and oorestown Party                                      461 S Oxford                                                                Shopping         c/o Larken 1250 Route 28, Suite
Centre, LP                 Party City Corporation   City LLC dated May 26, 2016                           1183         $889.23   Valley Rd                            Fairless Hills   PA            19030   Centre, LP       Associates 101                   Branchburg         New Jersey     8876
                                                                                                                                                                                                             South Whit       c/o Breslin
                                                    Shopping Center Lease by and between                                                                                                                     Shopping         Realty
South Whit Shopping Center                          South Whit Shopping Center Associates                                        330 W Oregon                                                                Center           Developmen
Associates                 Party City Corporation   and Party City, Inc. dated August 14, 1997            1181           $0.00   Ave                                  Philadelphia     PA            19148   Associates       t Corp.     500 Old Country Road Garden City        New York      11530
                                                    Lease Agreement by and between
                                                    Brixmor GA Wilkes‐Barre, LP and Party                                                                                                                  Brixmor GA         c/o Brixmor
                                                    City Corporation dated November 25,                                          2190 Highland                                                             Wilkes‐Barre       Property      450 Lexington
Brixmor GA Wilkes‐Barre LP Party City Corporation   2013                                                    490     $16,291.64   Park Blvd.                           Wilkes Barre PA                18702 LP                 Group         Avenue, 13th Floor    New York        New York      10017
                                                    Lease between Warminster Towne                                                                                                                         Brixmor            c/o Brixmor
Brixmor Warminster SPE                              Center Associates, L.P. and Party City                                                                                                                 Warminster         Property      450 Lexington
LLC                        Party City Corporation   Corporation datred March, 1997                        1180      $51,350.94   924 W Street Rd                      Warminster       PA            18974 SPE LLC            Group         Avenue, 13th Floor    New York        New York      10017
                                                                                                                                                                                                           Brixmor
                                                    Lease between Route 6 Associates, Ltd.                                                                                                                 Residual           c/o Brixmor
Brixmor Residual Dickson                            and Factory Card Outlet of America, Ltd.                                     630 Commerce         Dickson City                                         Dickson City       Property    450 Lexington
City Crossings, LLC        Party City Corporation   dated April 28, 1997                                  5268      $29,112.89   Blvd                 Crossing     Dickson City        PA            18519 Crossings, LLC     Group       Avenue, 13th Floor      New York        New York      10017
                                                    Lease Agreement by and between
                                                    Samuel Carson Trust FBO Carol Johnson,
                                                    Samuel Carson Trust FBO Dorothy
                                                    Dunnion and Harry Dean Trust d/b/a                                                                                                                                        c/o SPM
                                                    Lemain Associates and Party City                                                                                                                       Dean/Carson        Managemen 24 West Railroad
Dean/Carson WMSPT, LLP     Party City Corporation   Corporation dated May 3, 2011                           753      $7,327.54   1736 E. 3rd Street                   Williamsport PA                17701 WMSPT, LLP         t, Inc.   Avenue, PMB 278           Tenafly         New Jersey     7670
                                                    Shopping Center Leasing Agreement by
                                                    and between Montgomery Square                                                                                                                          Kir                c/o Kimco
                                                    Partnership and Montgomery P.C. dated                                        163 Witchwood                                                             Montgomery         Realty        500 North Broadway,
Kir Montgomery 049, LLC    Party City Corporation   February 11, 2000                                     1179           $0.00   Dr                                   North Wales PA                 19454 049, LLC           Corporation   Suite 201           Jericho           New York      11753
                                                                                                                                                                                                                              c/o Pearson
                                                    Lease Agreement by and between PZ                                                                                                                      PZ Southland       Realty
PZ Southland Limited                                Southland Limited Partnership and Party                                                                                                                Limited            Services,     630 Fifth Avenue,
Partnership                Party City Corporation   City Corporation dated October 29, 2013                 662          $0.00   651 Clairton Blvd Suite 50           Pleasant Hills PA              15236 Partnership        Inc.          Suite 2820            New York        New York      10111

                                                    Lease Agreement by and between PZ                                                                                                                      PZ Southern
PZ Southern Limited                                 Southern Limited Partnership and Party                                       1155 Washington                                                           Limited                          610 Fifth Avenue,
Partnership                Party City Corporation   City Corporation dated March 13, 2013                   850     $12,468.05   Pike                            35 Bridgeville        PA            15017 Partnership                      Suite 516             New York        New York      10020




                                                                                                                                                      Page 33 of 44
                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 112 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                      Landlord Address
                                                                                                  Store Number /                                         Street                                                               Parent
       Counterparty           Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                     City                State   Zip        Landlord                       Street Address            City             State   Zip
                                                                                                    Property ID                                         Address 2                                                           Company
                                                                                                                                                                                                                          c/o
                                                     Lease by and between Pocono Retail                                                                                                                     Pocono Retail Riverview
Pocono Retail Associates,                            Associates, L.L.C. and East Stroudsburg                                      101 Pocono           Pocono                                               Associates,   Managemen       3200 West Market
L.LC.                       Party City Corporation   P.C., Inc. dated August 4, 2000                         496          $0.00   Commons Dr           Commons         Stroudsburg    PA            18360   L.LC.         t Company       Street, Ste 200      Fairlawn          Ohio            44333
                                                                                                                                                                                                                          c/o Abrams
                                                     Lease Agreement by and between Kmart                                                                                                                   ARD           Realty &
                                                     Corporation and Party City of Allentown,                                     2536 Macarthur                                                            MacARTHUR, Developmen
ARD MacARTHUR, LLC          Party City Corporation   Inc. dated May 12, 1995                                 728          $0.00   Rd                                   Whitehall      PA            18052   LLC           t, LLC          310 Yorktown Plaza    Elkins Park      Pennsylvania    19027
                                                     Lease by and between Philadelphia                                                                                                                                    c/o Abrams
                                                     Center Associates and Party City of                                                                                                                                  Realty &
                                                     Cottman Avenue, Inc. dated June 20,                                          2201 Cottman                                                              ARD Cottman, Developmen
ARD Cottman, LLC            Party City Corporation   1995                                                  1171           $0.00   Ave                                  Philadelphia   PA            19149   LLC           t, LLC          310 Yorktown Plaza    Elkins Park      Pennsylvania    19027
                                                                                                                                                                                                                          c/o Abrams
                                                     Lease by and between Whiteland                                                                                                                         ARD West      Realty &
ARD West Whiteland LLC &                             Associates, Ltd. And Party City                                              201 W Lincoln                                                             Whiteland LLC Developmen
WTC LLC                  Party City Corporation      Corporation dated July 20, 1998                       1177           $0.00   Hwy                  Space 400       Exton          PA            19341   & WTC LLC     t, LLC          310 Yorktown Plaza    Elkins Park      Pennsylvania    19027
                                                     Lease Agrement by and between 601
                                                     Baltimore Pike Associates, L.P. and Party                                                                                                            601 Baltimore    c/o First
601 Baltimore Pike                                   City of Springfield, Inc. dated April 1,                                     601 West                                                                Pike             Capital        600 N. 2nd Street,
Associates, LP              Party City Corporation   2010                                                  1170           $0.00   Baltimore Pike                       Springfield    PA            19064 Associates, LP   Realty, Inc.   Suite 401            Harrisburg        Pennsylvania    17101
                                                     Lease by and between Gumberg                                                                                                                         Gumberg          c/o J.J.       1051 Brinton Road,
Gumberg Associates ‐                                 Associates ‐ Chapel Square and Party City                                                                                                            Associates ‐     Gumberg        Brinton Executive
Chapel Square               Party City Corporation   Corporation dated July 23, 1997                         599     $21,725.38   991 Freeport Rd      Room 20         Pittsburgh     PA            15238 Chapel Square    Co.            Center                Pittsburgh       Pennsylvania    15221
                                                     Lease Agreement between GH Spring                                                                                                                                     c/o S Ridge
                                                     Ridge Associates, Inc. and Reading Party                                     2785 Papermill                                                          Spring Ridge     Managemen      217 Highland Terrace
Spring Ridge LP             Party City Corporation   City, Inc. dated March 27, 2001                       1174           $0.00   Rd                                   Wyomissing     PA            19610 LP               t LLC          Way                  Boiling Springs   Pennsylvania    17007

                                                     Lease Agreement by and between Red                                                                                                                   Red Rose         c/o The
Red Rose Commons Assoc                               Rose Commons Associates, L.P. and Party                                      1700 Fruitville                                                         Commons          Goldenberg 630 Sentry Parkway,
LP                          Party City Corporation   City Corporation dated July 21, 1998                  1176          $47.37   Pike Ste C           S3              Lancaster      PA            17601 Assoc LP         Group      Suite 300           Blue Bell              Pennsylvania    19421

                                                     Lease between Metroplex West                                                                                                                         Metroplex       c/o The
Metroplex West Associates,                           Associates, L.P. and Party Supermarket,                                                                           Plymouth                           West            Goldenberg 630 Sentry Parkway,
L.P                        Party City Corporation    Inc. dated April 7, 1999                              1182       $2,718.26   2470 Chemical Rd                     Meeting        PA            19462 Associates, L.P Group, Inc. Suite 300          Blue Bell               Pennsylvania    19422
                                                     Lease by and between Dominic Gigliotti
                                                     and Maria Gigliotti and Party City                                           20215‐20217 Rte                      Cranberry                          Nicrissa                        20120 Route 19, Suite Cranberry
Nicrissa Properties LLC     Party City Corporation   Corporation dated March 1998                            645        $843.16   19                                   Township       PA            16066 Properties LLC                  209                   Township         Pennsylvania    15090
                                                     Indenture of Lease between Retail
                                                     Development Corporation and Party City                                                                                                               Retail
Retail Development                                   of Lehigh Valley, Inc. dated January 15,                                     2404 Catasauqua                                                         Development
Corporation                 Party City Corporation   2008                                                    727          $0.00   Rd                                   Bethlehem      PA            18018 Corporation            915 W. Broad Street Bethlehem                   Pennsylvania    18018
                                                     Lease Agreement by and between PRGL                                                                                                                  TKG Paxton
                                                     Paxton Limited Partnership and Party City                                                                                                            Towne Center c/o TKG
TKG Paxton Towne Center                              of Bala Cynwyd, Inc. dated August 31,                                        5125 Jonestown                                                          Development, Managemen 211 N. Stadium Blvd.,
Development, L.P.           Party City Corporation   1999                                                  1173       $7,554.58   Rd                   Suite 385       Harrisburg     PA            17112 L.P.         t, Inc.   Suite 201             Columbia                  Missouri        65203
                                                     Agreement of Lease by and between RJH
                                                     Investments, LLC and PC of Harrisburg,                                                                            Mechanicsbu
GVS Partners                Party City Corporation   LLC dated April 11, 2011                              1175       $8,203.67   6499 Carlisle Pike                   rg          PA               17050 GVS Partners                    3434 Trindle Road    Camp Hill         Pennsylvania    17011
                                                     Lese by and between MCE Associates and
                                                     The Party Supermarket, Inc. dated August                                     10500 Roosevelt                                                         MCE
MCE Associates              Party City Corporation   10, 1994                                              1178      $11,519.05   Blvd                                 Philadelphia   PA            19116 Associates                      555 Henderson Road King of Prussia     Pennsylvania    19406

                                                     Shopping Center Lease by and between                                                                                                                 LMS
                                                     CF Pottsgrove Associates, L.P. and                                           230 Upland                                                              Commercial                      120 North Pointe
LMS Commercial Real Estate Party City Corporation    Stroudsburg P.C., Inc. dated July 25, 2012            1185         $673.35   Square Drive                         Pottstown      PA            19464 Real Estate                     Blvd., Suite 301     Lancaster         Pennsylvania    17601
                                                     Lease Agreement by and between HFL
                                                     Benner Pike Shopping Center, LLC and                                                                                                                 HFL Benner
HFL Benner Pike Shopping                             Party City Corporation dated January 30,                                                                                                             Pike Shopping
Center, LLC                 Party City Corporation   2018                                                  5218           $0.00   319 Benner Pike                      State College PA             16801 Center, LLC                     120 W Cherry Lane    State College     Pennsylvania    16803
                                                     Lease Agreement by and between
                                                     CBL/Monroeville, L.P. and Party City                                         275 Monroeville                                                         CBL/Monroevil                   2030 Hamilton Place
CBL/Monroeville, L.P.       Party City Corporation   Corporation dated March 9, 2012                         816          $0.00   Mall                                 Monroeville    PA            15146 le, L.P.                        Blvd., Suite 500    Chattanooga        Tennessee       37421




                                                                                                                                                       Page 34 of 44
                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 113 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                            Landlord Address
                                                                                                 Store Number /                                        Street                                                                    Parent
        Counterparty          Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City               State      Zip             Landlord                     Street Address             City           State     Zip
                                                                                                   Property ID                                        Address 2                                                                 Company
                                                     Lease by and between Developers
                                                     Diversified Realty Corporatiaon and                                                                                                                        B33 RE
B33 RE Partners                                      Sunshine Party Corporation dated June                                       1908 Keystone                                                                  Partners       c/o Bridge33 601 Union Street,
Investments II              Party City Corporation   26, 2000                                             1226      $14,424.46   Drive                               Erie          PA           16509           Investments II Capital      Suite 1115             Seattle         Washington        98101
                                                     Indenture of Lease by and between
                                                     Gateway Woodside, Inc. and Party City                                                                                                                      Garden City                  33 Boylston St, Suite
Garden City Owner LLC       Party City Corporation   Corporation dated January 19, 2016                   6012      $47,306.63   162 Hillside Rd.                    Cranston      RI           02920           Owner LLC                    3000                  Chestnut Hill   Massachusetts      2467

                                                     Lease Agreement by and between DDRTC
                                                     Warwick Center LLC and Party City                                           1350 Bald Hill                                                               1350 Bald Hill
1350 Bald Hill Road LLC     Party City Corporation   Corporation dated September 21, 2015                 6056      $10,265.56   Road                                Warwick       RI           02886         Road LLC                    259 Turnpike Road        Suthborough     Massachusetts      1772
                                                                                                                                                                                                              SBMC VAN
                                                     Lease Agreement by and between HEAIK,                                                                                                                    BUREN
SBMC VAN BUREN                                       LLC and Party City Corporation dated                                        1396 Whiskey                                                                 INDUSTRIAL     c/o Black    9665 Wilshire
INDUSTRIAL LLC              Party City Corporation   August 7, 2013                                         877          $0.00   Road                                Aiken         SC                   29803 LLC            Equities LLC Boulevard #200           Beverly Hills   California        90212
                                                     Shopping Center Lease Agreement by
                                                     and between Inland US Management, LLC                                                                                                                    USVI Azalea   c/o
USVI Azalea Square Owner,                            and Party City of Summerville, Inc. dated                                   432 Azalea                                                                   Square Owner, Fairbourne       200 South Michigan
LLC                       Party City Corporation     July 1, 2009                                           373          $0.00   Square Blvd         Unit 15         Summerville SC                     29483 LLC           Properties       Avenue, Suite 400     Chicago         Illinois          60604
                                                     Shopping Center Lease by and between                                                                                                                                   c/o Kite
                                                     Amerishop Woodruff, LLC and P.M.                                            1117 Woodruff                                                                KRG Plaza     Realty           30 South Meridian
KRG Plaza Green, LLC        Party City Corporation   Parties, Inc. dated February 29, 2000                1053         $863.71   Rd                  Suite G         Greenville    SC                   29607 Green, LLC    Group            Street, Suite 1100    Indianapolis    Indiana           46204
                                                                                                                                                                                                                            c/o
                                                     Retail Lease by and between AIG Baker                                                                                                                    ARC           American
                                                     Anderson, L.L.C. and P.M. Parties, Inc.                                                                                                                  ASANDSC001, Finance            650 Fifth Avenue,
ARC ASANDSC001, LLC         Party City Corporation   dated March 9, 2001                                  1052           $0.00   150 Station Dr                      Anderson      SC                   29621 LLC           Trust, Inc.      30th Floor            New York        New York          10019
                                                     Lease Agreement by and between BVA
                                                     Woodhill LLC and Party City Corporation                                     6090 Garners                                                                 BVA Woodhill     c/o Big V     176 N. Main Street,
BVA Woodhill LLC            Party City Corporation   dated Novmber 15, 2021                               1198           $0.00   Ferry Road          Suite D08A      Columbia      SC                   29209 LLC              Properties    Suite 210             Florida         New York          10921
                                                     Lease Agreement by and between                                                                                                                           BVA
                                                     Hawthorne North Rivers LLC and Party                                        7800 Rivers                         North                                    Promenade       c/o Big V      176 N. Main Street,
BVA Promenade LLC           Party City Corporation   City Corporation dated June 6, 2013                  5523           $0.00   Avenue              Suite 1270      Charleston    SC                   29406 LLC             Properties     Suite 210             Florida         New York          10921
                                                     Retail Lease Agreement between EP                                                                                                                        Columbiana      c/o Edens
Columbiana Station (E&A),                            Columbia I, Inc. and P.M. Parties, Inc.                                                                                                                  Station (E&A),  Limited
LLC                         Party City Corporation   dated August 31, 1995                                1056      $16,840.01   144 Harbison Blvd                   Columbia      SC                   29212 LLC             Partnership    PO BOX 528            Columbia        South Carolina    29202
                                                                                                                                                                                                                              c/o
                                                     Lease by and between C&T Investments,                                                                                                                    Blackstock      Spencer/Hin
Blackstock Westside                                  L.L.C. and P.M. Parties, Inc. dated March                                   150 E Blackstock                                                             Westside        es
Associates, LLC             Party City Corporation   28, 1996                                             1054           $0.00   Rd               Suite C            Spartanburg SC                     29301 Associates, LLC Properties     380 S. Pine Street    Spartanburg     South Carolina    29402
                                                     Lease Agreement by and between SF‐
                                                     Florenced_I, Ltd. and Party City                                            114 Woody Jones                                                              SF‐Florence‐I,                 5729 Lebanon Road,
SF‐Florence‐I, LTD.         Party City Corporation   Corporation dated April 1, 2014                        898          $0.00   Blvd                                Florence      SC                   29501 LTD.                           Suite 144          Frisco             Texas             75034
                                                     Lease Agreement by and between Hart                                                                                                                                       c/o Bayer
                                                     TC I‐III, LLC and Party City Corporation                                    11334 Parkside                                                               Hart TC I‐III,   Properties,   2200 Magnolia Street
Hart TC I‐III, LLC          Party City Corporation   dated August 9, 2012                                   842     $17,070.13   Drive                               Knoxville     TN                   37934 LLC              L.L.C.        South, Suite 101     Birmingham       Alabama           35205
                                                     Lease Agreement by and between
                                                     Nashville West Shopping Center, LLC and                                                                                                                                 c/o GLL Real
                                                     Party City of Nashville West, LLC dated                                     6622 Charlotte                                                               Nashville West Estate       200 South Orange
Nashville West LLC          Party City Corporation   May 18, 2007                                         1197           $0.00   Pike                                Nashville     TN                   37209 LLC            Partners     Avenue, Suite 1375       Orlando         Florida           32801
                                                     Lease Agreement by and between First
                                                     Federal Plaza, LLC d/b/a Walker Springs
                                                     Plaza and Party City Corporation dated                                      8503 Kingston                                                                Walker Legacy c/o BC
Walker Legacy Center, LLC   Party City Corporation   June 19, 2012                                          840      $8,303.89   Pike                                Knoxville     TN                   37919 Center, LLC      Properties    321 Henry Street      Lexington       Kentucky          40508
                                                     Agreement of Lese by and between JDN                                                                                                                     Integris
                                                     Realty Corporation and Party City                                           1979 Old Fort                                                                Ventures‐TC,                   1001 Craig Road,
Integris Ventures‐TC, LLC   Party City Corporation   Corporation dated July 21, 1998                        691        $325.00   Prkwy                               Murfreesboro TN                    37129 LLC                            Suite 392             St. Louis       Missouri          63146
                                                                                                                                                                                                                               c/o Yale
                                                     Lease Agreement by and between RCG‐                                                                                                                                       Realty
                                                     Clarksville SPE, LLC and Party City                                         2850 Wilma                                                                   Yale             Services      10 New King Street,
Yale Clarksville, LLC       Party City Corporation   Corporation dated July 24, 2017                        989      $7,431.91   Rudolph Blvd                        Clarksville   TN                   37040 Clarksville, LLC Corp.         Suite 102             White Plains    New York          10604
                                                                                                                                                                                                                               c/o
                                                     Lease Agreement by and between Oak                                                                                                                       DFG‐             ShopOne
                                                     Park Partners, LLC and Party City                                           5760 Highway                                                                 Chattanooga Centers            10100 Waterville
DFG‐Chattanooga LLC         Party City Corporation   Corporation dated March 21, 2012                     5208       $6,553.20   153                 Suite 102       Hixson        TN                   37343 LLC              REIT, INC     Street                Whitehouse      Ohio              43571




                                                                                                                                                     Page 35 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 114 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                 Property Address                                                                      Landlord Address
                                                                                                     Store Number /                                         Street                                                              Parent
       Counterparty            Debtor Counterparty            Description of Agreement                                Cure Amount    Street Address 1                     City               State   Zip        Landlord                       Street Address             City          State         Zip
                                                                                                       Property ID                                         Address 2                                                           Company
                                                      Lease between Service‐Hendon Cool                                                                                                                     BRE DDR Cool
BRE DDR Cool Springs                                  Springs Associates, L.L.C. and Party City of                                                                                                          Springs Pointe, c/o Site        3300 Enterprise
Pointe, LLC                  Party City Corporation   Nashville, Inc. dated April 27, 1999                    1195           $0.00   1630 Galleria Blvd                   Brentwood     TN            37027 LLC             Centers         Parkway               Beechwood      Ohio                  44122
                                                      Lease Agreement by and between TN
                                                      Sevierville Winfield, LLC and Party City                                       713 Winfield                                                           TN Sevierville                  550 South Main
TN Sevierville Winfield, LLC Party City Corporation   Corporation dated June 2, 2016                            970      $5,580.31   Dunn Pkwy            #7              Sevierville   TN            37876 Winfield, LLC                   Street, Suite 300     Greenville     South Carolina        29601
                                                      Shopping Center Lese by and between                                                                                                                                     c/o CBL &
                                                      CBL Terrace Limited Partnership and                                                                                                                     CBL Terrace     associates    CBL Center, Ste. 500,
CBL Terrace Limited                                   Party City of Chattanooga, LLC dated                                           2210‐B Hamilton                                                          Limited         Managemen     2030 Hamilton Place
Partnership                  Party City Corporation   January 1, 2009                                         1196      $20,927.32   Pkwy Blvd                            Chattanooga TN              37421   Partnership     t, Inc.       Blvd.                 Chattanooga    Tennessee        37421‐6000
                                                                                                                                                                                                                              c/o Gary
                                                      Lease Agreement by and between PAL                                                                                                                                      Taylor
                                                      Properties and Party City Corporation                                                                                                                                   Investsment   2574 Christmasville
PAL Properties               Party City Corporation   dated January 25, 2020                                  1011           $0.00   1253 Vann Drive                      Jackson       TN            38305   PAL Properties Company        Cove, Suite H         Jackson        Tennessee             38304
                                                      Lease Agreement by and between Five                                                                                                                     Five Oak
                                                      Oaks Outlet Centers, Inc. and Party City                                       2901 Tazewell                                                            Outlet Centers,               9231 Middlebrook
Five Oak Outlet Centers, Inc Party City Corporation   Corporation dated June 21, 2012                           841          $0.00   Pike                                 Knoxville     TN            37918   Inc                           Pike                  Knoxville      Tennessee             37931
                                                                                                                                                                                                                              c/o
                                                      Lease between CHI/Cookeville, LLC and                                                                                                                                   Hauppauge
                                                      Factory Card Outlet of America, Ltd.,                                          377 W Jackson St                                                         Jackson Plaza, Properties,    1975 Hempstead
Jackson Plaza, LLC           Party City Corporation   dated January 5, 1998                                   5291           $0.00   Ste 3B                               Cookeville    TN            38501   LLC             LLC           Tpke, Suite 309       East Meadow    NY                    11554
                                                                                                                                                                                                              Cobalt          c/o Divaris
                                                      Shopping Center Lease by and between                                                                                                                    Properties of Property
Cobalt Properties of                                  Jackson Downs, Ltd. And McClintock's                                           3177 Lebanon                                                             Nashville TN, Managemen       8150 Leesburg Pike,
Nashville TN, LLC            Party City Corporation   Party City, L.L.C. dated March 12, 1998                 1194           $0.00   Pike                                 Nashville     TN            37214   LLC             t Corp.       Suite 501             Tysons         Virginia              22182
                                                      Lease Agreement by and between                                                                                                                                          c/o Johnson
                                                      Pinnacle Partners Tennessee, LLC and                                                                                                                                    Commercial
                                                      Party City Corporation dated July 16,                                          574 Pinnacle                                                             Pinnacle North Developmen     601 State Street, 6th
Pinnacle North IV, LLC       Party City Corporation   2015                                                      902     $24,784.62   Parkway                              Bristol       TN            37620   IV, LLC         t             Floor                 Bristol        Virginia              24201
                                                      Lease Agreement by and between                                                                                                                          ABJ Group
ABJ Group Advancement TX                              Vineyard Village MSV, LLC and Party City                                       2800 State                                                               Advancement
LLC                      Party City Corporation       Corporation dated March 19, 2007                          488          $0.00   Highway 121                          Euless        TX            76039   TX LLC                        PO Box 2617           Guasti         California            91743
                                                      Lease Agreement by and between The                                                                                                                                      c/o First
                                                      Shoppes at Rio Grande Valley LLC and                                                                                                                                    Hartford
                                                      Party City Corporation dated October 5,                                        305 E. Trenton                                                           Edinburg        Realty
Edinburg SRGV, LLC           Party City Corporation   2011                                                      811      $2,792.24   Road                                 Edinburg      TX            78539   SRGV, LLC       Corporation   149 Colonial Road     Manchester     Connecticut            6045
                                                      Lease Agreement by and between QEH
                                                      Mesquite, LLC and Paty City Corporation                                        1340 N Town East                                                       QEH Mesquite,
QEH Mesquite, LLC            Party City Corporation   dated April 20, 2017                                       60          $0.00   Blvd             Suite A             Mesquite      TX            75150 LLC                         P.O. Box 101          Green Farms        Connecticut            6838
                                                                                                                                                                                                            JBL               c/o JBL
                                                      Lease Agreement by and between Inland                                                                                                                 NORTHWEST         Asset
JBL NORTHWEST                                         American Retail Management LLC and                                             13760 Northwest                                                        MARKETPLACE       Managemen 2028 Harrison St, Ste
MARKETPLACE LLC              Party City Corporation   Party City Corporation dated July 9, 2013                 631          $0.00   Freeway                              Houston       TX            77040 LLC               t LLC     202                   Hollywood          Florida               33020
                                                                                                                                                                                                            Inland
                                                      Lease Agreement by and between Green                                                                                                                  Commerical
Inland Commerical Real                                Tree Management Trust and Party City                                           435 South Fry                                                          Real Estate
Estate Services, LLC         Party City Corporation   Corporation dated December 29, 2014                       413      $9,308.00   Road                                 Katy          TX            77450 Services, LLC                   2901 Butterfield Road Oakbrook       Illinois              60523

                                                      Lease Agreement by and between                                                                                                                        Inland
                                                      Mansfield SEQ 287 & Debbie, Ltd. and                                                                                                                  Commercial       c/o Inland
Inland Commercial Real                                Party City Corporation dated February 26,                                      1551 Highway                                                           Real Estate      Commerical
Estate Services, L.L.C.      Party City Corporation   2010                                                      608      $3,952.94   287 North            Suite 651       Mansfield     TX            76063 Services, L.L.C. Real Estate 2901 Butterfield Road Oakbrook      Illinois                  60523
                                                                                                                                                                                                                             c/o
                                                                                                                                                                                                                             InvenTrust
                                                      Lease Ageement by and between SWC                                                                                                                     IVT Highlands Property
IVT Highlands at Flowr                                FM 2499 & FM 407, Ltd. and Party City                                          6101 Long Prairie                    Flower                            at Flowr         Managemen 3025 Highland
Mound LP                     Party City Corporation   Corporation dated July 3, 2002                            469          $0.00   Rd                Suite 600          Mound         TX            75028 Mound LP         t, LLC      Parkway, Suite 350    Downers Grove Illinois                  60515
                                                      Lease Agreement by and between ASG
                                                      Watauga Pavilion, Ltd. and Party City                                                                                                                 KRG Watauga,                    30 South Meridian
KRG Watauga, LLC             Party City Corporation   Corporation dated May 7, 2003                             479          $0.00   7612 Denton Hwy Suite 404            Watauga       TX            76148 LLC                             Street, Suite 1100    Indianapolis   Indiana               46204
                                                      Lease Agreement by and between KRG                                                                                                                    KRG Market
KRG Market Street Village,                            Market Street Village, LP and Party City                                       1403 W Pipeline                                                        Street Village,                 30 South Meridian
LP                           Party City Corporation   Corporation dated October 18, 2016                        699          $0.00   Rd                                   Hurst         TX            76053 LP                              Street, Suite 1100    Indianapolis   Indiana               46204




                                                                                                                                                          Page 36 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 115 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                     Landlord Address
                                                                                                  Store Number /                                       Street                                                             Parent
       Counterparty            Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                   City               State   Zip        Landlord                      Street Address             City       State       Zip
                                                                                                    Property ID                                       Address 2                                                          Company

                                                      Lease Agreement by and between 3503                                                                                                                           c/o Kite
                                                      RP Waco Central Limited Partnership and                                     2800 W. Loop                                                         3503 RP Waco Realty            30 South Meridian
3503 RP Waco Central LP      Party City Corporation   Party City Corporation dated June 5, 2018            1130           $0.00   340                                Waco          TX            76711 Central LP   Group             Street, Suite 1100   Indianapolis    Indiana          46204
                                                                                                                                                                                                                    c/o Kite
                                                      Lease by and between KRG Sunland, LLC                                       655 Sunland Park                                                     KRG SUNLAND, Realty            30 South Meridian
KRG SUNLAND, LLC             Party City Corporation   and MDY, Ltd. dated December 30, 2005                1143           $0.00   Dr               C‐2               El Paso       TX            79912 LLC          Group             Street, Suite 1100   Indianapolis    Indiana          46204

                                                      Lease Agreement by and between RPAI
                                                      Sugar Land Colony Limited Partnership                                                                                                            RPAI Sugarland c/o Kite
RPAI Sugarland Colony                                 and Party City Corporation dated June 19,                                   16734 Southwest                                                      Colony Limited Realty          30 South Meridian
Limited Partnership          Party City Corporation   2015                                                   169          $0.00   Freeway                            Sugar Land    TX            77479 Partnership    Group           Street, Suite 1100   Indianapolis    Indiana          46204
                                                      Lease Agreement by and between Inland
                                                      Western Cedar Hill Pleasant Run Limited                                                                                                          KRG Cedar Hill   c/o Kite
KRG Cedar Hill Pleasant                               Partnership and Party City Corporation                                                                                                           Pleasant Run,    Realty        30 South Meridian
Run, LLC                     Party City Corporation   dated September 30, 2013                               481          $0.00   715 N US Hwy 67 Suite 200          Cedar Hill    TX            75104 LLC              Group         Street, Suite 1100   Indianapolis    Indiana          46204
                                                                                                                                                                                                       RPAI Lake
                                                      Lease Agreement by and between RPAI                                                                                                              Worth Towne
RPAI Lake Worth Towne                                 Lake Worth Towne Crossing Limited                                                                                                                Crossing         c/o Kite
Crossing Limited                                      Partnership and Party City Corporation                                      6628 Lake Worth                                                      Limited          Realty        30 South Meridian
Partnership                  Party City Corporation   dated October 31, 2013                                 879          $0.00   Blvd            Suite 400       Lake Worth       TX            76135 Partnership      Group         Street, Suite 1100   Indianapolis    Indiana          46204

                                                                                                                                                                                                                      c/o M.S.
                                                      Lease by and between Fairfield Town                                                                                                                             Managemen
                                                      Center, LLC and Party City Corporation                                      28640 Highway                                                        Fairfield Town t Associates 111 Monument
Fairfield Town Center, LLC   Party City Corporation   dated January 12, 2016                                 931          $0.00   290                Suite XJ        Cypress       TX            77433 Center, LLC    Inc.         Circle, Suite 3500      Indianapolis    Indiana     46204‐3438

                                                      Lease by and between Lakeline Plaza, LLC                                                                                                                         c/o
                                                      and Party City Corporation dated                                            11066 Pecan Park                                                     Lakeline Plaza, Washington 111 Monument
Lakeline Plaza, LLC          Party City Corporation   December 9, 2016                                       621          $0.00   Blvd             Suite 401         Cedar Park    TX            78613 LLC             Prime Group Circle, Suite 3500   Indianapolis     Indiana            46204
                                                      Lease Agreement by and between BK PA,                                                                                                                            c/o Agree
                                                      Ltd. and Party City Corporation dated                                                                                                            Agree Limited Realty
Agree Limited Partnership    Party City Corporation   December 5, 2013                                       868     $17,772.33   2770 Hwy 365                       Port Arthur   TX            77640 Partnership     Corporation 720 E Long Lake Road Bloomfield Hills MI                 48304
                                                      Lease Agreement by and between BRE RC
                                                      Southpark Meadows II TX LP and Party
                                                      City Corporation dated December 27,                                         9600 S IH 35       Bldg. E. Ste.                                     BVA SPM SPE      c/o Big V     175 North Main
BVA SPM SPE LLC              Party City Corporation   2017                                                   992          $0.00   Frontage Rd.       14            Austin          TX            78748 LLC              Properties    Street, Suite 210    Florida         New York         10921
                                                      Shopping Cener Lease by and between
                                                      BPR Shopping Center, L.P. and Southwest                                                                                                          BRE Retail       c/o Brixmor
BRE Retail Residual Owner 1                           Party Factory, L.L.C., dated September                                                                                                           Residual         Property    450 Lexington
LLC                         Party City Corporation    13, 2004                                             1071       $3,827.64   3333 Preston Rd ST 1200            Frisco        TX            75034 Owner 1 LLC      Group       Avenue, 13th Floor     New York        New York         10017
                                                      Lease Agreement by and between
                                                      Brixmor/IA Central Station, LLC and Erwin                                                                                                        Brixmor/IA     c/o Brixmor
Brixmor/IA Central Station,                           Distributing Company, Inc. dated                                            1659 Texas                         College                           Central        Property        450 Lexington
LLC                         Party City Corporation    November 30, 2015                                    1124         $112.87   Avenue South                       Station       TX            77840 Station, LLC   Group           Avenue, 13th Floor   New York        New York         10017
                                                      Lease Agreement by and between                                                                                                                                  c/o Kimco
                                                      Weingarten Las Tiendas JV and Party City                                    732 E Expressway                                                     Weingarten     Realty          500 North Broadway
Weingarten Las Tiendas JV    Party City Corporation   Corporation dated June 30, 2005                        440      $3,432.96   83                                 McAllen       TX            78503 Las Tiendas JV Corporation     Ste 201, PO Box 9010 Jericho         New York         11753
                                                      Lease by and between Atascocita                                                                                                                                 c/o Kimco
                                                      Commons Associates, L.P. and Party City                                     6705 FM 1960                                                         Atascocita     Realty          500 North Broadway,
Atascocita 1692 LLC          Party City Corporation   Corporation dated May 13, 2010                         683          $0.00   East                               Humble        TX            77346 1692 LLC       Corporation     Suite 201           Jericho          New York         11753
                                                      Lease Agreement by and between                                                                                                                                  c/o Kimco
                                                      Copperwood Village LP and Party City                                        6757 Highway 6                                                       Copperwood Realty              500 North Broadway,
Copperwood Village L.P       Party City Corporation   Corporation dated December 11, 2015                    758          $0.00   North                              Houston       TX            77084 Village L.P    Corporation     Suite 201           Jericho          New York         11753

                                                      Lease Agreement by and between                                                                                                                                    c/o Kimco
                                                      Weingarten Realty Investors and Paty                                        1001 Bay Area                                                        KRCX WRI         Realty        500 North Broadway
KRCX WRI Holdings LLC        Party City Corporation   City Corporation dated October 13, 2015                761          $0.00   Blvd.              Suite A         Webster       TX            77598 Holdings LLC     Corporation   Ste 201            Jericho           New York         11753
                                                      Lease Agreement by and between GP                                                                                                                GP               c/o Kimco
                                                      Marketplace 1750, LLC and Party City                                                                                                             Marketplace      Realty        500 North Broadway,
GP Marketplace 1750, LLC Party City Corporation       Coporation dated May 5, 2016                           974     $21,859.16   6600 Stueber Rd                    Spring        TX            77389 1750, LLC        Corporation   Suite 201           Jericho          New York         11753




                                                                                                                                                     Page 37 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 116 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                Property Address                                                                  Landlord Address
                                                                                                  Store Number /                                           Street                                                           Parent
        Counterparty           Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                       City            State   Zip         Landlord                     Street Address             City       State        Zip
                                                                                                    Property ID                                           Address 2                                                        Company
                                                      Shopping Center Lease by and between
                                                      E. Barnett Companies, Inc. and Hammond
                                                      Retail of South Arlington ated October 7,                                   1520 W Interstate                                                     RRR Cooper ST                  37 W. 57th Street
RRR Cooper ST Property LLC Party City Corporation     1993                                                    62          $0.00   20                                  Arlington     TX            76017 Property LLC                   #900                 New York        New York          10019

                                                      Lease Agreement by and between                                                                                                                    Burleson
                                                      Burleson Gateway Station Limited                                                                                                                  Gateway         c/o Kimco
Burleson Gateway Station                              Partnership and Party City Corporation                                      1107 N Burleson                                                       Station Limited Realty      500 North Broadway,
Limited Partnership          Party City Corporation   dated June 30, 2021                                    739        $285.23   Blvd                                Burleson      TX            76028 Partnership     Corporation Suite 201           Jericho             New York          11753

                                                      Lease Agreement by and between Master                                                                                                             Master E         C/O
                                                      E Squared Laredo, LLC and Party City                                        5506 San                                                              Squared          Elevation     9541 Julian Avenue,
Master E Squared Laredo      Party City Corporation   Corporation dated June 15, 2021                      1025           $0.00   Bernando Ave        #12A            Laredo        TX            78041 Laredo           Real Estate   Suite 101           Huntersville     North Carolina    28078

                                                      Lease Agreement by and between AREP                                                                                                                               c/o Amirex
Arep Baytown II Partners,                             Baytown II Partners LP and Party City                                                                                                             Arep Baytown Capital          7880 San Felipe
LP                           Party City Corporation   Corporation dated August 20, 2021                    1158           $0.00   6616 Garth Rd                       Baytown       TX            77521 II Partners, LP Services, LLC Street, Suite 120     Houston         Texas             77063
                                                      Lease Agreement by and between BK
                                                      2920, Ltd. and Party City Corporation                                       28591 Tomball                                                                         c/o Baker      3700 Buffalo
BK 2920, LTD.                Party City Corporation   dated March 11, 2013                                   857          $0.00   Parkway                             Tomball       TX            77375 BK 2920, LTD. Katz, LLC        Speedway, Suite 1020 Houston         Texas             77098
                                                                                                                                                                                                                        c/o
                                                                                                                                                                                                                        Weitzman
                                                      Shopping Center Lease between The                                                                                                                 The Crossing at Managemen
The Crossing at 288 Phase                             Crossing at 288 Phase 2, Ltd. And Lucky                                     2608 Smith Ranch                                                      288 Phase 2, t                 1800 Bering Drive,
2, Ltd.                      Party City Corporation   Clover, Inc. dated October 26, 2006                    807        $792.99   Rd                                  Pearland      TX            77584 Ltd.            Corporation    Suite 550            Houston         Texas             77057
                                                      Lease Agreement by and between Josey                                                                                                                              c/o
                                                      Trinity Plaza, Ltd., dated October 28,                                      2540 North Josey                                                      Josey Trinity   Weitzman       3102 Maple Avenue,
Josey Trinity Mills JV II    Party City Corporation   2015                                                    63          $0.00   Lane             Suite 126          Carrollton    TX            75006 Mills JV II     Group          Suite 500          Dallas            Texas             75201
                                                      Lease Agreement by and between The                                                                                                                                c/o
                                                      Fountains at Farah, LP and MDY GP LLC                                       8889 Gateway                                                          The Fountains Centergy         8235 Douglas
The Fountains at Farah, LP   Party City Corporation   dated March 8, 2016                                  1147           $0.00   Boulevard West      Suite 590       El Paso       TX            79925 at Farah, LP    Retail, LLC    Avenue, Suite 900    Dallas          Texas             75225
                                                                                                                                                                                                                        c/o
                                                                                                                                                                                                                        Connected
                                                      Retail Lease between Boardwalk Center,                                                                                                            CH Realty VI/R Managemen
CH Realty VI/R Austin                                 Ltd. and Party City Corporation dated                                                                                                             Austin          t Services,    221 West 6th Street,
Boardwalk, L.P.              Party City Corporation   May 16, 1998                                           652          $0.00   2601 S Ih 35        B               Round Rock    TX            78664 Boardwalk, L.P. LLC            Suite 1030           Austin          Texas             78701
                                                      Shopping Center Lease by and between
                                                      Summit Center Ltd and Party City                                            3225 Southwest                                                        Summit Center c/o Davis    1500 McGowen, Suite
Summit Center Ltd.           Party City Corporation   Corporation dated Aril 29, 1997                        578      $8,927.67   Fwy                                 Houston       TX            77027 Ltd.          Holdings, LP 200                 Houston              Texas             77004

                                                      Lease Agreement by and between
                                                      Canyon Hub Holdings, L.P. and Party City                                    6038 Marsha                                                           Canyon Hub       c/o De La     4514 Cole Avenue,
Canyon Hub Holdings, L.P.    Party City Corporation   Corporation dated October 19, 2016                     593     $32,775.00   Sharp Fwy           Suite 100     Lubbock         TX            79407 Holdings, L.P.   Vega Group Suite 1100              Dallas          Texas             75202
                                                                                                                                                                                                                         c/o Epic Real
                                                      Lease Agreement by and between EREP                                                                                                                                Estate
                                                      Market Place I, LLC and Party City                                          3060 S. 31st                                                          EERP Market      Partners,     515 Congress
EERP Market Place I, LLC     Party City Corporation   Corporation dated May 1, 2018                        1165           $0.00   Street                              Temple        TX            76502 Place I, LLC     LLC           Avenue, Suite 1925   Austin          Texas             78701
                                                                                                                                                                                                        VL TOWN
                                                      Lease Agreement by and between A‐S 85                                                                                                             CENTER           c/o Fidelis
VL TOWN CENTER                                        Victory Lakes Town Center, L.P. and Party                                   2560 Gulf                                                             ASSOCIATES       Realty        4500 Bissonnet
ASSOCIATES LLC               Party City Corporation   City Corporation dated April 26, 2011                  754          $0.00   Freeway South                       League City   TX            77573 LLC              Partners      Street, Suite 200    Bellaire        Texas             77401

                                                      Lease Agreement by and between MRPL                                                                                                               Bella Terra     c/o Fidelis
Bella Terra Retail                                    Retail Partners, Ltd. and Party City                                        5466 West Grand                                                       Retail          Realty         4500 Bissonnet
Associates, LLC              Party City Corporation   Corporation dated August 5, 2011                       757          $0.00   Parkway South                       Richmond      TX            77406 Associates, LLC Partners       Street, Suite 200    Bellaire        Texas             77401

                                                      Lease Agreement by and between                                                                                                                    Winwood          c/o Fidelis
Winwood Shopping Center                               Brixmor Winwood Town Center, LLC and                                        3875 East 42nd                                                        Shopping         Realty        4500 Bissonnet
LLC                     Party City Corporation        Party City Corporation dated July 6, 2017              990      $2,463.84   Street                              Odessa        TX            79762 Center LLC       Partners      Street, Suite 200    Bellaire        Texas             77401
                                                                                                                                                                                                        OVERTON
                                                      Lease Agreement by and between                                                                                                                    PARK PLAZA       c/o Fidelis
OVERTON PARK PLAZA                                    Weingarten Realty Investors and Party                                       4826 SW Loop                                                          ASSOCIATES       Realty        4500 Bissonnet
ASSOCIATES LLC               Party City Corporation   City Corporation dated February 11, 2013               854      $6,209.42   820                                 Fort Worth    TX            76109 LLC              Partners      Street, Suite 200    Bellaire        Texas             77401




                                                                                                                                                      Page 38 of 44
                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 117 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                    Landlord Address
                                                                                                   Store Number /                                        Street                                                            Parent
       Counterparty           Debtor Counterparty           Description of Agreement                                Cure Amount    Street Address 1                    City              State   Zip        Landlord                      Street Address                City       State   Zip
                                                                                                     Property ID                                        Address 2                                                         Company


                                                                                                                                                                                                        Hartman          c/o Hartman
                                                     Agreement of Lease by and between                                                                                                                  Income REIT      Income REIT
Hartman Income REIT                                  Richardson Heights Village and Party City                                     501 W Belt Line                                                      Management,      Managemen     2909 Hillcroft, Suite
Management, LLC             Party City Corporation   of Richardson, L.C. dated July 6, 1993                    59          $0.00   Rd                                  Richardson   TX            75080 LLC              t, Inc.       420                     Houston         Texas        77057
                                                     Lease Agreement by and between                                                                                                                                      c/o M&D
                                                     Panattoni Development Company, Inc.                                                                                                                                 Property
                                                     and Party City Corporation dated March                                        2315 Colorado                                                        West Coast       Managemen     2500 Discovery
West Coast Highway LLC      Party City Corporation   21, 2008                                                 416      $2,782.89   Blvd                Suite 120       Denton       TX            76205 Highway LLC      t             Boulevard, Suite 200 Rockwall           Texas        75032
                                                     Lease Agreement by and between Roans
                                                     Prairie Development Corporation and                                                                                                                                 c/o Mark
                                                     Party City Corporation dated May 10,                                          5725 Eastex                                                          SYNERGY RPC      Fertitta
SYNERGY RPC LLC             Party City Corporation   2012                                                     759          $0.00   Freeway                             Beaumont     TX            77706 LLC              Properties    5755 Eastex Freeway Beaumont            Texas        77706
                                                     Lease Agreement by and between Ley‐                                           5946 East Sam                                                        Ley‐Lane         c/o           8827 W. Sam
Ley‐Lane Partnership No. 9,                          Lane Partnership No. 9, L.P. and Lucky                                        Houston Pkwy                                                         Partnership      NewQuest      Houston Pkwy N.
L.P.                        Party City Corporation   Clover, Inc. dated August 19, 2008                       786          $0.00   North                               Houston      TX            77049 No. 9, L.P.      Properties    Suite 200           Houston             Texas        77040

                                                     Commercial Lease between Capstone CB                                                                                                               Pagosa Springs c/o
Pagosa Springs Property                              Investments, Ltd. and Erwin Distributging                                                                                                          Property        Patriarch
Group, LLC                  Party City Corporation   Company, Inc. dated October 28, 2005                   1126           $0.00   1011 Wal Street                     Longview     TX            75605 Group, LLC      Real Estate    13241 Highway 155 S. Tyler              Texas        75703
                                                                                                                                                                                                                        c/o
                                                     Retail Shopping Center Lease between                                                                                                                               Benbrook
                                                     Benbrooke Ridge Partners, L.P. and Erwin                                                                                                           Benbrooke       Realty
Benbrooke Ridge Partners,                            Distributing Co., Inc. dated January 24,                                                                                                           Ridge Partners, Investment     4 West Red Oak Lane,
L.P.                      Party City Corporation     2007                                                   1114           $0.00   1107 Ridge Road                     Rockwall     TX            75087 L.P.            Company        Suite 312            White Plains       New York     10604
                                                                                                                                                                                                                        c/o
                                                     Lease Agreement by and between Pacific                                                                                                                             Tarantino
                                                     Harbor Equities, LLC and Party City                                           3000 Pablo Kisel                                                     TPI Sunrise     Properties     7887 San Felipe, Suite
TPI Sunrise Palms           Party City Corporation   Corporation dated September 29, 2007                     491          $0.00   Blvd                Suite 200F   Brownsville     TX            78526 Palms           Inc.           237                    Houston          Texas        77063
                                                     Lease Agreement by and between The
                                                     Prudential Insurance Company of                                                                                                                    B.H. 1713        c/o The
                                                     America and Party City Corporation dated                                                                                                           Preston Road     Retail     2525 McKinnon
B.H. 1713 Preston Road LLC Party City Corporation    December 6, 2001                                          61          $0.00   1701 Preston Rd                     Plano        TX            75093 LLC              Connection Street, Suite 700          Dallas          Texas        75201

                                                     Lease Agreement by and between Inland                                                                                                                             c/o The
                                                     Western Lewisville Lake, L.P. and Party                                                                                                            NADG/TRC       Retail     2525 McKinnon
NADG/TRC Lakepointe, LP     Party City Corporation   City Corporation dated August 4, 2005                    203          $0.00   735 Hebron Pkwy                     Lewisville   TX            75057 Lakepointe, LP Connection Street, Suite 700            Dallas          Texas        75201

                                                     Lease Agreement by and between Valley                                                                                                              Valley Ranch     c/o The       1400 Wood loch
Valley Ranch Town Center                             Ranch Town Center One, Ltd. and Party                                         21680 Market                                                         Town Center      Signorelli    Forest Drive, Suite
One Ltd                     Party City Corporation   City Corporation dated June 10, 2016                     973          $0.00   Place Drive                         New Caney    TX            77357 One Ltd          Company       200                     The Woodlands Texas          77380
                                                     Lease Agreement by and between
                                                     Bromont Pavilion Midstar Master, LP and                                                           Irving
                                                     Party City Corporation dated April 30,                                        3929 West           Market                                           Corsair Irving                 2850 N. Harwood
Corsair Irving Owner, LLC   Party City Corporation   2010                                                      64          $0.00   Airport Freeway     Place           Irving       TX            75062 Owner, LLC                     Street, Suite 1600      Dallas          Texas        75201
                                                     Lease Agreement by and between
                                                     Margaux Westover Partners, Ltd. and                                                                                                                Turner
Turner Westover Village,                             Party City Corporation dated June 18,                                                                                                              Westover         c/o Turner
LLC                         Party City Corporation   2008                                                     418          $0.00   435 Sherry Lane                     Fort Worth   TX            76114 Village, LLC     Behringer     1224 Austin Avenue      Waco            Texas        76071

                                                     Lease Agreement by and between West                                                                                                                                 c/o Unilev
                                                     Road Land, LP & Lions Den, LLC and Party                                                                                                           West Road        Managemen One Riverway,Suite
West Road Land, LP          Party City Corporation   City Corporation dated August 2, 2016                    971          $0.00   10245 North Fwy Suite 100           Houston      TX            77037 Land, LP         t Corp     100                        Houston         Texas        77056

                                                                                                                                                                                                                         c/o Wulfe &
                                                     Lease between Houston Gulfgate                                                                                                                     Houston          Co. Property 1800 Post Oak
Houston Gulfgate Partners                            Partners, L.P. and Lucky Clover, Inc. dated                                   516 Gulfgate                                                         Gulfgate         Managemen Boulevard, 6 BLVD
L.P.                        Party City Corporation   June 4, 2008                                             808          $0.00   Center Mall                         Houston      TX            77087 Partners L.P.    t            Place, Suite 400         Houston         Texas        77056
                                                     Shopping Center Lease between
                                                     NationsBank of Texas, N.A., Trustee of
                                                     the W.W> Caruth, Jr. Foundation and                                                                                                                MEDALLION
MEDALLION CENTER                                     Party City Medallion L.C. dated February                                                                                                           CENTER                         5803 GREENVILLE
PARTNERS LP                 Party City Corporation   1, 1995                                                   65          $0.00   305 Medallion Ctr                   Dallas       TX            75214 PARTNERS LP                    AVE                     Dallas          Texas        75206




                                                                                                                                                       Page 39 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 118 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                Property Address                                                                           Landlord Address
                                                                                                     Store Number /                                        Street                                                                      Parent
        Counterparty              Debtor Counterparty           Description of Agreement                              Cure Amount    Street Address 1                    City                State      Zip            Landlord                    Street Address               City        State       Zip
                                                                                                       Property ID                                        Address 2                                                                   Company
                                                                                                                                                                                                                   RAINIER
                                                         Lease Agreement by and between SLF IV ‐                                                                                                                   WHEATLAND
RAINIER WHEATLAND                                        Wheatland, L.P. and Party City                                              39759 LBJ                                                                     ACQUISITION                  13760 NOEL ROAD,
ACQUISITION LLC                 Party City Corporation   Corporation dated September 30, 2011                   189          $0.00   Freeway             Suite 410       Dallas        TX                    75237 LLC                          Suite 800              Dallas          Texas             75240

                                                         Lease Agreement by and between                                              4585 East Sam                                                                 Crenshaw
Crenshaw Retail Partners,                                Crenshaw Retail Partners, LLC and Party                                     Houston Parkway                                                               Retail Partners,             4544 Post Oak Place
LLC                             Party City Corporation   City Corporation dated February 27, 2015               410          $0.00   South                               Pasadena      TX                    77505 LLC                          Drive, Suite 375       Houston         Texas             77027
                                                         Lease Agreement by and between 380                                          2097 North
                                                         Towne Crossing, L.P. and Party City                                         Central                                                                       380 Towne                    16000 Dallas
380 Towne Crossing, L.P.        Party City Corporation   Corporation dated August 6, 2008                       421          $0.00   Expressway                          McKinney      TX                    75070 Crossing, L.P.               Parkway, Suite 300     Dallas          Texas             75248

                                                                                                                                                                                                                   RAINIER
                                                         Lease between Staple Joint Venture                                                                                                                        MOORE PLAZA
RAINIER MOORE PLAZA                                      Limited and Party City Corporation dated                                                                                                                  ACQUISITIONS                 13760 Noel Road,
ACQUISITIONS LLC                Party City Corporation   February 4, 1998                                       641          $0.00   5425 S Spid Dr                      Corpus Christi TX                   78411 LLC                          Suite 1020             Dallas          Texas             75240
                                                         Lese by and between Simon Property
                                                         Group (Texas), L.P. and Party City                                          4801 S. Broadway                                                              Roosth Farm
Roosth Farm Rental, LLC         Party City Corporation   Corporation dated August 20, 2019                    1111           $0.00   Ave              Suite 103          Tyler         TX                    75703 Rental, LLC                  PO Box 8300            Tyler           Texas        75711‐8300
                                                         Lease Agreement between Morris
                                                         Venture Partners V, LLC and Erwin
Morris Venture Partners V,                               Distributing Co, Inc. dated March 23,                                       1500B. Lowes                                                                  Morris Venture               3000 S. 31st Street,
LLC                        Party City Corporation        2017                                                 1125           $0.00   Blvd.                               Killeen       TX                    76542 Partners V, LLC              Suite 500              Temple          Texas             76502

                                                         Standard Commercial Shopping Center
                                                         Lease by and between Pilchers Property                                                                                                                    Pilchers North
Pilchers North Park Limited                              of America, Inc. and Erwin Distributing                                     4612 Billingsley                                                              Park Limited                 7001 PRESTON RD,
Partnership                 Party City Corporation       Co., Inc. dated July 17, 1995                        1127           $0.00   Blvd.                               Midland       TX                    79705 Partnership                  STE 200 LB 18          Dallas          Texas             75205
                                                         Lease Agreement between Jasper S.
                                                         Howard and Erwin Distributing, Inc. dated                                   2315 Richmond                                                                 Jasper S.
Jasper S. Howard                Party City Corporation   January 1, 2005                                      1129           $0.00   Road                                Texarkana     TX                    75503 Howard                       Post Office Box 5100 Texarkana         Texas             75505
                                                         Shopping Center Lease Agreement
                                                         between Jack G. McCulloch etal and
                                                         Erwin Distributing Co., Inc. dated                                          2708 Southwest                                                                Crossroads                   4005 Call FIeld Road,
Crossroads 2708, LLC            Party City Corporation   February 17, 2005                                    1131           $0.00   Pkwy                                Wichita Falls TX                    76308 2708, LLC                    Suite 100             Wichita Falls    Texas             76308
                                                         Lease Agreement by and between
                                                         Abilene Village, LLC and Party City                                         3536 S. Clack                                                                 NOONER
NOONER HOLDINGS LTD             Party City Corporation   Corporation dated May 4, 2018                        1133           $0.00   Street                              Abilene       TX                    79606 HOLDINGS LTD                 4827 QUARRY RUN        SAN ANTONIO     Texas             78249
                                                         Lease Agreement by and between Shops
                                                         at Valle Vista, LLC and Party City                                          914 Dixieland Rd,                                                              Shops at Valle
Shops at Valle Vista III, LLC   Party City Corporation   Corporation dated September 14, 2021                 1134           $0.00   Suite 100                           Harlingen     TX            78552          Vista III, LLC              105 Sequoia Drive      SAN ANTONIO     Texas             78232

                                                         Standard Shopping Center Lease by and
                                                         between River Oaks Properties, Ltd. And                                     1842 Joe Battle                                                               River Oaks El
River Oaks El Paseo, LLC        Party City Corporation   MDY, LTD dated February 5, 2009                      1142           $0.00   Blvd                                El Paso       TX                    79936 Paseo, LLC                   5678 Mesa St.          El Paso         Texas             79912
                                                         Lease Agreement by and between Towne
                                                         Center Venture, LLP and Party City                                          1306 W. Davis                                                                 Randall                      2001 Kirby Drive,
Randall Company                 Party City Corporation   Corporation dated June 19, 2018                      1123           $0.00   Street              Suite B         Conroe        TX                    77304 Company                      Suite 610              Houston         TX                77019
                                                                                                                                                                                                                                  c/o
                                                         Deed of Lease Agreement between                                                                                                                                          Combined
                                                         Sugaland Plaza Limited Partnership and                                                                                                                    Sugarland      Properties,   7315 Wisconsin
Sugarland Plaza Limited                                  Party City of Sterling, VA, LLC dated May                                   47100               Sugarland                                                 Plaza Limited Incorporate    Avenue, Suite 1000
Partnership                     Party City Corporation   1, 2000                                              1187           $0.00   Community Plz       Crossing        Sterling      VA                    20164 Partnership    d             West                   Bethesda        Maryland          20814
                                                         Lease Agreement by and between Inland                                                                                                                                    c/o
                                                         American Retail Management LLC and                                                                                                                                       American
                                                         Party City Corporation dated September                                      4107 Portsmouth                                                               Ches Cross SC, Commercial    300 Avenue of the   PALM BEACH
Ches Cross SC, LLC              Party City Corporation   20, 2012                                               843      $8,083.13   Blvd.           Suite 116           Chesapeake    VA                    23321 LLC            Realty Corp   Champions, Ste. 140 GARDENS            Florida           33418
                                                         Shopping Center Lease between
                                                         Starwood Ceruzzi Chantilly LLC and Party                                                                                                                                  c/o Kite
                                                         City of Chantilly, LLC dated January 9,                                     14409 Chantilly                                                               KRG Chantilly Realty         30 South Meridian
KRG Chantilly Crossing L.L.C. Party City Corporation     2004                                                 1188          $77.25   Crossing Ln                         Chantilly     VA                    20151 Crossing L.L.C. Group        Street, Suite 1100     Indianapolis    Indiana           46204




                                                                                                                                                         Page 40 of 44
                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 119 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                               Property Address                                                                           Landlord Address
                                                                                                   Store Number /                                         Street                                                                    Parent
       Counterparty           Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                     City               State      Zip            Landlord                     Street Address             City            State       Zip
                                                                                                     Property ID                                         Address 2                                                                 Company
                                                     Lease Agreement by and between
                                                     Spotswood Valley Center Owner, LLC and                                                                                                                                    c/o Broad
                                                     Party City Corporation dated May 13,                                          1790‐40 East                                                                  BSV           Street          7250 Woodmont
BSV Spotswood LLC           Party City Corporation   2013                                                     865          $0.00   Market Street                        Harrisonburg VA                    22801 Spotswood LLC Realty LLC      Avenue, Suite 350     Bethesda         Maryland            20814
                                                                                                                                                                                                                 FEDERAL
                                                     Dead of Lease between FR Leesburg                                                                                                                           REALTY
FEDERAL REALTY                                       Plaza, LP and Party City of Leesburg, LLC                                     510‐A East                                                                    INVESTMENT                    909 Rose Avenue,
INVESTMENT TRUST            Party City Corporation   dated June 29, 2004                                    1189       $3,599.00   Market St                            Leesburg      VA                   20176 TRUST                         Suite 200             North Bethesda Maryland              20852
                                                     Lease Agreement by and between BVA
                                                     Towne Square LLC and Party City                                               1410 Towne                                                                    BVA Towne       c/o Big V     176 North Main
BVA Towne Square LLC        Party City Corporation   Corporation dated February 2, 2021                     1122           $0.00   Square Blvd NW                       Roanoke       VA                   24012 Square LLC      Properties    Street, Suite 210     Florida          New York            10921
                                                     Lease Agreement by and between                                                                                                                              Stafford        c/o Kimco
                                                     Stafford Marketplace, LLC and Party City                                      1240 Stafford                                                                 Marketplace,    Realty        500 North Broadway
Stafford Marketplace, LLC   Party City Corporation   Corporation dated May 11, 2012                           827     $10,689.56   Market Pl.           Suite 101       Stafford      VA                   22556 LLC             Corporation   Suite 201          Jericho             New York            11753
                                                     Deed of Lease by and between
                                                     Smoketown Road Associates Limited                                                                                                                           KIR             c/o Kimco
                                                     Partnership and Herb's Party City, Inc.                                       14026 Shoppers                                                                Smoketown       Realty      500 North Broadway,
KIR Smoketown Station L.P. Party City Corporation    dated July 23, 1996                                    1186       $1,108.82   Best Way                             Woodbridge VA                      22192 Station L.P.    Corporation Suite 201           Jericho              New York            11753

                                                     Lease Agreement by and between DDR
DDR Southeast Loisdale,                              Southeast Loisdale, L.L.C. and Party City                                     6640 Loisdale                                                                 DDR Southeast c/o Site        3300 Enterprise
L.L.C.                      Party City Corporation   Corporation dated January 8, 2018                        688          $0.00   Road                                 Springfield   VA                   22150 Loisdale, L.L.C. Centers      Parkway               Beachwood        Ohio                44122
                                                     Lease Agreement between Colonial
                                                     Heights Land Associates L.P. and Factory
                                                     Card Outlet of America, Ltd. dated                                            1865 Southpark       Southpark       Colonial                                                 c/o David     4121 Meadowdale       North
Q&L                         Party City Corporation   October 10, 1996                                       5220       $8,756.96   Blvd                 Sq              Heights       VA                   23834 Q&L             Oh            Blvd., Suite B        Chesterfield     Virginia            23234
                                                                                                                                                                                                                                 c/o DeVaris
                                                     Shopping Center Lease by and between                                                                                                                                        Property
                                                     FBJ Investors, L.P. and Party City                                            1217‐1229 N                                                                   FBJ Investors   Managemen     4525 Main Street,
FBJ Investors LP            Party City Corporation   Corporation dated October 28, 1997                       611          $0.00   Military Hwy                         Norfolk       VA                   23502 LP              t             Suite 900             Virginia Beach   Virginia            23462

                                                                                                                                                                                                                                c/o
                                                                                                                                                                                                                                Metropolita
                                                     Lease by and between L.P. Corporation                                                                                                                                      n Real
                                                     and Party City of Bailey's Crossroads, Inc.                                   5522 Leesburg                        Baileys                                  L.P.           Estate         6205 Old Keene Mil
L.P. Corporation            Party City Corporation   dated September 1, 2003                                1168           $0.00   Pike Ste B                           Crossroads    VA                   22041 Corporation    Services,LLC   Ct., Ste. 100         Springfield      Virginia            22152
                                                     Agreement of Lease by and between                                                                                                                                          c/o
                                                     Trade Street‐Central Park Limited                                                                                                                                          Rappaport
                                                     Partnership and Party City Corporation                                        1280 Carl D Silver                   Fredericksbur                            Central Park   Managemen      8405 Greensboro
Central Park Retail, LLC    Party City Corporation   dated October 28, 1997                                   628          $0.00   Pkwy                                 g             VA                   22401 Retail, LLC    t Company      Drive, 8th Floor      McLean           Virginia       22102‐5118
                                                                                                                                                                                                                                c/o
                                                     Lease Agreement by and between Bull                                                                                                                                        Rappaport
                                                     Run Plaza LLC and Party City Corporation                                      10862 Sudley                                                                  Bull Run Plaza Managemen      8405 Greensboro
Bull Run Plaza LLC          Party City Corporation   dated February 17, 2021                                1029           $0.00   Manor Dr                             Manassas      VA                   20109 LLC            t Company      Drive, 8th Floor      McLean           Virginia       22102‐5121
                                                     Lease Agreement by and between DMK                                                                                                                                         c/o
                                                     Volvo Parkway, LLC and Party City                                             109 Volvo                                                                     DMK Volvo      Suburban
DMK Volvo Parkway, LLC      Party City Corporation   Corporation dated October 11, 2013                       137     $10,818.26   Parkway              Suite 16‐19 Chesapeake        VA                   23320 Parkway, LLC Capital          3600 Pacific Ave      Virginia Beach   Virginia            23451
                                                                                                                                                                                                                                c/o
                                                     Lease between Candlers Station Limited                                                                                                                      LU Candlers    Thalhimer
LU Candlers Station                                  Partnership and Factory Card Outlet of                                        3700 Candlers Mt Candlers                                                     Station        Commercial     1313 East Main
Holdings, LLC               Party City Corporation   America, Ltd. dated April 26, 1996                     5522       $5,256.72   Rd               Station             Lynchburg     VA                   24502 Holdings, LLC Real Estate     Street, Suite 400     Richmond         Virginia            23219
                                                     Lease Ageement by and between
                                                     Newport News Shopping Center, L.L.C.                                                                                                                                                      397 Little Neck Road
                                                     and Factory Card Outlet of America, Ltd.                                      12134 Jefferson                  Newport                                      LEA Company, c/o Yoder        Building 3400, Suite
LEA Company, LLC            Party City Corporation   dated November 12, 1997                                5280       $3,700.00   Ave                  Yoder Plaza News              VA                   23602 LLC          Plaza            200                  Virginia Beach    Virginia            23452
                                                     Lease Agreement by and between                                                                                                                              Birchwood
                                                     Birchwood Mall Associates, L.L.P. and                                                                                                                       Mall
Birchwood Mall Associates,                           Party City Corporation dated December                                         3754 Virginia                        Virginia                                 Associates,                   500 E. Main Street,
L.L.P.                     Party City Corporation    30, 2015                                                  10          $0.00   Beach Blvd                           Beach         VA                   23452 L.L.P.                        Suite 1424            Norfolk          Virginia            23510
                                                     Lease Agreement by and between
                                                     University Mall, LLC and Party City                                                                                                                          Burlington U   c/o KeyPoint
Burlington U Mall Owner,                             Corporation dated April 23, 2014 ‐ Space                                      215 Dorset                           South                                     Mall Owner,    Partners,    One Van De Graaff
LLC                         Party City Corporation   A                                                      904‐1     $18,246.35   Street, Space A                      Burlington    VT           05403          LLC            LLC          Drive, Suite 402       Burlington       VT                   1793




                                                                                                                                                        Page 41 of 44
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 120 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                             Property Address                                                                             Landlord Address
                                                                                                   Store Number /                                       Street                                                                      Parent
       Counterparty            Debtor Counterparty           Description of Agreement                               Cure Amount    Street Address 1                   City               State      Zip            Landlord                        Street Address             City        State   Zip
                                                                                                     Property ID                                       Address 2                                                                   Company
                                                      Lease Agreement by and between
                                                      University Mall, LLC and Party City                                                                                                                       Burlington U      c/o KeyPoint
Burlington U Mall Owner,                              Corporation dated April 23, 2014 ‐ Space                                     215 Dorset                         South                                     Mall Owner,       Partners,    One Van De Graaff
LLC                          Party City Corporation   B                                                     904‐2          $0.00   Street, Space B                    Burlington    VT           05403          LLC               LLC          Drive, Suite 402      Burlington      VT             1793

                                                      Lease Agreement by and between Vestar                                                                                                                     Vestar
Vestar Alderwood Parkway,                             Alderwood Parkway, LLC and Party City                                        2617 196th St SW                                                             Alderwood                      2425 East Camelback
LLC                       Party City Corporation      Corporation dated February 25, 2022                   1193           $0.00   Suite A                            LYNNWOOD WA                98036          Parkway, LLC      c/o Vestar   Road, Suite 750     Phoenix           Arizona       85016
                                                      Lease Agreement by and between MTD
                                                      Silverdale BB LLC and Party City                                                                                                                         Realty Income                   2325 E Camelback Rd,
Realty Income Corporation Party City Corporation      Corporation dated February 22, 2017                     438     $35,422.30   9551 Ridgetop      Suite 100       Silverdale    WA                   98383 Corporation                     Suite 9th fl         Phoenix          Arizona       85016

                                                                                                                                                                                                                                c/o
                                                                                                                                                                                                                                Browman
                                                      Lease Agreement by and between First                                                                                                                                      Developmen
                                                      Richland LP and Party City Corporation                                       2907 Queensgate                                                             First Richland t Company,
First Richland LP            Party City Corporation   dated September 9, 2016                                 981     $12,718.32   Drive                              Richland      WA                   99352 LP               inc.           1556 Parkside Drive   Walnut Creek    California    94596
                                                      Agreement of Lease by and between                                                                                                                                         c/o Kimco
                                                      NMBK Northwest and Party City                                                17356                                                                                        Realty         2429 Park Avenue
Kir Tukwila L.P.             Party City Corporation   Corporation dated June 16, 1998                         665        $127.64   Southcenter Pkwy                   Tukwila       WA                   98188 Kir Tukwila L.P. Corporation    Park Avenue           Tustin          California    92728
                                                                                                                                                                                                                                c/o Pacific
                                                      Lease Agreement by and between Capital                                                                                                                                    Retail
                                                      Mall Land, LLC and Party City Corporation                                                                                                                                 Capital        2029 Century Park
CAPITAL MALL LAND LLC        Party City Corporation   dated August 14, 2012                                   450     $11,708.77   2315 4th Ave W.                    Olympia       WA                   98502 Capital Mall LP Partners        East, Suite 1550      Los Angeles     California    90067
                                                      Lease Agreement by and between
                                                      Steadfast Everett Mall LLC and Party City                                    1402 SE Everett                                                             Brixton Everett c/o Brixton
Steadfast Everett Mall LLC   Party City Corporation   Corporation dated July 24, 2012                         853          $0.00   Mall Way                           Everett       WA                   98208 LLC             Capital LLC     120 S. Sierra Avenue Solana Beach     California    92075
                                                      Lease Agreement by and between RPAI                                          5919 Lakewood                                                               KRG
                                                      Lakewood, L.L.C. and Party City                                              Town Center                                                                 Lakewood,                       30 South Meridian
KRG Lakewood, L.L.C.         Party City Corporation   Corporation dated January 9, 2017                       977     $14,315.32   Blvd. SW                           Lakewood      WA                   98499 L.L.C.                          Street, Suite 1100    Indianapolis    Indiana       46204
                                                      Lease Agreement by and between KIR                                                                                                                                       c/o Kimco
                                                      Federal Way 035, LLC and Party City                                          31417 Pacific                                                               KIR Federal     Realty          500 North Broadway,
KIR Federal Way 035, LLC     Party City Corporation   Corporation dated July 14, 2014                         672     $12,690.32   Hwy South                          Federal Way WA                     98003 Way 035, LLC Corporation        Suite 201           Jericho           New York      11753

                                                      Retail Project Lease by and between                                                                                                                      Downtown           c/o First
                                                      Downtown Woodinville, L.L.C. and Paper                                       18027 Garden                                                                Woodinville,       Western
Downtown Woodinville, LLC Party City Corporation      Warehouse, Inc. dated May 20, 1998                      471      $1,094.69   Way NE                             Woodinville   WA                   98072 LLC                Properties   11621 97th Lane NE    Kirkland        Washington    98034
                                                      Lease Agreement by and between
                                                      Burlington Retail, LLC and Party City                                        2030 S.                                                                     Burlington                      8129 Lake Ballinger
Burlington Retail, LLC       Party City Corporation   Corporation dated March 31, 2014                        474          $0.00   Burlington Blvd                    Burlington    WA                   98233 Retail, LLC                     Way, #104             Edmonds         Washington    98026

                                                      Lease Agreement by and between Pine                                                                                                                                         c/o Pacific
                                                      Tree‐Sau Hazel Dell, LLC and Party City                                                                                                                  8801 Hazel         Asset         14205 SE 36th St.
8801 Hazel Dell LLC          Party City Corporation   Corporation dated April 14, 2014                        897          $0.00   8920 NE 5th AVE                    VANCOUVER WA                       98665 Dell LLC           Advisors, Inc Suite 215            Bellevue        Washington    98006
                                                      Shopping Center Lease between
                                                      Terranomics Crossroads Associates and                                                                                                                    Terranomics
Terranomics Crossroads                                Paper Warehouse, Inc. dated March 27,                                                                                                                    Crossroads                      15600 NE 8th Street,
Associates                   Party City Corporation   1998                                                    463     $21,829.21   15600 NE 8th St    Suite F‐17      Bellevue      WA                   98008 Associates      c/o ROIC        Suite K15            Bellevue         Washington    98008
                                                                                                                                                                                                                               c/o
                                                      Lease Agreement by and between                                                                                                                                           Tarragon
                                                      Meridian Sunrise Village, L.L.C. and Party                                                                                                                               Property
Sunrise Village Phase I,                              City Corporation dated November 4,                                           10408 156th St.                                                             Sunrise Village Services        10507 156th St E,
L.L.C.                       Party City Corporation   2009                                                    466     $24,878.08   East               Suite 101       Puyallup      WA                   98374 Phase I, L.L.C. L.L.C.          Suite 101             South Hill      Washington    98374

                                                      Lease Agreement by and between                                                                                                                           Covington
Covington Commercial III,                             Covington Commercial III, LLC and Parting                                    27339 Covington                                                             Commercial III,                 1457 130th Avenue
LLC                          Party City Corporation   City Corporation dated April 27, 2015                   464          $0.00   Way SE                             Covington     WA                   98042 LLC                             NE                    Bellevue        Washington    98006
                                                      Lease Agreement by and between
                                                      Hanson Industried, Inc. and Party City                                       13806 E. Indiana                   Spokane                                  Hanson
Hanson Industries, Inc.      Party City Corporation   Corporation dated April 8, 2014                         892     $10,156.58   Avenue                             Valley        WA                   99216 Industries, Inc.                15807 E. Indiana Ave Spokane Valley Washington      99216
                                                      Lease Agreement by and between
                                                      Yakima Theatres, Inc. and Party City                                         17 East Valley                                                              Yakima
Yakima Theatres, Inc.        Party City Corporation   Corporation dated February 19, 2016                     969          $0.00   Mall Blvd          Suite #1        Union Gap     WA                   98903 Theatres, Inc.                  P.O. Box 50           Yakima          Washington    98907




                                                                                                                                                      Page 42 of 44
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 121 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                              Property Address                                                                          Landlord Address
                                                                                                   Store Number /                                        Street                                                                   Parent
       Counterparty           Debtor Counterparty             Description of Agreement                              Cure Amount    Street Address 1                    City              State      Zip            Landlord                      Street Address            City          State      Zip
                                                                                                     Property ID                                        Address 2                                                                Company
                                                                                                                                                                                                               CRG Appleton
                                                       Lease Agreement by and between                                                                                                                          LLC and
CRG Appleton LLC and                                   Westhill Plaza, LLC and Party City                                          613 N. Westhill                                                             Westhill                    223 East Strawberry
Westhill Appleton, LLC      Party City Corporation     Corporation dated July 20, 2015                      4002           $0.00   Blvd.                               Appleton     WI                   54914 Appleton, LLC               Drive                   Mill Valley     California            94941
                                                       Shopping Center Lease between                                                                                                                                            c/o Bonnie
                                                       Greenfield, LP and Factory Card Outlet of                                                       Greenfield                                                               Managemen 1350 E. Touhy
Greenfield, L.P.            Party City Corporation     America, LTD. dated May 18, 2005                     5337           $0.00   5058 S 74th St      Place S/C       Greenfield   WI                   53220 Greenfield, L.P. t          Avenue, Suite 360E      Des Plaines     Illinois              60018
                                                       Lease Agreement by and between Penny
                                                       Racine, LLC and Party City Corporation                                      2619 S. Green                                                               Penny Racine,
Penny Racine, LLC           Party City Corporation     dated June 18, 2015                                  5154           $0.00   Bay Road                            Racine       WI                   53406 LLC                            3100 Dundee Road     Northbrook      Illinois              60062
                                                       Lease between West Allis Shopping
                                                       Center Associates and Factory Card
                                                       Outlet of America, Ltd. dated June 9,                                       6718 W              West Allis                                                                             20750 Civic Center
RPT REALTY, LP              Party City Corporation     1993                                                 5141           $0.00   Greenfield Ave      Town Ctr        West Allis   WI                   53214 RPT REALTY, LP                 Drive, Suite 310     Southfield      Michigan              48076
                                                       Lease Agreement by and between
                                                       Southport Plaza Shopping Center Limited                                                                                                                                  c/o
                                                       Partnership and Party City Corporation                                      7150 Green Bay                                                              BZA Kenosha,     Friedman      34975 W. Twelve
BZA Kenosha, LLC            Party City Corporation     dated May 19, 2010                                   5174           $0.00   Road                                Kenosha      WI                   53142 LLC              Real Estate   Mile Road            Farmington Hills Michigan             48331
                                                       Lease Agreement by and between USPG                                                                                                                     Kraus‐
Kraus‐Anderson                                         Portfolio Two, LLC and Party City                                           1228 Crossing                                                               Anderson                       501 South Eighth
Incorporated                Party City Corporation     Corporation dated January 27, 2014                   4005           $0.00   Meadows Drive                       Onalaska     WI                   54650 Incorporated                   Street               Minneapolis     Minnesota             55404
                                                                                                                                                                                                               Marketplace
                                                                                                                                                                                                               Brown Deer
                                                                                                                                                                                                               Relaty LLC,
                                                                                                                                                                                                               Namco Relaty
Marketplace Brown Deer                                 Amended and Restated Lease Agreement                                                                                                                    LLC and
Relaty LLC, Namco Relaty                               by and between BRE DDR Brown Deer                                                                                                                       Marketplace      c/o Namdar
LLC and Marketplace Brown                              Market LLC and Party City Corporation                                       9150 N Green Bay                                                            Brown Deer       Realty     150 Great Neck Road,
Deer Nassim LLC           Party City Corporation       dated July 14, 2014                                  5136           $0.00   Rd               Space 15           Brown Deer   WI                   53209 Nassim LLC       Group      Suite 304            Great Neck         New York              11021

                                                       Lease Agreement by and between Ramco‐
                                                       Gershenson Properties, L.P. and Party
ZEIER TOV LLC               Party City Corporation     City Corporation dated January 14, 2016              5184           $0.00   2139 Zeier Road                     Madison      WI                   53704 ZEIER TOV LLC                  P.O. Box 10435       Brooklyn        New York              11219
                                                       Lease between MLM Shopping Center                                                                                                                       AAM‐
                                                       Associates and Factory Card Outlet of                                                          Green Bay                                                Greenbay                       833 East Michigan
AAM‐Greenbay Plaza, LLC     Party City Corporation     America, Ltd. dated June 3, 1997                     5259      $10,975.57   831 S Military Ave Plaza            Green Bay    WI                   54304 Plaza, LLC     c/o Colliers    Avenue #500          Milwaukee       Wisconsin             53202
                                                                                                                                                                                                                              c/o Flad
                                                       Indenture of Lease by and between                                                                                                                                      Developmen
                                                       Junction Ridge Limited Partnership and                                                                                                                  Junction Ridge t &
Junction Ridge Limited                                 Party City Corporation dated October 24,                                                                                                                Limited        Investment      7941 Tree Lane, Suite
Partnership                 Party City Corporation     1996                                                   518          $0.00   223 Junction Rd                     Madison      WI                   53717 Partnership    Corp.           105                   Madison        Wisconsin             53717

                                                       Lease Agreement by and between                                                                                                                                         c/o Irgens
                                                       Shoppes at the Corridor, LLC and Party                                      285 Discovery                                                               Shoppes at the Partners,       1401 Discovery
Shoppes at the Corridor, LLC Party City Corporation    City Corporation dated February 4, 2019              5140           $0.00   Drive                               Brookfield   WI                   53045 Corridor, LLC LLC              Parkway, Suite 100   Milwaukee       Wisconsin             53226

                                                       Lease Agreement between THF                                                                                                                             THF Clarksburg
                                                       Clarksburg Development One, Limite                                                                                                                      Development
THF Clarksburg                                         Liability Company and Factory Card                                                                                                                      One, Limited c/o TKG
Development One, Limited                               Outlet of America, Ltd. dated April 21,                                                         New Pointe                                              Liability      Managemen 211 N. Stadium Blvd.,
Liability Company        Party City Corporation        1997                                                 5274       $2,340.53   526 Emily Dr        Plaza      Clarksburg        WV                   26301 Company        t, Inc.   Suite 201             Columbia             Missouri              65203
                                                       Lease Agreement by and between TPP
                                                       Orchard Property, LLC and Party City                                        14458 Delaware                                                              TPP Orchard                    2415 East Camelback
TPP Orchard Property, LLC   Party City Corporation     Corporation dated June 10, 2022                     1072R           $0.00   Street, Suite 600                   Westminster CO                    80023 Property, LLC    c/o Vestar    Road, Suite 100     Phoenix          Arizona               85016
                                                       Lease Agreement between Matrix                                                                                                                          Matrix
                                                       Newburgh I, LLC and Amscan, Inc. dated                                      108 Route 17K,                                                              Newburgh I,                    Forsgate Drive, Cn
Matrix Newburgh I, LLC      Amscan Inc.                September 19, 2016                                   W021      $33,959.42   Suite 2                             Newburgh     NY                   12550 LLC                            4000                 Cranbury        NJ            08512

                                                       Parking Space Rental Agreement by and
                                                       between WF Whelan Company and Party                                         8249 Haggerty                                                               WF Whelan
WF Whelan Company           Party City Corporation     City Corporation dated March 1, 2022                 W031      $15,000.00   Road                                Canton       MI                   48187 Company                       41425 Joy Road        Canton          MI                    48187
                                                       Office Lease Agreement between SIG 100                                                                                                                                   Signature
                                                       Tice LLC and Party City Holdings Inc.                                       100 Tice                            Woodcliff                                SIG 100 Tice    Acquisitions
SIG 100 Tice LLC            Party City Holdings Inc.   dated October 6, 2021                               90100      $13,916.17   Boulevard                           Lake         NJ           07677          LLC             LLC          20 Commerce Drive     Cranford        NJ            07016




                                                                                                                                                       Page 43 of 44
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 122 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(i)
As of May 12, 2023

                                                                                                                                                                  Property Address                                                                          Landlord Address
                                                                                                      Store Number /                                         Street                                                                   Parent
        Counterparty           Debtor Counterparty             Description of Agreement                                Cure Amount    Street Address 1                     City                State       Zip         Landlord                     Street Address             City        State      Zip
                                                                                                        Property ID                                         Address 2                                                                Company

                                                        Lease Agreement by and between Boland‐                                                                                                                    Boland
                          Deco Paper Products, a        Maloney Realty Co. and Deco Paper                                             4006 and 4004                                                               Maloney
Boland Maloney Realty Co. division of Amscan, Inc.      Products, Inc. dated March 18, 1996                    W014           $0.00   Collins Lane                         Louisville     KY                40245 Realty Co.                     4010 Collins Lane    Louisville      KY                   40223
                                                        Parking License Agreement between
                                                        Party City Corp and Par King LLC dated                                                                                                                                      c/o Park
Par King LLC                 Party City Corporation     February 1, 2023                                      90006           $0.00   13850 S Decatur                      Sloan          NV                89054 Park King LLC     King LV      13850 S. Decatur     Sloan           NV                   89054
                                                        Parking Space Lease Agreement between                                         591
                                                        PennFleet Corp and Party City Corp dated                                      Meetinghouse                                                                PennFleet                      591 Meetinghouse
PennFleet Corp               Party City Corporation     May 12, 2021                                           W005           $0.00   Rd.                                  Boothwyn       PA                19061 Corp                           Road                 Boothwyn        PA                   19061
                                                        Industrial Building Lease between
                                                        Centerpoint Realty Services Corporation                                                                                                                   Coleman         c/o
                                                        and Factory Card Outlet of America Ltd.                                                                                                                   Logistics Asets Cushamn & 9500 W. Bryn Mawr
Coleman Logistics Asets LLC Party City Holdings Inc.    dated October 28, 1996                                 1005           $0.00   2727 Diehl Road                      Naperville     IL                60563 LLC             Wakefield Avenue, Ste. 600          Rosemont        IL                   60018

                                                                                                                                                                                                                  FLT Northgate‐
                                                                                                                                                                                                                  Ashton, LLC,
                                                                                                                                                                                                                  FLT Northgate‐
                                                        Lease Agreement by and between FLT                                                                                                                        Deer Glen, LLC,
FLT Northgate‐Ashton, LLC,                              Northgate‐Ashton, LLC, FLT Northgate‐                                                                                                                     FLT Northgate‐
FLT Northgate‐Deer Glen,                                Deer Glen, LLC, FLT Northgate‐                                                                                                                            Crossroads,
LLC, FLT Northgate‐                                     Crossroads, LLC & FLT Northgate‐                                                                                                                          LLC & FLT       c/o Red Tail
Crossroads, LLC & FLT                                   Western, LLC and Print Appeal, Inc. dated                                     11330 Page Mill                                                             Northgate‐      Acquisitions, 2082 Michelson
Northgate‐Western, LLC     Print Appeal, Inc.           November 15, 2021                                      W033           $0.00   Rd.                                  Dallas         TX                75243 Western, LLC LLC              Boulevard, Ste. 307   Irvine          CA                   92612
                                                        Temporary Use and Occupancy
                                                        Agreement by and between GAM
                                                        Property Corp. and Party City Holdings                                                                                                                     GAM Property
GAM Property Corp.           Party City Holdings Inc.   Inc. dated June 30, 2022                              96872           $0.00   17 Dikeman Drive                     Goshen         NY                 10924 Corp.                         3 Police Drive       Goshen          NY                   10924
                                                        Lease between K.K.H. Limited Liability                                                                                                                     K.K.H. Limited
K.K.H. Limited Liability                                Company and Am‐Source, LLC dated April                                        261 Narragansett                     East                                    Liability
Company                      Am‐Source, LLC             27, 2011                                               W037           $0.00   Park Dr.                             Providence     RI           02916       Company                       PO Box 16322         East Providence RI           02916
                                                        Lease by and between Burt Realty
                                                        Company, LLC and Gags and Games, Inc.
                                                        d/b/a Halloween City dated October 18,                                        12640, 12676 and                                                            SFG Equities,                  4118 14th Avenue,
SFG Equities, LLC            Party City Corporation     2012                                                  90055           $0.00   12670 Burt Road                      Detroit        MI                48223 LLC                            Ste. 101             Brooklyn        NY                   11218
                                                                                                                                                                                                                                    c/o Spirit
                                                        Master Lease Agreement by and between                                                                                                                                       SPE
                                                        Spirit Realty, L.P. and Party City Holdings                                                                                                               Spirit Realty, L. Manager,     2727 N Harwood
Spirit Realty, L. P.         Party City Holdings Inc.   LLC dated June 28, 2019                                W008           $0.00   47 Elizabeth Drive                   Chester        NY                10918 P.                LLC          Street, Ste. 300     Dallas          TX                   75201
                                                                                                                                                                                                                                    c/o Spirit
                                                        Master Lease Agreement by and between                                                                                                                                       SPE
                                                        Spirit Realty, L.P. and Party City Holdings                                   7700 Anagram                                                                Spirit Realty, L. Manager,     2727 N Harwood
Spirit Realty, L. P.         Party City Holdings Inc.   LLC dated June 28, 2019                                W009           $0.00   Drive                                Eden Prairie   MN                55344 P.                LLC          Street, Ste. 300     Dallas          TX                   75201

                                                        Industrial Multi‐Tenant Lease by and
                                                        between AMB Property II, L.P. and Print                                       11220 Page Mill
Tuffli Co.                   Print Appeal, Inc.         Appeal, Inc. dated August 29, 2007                     W032           $0.00   Road                                 Dallas         TX                75243 Tuffli Co.                     11220 Page Mill Road Dallas          TX                   75243




                                                                                                                                                           Page 44 of 44
                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 123 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(ii)
As of May 12, 2023

                                                                                                                                                                                                      Property Address                                                        Landlord Address
                                                                                                      Store Number /                                                                             Street                                                        Parent          Street
         Counterparty            Debtor Counterparty            Description of Agreement                             Cure Amount     Assignee       Assignment Date         Street Address 1                   City            State   Zip       Landlord                                   City           State    Zip
                                                                                                        Property ID                                                                             Address 2                                                     Company         Address
                                                                                                                                                                                                                                              PACIFIC
                                                                                                                                                                                                                                              COAST
                                                           Lease Agreement by and between Shea                                                                                                                                                HIGHWAY       C/O 1ST  2009
PACIFIC COAST HIGHWAY                                             Marina Village LLC and Party City                              Five Below,                              125 Gen Stillwell                                                   PROPERTY      COMMERCIAL
                                                                                                                                                                                                                                                                     PORTERFIEL
PROPERTY LLC                    Party City Corporation            Corporation dated June 15, 2012               837        $0.00 Inc.                               45107 Dr.                              Marina         CA            93933 LLC           REALTY GROUP
                                                                                                                                                                                                                                                                     D WAY               UPLAND        California    91786
                                                            Lease Agreement by and between BDC                                                                                                                                                              c/o Browman
                                                                                                                                                                                                                                                                     1556
                                                         Lodi Anchor LP and Party City Corporation                               Five Below,                              2350 W                                                              BDC Lodi      Development
                                                                                                                                                                                                                                                                     Parkside            Walnut
BDC Lodi Anchor LP              Party City Corporation                       dated March 23, 2016               935   $16,544.76 Inc.                               45107 Kettleman Lane       Suite 130   Lodi           CA            95242 Anchor LP     Company, Inc.
                                                                                                                                                                                                                                                                     Drive               Creek         California    94596
                                                                Lease Agreement by and between                                                                                                                                                MGP XII                425
                                                          Jamestown South Shore Center, L.P. and                                                                                                                                              SOUTH      C/O MERLONE California
MGP XII SOUTH SHORE CENTER                                Party City Corporation dated January 25,                               Five Below,                              2251 S Shore                                                        SHORE      GEIER       Street, 10th        San
LLC                        Party City Corporation                                            2017               987   $18,148.23 Inc.                               45077 Center                           Alameda        CA            94501 CENTER LLC MANAGEMENT Floor                Francisco     California    94104
                                                                                                                                 Michaels
                                                                                                                                 Stores, Inc.
                                                               Lease Agreement by and between                                    and/or an                                                                                                    MacArthur                     109
                                                           MacArthur Village Limited Partnership                                 affiliate (or                                                                                                Village     c/o Stirling      Northpark
MacArthur Village Limited                                and Party City Corporation dated July 10,                               if applicable,                           1456 MacArthur                                                      Limited     Properties,       Blvd., Suite
Partnership                     Party City Corporation                                       2015               928   $16,876.23 a designee)                        45077 Drive                            Alexandria     LA            71301 Partnership L.L.C.            300          Covington     Louisiana     70433
                                                                                                                                                   The date of
                                                                                                                                                  entry of the
                                                                                                                                                  Sale Order or
                                                                                                                                                  any such other
                                                                                                                                                  date as agreed
                                                                                                                                                  upon by the
                                                                Lease Agreement between Nathan                                                    Debtors, the
                                                          Benderson, Ronald Benderson and David                                  Michaels         counterparty to
                                                              H. Baldauf as Trustees Under a Trust                               Stores, Inc.     the Lease,
                                                            Agreement dated September 22, 1993                                   and/or an        and/or the
                                                          known as the Randall Benderson 1993‐1                                  affiliate (or    proposed                                                                                    Irondequoit
                                                         Trust and Factory Card Outlet of America,                               if applicable,   Assignee, as                                 Culver Ridge                                   TK Owner                      415 Park
Irondequoit TK Owner LLC        Party City Corporation              Ltd. Dated December 16, 1996               5224        $0.00 a designee)      applicable                2255 E Ridge Rd    Plaza        Irondequoit   NY            14622 LLC                           Avenue       Rochester     New York      14607
                                                                                                                                 Michaels
                                                                                                                                 Stores, Inc.
                                                                                                                                 and/or an                                                                                                                                  465 S.
                                                          Lease Agreement by and between Shops                                   affiliate (or                                                                                                Shops at                      Beverly
                                                               at Pinnacle Park, LLC and Party City                              if applicable,                           4414 DFW                                                            Pinnacle                      Drive, Suite
Shops at Pinnacle Park, LLC     Party City Corporation        Corporation dated October 24, 2016                979   $17,578.25 a designee)                        45077 Turnpike             Suite 100   Dallas         TX            75211 Park, LLC                     200          Beverly Hills California    90212
                                                                                                                                                   The date of
                                                                                                                                                  entry of the
                                                                                                                                                  Sale Order or
                                                                                                                                                  any such other
                                                                                                                                                  date as agreed
                                                                                                                                                  upon by the
                                                                                                                                                  Debtors, the
                                                                                                                                 Michaels         counterparty to
                                                                                                                                 Stores, Inc.     the Lease,
                                                         Lease Administration by and between CA                                  and/or an        and/or the
                                                          New Plan Fixed Rate Partnership, LP and                                affiliate (or    proposed                                                                                    Cielo Paso                 6500
                                                           Party City Corporation dated March 28,                                if applicable,   Assignee, as                                             Corpus                             Parke Green                Montana
Cielo Paso Parke Green LP       Party City Corporation                                      2012                814        $0.00 a designee)      applicable                4101 Hwy 77        Suite K2    Christi        TX            78410 LP          c/o Mimco Inc. Avenue          El Paso       Texas         79925




                                                                                                                                                              Page 1 of 1
                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 124 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(iii)
As of May 12, 2023

                                                                                                                                                                             Property Address                                                                           Landlord Address
                                                                                                         Store Number /                Agreed                           Street
         Counterparty              Debtor Counterparty           Description of Agreement                               Cure Amount               Street Address 1                    City           State      Zip                Landlord        Parent Company      Street Address         City           State      Zip
                                                                                                           Property ID                Deadline                         Address 2

                                                           Shopping Center Lease by and between
                                                         RMC Investments, L.L.C. and Party City of                                               1615                                                                                              c/o RMC          708 East Colonial
Select Strategies               Party City Corporation      Hoover, L.L.C. dated December 4, 1996                 1037        $0.00    5/31/2023 Montgomery Hwy Suite 102        Hoover         AL                   35216 Select Strategies       Investments, LLC Drive, Suite 203 Orlando          Florida            32803
                                                             Lease Agreement by and between LHR
                                                          Renaissance Marketplace South, LLC and                                                 1295 W.                                                                   RENAISSANCE             C/O 1ST
RENAISSANCE COMMERCIAL                                      Party City Corporation dated March 19,                                               Renaissance                                                               COMMERCIAL              COMMERCIAL         4016 Grand
PROPERTY LLC                    Party City Corporation                                          2018               993        $0.00    5/31/2023 Pkwy.                           Rialto         CA                   92376 PROPERTY LLC            REALTY GROUP       Avenue             Chino        California         91710
                                                               Lease Agreement by and between La                                                                                                                                                   c/o Ashcraft
                                                                  Entrada Associates and Party City                                              1109 W. Valley                                                            LA Entrada              Investment         4401 Manchester
LA Entrada Associates           Party City Corporation             Corporation dated April 11, 2016                445        $0.00    5/31/2023 Parkway                         Escondido      CA                   92025 Associates              Company            Ave, Ste 206    Encinitas       California         92024
                                                           Lease Agreement by and between M&A                                                                                                                                                      C/O Excel
                                                         GABAEE and Party City Corporation dated                                                 11098 Foothill                  Rancho                                                            Property           9034 West Sunset West
M&A GABAEE                      Party City Corporation                                August 8, 2013               443        $0.00    5/31/2023 Blvd                Suite 110   Cucamonga      CA                   91730 M&A GABAEE              Management         Blvd             Hollywood      California         90069
                                                           Lease by and between Gateway Pioneer
                                                               Inc. No. 1 and Party City Corporation                                             19670 Hawthorne                                                                                   c/o Kimco Realty 2429 Park Avenue
KIR TORRANCE LP,                Party City Corporation                          dated May 29, 1998                 669        $0.00    5/31/2023 Blvd                            Torrance       CA                   90503 KIR TORRANCE LP,        Corporation      Park Avenue      Tustin           California         92728
                                                              Lease Agreement by and between SY
                                                                     Ventures III, LLC and Party City                                                                                                                                              c/o Shin Yen       3808 Grand
SY Ventures III, LLC            Party City Corporation      Corporation dated November 21, 2017                    427        $0.00    5/31/2023 3850 Grand Ave                  Chino          CA                   91710 SY Ventures III, LLC    Equity, Inc.       Avenue, Suite B    Chino        California         91710
                                                                  Lease by and between San Dimas
Maryland Parkway Property,                                   Marketplace Associates, LLC and Party                                               852 W Arrow                                                               Maryland Parkway        c/o Shin Yen     3898 Grand
LLC                             Party City Corporation     City Corporation dated August 22, 1997                  580        $0.00    5/31/2023 Hwy                             San Dimas      CA                   91773 Property, LLC           Management, Inc. Avenue, Suite B      Chino        California         91710

                                                         Standard Retail/Multi‐Tenant Lease ‐ Net
                                                               by and between Joan Gayle Cernich
                                                            Family Trust and PA Acquisitions Corp.                                               25410 Marguerite
OC Generations V, LP            Party City Corporation                    dated December 5, 2005                  1514        $0.00    5/31/2023 Pkwy                           Mission Viejo CA                     92692 OC Generations V, LP                       625 Catalina       Laguna Beach California         92625
                                                          Lease Agreement by and between GGP‐                                                                        Otay Ranch
                                                                    Otay Ranch, L.P. and Party City                                                                  Town                                                  GGP‐OTAY RANCH,         c/o Brookfield     350 N Orleans St
GGP‐OTAY RANCH, LP              Party City Corporation        Corporation dated October 15, 2010                   707   $14,839.87    5/31/2023 2015 Birch Road     Center     Chula Vista CA                       91915 LP                      Properties         Suite 300          Chicago      Illinois            60654

                                                         Lease Agreement by and between Vestar                                                                                                                                                                      500 North
                                                               California XXVII, L.L.C. and Party City                                           9850 Mission                                                              Santee Trolley          c/o Kimco Realty Broadway, Suite
Santee Trolley Square 991, LP   Party City Corporation        Corporation dated November 9, 2001                   441        $0.00    5/31/2023 Gorge Rd                        Santee         CA                   92071 Square 991, LP          Corporation      201, PO Box 9010 Jericho          New York           11753
                                                             Lease Agreement by and between The                                                                                                                                                                     500 North
                                                         Price REIT, Inc. and Party City Corporation                                                                                                                                               c/o Kimco Realty Broadway, Suite
The Price REIT, Inc.            Party City Corporation                     dated December 6, 2021                1508R        $0.00    5/31/2023 350 N McKinley St               Corona         CA                   92879 The Price REIT, Inc.    Corporation      201              Jericho          New York           11753
                                                               Agreement of Lease by and between                                                                                                                           COMM 2014‐UBS2
COMM 2014‐UBS2 Canyon                                        Canyon Crossings I LLC and PCMV, Inc.                                               2550 Canyon                                                               Canyon Springs          o ProEquity Asset 4980 Hillsdale Cir., El Dorado
Springs Parkway, LLC            Party City Corporation                           dated July 15, 2008               750        $0.00    5/31/2023 Springs Pkwy        Suite H     Riverside      CA                   92507 Parkway, LLC            Management        Suite A              Hills       California         75205
                                                              Shopping Center Lease Agreement by
                                                         and between 99, Eglin Ltd. And Party City
                                                           of Fort Walton Beach, Florida LLC dated                                                                               Ft Walton                                                         c/o Slate Asset 121 King Street
Suso 2 Uptown LP                Party City Corporation                                  April 25, 2001            1051        $0.00    5/31/2023 99 Elgin Pkwy       Unit 4      Beach          FL                   32548 Suso 2 Uptown LP        Management L.P. West, Suite 200       Toronto      ON             M5H 3T9

                                                         Lease Agreement by and between DDRTC                                                                                                                                                      c/o Crawford
DDRTC Fayette Pavilion I and II                          Fayette Pavilion I and II LLC and Party City                                            128‐A Pavilion                                                            DDRTC Fayette           Square Real        1175 Peachtree St
LLC                             Party City Corporation             Corporation dated July 28, 2014                 222        $0.00    5/31/2023 Pkwy                            Fayetteville   GA                   30214 Pavilion I and II LLC   Estate Advisors    NE, Suite 1000    Atlanta       Georgia            30361
                                                           Lease Agreement by and between Epps                                                                                                                             EPPS Bridge Centre                         6445 Powers
EPPS Bridge Centre Property                                       Bridge Centre, LLC and Party City                                              1791 Oconee                                                               Property Company                           Ferry Road, Suite
Company LLC                     Party City Corporation       Corporation dated February 20, 2015                   275        $0.00    5/31/2023 Connector           Suite 340   Athens         GA                   30606 LLC                                        120               Atlanta       Georgia            30339

                                                         Lease Agreement by and between U.S. 41                                                                                                                                                                       600 Madison
                                                         & I 285 Company and Party City Franchise                                                2955 Cobb Pkwy                                                            U.S. 41 & I 285         c/o Olshan         Avenue, 14th
U.S. 41 & I 285 Company         Party City Corporation           Group, LLC dated March 14, 2008                   220        $0.00    5/31/2023 SE             Suite 330        Atlanta        GA                   30339 Company                 Properties         Floor              New York     New York           10022
                                                            Shopping Center Lease between EMB2
                                                         Shorewood Phase II, LLC and Factory Card
                                                         Outlet of America, LTD., dated August 29,                                               988 Brook Forest Shorewood                                                Shorewood Station                           11501 Northlake
Shorewood Station LLC           Party City Corporation                                       2005                 5343        $0.00    6/30/2023 Ave              Crossing  Shorewood           IL                   60404 LLC                     c/o Phillips Edison Dr                Cincinnati   Ohio               45249
                                                                  Lese Agreement by and between
                                                                Gateway Arthur, Inc. and Party City                                              8703 Hardegan                                                             RCG‐HRP                 c/o RCG Ventures, 3060 Peachtree
RCG‐HRP Indianapolis, LLC       Party City Corporation         Corporation dated January 22, 2016                 5148        $0.00    5/31/2023 Street                          Indianapolis   IN                   46227 Indianapolis, LLC       LLC               Rd NW, Suite 400 Atlanta         Georgia            30305
                                                              Lease between Equity Properties and
                                                             Development Limited Partnership and                                                                                                                                                                      200 Broad Street,
                                                           The Big Party Corporation dated April 3,                                              86 N. Dartmouth                 North                                       PR North              c/o PREIT          The Bellevue, 3rd
PR North Dorthmouth, LLC        Party City Corporation                                       1997                 6030        $0.00    5/31/2023 Mall                            Dartmouth      MA           02747           Dorthmouth, LLC       Services, LLC      Floor             Phliladelphia Pennsylvania        19102




                                                                                                                                                         Page 1 of 3
                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 125 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(iii)
As of May 12, 2023

                                                                                                                                                                               Property Address                                                                         Landlord Address
                                                                                                           Store Number /                Agreed                           Street
         Counterparty                Debtor Counterparty           Description of Agreement                               Cure Amount               Street Address 1                    City           State       Zip              Landlord       Parent Company       Street Address         City           State      Zip
                                                                                                             Property ID                Deadline                         Address 2
                                                                   Lease Agreement by and between                                                                                                                                                 c/o Windham         7501 Wisconsin
                                                           Rockville Associates, Inc. and Party City of                                            1500 Rockville                                                            1500 Rockville Pike, Management          Avenue, Suite
1500 Rockville Pike, LLC          Party City Corporation           Rockville, Inc. dated June 16, 1999              1093        $0.00    5/31/2023 Pike                            Rockville      MD                   20852 LLC                  Company             1500E               Bethesda     Maryland       20814‐6522
                                                                   Lease Agreement by and between
                                                              Cranberry‐140 Limited Partnership and                                                                                                                                                c/o Windham        7501 Wisconsin
                                                                 Factory Card Outlet of America, Ltd.                                              405 N Center St                                                           Cranberry Square,     Management         Avenue, Suite       East
Cranberry Square, LLC             Party City Corporation                   dated November 20, 1997                  5306   $19,777.25    5/31/2023 Ste 30                          Westminster MD                      21157 LLC                   Company            1500E               Bethesda     Maryland       20814‐6522
                                                               Lease by and between IRET Properties                                                                                                                          SGO MN WEST                              11501 Northlake
SGO MN WEST VILLAGE LLC           Party City Corporation      and Newpaper, LLC dated May 1, 2010                   1150        $0.00    6/30/2023 830 W 78th St                   Chanhassen     MN                   55317 VILLAGE LLC           c/o Glenborough Drive                  Cincinnati   Ohio                45249
                                                            Lease Agreement by and between Equity                                                                                                                                                  c/o Revesco
                                                                    Fund Advisors, Inc.and Party City                                              8321 NW                                                                   BARRYWOODS            Property Services, 2731 17th Street,
BARRYWOODS HOLDINGS LLC           Party City Corporation             Corporation dated July 21, 2016                1107   $12,997.76    6/15/2023 Roanridge Rd                    Kansas City    MO                   64151 HOLDINGS LLC          LLC                Suite 300           Denver       Colorado            80211
                                                                Agreement of Lease by and between
RSS MSBAM2016‐C29‐MO CSCI                                    Crossings at Halls Ferry, L.L.C. and Party                                            10861 Old Halls                                                           RSS MSBAM2016‐        c/o Rialto Capital 200 S. Biscayne
LLC                       Party City Corporation              City Cororation dated September 1998                   412        $0.00    5/31/2023 Ferry Rd                        Saint Louis    MO                   63136 C29‐MO CSCI LLC       Advisors, LLC      Blvd., Suite 3550   Miami        Florida             33131
                                                             Lease Agreement between The Plaza at
                                                                     Sunset Hills, L.L.C. and Party City                                           10790 Sunset                                                              Sunset Hills Owner    c/o Sansone        120 S Central,
Sunset Hills Owner LLC            Party City Corporation         Corporation dated January 17, 1996                  564        $0.00    5/31/2023 Hills Plz                       Saint Louis    MO                   63127 LLC                   Group              Suite 500           St Louis     Missouri            63105

                                                                 Lease between Mid‐America Realty
                                                            Investment, Inc. and Factory Card Outlet                                                              Ile De Grand                                               ROEBUCK                                  512 North Eddy
ROEBUCK ENTERPRISES LLC           Party City Corporation         of America, Ltd. Dated May 9, 1995                 5187    $5,268.08    5/31/2023 2235 N Webb Rd S/C          Grand Island NE                         68803 ENTERPRISES LLC                          Street              Grand Island Nebraska       68802‐0139
                                                                  Lease between Jersey City Leasing
                                                                Corporation and Tri‐State Party, Inc.                                                                                                                                              c/o Urban Edge
Jersey City UE LLC                Party City Corporation                        dated May 31, 1994                   406   $18,512.20    5/31/2023 733 Highway 440                 Jersey City    NJ           07304          Jersey City UE LLC   Properties         210 Route 4 East Paramus         New Jersey           7652

                                                                  Lease Agreement by and between                                                                                                                                                   c/o DLC
                                                              Longfish Improvements, LLC and Party                                                 1500 Almonesson                                                            Longfish             Management         565 Taxter Road,
Longfish Improvements, LLC        Party City Corporation    City Corporation dated January 21, 2015                  695        $0.00    5/31/2023 Rd              Suite B‐3C      Woodbury       NJ           08096          Improvements, LLC    Corporation        4th Floor        Elmsford        New York            10523
                                                           Lease Agreement by and between C Keys
                                                                LLC and Party City Corporation dated                                               611 Cross Keys      Suites C‐329                                           Jemstone Cross Keys c/o The Jemstone 358 Fifth Avenue,
Jemstone Cross Keys LLC           Party City Corporation                          December 31, 2015                  716        $0.00    5/31/2023 Road                and C‐333 Sicklerville     NJ           08081          LLC                 Group            Suite 704         New York          New York            10001
                                                               Lease Agreement by and between AP
                                                           Century II, L.P. and Party City of Santa Fe,                                            528 W Cordova                                                             Coronado Center       c/o Phillips Edison 11501 Northlake
Coronado Center Station LLC       Party City Corporation               Inc. dated November 17, 1993                  940        $0.00    6/30/2023 Rd                              Santa Fe       NM                   87505 Station LLC           & Company           Dr, Suite 100      Cincinnati   Ohio                45249

                                                                Lease Agreement by and among SL                                                                                                                              SL Mount Kisco LLC;
SL Mount Kisco LLC; Grobman                                Mount Kisco LLC, Grobman Mt. Kisco LLC,                                                                                                                           Grobman Mt. Kisco
Mt. Kisco LLC; M&M Mt. Kisco,                               and M&M Mt. Kisco, LLC and Party City                                                                                                                            LLC; M&M Mt. Kisco, c/o Lerner           720 E. Palisade   Englewood
LLC                           Party City Corporation        Corporation dated September 18, 2018                     647        $0.00    5/31/2023 162 E MAIN ST                   Mount Kisco NY                      10549 LLC                 Properties           Avenue, Suite 203 Cliffs         New Jersey           7632

                                                             Lease between KGL Yonkers Associates,
                                                               LLC and WRR‐CP, LLC and Party City of                                               2630 Central Park                                                         Central Plaza         c/o Lerner         720 East Palisade Englewood
Central Plaza Associates LLC      Party City Corporation         Yonkers, Inc. dated January 13, 2003                718        $0.00    5/31/2023 Avenue                          Yonkers        NY                   10710 Associates LLC        Properties         Avenue, Suite 203 Cliffs         New Jersey           7632
                                                                  Indenture of Lease by and between
                                                             Atlantic Center Fort Greene Associates,                                                                                                                         Atlantic Center Fort
Atlantic Center Fort Greene                                L.P. and Party City Corporation dated July                                                                                                                        Greene Associates, c/o Madison           300 Park Avenue,
Associates, LLC                   Party City Corporation                                         1995                519        $0.00    5/31/2023 625 Atlantic Ave                Brooklyn       NY                   11217 LLC                  International       3rd Floor        New York        New York            10022
                                                                      Shopping Center Lease between
                                                            Montauk Shopping Center Associate and                                                                                                                                                                     600 Madison
                                                                 Party City Corporation dated July 24,                                             737 W Montauk                                                             MLO Great South       c/o Olshan         Avenue, 14th
MLO Great South Bay LLC           Party City Corporation                                         2001                425        $0.00    5/31/2023 Hwy                             West Babylon NY                     11704 Bay LLC               Properties         Floor               New York     New York            10022
                                                           Lease Agreement by and between Encore                                                                                                                                                                      400 Techne
                                                                        Retail CGP, LLC and Party City                                             9608 S Mason‐                                                             Select ‐ Governor's   c/o Select         Center Dr, Suite
Select ‐ Governor's Pointe, LLC   Party City Corporation     Corporation dated September 21, 2017                    552   $13,274.49    5/31/2023 Montgomery Rd.                  Mason          OH                   45040 Pointe, LLC           Strategies         320                 Cincinnati   Ohio                45150
                                                                    Lease Agreement by and between
                                                                Memorial Square Leaseco., L.L.C. and                                               13830 North                                                                                 c/o Inland
Memorial Square LeaseCo,                                        Party City Corporation dated June 14,                                              Pennsylvania                    Oklahoma                                Memorial Square     Commerical Real        2901 Butterfield
L.L.C.                            Party City Corporation                                         2018               1077   $15,890.70    5/31/2023 Avenue                          City           OK                 73134 LeaseCo, L.L.C.     Estate                 Road             Oak Brook       Illinois            60523
                                                                    Lease Agreement by and between                                                                                                                                             c/o Weitzman           4200 North Lamar
                                                              Capital/Highway 35, Ltd. and Party City                                              5441 N Interstate                                                       Capital/Highway 35, Management             Boulevard, Suite
Capital/Highway 35, Ltd.          Party City Corporation      Corporation dated November 16, 2021                   1192        $0.00    5/31/2023 35, Ste 16                      Austin         TX           78723       Ltd.                Corporation            200              Austin          Texas               78756




                                                                                                                                                           Page 2 of 3
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 126 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(iii)
As of May 12, 2023

                                                                                                                                                                          Property Address                                                                Landlord Address
                                                                                                       Store Number /                Agreed                          Street
         Counterparty               Debtor Counterparty         Description of Agreement                              Cure Amount               Street Address 1                   City           State   Zip           Landlord        Parent Company    Street Address        City       State      Zip
                                                                                                         Property ID                Deadline                        Address 2
                                                                                                                                                                                                                 SSS Eldridge
                                                                                                                                                                                                                 Marketplace LLC, SSS
                                                                                                                                                                                                                 Eldridge Town
                                                                                                                                                                                                                 Center LLC, SSS
SSS Eldridge Marketplace LLC,                                                                                                                                                                                    Eldridge Square
SSS Eldridge Town Center LLC,                                                                                                                                                                                    Investors LLC, SKJ
SSS Eldridge Square Investors                             Lease Agreement by and between W‐NQ                                                                                                                    Eldridge Square LLC
LLC, SKJ Eldridge Square LLC and                          Market Square Owner VIII, L.P. and Party                                             13441                                                             and Peach Eldridge c/o Wu               3657 Briarpark
Peach Eldridge LLC               Party City Corporation     City Corportion dated January 15, 2018               588        $0.00    5/31/2023 Westheimer Road                Houston        TX            77077 LLC                  Properties, Inc.   Drive Suite 188    Houston    Texas       77042‐5264
                                                          Lease Agreement by and between Staley
                                                                    Investments, LLC and Party City                                                                                                              Staley Investments,                     901 Main Street,
Staley Investments, LLC         Party City Corporation              Corporation dated April 8, 2022            1113R        $0.00    5/31/2023 8511 W I‐40                    Amarillo       TX            79121 LLC                                     1st Floor          Dallas     Texas            75202
                                                           Shopping Center Lease by and between
                                                             Saul Holdings Limited Partnership and                                                                                                                                    c/o Windham        7501 Wisconsin
                                                           Party City of Fairfax, Inc. dated October                                           10700 Fairfax                                                                          Management         Avenue, Suite
Shops at Fairfax LLC            Party City Corporation                                      22, 1998            1169    $8,490.77    5/31/2023 Blvd                           Fairfax        VA            22030 Shops at Fairfax LLC Company            1500 E             Bethesda   Maryland    20814‐6522




                                                                                                                                                      Page 3 of 3
                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 127 of 248


PARTY CITY HOLDCO INC., et al
Schedule B‐2(iv)
As of May 12, 2023

                                                                                                                                                            Property Address                                                                               Landlord Address
                                                                                                     Store Number /                                    Street
       Counterparty          Debtor Counterparty              Description of Agreement                              Cure Amount   Street Address 1                   City               State      Zip               Landlord         Parent Company       Street Address           City           State      Zip
                                                                                                       Property ID                                    Address 2
                                                       Standard Shopping Center Lease by and
                                                       between M&H Realty Partners L.P. and
                                                       Party City Corporation dated March 1,                                      1441 W. Imperial                                                            La Habra                                  7777 Edinger Avenue, Huntington
La Habra Associates, LLC   Party City Corporation      1996                                                    520       $0.00    Hwy                               La Habra      CA                    90631 Associates, LLC                           Suite 133            Beach            California       92647
                                                       Lease Agreement by and between
                                                       California Property Owner I, LLC and
Investec Real Estate                                   Party City Corporation dated October 19,                                   211 W Esplanade                                                             Investec Real Estate                      200 E. Carrillo Street,
Company                    Party City Corporation      2015                                                   1516       $0.00    Dr                                Oxnard        CA                    93036 Company                                   Suite 200               Santa Barbara California       93101
                                                       Lease Agreement by and between
                                                       MM/PG (Bayfair) Properties, LLC and                                                                                                                                           c/o Madison
MM/PG (Bayfair)                                        Party City Corporation dated December                                      15555 E 14th                                                                MM/PG (Bayfair)        Marquette Retail   1000 Maine Avenue,                    District of
Properties, LLC            Party City Corporation      4, 2018                                                 635   $16,725.05   Street             Suite 2008     San Leandro CA                      94578 Properties, LLC        Services Inc.      SW, Suite 300      Washington         Columbia         20024

                                                       Lease Agreement by and between Bristol
                                                       Place Limited Partnership and Party City                                   1140 Newport                                                                                                          800 Boylston St, Suite
Wilder Companies           Party City Corporation      Corporation dated April 4, 2016                        6015       $0.00    Ave.                              Attleboro     MA            02703           Wilder Companies                        1300                   Boston         Massachusetts     2199
                                                       Lease Agreement by and between New
                                                       Saugus, LLC and Party City Corporation                                     1160 Broadway                                                                                                         270 Belleview
New Saugus, LLC            Party City Corporation      dated October 30, 2017                                 6002       $0.00    Space #1160C                      Saugus        MA            01906           New Saugus, LLC                         Avenue, PMB 183        Newport        Rhode Island      2840
                                                       Retail Store Lease Agreement between
                                                       Kil‐Ben Excelsior, LLC and Newpaper, LLC                                   5825 Excelsior                                                              Kil‐Ben Excelsoir,
Kil‐Ben Excelsoir, LLC     Party City Corporation      dated September 30, 2015                               1135       $0.00    Boulevard                         St. Louis Park MN                   55416 LLC                                       80 E. Arlington Ave.   St. Paul       Minnesota        55117
                                                       Lease Agreement by and between Ritter
                                                       Plaza, LLC and Party City Corporation                                      940 NE Sam                                                                  Benevento                                 14139 Pepperwood
Benevento Properties, LLC Party City Corporation       dated May 23, 2014                                     1115       $0.00    Walton Lane                       Lees Summit MO                      64086 Properties, LLC                           Drive                  Penn Valley    California       95946

                                                       Shopping Center Lease by and between
                                                       Voice Road Limited Partnership and Party                                                                                                                                                         228 Park Avenue S.,
260 Voice Road LLC         Party City Corporation      City Corporation dated July 29, 1996                    562       $0.00    192 Glen Cove Rd Suite 290        Carle Place   NY                    11514 260 Voice Road LLC                        Suite #81420           New York       New York         10003

                                                       Amended and Restated Lease Agreement
                                                       by and between Parker Central Plaza, Ltd.
                                                       and Party City Corporation effective                                       3308 North                                                                  Parker Central         c/o Dalsan
Parker Central Plaza Ltd   Party City Corporation      September 1, 2017                                       219       $0.00    Central Expwy      Suite A        Plano         TX                    75074 Plaza Ltd              Properties         2001 Preston Road      Plano          Texas            75093
                                                       Lease Agreement by and between                                                                                                                         JCR Rutherford                            1010 Wisconsin
JCR Rutherford Crossing                                Rutherford Farm, LLC and Party City                                        143 Market         Rutherford                                               Crossing Investors,                       Avenue, NW, Suite                     District of
Investors, LLC             Party City Corporation      Corporation dated August 12, 2010                       706       $0.00    Street             Crossings      Winchester    VA                    22603 LLC                                       600                    Washington     Columbia         20007
                                                       Office Lease between CIP 18 SW                                             2200                                                                        CIP 18 SW
CIP 18 SW Orangewood                                   Orangewood Owner LLC and Tristar, Inc.                                     Orangewood                                                                  Orangewood             c/o Stillwater     130 Newport Center Newport
Owner LLC                  Trisar, Inc., d/b/a AmPro   dated January 30, 2019                                W004        $0.00    Avenue                            Orange        CA                    92868 Owner LLC              Investment Group   Drive, Suite 230   Beach              CA               92660
                                                       Master Lease Agreement by and between
                                                       Spirit Realty, L.P. and Party City Holdings                                                                                                                                   c/o Spirit SPE     2727 N Harwood
Spirit Realty, L. P.       Party City Holdings Inc.    LLC dated June 28, 2019                               W003        $0.00    2800 Purple Sage                  Los Lunas     NM                    87031 Spirit Realty, L. P.   Manager, LLC       Street, Ste. 300       Dallas         TX               75201
                                                       Sublease Agreement by and between
                                                       Party City Holdings LLC and Cupertino                                                                                                                                         c/o Spirit SPE     2727 N Harwood
Cupertino Electric, Inc.   Party City Holdings Inc.    Electric, Inc. dated May 1, 2022                     W009S        $0.00    2800 Purple Sage                  Los Lunas     NM                    87031 Spirit Realty, L. P.   Manager, LLC       Street, Ste. 300       Dallas         TX               75201




                                                                                                                                                      Page 1 of 1
Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 128 of 248




                               EXHIBIT B-3

   Redline to Schedule of Assumed Executory Contracts and Unexpired Leases
Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 129 of 248




                              EXHIBIT B-3(1)

             Redline to Schedule of Assumed Executory Contracts
                                                         Case
                                                        Case  23-90005Document
                                                             23-90005  Document 947-2 Filed
                                                                               1117-2 Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 05/12/23
                                                                                                        04/28/23 Page 130
                                                                                                                      3 of of
                                                                                                                           122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name          Contract ID               Title of Agreement                 Cure Amount               503(b)(9)    Notice Name                Address                City      State    ZIP Code

Party City Holdings Inc.   1010data Services LLC           M03982          1010data Services LLC ‐ PCHI ‐ Order Form              $23,280.56                ‐   Jeri Allen        432 Park Avenue South 15th    New York      NY       10016
                                                                           "C"                                                                                                    Floor


Party City Holdings Inc.   22squared, Inc.                 M05766          22squared, Inc ‐ PCHI ‐ Master Services                       ‐                  ‐                     1170 Peachtree Street NE,      Atlanta      GA       30309
                                                                           Agreement and Statement of Work                                                                        Suite 1400


Party City Corporation     2324523 Ontario, Inc dba FAHM   M01691          2324523 O+I5ntario, Inc dba FAHM                              ‐                  ‐   Iqbal Khan        100 Mural Street, Ste 100    Markham ON    Canada   L4B 1J3
                           Technology Partners                             Technology Partners ‐ PCC ‐ Master
                                                                           Services Agreement+I5

Print Appeal, Inc.         4imprint, Inc.                  M01334          4imprint, Inc ‐ Print Appeal ‐ Supply Chain                   ‐                  ‐   Jon Hendricks     101 Commerce Street           Oshkosh       WI       54901
                                                                           Responsibility & Compliance Expectations
                                                                           Agreement

Amscan Inc.                84.51 LLC; Crossmark, Inc.      M04540          84.51 LLC, Crossmark ‐ Amscan ‐ Broker                 $27,150.00                ‐   Bob Corona        100 W 5th Street              Cincinnati    OH       45202
                                                                           Client Data Sharing and Terms of Services
                                                                           Agreement

Party City Corporation     8x8 Inc f/k/a/ Fuze, Inc.       M05294          Fuze Inc‐ PCC‐ Renewal Order Form              $18,615.4348,000.00               ‐   Frank Hillery     2 Copley Place, Suite 700,     Boston       MA       02116
                                                                                                                                                                                  #7


Amscan Inc.                8x8 Inc f/k/a/ Fuze, Inc.       M05408          Fuze, Inc ‐ Amscan ‐ Order Form                       $10,987.520                ‐   Laurie Harrison   2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           20170214085951‐9                                                                                       #7


Amscan Inc.                8x8 Inc f/k/a/ Fuze, Inc.       M05293          Fuze Inc ‐ PCC‐ Amscan Expansion Order                   $920.950                ‐   Frank Hillery     2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           Form                                                                                                   #7


Party City Corporation     8x8 Inc f/k/a/ Fuze, Inc.       M05295          Fuze Inc‐ PCC‐ Order Form                                $882.940                ‐   John Milton       2 Copley Place, Suite 700,     Boston       MA       02116
                                                                                                                                                                                  #7


Party City Corporation     8x8 Inc f/k/a/ Fuze, Inc.       M05296          Fuze Inc. ‐ PCC ‐ Order Form                                  ‐                  ‐   John Milton       2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           20210319132725‐4                                                                                       #7


Amscan Inc.                8x8 Inc f/k/a/ Fuze, Inc.       M05421          Fuze, Inc ‐ Amscan ‐ Order Form                               ‐                  ‐   Laurie Harrison   2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           20180604124830‐1                                                                                       #7


Party City Corporation     8x8 Inc f/k/a/ Fuze, Inc.       M05417          Fuze, Inc ‐ PCHI ‐ Order Form                                 ‐                  ‐   Laurie Harrison   2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           20170413101619‐14                                                                                      #7


Party City Holdings Inc.   8x8 Inc f/k/a/ Fuze, Inc.       M04241          Fuze, Inc ‐ PCHI ‐ Order Form                                 ‐                  ‐   Jacqui Whiting    2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           20220722104955‐6 (Store 1200)                                                                          #7


Party City Holdings Inc.   8x8 Inc f/k/a/ Fuze, Inc.       M05338          Fuze, Inc ‐ PCHI ‐ Toll Free Number for CCPA                  ‐                  ‐   Laurie Harrison   2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           Compliance [Order Form                                                                                 #7
                                                                           20191204125451‐1]

Amscan Inc.                8x8 Inc f/k/a/ Fuze, Inc.       M05570          Fuze Inc (fka Think Phone Networks Inc) ‐                            ‐           ‐   Jacqui Whiting    2 Copley Place, Suite 700,     Boston       MA       02116
                                                                           Amscan ‐ Master Services Agreement                                                                     #7




                                                                                                                            Page 3 of 66
                                                           Case
                                                          Case  23-90005Document
                                                               23-90005  Document 947-2 Filed
                                                                                 1117-2 Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 05/12/23
                                                                                                          04/28/23 Page 131
                                                                                                                        4 of of
                                                                                                                             122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name           Contract ID                  Title of Agreement             Cure Amount         503(b)(9)    Notice Name               Address                 City        State   ZIP Code

Party City Holdings Inc.   A.S.G. Staffing, Inc.             M04683          ASG Staffing, Inc ‐ PCHI ‐ Temporary                 $29,236.09           ‐   Ed Plesa         231 W. Grand Avenue, Suite     Bensenville     IL      60106
                                                                             Employee Staffing Agreement and                                                                102
                                                                             Statement of Work

Party City Holdings Inc.   Abacus Health Solutions                           Provide incentives to eligible employees                    ‐             ‐   Migdon Allen     900 Route 9 N, Suite 503      Woodbridge       NJ      07095
                                                                             with Diabetes to reduce long term plan                                        Associates
                                                                             costs

Party City Holdings Inc.   Abacus Health Solutions, LLC      M05308          Abacus Health Solutions, LLC ‐ PCHI ‐                       ‐             ‐                    1210 Pontiac Avenue             Cranston       RI      02920
                                                                             Business Associate Agreement & Diabetes
                                                                             Services Agreement

Amscan Inc.                Abel Womack, Inc.                 M03708          Abel Womack ‐ Amscan ‐ Monthly Rental               $131,006.42           ‐   Kim Sussman      1 International Way             Lawrence      MA       01843
                                                                             Agreement & Equipment Lease
                                                                             MC05122022‐2 [Chester]

Amscan Inc.                Abel Womack, Inc.                 M01040          Abel Womack ‐ Amscan, Inc. ‐                                ‐             ‐   Mary Lynn        140 Rodeo Drive                Edgewood        NY      11717
                                                                             Equipment Lease                                                               Slusher


Amscan Inc.                Abel Womack, Inc.                 M03723          Abel Womack ‐ Amscan ‐ Proposal 398628‐1                    ‐             ‐   Kim Sussman      1 International Way             Lawrence      MA       01843
                                                                             [26 Orderpickers]


Amscan Inc.                Abel Womack, Inc.                 M03725          Abel Womack ‐ Amscan ‐ Proposal                             ‐             ‐   Kim Sussman      1 International Way             Lawrence      MA       01843
                                                                             398629‐R2 [17 Reach‐Fork Trucks]


Amscan Inc.                Abel Womack, Inc.                 M03724          Abel Womack ‐ Amscan ‐ Proposal 435911‐3                    ‐             ‐   Kim Sussman      1 International Way             Lawrence      MA       01843
                                                                             [18 Swing Reach Trucks]


Party City Corporation     Abston Enterprises, Inc.          M00587          Franchise Agreement with Abston                             ‐             ‐   Emily Morgan     20515 Wind Ridge Lane            Spring        TX      77379
                                                                             Enterprises, Inc. dated 04/03/2021 Store
                                                                             320

Party City Corporation     Abston Enterprises, Inc.          M00587          Franchise Agreement with Abston                             ‐             ‐   Emily Morgan     20515 Wind Ridge Lane            Spring        TX      77379
                                                                             Enterprises, Inc. dated 04/03/2021 store
                                                                             175

Party City Corporation     Accurate                                             Temporary Employee Staffing                        $6,490.15           ‐   David Wheeler    7515 Irvine Center Dr             Irvine       CA      92618




Party City Holdings Inc.   Actum II, LLC                     M04441          Actum II, LLC ‐ PCHI ‐ Consulting Agreement          $69,747.22           ‐   Fabian Nuñez     9000 Sunset Blvd, Floor 3    West Hollywood    CA      90069




Party City Corporation     Acumera, Inc. f/k/a Reliant       M05504          First Amendment to Acumera Reliant                  $11,250.00                Bill Morrow      3307 Northland Drive,           Austin        TX      78371
                           Security, Inc.                                    Master Agreement effective January                                                             suite 500
                                                                             1, 2019

Party City Holdings Inc.   Addigy, Inc.                      M01041          Addigy, Inc. ‐ PCHI ‐ Master Services                 $2,982.48           ‐   Jason Dettbarn   7315 S.W. 87th Avenue,           Miami         FL      33173
                                                                             Agreement                                                                                      Suite 200


Party City Holdings Inc.   Adecco USA, Inc.                  M04428          Adecco USA, Inc ‐ PCHI ‐ Temporary                          ‐             ‐                    10151 Deerwood Park            Jacksonville    FL      32256
                                                                             Employee Staffing Agreement and                                                                Blvd Bldg. 200, Ste. 400
                                                                             Statement of Work




                                                                                                                            Page 4 of 66
                                       Case
                                      Case  23-90005Document
                                           23-90005  Document 947-2 Filed
                                                             1117-2 Filed in
                                                                           in TXSB
                                                                              TXSB on
                                                                                   on 05/12/23
                                                                                      04/28/23 Page 132
                                                                                                    5 of of
                                                                                                         122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023

Party City Corporation   Adobe Inc.      M01890   Adobe Inc ‐ PCC ‐ Amendment to Contract        $12,106.19   ‐   Anthony Miller   345 Park Avenue   San Jose   CA   95110
                                                  00858591 [DR3201354]




                                                                                            Page 5 of 66
                                                         Case
                                                        Case  23-90005Document
                                                             23-90005  Document 947-2 Filed
                                                                               1117-2 Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 05/12/23
                                                                                                        04/28/23 Page 133
                                                                                                                      6 of of
                                                                                                                           122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name         Contract ID               Title of Agreement                Cure Amount              503(b)(9)        Notice Name              Address                City          State    ZIP Code

Party City Corporation     Adobe Inc.                      M01889          Adobe Inc ‐ PCC ‐ Sales Order DR2805264                     ‐                      ‐   Legal          345 Park Avenue                  San Jose        CA     95110‐2704
                                                                           with General Terms (Contract 00858591)                                                 Department


Party City Corporation     Adobe Inc.                      M03996          Adobe Inc ‐ PCC ‐ Sales Order DR3154709                     ‐                      ‐   Garrett        345 Park Avenue                  San Jose        CA     95110‐2704
                                                                           with Terms and Conditions (Adobe                                                       Holbrook
                                                                           Contract 00774651)

Party City Corporation     ADP Wisley                                      Service Agreement                                           ‐                      ‐   Attn: Legal    1 ADP BLVD                       Roseland        NJ       07068
                                                                                                                                                                  Dept


Party City Corporation     ADT Commercial                  M04044          ADT ‐ PCC ‐ Services Rider [Naperville]       $2,590.4678,561.33                   ‐   Edward Plesa   1 Town Center Rd                Boca Raton       FL       33486




Party City Holdings Inc.   Advanced Wireless               M04361          Northfield Telecommunications, Inc dba               $27,262.12                    ‐   Kenneth J.     20809 Kensington Blvd            Lakeville      MN        55044
                           Communications; Northfield                      Advanced Wireless Communications ‐ PCHI                                                Coons
                           Telecommunications, Inc.                        ‐ Master Services Agreement and
                                                                           Statement of Work
Party City Holdings Inc.   Advantax Inc.                   M04896          Advantax Inc ‐ PCHI ‐ Master Services                       ‐                      ‐   Andy King      2500 Westfield Drive              Elgin          IL       60124
                                                                           Agreement and Statement of Work 1


Party City Holdings Inc.   Advent Creative                 M01050          Advent Creative ‐ PCHI ‐ Staffing Agreement                 ‐                      ‐   Sue Miller     7101 York Ave. S., Suite         Edina          MN        55435
                                                                                                                                                                                 240


Amscan Inc.                Aerotek, Inc.                   M05894          Aerotek, Inc ‐ Amscan ‐ Services Agreement                  ‐                      ‐                  7301 Parkway Drive South         Hanover        MD        21076




Party City Corporation     Aetna                                                                                               $156,761.32                    ‐   Attn: Legal    151 Farmington Avenue            Hartford        CT       06156
                                                                                                                                                                  Dept


Party City Holdings Inc.   Aetna                                           Provide Dental service under PPO and DMO                    ‐                      ‐   PHCS /         16 Crosby Drive                  Bedford        MA        01730
                                                                                                                                                                  Multiplan


Party City Corporation     Agency Within, LLC              M02977          Agency Within, LLC ‐ PCC ‐ Order Form to                           ‐               ‐   Legal          43‐01 22nd St Suite 602          Queens          NY       11101
                                                                           the Modified DoubleClick Advertising                                                   Department
                                                                           Platform Agreement

Party City Holdings Inc.   Aggressive Energy, LLC          M04712          Aggressive Energy, LLC ‐ PCHI ‐                             ‐                      ‐                  78 Rapelye Street                Brooklyn        NY       11231
                                                                           Electricity Sales Agreement


Party City Holdings Inc.   AGP LLC                                         AGP LLC Supply Agreement                                    ‐                      ‐   Matthew        24 VINE STREET91              EVERETTStoneham   MA      0214902180
                                                                                                                                                                  D’Auria        Montvale Avenue, Suite
                                                                                                                                                                                 315

Party City Corporation     AGP, LLC                        M02398          AGP, LLC ‐ PCC ‐ Helium Supply Agreement           $746,972.79-        $826,675.00- Michael        78 Rapelye Street91             BrooklynStoneham   NYMA    1123102180
                                                                                                                                                               D'AuriaMatthew Montvale Avenue, Suite
                                                                                                                                                               D’Auria        315

Party City Corporation     AGP, LLC                        M03366          AGP, LLC ‐- PCC ‐- Helium Cylinder             ‐$746,972.29                        ‐   MichaelMa      24 Vine Street91 Montvale   EverettStoneham     MA      0214902180
                                                                           Supply Agreement                                                                       tthew          Avenue, Suite 315
                                                                                                                                                                  D’Auria




                                                                                                                          Page 6 of 66
                                                          Case
                                                         Case  23-90005Document
                                                              23-90005  Document 947-2 Filed
                                                                                1117-2 Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 05/12/23
                                                                                                         04/28/23 Page 134
                                                                                                                       7 of of
                                                                                                                            122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                Counterparty Name         Contract ID               Title of Agreement               Cure Amount             503(b)(9)        Notice Name                  Address              City        State   ZIP Code

Party City Corporation     AGP, LLC                          M03365          AGP, LLC ‐ PCC ‐ Master Industrial Gas                     ‐                     ‐   Matthew            24 Vine Street                Everett       MA       02149
                                                                             Supply Agreement (Bulk), Exhibit A                                                   D’Auria


Party City Corporation     Aiko Party, Inc.                  M00532          Franchise Agreement with Aiko Party, Inc.                  ‐                     ‐   Jason Craig        9760 Birch Canyon Place      San Diego       CA      92126
                                                                             dated 08/29/2011


Party City Corporation     Aiko, Inc.                        M00529          Franchise Agreement with Aiko, Inc. dated                  ‐                     ‐   Jason Craig        9760 Birch Canyon Place      San Diego       CA      92126
                                                                             10/06/2010


Party City Holdings Inc.   Airgas USA, LLC                   M04190          Airgas USA, LLC ‐ PCHI ‐ Letter to Remove           $54,957.00       $124,259.37- Jeff Smith            N112 W13333 Mequon Rd       Germantown       WI      53022
                                                                             Stores


Party City Holdings Inc.   Airgas USA, LLC                   M05326          Airgas USA, LLC ‐ PCHI ‐ Letter to Remove            $3,564.64                   ‐   Jeff Smith         N112 W13333 Mequon          Germantown       WI      53022
                                                                             Stores                                                                                                  Road


Party City Corporation     Airgas USA, LLC                   M02967          Airgas USA, LLC ‐ PCC ‐ Strategic Accounts                 ‐                     ‐   Dave Domach        N112 W13333 Mequon          Germantown       WI      53022
                                                                             Sales Agreement                                                                                         Road


Party City Holdings Inc.   Airgas USA, LLC                   M04464          Airgas USA, LLC ‐ PCHI ‐ Letter to Remove                  ‐                     ‐   Jeff Smith         N112 W13333 Mequon          Germantown       WI      53022
                                                                             Stores                                                                                                  Road


Amscan Inc.                Aldi, Inc.                        M01128          Aldi, Inc. ‐ Amscan, Inc. dba Deco Paper                   ‐                     ‐   Corporate          1200 N. Kirk Road             Batavia        IL      60510
                                                                             Products ‐ Master Purchase Agreement                                                 Buying Director


Party City Corporation     Alert Media, Inc.                 M04466          AlertMedia, Inc ‐ PCHI ‐ Quote [Threat               $3,955.20                   ‐   Garrett Sparling   401 S. 1st Street Suite        Austin        TX      78704
                                                                             Intelligence Tool]                                                                                      1400


Party City Corporation     Alliant                                                                                                      ‐                     ‐   Attn: Legal        21255 Burbank Blvd Suite   Woodland Hills    CA      91367
                                                                                                                                                                  Dept               220


Party City Corporation     Allied Waste Systems, Inc. dba    M01871          Allied Waste Systems, Inc. dba Republic                    ‐                     ‐   Jeffrey J Dill     61 Midland Ave               Wallington      NJ      07057
                           Republic Services                                 Services ‐ PCC ‐ Equipment Rental Proposal
                                                                             and Terms & Conditions

Party City Corporation     Allport Cargo Services USA Inc.   M03056          Allport Cargo Services USA Inc ‐ PCC ‐              $72,912.59                   ‐   Kim Sussman        1455 Broad Street            Bloomfield      NJ      07003
                                                                             Power of Attorney


Party City Holdings Inc.   Alteryx, Inc.                     M03992          Alteryx, Inc ‐ PCHI ‐ Order Form Q‐ 313492          $49,999.00                   ‐   Sandra Nunley      17200 Laguna Canyon            Irvine        CA      92618
                                                                                                                                                                                     Road


Party City Holdings Inc.   Alteryx, Inc.                     M05319          Alteryx, Inc ‐ PCHI ‐ Order Form Q‐ 381841                 ‐                     ‐   Sandra Nunley      17200 Laguna Canyon            Irvine        CA      92618
                                                                                                                                                                                     Road


Party City Holdings Inc.   AMERICAN COMPRESSED GASES INC                     AMERICAN COMPRESSED GASES INC                                    ‐               ‐                      PO BOX 715                  WESTWOOD         NJ      07675
                                                                             Supply Agreement




                                                                                                                           Page 7 of 66
                                                                    Case
                                                                   Case  23-90005Document
                                                                        23-90005  Document 947-2 Filed
                                                                                          1117-2 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 05/12/23
                                                                                                                   04/28/23 Page 135
                                                                                                                                 8 of of
                                                                                                                                      122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                          Counterparty Name          Contract ID               Title of Agreement                Cure Amount          503(b)(9)    Notice Name                Address           City         State     ZIP Code

Party City Holdings Inc.             American Compressed Gases, Inc.    M04524          American Compressed Gas ‐ PCC ‐                     $249,206.91            ‐                    34‐52 Laurel Hill Blvd    Maspeth          NY        11378
                                                                                        Amendment 1 to Master Industrial Gas
                                                                                        Supply Agreement

Party City Corporation               American Compressed Gases, Inc.    M02948          American Compressed Gases, Inc ‐ PCC ‐ 1st                  ‐              ‐   Keith A.         34‐52 Laurel Hill Blvd    Maspeth          NY        11378
                                                                                        Amend (Tristate) and 2nd Amend (Chicago)                                       Ramsdell
                                                                                        to Helium Supply Agreement

Party City Corporation               American Compressed Gases, Inc.    M02005          American Compressed Gas ‐ PCC ‐ Master                      ‐              ‐                    34‐52 Laurel Hill Blvd    Maspeth          NY        11378
                                                                                        Industrial Gas Supply Agreement and
                                                                                        Exhibit A for Canadian Helium
                                                                                        Supply
Party City Holdings Inc.; Party Ci   American Greetings Corporation     M01182          SBT Supply Agreement as of December 8,                      ‐              ‐                    1 American Boulevard      Cleveland        OH      44145‐8151
                                                                                        2017
                                                                                        American Greetings Corporation ‐
                                                                                        PCHI/PCC ‐ Supply Agreement
Party City Holdings Inc.             Amplience, Inc.                    M01108          Amplience, Inc. ‐ PCHI ‐ Statement of Work                  ‐              ‐   Will Turner      10 Southampton Street      London          UK      WC2E 7HA
                                                                                        8.2.2021                                                                                        6th Floor, Tower House


Party City Holdings Inc.             Amplience, Inc.                                    Amplience, Inc. ‐ PCHI ‐ Statement of Work                  ‐              ‐   Will Turner      10 Southampton Street      London          UK      WC2E 7HA
                                                                                        [Party City Bucket of Service Hours Support                                                     6th Floor, Tower House
                                                                                        2023]

Party City Holdings Inc.             Amplience, Inc.                    M01109          Amplience, Inc. ‐ PCHI ‐ Terms and                          ‐              ‐   Will Turner      10 Southampton Street      London          UK      WC2E 7HA
                                                                                        Conditions and Statement of Work 1                                                              6th Floor, Tower House
                                                                                        (6.29.21)

Party City Holdings Inc.             Anderson Oxford Inc. dba ThinkLP   M01044          Anderson Oxford Inc. dba ThinkLP ‐ PCHI                     ‐              ‐   Doug Treleaven   219 Labrador Drive       Waterloo ON      Canada    N2K 4M8
                                                                                        ‐ MSA


Party City Corporation               Andrews, Lockie                    M01763          Lockie Andrews ‐ PCC ‐ Severance                            ‐              ‐                    168 sixth avenue          Brooklyn         NY        11217
                                                                                        Agreement and General Release


Party City Holdings Inc.             Angelillo, Richard                 M00639          Richard Angelillo ‐ Retention Bonus Letter                  ‐              ‐                    100 Tice Blvd            Woodcliff Lake     NJ       07677




Party City Holdings Inc.             Aniplex                                            Alchemist                                                   ‐              ‐   Yosuke Kodaka    2120 Colorado Avenue     Santa Monica      CA        90404
                                                                                                                                                                                        Suite 220


Party City Holdings Inc.             Anthony Puppo Software             M05514          Software Support and Maintenance SOW                        ‐              ‐                    79 Camp Green Ln Rd      Green Lane        PA        18054




Party City Holdings Inc.             Aramark Services, Inc.             M04362          Aramark Services Inc ‐ PCHI ‐ Master                 $55,051.53-           ‐   Richard          2400 Market Street        Philadelphia     PA        19103
                                                                                        Services Agreement and Statement of Work                                       Zakrzwski


Amscan Inc.                          Aras Corporation                   M04989          Aras Corporation ‐ Amscan ‐ Quote Q‐                        ‐              ‐   David Murray     100 Brickstone Square,    Andover          MA        01810
                                                                                        01061                                                                                           Suite 100


Amscan Inc.                          Arbon Equipment Corporation        M01386          Arbon Equipment Corporation ‐ Amscan,                       ‐              ‐                    8900 North Arbon Drive    Brown Deer       WI        53223
                                                                                        Inc. ‐ Planned Maintenance Program 2021




                                                                                                                                       Page 8 of 66
                                                        Case
                                                       Case  23-90005Document
                                                            23-90005  Document 947-2 Filed
                                                                              1117-2 Filed in
                                                                                            in TXSB
                                                                                               TXSB on
                                                                                                    on 05/12/23
                                                                                                       04/28/23 Page 136
                                                                                                                     9 of of
                                                                                                                          122248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID                Title of Agreement                 Cure Amount          503(b)(9)        Notice Name                Address               City         State     ZIP Code

Amscan Inc.                Ascensus                                                                                                         ‐                  ‐   Dansky, Joseph   200 Dryden Road               Dresher          PA        19025




Amscan Inc.                Ascential Inc. (Formerly                           Order Form                                              $17,954.78               ‐                    229, West 43rd Street, 7th    New York         NY        10036
                           WGSN Inc.)                                                                                                                                               Floor


Party City Holdings Inc.   Ashley, Kent R                    M04689           Kent Ashley ‐ PCHI ‐ Revised Bonus and                        ‐                  ‐   N/A              100 Tice Blvd                Woodcliff Lake     NJ       07677
                                                                              Severance Eligibility Letter


Party City Corporation     ASN Available staffing network                     What legal entiy is contract with? AP is with                 ‐                  ‐   Attn: Legal      500 Broad Street # &         Providence         RI       02907
                                                                              Amsource                                                                             Dept


Party City Holdings Inc.   ASSA Abloy Entrance Systems       M04493           ASSA ABLOY Entrance Systems ‐ PCHI ‐                          ‐                  ‐   Sylvia Schultz   261 44 Landskrona            Landskrona       Sweden   SE‐261 22
                                                                              Door Automation Equipment Purchase
                                                                              Agreement

Party City Corporation     Asset Management Technologies     M02199           Asset Management Technologies ‐ PCC ‐                  $30,180.75                ‐   Kenny Osley      17039 Kenton Drive, Suite     Cornelius        NC        28031
                                                                              Order Form to Master Cloud Services with                                                              200
                                                                              Customer

Party City Corporation     Asset Management Technologies     M02200           Asset Management Technologies ‐ PCC ‐                         ‐                  ‐                    17039 Kenton Drive, Suite     Cornelius        NC        28031
                                                                              Master Cloud Services with Customer                                                                   200


Amscan Inc.                Associated Grocers, Inc.          M03850           Associated Grocers, Inc ‐ Amscan ‐ Standard                   ‐                  ‐                    3600 Vanderbilt Road          Birmingham        AL     35217‐4200
                                                                              Vendor Agreement for Merchandise


Party City Corporation     AT&T Corp.                        M01495           AT&T ‐ PCC ‐ Master Services Agreement                        ‐                  ‐   Veronica Danao   One AT&T Way                 Bedminster         NJ     07921‐0752
                                                                              2345327 & Internet Service Pricing
                                                                              Schedule 2345326 [Naperville]

Party City Holdings Inc.   AT&T Mobility National Accounts   M01106           AT&T ‐ PCHI ‐ Amendment 1 to Corporate                   $356.06                 ‐   Veronica Danao   7229 Parkway Dr.              Hanover          MD        21076
                           LLC                                                Digital Advantage Agreement


Party City Holdings Inc.   AT&T Mobility National Accounts   M01105           AT&T ‐ PCHI ‐ Corporate Digital Advantage                     ‐                  ‐                    221 River Street              Hoboken           NJ       07030
                           LLC                                                Agreement


Party City Corporation     Atlas Welding Supply Co., Inc. &   M05169          Atlas Welding Supply Co ‐ PCC ‐ Bulk Supply            $48,999.09       $61,134.75                    808 Brook Rd                 Lakewood           NJ       08701
                           Ozarc Gas Equipment and Supply Inc                 Agreement [Helium]


Party City Corporation     Atlas Welding Supply Co., Inc. &   M05169          Atlas Welding Supply Co ‐ PCC ‐ Bulk Supply            $37,127.42       $93,492.26                    808 Brook Rd                 Lakewood           NJ       08701
                           Ozarc Gas Equipment and Supply Inc                 Agreement [Helium]


Party City Corporation     Attentive Mobile Inc.             M05035           Attentive Mobile Inc. ‐ PCC ‐ Order Form               $26,036.09                ‐   Brian Long       221 River Street, Suite       Hoboken           NJ       07030
                                                                              2022 to Master Services Agreement dated                                                               9047
                                                                              4/15/2019

Party City Corporation     Attentive Mobile Inc.             M05317           Attentive Mobile Inc ‐ PCC ‐ Order Form                       ‐                  ‐   John Trani       221 River Street, Suite       Hoboken           NJ       07030
                                                                              Q‐11149 (promo)                                                                                       9047




                                                                                                                               Page 9 of 66
                                                         Case
                                                        Case  23-90005Document
                                                             23-90005  Document 947-2 Filed
                                                                               1117-2 Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 05/12/23
                                                                                                        04/28/23 Page 137
                                                                                                                      10 ofof 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name               Counterparty Name        Contract ID               Title of Agreement              Cure Amount             503(b)(9)    Notice Name                Address            City       State    ZIP Code

Party City Corporation     Attentive Mobile Inc.           M01511          Attentive Mobile Inc. ‐ PCC ‐ Master                      ‐                 ‐   Brian Long       221 River Street Ste 9047   Hoboken       NJ       07030
                                                                           Services Agreement dated 4/15/2019


Party City Holdings Inc.   AuditBoard, Inc.                M01056          AuditBoard, Inc. ‐ PCHI ‐ Amendment                       ‐                 ‐   Tina Yeh         12900 Park Plaza Drive,     Cerritos      CA       90703
                                                                                                                                                                            Suite 200


Party City Corporation     Automatic Data Processing Inc                                                                             ‐                 ‐   Attn: Legal      1 ADP BLVD                  Roseland      NJ       07068
                                                                                                                                                           Dept


Party City Corporation     Automatic Data Processing Inc                                                                             ‐                 ‐   Attn: Legal      1 ADP BLVD                  Roseland      NJ       07068
                                                                                                                                                           Dept


Party City Corporation     Automatic Data Processing Inc                                                                             ‐                 ‐   Attn: Legal      1 ADP BLVD                  Roseland      NJ       07068
                                                                                                                                                           Dept


Party City Corporation     AVALARA INC                     M02864                                                             $22,912.21               ‐   Pinney, Alesia   255 S. King Street, Ste      Seattle      WA       98104
                                                                                                                                                           L.               1800


Party City Holdings Inc.   Avanti                                          Treat bags only                                                 ‐           ‐   Chip Owen        155 West Congress Street     Detroit      MI       48226
                                                                                                                                                                            Suite 200


Party City Holdings Inc.   Bank of America, N.A.           M04102          Bank of America, NA ‐ PCHI ‐ Advisory Fee                 ‐                 ‐   Joseph Burt      100 North Tryon Street      Charlotte     NC       28255
                                                                           Letter


Party City Corporation     Baymard Institute                               Baymard invoice                                           ‐                 ‐                    Kastanie Alle 41,            Farum      Denmark
                                                                                                                                                                            3520 Farum, Denmark,
                                                                                                                                                                            EUROPE

Party City Holdings Inc.   BBC                                             Bluey ‐ US, terr and Poss                          $35,999.73               ‐   Eleonore         1 Television Centre 101      London       UK      W12 7FA
                                                                                                                                                           Pieczanski       Wood Lane


Party City Holdings Inc.   BBC                                             Bluey ‐ Canada                                            ‐                 ‐   Eleonore         1 Television Centre 101      London       UK      W12 7FA
                                                                                                                                                           Pieczanski       Wood Lane


Party City Corporation     BDO USA, LLP                    M04465          BDO USA, Inc ‐ PCC ‐ Master Services                      ‐                 ‐   Janet Bernier    622 Third Ave, Suite 3100   New York      NY       10017
                                                                           Agreement and Statement of Work [NY Tax
                                                                           Audit]

Party City Holdings Inc.   Benefit Resource Inc                            Manage participant funds in FSA Accounts            $3,189.15               ‐   Corestream       5404 Cypress Center          Tampa        FL       33609
                                                                                                                                                                            Drive, Suite 130


Party City Corporation     Benefit Resource Inc                            Manage participant funds in FSA Accounts            $1,215.45               ‐   Attn: Legal      245 Kenneth Drive           Rochester     NY       10423
                                                                                                                                                           Dept


Amscan Inc                 Benefit Resource Inc                            Manage participant funds in FSA Accounts             $600.00                ‐   Attn: Legal      245 Kenneth Drive           Rochester     NY       10423
                                                                                                                                                           Dept




                                                                                                                        Page 10 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 11
                                                                                                                         138ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID                Title of Agreement               Cure Amount             503(b)(9)        Notice Name                Address              City        State     ZIP Code

Party City Holdings Inc.   BeyondTrust Software, Inc.        M02068           BeyondTrust Software, Inc. ‐ PCHI ‐ Master                        ‐               ‐                    5090 North 40th Street,       Phoenix        AZ        85018
                                                                              Services Agreement and Service Level                                                                   Suite 400
                                                                              Agreement

Amscan Inc.                Big Mouth Toys                    new owner 2020   Designsense‐Over the Hill                                   ‐                     ‐   James Lenowitz   14301 FNB Parkway Suite       Omaha          NE        68154
                                                                                                                                                                                     100


Party City Corporation     Bismarck Party & Paper, Inc.      M05364           Bismarck Party & Paper Inc‐ PCC‐ Asset                      ‐                     ‐   Mary Hoff        439 Laredo Drive              Bismarck       ND        58504
                                                                              Agreement 2019


Party City Holdings Inc.   Blue Sky Utility LLC              M04790           Blue Sky Utility LLC ‐ PCHI ‐ Electricity                   ‐                     ‐   Ran Bujanover    860 Napa Valley                Napa          CA        94558
                                                                              Discount Agreement                                                                                     Corporate Way Ste R


Party City Corporation     Blue Yonder Group Inc.            M01389           Blue Yonder Group Inc. ‐ PCC ‐ Change                       ‐                     ‐   Terry Turner     15059 N Scottsdale Rd        Scottsdale      AZ        85260
                                                                              Request 02 to SOW


Party City Corporation     BrightEdge Technologies Inc.      M05366           BrightEdge Tech.‐ PCC‐ Ammend 1 Order                       ‐                     ‐   krish Kumar      500 W 3RD St Ste 405         cleveland       OH        44113
                                                                              Form


Party City Corporation     BrightEdge Technologies, Inc.     M01512           BrightEdge Technologies, Inc. ‐ PCC ‐                       ‐                     ‐   krish Kumar      500 W 3RD St Ste 405         cleveland       OH        44113
                                                                              Master Subscription Agreement and
                                                                              SOW

Amscan Inc.                Brown Machine                                                                                            $7,528.39                   ‐   Legal            330 North Ross Street        Beaverton       MI        48612
                                                                                                                                                                    Department


Party City Holdings Inc.   Brown's Energy Services, LLC      M04690           Brown's Energy Services, LLC ‐ PCHI ‐ Large                 ‐                     ‐   Robert Reicher   9 Sommers Lane 2nd Floor    Staten Island    NY        10314
                                                                              Commercial Natural Gas & Electrical Sales
                                                                              Agreement

Party City Holdings Inc.   Bruce Clay, Inc.                  M03456           Bruce Clay, Inc. ‐ PCHI ‐ Statement of Work                 ‐                     ‐   Bruce Clay       2245 First Street, Suite     Simi Valley     CA        93065
                                                                              5 [SEO Block Simple Agreement]                                                                         101


Party City Corporation     Budget Truck Rental, LLC          M05442           Budget Truck Rental, LLC ‐ PCC ‐ Budget               $1,665.31                   ‐   Beth Kinerk      4500 S. 129th East Avenue      Tulsa         OK        74134
                                                                              Truck Rental Rate Agreement


Party City Corporation     BURLINGTON LEVCOR‐HARVEST, LLC M05370              Burlington Levcor‐ PCC ‐ Leasing Agreement           $15,100.48                   ‐   Herbert L.       7800 Washington ‐ Suite       Houston         Tx     77007‐1406
                                                                                                                                                                    Levine           800


Party City Corporation     Burlington Levcor‐Harvest, LLC    M05372           Burlington Levcor‐ PCC ‐ Leasing                            ‐                     ‐   Herbert L.       7800 Washington ‐ Suite       Houston        TX      77007‐1406
                                                                              Amendment                                                                             Levine           800


Amscan Inc.                Burlington Merchandising Corp     M05368           Amscan‐ Burlington Merchandising‐ Vendor                    ‐                     ‐   Michael          47 ELIZABETH DRIVE            Chester        NY        10918
                                                                              Agreement                                                                             Harrison


Party City Corporation     Canadian Helium Inc.              M04360           Canadian Helium Inc ‐ PCC ‐ Helium Supply           $145,348.20        $80,372.70                      888‐3rd Street SW            Calgary AB     Canada    T2P‐5C5
                                                                              Agreement




                                                                                                                             Page 11 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 12
                                                                                                                       139ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID              Title of Agreement             Cure Amount           503(b)(9)    Notice Name                 Address               City            State   ZIP Code

Party City Corporation     Cannon Business Solutions                          What type of contract?Toner, supplies                   ‐               ‐   Stephen Pollio    106 Apple st suite 100b      Tinton Falls         NJ      07724




Party City Corporation     Cannon Financial Services                          Multi purpose machine leases for PCHI            $27,677.37             ‐   Stephen Pollio    106 Apple st suite 100b      Tinton Falls         NJ      07724
                                                                              Enterprise.


Party City Holdings Inc.   Canon Solutions America, Inc.      M04523          Canon ‐ PCHI ‐ Change Order 1 to           $8,666.509,403.01    ‐$379.79    Enrico Fiannaca   1 Canon Park                   Melville           NY      11747
                                                                              Statement of Work [uniFLOW] (MA24579
                                                                              Tice)

Party City Holdings Inc.   Canon Solutions America, Inc.      M03368          Canon ‐ PCHI ‐ Lease Schedule (MA24579                  ‐               ‐                     1 Canon Park                   Melville           NY      11747
                                                                              Tice)


Party City Holdings Inc.   Canon Solutions America, Inc.      M03369          Canon ‐ PCHI ‐ Software and Cloud                       ‐               ‐                     1 Canon Park                   Melville           NY      11747
                                                                              Subscriptions Order Schedule (MA24579
                                                                              Tice)

Party City Holdings Inc.   Canon Solutions America, Inc.      M04490          Canon ‐ PCHI ‐ Lease Schedule [EA ELT                   ‐               ‐                     1 Canon Park                   Melville           NY      11747
                                                                              Printer; MSA MA24579 Tice]


Party City Holdings Inc.   Canon Solutions America, Inc.      M04429          Canon ‐ PCHI ‐ Lease Schedule [Photo                    ‐               ‐                     1 Canon Park                   Melville           NY      11747
                                                                              Studio; MSA MA24579 Tice]


Party City Holdings Inc.   Canon Solutions America, Inc.      M03367          Canon ‐ PCHI ‐ Master Sales & Services                  ‐               ‐                     1 Canon Park                   Melville           NY      11747
                                                                              Agreement (MA24579 Tice)


Amscan Inc.                Cardinal Carryor, Inc.; BFG        M04561          BFG Corporation dba Byline Financial                $692.19             ‐   Brian Wunsch      2801 Lakeside Drive, Suite   Bannockburn           IL     60015
                           Corporation dba Byline Financial                   Group ‐ Amscan (Deco) ‐ Equipment Lease                                                       212
                           Group                                              Agreement (No 72081)

Party City Corporation     CareerBuilder Employment                           Employment Screening Program ‐ Retail                   ‐               ‐   George            200 N LaSalle Drive Suite      Chicago             IL     60601
                           Screening, LLC                                     Stores                                                                      Dionyssiou        1100


Party City Holdings Inc.   CareerBuilder Employment                           Addendum to Service Agreement                           ‐               ‐       George        200 N LaSalle Drive Suite      Chicago      IL            60601
                           Screening, LLC                                                                                                                   Dionyssiou      1100


Party City Holdings Inc.   CareerBuilder Employment                           Employment Screening Program                            ‐               ‐   George            200 N LaSalle Drive Suite      Chicago             IL     60601
                           Screening, LLC                                                                                                                 Dionyssiou        1100


Party City Holdings Inc.   Cartel Entertainment Inc                           US CA MX‐Creepshow TV Series                       $431.37-             ‐   Stan Spry         1108 Tamarind Ave.           Los Angeles          CA      90038




Party City Holdings Inc.   Casco Development, LLC             M05355          Casco Development ‐ PCHI ‐ THIRD PARTY                  ‐               ‐                     Portland Fish Pier, Suite     Portland            ME      04101
                                                                              NETWORK ACCESS AGREEMENT                                                                      310


Party City Holdings Inc.   Casco Development, LLC             M01523          Casco Development, LLC ‐ PCHI ‐ Master            (82,682.67)           ‐   Steve Cascio      540 W 21st St                 New York            NY      10011
                                                                              License Agreement with Addendum
                                                                              [ShopVue]




                                                                                                                         Page 12 of 66
                                                            Case23-90005
                                                           Case  23-90005 Document
                                                                           Document1117-2
                                                                                    947-2 Filed
                                                                                          Filed in
                                                                                                 in TXSB
                                                                                                    TXSB on
                                                                                                         on 04/28/23
                                                                                                            05/12/23 Page
                                                                                                                     Page 13
                                                                                                                          140ofof
                                                                                                                                122
                                                                                                                                  248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID              Title of Agreement                Cure Amount             503(b)(9)    Notice Name               Address               City      State     ZIP Code

Party City Corporation     Cayan LLC                          M01428          Cayan LLC ‐ PCC ‐ Amendment 2 to                   $160,983.30               ‐                    1 Tsys Way                  Columbus       GA      31901‐4222
                                                                              Enterprise Platform Agreement


Party City Corporation     Cayan LLC                          M04126          Cayan LLC ‐ PCC ‐ Amendment 5 to                           ‐                 ‐   David L. Green   1 Federal Street              Boston       MA        02110
                                                                              Enterprise Platform Agreement


Party City Corporation     Cayan LLC                          M01736          Cayan LLC ‐ PCC ‐ Amendment 3 to                           ‐                 ‐                    1 Federal Street              Boston       MA        02110
                                                                              Enterprise Platform Agreement


Party City Corporation     CBTS Technology Solutions, LLC     M02471          CBTS Technology Solutions, LLC ‐ PCC ‐              $23,056.27               ‐   Guncha Mehta     221 East Fourth Street      Cincinnati     OH        45202
                                                                              Amendment 1 (00016738) to Service
                                                                              Agreement (00009902)

Party City Corporation     CBTS Technology Solutions, LLC     M03461          CBTS Technology Solutions, LLC ‐ PCC ‐                     ‐                 ‐   Brandon          221 East Fourth Street      Cincinnati     OH        45202
                                                                              Addendum (00016737) to Service                                                   Bowman
                                                                              Agreement (00009902)

Party City Corporation     CBTS Technology Solutions, LLC     M01258          CBTS Technology Solutions, LLC ‐ PCC ‐                     ‐                 ‐   Brandon          221 East Fourth Street      Cincinnati     OH        45202
                                                                              Master Services, Products & License                                              Bowman
                                                                              Agreement

Party City Corporation     CBTS Technology Solutions, LLC     M01259          CBTS Technology Solutions, LLC ‐ PCC ‐                     ‐                 ‐   Brandon          221 E 4th Street            Cincinnati     OH        45202
                                                                              Service Agreement No. 00009902                                                   Bowman


Party City Corporation     CBTS Technology Solutions, LLC     M04268          CBTS Technology Solutions, LLC ‐ PCC ‐                     ‐                 ‐   Matthew          221 E 4th Street            Cincinnati     OH        45202
                                                                              Change Order to Service Agreement No.                                            Masturzo
                                                                              00009902 [Velo Cloud]

Amscan Inc.                CCA & B LLC dba The Lumistella     M04602          CCA & B LLC dba The Lumistella Company              $55,438.63               ‐   Regan Holroyd    3350 Riverwood Pkwy SE        Atlanta      GA        30339
                           Company                                            ‐ Amscan ‐ Addendum to the Vendor                                                                 Suite 300
                                                                              Standards Manual

Party City Holdings Inc.   CCH Incorporated                   M04160          CCH Incorporated (Legisway) ‐ PCHI ‐ Legal                 ‐                 ‐                    2700 Lake Cook Road         Riverwoods      IL     60015‐3867
                                                                              & Regulatory US Quote/Order (Renewal)
                                                                              & PCHI Address Change
                                                                              Notification
Party City Holdings Inc.   CCH Incorporated                   M02829          CCH Incorporated (Legisway) ‐ PCHI ‐ Work                        ‐           ‐   Legal            2700 LAKE COOK RD           RIVERWOODS      IL       60015
                                                                              Order [Project Management Custom                                                 Department
                                                                              Module Add‐On & SSO]

Party City Corporation     CCS Rights Management Corp         M05407          PCC ‐ CCS Rights Management Corp ‐                         ‐                 ‐   Jodie            16 Orchard Park Blvd         Toronto ON   Canada    M4L 3E2
                                                                              License Agreement                                                                Ferneyhough


Party City Holdings Inc.   CDW Direct, LLC (Focal Point)      M00692          Focal Point Data Risk, LLC ‐ PCHI ‐                   $576.18                ‐   Ray              201 E Kennedy Blvd, Suite     Tampa         FL       33602
                                                                              Statement of Work (UAR/PAR Compliance                                            Paolantonio      1750
                                                                              Review Assistance)

Party City Holdings Inc.   CDW Direct, LLC (Focal Point)      M04300          CDW Direct, LLC (Focal Point) ‐ PCHI ‐                     ‐                 ‐   Larry Burke      5908 Headquarters Drive        Plano       TX        75024
                                                                              Notice of Assignment [Acquire of Focal                                                            Suite 400
                                                                              Point]

Party City Holdings Inc.   CDW Direct, LLC (Focal Point)      M04444          CDW Direct, LLC (Focal Point) ‐ PCHI ‐                     ‐                 ‐   Larry Burke      5908 Headquarters Dr.          Plano       TX        75024
                                                                              Statement of Work cp4369 [Technical                                                               Suite 400
                                                                              Lead Advisory Services]




                                                                                                                           Page 13 of 66
                                                                    Case23-90005
                                                                   Case  23-90005 Document
                                                                                   Document1117-2
                                                                                            947-2 Filed
                                                                                                  Filed in
                                                                                                         in TXSB
                                                                                                            TXSB on
                                                                                                                 on 04/28/23
                                                                                                                    05/12/23 Page
                                                                                                                             Page 14
                                                                                                                                  141ofof
                                                                                                                                        122
                                                                                                                                          248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name             Contract ID              Title of Agreement                Cure Amount             503(b)(9)    Notice Name               Address                City        State    ZIP Code

Party City Holdings Inc.           CDW Direct, LLC (Focal Point)      M00675          Focal Point Data Risk, LLC ‐ PCHI ‐ Master                 ‐                 ‐   Andrew           201 E. Kennedy Blvd Suite       Tampa          FL      33602
                                                                                      Services Agreement and Statement of Work                                         Cannata &        1750
                                                                                      (IT Risk Assessment)                                                             Larry Burke

Party City Holdings Inc.           Cellco Partnership dba Verizon     M01546          Verizon Wireless ‐ PCHI ‐ Major Account             $73,126.78               ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           Agreement Contract ID 3182825


Party City Holdings Inc.           Cellco Partnership dba Verizon     M01547          Verizon Wireless ‐ PCHI ‐ Amendment 2 to                   ‐                 ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           Contract ID 3182825


Party City Holdings Inc.           Cellco Partnership dba Verizon     M02698          Cellco Partnership dba Verizon Wireless ‐                  ‐                 ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           PCHI ‐ Acknowledgement Form to Contract
                                                                                      3182825

Party City Holdings Inc.           Cellco Partnership dba Verizon     M03997          Verizon Wireless ‐ PCHI ‐ Acknowledgement                  ‐                 ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           Form to Contract 3182825 [Internet
                                                                                      Gateway]

Party City Holdings Inc.           Cellco Partnership dba Verizon     M04288          Verizon Wireless ‐ PCHI ‐ Amendment 3 to                   ‐                 ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           Contract ID 3182825 (VZW Network
                                                                                      Monitoring Tool)

Party City Holdco Inc.             Cellco Partnership dba Verizon     M03974          Verizon Wireless ‐ PCHI ‐ Acknowledgement                  ‐                 ‐   Mark Wilets      One Verizon Way             Basking Ridge      NJ      07920
                                   Wireless                                           Form to Contract No. 3182825


Party City Holdings Inc.           Cellco Partnership dba Verizon     M05580          Cellco Partnership dba Verizon Wireless ‐                        ‐           ‐   Mark Wilets      One Verizon Way             Basking Ridge     NJ       07920
                                   Wireless                                           PCHI ‐ Acknowledgement Form to Contract
                                                                                      3182825

Party City Holdings Inc.           Central Graphics and Container     M04151          Central Graphics and Container Group Ltd                   ‐                 ‐   Colin Bales      5526 Timberlea Boulevard    Mississauga ON   Canada   L4W 2R7
                                   Group Ltd.                                         ‐ PCHI ‐ Master Services Agreement and
                                                                                      Statement of Work

Party City Corporation             Challenger, Gray and Christmas                                                                                ‐                 ‐   Attn: Legal      150 South Wacker Drive         Chicago         IL      60606
                                                                                                                                                                       Dept             Suite 2800


Party City Corporation             Champion Elevator                  M01670          Champion Elevator ‐ PCC ‐ Full Service              $11,496.02               ‐   Steven Tilchen   1450 Broadway, 5th Floor      New York        NY       10018
                                                                                      Hydraulic Elevator Maintenance Contract


Party City Corporation             Champion Elevator                  M01671          Champion Elevator ‐ PCC ‐ Escalator                        ‐                 ‐   Steven Tilchen   1450 Broadway, 5th Floor      New York        NY       10018
                                                                                      Maintenance & Service Contract


Party City Corporation             ChannelAdvisor Corporation         M02230          ChannelAdvisor Corporation ‐ PCC ‐                  $17,832.95               ‐   Paul Colucci     3025 Carrington Mill          Morrisville     NC       27560
                                                                                      Amendment 5 to Statement of Work                                                                  Boulevard, Suite 500
                                                                                      (Managed Marketplaces)

Amscan Inc.; Party City Corporat   ChannelAdvisor Corporation         M05443          ChannelAdvisor Corporation ‐ PCC ‐ Master                  ‐                 ‐                    3025 Carrington Mill          Morrisville     NC       27560
                                                                                      Services Agreement, SOW, 1st Amendment                                                            Boulevard, Suite 500
                                                                                      to SOW

Party City Corporation             ChannelAdvisor Corporation         M05374          ChannelAdvisor Corp‐ PCC ‐ Ammend 4 to                     ‐                 ‐   Paul Colucci     3025 Carrington Mill          Morrisville     NC       27560
                                                                                      SOW                                                                                               Boulevard, Suite 500




                                                                                                                                   Page 14 of 66
                                                        Case23-90005
                                                       Case  23-90005 Document
                                                                       Document1117-2
                                                                                947-2 Filed
                                                                                      Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 04/28/23
                                                                                                        05/12/23 Page
                                                                                                                 Page 15
                                                                                                                      142ofof
                                                                                                                            122
                                                                                                                              248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


         Debtor Name            Counterparty Name              Contract ID               Title of Agreement            Cure Amount             503(b)(9)    Notice Name                Address                City        State    ZIP Code

Party City Corporation   ChannelAdvisor Corporation          M02273          ChannelAdvisor Corporation ‐ PCC ‐                      ‐                 ‐   Richard           3025 Carrington Mill          Morrisville     NC       27560
                                                                             Amendment 2 to Statement of Work                                              Cornetta          Boulevard, Suite 500
                                                                             (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation          M02272          ChannelAdvisor Corporation ‐ PCC ‐                      ‐                 ‐   Richard           3025 Carrington Mill          Morrisville     NC       27560
                                                                             Amendment 1 to Statement of Work                                              Cornetta          Boulevard, Suite 500
                                                                             (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation          M02274          ChannelAdvisor Corporation ‐ PCC ‐                      ‐                 ‐   Paul Colucci      3025 Carrington Mill          Morrisville     NC       27560
                                                                             Amendment 3 to Statement of Work                                                                Boulevard, Suite 500
                                                                             (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation          M05305          ChannelAdvisor Corporation ‐ PCC ‐                      ‐                 ‐                     3025 Carrington Mill          Morrisville     NC       27560
                                                                             Amendment 6 to Statement of Work                                                                Boulevard, Suite 500
                                                                             (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation          M01047          ChannelAdvisor Corporation ‐ PCC ‐                            ‐           ‐   Twiddy,           1010 Sync Street, Ste 600     Morrisville     NC       27560
                                                                             Amendment 4 to Statement of Work                                              Kathryn F.
                                                                             (Managed Marketplaces)

Party City Corporation   ChannelAdvisor Corporation          M02271          ChannelAdvisor Corporation ‐ PCC ‐                            ‐           ‐   Twiddy,           1010 Sync Street, Ste 600     Morrisville     NC       27560
                                                                             Statement of Work (Managed                                                    Kathryn F.
                                                                             Marketplaces)

Party City Corporation   ChargebackOps, LLC                  M05589          ChargebackOps, LLC ‐ PCC ‐ Amendment 1                        ‐           ‐   Legal             859 W SOUTH JORDAN          SOUTH JORDAN      UT       84095
                                                                             to Management Services Agreement                                              Department        PKWY STE 104


Party City Corporation   ChargebackOps, LLC                  M05588          ChargebackOps, LLC ‐ PCC ‐                                    ‐           ‐   Legal             859 W SOUTH JORDAN          SOUTH JORDAN      UT       84095
                                                                             Management Services Agreement                                                 Department        PKWY STE 104


Party City Corporation   Charleston Road Registry Inc (dba   M04477          Charleston Road Registry Inc dba Google                 ‐                 ‐                     1600 Amphitheatre Parkway   Mountain View     CA       94043
                         Google Registry)                                    Registry ‐ PCC ‐ Anchor Tenant Program
                                                                             Allocation Agreement

Amscan Inc.              Charter Communications Operating, M01465            Charter Communications Operating, LLC               $71.02                ‐                     400 Washington Blvd           Stamford        CT       06902
                         LLC (Spectrum)                                      (Spectrum) ‐ Amscan, Inc. ‐ Customer
                                                                             Service Order, Service Level Agreement
                                                                             and Terms and Conditions
Party City Corporation   Cheng, Ka Shing (Matthew)           M03745          L‐1A Extension Petition                                 ‐                 ‐   N/A               100 Tice Blvd               Woodcliff Lake    NJ       07677




Party City Corporation   Cherukuri, Naresh                   M01809          H‐1B Compliance Materials                               ‐                 ‐   N/A               100 Tice Blvd               Woodcliff Lake    NJ       07677




Party City Corporation   Chillicothe Clothe Shopping         M05380          Chillecothe‐ PCC ‐ Ammend 2 to Lease              $7,261.92               ‐   Robert A Ferree   633 Charleston Pike           Chillicothe     OH     45601‐9333
                         Center


Party City Corporation   CircusTrix, LLC                     M03607          CircusTrix, LLC ‐ PCC ‐ Vendor Service                  ‐                 ‐   Joshua Shenk      86 N. University Avenue,        Provo         UT       84601
                                                                             Agreement                                                                                       #350


Party City Corporation   Cirgadyne Inc. dba                  M00837          LiquorLicense.com ‐ PCC ‐ Consulting              $2,888.00               ‐   Sam Block         2222 Damon Street            Los Angeles      CA       90021
                         LiquorLicense.com                                   Agreement




                                                                                                                       Page 15 of 66
                                                        Case23-90005
                                                       Case  23-90005 Document
                                                                       Document1117-2
                                                                                947-2 Filed
                                                                                      Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 04/28/23
                                                                                                        05/12/23 Page
                                                                                                                 Page 16
                                                                                                                      143ofof
                                                                                                                            122
                                                                                                                              248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name              Contract ID              Title of Agreement                   Cure Amount         503(b)(9)    Notice Name               Address             City        State    ZIP Code

Print Appeal, Inc.         Clean Earth Environmental Services, M02792          Stericycle Environmental Solutions, Inc                       ‐             ‐                    11220 Pagemill Road          Dallas        TX     75243‐8313
                           Inc.                                                (now Clean Earth) ‐ PA ‐ Master Services
                                                                               Agreement and Proposal

Print Appeal, Inc.         Clean Earth Environmental Services, M02793          Clean Earth ‐ Print Appeal ‐ Quote                            ‐             ‐   Lisa Wylie       11220 Pagemill Road          Dallas        TX       75243
                           Inc.                                                Addendum to MSA


Party City Holdings Inc.   Cloud Cover Media, Inc.           M01572            Cloud Cover Media, Inc. ‐ PCHI ‐                      $24,770.53-           ‐   Mark Lehman      999 North Pacific Coast    El Segundo      CA       90245
                                                                               Subscription Service Agreement, Service                                                          Highway, Suite 500
                                                                               Level Agreement and Order Form

Party City Holdings Inc.   Coalfire Systems, Inc.            M05244            Coalfire‐ PCI DSS Penetration Test ‐ 21‐ 0812                 ‐             ‐   Jennifer         11000 Westmoor Circle,    Westminster      CO     80021‐2753
                                                                                                                                                               Velnoskey        Suite 450


Party City Corporation     Coalfire Systems, Inc.            M05242            Coalfire ‐ Amscan Inc ‐ 21‐0126                               ‐             ‐   Jennifer         11000 Westmoor Circle,    Westminster      CO     80021‐2753
                                                                                                                                                               Velnoskey        Suite 450


Party City Corporation     Coalfire Systems, Inc.            M05243            Coalfire ‐ Amscan Inc ‐ 21‐0507 Service                       ‐             ‐   Jennifer         11000 Westmoor Circle,    Westminster      CO     80021‐2753
                                                                               Order PCI Compliance                                                            Velnoskey        Suite 450


Party City Corporation     Coalfire Systems, Inc.            M05241            Coalfire Systems Inc ‐ Amscan ‐ Master                        ‐             ‐   Esmond           361 Centennial Parkway      Lousiville     CO       80027
                                                                               Services and License Agreement                                                  Wallerson        Suite 150


Party City Corporation     Coalfire Systems, Inc.            M02653            Coalfire Systems, Inc ‐ PCC ‐ Master Services                 ‐             ‐   Alan Ferguson    11000 Westmoor Circle,    Westminster      CO       80021
                                                                               Agreement                                                                                        Suite 450


Party City Holdings Inc.   Cobalt Labs, Inc.                 M02009            Cobalt Labs, Inc. ‐ PCHI ‐ Cobalt SaaS Master                 ‐             ‐                    575 Market Street 4th     San Francisco    CA       94105
                                                                               Agreement                                                                                        Floor


Party City Holdings Inc.   Coda Staffing LLC                 M04369            Coda Staffing LLC ‐ PCHI ‐ Temporary                          ‐             ‐   Terrance         461 From Road               Paramus        NJ       07652
                                                                               Employee Staffing Agreement and                                                 Madden
                                                                               Statement of Work

Party City Holdings Inc.   COEFFICIENT                                         COEFFICIENT Supply Agreement                                  ‐             ‐                    1 FIRST AVE                PEABODY        MA        01960




Party City Corporation     Cohen‐Friedberg Associates, LLC   M04410            Cohen‐Friedberg Associates ‐ PCC ‐                     $11,800.00           ‐   Eric Friedberg   17 Lantern Road           Framingham      MA      01702‐5500
                                                                               Statement of Work (Halloween City Lady
                                                                               Kilgore)

Party City Corporation     Cohen‐Friedberg Associates, LLC   M04516            Cohen‐Friedberg Associates, LLC ‐ PCC ‐                       ‐             ‐   Eric Friedberg   17 Lantern Road           Framingham      MA        01702
                                                                               Statement of Work [Halloween City IW
                                                                               Lady Kilgore Prize Management]

Party City Corporation     Comcast Cable Communications      M03560            Comcast ‐ PCC ‐ Sales Order NJ‐                        $84,000.00           ‐   Shawn            1701 John F. Kennedy      Philadelphia     PA       19103
                           Management, LLC                                     12859315‐mkeen‐ 20846365 (DIA 6)                                                Adamson          Blvd.


Party City Corporation     Comcast Cable Communications      M05253            Comcast‐ PCC‐ Amend to Sow 5                                  ‐             ‐   Daniel J Carr    1601 Mile High Stadium       Denver        CO       80204
                           Management, LLC                                                                                                                                      Cir




                                                                                                                               Page 16 of 66
                                                        Case23-90005
                                                       Case  23-90005 Document
                                                                       Document1117-2
                                                                                947-2 Filed
                                                                                      Filed in
                                                                                             in TXSB
                                                                                                TXSB on
                                                                                                     on 04/28/23
                                                                                                        05/12/23 Page
                                                                                                                 Page 17
                                                                                                                      144ofof
                                                                                                                            122
                                                                                                                              248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name            Counterparty Name            Contract ID              Title of Agreement                   Cure Amount             503(b)(9)    Notice Name               Address              City        State    ZIP Code

Party City Corporation     Comcast Cable Communications     M05246          Comcast ‐ PCC ‐ Amend 8 to Sow ‐                              ‐                 ‐                    1601 Mile High Stadium       Denver         CO     80204‐1953
                           Management, LLC                                  ExecuSummary                                                                                         Cir


Party City Corporation     Comcast Cable Communications     M05038          Comcast ‐ PCC ‐ Amendment 12 to MSA                           ‐                 ‐   Shawn            1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  NJ‐12859315‐mkeen                                                                   Adamson          Blvd.


Party City Corporation     Comcast Cable Communications     M05186          Comcast ‐ PCC ‐ Amendment 13 to MSA                           ‐                 ‐                    1701 John F Kennedy Blvd   Philadelphia     PA       19103
                           Management, LLC                                  NJ‐12859315‐mkeen


Party City Corporation     Comcast Cable Communications     M05247          Comcast ‐ PCC ‐ Order Form 22939010 to                        ‐                 ‐                    1701 John F Kennedy Blvd   Philadelphia     PA       19103
                           Management, LLC                                  MSA NJ‐12859315‐mkeen


Party City Corporation     Comcast Cable Communications     M04661          Comcast ‐ PCC ‐ Order Forms 22632856 and                      ‐                 ‐   David Egan       1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  22629993 to MSA NJ‐12859315‐                                                                         Blvd.
                                                                            mkeen

Party City Corporation     Comcast Cable Communications     M04791          Comcast ‐ PCC ‐ Order Forms 22937623 to                       ‐                 ‐   David Egan       1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  MSA NJ‐12859315‐mkeen                                                                                Blvd.


Party City Corporation     Comcast Cable Communications     M03774          Comcast ‐ PCC ‐ Sales Order NJ‐                               ‐                 ‐   Shawn            1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  12859315‐mkeen‐21836915                                                             Adamson          Blvd.


Party City Corporation     Comcast Cable Communications     M05254          Comcast‐ PCC‐ Amend to Sow 7                                  ‐                 ‐   Daniel J Carr    1601 Mile High Stadium       Denver         CO       80204
                           Management, LLC                                                                                                                                       Cir


Party City Corporation     Comcast Cable Communications     M01908          Comcast Cable Communications                                  ‐                 ‐   Daniel J. Carr   1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  Management ‐ PCC ‐ Master Services                                                                   Blvd.
                                                                            Agreement

Party City Corporation     Comcast Cable Communications     M05252          Comcast‐ PCC ‐ Ammend to sow 1                                ‐                 ‐   Daniel J Carr    1601 Mile High Stadium       Denver         CO       80204
                           Management, LLC                                                                                                                                       Cir


Party City Corporation     Comcast Cable Communications     M05251          Comcast‐ PCC‐ Amend to Sow 3                                  ‐                 ‐   Daniel J Carr    1601 Mile High Stadium       Denver         CO       80204
                           Management, LLC                                                                                                                                       Cir


Party City Corporation     Comcast Cable Communications     M01823          Comcast ‐ PCC ‐ Order Forms 20568094 and                            ‐           ‐   Legal            1701 John F. Kennedy       Philadelphia     PA       19103
                           Management, LLC                                  20657552 to MSA NJ‐12859315‐                                                        Department       Boulevard
                                                                            mkeen

Amscan Inc.                Commerce Technologies, LLC dba   M01211          Commerce Technologies, LLC dba                          $5,028.00               ‐                    800 Troy‐Schenectady         Latham         NY       12110
                           CommerceHub                                      CommerceHub ‐ Amscan, Inc. ‐ Terms and                                                               Road Suite 100
                                                                            Conditions

Party City Corporation     Commission Junction, LLC.        M05416          Commission Junction, LLC ‐ PCC ‐ CJ Affiliate                 ‐                 ‐   Heather Pilat    530 Montecito Street       Santa Barbara    CA       93103
                                                                            Service Order


Party City Holdings Inc.   Commvault Systems, Inc.          M03644          Commvault Systems, Inc ‐ PCHI ‐ Master                        ‐                 ‐   Jacob Bishop     1 Commvault Way             Tinton Falls    NJ       07724
                                                                            Terms and Conditions, Software Terms and
                                                                            Condition's; Pricing Proposal




                                                                                                                            Page 17 of 66
                                                                 Case23-90005
                                                                Case  23-90005 Document
                                                                                Document1117-2
                                                                                         947-2 Filed
                                                                                               Filed in
                                                                                                      in TXSB
                                                                                                         TXSB on
                                                                                                              on 04/28/23
                                                                                                                 05/12/23 Page
                                                                                                                          Page 18
                                                                                                                               145ofof
                                                                                                                                     122
                                                                                                                                       248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name            Contract ID              Title of Agreement                    Cure Amount               503(b)(9)    Notice Name                 Address           City      State    ZIP Code

Party City Holdco Inc.               Computershare Governance        M05569            Computershare Governance Services Inc                           ‐                  ‐   Daryl              100 Beard Sawmill Rd.    Shelton       CT       06484
                                     Services Inc.                                     ‐ PCH ‐ Order Form for Registered Agent                                                McDearman
                                                                                       Services

Party City Holdco Inc.               Computershare Trust Company,    M05761            Computershare Trust Company, N.A. and                           ‐                  ‐   President ‐ Plan   480 Washington          Jersey City    NJ       07310
                                     N.A. and Computershare Inc.                       Computershare Inc. ‐ Agency Services                                                   Managers US        Boulevard
                                                                                       Agreement

Party City Holdco Inc.               Computershare, Inc. Computershare M01152          Computershare, Inc. and Computershare                           ‐                  ‐   Amy Walden         150 Royall St            Canton       MA      02021‐1031
                                     Trust Company, N.A.                               Trust Company, N.A. ‐ Party City Holdco Inc.
                                                                                       ‐ Standard Transfer Agent and
                                                                                       Registrar Service and Fees
Party City Holdings Inc.; Party Ci   Concentrix Corporation          M01398            Concentrix Corporation ‐ PCC ‐                 $460,630.38372,015.39               ‐                      44051 Nobel Drive        Fremont       CA       94538
                                                                                       Statement of Work 05


Party City Holdings Inc.             Concentrix Corporation          M01400            Concentrix Corporation ‐ PCC ‐ Change                           ‐                  ‐   Pat Wilson         44051 Nobel Drive        Fremont       CA       94538
                                                                                       Order No. 01 to Statement of Work 05


Party City Holdings Inc.             Concentrix Corporation          M05185            Concentrix Corporation ‐ PCC ‐ Change                           ‐                  ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Order No. 05 to Statement of Work 05


Party City Holdings Inc.             Concentrix Corporation          M05182            Concentrix Corporation ‐ PCC ‐ Change                           ‐                  ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Order No. 02 to Statement of Work 05


Party City Holdings Inc.             Concentrix Corporation          M05183            Concentrix Corporation ‐ PCC ‐ Change                           ‐                  ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Order No. 03 to Statement of Work 05


Party City Holdings Inc.             Concentrix Corporation          M05184            Concentrix Corporation ‐ PCC ‐ Change                           ‐                  ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Order No. 04 to Statement of Work 05


Party City Corporation               Concentrix Corporation          M05422            Concentrix Corporation ‐ PCC ‐ Master                           ‐                  ‐   Andrew Landon      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Service Agreement


Party City Corporation               Concentrix Corporation          M01394            Concentrix Corporation ‐ PCC ‐ Master                           ‐                  ‐   Andrew Landon      44051 Nobel Dr           Fremont       CA       94538
                                                                                       Services Agreement and Statement of
                                                                                       Work 01

Party City Holdings Inc.; Party Ci   Concentrix Corporation          M01401            Concentrix Corporation ‐ PCC ‐                                  ‐                  ‐   Andrew Landon      44051 Nobel Drive        Fremont       CA       94538
                                                                                       Statement of Work 06


Party City Corporation               Concentrix Corporation          M01395            Concentrix Corporation ‐ PCC ‐                                         ‐           ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Statement of Work 02


Party City Corporation               Concentrix Corporation          M01396            Concentrix Corporation ‐ PCC ‐                                         ‐           ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Statement of Work 03


Party City Holdings Inc.             Concentrix Corporation          M01397            Concentrix Corporation ‐ PCC ‐                                         ‐           ‐                      44201 Nobel Drive        Fremont       CA       94538
                                                                                       Statement of Work 04




                                                                                                                                         Page 18 of 66
                                                                 Case23-90005
                                                                Case  23-90005 Document
                                                                                Document1117-2
                                                                                         947-2 Filed
                                                                                               Filed in
                                                                                                      in TXSB
                                                                                                         TXSB on
                                                                                                              on 04/28/23
                                                                                                                 05/12/23 Page
                                                                                                                          Page 19
                                                                                                                               146ofof
                                                                                                                                     122
                                                                                                                                       248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name              Contract ID              Title of Agreement                 Cure Amount          503(b)(9)    Notice Name                Address                  City         State     ZIP Code

Party City Holdings Inc.           Condeco Software, Inc.              M01130          Condeco Software, Inc. ‐ PCHI ‐ Order Form             $487.95             ‐   Domenico         2 Harbour Exchange                London          UK       E14 9GE
                                                                                       & SOW                                                                          Pagano           Square


Party City Holdings Inc.           Condeco Software, Inc.              M03645          Condeco Software, Inc. ‐ PCHI ‐ Order Form                  ‐              ‐   Jim Eppen        2105 S Bascom Ave Ste            Campbell         CA      95008‐3276
                                                                                       Q‐27099                                                                                         150


Amscan Inc.                        Conlon, John                                        John Conlon ‐ Amscan ‐ Separation                           ‐              ‐                    100 Tice Blvd                  Woodcliff Lake      NJ       07677
                                                                                       Agreement and General Release


Party City Corporation             Connor Construction, LLC            M04423          Connor Construction ‐ PCC ‐                                 ‐              ‐   Benjamin J.      763 Susquehanna Ave            Franklin Lakes      NJ       07417
                                                                                       Construction Agreement                                                         Conner


Party City Corporation             Consolidated Transaction            M02891          Consolidated Transaction Processing LLC                     ‐              ‐   John Meli        Devlin Law Firm LLC             Wilmington        DE        19806
                                   Processing LLC                                      ‐ PCC ‐ Settlement and Patent License                                                           1526 Gilpin Ave
                                                                                       Agreement

Amscan Inc.; Party City Corporat   Controladora Mexicana PC, S.A. de   M01874          Controladora Mexicana PC, S.A. de C.V. ‐                    ‐              ‐                    Av. Revolución 780, San       Ciudad de México   Mexico     03730
                                   C.V.                                                Amscan, Inc. ‐ PCC ‐ Amscan Promissory                                                          Juan, Benito Juarez
                                                                                       Note, Forbearance Agreement, Non‐
                                                                                       Possessory Pledge Agreement and Party
Party City Holdings Inc.           Convoy, Inc.                        M03814          Convoy, Inc ‐ PCHI ‐ Transportation Broker           $32,317.77            ‐   Courtney         1301 2nd Ave, Suite 1300           Seattle        WA        98191
                                                                                       Agreement and Statement of Work                                                Mcklveen


Amscan Inc.                        Corestream                                          ADP Health & Welfare product.                               ‐              ‐   Attn: Legal      5404 Cypress Center                Tampa           FL       33609
                                                                                                                                                                      Dept             Drive, Suite 130


Party City Holdings Inc.           Corestream                                          Provide, in partnership with ADP Health and                 ‐              ‐   Abacus Health    1210 Pontiac Avenue              Cranston          RI       02920
                                                                                       Welfare, voluntary benefits for all                                            Solutions
                                                                                       employees

Party City Holdings Inc.           CoreTrust Purchasing Group          M04579          CoreTrust Purchasing Group ‐ PCHI ‐                         ‐              ‐                    1100 Dr. Martin L. King Jr.       Nashville       TN        37203
                                                                                       Participation Customization Form &                                                              Blvd Suite 1150
                                                                                       Acknowledgement [PCF]

Party City Holdings Inc.           CoreTrust Purchasing Group          M04578          CoreTrust Purchasing Group ‐ PCHI ‐                         ‐              ‐   Ed Jones         1100 Dr. Martin L. King Jr.       Nashville       TN        37203
                                                                                       Participation Agreement                                                                         Blvd Suite 1150


Party City Holdings Inc.           Corptax, Inc.                                       Corptax, Inc. Assumption Agreement                          ‐              ‐                    1751 Lake Cook Road              Deerfield         IL       60015




Party City Holdings Inc.           CoStar Realty Information, Inc.     M04810          CoStar Realty Information, Inc ‐ PCHI ‐                $2,625.07           ‐   Andy Thomas      1331 L Street, NW               Washington        DC      20005‐4293
                                                                                       Application Services and Professional
                                                                                       Services Agreement

Party City Holdings Inc.           Courtyard by Marriott               M03776          Courtyard by Marriott (Montvale) ‐ PCHI                     ‐              ‐   Kathleen Evans   10400 Fernwood Road              Bethesda         MD        20817
                                                                                       Special Room Rate Agreement (Tice)


Party City Holdings Inc.           Courtyard by Marriott               M04467          Marriott (Park Ridge) ‐ PCHI ‐ Special Room                 ‐              ‐   John Giuliano    10400 Fernwood Road              Bethesda         MD        20817
                                                                                       Rate Agreement (Tice)




                                                                                                                                     Page 19 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 20
                                                                                                                       147ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name          Contract ID              Title of Agreement                 Cure Amount       503(b)(9)    Notice Name                 Address                City       State    ZIP Code

Amscan Inc.                Cox Communications                                                                                          ‐           ‐                      6205‐B Peachtree                Atlanta      GA       30328
                                                                                                                                                       Philpott, Joiava   Dunwoody Road NE


Amscan Inc.                CREX of New York, Inc.          M03890          CREX of New York, Inc dba Credit                            ‐           ‐   Marc               204 Stonehinge Ln             Carle Place    NY       11514
                                                                           International ‐ Amscan ‐ Credit                                             Rosenberg
                                                                           Recommendations and
                                                                           Acknowledgements Agreement
Party City Holdings Inc.   Crossmark, Inc.                 M03402          Crossmark, Inc ‐ PCHI ‐ Master Services                     ‐           ‐   Jim Rose           5100 Legacy Drive               Plano        TX     75024‐3104
                                                                           Agreement


Party City Holdings Inc.   Crossmark, Inc.                 M03403          Crossmark, Inc ‐ PCHI ‐ Statement of Work                   ‐           ‐                      5100 Legacy Drive               Plano        TX     75024‐3104




Party City Holdings Inc.   CrowdStrike Services, Inc.      M05344          CrowdStrike, Inc. ‐ PCHI ‐ Master                           ‐           ‐   Mike Forman        150 Mathilda Place, 3rd       Sunnyvale      CA       94086
                                                                           Purchase Agreement Terms and                                                                   Floor
                                                                           Conditions

Party City Holdings Inc.   CrowdStrike Services, Inc.      M05386          CrowdStrike, Inc. ‐ PCHI ‐ Extended Support                 ‐           ‐   Mike Forman        150 Mathilda Place, 3rd       Sunnyvale      CA       94086
                                                                           Agreement (MPA)                                                                                Floor


Amscan Inc.                Crown Castle Fiber LLC          M01893          Crown Castle Fiber LLC ‐ Amscan ‐ Order           $8,342.37‐            ‐   James V. Nocito    900 Corporate Boulevard       Newburgh       NY       12550
                                                                           Form 2021‐82813 ‐ Chester


Amscan Inc.                Crown Castle Fiber LLC          M01483          Crown Castle Fiber LLC ‐ Amscan ‐ Order                     ‐           ‐   James V. Nocito    900 Corporate Boulevard       Newburgh       NY       12550
                                                                           Form 2021‐79415 ‐ Chester


Party City Holdings Inc.   Crown Castle Fiber LLC          M03340          Crown Castle Fiber LLC ‐ PCHI ‐ Order Form                  ‐           ‐   James V. Nocito    900 Corporate Boulevard       Newburgh       NY       12550
                                                                           2022‐87559 [100 Tice]


Amscan Inc.                Crown Castle Fiber LLC          M01484          Crown Castle Fiber LLC fka DataNet, LLC dba                 ‐           ‐   James V. Nocito    900 Corporate Boulevard       Newburgh       NY       12550
                                                                           Lightower Fiber Networks ‐ Amscan ‐ Master
                                                                           Services Agreement

Amscan Inc.                Crown Lift Trucks                               LEASE                                                       ‐           ‐   Legal              104 Bauer Drive                Oakland       NJ       07436
                                                                                                                                                       Department


Party City Corporation     Culebra Party Company, LLC      M00589          Franchise Agreement with Culebra Party                      ‐           ‐   Don Lasseter,      10838 Vandale Street          San Antonio    TX       78216
                                                                           Company, LLC dated 04/22/2018                                               Jr.


Amscan Inc.                Cummins Sales & Service         M05341          Amscan Inc‐ Cummins Sales & Service ‐                       ‐           ‐   Robert             890 Zerega Ave                  Bronx        NY     10473‐1122
                                                                           Equipment Agreement‐ Terms& Conditions                                      Mongrandi


Party City Corporation     Cupertino Electric, Inc.                                                                                    ‐           ‐   Debra Olson        1132 North Seventh Street      San Jose      CA       95112




Party City Corporation     InTempo Software Inc., dba                                                                                  ‐           ‐   Crystal Roberts    95 Whitfield Drive, SUITE D     Jasper       GA       30143
                           Curbstone




                                                                                                                         Page 20 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 21
                                                                                                                         148ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name               Counterparty Name           Contract ID                 Title of Agreement              Cure Amount             503(b)(9)    Notice Name               Address               City         State   ZIP Code

Party City Corporation     CVS Caremark                                       Prscription Drug Vendor, CVS Pharmacy on             $34,901.18               ‐   Attn: Legal      1 CVS Drive                  Woonsocket       RI      02895
                                                                              Retail side 66133,                                                                Dept


Party City Holdings Inc.   CVS Caremark                                       Provides prescription drug coverage for all                 ‐                 ‐   UnitedHealth     1 CVS Drive                  Woonsocket       RI      02895
                                                                              medical plans                                                                     Group


Amscan Inc.                Data Clean Corporation            M04019           Data Clean Corporation ‐ Amscan ‐ 2022                      ‐                 ‐                    1033 Graceland Avenue       Des Plaines       IL      60016
                                                                              Cleaning Renewal Proposal (Chester)


Party City Corporation     DBL K Liquor Consulting, LLC      M03831           DBL K Liquor Consulting, LLC ‐ PCC ‐                        ‐                 ‐   Kevin A.         536 East Wagon Bluff           Tucson         AZ      85704
                                                                              Agreement to Act as Agent                                                         Kramber          Drive


Party City Corporation     Deacon Construction               M04307           Deacon Construction ‐ PCC ‐                            $736.05                ‐                    8343 154th Avenue NE         Redmond         WA       98052
                                                                              Construction Agreement                                                                             Suite 210


Party City Holdings Inc.   Decision Analyst, Inc.            M03284           Decision Analyst, Inc ‐ PCHI ‐ Master                       ‐                 ‐   Heather Kluter   2670 E Lamar Blvd            Arlington        TX      76011
                                                                              Services Agreement and Statement of Work


Party City Corporation     Dellurefico Vazquez, Alyssa       M03549           Alyssa Dellurefico Vazquez ‐ PCC ‐                          ‐                 ‐   N/A              100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                              Separation Agreement and General Release


Party City Corporation     DeZavala Party Company, LLC       M00590           Franchise Agreement with DeZavala Party                     ‐                 ‐   Don Lasseter,    10838 Vandale Street         San Antonio      TX      78216
                                                                              Company, LLC dated 04/22/2018                                                     Jr.


Party City Holdings Inc.   Diligent Corporation              M01581           Diligent Corporation ‐ PCHI ‐                               ‐                 ‐   Bill Wright      1385 Broadway 19th Floor     New York         NY      10018
                                                                              Amendment Effective 2/26/2020


Party City Holdings Inc.   Diligent Corporation              M01058           Diligent Corporation ‐ PCHI ‐                               ‐                 ‐   John Van         1385 Broadway 19th Floor     New York         NY      10018
                                                                              Amendment Effective 10/07/2021                                                    Arsdale


Party City Holdings Inc.   Diligent Corporation              M04393           Diligent Corporation ‐ PCHI ‐                               ‐                 ‐   John Van         1111 19th Street NW, 9th     Washington       DC      20036
                                                                              Amendment to Service Agreement                                                    Arsdale          Floor


Party City Holdings Inc.   Diligent Corporation              M01794           Diligent Corporation ‐ PCHI ‐ Service                       ‐                 ‐   Jeffrey A Hilk   1385 Broadway 19th Floor     New York         NY      10018
                                                                              Agreement


Party City Holdings Inc.   Dish                                               Blockbuster                                                       ‐           ‐   Douglas Mohr     9601 South Meridian         Englewood         CO      80112
                                                                                                                                                                                 Boulevard


Party City Holdings Inc.   Disney                            2200029668       Disney US                                           $877,883.68               ‐   Rob Michaelis    500 S. Buena Vista Street    Burbank          CA      91521




Party City Holdings Inc.   Disney                            2200029667       Disney Party US                                     $192,951.61               ‐   Rob Michaelis    500 S. Buena Vista Street    Burbank          CA      91521




                                                                                                                            Page 21 of 66
                                                                   Case23-90005
                                                                  Case  23-90005 Document
                                                                                  Document1117-2
                                                                                           947-2 Filed
                                                                                                 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 04/28/23
                                                                                                                   05/12/23 Page
                                                                                                                            Page 22
                                                                                                                                 149ofof
                                                                                                                                       122
                                                                                                                                         248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                        Counterparty Name                Contract ID                 Title of Agreement                 Cure Amount          503(b)(9)    Notice Name                 Address                  City         State   ZIP Code

Party City Holdings Inc.             DISNEY CONSUMER PRODUCTS                                 DISNEY CONSUMER PRODUCTS INC                                 ‐              ‐                      500 S BUENA VISTA              BURBANK           CA      91521
                                     INC                                                      Supply Agreement                                                                                   STREET


Party City Corporation               DISQO Feedback Loop Solution                12/31/2023                                                                ‐              ‐   Neil Marcus        588 Broadway #503               New York         NY      10012
                                     Subscription Service – up to 5,000
                                     Completes

Party City Corporation               Diversified Business Computers, Inc. M06007              Web Learning ‐ o365                                     $2,713.00           ‐   Jeff Davidson      333 US‐46 Suite 210             Fairfield        NJ      07004




Party City Holdings Inc.             Diversified Business Computers, Inc. M05515              WEBLEARNING DATTO PRODUCT SERVIC                             ‐              ‐   Jeff Davidson      333 US‐46 Suite 210             Fairfield        NJ      07004




Party City Corporation               Diversified Business Computers, Inc.                     Web Learning ‐ Datto                                         ‐              ‐   Jeff Davidson      333 US‐46 Suite 210             Fairfield        NJ      07004




Party City Corporation               Dizzion, Inc.                          M02202            Dizzion, Inc. ‐ PCC ‐ Quote                                  ‐              ‐                      600 17th Street, Suite 2600S     Denver          CO      80202




Party City Corporation               Dizzion, Inc.                                            Dizzion, Inc. ‐ PCC ‐ Master Service                         ‐              ‐                      600 17th Street, Suite 2600S     Denver          CO      80202
                                                                                              Agreement


Party City Corporation               DJMJ Enterprises, Inc.                 M00586            Franchise Agreement with DJMJ                                ‐              ‐   Don Lasseter,      10838 Vandale Street            San Antonio      TX      78216
                                                                                              Enterprises, Inc. dated 07/21/2019                                              Jr.


Party City Holdings Inc.             DocuSign, Inc.                         M03577            DocuSign, Inc ‐ PCHI ‐ eSignature Renewal                    ‐              ‐   Jessica            221 Main Street, Suite          San Francisco    CA      94105
                                                                                              Q‐00758861                                                                      O'Connor           1550


Party City Holdings Inc.; Party Ci   Dodge, Daisy                           M03290            Daisy Dodge ‐ PCHI ‐ Party City Holdco Inc.                  ‐              ‐                      100 Tice Blvd                  Woodcliff Lake    NJ      07677
                                                                                              ‐ CIC Severance Agreement


Party City Corporation               Dojo Enterprises, Inc.                 M00588            Franchise Agreement with Dojo                                ‐              ‐   Don E. Lasseter,   10838 Vandale Street            San Antonio      TX      78216
                                                                                              Enterprises, Inc. dated 06/30/2011                                              Jr.


Party City Holdco Inc.               Donnelley Financial LLC                M03807            Donnelley Financial LLC ‐ PCH ‐ Subscription            $525.00             ‐   Adam Belkin        35 West Wacker Drive             Chicago         IL      60601
                                                                                              Order Form (ActiveDisclosure Renewal)


Party City Holdco Inc.               Donnelley Financial LLC                M04366            Donnelley Financial LLC ‐ PCH ‐ Amendment                    ‐              ‐   Adam Belkin        35 West Wacker Drive             Chicago         IL      60601
                                                                                              to Subscription Order Form
                                                                                              (ActiveDisclosure)

Party City Corporation               DoorDash G&C, LLC                      M05033            DoorDash G&C, LLC ‐ PCC ‐ Ecommerce                          ‐              ‐   Mike Goldblatt     303 2nd Street, South           San Francisco    CA      94107
                                                                                              Merchant Agreement                                                                                 Tower, Suite 800


Amscan Inc.                          Dove Print Solutions, Inc.             M01486            Dove Print Solutions, Inc. ‐ Amscan dba                $2,266.92            ‐   David R. Harris    1819 Otis Way                   Florence         SC      29501
                                                                                              Deco ‐ Maintenance Agreement




                                                                                                                                             Page 22 of 66
                                                                   Case23-90005
                                                                  Case  23-90005 Document
                                                                                  Document1117-2
                                                                                           947-2 Filed
                                                                                                 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 04/28/23
                                                                                                                   05/12/23 Page
                                                                                                                            Page 23
                                                                                                                                 150ofof
                                                                                                                                       122
                                                                                                                                         248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name            Contract ID               Title of Agreement                  Cure Amount               503(b)(9)        Notice Name                 Address                  City       State    ZIP Code

Amscan Inc.                          DP 78, LLC                        M05367          DP 78, LLC ‐ Amscan Inc. ‐ 32 Leone Lane                       ‐                      ‐   James A.           333 North Bedford Road,        Mount Kisco     NY       10549
                                                                                       Lease [2nd Amendment]                                                                     Diamond            Suite 45


Party City Corporation               DPIDirect                                         DPIDirect                                                      ‐                      ‐                      13257 Kirkham Way |              Poway         CA       92064
                                                                                                                                                                                                    Poway, CA 92064


Amscan Inc.                          Dunn Paper                        M01417          Dunn Paper ‐ Amscan, Inc. ‐ Supply                     $182,599.88         $390,855.41 D'Arcy          10000 Avalon Blvd Suite 750           Alpharetta     GA       30009
                                                                                       Agreement                                                                              Schnekenburge r


Amscan Inc.                          Dunn Paper                        M01419          Dunn Paper ‐ Amscan, Inc. ‐ Supply                             ‐                      ‐   D’Arcy          10000 Avalon Blvd Suite 750        Alpharetta     GA       30009
                                                                                       Agreement Amendment 02                                                                    Schnekenburge r


Amscan Inc.                          Dunn Paper                        M01420          Dunn Paper ‐ Amscan, Inc. ‐ Supply                                    ‐               ‐   Legal              10000 Avalon Blvd Suite 750     Alpharetta     GA       30009
                                                                                       Agreement Amendment 03                                                                    Department


Party City Holdings Inc.             DUNN PAPER INC                                    DUNN PAPER INC Supply Agreement                                ‐                      ‐   Legal              10000 Avalon Blvd Suite 750     Alpharetta     GA       30009
                                                                                                                                                                                 Department


Amscan Inc.                          dunnhumby Inc.                    M05044          dunnhumby Inc ‐ Amscan ‐ Insight Services                      ‐                      ‐   Jessica Pfeiffer   3825 Edwards Road, Suite        Cincinnati     OH       45209
                                                                                       Contract                                                                                                     600


Amscan Inc.                          eComchain Inc.                    M01248          eComchain Inc. ‐ Amscan ‐ Cloud Services                       ‐                      ‐   Robert Hayes       9300 Wade Blvd                    Frisco       TX       75035
                                                                                       Agreement and Statement of Work 1


Amscan Inc.                          eComchain Inc.                    M01249          eComchain Inc. ‐ Amscan ‐ Addendum to                          ‐                      ‐   Robert Hayes       9300 Wade Blvd                    Frisco       TX       75035
                                                                                       Statement of Work 1


Party City Holdings Inc.             Econoco Corporation               M04249          Econoco Corporation ‐ PCHI ‐ Master           $452,849.85356,102.92           $4,073.00 Dana Delfino         300 Karin Lane                  Hicksville     NY       11801
                                                                                       Services Agreement and Statement of Work
                                                                                       1

Party City Corporation               ECOVA f/k/a/ ENGIE INSIGHT        M05760          ENGIE INSIGHT SERVICES INC Supply                              ‐                      ‐                      1313 N ATLANTIC ST               Spokane      WA      99201‐2330
                                     SERVICES INC                                      Agreement


Party City Corporation               Edmond Public Schools             M03652          Edmond Public Schools ‐ PCC ‐ Vendor                           ‐                      ‐                      1001 W. Danforth Rd              Edmond        OK     73003‐4801
                                                                                       Registration Form


Party City Holdings Inc.             Egnyte, Inc.                      M03993          Egnyte, Inc ‐ PCHI ‐ Quote Q‐27406                             ‐                      ‐   Raghu              1350 W. Middlefield Road      Mountain View    CA       94043
                                                                                       Enterprise Renewal                                                                        Gangavathi


Party City Holdings Inc.; Party Ci   Ehle, Marc                        M03291          Marc Ehle ‐ PCHI ‐ Party City Holdco Inc. ‐                    ‐                      ‐                      18 Coddington Lane               Califon       NJ       07830
                                                                                       CIC Severance Agreement


Amscan Inc.                          Employbridge Southeast, LLC dba   M04766          Employbridge Southeast ‐ Amscan ‐                              ‐                      ‐   Gale Bender        3050 Peachtree Rd NW             Atlanta       GA     30305‐2212
                                     ResourceMFG                                       Service Agreement




                                                                                                                                        Page 23 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 24
                                                                                                                       151ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name          Contract ID               Title of Agreement               Cure Amount             503(b)(9)    Notice Name               Address                City           State      ZIP Code

Party City Holdings Inc.   Engie Insight Services Inc      M05774          Engie Insight Services dba Engie Impact ‐                        ‐           ‐   Stephanie       1313 N Atlantic St Ste          Spokane           WA         99201
                                                                           PCC ‐ Change Authorization to Total Energy                                       Krebs‐          5000
                                                                           and Sustainability Service                                                       Anderson
                                                                           Agreement
Party City Corporation     Engie Power & Gas LLC           M05049          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas          $323,178.38               ‐   Michael Reiss   920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement (New
                                                                           York)

Party City Corporation     Engie Power & Gas LLC           M05299          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas                  ‐                 ‐                   920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement (Ohio)


Party City Corporation     Engie Power & Gas LLC           M05300          Engie ‐ PCC ‐ Natural Gas Firm Commercial                  ‐                 ‐                   920 Railroad Ave               Woodmere            NY        11598
                                                                           Service Agmnt (Ohio‐ Columbia‐Dominion)


Party City Corporation     Engie Power & Gas LLC           M05053          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas                  ‐                 ‐   Michael Reiss   920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement
                                                                           (Maryland)

Party City Corporation     Engie Power & Gas LLC           M05298          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas                  ‐                 ‐                   920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement (NJ)


Party City Corporation     Engie Power & Gas LLC           M05051          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas                  ‐                 ‐   Michael Reiss   920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement
                                                                           (Illinois)

Party City Corporation     Engie Power & Gas LLC           M05050          Engie Power & Gas LLC ‐ PCC ‐ Natural Gas                  ‐                 ‐   Ann Harris      920 Railroad Ave               Woodmere            NY        11598
                                                                           Firm Commercial Service Agreement
                                                                           (Pennsylvania)

Party City Corporation     Engie Resources LLC             M05312          Engie Resources LLC ‐ PCC ‐ Sales                          ‐                 ‐                   1360 Post Oak Blvd. Suite       Houston            TX        77056
                                                                           Confirmation (Illinois)                                                                          400


Party City Corporation     Engie Resources LLC             M05314          Engie Resources LLC ‐ PCC ‐ Sales                          ‐                 ‐                   1360 Post Oak Blvd. Suite       Houston            TX        77056
                                                                           Confirmation (Illinois‐Ameren)                                                                   400


Party City Corporation     Engie Resources LLC             M04000          Engie Resources LLC ‐ PCC ‐ Easy Flex Day                  ‐                 ‐   Jay Bell        1360 Post Oak Blvd. Suite       Houston            TX        77056
                                                                           Ahead Agreement (AmSource)                                                                       400


Party City Corporation     Engie Resources LLC             M03999          Engie Resources LLC ‐ PCC ‐ Easy Flex                      ‐                 ‐   Jay Bell        1360 Post Oak Blvd. Suite       Houston            TX        77056
                                                                           Day Ahead Agreement (Rhode Island                                                                400
                                                                           Stores)

Amscan Inc.                Enk, Richard                    M02888          Richard Enk ‐ Amscan ‐ Separation                          ‐                 ‐                   1711 Jaxon Way                  Goshen             KY        40026
                                                                           Agreement and General Release


Amscan Inc.                EnviroProtect, LLC              M03796          EnviroProtect, LLC ‐ Amscan ‐ Consent                      ‐                 ‐                   298 Kororoit Creek Road     Williamstown, VIC   Australia    3016
                                                                           Judgment


Party City Corporation     ePlus ‐ Acronis                                                                                            ‐                 ‐   Legal           13595 Dulles Technology         Herndon            VA        20171
                                                                                                                                                            Department      Drive




                                                                                                                        Page 24 of 66
                                                                  Case23-90005
                                                                 Case  23-90005 Document
                                                                                 Document1117-2
                                                                                          947-2 Filed
                                                                                                Filed in
                                                                                                       in TXSB
                                                                                                          TXSB on
                                                                                                               on 04/28/23
                                                                                                                  05/12/23 Page
                                                                                                                           Page 25
                                                                                                                                152ofof
                                                                                                                                      122
                                                                                                                                        248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name            Contract ID               Title of Agreement              Cure Amount             503(b)(9)    Notice Name              Address              City        State     ZIP Code

Party City Holdings Inc.           Equinix LLC                       M02236          Equinix LLC ‐ PCHI ‐ Master Country                $33,003.91               ‐   Phil Read       One Lagoon Drive, 4th       Redwood City    CA        94065
                                                                                     Agreement with Terms & Conditions; Sales                                                        Floor
                                                                                     Orders [IBX Center; Network Edge]

Amscan Inc.                        Equipment Depot Kentucky, Inc.    M05463          Equipment Depot Kentucky, Inc ‐                     $4,705.60               ‐   Josh Warren     4820 Crittenden Drive,      Louisville      KY        40209
                                                                                     Amscan ‐ Lift Truck Quote


Amscan Custom Injection Moldi      Equipment Finance Group, LLC;     M03501          Equipment Finance Group, LLC, Churchill                    ‐                ‐                   200 Clark Street              Dayton        KY        41074
                                   Churchill Container, LLC                          Container, LLC ‐ ACIM ‐ Assignment
                                                                                     [227790‐001] & Incumbency Certificate

Amscan Custom Injection Moldi      Equipment Finance Group, LLC;     M03044          Equipment Finance Group, LLC, Churchill                    ‐                ‐                   200 Clark Street              Dayton        KY        41074
                                   Churchill Container, LLC                          Container, LLC ‐ ACIM ‐ Assumption
                                                                                     Agreement

Amscan Custom Injection Moldi      Equipment Finance Group, LLC;     M01592          Equipment Finance Group, LLC ‐ Amscan                      ‐                ‐                   200 Clark Street              Dayton        KY        41074
                                   Wittman Battenfeld, Inc.                          Custom Injection Molding, LLC‐ Lease
                                                                                     Agreement 5/3/2019

Amscan Custom Injection Moldi      Equipment Finance Group, LLC;     M01594          Equipment Finance Group, LLC ‐ Amscan                      ‐                ‐                   200 Clark Street              Dayton        KY        41074
                                   Wittman Battenfeld, Inc.                          Custom Injection Molding, LLC ‐ 2019
                                                                                     Wittmann Battenfeld SmartPower
                                                                                     400/3400 Injection Molding Machine w/
Amscan Custom Injection Moldi      Equipment Finance Group, LLC;     M01593          Equipment Finance Group, LLC ‐ Amscan                      ‐                ‐                   200 Clark Street              Dayton        KY        41074
                                   Wittman Battenfeld, Inc.                          Custom Injection Molding, LLC ‐ Wittman
                                                                                     Battenfield, Inc. 240/1330
                                                                                     Unilog B8 Lease Agreement
Party City Corporation             Ermetic, Inc.                     M04355          Ermetic, Inc ‐ PCC ‐ Order Form 0030514                    ‐                ‐                   33 Arch Street                Boston        MA        02110




Amscan Inc.; Party City Corporat   Ernst & Young LLP (EY)            M00926          Amscan, PCC ‐ EY ‐ EBP Rep Letter                          ‐                ‐                   99 Wood Avenue South          Iseline       NJ      08830‐0471




Party City Holdco Inc.             Ernst & Young LLP (EY)            M05598          Ernst & Young LLP ‐ PCH ‐ Master Services                       ‐           ‐   Teodora         99 South Wood Ave              Iselin       NJ        08830
                                                                                     Agreement (Tax, Post‐Petition)                                                  Pankova


Party City Holdings Inc.           Essex Technology Group Inc.       M03267          Essex Technology Group Inc ‐ PCHI ‐                 $2,885.00               ‐   David Luftig    250 Pehle Ave. Park 80      Saddle Brook     NJ       07663
                                                                                     Statement of Work [Mimix Role Swap                                                              West Plaza II
                                                                                     Testing]

Party City Holdings Inc.           Essex Technology Group Inc.       M01956          Essex Technology Group LLC ‐ PCHI ‐                        ‐                ‐   David Luftig    250 Pehle Avenue Suite      Saddle Brook     NJ       07663
                                                                                     Master Services Agreement                                                                       200


Amscan Inc.                        Essex Technology Group Inc.;      M02566          IBM (Essex) ‐ Amscan ‐ Statement of Work           $21,770.14               ‐   Randolph        1 New Orchard Road           Armonk         NY        10504
                                   International Business Machines                   for ServiceElite (AVBYF9)                                                       Masucci
                                   Corp. (IBM)

Party City Holdings Inc,           Ethoca Limited                                    Merchant Order Form                                       440.21                ethoca.legal@ma 605 100 Sheppard Ave E HQ       Toronto    Canada   M2N 6N5
                                                                                                                                                                     stercard.com



Party City Holdings Inc.           EVERTS (MALAYSIA) SDN.BHD.        M05682          Supply Agreement                                                ‐           ‐   Everts ‐        148 Edmund Street           Birmingham      UK        B3 2JR
                                                                                                                                                                     Summerhouse
                                                                                                                                                                     Bidco Limited
                                                                                                                                                                     c/o Squire
Party City Corporation             Excell Marketing, L.C.            M05401          Excell Marketing, L.C. ‐ PCC ‐ Vendor                      ‐                ‐   Mark Den Adel   5501 Park Avenue            Des Moines       IA       50321
                                                                                     Agreement



                                                                                                                                 Page 25 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 26
                                                                                                                         153ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name               Contract ID               Title of Agreement                Cure Amount             503(b)(9)    Notice Name                 Address              City          State     ZIP Code

Party City Corporation     Excess Space Retail Services, Inc    M05464          Excess Space Retail Services, Inc ‐ PCC ‐                   ‐                 ‐   Michael Weiner    One Hollow Lane, Suite       Lake Success      NY        11042
                                                                                Lease Restructuring Agreement                                                                       112


Amscan Inc.                Facilities Maintenance Corp.         M05432          Facilities Maintenance Corp ‐ Amscan ‐               $27,140.88               ‐   Scott King        P.O. Box 3689                Poughkeepsie      NY        12603
                                                                                Service Agreement Newburgh 2020


Party City Holdings Inc.   Fanatics Retail Group North, LLC     M05369          MLB Sublicense Agreement                         $174,026.64                                        8100 Nationsway             Jacksonville       FL        32256




Party City Corporation     Fanplayr Inc.                        M05446          Fanplayr Inc. ‐ PCC ‐ Services Agreements,                  ‐                 ‐   Simon Yencken     830 Menlo Ave., Suite 201    Menlo Park        CA        94025
                                                                                Credit Note, Statement of Work


Party City Corporation     Feedback Loop, Inc. (formerly        M01735          Feedback Loop, Inc. (fka Alpha UX, Inc.) ‐                  ‐                 ‐   Neil Marcus       588 Broadway #503            New York          NY        10012
                           known as Alpha UX, Inc.)                             PCC ‐ Order Form FL3385


Party City Holdings Inc.   Fidelity Institutional Asset         M01533          Fidelity ‐ PCHI ‐ Target Date Participation                 ‐                 ‐   Casey Condron     900 Salem Street            Smithfield         RI        02917
                           Management Trust Company                             Agreement [FIAM Group Trust for
                                                                                Employment Benefit Plans]

Amscan Inc.                Fink, Ralph                          M01147          Ralph Fink ‐ Amscan ‐ Severance Agreement                   ‐                 ‐                     100 Tice Blvd               Woodcliff Lake     NJ        07677
                                                                                and General Release


Party City Corporation     Flipp Corporation                    M05418          Flipp Corporation ‐ PCC ‐ Storefronts                       ‐                 ‐   Lavan             3250 Bloor Street West,      Toronto ON      Canada     M8X 2X9
                                                                                Platform Order Form                                                               Jeyamuraly        Suite 1200


Party City Holdings Inc.   ForeScout Technologies, Inc.         M03611          Forescout Technologies, Inc ‐ PCHI, Amscan                  ‐                 ‐   Amanda Barry      2400 Dallas Pkwy. Suite        Plano           TX        75093
                                                                                International ‐ Asset Transfer Letter                                                               230


Party City Holdings Inc.   ForeScout Technologies, Inc.         M05342          ForeScout Technologies, Inc. ‐ PCHI ‐                       ‐                 ‐   Darren J.         190 West Tasman Drive        San Jose          CA        95134
                                                                                Master Product and Services Agreement                                             Milliken


Party City Corporation     Forum Party Company, LLC             M00591          Franchise Agreement with Forum Party                        ‐                 ‐   Don Lasseter,     10838 Vandale Street         San Antonio       TX        78216
                                                                                Company, LLC dated 07/21/2015                                                     Jr.


Party City Corporation     Front Range Retail Company, L.L.C.                                                                               ‐                 ‐   Legal             PO BOX 440                   Fort Collins      CO        80522
                                                                                                                                                                  Department


Party City Holdings Inc.   FRSecure, LLC                        M01768          FRSecure, LLC ‐ PCHI ‐ Master Services                $1,750.00               ‐                     141 W 1st St Ste 300         Minnetonka        MN        55345
                                                                                Agreement


Amscan Inc.                FSC Global Development GmbH          M05592          FSC Global Development GmbH ‐ Amscan                              ‐           ‐   Kim Bering        Charles‐de‐Gaulle Str. 5       Bonn          Germany     53113
                                                                                dba Deco ‐ License Agreement for the FSC                                          Becker
                                                                                Certification Scheme                                                              Carstensen

Party City Holdings Inc.   GAM Property Corp.                   M04802          GAM Property Corp ‐ PCHI ‐ Letter                           ‐                 ‐   Herbert Zakarin   3 Police Drive                Goshen           NY        10924
                                                                                Agreement [Forklift Lease Extension]


Party City Holdings Inc.   GAM Property Corp.                   M04136          GAM Property Corp ‐ PCHI ‐ Letter                           ‐                 ‐   Herbert Zakarin   3 Police Drive                Goshen           NY      10924‐6730
                                                                                Agreement [Forklift Lease]



                                                                                                                              Page 26 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 27
                                                                                                                       154ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name               Contract ID                Title of Agreement                 Cure Amount               503(b)(9)        Notice Name                 Address                   City           State       ZIP Code

Party City Corporation     Garda CL Atlantic, Inc.            M01406            Garda CL Atlantic, Inc. ‐ PCC ‐ Armored Car              $14,483.31                   ‐                     2000 NW Corporate                Boca Raton           FL         33431
                                                                                Service Agreement                                                                                           Boulevard


Party City Holdings Inc.   General Mills‐                                       Pillsbury Dougboy US/CA MX                                $1,292.93                   ‐   Caitlin           One General Mills Boulevard     Minneapolis          MN          55426
                                                                                                                                                                          Leivermann


Amscan Inc.                Ginger Ray Limited                 M01549            Ginger Ray Limited ‐ Amscan Inc. ‐            $270,761.91203,086.59                   ‐                     7‐9 Baker Street              Weybridge, Surrey       UK        KT13 8AE
                                                                                Distribution Agreement and Deed of Waiver


Party City Corporation     Global Mobility Solutions, LLC     M05383            Global Mobility Solutions, LLC ‐ PCC ‐                    $5,455.88                   ‐   John Fernandez    15333 N. Pima Road, Suite        Scottsdale           AR         85260
                                                                                Relocation Agreement                                                                                        240


Party City Holdings Inc.   Global Sourcing, Inc.              M03503            Global Sourcing, Inc dba CoEfficient ‐ PCHI           $1,217,952.95         $4,632.55                       150 East 52nd Street              New York            NY         10022
                                                                                ‐ Master Services Agreement and
                                                                                Statement of Work

Party City Holdings Inc.   Globe Logistics, Inc.              M03743            Globe Logistics, Inc ‐ PCHI ‐                                  ‐                      ‐   Nenad             2 17 Washington Ave               Carlstadt           NJ         07072
                                                                                Transportation Agreement                                                                  Momiroski


Amscan Inc.                GM Financial Leasing                                 Auto Lease                                                     ‐                      ‐   Lucent Health     PO Box 7020                       Appelton            WI         54912
                                                                                                                                                                          Solutions


Party City Corporation     GM Northrup                        M04577            GM Northrup ‐ PCC ‐ Construction                               ‐                      ‐                     15950 Franklin Trail S.E.         Prior Lake         MN          55057
                                                                                Agreement


Party City Holdings Inc.   GMT Consulting                     MO5518            Consulting Agreement                                           ‐                      ‐   Marty Thomas      Via Codentro 3                    Muzzano         Switzerland    06933




Party City Corporation     Gondola Skate Moving Systems, Inc. M02449            Gondola Skate Moving Systems, Inc. ‐                                  ‐               ‐   Legal             9941 Prospect Avenue               Santee             CA         92071
                                                                                PCC ‐ 2018 Rental Proposal                                                                Department


Party City Holdings Inc.   Google, Inc                                          GOOGLE INC Supply Agreement                                    ‐                      ‐                     1600 AMPHITHEATER PKWY        MOUNTAIN VIEW           CA         94043




Party City Holdings Inc.   Google, Inc                                          Advertising Service Agreement                                         ‐               ‐   Walker, J. Kent   1600 Amphitheatre              Mountain View          CA         94043
                                                                                                                                                                                            Parkway


Party City Holdings Inc.   Gordon Brothers Commercial &       M05124            Gordon Brothers Commercial & Industrial                        ‐                      ‐   Ulos Anderson     800 Boylston Street, 27th          Boston            MA          02199
                           Industrial, LLC                                      LLC ‐ PCHI ‐ Statement of Work and Bill of                                                                  Floor
                                                                                Sale Project 1 (12.27.2020)

Party City Holdings Inc.   Gordon Brothers Retail Partners, LLC M05125          Gordon Brothers Commercial & Industrial                        ‐                      ‐   Ulos Anderson     800 Boylston Street, 27th          Boston            MA          02199
                                                                                LLC ‐ PCHI ‐ Statement of Work Burt Road                                                                    Floor
                                                                                Facility

Party City Holdings Inc.   Gordon Brothers Retail Partners, LLC M04892          Gordon Brothers Retail Partners, LLC ‐ PCHI                    ‐                      ‐   Andy Stone        15950 Franklin Trail S.E.         Prior Lake         MN          55057
                                                                                ‐ Statement of Work [Wave 10] to Store
                                                                                Closing Program Master
                                                                                Consulting Agreement




                                                                                                                                 Page 27 of 66
                                                                  Case23-90005
                                                                 Case  23-90005 Document
                                                                                 Document1117-2
                                                                                          947-2 Filed
                                                                                                Filed in
                                                                                                       in TXSB
                                                                                                          TXSB on
                                                                                                               on 04/28/23
                                                                                                                  05/12/23 Page
                                                                                                                           Page 28
                                                                                                                                155ofof
                                                                                                                                      122
                                                                                                                                        248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                        Counterparty Name                Contract ID                Title of Agreement                Cure Amount             503(b)(9)      Notice Name             Address                City        State   ZIP Code

Party City Corporation               Gordon Brothers Retail Partners, LLC M05593            Gordon Brothers Retail Partners, LLC ‐ PCC ‐                       ‐           ‐      Rick Edwards 800 Boylston Street, 27th        Boston       MA       02199
                                                                                            Amended and Restated Consulting                                                                               Floor
                                                                                            Agreement

Party City Corporation               Gordon Brothers Retail Partners, LLC       M05591      Gordon Brothers Retail Partners, LLC ‐                             ‐           ‐                    800 Boylston Street, 27th       Boston       MA       02199
                                                                                            PCC ‐ Store Closing Program – Master                                                                Floor
                                                                                            Consulting Agreement

Party City Corporation               Gottimukkala, Vidya                    M01817          Green Card ‐ PERM Residency                                  ‐                 ‐   N/A              100 Tice Blvd               Woodcliff Lake    NJ      07677




Party City Corporation               Gottimukkala, Vidya                    M01816          H‐1B Compliance Materials                                    ‐                 ‐   N/A              100 Tice Blvd               Woodcliff Lake    NJ      07677




Party City Corporation               GovDocs                                                Subscription Order                                           ‐                 ‐   Kara Kanis       1305 Corporate Center           Eagan        MN       55121
                                                                                                                                                                                                Drive, ste 400


Party City Corporation               Granite Telecommunications, LLC        M04267          Granite Telecommunications, LLC ‐ PCC ‐               $12,703.86               ‐                    100 Newport Ave               Ext Quincy     MA       02171
                                                                                            Order Form


Party City Corporation               Granite Telecommunications, LLC        M01911          Granite Telecommunications, LLC ‐ PCC ‐                      ‐                 ‐                    100 Newport Ave               Ext Quincy     MA       02171
                                                                                            Master Services Agreement


Party City Corporation               Guruprasad, Vishwas                    M01811          H‐1B Compliance Materials                                    ‐                 ‐   N/A              100 Tice Blvd               Woodcliff Lake    NJ      07677




Amscan Inc.                          Handshake Corp.                        M05434          Handshake, Corp ‐ Amscan ‐ Master                            ‐                 ‐                    627 Broadway, 9th Floor       New York        NY      10012
                                                                                            Services Agreement


Party City Holdings Inc.; Party Ci   Hans, John                             M03325          John Hans ‐ PCHI ‐ Party City Holdco Inc. ‐                  ‐                 ‐                    100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                                            CIC Severance Agreement


Party City Corporation               Harding, Renee                         M04539          Renee Harding ‐ PCC ‐ Separation                             ‐                 ‐                    100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                                            Agreement and Release


Party City Corporation               Healthy Commerce, Inc.                 M01280          Healthy Commerce, Inc. ‐ PCC ‐                               ‐                 ‐   Jason Brook      11722 Sorrento Valley Rd      San Diego       CA      92121
                                                                                            Addendum                                                                                            STE H


Party City Holdings Inc.             HEBO Consulting Ltd.                   M02909          HEBO Consulting Ltd ‐ PCHI ‐ First                           ‐                 ‐   Suteesh          167‐169 Great Portland         London         UK     W1W 5PF
                                                                                            Amendment to Master Services                                                       Chumber          Street, 5th Floor
                                                                                            Agreement

Party City Corporation               Helium SEO, LLC                                        Helium SEO                                                   ‐                 ‐                    11500 Northlake Dr. Suite     Cincinnati      OH      45249
                                                                                                                                                                                                125 Cincinnati OH 45249


Party City Holdings Inc.; Party Ci   Heller, Ian                            M04709          Ian Heller ‐ PCH ‐ Change in Control                         ‐                 ‐                    100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                                            Severance Agreement




                                                                                                                                           Page 28 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 29
                                                                                                                         156ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                Counterparty Name            Contract ID                  Title of Agreement              Cure Amount             503(b)(9)    Notice Name                Address               City         State   ZIP Code

Party City Corporation     Holden, Joanne                       M00986          Joanne Holden ‐ PCC ‐ Settlement                             ‐                 ‐   N/A               100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                                Agreement and General Release


Party City Corporation     Honeywell/Intelligrated                              Honeywell/Intelligrated ‐ (expired                           ‐                 ‐   Legal             7901 Innovation Way            Mason          OH      45050
                                                                                amendments are there but current renewal                                           Department
                                                                                is not)

Party City Corporation     HP Inc.                              M05413          HP, inc ‐ PCC ‐ Customer Terms [Portfolio              $9,703.79               ‐   Jancsy Scott      11311 Chinden Blvd., Bldg      Boise          IA      83714
                                                                                Documents]                                                                                           3, MS 334


Party City Corporation     HP Inc.                              M02475             HP Inc ‐ PCC ‐ Terms of Service                           ‐                 ‐                     1501 Page Mill Road          Palo Alto        CA      94304




Party City Holdings Inc.   HSA Bank                                             Banking facility that provides access to HSA                 ‐                 ‐   Attn: Legal       1515 North River Center       Milwaukee       WI      53212
                                                                                funds                                                                              Dept              Drive, Suite 235


Party City Corporation     HSA Bank                                                                                                          ‐                 ‐   Attn: Legal       1515 North River Center       Milwaukee       WI      53212
                                                                                                                                                                   Dept              Drive, Suite 235


Amscan Inc.                HSA Bank                                                                                                          ‐                 ‐   Attn: Legal       1515 North River Center       Milwaukee       WI      53212
                                                                                                                                                                   Dept              Drive, Suite 235


Party City Holdco Inc.     HSTechnology Solutions, Inc.         M05451          HSTechnology Solutions, Inc. ‐ PCHI ‐                        ‐                 ‐   Ryan T. Day       23382 Mill Creek Drive,      Laguna Hills     CA      92653
                                                                                Plan Sponsor Service Agreement                                                                       Suite 200


Party City Holdings Inc.   ICE Robotics LLC, dba ICE Cobotics   M05307          ICE Robotics LLC, dba ICE Cobotics ‐ PCHI                    ‐                 ‐                     101 E Roosevelt Ave          Zeeland          MI      49464
                                                                                ‐ Cobot Trial Subscription Service
                                                                                Agreement

Party City Corporation     Icon International, Inc.             M04409          Icon International ‐ PCC ‐ Straight Trade                    ‐                 ‐   Clarence V. Lee   One East Weaver Street        Greenwich       CT      06831
                                                                                Credits Agreement                                                                  III


Party City Corporation     IDEA Public Schools                  M04185          IDEA Public Schools ‐ PCC ‐ Vendor                           ‐                 ‐   Jennifer          2115 W. Pike Blvd            Weslaco          TX      78596
                                                                                Maintenance Agreement                                                              Ornelas


Party City Holdings Inc.   IDMWORKS, LLC                        M04667          IDMWORKS, LLC ‐ PCHI ‐ Change Order to                 $7,499.50               ‐   Paul Bedi         PO BOX 140040                Coral Gables     FL      33114
                                                                                Statement of Work 1


Party City Holdings Inc.   IDMWORKS, LLC                        M04514          IDMWORKS, LLC ‐ PCHI ‐ Master Services                       ‐                 ‐   Paul Bedi         PO BOX 140040                Coral Gables     FL      33114
                                                                                Agreement and Statement of Work (IAM
                                                                                Automation Phase 1 Implementation)

Party City Corporation     Imperva                                                                                                           ‐                 ‐                     One Curiosity Way, Ste        San Mateo       CA      94403
                                                                                                                                                                   Steiner, Brad     203


Party City Corporation     InComm Financial Services, Inc.      M05577          InComm Financial Services, Inc ‐ PCC ‐                             ‐           ‐   Michael           2525 Williams Rd            Columbus          GA      31909
                                                                                Appointment Agreement for Payment                                                  Gruenhut
                                                                                Services




                                                                                                                               Page 29 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 30
                                                                                                                        157ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID               Title of Agreement                   Cure Amount               503(b)(9)    Notice Name               Address                   City            State    ZIP Code

Party City Holdings Inc.   Independent II, LLC                M03660          Independent II, LLC ‐ PCHI ‐ Master Services            $229,519.98                ‐   Finn             7825 National Turnpike            Louisville         KY       40214
                                                                              Agreement and Statement of Work                                                        MacDonald


Party City Holdings Inc.   Independent II, LLC                M03660          Independent II, LLC ‐ PCHI ‐ Master Services   $227,314.20199,617.19               ‐   Finn             7825 National Turnpike            Louisville         KY       40214
                                                                              Agreement and Statement of Work                                                        MacDonald


Amscan Inc.                Infante, Piero                     M00640          Amscan ‐ Piero Infante ‐ Severance                              ‐                  ‐                    100 Tice Blvd                  Woodcliff Lake         NJ      07677
                                                                              Agreement


Party City Corporation     Information Clearinghouse LLC      M02833          Creditntell Real Estate Intelligence ‐ PCC ‐                    ‐                  ‐                    310 East Shore Road,             Great Neck          NY       11023
                           d/b/a Creditntell                                  License Agreement                                                                                       Suite 309


Party City Corporation     Information Systems Expert Inc                                                                                     ‐                  ‐   Legal            11711 N COLLEGE AVE,              CARMEL              IN      46032
                                                                                                                                                                     Department       STE 200


Party City Holdings Inc.   Infosys BPM Limited                M03771          Infosys BPM Limited ‐ PCHI ‐ Master                             ‐                  ‐   Kaipal Jain      130 Diaz Ordaz Boulevard,   Santa Maria Monterrey   Mexico    64650
                                                                              Services Agreement and Statement of Work                                                                16th Floor Col
                                                                              [FA Outsourcing]

Party City Holdings Inc.   Infosys BPM Limited                M04175          Infosys BPM Limited ‐ PCHI ‐ Amendment                  $318,756.71                ‐   Kaipal Jain      130 Diaz Ordaz Boulevard,   Santa Maria Monterrey   Mexico    64650
                                                                              1 to Master Services Agreement [Infosys                                                                 16th Floor Col
                                                                              Guarantor]

Party City Holdings Inc.   Infosys BPM Limited                M04472          Infosys BPM Limited ‐ PCHI ‐ Procedural                         ‐                  ‐   Kaipal Jain      130 Diaz Ordaz Boulevard,   Santa Maria Monterrey   Mexico    64650
                                                                              Change Order 1 [Digitran]                                                                               16th Floor Col


Party City Corporation     INSCRIBE, INC.                                     Inscribe                                                        ‐                  ‐                    9 MICRO DRIVE                     Woburn             MA       01801




Party City Holdings Inc.   Institutional Wholesale Co, Inc.   M05815          Institutional Wholesale Co, Inc ‐ PCHI ‐                               ‐           ‐                    535 Dry Valley Rd                Cookeville          TN       38506
                                                                              Hold Harmless Agreement


Amscan Inc.                Intelligrated Systems, LLC dba     M05349          Amscan‐ Intelligrated Systems Inc ‐                             ‐                  ‐   Tathagata Basu   7901 Innovation Way                Mason             OH       45040
                           Honeywell                                          Master Tech. Agreement


Amscan Inc.                Intelligrated Systems, LLC dba     M05318          Intelligrated Systems, LLC dba Honeywell                        ‐                  ‐   President        7901 Innovation Way                Mason             OH       45040
                           Honeywell                                          ‐ Amscan ‐ Software Sales Proposal and
                                                                              Agreement 161559
                                                                              [EASYpick]
Party City Holdings Inc.   International Business Machines    M03979          IBM ‐ PCHI ‐ Project Change Request 3 ‐                         ‐                  ‐   Randolph         1 New Orchard Road                 Armonk            NY       10504
                           Corp. (IBM)                                        Statement of Work 2 [Naperville WMS                                                    Masucci
                                                                              Implementation]

Party City Holdings Inc.   International Business Machines    M05127          IBM ‐ PCHI ‐ Master Service Agreement for                       ‐                  ‐   Cathy Finch      1 New Orchard Road                 Armonk            NY       10504
                           Corp. (IBM)                                        ServiceElite 08102006


Party City Holdings Inc.   IOWA PRISON INDUSTRIES                             IOWA PRISON INDUSTRIES Supply                                   ‐                  ‐   Bob Fairfax      510 E 12th Street                Des Moines           IA      50319
                                                                              Agreement




                                                                                                                                Page 30 of 66
                                                            Case23-90005
                                                           Case  23-90005 Document
                                                                           Document1117-2
                                                                                    947-2 Filed
                                                                                          Filed in
                                                                                                 in TXSB
                                                                                                    TXSB on
                                                                                                         on 04/28/23
                                                                                                            05/12/23 Page
                                                                                                                     Page 31
                                                                                                                          158ofof
                                                                                                                                122
                                                                                                                                  248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name              Contract ID               Title of Agreement                 Cure Amount         503(b)(9)    Notice Name              Address              City         State   ZIP Code

Party City Corporation     Iron Mountain Information          M03659            Iron Mountain ‐ PCHI ‐ Addendum to 2014               $31,035.84           ‐   Matthew         1101 Enterprise Drive      Royersford        PA      19468
                           Management, LLC                                      Customer Agreement (Chester)                                                   Fischer


Party City Corporation     Iron Mountain Information          M03658            Iron Mountain ‐ PCHI ‐ Customer                              ‐             ‐   Jorge Martins   1101 Enterprise Drive      Royersford        PA      19468
                           Management, LLC                                      Agreement (IT ‐ 2014 Agreement)


Party City Holdings Inc.   Iron Mountain Information          M03818            Iron Mountain ‐ PCHI ‐ Customer                              ‐             ‐   Matthew         1101 Enterprise Drive      Royersford        PA      19468
                           Management, LLC                                      Agreement (Physical Storage) and                                               Fischer
                                                                                Statement of Work (Destruction)

Party City Holdings Inc.   Iron Mountain Information          M02333            Iron Mountain ‐ PCHI ‐ Termination Notice                    ‐             ‐   Matthew         1101 Enterprise Drive      Royersford        PA      19468
                           Management, LLC                                                                                                                     Fischer


Party City Holdco Inc.     ISS Corporate Solutions, Inc.      M03751            ISS Corporate Solutions, Inc ‐ PCH ‐                         ‐             ‐   Mark Brockway   702 King Farm Boulevard     Rockville       MD       20850
                                                                                Termination Agreement                                                                          #400


Party City Holdco Inc.     ISS Corporate Solutions, Inc.      M03753            ISS Corporate Solutions, Inc ‐ PCH ‐                         ‐             ‐   Mark Brockway   702 King Farm Boulevard,    Rockville       MD       20850
                                                                                Letter Agreement 1.6.20 with T&C's                                                             Suite 400


Party City Corporation     J & H Party City,Inc.              M04165            J & H Party City, Inc ‐ PCC ‐ Asset Purchase                 ‐             ‐   John Cole       8044 Ritchie Highway        Pasadena        MD       21122
                                                                                Agreement [Cole]


Amscan Inc.                J.R. Hoe & Sons                    M05381            J.R. Hoe & Sons ‐ Amscan ‐ Amendment to                      ‐             ‐   Alice Johnson   101 Ironwood Road           Middlesboro      KY      40965
                                                                                Sublease [04.01.2018 ‐ 03.31.2023]


Amscan Inc.                Johnson Controls Fire Protection, LP M01693          Johnson Controls Fire Protection, LP ‐                 $9,420.29           ‐   Melissa         4 Commerce Drive            Harriman         NY      10926
                                                                                Amscan, Inc. ‐ Rider to Service Agreement                                      DeGiglio


Amscan Inc.                Johnson Controls Fire Protection, LP M05420          Johnson Controls Fire Protection, LP ‐                       ‐             ‐   Jay Cohen       4 Commerce Drive            Harriman         NY      10926
                                                                                Amscan ‐ Newburgh Renewal


Amscan Inc.                Johnson Controls Fire Protection, LP M05409          Johnson Controls Fire Protection, LP ‐                       ‐             ‐   Mohammad        4 Commerce Drive            Harriman         NY      10926
                                                                                Amscan ‐ Chester Upgrade                                                       Anwar


Amscan Inc.                Johnson Controls Fire Protection, LP M01694          Johnson Controls Fire Protection, LP ‐                       ‐             ‐   Melissa         4 Commerce Dr               Harriman         NY      53201
                                                                                Amscan, Inc. ‐ Proposal and Service                                            DeGiglio
                                                                                Agreement

Amscan Inc.                Johnson Controls Fire Protection, LP M01695          Johnson Controls Fire Protection, LP ‐                       ‐             ‐   Melissa         4 Commerce Drive           Milwaukee         NY      10926
                                                                                Amscan, Inc. ‐ Proposal and Service                                            DeGiglio
                                                                                Agreement 2/26/2021

Party City Corporation     Jones, Catherine                   M03162            Catherine Jones ‐ PCC ‐ Separation                           ‐             ‐                   100 Tice Blvd              Woodcliff Lake    NJ      07677
                                                                                Agreement and General Release


Amscan Inc.                Jones, Shelly                      M04485            Shelly Jones ‐ Amscan ‐ Separation                           ‐             ‐                   100 Tice Blvd              Woodcliff Lake    NJ      07677
                                                                                Agreement and General Release




                                                                                                                               Page 31 of 66
                                                                Case23-90005
                                                               Case  23-90005 Document
                                                                               Document1117-2
                                                                                        947-2 Filed
                                                                                              Filed in
                                                                                                     in TXSB
                                                                                                        TXSB on
                                                                                                             on 04/28/23
                                                                                                                05/12/23 Page
                                                                                                                         Page 32
                                                                                                                              159ofof
                                                                                                                                    122
                                                                                                                                      248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                      Counterparty Name             Contract ID               Title of Agreement                 Cure Amount             503(b)(9)    Notice Name              Address                  City        State   ZIP Code

Party City Holdings Inc.           JP Morgan Chase Bank N.A., as      CID10067         Credit Agreement ‐ JP Morgan Chase Bank                      ‐                 ‐                   277 Park Avenue, 22nd           New York        Ny      10172
                                   Administrative Agent to the ABL                     N.A. ABL Credit Agreement                                                                          Floor
                                   Credit Agreement

Party City Corporation             K Logix, LLC                       M01253           K Logix, LLC ‐ PCC ‐ Application Penetration                 ‐                 ‐   George Gal      1319 Beacon Street, Suite 1     Brookline      MA       02446
                                                                                       Testing Proposal


Party City Corporation             K Logix, LLC                       M03805           K Logix, LLC ‐ PCC ‐ Application Penetration                 ‐                 ‐   George Gal      1319 Beacon Street, Suite 1     Brookline      MA       02446
                                                                                       Testing SAF 20220518


Party City Corporation             Kaiser Permanente                                   Health Plan North & South                             $71,731.12               ‐   Attn: Legal     One Kaiser Plaza 19th            Oakland        CA      94612
                                                                                                                                                                          Dept            Floor


Party City Holdings Inc.           Kaiser Permanente                                   Provides medical benefits for California                     ‐                 ‐   Remedy          234 West Florida Street,        Milwaukee       WI      53204
                                                                                       residents                                                                          Analytics       #150


Party City Holdings Inc.           Kaleidoscope Imaging Inc.          M03867           Kaleidoscope Imaging Inc ‐ PCHI ‐                            ‐                 ‐   Maria Berry     700 N. Sacramento Blvd           Chicago        IL      60612
                                                                                       Change Order to Statement of Work 1


Party City Holdings Inc.           Kaleidoscope Imaging Inc.          M03789           Kaleidoscope Imaging Inc ‐ PCHI ‐ Master                     ‐                 ‐   Maria Berry     700 N. Sacramento Blvd           Chicago        IL      60612
                                                                                       Services Agreement and Statement of Work


Amscan Inc.                        Kalluru, Srini                     M03738           H‐1B Compliance Materials                                    ‐                 ‐   N/A             100 Tice Blvd                 Woodcliff Lake    NJ      07677




Party City Holdings Inc.           Kenset Corporation                 M05070           Kenset Corporation ‐ PCHI‐ Letter to V.                      ‐                 ‐   Vicken S.       2259 North Hobart              Los Angeles      CA      90027
                                                                                       Setrakian (Kenset) re PCHI International                                           Setrakian       Boulevard
                                                                                       Transaction

Amscan Inc.                        Kenset Corporation                 M04181           Kenset Corporation ‐ Amscan ‐ 9th                            ‐                 ‐   Vicken          2259 N. Hobart Boulevard       Los Angeles      CA      90027
                                                                                       Addendum to A&R Distribution Agreement                                             Setrakian


Party City Holdings Inc.           Key Container Corp.                M01194           Key Container Corp. ‐ PCHI ‐ Master Services                 ‐                 ‐   David Strauss   21 Campbell Street              Pawtucket       RI      02861
                                                                                       Agreement


Party City Holdings Inc.           Kivvit, LLC                        MO2987           Kivvit, LLC ‐ PCHI ‐ Statement of Work #1                    ‐                 ‐   Attn: Eric      222 W. Merchandise               Chicago        IL      60654
                                                                                                                                                                          Sedler,         Mart, Suite 2400
                                                                                                                                                                          Managing
                                                                                                                                                                          Partner
Amscan Inc.; Party City Corporat   Klauber Brothers, Inc.             M03787           Klauber Brothers, Inc ‐ PCC, Amscan ‐                        ‐                 ‐   Mark Klauber    1101 Geartech Parkway             Pacific      MO       63069
                                                                                       Settlement Agreement and Release of
                                                                                       Claims

Party City Holdings Inc.           KMCS Services LLC                  M04925           KMCS Services LLC ‐ PCHI ‐ Independent                             ‐           ‐   Kelley          8 Fayson Lake Rd.                Kinnelon       NJ      07405
                                                                                       Contractor Agreement                                                               McSweeney


Amscan Inc.                        Knapp Logistics Automation, Inc.   M05435           Knapp, Inc ‐ Amscan ‐ System Support                   $14,709.74              ‐   Josef Mentzer   2124 Barret Park Drive,         Kennesaw        GA      30144
                                                                                       Contract                                                                                           Suite 100




                                                                                                                                      Page 32 of 66
                                                                       Case23-90005
                                                                      Case  23-90005 Document
                                                                                      Document1117-2
                                                                                               947-2 Filed
                                                                                                     Filed in
                                                                                                            in TXSB
                                                                                                               TXSB on
                                                                                                                    on 04/28/23
                                                                                                                       05/12/23 Page
                                                                                                                                Page 33
                                                                                                                                     160ofof
                                                                                                                                           122
                                                                                                                                             248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name              Contract ID               Title of Agreement                    Cure Amount         503(b)(9)    Notice Name               Address                 City          State   ZIP Code

Party City Holdings Inc.; Party Ci   Koller, Tracey                      M03316          Tracey Koller ‐ PCHI ‐ Party City Holdco Inc. ‐                 ‐             ‐                    100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         CIC Severance Agreement


Amscan Inc.                          Konica Minolta 181Qc                                MAINTENANCE‐ FINAL                                              ‐             ‐   Legal            JP Tower 2‐7‐2 Marunouchi        Tokyo          Japan   100‐7015
                                                                                                                                                                           Department       Chiyoda‐ku


Amscan Inc.                          Konica Minolta 652                                  MAINTENANCE                                                     ‐             ‐   Legal            JP Tower 2‐7‐2 Marunouchi        Tokyo          Japan   100‐7015
                                                                                                                                                                           Department       Chiyoda‐ku


Amscan Inc.                          Konica Minolta C360                                 MAINTENANCE                                               $1,330.05           ‐   Legal            JP Tower 2‐7‐2 Marunouchi        Tokyo          Japan   100‐7015
                                                                                                                                                                           Department       Chiyoda‐ku


Party City Holdco Inc.               Kulikowsky, Denise                  M03451          Denise Kulikowsky ‐ PCH ‐ Second Amended                        ‐             ‐                    100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         and Restated Employment Agreement vf


Party City Holdings Inc.; Party Ci   Kulikowsky, Denise                  M03292          Denise Kulikowsky ‐ PCHI ‐ Party City                           ‐             ‐                    100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         Holdco Inc. ‐ CIC Severance Agreement


Party City Holdco Inc.               Kulikowsky, Denise                  M04685          Denise Kulikowsky ‐ PCH ‐ Third Amended                         ‐             ‐                    100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         and Restated Employment Agreement


Party City Holdco Inc.               Kulikowsky, Denise                  M05362          Denise Kulikowsky‐ PCHI‐ Amended and                            ‐             ‐   Denise           100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         Restated 2012 Omnibus Equity Incentive                                            Kulikowsky
                                                                                         Plan

Party City Holdings Inc.; Party Ci   Kupsch, John                        M03303          John Kupsch ‐ PCHI ‐ Party City Holdco Inc.                     ‐             ‐                    100 Tice Blvd               Woodcliff Lake       NJ      07677
                                                                                         ‐ CIC Severance Agreement


Amscan Inc.                          L&L Nursery Supply, Inc.            M05480          L&L Nursery Supply, Inc.                                        ‐             ‐                    2552 Shenandoah Way          San Bernardino      CA      92407




Party City Holdings Inc.             Labor Network, Inc.                 M05086          Labor Network, Inc ‐ PCHI ‐ Temporary                    $20,813.64           ‐   Ralph            888 E. New York Street           Aurora          IL      60505
                                                                                         Employee Staffing Agreement and                                                   Brandonisio
                                                                                         Statement of Work

Party City Corporation               Labor Network, Inc.                 M05086          Labor Network, Inc ‐ PCHI ‐ Temporary                           ‐             ‐   Ralph            888 E. New York Street           Aurora          IL      60505
                                                                                         Employee Staffing Agreement and                                                   Brandonisio
                                                                                         Statement of Work

Party City Holdings Inc.             Labtest International Inc. dba      M02469          Labtest International Inc dba Intertek ‐ PCHI            $72,271.00           ‐   John Luzzi       545 E. Algonquin Rd         Arlington Heights    IL      60005
                                     Intertek                                            ‐ Master Services Agreement, Statement of
                                                                                         Work and Amendment 1 to
                                                                                         SOW
Party City Holdings Inc.             Ladder Creek, LLC                   M02799          Ladder Creek, LLC ‐ PCHI ‐ Helium Tolling                       ‐             ‐   Durell Johnson   P.O. Box 442                Cheyenne Wells       CO      80810
                                                                                         Agreement


Party City Corporation               Lasseter Enterprises, Inc.          M00585          Franchise Agreement with Lasseter                               ‐             ‐   Don Lasseter,    6094 Appletree Drive,          Memphis           TN      38115
                                                                                         Enterprises, Inc. dated 01/21/2018                                                Sr.              Suite 11




                                                                                                                                           Page 33 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 34
                                                                                                                       161ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name               Contract ID                Title of Agreement                  Cure Amount         503(b)(9)    Notice Name              Address                City       State    ZIP Code

Party City Corporation     Lasseter Enterprises, Inc.            M00584          Franchise Agreement with Lasseter                              ‐             ‐   Don Lasseter,   6094 Appletree Drive,         Memphis        TN       38115
                                                                                 Enterprises, Inc. dated 09/22/2017                                               Sr.             Suite 11


Party City Corporation     Lastpass                                                                                                             ‐             ‐   Legal           333 Summer Street              Boston       MA        02210
                                                                                                                                                                  Department


Amscan Inc.                Latham Time                                           MAINTENANCE                                                    ‐             ‐   Legal           200 Selig Drive SW             Atlanta       GA       30336
                                                                                                                                                                  Department


Amscan Inc.                Lazarus 3D, Inc.                      M02845          Lazarus 3D, Inc ‐ Amscan ‐ Supplier Quality                    ‐             ‐   Jacques         421 Water Ave NE. STE 1100     Albany        OR       97321
                                                                                 Agreement                                                                        Zaneveld


Party City Holdings Inc.   LeanPie USA Inc                       M05673          Leanpie will produce and supply specialty                      ‐             ‐                   610 Winters Ave               Paramus        NJ       07652
                                                                                 store fixtures and displays for PCHI stores.
                                                                                 Market‐type fixtures will be
                                                                                 non‐exclusive and there shall be 1
Party City Holdings Inc.   Leason Ellis LLP                      M03381          Leason Ellis LLP ‐ PCHI ‐ Conflict Waiver with          $78,670.23           ‐                   One Barker Avenue            White Plains   NY        10601
                                                                                 Ningbo TR‐Party Co Ltd [IP Infringement
                                                                                 Dispute with Tangle Inc]

Party City Corporation     Lens Group, LLC doing business as     M01842          Acadia.io, LLC fka as Lens Group, LLC dba                      ‐             ‐   Sally Kazin     25 W 8th St. Suite 200.        Holland       MI       49423
                           Lift361; Acadia.io LLC dba Lift361,                   Lift361 ‐ PCC ‐ Consent to Assignment
                           LLC (fka Lens Group LLC)

Amscan Inc.                Level 3 Communications, LLC dba       M02327          Level 3 Communications, LLC ‐ PCHI ‐                           ‐             ‐   Dwight E        100 CenturyLink Drive          Monroe        LA       71203
                           Lumen Technologies Group                              Master Services Agreement [use with                                              Steiner
                                                                                 Lumen]

Amscan Inc.                Level 3 Communications, LLC dba       M02328          Lumen Technologies Group ‐ PCHI ‐                              ‐             ‐   Zubin Vyas      100 CenturyLink Drive          Monroe        LA       71203
                           Lumen Technologies Group                              Quote No 12642703


Amscan Inc.                Lewiston Realty Holdings, LLC.        M05406          Lewiston Realty Holdings, LLC ‐ Amscan ‐                       ‐             ‐   Moses Berger    22 Route 59, Suite 300         Suffern       NY       10901
                                                                                 Confirmation Agreement Unit 100B


Amscan Inc.                Linde                                                 LEASE                                                     $684.80            ‐   Abhijeet        10 Riverview Drive            Danbury        CT       06810
                                                                                                                                                                  Parmer


Party City Corporation     Linde Gas & Equipment Inc.            M02494          Linde, Inc. (formerly known as Praxair               $2,352,430.46           ‐   Amer Akhras     10 Riverview Drive            Danbury        CT       06588
                           (formerly known as Praxair                            Distribution, Inc.) ‐ PCC ‐ Letter Agreement
                           Distribution, Inc.)                                   dated 9/12/2019, Product
                                                                                 Supply Agreement and Rider
Party City Corporation     Linde Gas & Equipment Inc.            M02591          Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐             ‐   Amer Akhras     10 Riverview Drive            Danbury        CT       06810
                           (formerly known as Praxair                            PCC ‐ Letter Amendment to Product Supply
                           Distribution, Inc.)                                   Agreement ZN101‐07 5.2.19

Party City Holdings Inc.   Linde Gas & Equipment Inc.            M04271          Linde Gas & Equipment Inc ‐ PCC ‐ SLA                          ‐             ‐   Abhijeet        10 Riverview Drive            Danbury        CT     06810‐6268
                           (formerly known as Praxair                            Letter 8‐9‐22                                                                    Parmar
                           Distribution, Inc.)

Party City Corporation     Linde Gas & Equipment Inc.            M02586          Linde, Inc (fka Praxair Distribution, Inc) ‐                   ‐             ‐   Tim Walters     10 Riverview Drive            Danbury        CT     06810‐6268
                           (formerly known as Praxair                            PCC ‐ Cylinder Rider to Product Supply
                           Distribution, Inc.)                                   Agreement ZN101‐07 11.30.2009




                                                                                                                                  Page 34 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 35
                                                                                                                       162ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name          Contract ID                 Title of Agreement               Cure Amount       503(b)(9)    Notice Name             Address               City         State    ZIP Code

Party City Corporation     Linde Gas & Equipment Inc.      M02497          Linde, Inc. (formerly known as Praxair                       ‐           ‐   Abhijeet       10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      Distribution, Inc.) ‐ PCC ‐ Letter                                           Parmar
                           Distribution, Inc.)                             Amendment to Product Supply
                                                                           Agreement ZN101‐07 12 4 20
Party City Corporation     Linde Gas & Equipment Inc.      M02587          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Abhijeet       10 Riverview Drive           Danbury          CT     06810‐5113
                           (formerly known as Praxair                      PCC ‐ Cylinder Rider to Product Supply                                       Parmar
                           Distribution, Inc.)                             Agreement ZN101‐07 1.1.205

Party City Corporation     Linde Gas & Equipment Inc.      M02592          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Abhijeet       10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      PCC ‐ Letter Agreement to Product Supply                                     Parmar
                           Distribution, Inc.)                             Agreement ZN101‐07 2.1.22

Party City Holdings Inc.   Linde Gas & Equipment Inc.      M03074          Linde Gas & Equipment Inc ‐ PCHI ‐ Services                  ‐           ‐   Jason Moural   10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      Rider to Product Supply Agreement 3‐15‐22
                           Distribution, Inc.)

Party City Holdings Inc.   Linde Gas & Equipment Inc.      M03072          Linde Gas & Equipment Inc ‐ PCC ‐ Letter                     ‐           ‐   Jason Moural   10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      Amendment 3‐15‐22
                           Distribution, Inc.)

Party City Corporation     Linde Gas & Equipment Inc.      M02589          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Amer Akhras    10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      PCC ‐ Letter Agreement to Product Supply
                           Distribution, Inc.)                             Agreement ZN101‐07 10.6.17

Party City Corporation     Linde Gas & Equipment Inc.      M02590          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Amer Akhras    10 Riverview Drive           Danbury          CT       06588
                           (formerly known as Praxair                      PCC ‐ Letter Agreement to Product Supply
                           Distribution, Inc.)                             Agreement ZN101‐07 11.20.18

Party City Corporation     Linde Gas & Equipment Inc.      M02588          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Amer Akhras    10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      PCC ‐ Letter Agreement to Product Supply
                           Distribution, Inc.)                             Agreement ZN101‐07 9.30.2015

Party City Holdings Inc.   Linde Gas & Equipment Inc.      M04394          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Abhijeet       10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      PCC ‐ Notice of Declaration of Contingency                                   Parmar
                           Distribution, Inc.)                             Event (Helium Surcharge)

Party City Corporation     Linde Gas & Equipment Inc.      M02585          Linde, Inc (fka Praxair Distribution, Inc) ‐                 ‐           ‐   Abhijeet       10 Riverview Drive           Danbury          CT     06810‐6268
                           (formerly known as Praxair                      PCC ‐ Product Supply Agreement ZN101‐ 07                                     Parmar
                           Distribution, Inc.)

Amscan Inc.                Linder, Mark                    M01063          Mark Linder ‐ Amscan ‐ Severance                             ‐           ‐                  100 Tice Blvd             Woodcliff Lake      NJ       07677
                                                                           Agreement


Party City Corporation     LinkedIn Corporation            M01252            LinkedIn Corporation ‐ PCC ‐ Order Form                    ‐           ‐   Marshia        1000 W Maude Ave            Sunnyvale         CA       94085
                                                                                                                                                        Escobar


Party City Corporation     Lisann Party Corp.              M05165          Lisann Party Corp ‐ PCC ‐ Asset Purchase                     ‐           ‐   John Gaffney   2373 W. Ridge Rd.           Rochester         NY       14626
                                                                           Agreement, Assignment and Bill of Sale


Party City Corporation     LN and NN, LLC                  M00556          Franchise Agreement with LN and NN, LLC                      ‐           ‐   Upen Shah      7000 Hadley Road          South Plainfield    NJ       07080
                                                                           dated 02/01/2017


Party City Holdings Inc.   Louis F. Leeper Company         M03396          Louis F Leeper Company ‐ PCHI ‐                              ‐           ‐   James Leeper   5145 Brecksville Rd Ste      Richfield        OH       44286
                                                                           Statement of Work                                                                           201




                                                                                                                          Page 35 of 66
                                                             Case23-90005
                                                            Case  23-90005 Document
                                                                            Document1117-2
                                                                                     947-2 Filed
                                                                                           Filed in
                                                                                                  in TXSB
                                                                                                     TXSB on
                                                                                                          on 04/28/23
                                                                                                             05/12/23 Page
                                                                                                                      Page 36
                                                                                                                           163ofof
                                                                                                                                 122
                                                                                                                                   248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


           Debtor Name               Counterparty Name            Contract ID               Title of Agreement                Cure Amount             503(b)(9)    Notice Name              Address               City       State   ZIP Code

  Party City Holdings Inc.   Louis F. Leeper Company           M03395           Louis F Leeper Company ‐ PCHI ‐ Master                            ‐           ‐   Legal           419 Friday Road              Pittsburgh     PA      15209
                                                                                Services Agreement                                                                Department


  Party City Holdings Inc.   Lucas                             2200029642       Lucas CN‐Star Wars , Party, Baloons,                $157,683.00               ‐   JP Southern     500 S. Buena Vista Street     Burbank       CA      91521
                                                                                Costumes


  Party City Holdings Inc.   Lucas                             2200029643       Lucas US‐Star Wars                                   $62,817.30               ‐   JP Southern     500 S. Buena Vista Street     Burbank       CA      91521




  Party City Holdings Inc.   LUCENT HEALTH                                      LUCENT HEALTH Supply Agreement                              ‐                 ‐                   PO BOX 7020                  APPLETON       WI      54912




  Party City Holdings Inc.   Lucent Health Solutions                            Adminsters 3 medical/vision plans                           ‐                 ‐   Peerfit, Inc.   1060 Woodcock Rd Ste          Orlando       FL      32803
                                                                                                                                                                                  128


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05234           Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                Aetna HSA [Gold HSA Plan]


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05235           Lucent Health Solutions, LLC ‐ PCHI ‐ Aetna                 ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                HSA [Gold HSA Plan] Amendment 1


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05233           Lucent Health Solutions, LLC ‐ PCHI ‐                       ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                Aetna PPO [In‐Network Only Plan]


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05238           Lucent Health Solutions, LLC ‐ PCHI ‐ Aetna                 ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                HSA [Gold HSA Plan] COVID Amendment


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05236           Lucent Health Solutions, LLC ‐ PCHI ‐ Aetna                 ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                PPO [In‐Network Only Plan] Amendment 1


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05239           Lucent Health Solutions, LLC ‐ PCHI ‐ Aetna                 ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                PPO [In‐Network Only Plan] COVID
                                                                                Amendment

  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05237           Lucent Health Solutions, LLC ‐ PCHI ‐ VBP                   ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                HSA [Freedom HSA Plan] Amendment 1


  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05240           Lucent Health Solutions, LLC ‐ PCHI ‐ VBP                   ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                HSA [Freedom HSA Plan] COVID
                                                                                Amendment

  Party City Holdings Inc.   Lucent Health Solutions, LLC      M05231           Lucent Health Solutions, LLC ‐ PCHI ‐ VBP                   ‐                 ‐                   P.O. Box 7020                Appleton       WI      54912
                                                                                HSA [Freedom HSA Plan]


  Party City Corporation     Lucid Chart                                                                                                    ‐                 ‐   Legal           10355 S Jordan Gateway      South Jordan    UT      84095
                                                                                                                                                                  Department      #300




                                                                                                                              Page 36 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 37
                                                                                                                       164ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name          Contract ID              Title of Agreement                 Cure Amount             503(b)(9)        Notice Name              Address                 City      State   ZIP Code

Party City Corporation     M. Patel Enterprises, Inc.      M00595          Franchise Agreement with M. Patel                           ‐                     ‐   Mitesh Patel    11150 Research                   Austin      TX      78759
                                                                           Enterprises, Inc. dated 04/28/2016                                                                    Boulevard, Suite 100B


Party City Corporation     M. Patel Enterprises, Inc.      M00594          Franchise Agreement with M. Patel                           ‐                     ‐   Mitesh Patel    11150 Research                   Austin      TX      78759
                                                                           Enterprises, Inc. dated 04/28/2016                                                                    Boulevard, Suite 100B


Party City Corporation     M. Patel Enterprises, Inc.      M00596          Franchise Agreement with M. Patel                           ‐                     ‐   Mitesh Patel    11150 Research                   Austin      TX      78759
                                                                           Enterprises, Inc. dated 04/28/2016                                                                    Boulevard, Suite 100B


Party City Corporation     Maine Oxy‐Acetylene Supply      M01364          Maine Oxy‐Acetylene Supply Company ‐                $125,953.02       $136,874.32     Bryan Gentry    100 Washington Street           Auburn      ME       04210
                           Company                                         PCC ‐ Supply Agreement Updated Pricing                                                                North


Amscan Inc.                Manhattan Associates, Inc.      M05883          Manhattan Associates, Inc ‐ Amscan ‐                              ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Letter Amendment to Software License,                                                                 10th Floor
                                                                           Services, Support and Enhancements
                                                                           Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05887          Manhattan Associates, Inc ‐ Amscan ‐                              ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Amendment (Slot‐it Transport) to Software                                                             10th Floor
                                                                           License, Services, Support and
                                                                           Enhancements Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05885          Manhattan Associates, Inc ‐ Amscan ‐ Letter                       ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Amendment (HA) to Software License,                                                                   10th Floor
                                                                           Services, Support and
                                                                           Enhancements Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05884          Manhattan Associates, Inc ‐ Amscan ‐                              ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Letter Amendment to Software License,                                                                 10th Floor
                                                                           Services, Support and Enhancements
                                                                           Agreement
Amscan Inc.                Manhattan Associates, Inc.      M05882          Manhattan Associates, Inc ‐ Amscan ‐                              ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Software License, Services, Support and                                                               10th Floor
                                                                           Enhancements Agreement

Amscan Inc.                Manhattan Associates, Inc.      M05886          Manhattan Associates, Inc ‐ Amscan ‐                              ‐               ‐                   2300 Windy Ridge Parkway,       Atlanta      GA      30339
                                                                           Letter Amendment (Power Upgrade) to                                                                   10th Floor
                                                                           Software License, Services, Support and
                                                                           Enhancements Agreement
Amscan Inc.                ManpowerGroup US Inc.           M03387          Manpower ‐ Amscan Inc. ‐ Master Service                     ‐                     ‐   Karen           100 Manpower Place             Milwaukee     WI      53212
                                                                           Agreement & Statement of Work                                                         McGowan


Party City Holdings Inc.   Mapbox, Inc.                    M03780          Mapbox, Inc ‐ PCHI ‐ Master Services                        ‐                     ‐   Scott D. Hill   740 15th St NW, 5th Floor      Washington    DC      20005
                                                                           Agreement and Order Form


Party City Corporation     Mapquest, Inc.                  M05524          Mapquest, Inc ‐ PCC ‐ Amendment NO. 7 to                    ‐                     ‐   Doug Berger     1555 Blake Street, Suite 300    Denver       CO      80202
                                                                           Enterprise License Agreement


Party City Corporation     Mapquest, Inc.                  M05561          MapQuest, Inc ‐ PCC ‐ Enterprise Edition                          ‐               ‐   Brian           275 West Street, Suite 216     Annapolis    MD       21401
                                                                           Agreement                                                                             McMahon


Party City Corporation     Marco Contractors, Inc.         M04518          Marco Contractors ‐ PCC ‐ Construction                      ‐                     ‐   Nicholas H.     100 Commonwealth Dr            Warrendale    PA      15086
                                                                           Agreement                                                                             Smith




                                                                                                                         Page 37 of 66
                                                             Case23-90005
                                                            Case  23-90005 Document
                                                                            Document1117-2
                                                                                     947-2 Filed
                                                                                           Filed in
                                                                                                  in TXSB
                                                                                                     TXSB on
                                                                                                          on 04/28/23
                                                                                                             05/12/23 Page
                                                                                                                      Page 38
                                                                                                                           165ofof
                                                                                                                                 122
                                                                                                                                   248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


           Debtor Name                Counterparty Name            Contract ID               Title of Agreement                Cure Amount             503(b)(9)    Notice Name               Address             City      State    ZIP Code

  Party City Holdings Inc.   Market Track, LLC dba Numerator    M01998           Market Track, LLC dba Numerator ‐ PCHI                      ‐                 ‐   Regan Garrett    24 E Washington St, Ste     Chicago       IL      60602
                                                                                 Shopper and People Insights Order Form                                                             1200
                                                                                 SOW [Q‐64359]

  Party City Holdings Inc.   Marriott Corporation               M04764           Marriott (Hanover) ‐ PCHI ‐ Special Room                    ‐                 ‐   Julie Chadwick   1401 NJ‐10E                Whippany       NJ      07981
                                                                                 Rate Agreement (Tice)


  Party City Corporation     Martellus, LLC ‐ PCC ‐ Markeitng                                                                                ‐                 ‐                    201 West 86th Street,       New York     NY       10025
                             Consulting Scope Detail                                                                                                                                Suite 7M


  Party City Corporation     Martellus, LLC d/b/a Martellus     M02684           Martellus, LLC dba Martellus Group ‐ PCC                    ‐                 ‐   Rosa Sabater     200 West 86th Street,       New York     NY       10024
                             Group                                               ‐ Business Advisory Services Agreement                                                             Suite 7M
                                                                                 7.2.20

  Party City Corporation     Martellus, LLC d/b/a Martellus     M05146           Martellus, LLC ‐ PCC ‐ CRM Consulting Scope                 ‐                 ‐                    200 West 86th Street,       New York     NY       10024
                             Group                                               Detail                                                                                             Suite 7M


  Party City Corporation     Martellus, LLC d/b/a Martellus     M02690           Martellus, LLC dba Martellus Group ‐ PCC                          ‐           ‐   Legal            200 W 86th St, 7M          New York      NY       10024
                             Group                                               ‐ Statement of Work 1.12.21 [L. Tierney]                                          Department


  Party City Corporation     Martellus, LLC d/b/a Martellus     M02686           Martellus, LLC dba Martellus Group ‐                              ‐           ‐   Legal            200 W 86th St, 7M          New York      NY       10024
                             Group                                               PCC ‐ Statement of Work 3.14.21 [M.                                               Department
                                                                                 McCambridge]

  Party City Corporation     Martellus, LLC d/b/a Martellus     M02685           Martellus, LLC dba Martellus Group ‐ PCC                          ‐           ‐   Legal            200 W 86th St, 7M          New York      NY       10024
                             Group                                               ‐ Statement of Work 7.2.20 [M.                                                    Department
                                                                                 McCambridge]

  Party City Corporation     Martellus, LLC d/b/a Martellus     M02688           Martellus, LLC dba Martellus Group ‐                              ‐           ‐   Legal            200 W 86th St, 7M          New York      NY       10024
                             Group                                               PCC ‐ Statement of Work 12.13.20 [L.                                              Department
                                                                                 Tierney]

  Party City Holdings Inc.   Marvel                             152742           Marvel US, CN, MX                                   $458,362.62               ‐   Isaac            1290 Avenue of the          New York     NY       10104
                                                                                                                                                                   Perlmutter       Americas 2nd Floor


  Party City Holdings Inc.   Marvel                             152722           Marvel US                                            $73,670.60               ‐   Isaac            1290 Avenue of the          New York     NY       10104
                                                                                                                                                                   Perlmutter       Americas 2nd Floor


  Party City Holdings Inc.   Masis Staffing Solutions LLC       M04558           Masis Staffing Solutions LLC ‐ PCHI ‐                       ‐                 ‐   Dani             1331 Grafton Street        Worcester     MA       01604
                                                                                 Temporary Employee Staffing Agreement                                             DelleChiaie
                                                                                 and Statement of Work

  Party City Holdings Inc.   Mass Minority, Inc.                M02795           Mass Minority Inc ‐ PCHI ‐ Statement of                     ‐                 ‐   Christine        51 Mill Street #200        Toronto ON   Canada   M5A 3C4
                                                                                 Work Proposal to MSA                                                              McArthur


  Party City Corporation     Mass Minority, Inc.                M01687           Mass Minority, Inc. ‐ PCC ‐ Master Services                 ‐                 ‐   Christine        51 Mill Street #200        Toronto ON   Canada   M5A 3C4
                                                                                 Agreement                                                                         McArthur


  Party City Corporation     Massachusetts Gaming Commission M01304              Massachusetts Gaming Commission ‐                           ‐                 ‐                    101 Federal Street, 12th     Boston      MA       02110
                                                                                 PCC ‐ Non Gaming Vendor Registration                                                               Floor




                                                                                                                               Page 38 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 39
                                                                                                                       166ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name               Counterparty Name          Contract ID               Title of Agreement                Cure Amount                503(b)(9)    Notice Name             Address                City         State     ZIP Code

Amscan Inc.                Matrix Solar OC Newburgh Route   M01764           Matrix Solar OC Newburgh Route 17K, LLC              $33,959.42                  ‐                  296 Labrosse Ave           Pointe Claire QC   Canada    H9R 5L8
                           17K, LLC                                          ‐ Amscan ‐ Community Solar Distributed
                                                                             Generation Subscription
                                                                             Agreement and Disclosure Form
Party City Holdings Inc.   Mattel                           109089           Multi: Barbie/HW/FP/MT ‐ US,CA&MX (PC               $156,847.53                  ‐   Todd Piccus    333 Continental Blvd         El Segundo        CA        90245
                                                                             only)


Party City Holdings Inc.   Mattel                           109104           Thomas MATTEL US ONLY                                 $9,933.51                  ‐   Todd Piccus    333 Continental Blvd         El Segundo        CA        90245




Party City Corporation     McClintock's Party City          M01519           McClintock's Party City, LLC ‐ PCC ‐ Asset                  ‐                    ‐   Randall        3177 Lebanon Pike             Nashville        TN      37214‐2314
                                                                             Purchase Agreement                                                                   McClintock


Party City Holdings Inc.   McFarland, Aaron                 M05195           Aaron McFarland ‐ PCHI ‐ Talent Release for                 ‐                    ‐                  N/A                              N/A           N/A        N/A
                                                                             Tinsley Shoot 7.23.2021


Party City Corporation     McLane Company Inc               M05754           Distribution Service Agreement                      $466,457.00       ‐$416,159.30   Legal          5757 McLane Parkway            Temple          TX        76504
                                                                                                                                                                  Department


Party City Holdco Inc.     Mehta, Guncha                    M00668           Guncha Mehta ‐ Change in Control                            ‐                    ‐                  100 Tice Blvd              Woodcliff Lake       NJ       07677
                                                                             Severance Agreement


Party City Corporation     MERIDIAN IT INC                                                                                               ‐                    ‐   Legal          Nine Parkway North, Ste       Deerfield         IL       60015
                                                                                                                                                                  Department     500


Party City Corporation     Meridian IT, Inc.                M05657           Meridian IT Inc ‐ PCC ‐ CO11 Services                             ‐              ‐                  Nine Parkway North Suite      Deerfield         IL       60015
                                                                             Renewal 2023 SRV5056                                                                                500


Party City Corporation     Merkle Inc.                      M00827           Digital Evolution Group, LLC (DEG) ‐ PCC ‐          $280,471.90                  ‐   Dade Hazlett   6601 College Blvd, Sixth    Overland Park       KS       66211
                                                                             Amendment 3 to Master Service Agreement                                                             Floor
                                                                             [C1886] 3‐2‐2021

Party City Corporation     Merkle Inc.                      M05513           Statement of Work for Digital Program 2023                  ‐                    ‐                  6601 College Blvd, Sixth    Overland Park       KS       66211
                                                                                                                                                                                 Floor


Party City Corporation     Merkle Inc.                      M05283           Digital Evolution Group, LLC (DEG) ‐ PCC ‐                  ‐                    ‐   Dale Hazlett   6601 College Blvd, Sixth    Overland Park       KS       66211
                                                                             Mutual NDA                                                                                          Floor


Party City Corporation     Merkle Inc.                      M00820           Merkle Inc [Digital Evolution Group, LLC                    ‐                    ‐   Dade Hazlett   6601 College Blvd, Sixth    Overland Park       KS       66211
                                                                             (DEG)] ‐ PCC ‐ Master Service Agreement                                                             Floor
                                                                             [C1886] 12‐31‐2018

Party City Corporation     Merkle Inc.                      M03761           Merkle, Inc ‐ PCC ‐ Statement of Work to                    ‐                    ‐   Daniel Crane   6601 College Blvd, Sixth    Overland Park       KS       66211
                                                                             MSA [C1886s] [Email Marketing Retainer]                                                             Floor


Party City Corporation     Merrihew, Lincoln                M02889           Lincoln Merrihew ‐ PCC ‐ Separation                         ‐                    ‐                  100 Tice Blvd              Woodcliff Lake       NJ       07677
                                                                             Agreement and General Release




                                                                                                                           Page 39 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 40
                                                                                                                        167ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name            Contract ID              Title of Agreement                Cure Amount             503(b)(9)    Notice Name                Address              City        State    ZIP Code

Amscan Inc.                Merrill Communications, LLC      M02959           Merrill Communications, LLC ‐ Amscan, Inc.                       ‐           ‐   Greg Russo        388 TARRYTOWN ROAD           St. Paul      MN        10607
                                                                             ‐ Halloween DatasiteOne Statement of
                                                                             Work

Party City Holdings Inc.   MessageGears, LLC                M05302           MessageGears, LLC ‐ PCHI ‐ Statement of            $111,517.70               ‐                     1180 West Peachtree          Atlanta        GA       30309
                                                                             Work 3 [Managed Services]                                                                          Street NW, Suite 1500


Party City Holdings Inc.   MessageGears, LLC                M04662           MessageGears, LLC ‐ PCHI ‐ Statement of                    ‐                 ‐                     1180 West Peachtree          Atlanta        GA       30309
                                                                             Work 2                                                                                             Street NW, Suite 1500


Party City Holdings Inc.   MGA                                               Rainbow High                                               ‐                 ‐   Elizabeth Risha   9220 Winnetka Ave.         Chatsworth       CA       91311




Party City Holdings Inc.   MGA                              MLA 202102854    LOL SURPRISE                                                     ‐           ‐   Elizabeth Risha   9220 Winnetka Ave.         Chatsworth       CA       91311




Party City Holdings Inc.   MGM                                               Legally Blonde                                        $872.88                ‐   Pamela            245 North Beverly Drive    Beverly Hills    CA       90210
                                                                                                                                                              Reynolds


Amscan Inc.                Michaels Stores, Inc.            M02529           Michaels ‐ Amscan ‐ Amendment 1 to E‐                      ‐                 ‐                     8000 Bent Branch Drive        Irving        TX       75063
                                                                             Commerce Drop Ship Vendor Agreement


Amscan Inc.                Michaels Stores, Inc.            M01537           Michaels Stores, Inc. ‐ Amscan, Inc. ‐                     ‐                 ‐   Amanda            8000 Bent Branch Drive        Irving        TX       75063
                                                                             Drop Ship Vendor Addendum 2.18.21                                                Sembrat


Amscan Inc.                Michaels Stores, Inc.            M05166           Michaels Stores, Inc. ‐ Amscan, Inc. ‐                     ‐                 ‐                     3939 West John                Irving        TX       75063
                                                                             Products/Merchandise Liability Indemnity                                                           Carpenter Freeway
                                                                             Agreement 5.29.2003

Party City Holdings Inc.   Microsoft Corporation            M05068           Microsoft Corporation ‐ PCHI ‐ Microsoft                   ‐                 ‐   Luke Madden       1 Microsoft Way             Redmond        WA      98052‐8300
                                                                             Product Giveaway Agreement


Amscan Inc.                Microwest                                         MAINTENANCE                                                ‐                 ‐   Legal             10981 San Diego Mission     San Diego       CA       92018
                                                                                                                                                              Department        Road, Ste 210


Amscan Inc.                Microwest                                         MAINTENANCE                                                ‐                 ‐   Legal             10981 San Diego Mission     San Diego       CA       92018
                                                                                                                                                              Department        Road, Ste 210


Party City Holdings Inc.   Migdon Allen Associates                           Act as PCHI's benefit broker coordinating                  ‐                 ‐   Attn: Legal       900 Route 9 N, Suite 503   Woodbridge       NJ       07095
                                                                             pla design and vendor management                                                 Dept


Party City Holdings Inc.   Minute Men, Inc.                 M04247           Minute Men, Inc. ‐ PCHI ‐ Temporary                              ‐           ‐                     3740 Carnegie Ave.          Cleveland       OH       44115
                                                                             Employee Staffing Agreement and
                                                                             Statement of Work 1

Party City Holdings Inc.   Minute Men, Inc.                 M04247           Minute Men, Inc. ‐ PCHI ‐ Temporary                        ‐                 ‐                     3740 Carnegie Ave.          Cleveland       OH       44115
                                                                             Employee Staffing Agreement and
                                                                             Statement of Work 1




                                                                                                                          Page 40 of 66
                                                                   Case23-90005
                                                                  Case  23-90005 Document
                                                                                  Document1117-2
                                                                                           947-2 Filed
                                                                                                 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 04/28/23
                                                                                                                   05/12/23 Page
                                                                                                                            Page 41
                                                                                                                                 168ofof
                                                                                                                                       122
                                                                                                                                         248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                        Counterparty Name            Contract ID               Title of Agreement                  Cure Amount          503(b)(9)    Notice Name                Address                  City        State    ZIP Code

Party City Holdings Inc.             Mirakl, Inc.                      M04020           Mirakl, Inc ‐ PCHI ‐ Master Services                   $32,258.07            ‐   Adrien            212 Elm Street, Suite 400       Somerville     MA        02144
                                                                                        Agreement and Statement of Work                                                  Nussenbaum


Party City Corporation               Monotype Imaging Inc.             M05331           Monotype Imaging Inc ‐ PCC ‐ Monotype                    $7,500.00           ‐   Andrew            600 Unicorn Park Drive           Woburn        MA        01801
                                                                                        Fonts Plan License Order Form                                                    Stadvec


Amscan Inc.; Party City Corporat     Moonbug Entertainment Limited     M03116           Moonbug Entertainment Limited ‐ Amscan,                $41,476.97            ‐   Todd Mohagen,     6 Water Ln, LABS Upper           London         UK      NW1 8JZ
                                                                                        Inc. ‐ PCC ‐ Style Guide Access Letter                                           AIA, NCARB        Lock, 3rd Floor #3


Party City Corporation               Morgan Hill Retail Venture L.P.   M05466           Morgan Hill Retail Venture L.P. ‐ PCC ‐                  $7,423.97           ‐   Darryl            99 Almaden Blvd., Suite          San Jose       CA       95113
                                                                                        Second Amendment to Lease                                                        Browman           565


Party City Holdings Inc.; Party Ci   Morin, Barry                      M03302           Barry Morin ‐ PCHI ‐ Party City Holdco Inc. ‐                 ‐              ‐                     100 Tice Blvd                 Woodcliff Lake    NJ       07677
                                                                                        CIC Severance Agreement


Party City Corporation               Movable, Inc.                     M05128           Movable, Inc. ‐ PCC ‐ Amendment to Order        $11,035.915,472.61           ‐   John Herman       5 Bryant Park (1065 6th         New York        NY       10018
                                                                                        Form 9.30.2020                                                                                     Avenue), 9th Floor


Party City Corporation               Movable, Inc.                     M05129           Movable, Inc. ‐ PCC ‐ Standard Terms and                      ‐              ‐   John Herman       5 Bryant Park (1065 6th         New York        NY       10018
                                                                                        Conditions                                                                                         Avenue), 9th Floor


Party City Corporation               Movable, Inc.                     M05322           Movable, Inc ‐ PCC ‐ 2023 Order Form                          ‐              ‐   Atlee Murphy      5 Bryant Park (1065 Sixth       New York        NY       10018
                                                                                                                                                                                           Avenue), 9th Floor


Amscan Inc.                          Mozlly, LLC                       M01110           Mozlly, LLC ‐ Amscan, Inc. ‐ Vendor                           ‐              ‐                     8944 Fullbright Ave., Suite    Chatsworth       CA       91311
                                                                                        Agreement                                                                                          B


Party City Corporation               MRI Software LLC                  M04224           MRI Software ‐ PCC ‐ Order Document                           ‐              ‐   Roman             28925 Fountain Parkway            Solon         OH       44139
                                                                                        Recurring Software Services                                                      Telerman


Party City Holdings Inc.             MSG Entertainment Group, LLC      M05077           MSG Entertainment Group, LLC ‐ PCHI ‐                         ‐              ‐   Kristin Bernert   2 Pennsylvania Ave              New York        NY     10121‐0091
                                                                                        Letter (1‐28‐21)


Party City Holdings Inc.             MSG Entertainment Group, LLC      M05078           MSG Entertainment Group, LLC ‐ PCHI ‐                         ‐              ‐   Daniel Fleeter    2 Pennsylvania Ave              New York        NY     10121‐0091
                                                                                        Letter (7‐29‐21)


Party City Holdings Inc.             MTVN                              85604            Nickelodeon‐Paramount Multi CN, MX, US,                       ‐              ‐   Priya             1515 Broadway                   New York        NY       10036
                                                                                        Southpark CN, Southpark US                                                       Mukhedkar


Party City Corporation               Mukherjee, Kaushik                M01815           H‐1B Compliance Materials                                     ‐              ‐   N/A               100 Tice Blvd                 Woodcliff Lake    NJ       07677




Party City Corporation               Muzak, LLC d/b/a Mood Media       M01329           Muzak, LLC d/b/a Mood Media ‐ PCC ‐                           ‐              ‐                     1703 West 5th Suite 600           Austin        TX       78703
                                                                                        Mood Media Multi Territory Account
                                                                                        Service Agreement




                                                                                                                                        Page 41 of 66
                                                       Case23-90005
                                                      Case  23-90005 Document
                                                                      Document1117-2
                                                                               947-2 Filed
                                                                                     Filed in
                                                                                            in TXSB
                                                                                               TXSB on
                                                                                                    on 04/28/23
                                                                                                       05/12/23 Page
                                                                                                                Page 42
                                                                                                                     169ofof
                                                                                                                           122
                                                                                                                             248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name               Contract ID               Title of Agreement                Cure Amount             503(b)(9)        Notice Name              Address                   City         State     ZIP Code

Party City Corporation     NACM Commercial Services; OXARC M01102               NACM Commercial Services (Oxarc) ‐                          ‐                     ‐                   606 N. Pines Road, Suite 102   Spokane Valley     WA        99206
                           Inc.                                                 PCC ‐ Settlement Agreement


Party City Corporation     Narvar, Inc.                       M03345            Narvar, Inc. ‐ PCC ‐ Change Order to                        ‐                     ‐   Tamara Harvey   3 East Third Avenue Suite        San Mateo        CA        94401
                                                                                Statement of Work 1 dated 3/30/2022                                                                   211


Party City Corporation     Narvar, Inc.                       M01263            Narvar, Inc. ‐ PCC ‐ Renewal Service Order                  ‐                     ‐   Jim Emerich     3 East Third Avenue Suite        San Mateo        CA        94401
                                                                                                                                                                                      211


Party City Corporation     NAVEX Global, Inc.                 M04210            NAVEX Global, Inc. ‐ PCC ‐ Order form                $31,420.84                   ‐   Shone Ramey     5500 Meadows Road               Lake Oswego       OR        97035
                                                                                560924                                                                                                Suite 500


Party City Corporation     NAVEX Global, Inc.                 M01827            NAVEX Global, Inc. ‐ PCC ‐ Order form                       ‐                     ‐   Shone Ramey     5500 Meadows Road               Lake Oswego       OR        97035
                                                                                316454                                                                                                Suite 500


Party City Corporation     NAVEX Global, Inc.                 M01826            NAVEX Global, Inc. ‐ PCC ‐ Master Services                  ‐                     ‐   Shone Ramey     5500 Meadows Road               Lake Oswego       OR        97035
                                                                                Agreement                                                                                             Suite 500


Party City Holdings Inc.   NB Ventures, Inc. (doing business as M01675          NB Ventures, Inc. (doing business as GEP®)                  ‐                     ‐   Binayak         100 Walnut Ave., Suite              Clark          NJ     07066‐1253
                           GEP®)                                                ‐ PCHI ‐ Master Services Agreement and                                                Shrestha        304
                                                                                Statement of Work

Party City Holdings Inc.   NB Ventures, Inc. (doing business as M02614          NB Ventures, Inc dba GEP ‐ PCHI ‐                                 ‐               ‐   Neha Shah       100 Walnut Ave., Suite              Clark          NJ     07066‐1253
                           GEP®)                                                Statement of Work [Accelerated Sourcing                                                               304
                                                                                Program]

Party City Holdings Inc.   NBA                                                  NBA W W except China/HK/ Macau/ Taiwan                $6,013.83                   ‐   Salvatore       645 Fifth Ave                    New York         NY        10022
                                                                                                                                                                      LaRocca


Amscan Inc.                NBA PLAYERS Assoc                                    US poss & Terr,CA Amend 1 chgs terms                  $15,000.00                  ‐   Tamika          1133 Avenue of the               New York         NY        10036
                                                                                                                                                                      Tremaglio       Americas


Amscan Inc.                Nelvana Marketing                  TAF12062          Thomas‐CA only                                              ‐                     ‐   Pam Westman     25 Dockside Drive               Toronto ON       Canada    M5A 0B5




Party City Holdings Inc.   NEST International, Inc.           M01430            NEST International, Inc. ‐ PCHI ‐ Service         $1,000,000.00       $193,355.60     Jason Bishop    550 Crescent Boulevard         Gloucester City     NJ       08030
                                                                                Agreement


Party City Corporation     Network‐Value, Inc.                M05090            Network‐Value, Inc ‐ PCC ‐ Sales Order 5067                 ‐                     ‐   Kevin Szabo     16440 Gateway Path                 Frisco         TX        75033




Party City Holdings Inc.   New Jersey Economic Development M02335               PCHI ‐ NJEDA ‐ Commitment to Defend and                     ‐                     ‐   Carlos Rendo    36 West State Street              Trenton          NJ       08625
                           Authority                                            Indemnify


Party City Holdings Inc.   New Jersey Economic Development M01799               New Jersey Economic Development                             ‐                     ‐   Tom Sullivan    36 West State Street              Trenton          NJ       08625
                           Authority                                            Authority ‐ PCHI ‐ Emerge Letter of Intent




                                                                                                                              Page 42 of 66
                                                       Case23-90005
                                                      Case  23-90005 Document
                                                                      Document1117-2
                                                                               947-2 Filed
                                                                                     Filed in
                                                                                            in TXSB
                                                                                               TXSB on
                                                                                                    on 04/28/23
                                                                                                       05/12/23 Page
                                                                                                                Page 43
                                                                                                                     170ofof
                                                                                                                           122
                                                                                                                             248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name              Contract ID               Title of Agreement                 Cure Amount         503(b)(9)        Notice Name               Address               City         State   ZIP Code

Party City Holdings Inc.   New Jersey Economic Development M04473              NJEDA ‐ PCHI ‐ Community Benefits                            ‐                 ‐   Carlos Rendo     36 West State Street         Trenton          NJ      08625
                           Authority                                           Agreement [Emerge Tax Credit Program]


Party City Corporation     New Paradigm Solutions, Inc. DBA                    Staffing Services                                            ‐                 ‐                    3303 Plaza Drive, Suite 1    New Albany       IN      47150
                           Touchdown Business Solutions


Party City Corporation     Nextdoor, Inc.                     M01174           Nextdoor, Inc. ‐ PCC ‐ Marketing Release                     ‐                 ‐                    875 Stevenson Street         San Francisco    CA      94103
                                                                                                                                                                                   Suite 700


Party City Holdings Inc.   Nextuple, Inc.                     M01740           Nextuple, Inc. ‐ PCHI ‐ Master Services               $25,567.42               ‐   Darpan Seth      1 Elm Sq, Unit 2C            Andover         MA       01810
                                                                               Agreement


Party City Holdings Inc.   Nextuple, Inc.                     M05488           Nextuple, Inc ‐ PCHI ‐ Statement of Work 3                   ‐                 ‐   Darpan Seth      875 Stevenson Street         San Francisco    CA      94103
                                                                               to Master Services Agreement (Fulfillment                                                           Suite 700
                                                                               Studio)

Party City Holdings Inc.   Nextuple, Inc.                     M01649           Nextuple, Inc. ‐ PCHI ‐ Service Order dated                  ‐                 ‐                    875 Stevenson Street         San Francisco    CA      94103
                                                                               4/01/2021                                                                                           Suite 700


Party City Holdings Inc.   NFL USATeams&Superbowl             51029            NFL Teams & Superbowl US only                                ‐                 ‐   Joseph           345 Park Avenue              New York         NY      10154
                                                                                                                                                                  Ruggiero


Party City Holdings Inc.   NHL                                100162           NHL ‐ CA, US                                                 ‐                 ‐   Brian Jennings   1185 Avenue of the           New York         NY      10036
                                                                                                                                                                                   Americas


Party City Corporation     Nicoletti, Diane                   M03143           Diane Nicoletti ‐ PCC ‐ Separation                           ‐                 ‐                    100 Tice Blvd               Woodcliff Lake    NJ      07677
                                                                               Agreement and General Release


Party City Holdings Inc.   Nintendo                                            US/CA/MX/ EMEA/ UAE/AU/NZ                            $171,490.36               ‐   Tom Prata        4600 150th Ave NE            Redmond         WA       98052




Amscan Inc.                Northeast Electric                                  MAINTENANCE                                            $4,262.08               ‐   Legal            35 LARKIN STREET            STAMFORD          CT      06907
                                                                                                                                                                  Department


Amscan Inc.                Northeast Electric                                  MAINTENANCE                                                  ‐                 ‐   Legal            35 LARKIN STREET             Stamford         CT      06907
                                                                                                                                                                  Department


Party City Corporation     NPD Group, Inc.                    M05410           NPD Group, Inc. ‐ PCC ‐ Retail Data Sharing                  ‐                 ‐   Robert Hill      10250 Constellation Blvd,   Los Angeles       CA      90067
                                                                               Agreement                                                                                           Suite 100


Party City Holdings Inc.   NSA Media Group, Inc. d/b/a NSA    M02191           NSA Media Group, Inc. d/b/a NSA Media                        ‐                 ‐   Steven Mueller   2200 Cabot Drive, Suite         Lisle         IL      60532
                           Media                                               ‐ PCHI ‐ Circular Platform Statement of Work                                                        330


Party City Corporation     NTEC Helium, LLC                   M02890           NTEC Helium, LLC (Tacitus) ‐ PCC ‐                    $56,762.94   $110,550.57     Matthew          385 Interlocken Crescent,   Broomfield        NJ      80021
                                                                               Amendment 1 to Helium Supply Agreement                                             Babcock          Suite 400




                                                                                                                              Page 43 of 66
                                                                   Case23-90005
                                                                  Case  23-90005 Document
                                                                                  Document1117-2
                                                                                           947-2 Filed
                                                                                                 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 04/28/23
                                                                                                                   05/12/23 Page
                                                                                                                            Page 44
                                                                                                                                 171ofof
                                                                                                                                       122
                                                                                                                                         248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name           Contract ID                Title of Agreement                 Cure Amount             503(b)(9)    Notice Name              Address                  City        State   ZIP Code

Party City Holdings Inc.             NTEC Helium, LLC                 M02805          NTEC Helium, LLC (Tacitus) ‐ PCHI ‐                           ‐                 ‐   Matthew         385 Interlocken Crescent,      Broomfield       NJ      80021
                                                                                      Helium Supply Agreement                                                             Babcock         Suite 400


Party City Corporation               OB Family Holdings LLC           M02026          OB Family Holdings LLC ‐ PCC ‐ COVID‐19                       ‐                 ‐                   952 School Street, Suite          Napa          CA      94558
                                                                                      Testing Laboratory Services Agreement                                                               258


Party City Corporation               Occupancy Cost Audit Group       M05378          Occupancy Cost Audit Group ‐ PCC ‐                            ‐                 ‐                   27442 Portola Parkway,        Foothill Ranch    CA      92610
                                                                                      Amendment 2 to Services Agreement                                                                   Suite 170


Party City Corporation               Occupancy Cost Audit Group       M05379          Occupancy Cost Audit Group ‐ PCC ‐                            ‐                 ‐                   27442 Portola Parkway,        Foothill Ranch    CA      92610
                                                                                      Amendment 3 to Services Agreement                                                                   Suite 170


Party City Holdings Inc.             Odyssey Logistics & Technology   M05081          Odyssey Logistics & Technology                                ‐                 ‐   Ken Stratton    100 Reserve Road                Danbury         CT      06810
                                     Corporation                                      Corporation ‐ PCHI ‐ Transportation
                                                                                      Agreement

Party City Holdings Inc.             Odyssey Logistics & Technology   M05082          Odyssey Logistics & Technology                                ‐                 ‐   Ken Stratton    100 Reserve Road                Danbury         CT      06810
                                     Corporation                                      Corporation ‐ PCHI ‐ Transportation
                                                                                      Agreement Addendum 1

Party City Holdings Inc.; Party Ci   O'Malley, Ryan                   M03301          Ryan O'Malley ‐ PCHI ‐ Party City Holdco Inc.                 ‐                 ‐                   100 Tice Blvd                Woodcliff Lake     NJ      07677
                                                                                      ‐ CIC Severance Agreement


Party City Holdings Inc.             On Target Staffing LLC           M02243          On Target Staffing LLC ‐ PCHI ‐ Agency                        ‐                 ‐                   2050 Route 27, Suite 103     North Brunswick    NJ      08902
                                                                                      Agreement


Party City Holdings Inc.             On Target Staffing LLC           M04479          On Target Staffing LLC ‐ PCHI ‐ Temporary                     ‐                 ‐   Roy James,      2050 NJ‐27 Suite 103         North Brunswick    NJ      08902
                                                                                      Employee Staffing Agreement and                                                     Sayra Devito,
                                                                                      Statement of Work                                                                   Heather
                                                                                                                                                                          Bellucci Bill
Party City Corporation               One Trust                        M04180          OneTrust LLC ‐ PCC ‐ Order Form Q‐ 294371                     ‐                 ‐   Madeline Cook   1200 Abernathy Rd NE             Atlanta        GA      30328
                                                                                      [CCPA Management]                                                                                   Bldg 600


Party City Corporation               OneLogin, Inc.                   M05083            OneLogin, Inc. ‐ PCC ‐ Statement of Work                    ‐                 ‐   Oscar           848 Battery Street            San Francisco     CA      94111
                                                                                                                                                                          Rodriguez


Amscan Inc.                          Open Text Inc                    M05991          Liason ‐ EDI*Net Services Agreement, Term               $4,153.80               ‐                   2950 S Delaware St., Suite     San Mateo        CA      94403
                                                                                      Software License Agreement with Terms                                                               400
                                                                                      and Conditions

Amscan Inc.                          Open Text Inc                    M05992          Liason Amendment 2 to EDI*Net Services                        ‐                 ‐                   2950 S Delaware St., Suite     San Mateo        CA      94403
                                                                                      Agreement                                                                                           400


Amscan Inc.                          Open Text Inc                    M06006          Open Text Inc ‐ Amscan ‐ TrustedLink                                ‐           ‐                   2950 S Delaware St., Suite     San Mateo        CA      94403
                                                                                      iSeries Translator Software license Order                                                           400
                                                                                      Form

Party City Holdings Inc.             Optimum                          M04152          Optimum ‐ PCHI ‐ Work Order 96479838                          ‐                 ‐                   100 Greyrock Place              Stamford        CT      06901
                                                                                      [Tice ‐ Backup to Backup Circuit]                                                                   Stamford Town Center Mall,
                                                                                                                                                                                          3rd Floor




                                                                                                                                      Page 44 of 66
                                                                   Case23-90005
                                                                  Case  23-90005 Document
                                                                                  Document1117-2
                                                                                           947-2 Filed
                                                                                                 Filed in
                                                                                                        in TXSB
                                                                                                           TXSB on
                                                                                                                on 04/28/23
                                                                                                                   05/12/23 Page
                                                                                                                            Page 45
                                                                                                                                 172ofof
                                                                                                                                       122
                                                                                                                                         248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name            Contract ID               Title of Agreement              Cure Amount         503(b)(9)    Notice Name             Address                 City        State   ZIP Code

Party City Holdings Inc.           Optimum                           M04153          Optimum ‐ PCHI ‐ Work Order 96479955                      ‐             ‐                  100 Greyrock Place              Stamford       CT      06901
                                                                                     [Tice ‐ POG Room]                                                                          Stamford Town Center Mall,
                                                                                                                                                                                3rd Floor

Party City Holdings Inc.           Oracle America, Inc.              M01924          Oracle America, Inc ‐ PCHI ‐ Ordering              $56,762.00           ‐                  500 Oracle Parkway           Redwood Shores    CA      94065
                                                                                     Document


Party City Corporation             OrgChartNow                                                                                                 ‐             ‐                  One ADP Blvd                    Roseland       NJ      07068




Party City Corporation             Papyrus‐Recycled Greetings, Inc   M05400          Papyrus‐Recycled Greetings, Inc ‐ PCC ‐             $3,827.20           ‐                  One American Boulevard          Cleveland      OH      44145
                                                                                     SBT Supply Agreement as of May 27, 2019


Party City Corporation             Parcel Pending                    M05472          Parcel Pending ‐ PCC ‐ Statement of Work                  ‐             ‐   Lori Torres    1 Vanderbilt                     Irvine        CA      92618




Party City Holdings Inc.           Park MGM, LLC dba Park MGM Las    M03266          Park MGM, LLC dba Park MGM Las Vegas ‐                    ‐             ‐   April Black‐   3770 Las Vegas Blvd S           Las Vegas      NV      89109
                                   Vegas                                             PCHI ‐ Catering Contract                                                    Kreft


Party City Corporation             Party City Corporation            M03283          Party City Store 959 Closing ‐ Severance                  ‐             ‐                  100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                     Agreements


Party City Holdco Inc.             Party City Holdco Inc.            M05482          Pumpkin II ‐ Cash Retention Agreement                     ‐             ‐                  100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                     [ELT]


Party City Holdco Inc.             Party City Holdco Inc.            M05483          Pumpkin II ‐ Cash Retention Agreement                     ‐             ‐                  100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                     [Other]


Party City Holdings Inc.           Party City Holdings Inc.          M04883          Finance Transformation Severance                          ‐             ‐                  100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                     Agreements 2022


Amscan Inc.; Party City Corporat   Party City Holdings Inc.          M04711          RIF 2022 Severance Agreements                             ‐             ‐                  100 Tice Blvd                Woodcliff Lake    NJ      07677




Party City Holdings Inc.           Party City Holdings Inc.          M05120          Party City ‐ Data Privacy Agreement                       ‐             ‐                  N/A                               N/A         N/A       N/A
                                                                                     (Suppliers for 2023 New Privacy Laws)


Party City Corporation             Party City North                  M00592          Franchise Agreement with Party City North                 ‐             ‐   Don Abston     20515 Wind Ridge Lane            Spring        TX      77379
                                                                                     dated 10/05/2012


Party City Corporation             Party City of Arkansas, Inc.      M00492          Franchise Agreement with Party City of                    ‐             ‐   Warren         2024 Arkansas Valley           Little Rock     AR      72212
                                                                                     Arkansas, Inc. dated 02/01/2019                                             Stephenson     Drive Suite 807


Party City Corporation             Party City of Arkansas, Inc.      M00528          Franchise Agreement with Party City of                    ‐             ‐   Warren         2024 Arkansas Valley           Little Rock     AR      72212
                                                                                     Arkansas, Inc. dated 07/17/2012                                             Stephenson     Drive, Suite 807




                                                                                                                                 Page 45 of 66
                                                               Case23-90005
                                                              Case  23-90005 Document
                                                                              Document1117-2
                                                                                       947-2 Filed
                                                                                             Filed in
                                                                                                    in TXSB
                                                                                                       TXSB on
                                                                                                            on 04/28/23
                                                                                                               05/12/23 Page
                                                                                                                        Page 46
                                                                                                                             173ofof
                                                                                                                                   122
                                                                                                                                     248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


           Debtor Name             Counterparty Name               Contract ID              Title of Agreement            Cure Amount       503(b)(9)    Notice Name                Address              City        State   ZIP Code

  Party City Corporation   Party City of Arkansas, Inc.          M00493          Franchise Agreement with Party City of                 ‐           ‐   Warren            2024 Arkansas Valley        Little Rock     AR      72212
                                                                                 Arkansas, Inc. dated 07/20/2015                                        Stephenson        Drive, Suite 807


  Party City Corporation   Party City of Arkansas, Inc.          M00570          Franchise Agreement with Party City of                 ‐           ‐   Warren            2024 Arkansas Valley        Little Rock     AR      72212
                                                                                 Arkansas, Inc. dated 08/18/2014                                        Stephenson        Drive, Suite 807


  Party City Corporation   Party City of Arkansas, Inc.          M00571          Franchise Agreement with Party City of                 ‐           ‐   Warren            2024 Arkansas Valley        Little Rock     AR      72212
                                                                                 Arkansas, Inc. dated 08/18/2014                                        Stephenson        Drive, Suite 807


  Party City Corporation   Party City of Carmel Mountain,        M00533          Franchise Agreement with Party City of                 ‐           ‐   Jason Craig       9760 Birch Canyon Place     San Diego       CA      92126
                           Inc.                                                  Carmel Mountain, Inc. dated 09/26/2012


  Party City Corporation   Party City of Charleston, Inc.        M00569          Franchise Agreement with Party City of                 ‐           ‐   Michael Zaifert   467 Santee Drive              Santee        SC      29142
                                                                                 Charleston, Inc. dated 02/01/2022


  Party City Corporation   Party City of Chesterfield, Inc.      M00598          Franchise Agreement with Party City of                 ‐           ‐   Steven Fram       9130 West Broad Street      Richmond        VA      23924
                                                                                 Chesterfield, Inc. dated 07/11/2021


  Party City Corporation   Party City of Clairemont, Inc.        M00534          Franchise Agreement with Party City of                 ‐           ‐   Jason Craig       9760 Birch Canyon Place     San Diego       CA      92126
                                                                                 Clairemont, Inc. dated 04/21/2014


  Party City Corporation   Party City of Hawaii, Inc.            M00627          Franchise Agreement with Party City of                 ‐           ‐   Kwok‐Wing         94‐799 Lumiaina Street,      Waipahu        HI      96797
                                                                                 Hawaii, Inc. dated 08/28/2019                                          Shum              Suite C


  Party City Corporation   Party City of Hawaii, Inc.            M00551          Franchise Agreement with Party City of                 ‐           ‐   Kwok‐Wing         94‐799 Lumiaina Street,      Waipahu        HI      96797
                                                                                 Hawaii, Inc. dated 09/27/2020                                          Shum              Suite C


  Party City Corporation   Party City of Jacksonville, Inc.      M00549          Franchise Agreement with Party City of                 ‐           ‐   Dana Zaifert      1027 W. Dorchester Drive     St. Johns      FL      32259
                                                                                 Jacksonville, Inc. dated 07/14/2013


  Party City Corporation   Party City of Jacksonville, Inc.      M00547          Franchise Agreement with Party City of                 ‐           ‐   Dana Zaifert      1027 W. Dorchester Drive     St. Johns      FL      32259
                                                                                 Jacksonville, Inc. dated 07/29/2020


  Party City Corporation   Party City of Jacksonville, Inc.      M00548          Franchise Agreement with Party City of                 ‐           ‐   Dana Zaifert      1027 W. Dorchester Drive     St. Johns      FL      32259
                                                                                 Jacksonville, Inc. dated 11/01/2015


  Party City Corporation   Party City of Portland, Inc.          M00564          Franchise Agreement with Party City of                 ‐           ‐   Joe Haberthur     18611 NE 113th Street      Battle Ground   WA       98604
                                                                                 Portland, Inc. dated 10/30/2018


  Party City Corporation   Party City of Puerto Rico, Inc.       M00566          Franchise Agreement with Party City of                 ‐           ‐   Aileen Amieiro    C‐22 Caparra Office         Guaynabo        PR      00968
                                                                                 Puerto Rico, Inc. dated 02/23/2018                                                       Center, Suite 226,
                                                                                                                                                                          Gonzalez Giusti Avenue

  Party City Corporation   Party City of Puerto Rico, Inc.       M00568          Franchise Agreement with Party City of                 ‐           ‐   Aileen Amieiro    C‐22 Caparra Office         Guaynabo        PR      00968
                                                                                 Puerto Rico, Inc. dated 05/25/2019                                                       Center, Suite 226,
                                                                                                                                                                          Gonzalez Giusti Avenue




                                                                                                                          Page 46 of 66
                                                              Case23-90005
                                                             Case  23-90005 Document
                                                                             Document1117-2
                                                                                      947-2 Filed
                                                                                            Filed in
                                                                                                   in TXSB
                                                                                                      TXSB on
                                                                                                           on 04/28/23
                                                                                                              05/12/23 Page
                                                                                                                       Page 47
                                                                                                                            174ofof
                                                                                                                                  122
                                                                                                                                    248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


           Debtor Name            Counterparty Name               Contract ID               Title of Agreement                 Cure Amount       503(b)(9)    Notice Name                Address              City        State   ZIP Code

  Party City Corporation   Party City of Puerto Rico, Inc.      M00567          Franchise Agreement with Party City of                       ‐           ‐   Aileen Amieiro    C‐22 Caparra Office         Guaynabo        PR      00968
                                                                                Puerto Rico, Inc. dated 06/18/2019                                                             Center, Suite 226,
                                                                                                                                                                               Gonzalez Giusti Avenue

  Party City Corporation   Party City of Puerto Rico, Inc.      M00629          Franchise Agreement with Party City of                       ‐           ‐   Aileen Amieiro    C‐22 Caparra Office         Guaynabo        PR      00968
                                                                                Puerto Rico, Inc. dated 09/26/2020                                                             Center, Suite 226,
                                                                                                                                                                               Gonzalez Giusti Avenue

  Party City Corporation   Party City of Puerto Rico, Inc.      M00628          Franchise Agreement with Party City of                       ‐           ‐   Aileen Amieiro    C‐22 Caparra Office         Guaynabo        PR      00968
                                                                                Puerto Rico, Inc. dated 10/29/2019                                                             Center, Suite 226,
                                                                                                                                                                               Gonzalez Giusti Avenue

  Party City Corporation   Party City of Richmond, Inc.         M00597          Franchise Agreement with Party City of                       ‐           ‐   Steve Fram        829 Lachlan Road          Manakin Sabot     VA      23103
                                                                                Richmond, Inc. dated 08/12/2019


  Party City Corporation   Party City of Savannah, Inc.         M00550          Franchise Agreement with Party City of                       ‐           ‐   Michael Zaifert   467 Santee Drive              Santee        SC      29142
                                                                                Savannah, Inc. dated 05/01/2019


  Party City Corporation   Party City of Temecula, Inc.         M00535          Franchise Agreement with Party City of                       ‐           ‐   Jason Craig       9760 Birch Canyon Place     San Diego       CA      92126
                                                                                Temecula, Inc. dated 08/11/2014


  Party City Corporation   Party City of Vancouver, Inc.        M00599          Franchise Agreement with Party City of                       ‐           ‐   Joseph            605 SE Chkalov Drive,       Vancouver      WA       98684
                                                                                Vancouver, Inc. dated 02/12/2016                                             Haberthur         Suite 106


  Party City Corporation   Party City Store Closing             M05459          Party City Store #1055 Closing ‐                             ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Columbia, SC ‐ Severance Agreements


  Party City Corporation   Party City Store Closing             M02480          Party City Store #1076 Closing ‐ Tulsa, OK ‐                 ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Severance Agreements


  Party City Corporation   Party City Store Closing             M05484          Party City Store #1094 Closing ‐                             ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Nottingham, MD ‐ Severance Agreements


  Party City Corporation   Party City Store Closing             M04148          Party City Store #1120 Closing ‐ Salina, KS                  ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677




  Party City Corporation   Party City Store Closing             M03895          Party City Store #465 Closing ‐                              ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Marysville, WA ‐ Severance Agreements


  Party City Corporation   Party City Store Closing             M05485          Party City Store #5226 Closing ‐                             ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Richmond, IN ‐ Severance Agreements


  Party City Corporation   Party City Store Closing             M05458          Party City Store #685 Closing ‐                              ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Carbondale, IL ‐ Severance Agreements


  Party City Corporation   Party City Store Closing             M03542          Party City Store #847 Closing ‐ Severance                    ‐           ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                                Agreements




                                                                                                                               Page 47 of 66
                                                                    Case23-90005
                                                                   Case  23-90005 Document
                                                                                   Document1117-2
                                                                                            947-2 Filed
                                                                                                  Filed in
                                                                                                         in TXSB
                                                                                                            TXSB on
                                                                                                                 on 04/28/23
                                                                                                                    05/12/23 Page
                                                                                                                             Page 48
                                                                                                                                  175ofof
                                                                                                                                        122
                                                                                                                                          248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                        Counterparty Name          Contract ID               Title of Agreement                   Cure Amount         503(b)(9)    Notice Name                Address               City         State    ZIP Code

Party City Corporation               Party Supply Depot, Inc.         M00554          Franchise Agreement with Party Supply                          ‐             ‐   Alice Harrigill   177 Sundown Road              Madison         MS       39110
                                                                                      Depot, Inc. dated 03/22/2019


Party City Corporation               Paymentech, LLC                  M05444          Paymentech ‐ JP Morgan Chase NA ‐ PCC                          ‐             ‐   Jim Irish         8181 Communications Pkwy       Plano          TX       75024
                                                                                      ‐ Referral Agreement


Party City Holdings Inc.             PCSTrac                          M05821          PCSTrac ‐ PCHI ‐ Software Maintenance and                      ‐             ‐   Chandra Allred    4250 Wissahickon Avenue     Philadelphia      PA       19129
                                                                                      Hosting Maintenance Agreement


Party City Corporation               PDQ                                                                                                             ‐             ‐                     2200 S Main St STE 200     South Salt Lake    UT       84115




Party City Holdings Inc.             Peerfit, Inc.                    M05058          Peerfit, Inc ‐ PCHI ‐ Peerfit Select Provision                 ‐             ‐   Emma Maurer       1060 Woodcock Rd Ste          Orlando         FL       32803
                                                                                      Agreement                                                                                          128


Party City Holdings Inc.             Peerfit, Inc.                                    Wellness benefit introduced this plan year                     ‐             ‐   Quantum           7450 Huntington Park         Columbus         OH     43235‐4658
                                                                                                                                                                       Health Benefits   Drive


Party City Holdings Inc.             PeopleReady, Inc.                M04440          PeopleReady, Inc ‐ PCHI ‐ Temporary                     $82,372.24           ‐                     1015 A Street                 Tacoma         WA        98402
                                                                                      Employee Staffing Agreement and
                                                                                      Statement of Work (TrueBlue)

Party City Corporation               Perfetti Van Melle USA Inc.      M05092          Perfetti Van Melle ‐ PCC ‐ 2021 Rebate                         ‐             ‐   Juven Najera      3645 Turfway Road             Erlanger        KY       41018
                                                                                      Contract


Party City Holdings Inc.             PHCS / Multiplan                                 Provide PHCS services for the Freedom                          ‐             ‐   HSA Bank          1515 North River Center      Milwaukee        WI       53212
                                                                                      Plans                                                                                              Drive, Suite 235


Party City Holdings Inc.             Philips, Kim                     M05052          Kimberly Philips ‐ PCHI ‐ Offer Letter                         ‐             ‐   N/A               N/A                             N/A          N/A        N/A
                                                                                      (Part‐Time Sr Paralegal)


Party City Corporation               Pinstripe Bowl, LLC              M02278          Pinstripe Bowl, LLC ‐ PCC ‐ Sponsorship                        ‐             ‐   Lonn A. Trost     Yankee Stadium One East        Bronx          NY       10451
                                                                                      Agreement                                                                                          161st Street


Amscan Inc.                          Pitney Bowes                                     LEASE‐63 months                                           $121.95            ‐   Goldstein,        3001 Summar Street           Stamford         CT       06926
                                                                                                                                                                       Daniel J.


Party City Holdings Inc.; Party Ci   Plesa, Ed                        M03304          Ed Plese ‐ PCHI ‐ Party City Holdco Inc. ‐                     ‐             ‐                     100 Tice Blvd              Woodcliff Lake     NJ       07677
                                                                                      CIC Severance Agreement


Party City Corporation               PluralSight, Inc.                M04597          PluralSight, Inc. ‐ PCC ‐ Sales Order Q‐                 $2,535.00           ‐   Daniel Grief      42 Future Way                  Draper         UT       84020
                                                                                      657233 (Renewal)


Party City Corporation               PluralSight, Inc.                M01172          PluralSight, Inc. ‐ PCC ‐ Sales Order                          ‐             ‐   Al Resh           42 Future Way                  Draper         UT       84020




                                                                                                                                       Page 48 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 49
                                                                                                                        176ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name           Contract ID                Title of Agreement               Cure Amount               503(b)(9)    Notice Name              Address               City        State    ZIP Code

Party City Corporation     PODS ENTERPRISES, LLC                            Storage Agreement                                    $600,000.00                ‐   Corporate       5585 Rio Vista Drive         Clearwater      FL       33760
                                                                                                                                                                Accounts


Party City Holdings Inc.   Portier, LLC                     M05645          Portier, LLC (Uber) ‐ PCHI ‐ eCommerce                              ‐           ‐                   1515 3rd Street             San Francisco    CA       94158
                                                                            Merchant Agreement


Party City Corporation     PowerReviews, Inc.               M03020          PowerReviews, Inc ‐ PCC ‐ Service Order               $13,976.88                ‐   Mark Dillon     1 North Dearborn Street       Chicago        IL       60602
                                                                            Number Q‐09438                                                                                      Suite 800


Party City Corporation     PowerReviews, Inc.               M04474          PowerReviews, Inc ‐ PCC ‐ Service Order                      ‐                  ‐   Giuliana        1 North Dearborn Street       Chicago        IL       60602
                                                                            Number Q‐10693                                                                      Summer          Suite 800


Party City Corporation     Prawdzik, Krzysztof              M02481          Krzysztof Prawdzik ‐ PCC ‐ Consulting                               ‐           ‐   Prawdzik,       21 Monroe St.                Little Ferry    NJ       07643
                                                                            Agreement                                                                           Krzysztof


Party City Holdings Inc.   PRAXAIR DISTRIBUTION INC                         PRAXAIR DISTRIBUTION INC Supply                              ‐                  ‐   Abhijeet        10 Riverview Drive            Danbury        CT     06810‐6268
                                                                            Agreement                                                                           Parmar


Party City Holdings Inc.   Products Up                      M04531          Products Up ‐ PCHI ‐ Master Services                    $7,741.94               ‐   Stefan Ahrens   54 W 40th Street             New York        NY       10018
                                                                            Agreement and Order Form


Party City Corporation     Profound Logic Software Inc      M05990          Custom Software Development Agreeme                          ‐                  ‐                   396 Congress Park Drive      Centerville     OH       45459




Party City Corporation     Progressive Properties Inc.      M02423          Progressive Properties Inc. ‐ PCC ‐                          ‐                  ‐   Robert          6301 Indiana Avenue           Lubbock        TX       79413
                                                                            Settlement and Release Agreement                                                    Carrugino


Party City Corporation     Progyny                                          Fertility Benefits                                           ‐                  ‐   Attn: Legal     1359 Broadway                New York        NY       10018
                                                                                                                                                                Dept


Party City Holdings Inc.   Progyny                                          Provide fertility and adoption services for                  ‐                  ‐   Benefit         245 Kenneth Drive            Rochester       NY       10423
                                                                            plan participants                                                                   Resource Inc


Party City Corporation     Protection 1                     M05336          Protection 1 ‐ PCC ‐ Amendment to             $52,346.8217,039.90               ‐   Jim Devries     2505 S Finley Road, Suite     Lombard        IL       60148
                                                                            Commercial Schedule of Protection                                                                   240
                                                                            Proposal and Sales Agreement

Party City Corporation     PrudentRX LLC                                    Provides discounts on prescription                      $4,473.43               ‐   Attn: Legal     3820 Northdale                 Tampa         FL       33624
                                                                            medications                                                                         Dept            Boulevard, Suite 311A


Party City Holdings Inc.   PrudentRX LLC                                    Provides discounts on prescription                           ‐                  ‐   Attn: Legal     3820 Northdale                 Tampa         FL       33624
                                                                            medications                                                                         Dept            Boulevard, Suite 311A


Amscan Inc.                Pryor Learning Solutions         M05437          Pryor Learning Solitions ‐ Amscan ‐                   $23,155.76                ‐   Jennifer        5700 Broadmoor Street,        Mission        KS       66202
                                                                            Scope of Work & Agreement [eLearning]                                               Williamson      Suite 300




                                                                                                                           Page 49 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 50
                                                                                                                         177ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name            Contract ID               Title of Agreement                 Cure Amount             503(b)(9)    Notice Name                  Address               City          State    ZIP Code

Amscan Inc.                Quad/Graphics Inc.                M05113          Quad/Graphics Inc. ‐ Amscan ‐                         $40,580.00               ‐   David              N61 W23044 Harry's Way         Sussex           WI       53089
                                                                             Statement of Work                                                                  Needham


Amscan Inc.                Quad/Graphics Inc.                M05112          Quad/Graphics Inc. ‐ Amscan ‐ Master                         ‐                 ‐   David              N61 W23044 Harry's Way         Sussex           WI       53089
                                                                             Services Agreement                                                                 Needham


Amscan Inc.                Quad/Graphics Inc.                                Onsite services for marketing, photo                               ‐           ‐        David         N61 W23044 Harry's Way         Sussex           WI       53089
                                                                             retouching, etc.                                                                      Needham


Amscan Inc.                Quadient( Old Meter)                              LEASE‐63 months                                              ‐                 ‐   Legal              1 Pennsylvania Plaza         New York           NY       10119
                                                                                                                                                                Department


Party City Holdings Inc.   Quantum Health Benefits           M05433          Quantum Health Benefits ‐ PCHI ‐                             ‐                 ‐   Scott Doolittle    7450 Huntington Park         Columbus           OH     43235‐4658
                                                                             Master Service Agreement                                                                              Drive


Party City Holdings Inc.   Quantum Health Benefits                           Provide Concierge Services for Benefit Plans                 ‐                 ‐   Aetna              PO Box 67103                 Harrisburg         PA       17106




Amscan Inc.                Quench                                            LEASE                                                        ‐                 ‐                      780 5th Avenue, Ste 200      King of Prussia    PA       19406
                                                                                                                                                                Miller, Brian A.


Amscan Inc.                Quincy Compressor LLC             M04207          Quincy Compressor LLC ‐ Amscan ‐                             ‐                 ‐   Colin Barrett      19 Chapin Rd. Unit D         Pine Brook         NJ       07058
                                                                             Quote for Parts 63210467


Amscan Inc.                Quincy Compressor LLC             M03344          Quincy Compressor LLC ‐ Amscan ‐ 2022 GP                     ‐                 ‐   Robert             19 Chapin Rd. Unit D         Pine Brook         NJ       07058
                                                                             Renewal Agreement 58461306                                                         Lamanna


Party City Corporation     Quorso US, Inc.                   M03793          Quorso US Inc ‐ PCC ‐ Order Form                             ‐                 ‐   Chris              413 W 14th Street            New York           NY       10014
                                                                                                                                                                Richardson


Party City Holdings Inc.   R Systems International Ltd.      M02616          R Systems International Ltd ‐ PCHI ‐                 $116,480.00               ‐   Mandeep Sodhi      C‐40, Sector 59, Noida       Noida UP          India    201307
                                                                             Master Services Agreement


Amscan Inc.                Rackspace US, Inc.                M04678          Rackspace US, Inc ‐ Amscan ‐ Term Renewal                    ‐                 ‐   Kevin M. Jones     1 Fanatical Place, City of    San Antonio       TX       78218
                                                                             Agreement 699091                                                                                      Windcrest


Party City Corporation     Rakuten Commerce, LLC             M02247          Rakuten Commerce, LLC ‐ PCC ‐                                ‐                 ‐   Cynthia Lee        800 Concar Dr, Suite 175     San Mateo          CA       94402
                                                                             Marketplace Seller Agreement


Amscan Inc.                Ramblin Corp. and Donco Paper     M05194          Ramblin Corp & Donco Papers ‐ Deco ‐                         ‐                 ‐                      737 N. Michigan Ave,          Chicago           IL       60611
                                                                             Addendums 1 and 3                                                                                     Suite 1450


Party City Corporation     Ramp Systems Inc                  M05719          Software License Agreeement                                  ‐                 ‐   Brian Mozhdehi     630 Pugh Road                  Wayne            PA       19087




                                                                                                                            Page 50 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 51
                                                                                                                         178ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name               Contract ID               Title of Agreement                 Cure Amount         503(b)(9)    Notice Name               Address                 City         State   ZIP Code

Party City Corporation     Ramp Systems Inc                                                                                                  ‐             ‐   Brian Mozhdehi   630 Pugh Rd                     Wayne           PA      19087




Party City Corporation     Randstad/Risesmart                                                                                                ‐             ‐                    42 Memorial Plaza              Pleasantville    NY      10570




Amscan Inc.                Rasta Imposta                                        Hot Dog/Bannana ‐Worldwide                                   ‐             ‐   Robert Berman    600 E. Clements Bridge Road    Runnemede        NJ      08078




Amscan Inc.                Raymond Leasing                                      Raymond Leasing‐‐‐ Lease # 3046835RES ‐                $4,323.61           ‐   Legal            P.O. Box 203905                Houston          TX      77216
                                                                                1 Swing Reach Lift Truck                                                       Department


Amscan Inc.                Raymond Leasing                                      Raymond Leasing ‐‐ Lease # 3046833RES                 $49,776.79           ‐   Legal            P.O. Box 203905                Houston          TX      77216
                                                                                ‐ 2 Stock Picker Lift Trucks                                                   Department


Party City Holdings Inc.   Red Bull North America, Inc.        M04364           Red Bull North America, Inc ‐ PCHI ‐                   $1,981.70           ‐   Marc             1630 Stewart Street           Santa Monica      CA      90404
                                                                                Merchandiser Agreement                                                         Rosenmayr


Amscan Inc.                Red Hawk Fire & Security NY, LLC.   M05397           Red Hawk Fire & Security NY, LLC. ‐                          ‐             ‐   John Walsh       6 Skyline Drive               Hawthorne         NY      10532
                                                                                Amscan ‐ Fire Alarm System Inspection &
                                                                                Service Agreement

Party City Corporation     REDHAT INC                                                                                                        ‐             ‐                    100 East Davie Street           Raleigh         NC      27601
                                                                                                                                                               Cunningham,
                                                                                                                                                               Michael R.

Party City Corporation     Relex Solutions Inc                                                                                               ‐             ‐   Johan Haataja    1201 Peachtree Street NE        Atlanta         GA      30361
                                                                                Master Services Agreement dated
                                                                                December 13, 2017, Addendum to the
                                                                                Master Service Agreement dated December
                                                                                19, 2019 and associated Order Forms by
                                                                                and between Party City Holdings Inc., along
                                                                                with its affiliated and subsidiary entities,
                                                                                (collectively, “Party City”) and Retail
                                                                                Logistics Excellence – Relex OY


Party City Corporation     Acumera, Inc. f/k.a Reliant Security, M01566         Reliant Info Security, Inc. ‐ PCC ‐ Master                   ‐             ‐   Richard          450 7th Avenue, Suite 503     New York          NY      10123
                           Inc. (fka Reliant Info Security, Inc)                Services Agreement                                                             Newman


Party City Corporation     Acumera, Inc. f/k/a Reliant Security, M01916         Reliant Security, Inc ‐ PCC ‐ 2022 Renewal                   ‐             ‐   Mark Weiner      450 7th Avenue, Suite 503     New York          NY      10123
                           Inc. (fka Reliant Info Security, Inc)                Statement of Works [Reliant Platform
                                                                                SAAS & Managed Security
                                                                                Services]
Party City Corporation     Acumera, Inc. f/k/a Reliant Security, M02552         Reliant Security, Inc ‐ PCC ‐ Headquarters                   ‐             ‐   Richard          450 7th Avenue, Suite 503     New York          NY      10123
                           Inc. (fka Reliant Info Security, Inc)                and Data Center Migration Statement of                                         Newman
                                                                                Work

Party City Corporation     Remedy                                               SOW                                                          ‐             ‐   Attn: Legal      234 West Florida Street,      Milwaukee         WI      53204
                                                                                                                                                               Dept             #150


Party City Holdings Inc.   Remedy Analytics                                     Provides audit and rebates for Prescription                  ‐             ‐   Standard         1100 Southwest 6th Ave         Portland         OR      97204
                                                                                drug plans                                                                     Insurance
                                                                                                                                                               Company

Party City Holdings Inc.   Resorts World Las Vegas LLC         M02607           Resorts World Las Vegas LLC ‐ PCHI ‐                         ‐             ‐                    3000 South Las Vegas          Las Vegas         NV      89109
                                                                                Purchase Order Terms and Conditions
                                                                                                                               Page 51 of 66
                         Case23-90005
                        Case  23-90005 Document
                                        Document1117-2
                                                 947-2 Filed
                                                       Filed in
                                                              in TXSB
                                                                 TXSB on
                                                                      on 04/28/23
                                                                         05/12/23 Page
                                                                                  Page 52
                                                                                       179ofof
                                                                                             122
                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023

                                                                                  Boulevard,




                                                          Page 52 of 66
                                                                Case23-90005
                                                               Case  23-90005 Document
                                                                               Document1117-2
                                                                                        947-2 Filed
                                                                                              Filed in
                                                                                                     in TXSB
                                                                                                        TXSB on
                                                                                                             on 04/28/23
                                                                                                                05/12/23 Page
                                                                                                                         Page 53
                                                                                                                              180ofof
                                                                                                                                    122
                                                                                                                                      248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name                Contract ID               Title of Agreement                  Cure Amount             503(b)(9)    Notice Name                  Address               City      State     ZIP Code

Amscan Inc.; Party City Corporat   Retail Logistics Excellence ‐ RELEX Oy M01621         Retail Logistics Excellence ‐ RELEX Oy ‐                      ‐                 ‐   Johan Haataja      Postintaival 7                 Helsinki    Finland    00230
                                                                                         PCC ‐ Order Form dated 12/10/2020


Party City Corporation             Retail Logistics Excellence ‐ RELEX Oy M05147         Retail Logistics Excellence ‐ RELEX Oy ‐                      ‐                 ‐   Johan Haataja      Postintaival 7                 Helsinki    Finland    00230
                                                                                         PCC ‐ Addendum to MSA 12.13.2019


Party City Corporation             Retail Logistics Excellence ‐ RELEX Oy M05441         Retail Logistics Excellence ‐ Relex Oy ‐                      ‐                 ‐   Johan Haataja      Postintaival 7                 Helsinki    Finland    00230
                                                                                         PCC ‐ Service Agreement


Party City Holdings Inc.           Retransform                          M05275           Retransform ‐ PCHI ‐ Lease Abstraction                        ‐                 ‐   Lynn Peters        6330 LBJ Freeway Suite          Dallas       TX       75240
                                                                                         Proposal (Phase 1)                                                                                     234‐A


Party City Corporation             RGIS, LLC                            M02836           RGIS, LLC ‐ PCC ‐ Statement of Work 4                         ‐                 ‐   Richard Baxter     33 East 33rd Street, #9        New York      NY       10016




Party City Holdings Inc.           RI‐2 LLC dba RedIron                 M03276           RedIron ‐ PCHI ‐ Statement of Work 1                   $20,000.00               ‐   Herb Cline         42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                         (Hosting)                                                                                              100


Party City Holdings Inc.           RI‐2 LLC dba RedIron                 M03280           RedIron ‐ PCHI ‐ Service Level Agreement                      ‐                 ‐   Herb Cline         42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                                                                                                                                100


Party City Corporation             RI‐2 LLC dba RedIron                 M05279           RI‐2 LLC (RedIron) ‐ PCC ‐ Statement of                       ‐                 ‐   Blair L. Welsh     42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                         Work [EMV Contactless with Genius 2]                                                                   100


Party City Holdings Inc.           RI‐2 LLC dba RedIron                 M03275           RedIron ‐ PCHI ‐ Master Services Agreement                    ‐                 ‐   Herb Cline         42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                                                                                                                                100


Party City Holdings Inc.           RI‐2 LLC dba RedIron                 M03277           RedIron ‐ PCHI ‐ Statement of Work 2                          ‐                 ‐   Herb Cline         42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                         (Managed Services)                                                                                     100


Party City Corporation             RI‐2 LLC dba RedIron                 M01006           RI‐2 LLC (RedIron) ‐ PCC ‐ Master Services                    ‐                 ‐   Herbert C. Cline   42 Fletcher Hill Lane, Suite    Groton      MA        01450
                                                                                         Agreement 05012020 [Managed Services                                                                   100
                                                                                         Support]

Party City Corporation             RI‐2 LLC dba RedIron                 M02451           RI‐2 LLC dba RedIron ‐ PCC ‐ Automation of                          ‐           ‐   Legal              42 Fletcher Hill Lane, Ste      Groton      MA        01450
                                                                                         RNET database RMAN backups and                                                      Department         100
                                                                                         Installation of Splunk Statement of Work

Party City Holdings Inc.           RIM LOGISTICS LTD                                     RIM LOGISTICS LTD Supply Agreement                    $299,687.00               ‐                      200 GARY AVENUE                ROSELLE       IL       60172




Party City Corporation             Rimini Street, Inc.                  M01372           Rimini Street, Inc. ‐ PCC ‐ Statement of Work                 ‐                 ‐   Seth A. Ravin      3993 Howard Hughes             Las Vegas     NV       89169
                                                                                         03                                                                                                     Parkway, Suite 500


Party City Corporation             Rimini Street, Inc.                  M01369           Rimini Street, Inc. ‐ PCC ‐ Master Services                   ‐                 ‐   Seth A. Ravin      3993 Howard Hughes             Las Vegas     NV       89169
                                                                                         Agreement                                                                                              Parkway, Suite 500




                                                                                                                                         Page 53 of 66
                                                       Case23-90005
                                                      Case  23-90005 Document
                                                                      Document1117-2
                                                                               947-2 Filed
                                                                                     Filed in
                                                                                            in TXSB
                                                                                               TXSB on
                                                                                                    on 04/28/23
                                                                                                       05/12/23 Page
                                                                                                                Page 54
                                                                                                                     181ofof
                                                                                                                           122
                                                                                                                             248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name        Contract ID               Title of Agreement                  Cure Amount       503(b)(9)    Notice Name              Address              City        State    ZIP Code

Party City Corporation     Rimini Street, Inc.           M03603          Rimini Street, Inc. ‐ PCC ‐ Amendment 1 to                    ‐           ‐   Seth Ravin      3993 Howard Hughes          Las Vegas       NV       89169
                                                                         Statement of Work 1 (EBS)                                                                     Parkway, Suite 500


Party City Corporation     Rimini Street, Inc.           M03604          Rimini Street, Inc. ‐ PCC ‐ Amendment 1 to                    ‐           ‐   Seth Ravin      3993 Howard Hughes          Las Vegas       NV       89169
                                                                         Statement of Work 2 (Hyperion)                                                                Parkway, Suite 500


Party City Holdings Inc.   Rimini Street, Inc.           M03798          Rimini Street, Inc. ‐ PCC ‐ Amendment 1 to                    ‐           ‐   Seth Ravin      3993 Howard Hughes          Las Vegas       NV       89169
                                                                         Statement of Work 4 (AMS for EBS)                                                             Parkway, Suite 500


Party City Corporation     Rimini Street, Inc.           M01370          Rimini Street, Inc. ‐ PCC ‐ Statement of Work                 ‐           ‐   Seth A. Ravin   3993 Howard Hughes          Las Vegas       NV       89169
                                                                         01                                                                                            Parkway, Suite 500


Party City Corporation     Rimini Street, Inc.           M01371          Rimini Street, Inc. ‐ PCC ‐ Statement of Work                 ‐           ‐   Seth A. Ravin   3993 Howard Hughes          Las Vegas       NV       89169
                                                                         02                                                                                            Parkway, Suite 500


Party City Corporation     Rimini Street, Inc.           M03602          Rimini Street, Inc. ‐ PCC ‐ Statement of Work                 ‐           ‐   Seth Ravin      3993 Howard Hughes          Las Vegas       NV       89169
                                                                         4 (AMS for EBS)                                                                               Parkway, Suite 500


Party City Corporation     RINGCENTRAL INC                                                                                             ‐           ‐   Marlow, John    20 Davis Drive               Belmont        CA       94002
                                                                                                                                                       H.


Party City Corporation     RIO SEO                                       Amendment #5 to Service Agreement                             ‐           ‐   Mark Porter     RIO SEO                     Milwaukee       WI       43288
                                                                         Between RioSoft Holdings, Inc. and Party                                                      C/O Press Ganey
                                                                         City Corporation                                                                              Associates
                                                                                                                                                                       PO Box 88335
Party City Corporation     RioCan Holdings, Inc          M05469          RioCan Holdings, Inc ‐ PCC ‐ Orangeville OTL                  ‐           ‐   Howard Werger   2300 Yonge Street, Suite     Toronto ON    Canada   M4P 1E4
                                                                                                                                                                       500


Party City Corporation     RioSoft Holdings, Inc.        M01844          RioSoft Holdings, Inc. ‐ PCC ‐ Amendment                      ‐           ‐   Mike Williams   8080 Dagget St Suite #220   San Diego       CA       92111
                                                                         5 to Service Agreement dated 03/31/15


Party City Corporation     RioSoft Holdings, Inc.        M05447          RioSoft Holdings, Inc ‐ PCC ‐ 4th                             ‐           ‐   James Wu        8080 Dagget Street, Suite   San Diego       CA       92111
                                                                         Amendment to Service Agreement dated                                                          220
                                                                         03/31/2015

Amscan Inc.                Rite Aid Corporation          M03618          Rite Aide ‐ Defense and Indemnity                             ‐           ‐   Patrick Hayer   30 Hunter Lane              Camp Hill       PA       17011
                                                                         Agreement / Returns Agreement


Amscan Inc.                Rkl Solutions                                 SUPPORT                                                       ‐           ‐   Legal           41R Washington Street        Norwell        MA       02061
                                                                                                                                                       Department


Party City Corporation     Robots and Pencils            M05398          Robots and Pencils, LP. ‐ PCC ‐ Master                        ‐           ‐   Tracey          1215 Superior Avenue,       Cleveland       OH       44114
                                                                         Services Agreement                                                            Zimmerman       Suite M25


Party City Corporation     Rock Developments, Inc        M05470          Rock Developments, Inc ‐ PCC ‐ Prince                         ‐           ‐   Rocco Tullio    19 Amy Croft Drive, Unit    Lakeshore ON   Canada   N9K 1C7
                                                                         Albert OTL                                                                                    201




                                                                                                                         Page 54 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 55
                                                                                                                         182ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name                 Contract ID               Title of Agreement                 Cure Amount       503(b)(9)    Notice Name              Address                City         State   ZIP Code

Party City Corporation     Rocket Software, Inc.                  M03105          Rocket Software, Inc ‐ PCC ‐ iCluster Order                  ‐           ‐   Tyson Stokes    77 4th Avenue                 Waltham         MA       02451
                                                                                  Form Q‐334329 and Statement of Work


Party City Corporation     RSC Solutions                          MO5893          Agency Agreement                                             ‐           ‐                   22 Paris Avenue, Suite 201    Rockleigh        NJ      07647




Party City Holdings Inc.   RSM US, LLP                            M01264          RSM US LLP ‐ PCHI ‐ Master Services                          ‐           ‐   Shawn Dahl      4 Times Square 151 West       New York         NY      10036
                                                                                  Agreement                                                                                    42nd St. 19th Floor


Party City Holdings Inc.   RSM US, LLP                            M03306          RSM US LLP ‐ PCHI ‐ Statement of Work 3                      ‐           ‐   Shawn Dahl      4 Times Square 151 West       New York         NY      10036
                                                                                  [Ongoing ERM Support]                                                                        42nd St. 19th Floor


Party City Corporation     Ryan, James                            M03354          James Ryan ‐ PCC ‐ Separation Agreement                      ‐           ‐                   100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                  and General Release


Party City Holdings Inc.   Sabatelli, Monica                      M05197          Monica Sabatelli ‐ PCHI ‐ Talent Release for                 ‐           ‐                   N/A                              N/A          N/A       N/A
                                                                                  Tinsley Shoot 7.23.2021


Party City Corporation     SADA Systems Inc                                       SADA Systems                                                 ‐           ‐                   5250 Lankershim Blvd.,       Hollywood         CA      91601
                                                                                                                                                                               Suite 620


Party City Holdings Inc.   Safeco, Inc. d/b/a Safety Plus, Inc.   M01356          Safeco, Inc. d/b/a Safety Plus, Inc. ‐ PCHI                  ‐           ‐                   3725 Airport Blvd Ste 208B      Mobile         AL      36608
                                                                                  SaaS Master Agreement


Amscan Inc.                Sage 100                                               SERVICE PLAN                                                 ‐           ‐                   271 17th Street NW, Suite      Atlanta         GA      30363
                                                                                                                                                                               1100


Party City Corporation     Sage Software                                          End User License Agreement                                   ‐           ‐                   271 17th Street NW, Suite      Atlanta         GA      30363
                                                                                                                                                                               1100


Amscan Inc.                Sage/Mapadoc                                           SERVICE PLAN                                                 ‐           ‐   Legal           120 Eagle Rock Avenue         East Hanover     NJ      07036
                                                                                                                                                               Department      Suite 330


Party City Corporation     SailPoint Technologies, Inc.           M04413          SailPoint Technologies, Inc. ‐ PCC ‐                         ‐           ‐   Christopher     11120 Four Points Drive,        Austin         TX      78726
                                                                                  Renewal Order Q‐34790‐1                                                      Burch           Suite 100


Print Appeal, Inc.         Salazar, John                          M04139          John Salazar ‐ Print Appeal ‐ Separation                     ‐           ‐                   100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                  Agreement and General Release


Party City Holdings Inc.   Salesforce.com, Inc.                   M05203          Salesforce ‐ PCHI ‐ Order Form ‐ Quote Q‐                    ‐           ‐   Neal Williams   415 Mission Street, 3rd       San Francisco    CA      94105
                                                                                  04633533 [Designated Test Realm Web 2.0]                                                     Floor


Party City Holdings Inc.   Salesforce.com, Inc.                   M05204          Salesforce ‐ PCHI ‐ Notice of Non‐ Renewal                   ‐           ‐   Robert Ackley   415 Mission Street, 3rd       San Francisco    CA      94105
                                                                                  of Certain Services                                                                          Floor




                                                                                                                                 Page 55 of 66
                                                       Case23-90005
                                                      Case  23-90005 Document
                                                                      Document1117-2
                                                                               947-2 Filed
                                                                                     Filed in
                                                                                            in TXSB
                                                                                               TXSB on
                                                                                                    on 04/28/23
                                                                                                       05/12/23 Page
                                                                                                                Page 56
                                                                                                                     183ofof
                                                                                                                           122
                                                                                                                             248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name        Contract ID               Title of Agreement                 Cure Amount       503(b)(9)    Notice Name                 Address             City        State   ZIP Code

Amscan Inc.                Salesforce.com, Inc.          M03766          Salesforce ‐ Amscan ‐ Order Form Q‐                          ‐           ‐   Dillon Siflinger   415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         05728059 [Vendor Portal Licenses Renewal]                                                       Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05214          Salesforce ‐ PCHI ‐ Amendment 1 to Master                    ‐           ‐   Candace            415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Subscription Agreement 10.23.2020                                            Rickert            Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05212          Salesforce ‐ PCHI ‐ Amendment 1 to Order                     ‐           ‐   Joslyn Lacy        415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Form Q‐03739574                                                                                 Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05456          Salesforce ‐ PCHI ‐ Amendment to Order                       ‐           ‐   Joslyn Lacy        415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Form Q‐03739574                                                                                 Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M03058          Salesforce ‐ PCHI ‐ Change Order 1 to SOW                    ‐           ‐   Joslyn Lacy        415 Mission St Floor 3    San Francisco    CA      94105
                                                                         1 ‐ Professional Services Agreement for
                                                                         Performance Load
                                                                         Testing
Party City Holdings Inc.   Salesforce.com, Inc.          M05277          Salesforce ‐ PCHI ‐ Change Order Form TJO                    ‐           ‐   Joslyn Lacy        415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         for HCity Tablets                                                                               Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05215          Salesforce ‐ PCHI ‐ Master Subscription                      ‐           ‐   Shannon Farrell    415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Agreement and Quote Q‐02333685                                                                  Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05202          Salesforce ‐ PCHI ‐ Order Form ‐ Quote Q‐                    ‐           ‐   Neal Williams      415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         04791451 [Short Term Test Realm]                                                                Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M03858          Salesforce ‐ PCHI ‐ Order Form ‐ Quote Q‐                    ‐           ‐   Justin Goldberg    415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         05664149 [MuleSoft]                                                                             Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M04990          Salesforce ‐ PCHI ‐ Order Form ‐ Quote Q‐                    ‐           ‐   Neil Williams      415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         06571384 [Sandbox Credits]                                                                      Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05216          Salesforce ‐ PCHI ‐ Order Form Q‐ 03739574                   ‐           ‐   Neal Williams      415 Mission Street, 3rd   San Francisco    CA      94105
                                                                                                                                                                         Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M04178          Salesforce ‐ PCHI ‐ Order Form Q‐ 05953575                   ‐           ‐   Gregory            415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         [Service Cloud ‐ Customer Service Ticketing]                                 Winton             Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M05269          Salesforce ‐ PCHI ‐ Salesforce Data Studio                   ‐           ‐   Sam West           415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Edition [Q‐04117]                                                                               Floor


Party City Holdings Inc.   Salesforce.com, Inc.          M02346          Salesforce.com, Inc.                                         ‐           ‐   Joslyn Lacy        415 Mission St Floor 3    San Francisco    CA      94105




Party City Holdings Inc.   Salesforce.com, Inc.          M05213          Salesforce ‐ PCHI ‐ Professional Services                    ‐           ‐   Candace            415 Mission Street, 3rd   San Francisco    CA      94105
                                                                         Agreement 1.27.2020                                                          Rickert            Floor




                                                                                                                        Page 56 of 66
                                                                  Case23-90005
                                                                 Case  23-90005 Document
                                                                                 Document1117-2
                                                                                          947-2 Filed
                                                                                                Filed in
                                                                                                       in TXSB
                                                                                                          TXSB on
                                                                                                               on 04/28/23
                                                                                                                  05/12/23 Page
                                                                                                                           Page 57
                                                                                                                                184ofof
                                                                                                                                      122
                                                                                                                                        248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                        Counterparty Name          Contract ID               Title of Agreement               Cure Amount           503(b)(9)    Notice Name               Address                 City        State   ZIP Code

Party City Corporation               Sauce Labs                                                                                                  ‐               ‐   Legal            450 Sansome Street, 9th       San Francisco    CA      94111
                                                                                                                                                                     Department       Floor


Amscan Inc.                          Save Mart Supermarkets           M05850          Save Mart Supermarkets ‐ Amscan ‐                              ‐           ‐                    1800 Standiford Ave             Modesto        CA      95350
                                                                                      Supply Agreement


Party City Holdings Inc.             Scamman, Bryan                   M05196          Bryan Scamman ‐ PCHI ‐ Talent Release for                  ‐               ‐                    N/A                               N/A         N/A       N/A
                                                                                      Tinsley Shoot 7.23.2021


Party City Corporation               Scandit, Inc.                    M02250          Scandit, Inc ‐ PCC ‐ Amendment 1 to Order                  ‐               ‐   Samuel Mueller   711 Atlantic Avenue              Boston       MA       02111
                                                                                      Form [Barcode Scanner SDK]


Party City Corporation               Scandit, Inc.                    M02249          Scandit, Inc ‐ PCC ‐ Order Form [Barcode                   ‐               ‐   Samuel Mueller   711 Atlantic Avenue              Boston       MA       02111
                                                                                      Scanner SDK]


Party City Corporation               Scandit, Inc.                    M05457          Scandit, Inc ‐ PCC ‐ Order Form [Barcode                   ‐               ‐   Samuel Mueller   711 Atlantic Avenue              Boston       MA       02111
                                                                                      Scanner SDK]


Party City Holdings Inc.; Party Ci   Scarfone, Santo                  M03314          Santo Scarfone ‐ PCHI ‐ Party City Holdco                  ‐               ‐                    100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                      Inc. ‐ CIC Severance Agreement


Party City Corporation               Scott, Tim                       M02715          Tim Scott ‐ PCC ‐ Separation Agreement and                 ‐               ‐                    100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                      General Release


Party City Corporation               SEMRush Inc                                      SEM Rush                                                   ‐               ‐   Tyler Wilson     800 Boylston St. Suite           Boston       MA       02199
                                                                                                                                                                                      2475 Boston, MA 02199


Party City Corporation               Semrush, Inc.                    M04786          Semrush, Inc ‐ PCC ‐ Order Form (2022                      ‐               ‐   Evgeny Fetisov   800 Boylston Street, Suite       Boston       MA       02199
                                                                                      Renewal)                                                                                        2475


Party City Corporation               Semrush, Inc.                    M01316          Semrush, Inc. ‐ PCC ‐ Order Form and                       ‐               ‐   Dmitry           7 Neshaminy Interplex           Trevose        PA      19053
                                                                                      Statement of Work (SOW)                                                        Melnikov         Dr., Suite 301


Party City Corporation               Service Management Group, Inc.   M05040          Service Management Group LLC ‐ PCC ‐                       ‐               ‐   David Cushman    1737 McGee Street             Kansas City     MO       64108
                                                                                      Amendment 2 to SOW 15


Party City Corporation               Service Management Group, LLC    M05131          Service Management Group LLC ‐ PCC ‐                       ‐               ‐   Mary Widmer      1737 McGee Street              Kansas City    MO       64108
                                                                                      Statement of Work 15 [Cart Abandonment]


Party City Corporation               Service Management Group, LLC    M05121          Service Management Group LLC ‐ PCC ‐                       ‐               ‐   Mary Widmer      1737 McGee                     Kansas City    MO       64108
                                                                                      Amendment 1 to SOW 15


Party City Corporation               Service Management Group, LLC    M05130          Service Management Group LLC ‐ PCC ‐                       ‐               ‐   Mary Widmer      1737 McGee Street             Kansas City     MO       64108
                                                                                      Amendment 4 to Master Services
                                                                                      Agreement




                                                                                                                                   Page 57 of 66
                                                                 Case23-90005
                                                                Case  23-90005 Document
                                                                                Document1117-2
                                                                                         947-2 Filed
                                                                                               Filed in
                                                                                                      in TXSB
                                                                                                         TXSB on
                                                                                                              on 04/28/23
                                                                                                                 05/12/23 Page
                                                                                                                          Page 58
                                                                                                                               185ofof
                                                                                                                                     122
                                                                                                                                       248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name                Contract ID               Title of Agreement                 Cure Amount       503(b)(9)    Notice Name                 Address                   City            State   ZIP Code

Party City Corporation             Service Management Group, LLC         M02448          Service Management Group, LLC ‐ PCC ‐                        ‐           ‐   Mary Widmer       25 Controls Drive                  Shelton            CT      06484
                                                                                         Amendment to MSA and SOW #1 ‐ 6


Party City Corporation             Service Management Group, LLC         M01291          Service Management Group, LLC ‐ PCC ‐                        ‐           ‐   Mary Widmer       25 Controls Drive                  Shelton            CT      06484
                                                                                         Master Services Agreement (MSA) & SOWs
                                                                                         1‐5

Party City Corporation             Service Management Group, LLC         M02448          Service Management Group, LLC ‐ PCC ‐                        ‐           ‐   Mary Widmer       25 Controls Drive                  Shelton            CT      06484
                                                                                         Statement of Work No.15 SMG Video
                                                                                         Insights

Party City Corporation             Service Management Group, LLC         M02448          Service Management Group, LLC ‐ PCC ‐                        ‐           ‐   Mary Widmer       25 Controls Drive                  Shelton            CT      06484
                                                                                         Statement of Work No.7, 9 ‐ 14


Party City Holdings Inc.           Sesame Workshop                       M04891          FE Amd 2 to No. 342768 (303433) btwen                        ‐           ‐   Gabriela Arenas   One Lincoln Plaza                 New York            NY      10023
                                                                                         Amscan and Sesame Workshop for
                                                                                         Costumes Party Ballons Dec 2022

Party City Corporation             Shah, Vandit                          M01812          H‐1B Compliance Materials                                    ‐           ‐   N/A               100 Tice Blvd                  Woodcliff Lake         NJ      07677




Party City Corporation             Shannon, Cherise                      M01680          Cherise Shannon ‐ PCC ‐ Severance                            ‐           ‐                     100 Tice Blvd                  Woodcliff Lake         NJ      07677
                                                                                         Agreement and General Release


Amscan Inc.                        Sherman, Dave                         M01534          David Sherman ‐ Amscan ‐ Severance                           ‐           ‐                     100 Tice Blvd                  Woodcliff Lake         NJ      07677
                                                                                         Agreement and General Release (REV)


Amscan Inc.                        Shipp Distribution, LLC               M05340          Shipp Distribution LLC ‐ Amscan ‐                            ‐           ‐   Courtney          6630 Arroyo Springs               Las Vegas           NV      89113
                                                                                         Memorandum of Understanding                                                  Chance            Street, Suite 100


Party City Corporation             ShopperTrak RCT Corporation           M05449          ShopperTrak RCT Corporation ‐ PCC ‐                          ‐           ‐   Zachary W         233 S. Wacker Drive, Suite         Chicago            IL      60606
                                                                                         Purchase and Services Agreement                                              Jarrell           4100


Party City Holdings Inc.           Shutterfly, LLC                       M00845          Shutterfly, LLC ‐ PCHI ‐ Promotion                           ‐           ‐                     2800 Bridge Parkway             Redwood City          CA      94065
                                                                                         Agreement 2021


Amscan Inc.                        Siemans                                               SERVICE PLAN                                                 ‐           ‐   Legal             2 Gatehall Drive             Parsippany‐Troy Hills    NJ      07054
                                                                                                                                                                      Department


Party City Holdings Inc.           Sigma Computing, Inc.                 M04641          Sigma Computing, Inc ‐ PCHI ‐ Master                         ‐           ‐   Mike Palmer       116 New Montgomery              San Francisco         CA      94105
                                                                                         Services Agreement and Order Form Q‐                                                           St., #700
                                                                                         03209

Amscan Inc.; Party City Holdings   Silvertop Associates Inc. dba Rasta   M02851          Silvertop Associates Inc dba Rasta Imposta ‐        $13,724.00           ‐                     600 E Clements Bridge Rd         Runnemede            NJ      08078
                                   Imposta                                               PCHI ‐ Letter Amendment to Settlement
                                                                                         and IP License Agreement

Party City Holdings Inc.           Simplelegal, Inc.                     M04146          SimpleLegal, Inc ‐ PCHI ‐ Order Form                         ‐           ‐   Mark Weidick      488 Ellis Street               Mountain View          CA      94043
                                                                                         Amendment [Cancellation of API Buildout]




                                                                                                                                        Page 58 of 66
                                                                    Case23-90005
                                                                   Case  23-90005 Document
                                                                                   Document1117-2
                                                                                            947-2 Filed
                                                                                                  Filed in
                                                                                                         in TXSB
                                                                                                            TXSB on
                                                                                                                 on 04/28/23
                                                                                                                    05/12/23 Page
                                                                                                                             Page 59
                                                                                                                                  186ofof
                                                                                                                                        122
                                                                                                                                          248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name           Contract ID               Title of Agreement                  Cure Amount       503(b)(9)    Notice Name                Address                City        State   ZIP Code

Party City Holdings Inc.             Simplelegal, Inc.                M04436          SimpleLegal, Inc ‐ PCHI ‐ Order Form                          ‐           ‐   Mark Weidick     488 Ellis Street             Mountain View     CA      94043
                                                                                      Amendment [2022‐2023 Renewal] &
                                                                                      PCHI Address Change Notification

Party City Holdings Inc.             Simplelegal, Inc.                M01319          Simplelegal, Inc. ‐ PCHI ‐ Master Services                    ‐           ‐   Eric Smith       488 Ellis St                 Mountain View     CA      94043
                                                                                      Agreement


Party City Corporation               SITEFOLIO LLC                                                                                                  ‐           ‐   Legal            1037 Northeast 65th              Seattle      WA       98115
                                                                                                                                                                    Department       Street, Ste 229


Party City Corporation               SJ Craig Corporation             M00531          Franchise Agreement with SJ Craig                             ‐           ‐   Steven Craig     14915 Rancho Real               Del Mar        CA      92014
                                                                                      Corporation dated 06/01/2021


Party City Corporation               SJ Craig Corporation             M00536          Franchise Agreement with SJ Craig                             ‐           ‐   Steven Craig     14915 Rancho Real               Del Mar        CA      92014
                                                                                      Corporation dated 07/29/2015


Party City Corporation               SJ Craig Corporation             M00537          Franchise Agreement with SJ Craig                             ‐           ‐   Mack             14519 Ocean Gate Avenue        Hawthorne       CA      90250
                                                                                      Corporation dated 08/09/2016                                                  Mackiewicz


Party City Corporation               SJ Craig Corporation             M00530          Franchise Agreement with SJ Craig                             ‐           ‐   Steven Craig     14915 Rancho Real               Del Mar        CA      92014
                                                                                      Corporation dated 09/08/2020


Party City Corporation               SJ Craig Corporation             M00543          Franchise Agreement with SJ Craig                             ‐           ‐   Steven Craig     14915 Rancho Real               Del Mar        CA      92014
                                                                                      Corporation dated 10/02/2017


Party City Corporation               SJ Craig Corporation             M00538          Franchise Agreement with SJ Craig                             ‐           ‐   Mack             14519 Ocean Gate Avenue        Hawthorne       CA      90250
                                                                                      Corporation dated 10/05/2016                                                  Mackiewicz


Party City Corporation               SMARTSHEET INC                                                                                                 ‐           ‐   Legal            500 108th Avenue NE, Ste        Bellevue      WA       98004
                                                                                                                                                                    Department       200


Party City Holdings Inc.; Party Ci   Smigel, Sheva                    M03323          Sheryl Smigel ‐ PCHI ‐ Party City Holdco Inc.                 ‐           ‐                    100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                      ‐ CIC Severance Agreement


Party City Holdco Inc.               Smith, Peter                     M04549          Peter Smith ‐ PCH ‐ Change in Control                         ‐           ‐                    100 Tice Blvd                Woodcliff Lake    NJ      07677
                                                                                      Severance Agreement


Amscan Inc.                          SMSB Consulting Group, Inc.      M04482          SMSB Consulting Group, Inc. ‐ Amscan ‐                        ‐           ‐   Blaine Ross      740 Old Willets Path Suite    Hauppauge        NY      11788
                                                                                      Extension Letter for Work Order 1                                                              100


Amscan Inc.                          SMSB Consulting Group, Inc.      M00910          SMSB Consulting Group, Inc. ‐ Amscan ‐                        ‐           ‐   Jason DeRienzo   740 Old Willets Path Suite    Hauppauge        NY      11788
                                                                                      Master Services Agreement                                                                      100


Party City Holdings Inc.             Snowflake Inc.                   M04644          Snowflake Inc ‐ PCC ‐ Capacity Order Form                     ‐           ‐   Nick Hoylman     106 East Babcock Street,       Bozeman        MT       59715
                                                                                      Renewal Q‐311968                                                                               Suite 3A




                                                                                                                                      Page 59 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 60
                                                                                                                        187ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name            Contract ID               Title of Agreement              Cure Amount         503(b)(9)    Notice Name                Address               City        State     ZIP Code

Party City Corporation     Snowflake Inc.                    M01112           Snowflake Inc. ‐ PCC ‐ Master SAAS                        ‐             ‐   Anthony Eisen     450 Concar Drive            San Mateo        CA        94402
                                                                              Agreement


Party City Corporation     SOLARWINDS INC                                                                                               ‐             ‐                     7171 Southwest Parkway,       Austin         TX        78735
                                                                                                                                                          Bliss, Jason W.   Building 400


Party City Holdings Inc.   Sony Pic Consumer Prod Inc.       304259           Cobra Kai TV Show‐US CA MX                                ‐             ‐   Eric Baum         10202 W. Washington         Culver City      CA        90232
                                                                                                                                                                            Blvd


Party City Holdings Inc.   Sony Pic Consumer Prod Inc.       304083           Ghostbusters US CA MX                                     ‐             ‐   Eric Baum         10202 W. Washington         Culver City      CA        90232
                                                                                                                                                                            Blvd


Party City Corporation     Source Defence Inc.               M01627           Source Defence Inc ‐ PCC ‐ Software As A                  ‐             ‐                     Soundview Plaza              Stamford        CT        06902
                                                                              Service (SAAS) Agreement and Order Form                                                       Suite 700R, 1266 E Main S


Party City Corporation     Source Defence Inc.               M01628           Source Defence Inc ‐ PCC ‐ Software As A                  ‐             ‐                     Soundview Plaza              Stamford        CT        06902
                                                                              Service (SAAS) Agreement and Order Form                                                       Suite 700R, 1266 E Main S


Party City Holdings Inc.   Southern Graphic Systems, LLC     M01462           Southern Graphic Systems, LLC ‐ PCHI ‐            $643,344.95           ‐   Justin C.         2125 East Lincoln Street    Birmingham       MI        48009
                                                                              SOW Premedia Services & Amendment 2 to                                      Schauer
                                                                              Printing Plate Supply Agreement

Party City Holdings Inc.   Southern Graphic Systems, LLC ‐                                                                        $4,239.00           ‐   Legal             626 West Main Street, Ste    Louisville      KY        40202
                           PCHI ‐ SOW Premedia Services &                                                                                                 Department        400
                           Amendment 2 to Printing Plate
                           Supply Agreement
Party City Holdings Inc.   Southern Graphic Systems, LLC ‐                                                                        $2,626.00           ‐   Legal             626 West Main Street, Ste    Louisville      KY        40202
                           PCHI ‐ SOW Premedia Services &                                                                                                 Department        400
                           Amendment 2 to Printing Plate
                           Supply Agreement
Party City Holdco Inc.     SOXHUB, Inc.                      M05412           SOXHUB, Inc. ‐ PCHI ‐ Subscription                        ‐             ‐   Jay Lee           12900 Park Plaza Drive,       Cerritos       CA        90703
                                                                              Agreement                                                                                     Suite 200


Party City Holdings Inc.   Spin Master Toys Far East Ltd.    M04065           Spin Master Toys Far East Ltd ‐ PCHI ‐              $4,847.50           ‐                     77 Mody Rd Tsimshatsui       Kowloon      Hong Kong   999077
                                                                              Addendum to the Vendor Standards                                                              East, Room 1113, 11/F.,
                                                                              Manual 2022                                                                                   Chinachem Golden Plaza

Party City Holdings Inc.   Spin Master, Inc.                 M03747           Spin Master, Inc ‐ PCHI ‐ Addendum to the          $4,847.50-           ‐                     225 King Street West        Toronto ON     Canada     M5V 3M2
                                                                              Vendor Standards Manual 2022


Party City Holdings Inc.   Sprinklr Inc.                     M02301           Sprinklr Inc. ‐ PCHI ‐ Master Services                    ‐             ‐   Greg Czaja        29 W. 35th Street, 7th       New York        NY        10001
                                                                              Agreement and Order Form with PCC                                                             Floor


Am‐Source, LLC             SPS Commerce, Inc.                M01654           SPS Commerce, Inc. ‐ Am‐Source ‐ Annual             $3,715.18           ‐                     333 South Seventh Street    Minneapolis     MN         55402
                                                                              MAPADOC ‐ Loftware Maintenance                                                                Suite 1000
                                                                              Renewal

Amscan Inc.                SPS Commerce, Inc.                M05839           SPS Commerce, Inc ‐ Amscan ‐ Scope and                    ‐             ‐   Darius Knight     333 South Seventh Street    Minneapolis     MN         55402
                                                                              Proposal with Terms and Conditions                                                            Suite 1000




                                                                                                                          Page 60 of 66
                                                                     Case23-90005
                                                                    Case  23-90005 Document
                                                                                    Document1117-2
                                                                                             947-2 Filed
                                                                                                   Filed in
                                                                                                          in TXSB
                                                                                                             TXSB on
                                                                                                                  on 04/28/23
                                                                                                                     05/12/23 Page
                                                                                                                              Page 61
                                                                                                                                   188ofof
                                                                                                                                         122
                                                                                                                                           248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name                Contract ID               Title of Agreement                  Cure Amount         503(b)(9)    Notice Name                 Address                 City         State   ZIP Code

Party City Holdings Inc.             Standard Insurance Company                            Provide administration for Leave of                           ‐             ‐                      1359 Broadway                  New York         NY      10018
                                                                                           Absence, EAP services, Workplace
                                                                                           Accommodations and Life Insurance

Amscan Inc.                          Staples the Office Superstore, LLC    M05133          Staples Inc. ‐ Amscan ‐ Vendor Program                        ‐             ‐                      500 Staples Drive              Framingham      MA       01702
                                                                                           Agreement Extension and Amendment


Party City Holdings Inc.             StartPulsing Limited (trading as      M05328          StartPulsing Limited (OnePulse) ‐ PCHI ‐                $2,589.04           ‐   Mike Billingsley   1st Floor,143‐149               London          UK     EC3M 6BL
                                     OnePulse)                                             Master Subscription Services Agreement                                                             Fenchurch Street


Party City Corporation               Strategic Maintenance Solutions       M05135          Service Management Group LLC ‐ WL                             ‐             ‐   Geoffrey Clarke    12 Estate Drive                Gorham          ME       04038
                                     Inc.; WL Tech Solutions, Inc.                         Technology Solutions ‐ PCC ‐ Maximo
                                                                                           Implementation SOW

Party City Holdings Inc.             StrategIQ Commerce, LLC               M05151          StrategicIQ Commerce LLC ‐ PCHI ‐ MSA and              $25,637.05           ‐                      549 W Randolph Street,         Chicago          IL      60661
                                                                                           SOW [Exhibit B] 02.01.2021                                                                         3rd Floor


Party City Holdings Inc.             StrategIQ Commerce, LLC               M05148          StrategIQ Commerce LLC ‐ PCHI ‐ FEDEX EDI                     ‐             ‐   Bill Bearden       549 W Randolph Street,         Chicago          IL      60661
                                                                                           Authorization Letter 06.29.2021                                                                    3rd Floor


Party City Corporation               Strug, Elysa                          M03608          Elysa Strug ‐ PCC ‐ Separation Agreement                      ‐             ‐   N/A                N/A                               N/A          N/A       N/A
                                                                                           and General Release


Party City Holdings Inc.             Summer 1, LLC                         M04513          Summer 1, LLC ‐ PCHI ‐ Non‐Exclusive                          ‐             ‐                      304 12th Street, Suite 4A      Oakland          CA      94607
                                                                                           Release Agreement


Amscan Inc.                          Summerhouse Bidco Limited                             Amendment to Supply Agreement dated                           ‐             ‐   c/o Squire         148 Edmund Street              Birmingham       UK      B3 2JR
                                                                                           January 30, 2021 (the “Agreement”), by                                          Patton Boggs
                                                                                           and between Amscan Inc. (“Amscan”) and                                          (Uk) Llp
                                                                                           Summerhouse Bidco Limited, along with                                           Rutland
                                                                                           its affiliated entities (“Buyer” and together
                                                                                           with Amscan, the “Parties”).
Party City Holdings Inc.             SunCentral LLC                        M05245           SunCentral LLC ‐ PCHI ‐ Illinois Small                       ‐             ‐                      1750 15th Street., Ste. 400     Denver          CO      80202
                                                                                            Subscription Agreement (Ameren, ComEd)
                                                                                            & Capacity Commitment
                                                                                            Agreement
Party City Corporation               SUNGARD AVAILABILITY SERVICES                                                                                       ‐             ‐   Legal              565 E Swedesford Road, Ste       Wayne          PA      19087
                                                                                                                                                                           Department         320


Party City Corporation               SurveyMonkey, Inc.                    M05157          SurveyMonkey, Inc. ‐ PCC ‐ Governing                          ‐             ‐   Tom Rattray        1 Curiosity Way                 San Mateo       CA      94403
                                                                                           Services Agreement


Party City Corporation               Swalley Harrigill Enterprises, Inc.   M00555          Franchise Agreement with Swalley Harrigill                    ‐             ‐   Alice Harrigill    900 E. County Line Road,      Ridgeland         MS      39157
                                                                                           Enterprises, Inc. dated 03/29/2015                                                                 Suite 349


Party City Holdings Inc.; Party Ci   Swanner, Angela                       M03286          Angela Swanner ‐ PCHI ‐ Party City Holdco                     ‐             ‐                      100 Tice Blvd                 Woodcliff Lake    NJ      07677
                                                                                           Inc. ‐ CIC Severance Agreement


Party City Corporation               SWM Party Company, LLC                M00593          Franchise Agreement with SWM Party                            ‐             ‐   Don Lasseter,      10838 Vandale Street           San Antonio      TX      78216
                                                                                           Company, LLC dated 09/15/2017                                                   Jr.




                                                                                                                                           Page 61 of 66
                                                                Case23-90005
                                                               Case  23-90005 Document
                                                                               Document1117-2
                                                                                        947-2 Filed
                                                                                              Filed in
                                                                                                     in TXSB
                                                                                                        TXSB on
                                                                                                             on 04/28/23
                                                                                                                05/12/23 Page
                                                                                                                         Page 62
                                                                                                                              189ofof
                                                                                                                                    122
                                                                                                                                      248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                     Counterparty Name            Contract ID               Title of Agreement                Cure Amount         503(b)(9)        Notice Name               Address              City           State    ZIP Code

Party City Holdings Inc.           Synchronet Corp.                  M03408          Synchronet ‐ PCHI ‐ MSA & SOW                               ‐                 ‐   Mike Hapner     13100 Wortham Center          Houston            TX      77065
                                                                                                                                                                                       Dr., Suite 300


Party City Holdings Inc.           Synchronet Corp.                  M04030          Synchronet ‐ PCHI ‐ Statement of Work 2 to                  ‐                 ‐                   13100 Wortham Center          Houston            TX      77065
                                                                                     MSA [FlexStart Amazon Appstream]                                                                  Dr., Suite 300


Party City Holdings Inc.           Synchronet Corp.                  M04529          Synchronet ‐ PCHI ‐ Statement of Work to                    ‐                 ‐   Jared Cheney    13100 Wortham Center          Houston            TX      77065
                                                                                     MSA [FlexStart Managed Services]                                                                  Dr., Suite 300


Party City Holdings Inc.           SYOXSA, Inc.                      M02777          SYOXSA, Inc ‐ PCHI ‐ Product Supply                  $21,191.14    $29,399.93     Esteban Trejo   6996 Commerce Ave.             El Paso           TX      79915
                                                                                     Agreement


Party City Holdings Inc.           Tableau Software, LLC, A          M02517          Tableau Software, LLC ‐ PCHI ‐                              ‐                 ‐   Mark Nelson     1621 N 34th Street             Seattle          WA       98103
                                   Salesforce Company                                Subscription Order Form


Party City Holdings Inc.           Tableau Software, LLC, A          M02938          Tableau Software, LLC ‐ PCHI ‐                              ‐                 ‐   Mark Nelson     1621 N 34th Street             Seattle          WA       98103
                                   Salesforce Company                                Subscription Order Form


Amscan Inc.                        Tablevogue                        M05918          Worldwide effect Jan 26, 2017 previously                    ‐                 ‐   Jane Birdwell   125 West Romana Street       Pensacola           FL      32502
                                                                                     US/CA                                                                                             Ste 222


Party City Corporation             Tacitus, LLC                      M05399          Tacitus ‐ PCC ‐ Helium Supply Agreement                     ‐                 ‐   Bruce M.        2100 Cortland Drive          Farmington         NM       87401
                                                                                     7.1.2019                                                                          Monroe


Party City Corporation             Tacitus, LLC; NTEC Helium, LLC    M00946          Tacitus ‐ PCC ‐ First Letter Agreement to                   ‐                 ‐   Bruce M.        2100 Cortland Drive          Farmington         NM       87401
                                                                                     Helium Supply Agreement                                                           Monroe


Party City Corporation             Tacitus, LLC; NTEC Helium, LLC    M00945          Tacitus ‐ PCC ‐ Helium Supply Agreement                     ‐                 ‐   Bruce M.        2100 Cortland Drive          Farmington         NM       87401
                                                                                     7.1.2019                                                                          Monroe


Party City Corporation             Tacitus, LLC; NTEC Helium, LLC    M00947          Tacitus ‐ PCC ‐ Second Letter Agreement to                  ‐                 ‐   Bruce M.        2100 Cortland Drive          Farmington         NM       87401
                                                                                     Helium Supply Agreement                                                           Monroe


Amscan Inc.; Party City Holdings   Tangle, Inc.                      M04176          Tangle, Inc ‐ PC ‐ Settlement Agreement and                 ‐                 ‐   Richard E.      310 Littlefield Ave      South San Francisco    CA       94080
                                                                                     General Mutual Releases                                                           Zawitz


Party City Corporation             Tealium Inc.                      M02025          Tealium Inc. ‐ PCC ‐ Service Order with               $4,186.19               ‐   Jeffrey W.      11095 Torreyana Road         San Diego          CA       92121
                                                                                     Terms and Conditions                                                              Lunsford


Party City Holdings Inc.           Tele‐Communication, Inc. dba as   M02316          Tele‐Communication, Inc. dba                                ‐                 ‐   Ted Estwan      2075 E. Governors Cir         Houston            TX      77092
                                   UnifiedCommunications.com                         UnifiedCommunications.com ‐ PCHI ‐ Proof
                                                                                     of Concept Rooms (Proj Burgandy)
                                                                                     [Elmsford‐Rockaway Pilot]
Party City Holdings Inc.           The Bloomington Group             M05512          The Bloomington Group ‐ PCHI ‐                       $15,000.00               ‐                   234 Valmont Crt.            Ancaster ON        Canada   L9G 5A1
                                                                                     Statement of Work




                                                                                                                                   Page 62 of 66
                                                               Case23-90005
                                                              Case  23-90005 Document
                                                                              Document1117-2
                                                                                       947-2 Filed
                                                                                             Filed in
                                                                                                    in TXSB
                                                                                                       TXSB on
                                                                                                            on 04/28/23
                                                                                                               05/12/23 Page
                                                                                                                        Page 63
                                                                                                                             190ofof
                                                                                                                                   122
                                                                                                                                     248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                   Counterparty Name             Contract ID               Title of Agreement               Cure Amount         503(b)(9)    Notice Name              Address                   City         State   ZIP Code

Amscan Inc.                     The Creative Partners Group, LLC.   M05164          The Creative Partners Group, LLC ‐                         ‐             ‐   Jeff Sunberg    88 South 10th Street,           Minneapolis      MN       55403
                                                                                    Anagram, Ampro & Print Appeal ‐                                                              Suite 100
                                                                                    Addendum to Manufacturer's Sales

Amscan Inc.                     The Heritage Group LLC; Encore      M05313          Encore Associates, Heritage Group LLC ‐                    ‐             ‐   The Heritage    195 S Main St                     Cheshire        CT      06410
                                Associates                                          Amscan ‐ Vendor Agreement, Packet and                                        Group LLC
                                                                                    NDA's

Party City Holdings Inc.        The Lemon Group, LLC                M04433          The Lemon Group LLC dba Mid‐America                 $57,208.66           ‐   Stephen         2195 Broehm Road                   Obetz          OH      43207
                                                                                    Store Fixtures ‐ PCHI ‐ MSA and SOW                                          Bennett


Party City Corporation          The Price REIT, Inc.                                                                                           ‐             ‐   Legal           3333 New Hyde Park             New Hyde Park      NY      10042
                                                                                                                                                                 Department      Road, Ste 100


Amscan Custom Injection Moldi   The Pros Cleaning Solutions         M01169          The Pros Cleaning Solutions ‐ ACIM ‐                       ‐             ‐   Paul Lucero     3250 Coors Blvd                Alburquerque      NM       87120
                                                                                    Professional Janitorial Service Proposal &
                                                                                    Agreement

Party City Holdings Inc.        The Solomon‐Page Group LLC          M01256          Solomon Page Group ‐ PCHI ‐ Agency                         ‐             ‐   Kathy Brown     260 Madison Avenue               New York         NY      10016
                                                                                    Agreement


Party City Corporation          The Standard Life Insurance                         Leave Administrative, disability and life           $34,134.57           ‐   Attn: Legal     1100 Southwest 6th Ave            Portland        OR      97204
                                                                                    insurance                                                                    Dept


Amscan Inc.                     The WoundedNature.org                                                                                          ‐             ‐   Rudy Socha      1105 Calm Water Court           Mt. Pleasant      SC      29464
                                Organization


Party City Holdings Inc.        The Zimmerman Agency, LLC           M02477          The Zimmerman Agency, LLC ‐ PCHI ‐                         ‐             ‐   Carrie          1821 Miccosukee Commons          Tallahassee      FL      32308
                                                                                    Letter of Agreement                                                          Zimmerman       Drive


Party City Corporation          The Zimmerman Agency, LLC           M05426          Zimmerman Advertising LLC ‐ PCC ‐                          ‐             ‐   Ronnie          6600 North Andrews             Fort Lauderdale    FL      33309
                                                                                    Amendment Service Agreement                                                  Haligman        Ave., Suite 200


Party City Corporation          ThinkTime, LLC                      M02024          ThinkTime, LLC ‐ PCC ‐ SAAS Service                        ‐             ‐   Steve Levy      1 E Wacker Drive, Suite 3200      Chicago         IL      60611
                                                                                    Agreement


Party City Holdings Inc.        Thomas Nelson                                       Consulting Agreement                                       ‐             ‐   Thomas Nelson   1803 Dantzler Road               High Point       NC      27265




Party City Holdco Inc.          Thompson, Sean                      M04686          Sean Thompson ‐ PCH ‐ Second Amended                       ‐             ‐                   100 Tice Blvd                  Woodcliff Lake     NJ      07677
                                                                                    and Restated Employment Agreement


Party City Holdings Inc.        Tibco Software Inc                                  TIBCO JasperReports Professional (DevTest)            $215.92            ‐                   851 Cypress Creek Road         Fort Lauderdale    FL      33309
                                                                                    ‐ (Instance) (E) : 04‐DEC‐22 to 03‐DEC‐23


Party City Holdings Inc.        Tivian, Inc                                         Provide education materials to support                     ‐             ‐   Kaiser          PO Box 629028                  Eldorado Hills     CA      95762
                                                                                    Open Enrollment                                                              Permanente




                                                                                                                                 Page 63 of 66
                                                         Case23-90005
                                                        Case  23-90005 Document
                                                                        Document1117-2
                                                                                 947-2 Filed
                                                                                       Filed in
                                                                                              in TXSB
                                                                                                 TXSB on
                                                                                                      on 04/28/23
                                                                                                         05/12/23 Page
                                                                                                                  Page 64
                                                                                                                       191ofof
                                                                                                                             122
                                                                                                                               248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name            Contract ID               Title of Agreement                 Cure Amount             503(b)(9)    Notice Name              Address                  City          State   ZIP Code

Party City Corporation     Tivian, Inc.                                       Full vendor name needed. What type of                        ‐                 ‐   Attn: Legal     575 Lexington Ave 14th          New York         NY       10022
                                                                              contract / services                                                                Dept            floor


Party City Holdings Inc.   T‐Mobile USA, Inc.                M04679           T‐Mobile USA, Inc ‐ PCHI ‐ Master Corporate           $25,458.66               ‐   Tamara          12920 S.E. 38th Street           Bellevue        WA       98006
                                                                              Services Agreement                                                                 Chamberlin


Party City Holdings Inc.   TNC Consulting                                     Proposal to PCHI Rationalization of Internal                 ‐                 ‐   Thomas Nelson   1803 Dantzler Road              High Point        NC      27265
                                                                              Manufacturing by TNC


Party City Corporation     Tom Rectenwald Construction,      M04608           Tom Rectenwald Construction, Inc. ‐                          ‐                 ‐   Steve Koerper   110 N Jefferson Street          Zelienople        PA      16063
                           Inc.                                               PCC ‐ Construction Agreement


Amscan Inc.                Topco Associates, LLC             M05481           Topco Associates, LLC ‐ Amscan ‐ Terms and                   ‐                 ‐                   150 North West Point         Elk Grove Village    IL      60007
                                                                              Conditions                                                                                         Boulevard


Party City Corporation     Toshiba Global Commerce Solutions M03187           Toshiba Global Commerce Solutions ‐                    $9,649.42               ‐   Eugene          3901 S Miami Blvd                Durham           NC      27703
                                                                              PCC ‐ Change Authorization                                                         Shvartsman


Party City Corporation     TranSource                        M01926           TranSource ‐ PCC ‐ Purchase Agreement                              ‐           ‐   Legal           PO BOX 931898                    Atlanta          GA      31193
                                                                                                                                                                 Department


Party City Holdings Inc.   TranzAct Technologies Inc.        M04483           TranzAct Technologies Inc ‐ PCHI ‐ Freight                   ‐                 ‐   Jean Regan      360 West Butterfield             Elmhurst         IL      60126
                                                                              Audit and Payment Statement of Work                                                                Road, Suite 400


Amscan Inc.                TrashCo                           Auto renewal     Worldwide                                                    ‐                 ‐   John Funk       5984 S. Prince St, Ste 207       Littleton        CO      80120




Party City Corporation     Trilogy Leasing Co., LLC                           Master Lease Agreement                                $21,297.02               ‐                   2551 Route 130                  Cranbury          NJ      08512




Party City Corporation     TRINTECH INC                                                                                                    ‐                 ‐   Joel Clark      5600 Granite Parkway,             Plano           TX      75024
                                                                                                                                                                                 Ste 10000


Amscan Inc.                Trivedi, Nirali                   M01813           H‐1B Compliance Materials                                    ‐                 ‐   N/A             100 Tice Blvd                Woodcliff Lake       NJ      07677




Party City Holdings Inc.   True North Growth Partners, LLC   M03851           Consulting Agreement                                 $177,371.00               ‐   David DuBose    8584 Washington Street,        Chagrin Falls     OH       44023
                                                                                                                                                                                 Suite 2051


Party City Holdings Inc.   TTi Logistics: Tradeshow          M03633           Trade Show Technologies Incorporated ‐                       ‐                 ‐   Jeff Rossier    1680 The Greens Way, Suite     Jacksonville       FL      32250
                           Technologies, Inc.                                 PCHI ‐ Master Services Agreement and                                                               100
                                                                              Statement of Work

Party City Holdings Inc.   Turbonomic, Inc.                  M01165           Turbonomic, Inc. ‐ PCHI ‐ Software License                   ‐                 ‐   Owen Bailey     500 Boylston Street, 7th         Boston          MA       02116
                                                                              and Support Agreement                                                                              Floor




                                                                                                                             Page 64 of 66
                                                            Case23-90005
                                                           Case  23-90005 Document
                                                                           Document1117-2
                                                                                    947-2 Filed
                                                                                          Filed in
                                                                                                 in TXSB
                                                                                                    TXSB on
                                                                                                         on 04/28/23
                                                                                                            05/12/23 Page
                                                                                                                     Page 65
                                                                                                                          192ofof
                                                                                                                                122
                                                                                                                                  248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name              Contract ID               Title of Agreement               Cure Amount         503(b)(9)    Notice Name               Address                City        State    ZIP Code

Party City Holdings Inc.   U.S. Compliance Corporation        M03121           US Compliance Corporation ‐ PCHI ‐ Master                  ‐             ‐   Kevin Weaver    520 3rd Street, Suite 100      Excelsior      MN        55331
                                                                               Services Agreement & Statement of Work


Party City Corporation     Uber Technologies, Inc.            M04512           Uber Technologies, Inc ‐ PCC ‐                     $293,978.31           ‐   Tony Costanzo   1455 Market Street, Suite    San Francisco     CA       94103
                                                                               Amendment 2 to Direct Dashboard Access                                                       400
                                                                               Agreement

Party City Corporation     Uber Technologies, Inc.            M04511           Uber Technologies, Inc ‐ PCC ‐                             ‐             ‐   Tony Costanzo   1455 Market Street, Suite    San Francisco     CA       94103
                                                                               Amendment 1 to Direct Dashboard Access                                                       400
                                                                               Agreement

Party City Corporation     Uber Technologies, Inc.            M04510           Uber Technologies, Inc ‐ PCC ‐ Direct                      ‐             ‐   Tony Costanzo   1455 Market Street, Suite    San Francisco     CA       94103
                                                                               Dashboard Access Agreement                                                                   400


Amscan Inc.                Ubisoft Inc                        Not indicated    US/CA/MX LA ‐ Assassins                                    ‐             ‐   Laurent Detoc   625 3rd Street               San Francisco     CA       94107
                                                                               Creed/Hyperscape/Watchdogs


Amscan Inc.                Uncle George Productions, LLC      M04257           Uncle George Productions, LLC ‐ Amscan                     ‐             ‐                   1515 Garnet Mine Road,       Garnet Valley     PA       19060
                                                                               ‐ Production Release for Material                                                            Building F


Party City Holdings Inc.   Unitas Global Inc.                 M02349           Unitas Global Inc ‐ PCHI ‐ Master Terms          ‐$1,434.91              ‐   Mary Stanhope   910 W Van Buren Street,         Chicago        IL       60607
                                                                               and Conditions and Service Order Form                                                        Suite 610
                                                                               211202Q80582

Party City Corporation     United Heathcare                                    Vision coverage                                      $6,129.97           ‐   Attn: Legal     11000 Optum Circle           Eden Prairie      MI       55344
                                                                                                                                                            Dept


Party City Holdings Inc.   UNITED PARCEL SERVICE                               UNITED PARCEL SERVICE Supply                               ‐             ‐   Joe O'Hara      700 Blair Mill Road            Horsham         PA       19044
                                                                               Agreement


Party City Corporation     United Parcel Service General      M03128           United Parcel Service General Services                     ‐             ‐   Brandon         55 Glenlake Parkway NE          Atlanta        GA       30328
                           Services Co.                                        Co. ‐ PCC ‐ Electronic Data Access and                                       Samuels
                                                                               Exchange Agreement EDAE08032019

Party City Holdings Inc.   United Parcel Service General      M05187           United Parcel Service General Services Co.                 ‐             ‐   Joe O'Hara      700 Blair Mill Road            Horsham         PA       19044
                           Services Co.                                        ‐ PCHI ‐ Amendment No 7 to UPS Incentive
                                                                               Program Agreement

Party City Holdings Inc.   United Parcel Service General      M05188           United Parcel Service General Services Co.                 ‐             ‐   Joe O'Hara      700 Blair Mill Road            Horsham         PA       19044
                           Services Co.                                        ‐ PCHI ‐ Amendment No 8 to UPS Incentive
                                                                               Program Agreement

Party City Holdings Inc.   UnitedHealth Group                                  Provide vision coverage for eligible                       ‐             ‐   Tivian, Inc     PO Box 23504                   New York        NY     10087‐3504
                                                                               employees


Party City Holdings Inc.   Universal                          201307423        Multi CA, MX, Multi US, PR & poss                          ‐             ‐   Dan Parez       100 Universal City Plaza,    Universal City    CA       91608
                                                                                                                                                                            Bldg. 1440/13


Party City Holdings Inc.   UNIVERSAL STUDIOS LICENSING LLC                     UNIVERSAL STUDIOS LICENSING LLC                            ‐             ‐                   10 UNIVERSAL CITY PLAZA     UNIVERSAL CITY     CA       91608
                                                                               Supply Agreement




                                                                                                                            Page 65 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 66
                                                                                                                        193ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name           Contract ID              Title of Agreement                 Cure Amount         503(b)(9)    Notice Name                Address             City         State   ZIP Code

Amscan Inc.                Urgo, Laura                      M04345           Laura Urgo ‐ Amscan ‐ Separation                            ‐             ‐                     100 Tice Blvd             Woodcliff Lake    NJ      07677
                                                                             Agreement and General Release


Amscan Inc.                US Bank                                            XEROXC804S BROTHER                                         ‐             ‐   Jessica Buehler   1310 Madrid Street         Marshall        MN       56258
                                                                             9570
                                                                             (2) BROTHER 6400
                                                                             KYOCERA 2135 (SERVICEONLY)
Amscan Inc.                US Bank                                           (2) Brother 6400                                            ‐             ‐   Jessica Buehler   1310 Madrid Street         Marshall        MN       56258




Amscan Inc.                US Bank                                           2 ‐ Brother HL‐6400                                         ‐             ‐   Jessica Buehler   1310 Madrid Street         Marshall        MN       56258




Amscan Inc.                US Bank                                           3 ‐ BROTHER 6900                                            ‐             ‐   Jessica Buehler   1310 Madrid Street         Marshall        MN       56258
                                                                             2 ‐ BROTHER 6400


Amscan Inc.                US Bank                                           Brother6400                                                 ‐             ‐   Jessica Buehler   1310 Madrid Street         Marshall        MN       56258
                                                                             XeroxC8045
                                                                             Xerox B7035
                                                                             HP 2055 (SERVICE ONLY)
Party City Corporation     Vaso Group, LLC                  M05450           Vaso Group, LLC ‐ PCC ‐ Representative               $15,132.21           ‐                     1601 Elm Street, 33rd        Dallas         TX      75201
                                                                             Agreement                                                                                       Floor


Amscan Inc.                Veritiv ‐ Clifton (3M)           M05419           Veritiv ‐ Amscan ‐ Inventory Agreement               $45,120.37           ‐   Jeffrey           261 River Road               Clifton        NJ      07014
                                                                                                                                                           Hoeppner


Party City Holdings Inc.   Verizon Business Network         M05453           Verizon Business Network Services LLC ‐                     ‐             ‐   Mark Wilets       1095 Avenue of the         New York         NY      10036
                           Services LLC                                      PCHI ‐ M2M Service Agreement                                                                    Americas,


Party City Holdings Inc.   Verizon Business Network         M04478           Verizon Business Network Services LLC ‐                     ‐             ‐   Hans Vestberg     1000 Park Meadows Drive   Lone Tree         CO      80124
                           Services LLC                                      PCHI ‐ US Services Agreement Master
                                                                             Service Order Form [Tice Backup
                                                                             Internet Circuit]
Party City Holdings Inc.   Verst Group Logistics, Inc.      M04566           Verst Group Logistics, Inc ‐ PCHI ‐ General                 ‐             ‐   Jim Stadmiller    300 Shorland Drive          Walton          KY      41094
                                                                             Terms ‐ Agreement on the Supply of
                                                                             Goods and Services

Party City Holdings Inc.   Vision Woodworking, Inc.         M04348           Vision Woodworking, Inc ‐ PCHI ‐ Master                     ‐             ‐   John Jarret       7890 Hickory Street NE       Fridley       MN       55432
                                                                             Services Agreement and Statement of Work


Party City Holdings Inc.   Visionet Systems, Inc.           M04370           Visionet Systems, Inc ‐ PCHI ‐ Statement of                 ‐             ‐   Jawad Khan        4B Cedar Brook Drive       Cranbury         NJ      08512
                                                                             Work 2


Party City Holdings Inc.   Warner Brothers                  584309           Canada, Mexico, US                                          ‐             ‐   Dana Lira         4000 Warner Blvd           Burbank          CA      91522




Party City Holdings Inc.   Waypost Advisors, LLC            M03573           Waypost Advisors, LLC ‐ PCHI ‐ Master                       ‐             ‐   Emily             16526 W 78th Street,       Eden Prairie    MN       55346
                                                                             Services Agreement and Statement of                                           LeVasseur         Suite 335
                                                                             Work




                                                                                                                           Page 66 of 66
                                                                  Case23-90005
                                                                 Case  23-90005 Document
                                                                                 Document1117-2
                                                                                          947-2 Filed
                                                                                                Filed in
                                                                                                       in TXSB
                                                                                                          TXSB on
                                                                                                               on 04/28/23
                                                                                                                  05/12/23 Page
                                                                                                                           Page 67
                                                                                                                                194ofof
                                                                                                                                      122
                                                                                                                                        248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name                       Counterparty Name           Contract ID              Title of Agreement            Cure Amount             503(b)(9)    Notice Name             Address                  City         State   ZIP Code

Party City Holdings Inc.             Waypost Advisors, LLC            M04264          Waypost Advisors, LLC ‐ PCHI ‐                         ‐                 ‐   Emily          16526 W 78th Street,            Eden Prairie    MN       55346
                                                                                      Statement of Work 2                                                          LeVasseur      Suite 335


Party City Corporation               Waypost Advisors, LLC ‐ PCHI ‐                                                                          ‐                 ‐   Legal          16526 W 78th Street,            Eden Prairie    MN       55346
                                     Statement of Work 2                                                                                                           Department     Suite 335


Amscan Inc.                          Wells Fargo 3016018947003                        LEASE                                                  ‐                 ‐   Legal          300 Tri ‐State                  Lincolnshire     IL      60069
                                                                                                                                                                   Department     International, Ste 400


Amscan Inc.                          Wells Fargo 3016018947004                        LEASE                                            $1,320.47               ‐   Legal          800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                                                                                                   Department


Am‐Source, LLC                       Wells Fargo Bank, N.A.           M05617          Wells Fargo Equipment Finance,                         ‐                 ‐   Legal          300 Tri‐State                   Lincolnshire     IL      60069
                                                                                      Manufacturer Services Group ‐ contract                                       Department     International, Suite 400
                                                                                      number 301‐6018947‐003

Am‐Source, LLC                       Wells Fargo Bank, N.A.           M05617          Wells Fargo Equipment Finance,                         ‐                 ‐   Legal          800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                      Manufacturer Services Group ‐ contract                                       Department
                                                                                      number 301‐6018947‐004

Amscan Inc.                          Wells Fargo Bank, N.A.           M01903          Wells Fargo, NA ‐ Amscan dba Deco ‐                    ‐                 ‐   Charles W.     800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                      Amendment to Forklift Lease 301‐                                             Scharf
                                                                                      0677007‐005

Amscan Inc.                          Wells Fargo Bank, N.A.           M01904          Wells Fargo, NA ‐ Amscan dba Deco ‐                    ‐                 ‐   Charles W.     800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                      Amendment to Forklift Lease 301‐                                             Scharf
                                                                                      0677007‐006

Amscan Inc.                          Wells Fargo Bank, N.A.           M01902          Wells Fargo, NA ‐ Amscan dba Deco ‐                    ‐                 ‐   Charles W.     800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                      Forklift Lease 301‐0677007‐005                                               Scharf


Amscan Inc.                          Wells Fargo Bank, N.A.           M01906          Wells Fargo, NA ‐ Amscan dba Deco ‐                    ‐                 ‐   Charles W.     800 Walnut Street, 4th Floor    Des Moines       IA      50309
                                                                                      Forklift Lease 301‐0677007‐006                                               Scharf


Am‐Source, LLC                       Wells Fargo Bank, N.A.           M05616          Wells Fargo, NA ‐ Am‐Source, LLC ‐                           ‐           ‐                  300 Tri‐State                   Lincolnshire     IL      60069
                                                                                      Forklift Lease 301‐6018947‐003                                                              International, Suite 400


Party City Holdings Inc.; Party Ci   Weston, Brad                                     Second Amended and Restated                            ‐                 ‐                  100 Tice Blvd                  Woodcliff Lake    NJ      07677
                                                                                      Employment Agreement


Party City Holdings Inc.; Party Ci   Weston, Bradley                  M05363          Brad Weston ‐ PCH, PCHI ‐                              ‐                 ‐                  100 Tice Blvd                  Woodcliff Lake    NJ      07677
                                                                                      Indemnification Agreement


Party City Holdings Inc.             Whapps LLC                       M03309          Whapps LLC dba Work Proud ‐ Master               $5,960.63               ‐   Michael Levy   2435 N. Central                  Richardson      TX      75080
                                                                                      Services Agreement and Statement of                                                         Expressway, Suite 1180
                                                                                      Work

Party City Corporation               White, Michael                   M03307          Michael White ‐ PCC ‐ Separation                       ‐                 ‐                  100 Tice Blvd                  Woodcliff Lake    NJ      07677
                                                                                      Agreement and General Release




                                                                                                                               Page 67 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 68
                                                                                                                        195ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name             Counterparty Name             Contract ID               Title of Agreement               Cure Amount         503(b)(9)    Notice Name                  Address             City       State    ZIP Code

Amscan Inc.                Widen Enterprises, LLC            M05178           Widen Enterprises, LLC ‐ Amscan ‐                  $103,060.82           ‐                      53 state Steet, 10th Fl      Boston       MA        02109
                                                                              Statement of Work


Amscan Inc.                Widen Enterprises, LLC            M05179           Widen Enterprises, LLC ‐ Amscan ‐                          ‐             ‐                      53 state Steet, 10th Fl      Boston       MA        02109
                                                                              Amendment to MSA


Amscan Inc.                Widen Enterprises, LLC            M05177           Widen Enterprises, LLC ‐ Amscan ‐                          ‐             ‐                      6911 Mangrove Lane          Madison        WI       53713
                                                                              Master Services Agreement


Amscan Inc.                Willis Towers Watson                                                                                   $38,039.50           ‐   Attn: Legal        11 E 44th Street            New York      NY        10017
                                                                                                                                                           Dept


Party City Holdings Inc.   Willis Towers Watson US LLC       M03860           Willis Towers Watson US, LLC ‐ PCHI ‐                      ‐             ‐   Vincent F. Yezzi   100 Matsonford Road,         Radnor        PA       19087
                                                                              Statement of Work                                                                               Building 5, Suite 200


Party City Holdings Inc.   Wilmington Trust, National        CID10069         Credit Agreement ‐ 6.125% Senior Notes                     ‐             ‐                      246 Goose Lane, Suite 105   Guilford       CT       06437
                           Association as Trustee                             ‐ due 2023


Party City Holdings Inc.   Wilmington Trust, National        CID10070         Credit Agreement ‐ 6.625% Senior Notes                     ‐             ‐                      246 Goose Lane, Suite 105   Guilford       CT       06437
                           Association as Trustee                             ‐ due 2026


Amscan Inc.                Windstream (and its affiliates)   M01485           Windstream ‐ Amscan ‐ Amendment to                         ‐             ‐   Mike May           4001 N Rodney Parham        Little Rock    AR       72212
                                                                              Service Agreement No. 2314670 and Quote                                                         Road
                                                                              No. 2352045

Amscan Inc.                Windstream (and its affiliates)   M01303           Windstream ‐ Amscan, Inc. ‐ Service                        ‐             ‐   Mike May           4001 N Rodney Parham        Little Rock    AR       72212
                                                                              Agreement and Addendum (#2314670)                                                               Road


Party City Holdings Inc.   WL Tech Solutions, Inc.           M03467           WL Tech Solutions, Inc. ‐ PCHI ‐ Cloud                     ‐             ‐   Jeffrey            311 Route 46 West, Suite     Faifield      NJ       07004
                                                                              Solution Provider Agreement                                                  Davidson           Metrographics


Party City Holdings Inc.   WL Tech Solutions, Inc.           M04211           WL Tech Solutions, Inc. ‐ PCHI ‐ Statement                 ‐             ‐   Jeffrey            311 US‐46, Suite            Fairfield      NJ       07004
                                                                              of Work [Data Center Green Disposal and                                      Davidson           Metrographics
                                                                              Recycling]

Party City Corporation     WL Tech Solutions, Inc.           M05189           WL Technology Solutions ‐ PCC ‐ PPA                        ‐             ‐   Jeffrey            311 US‐46, Suite            Fairfield      NJ       07004
                                                                              Transfer Form (IBM's Passport Advantage)                                     Davidson           Metrographics


Party City Corporation     Worksright Software Inc                                                                                       ‐             ‐   Legal              PO BOX 1156                 MADISON        MS       39130
                                                                                                                                                           Department


Party City Holdings Inc.   Worldwide Retail Solutions Inc.   M05056           Worldwide Retail Solutions Inc ‐ PCHI ‐            $145,923.35           ‐   Tony Tellez        100 Marcus Blvd, Ste 6      Happaugue      NY       11788
                                                                              Master Services Agreement and Statement
                                                                              of Work

Party City Holdings Inc.   WORTHINGTON CYLINDER PA                            WORTHINGTON CYLINDER PA Supply                             ‐             ‐                      27406 NETWORK PLACE          CHICAGO       IL     60673‐1274
                                                                              Agreement




                                                                                                                           Page 68 of 66
                                                           Case23-90005
                                                          Case  23-90005 Document
                                                                          Document1117-2
                                                                                   947-2 Filed
                                                                                         Filed in
                                                                                                in TXSB
                                                                                                   TXSB on
                                                                                                        on 04/28/23
                                                                                                           05/12/23 Page
                                                                                                                    Page 69
                                                                                                                         196ofof
                                                                                                                               122
                                                                                                                                 248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


          Debtor Name              Counterparty Name           Contract ID               Title of Agreement                      Cure Amount           503(b)(9)    Notice Name              Address                City         State   ZIP Code

Amscan Inc.                Worthington Industries, Inc.      M02470          Worthington Industries, Inc. ‐ Amscan, Inc. ‐                      ‐              ‐   Millicent      200 West Old Wilson Bridge    Worthington       OH      43085
                                                                             Master Purchasing Agreement                                                           Morgan         Road


Party City Holdings Inc.   Wrike, Inc.                       M03991          Wrike, Inc ‐ PCHI ‐ Master Services                                ‐              ‐   Eileen Lo      9171 Towne Centre Dr.,         San Diego        CA      92122
                                                                             Agreement and Quote Q‐170222                                                                         Suite 200


Party City Holdings Inc.   Xpedited Services Inc.            M03815          Xpedited Services Inc ‐ PCHI ‐                                     ‐              ‐   Michael        630 New Country Road            Secaucus        NJ      07094
                                                                             Transportation Agreement                                                              Meldrim


Party City Corporation     Y & S Party, Inc.                 M00553          Franchise Agreement with Y & S Party, Inc.                         ‐              ‐   Sok Taek O     1256 West Lakewood Street      Springfield     MO       65810
                                                                             dated 01/20/2021


Party City Corporation     Yesmail, Inc.                     M05384          Yesmail Infogroup ‐ PCC ‐ Second                                   ‐              ‐   David McRae    421 South West Sixth            Portland        OR      97204
                                                                             Amendment Master Service Agreement                                                                   Avenue, Suite 400


Party City Holdings Inc.   Yottaa, Inc.                      M04620          Yottaa, Inc ‐ PCHI ‐ General Terms                          $34,980.00            ‐   Richard        333 Wyman Street, Suite         Waltham        MA       02451
                                                                             Agreement and Order Form                                                              Stendardo      200


Party City Holdings Inc.   Z100 Community Limited            M02465          Z100 Community Limited ‐ PCHI ‐ Event                              ‐              ‐   Sam Pelosi     28 Little Russell Street        London          UK     WC1A 2HN
                                                                             Ticket Services Agreement with Terms and
                                                                             Conditions

Party City Holdings Inc.   ZEPHYR SOLUTIONS                                  ZEPHYR SOLUTIONS Supply Agreement               $1,553,390.07687,186.96           ‐                  1050 LEAR INDUSTRIAL             AVON           OH      44011
                                                                                                                                                                                  PKWY


Party City Holdings Inc.   Zephyr Solutions, LLC             M03868          Zephyr Solutions LLC ‐ PCHI ‐ Product Supply                   $839.50            ‐   Scott          1050 Lear Industrial              Avon          OH      44011
                                                                             Agreement [Helium]                                                                    McCullough     Parkway


Party City Holdings Inc.   Zephyr Solutions, LLC             M04270          Zephyr Solutions LLC ‐ PCHI ‐ Amendment                            ‐              ‐   Scott          1050 Lear Industrial              Avon          OH      44011
                                                                             1 to Product Supply Agreement [Helium]                                                McCullough     Parkway


Party City Corporation     Zilker Technology, LLC            M05452          Zilker Technology, LLC ‐ PCC ‐ IBM Software                        ‐              ‐   Mark Clark     200 E. 6th Street, Suite         Austin         TX      78701
                                                                             Order 0018496908                                                                                     201


Party City Corporation     Zimmerman Advertising, LLC        M05429          Zimmerman Advertising LLC ‐ PCC ‐                                  ‐              ‐   Ronnie         6600 North Andrews           Fort Lauderdale    FL      33309
                                                                             Amendment 1 Service Agreement                                                         Haligman       Ave., Suite 200


Party City Holdco Inc.     Zimmerman Advertising, LLC        M02476          Zimmerman Advertising, LLC ‐ Party City                            ‐              ‐   Ronnie         6600 North Andrews           Fort Lauderdale    FL      33309
                                                                             Holdco Inc. ‐ Master Services Agreement                                               Haligman       Ave., Suite 200
                                                                             and Statement of Work

Am‐Source, LLC             ZOLL Medical Corporation          M03157          ZOLL Medical Corporation ‐ Am‐Source ‐                             ‐              ‐   Paul Dias      269 Mill Road                  Chelmsford      MA       01824
                                                                             Parking Space Lease Agreement


Party City Holdings Inc.   Zoom Video Communications, Inc.   M01381          Zoom Video Communications, Inc. ‐ PCHI                             ‐              ‐   Eric Yuan      55 Almaden Blvd, 6th            San Jose        CA      95113
                                                                             ‐ Master Subscription Agreement                                                                      Floor




                                                                                                                                  Page 69 of 66
                                                          Case23-90005
                                                         Case  23-90005 Document
                                                                         Document1117-2
                                                                                  947-2 Filed
                                                                                        Filed in
                                                                                               in TXSB
                                                                                                  TXSB on
                                                                                                       on 04/28/23
                                                                                                          05/12/23 Page
                                                                                                                   Page 70
                                                                                                                        197ofof
                                                                                                                              122
                                                                                                                                248
Party City Holdco Inc
Schedule of Assumed
Contracts
As of April 28, 2023


           Debtor Name               Counterparty Name           Contract ID               Title of Agreement              Cure Amount       503(b)(9)    Notice Name             Address        City     State   ZIP Code

  Party City Holdings Inc.   Zoom Video Communications, Inc.   M01382          Zoom Video Communications, Inc. ‐ PCHI                    ‐           ‐   Eric Yuan      55 Almaden Blvd, 6th   San Jose    CA      95113
                                                                               ‐ Order Form Quote Q876703                                                               Floor


  Party City Holdings Inc.   Zscaler, Inc.                     M05461          Zscaler, Inc ‐ PCHI ‐ Master Subscription                 ‐           ‐   Jugnu Bhatia   110 Rose Orchard Way   San Jose    CA      95134
                                                                               Agreement




                                                                                                                           Page 70 of 66
   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 198 of 248




                                      EXHIBIT B-3(2)

                     Redline to Schedule of Assumed Unexpired Leases

The Schedule of Assumed Unexpired Leases is organized into the following sub-schedules based
on the status of the negotiations and documentation of agreed renegotiated terms among the
Debtors and the applicable counterparties with respect to the assumption of the applicable
Unexpired Lease. The proposed cure amounts listed in each sub-schedule include taxes, common
area maintenance, and other reconciliations for which the Debtors have received an invoice. All
other reconciliations will be paid in the ordinary course upon receipt of a valid invoice.

   •   Schedule B-2(i): Unexpired Leases to be assumed.

   •   Schedule B-2(ii): Unexpired Leases to be assumed and assigned pursuant to the Order (I)
       Establishing Procedures to Sell Certain Leases and (II) Granting Related Relief [Docket
       No. 678], subject to any applicable Bankruptcy Court approvals.

   •   Schedule B-2(iii): Unexpired Leases for which (a) the Debtors and the applicable
       counterparties have agreed in writing on renegotiated terms of the applicable Unexpired
       Lease and are working to document such renegotiated terms in written amendments to the
       applicable Unexpired Lease and (b) the applicable counterparties have consented to an
       extension of the deadline by which the Debtors must assume or reject such Unexpired
       Lease (the “Agreed Deadline”). The Debtors reserve the right to alter, amend, modify, or
       supplement the Schedule of Assumed Executory Contracts and Unexpired Leases and the
       Schedule of Rejected Executory Contracts and Unexpired Leases, including to add or
       remove any Unexpired Leases on Schedule B-2(iii), at any time up to and including the
       Agreed Deadline. The Debtors reserve the right to modify the Agreed Deadline with the
       written consent of the applicable counterparties.

       Schedule B-2(iv): Unexpired Leases for which the Debtors and the applicable
       counterparties have agreed in writing on renegotiated terms of the applicable Unexpired
       Lease and are working to document such renegotiated terms in written amendments to the
       applicable Unexpired Lease. The Debtors reserve the right to alter, amend, modify, or
       supplement the Schedule of Assumed Executory Contracts and Unexpired Leases and the
       Schedule of Rejected Executory Contracts and Unexpired Leases, including to add or
       remove any Unexpired Leases on Schedule B-2(iv), at any time up to and including the
       deadline for assumption and rejection of Unexpired Leases pursuant to section 365(d)(4)
       of the Bankruptcy Code (or such later date agreed upon by the Debtors and the applicable
       counterparties to the applicable Unexpired Leases).
                                                                                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 199 of 248




PARTY CITY HOLDCO INC., et al
Schedule B-2(i)
2023

                                                                                                                                                         Property Address                                                                   Landlord Address
                                                                                                  Store Number /                                    Street                                                            Parent
       Counterparty          Debtor Counterparty            Description of Agreement                               Cure Amount    Street Address 1                City             State   Zip       Landlord                        Street Address            City         State      Zip
                                                                                                    Property ID                                    Address 2                                                         Company
                                                     Lease Agreement by and between JL
                                                     Glenn Square, LLC and Party City                                                                                                             FTC Property
FTC Property Management                              Corporation, dated as of February 28,                                        3090 Mountain                                                   Management                      1111 S. Calapoola
LLC                     Party City Corporation       2020                                                  1021           $0.00   View              Suite 120    Anchorage    AK            99501 LLC                             Street                Sutherlin     Oregon             97479
                                                                                                                                                                                                  G&I IXACS         Crawford
                                                     Lease Agreement by and between Jones                                                                                                         Valley Bend       Square Real
G&I IXACS Valley Bend                                Farm South, LLC and Party City of                                                                                                            Property          Estate
Property Shopping Center                             Huntsville, LLC dated December 20,                                           2750 Carl T Jones                                               Shopping          Advisors350 2700 2nd Ave. South, BirminghamBea
AL, LLC                     Party City Corporation   2002                                                  1039       $9,608.71   Dr SE             Suite 1100   Huntsville   AL            35802 Center AL, LLC    Pine Street Suite 200 800        umont         AlabamaTexas 3523377701
                                                     Indenture of Lease by and between                                                                                                            Cummings &
Cummings & White                                     Azalea Center, L.L.C. and Party City of                                                                                                      White
Spunner, Inc.               Party City Corporation   Mobile, L.L.C. dated March 26, 2004                   1036           $0.00   300 Azalea Rd     Suite E      Mobile       AL            36609 Spunner, Inc.                   PO Drawer 16227       Mobile        Alabama       36616-0227
                                                     Shopping Center Lease Agreement by
                                                     and between RCG-Montgomery, LLC and                                                                                                          PDQ
                                                     Party City of Mobile, L.L.C. dated June                                                                                                      Montgomery                      312 Catoma St, Suite
PDQ Montgomery LLC          Party City Corporation   26, 2013                                              1038           $0.00   2759 East Blvd                 Montgomery AL              36117 LLC                             200                  Montgomery     Alabama            36104
                                                                                                                                                                                                  Eastwood
                                                                                                                                                                                                  Village
                                                                                                                                                                                                  Shopping
                                                                                                                                                                                                  Center 1, LLC
Eastwood Village Shopping                                                                                                                                                                         and Eastwood
Center 1, LLC and Eastwood                           Lease by and between Map Eastwood,                                                                                                           Village
Village Shopping Center 2,                           LL and Party City of Eastwood, LLC d/b/a                                     1608 Montclair                                                  Shopping                        5119 Magazine
LLC                        Party City Corporation    Party City dated June 7, 2006                         1034      $22,445.09   Rd                             Birmingham AL              35210 Center 2, LLC                   Street                New Orleans   Louisiana          70115
                                                     Lease Agreement by and between Tiger
                                                     Town, Ltd. And PA Acquisition Corp.                                                                                                          THF/MRP      c/o THF
                                                     d/b/a Party American dated July 19,                                          2534 Enterprise                                                 Tiger Town,  Manageme           211 N. Stadium Blvd.,
THF/MRP Tiger Town, LLC     Party City Corporation   2006                                                   485      $11,369.29   Dr                             Opelika      AL            36801 LLC          nt, Inc.           Suite 201             Columbia      Missouri           65203
                                                     Lease by and between Fourth Quarter                                                                                                                       c/o Big V
                                                     Properties XXVII, LLC and Party City of                                      6275 University                                                 BVA Westside Properties         176 North Main
BVA Westside SPE LLC        Party City Corporation   Huntsville, LLC dated January 28, 2003                1035           $0.00   Dr NW             Suite 31     Huntsville   AL            35806 SPE LLC      LLC                Street, Suite 210     Florida       New York           10921
                                                                                                                                                                                                               c/o First
                                                     Lease Agreement by and between GS II                                                                                                                      National
                                                     Brook Highland LLC and Party City of                                                                                                         Brook        Property
                                                     Birmingham, LLC dated December 17,                                           5287 Highway                                                    Highland SC  Manageme           151 Bodman Place,
Brook Highland SC LLC       Party City Corporation   2013                                                  1040      $40,732.14   280                            Birmingham AL              35242 LLC          nt                 Suite 201             Red Bank      New Jersey          7701
                                                     Lease Agreement by and between
                                                     Eastern Shore Centre I, L.L.C. and Party
                                                     City of Mobile, L.L.C. dated March 31,                                       10200 Eastern     Hwy 181 & I-                                  Eastern Shore                   701 N. Post Oak
Eastern Shore Centre I, LLC Party City Corporation   2008                                                  1041       $9,228.32   Shore Blvd        10           Spanish Fort AL            36527 Centre I, LLC                   Road, Suite 210       Houston       Texas              77024
                                                     Lease Agreement by and between
                                                     Carlyle-Cypress Tuscaloosa I, LLC and
                                                     Party City Corporation dated June 23,                                        1800 McFarland                                                  Tuscaloosa,                     2700 2nd Avenue
Tuscaloosa, LLC             Party City Corporation   2021                                                  1156      $22,576.22   Blvd E                         Tuscaloosa   AL            35404 LLC                             South, Suite 200      Birmingham    Alabama            35233
                                                     Lease Agrement by and between                                                                                                                                  c/o
                                                     Pinnacle Hills, LLC and Party City                                           2203 S                                                          Pinnacle Hills,   Brookfield    350 N. Orleans
Pinnacle Hills, LLC         Party City Corporation   Corporation dated December 3, 2021                    1160           $0.00   Promenade Blvd                 Rogers       AR            72758 LLC               Properties    Street, Suite 300     Chicago       Illinois      60654-1607
                                                     Lease Agreement by and between                                                                                                               DSW Mesa          c/o DSW
DSW Mesa                                             Vestar Arizona XXVI, L.L.C. and Party City                                   1236 E Baseline                                                 Grand/Spectru     Commercial    1795 E Skyline Dr, Ste
Grand/Spectrum LLC          Party City Corporation   of Mesa, Inc. dated July 11, 2000                      950           $0.00   Rd                             Mesa         AZ            85204 m LLC             Real Estate   193                    Tucson       Arizona            85718
                                                                                                                                                                                                  K-GAM
                                                     Lease by and between K-Gam Broadway                                                                                                          Broadway          c/o I J Kivel
K-GAM Broadway                                       Craycroft, LLC and Party City of Arizona,                                                                                                    Craycroft,        Holdings,     7379 E Tanque Ve de
Craycroft, L.L.C.           Party City Corporation   Inc. dated July 16, 2010                               944      $11,109.00   5566 E Broadway                Tucson       AZ            85711 L.L.C.            LLC           Road                Tucson          Arizona            85715

                                                     Lease Agrement by and between Vestar                                                                                                         CT020
                                                     CTC Chandler, L.L.C. and Party City of                                       2770 E Germann                                                  Crossroads AZ                   2415 East Camelback
CT020 Crossroads AZ LLC     Party City Corporation   Chandler CTC, Inc. dated July 21, 2006                 953           $0.00   Rd                             Chandler     AZ            85286 LLC           c/o Vestar        Road, Suite 100     Phoenix         Arizona            85016
                                                     Lease Agreement by and between                                                                                                                             c/o Focus
                                                     Gilbert Chandler Heights, LLC and Party                                                      Power Road                                                    Real Estate       2158 N. Gilbert Road
BC Pico et al               Party City Corporation   City of Gilbert, Inc. dated July 21, 2006              955           $0.00   5364 S Power Rd & Ray Road Gilbert          AZ            85295 BC Pico et al Services          # 113                Mesa           Arizona            85203




                                                                                                                                                        Page 1 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 200 of 248




                                                       Sublease Agreement by and between
                                                       Vestar Arizona XLVII, L.L.C. and Party                                                                                     Vestar Happy
Vestar Happy Valley Phase                              City of Phoenix Happy Valley, Inc. dated                         2501 W Happy                                              Valley Phase                   2415 East Camelback
2, L.L.C.                 Party City Corporation       March 23, 2007                              957       $428.90    Valley Rd          40-1130       Phoenix       AZ   85085 2, L.L.C.    c/o Vestar        Road, Suite 100     Phoenix            Arizona      85016
                                                                                                                                                                                               c/o Arizona
                                                                                                                                                                                               Partners
                                                       Lease by and between Arrowhead                                                                                                          Retail
                                                       Center 01, LLC and Party City of rizona,                         8026 West Bell                                            Randolph     Investment        8300 North Hayden
Randolph Plaza LLC            Party City Corporation   Inc. dated March 24, 2010                    941      $463.46    Road                             Glendale      AZ   85308 Plaza LLC    Group, LLC        Road, Suite A200      Scottsdale       Arizona      85258
                                                       Lease by and between BVT Capital
                                                       Partners II, L.P. and Party City of
                                                       Scottsdale, Inc. dba Party City, The                                                                                                       c/o Yam
                                                       Discount Party Superstore dated April 7,                         15745 N. Hayden                                           Sonora Village, Properties, 15750 N. Northsight
Sonora Village, LLC           Party City Corporation   1998                                        948         $0.00    Road                             Scottsdale    AZ   85260 LLC             LLC         Blvd.               Scottsdale            Arizona      85260
                                                       Lease Agreement by and between
                                                       SimonCRE UTE III, LLC and Party City                             Prasada West -     Prasada                                SimonCRE UTE
SimonCRE UTE III, LLC         Party City Corporation   Corporation dated June 29, 2022             1199        $0.00    Phase II           Parkway       Surprise      AZ   85379 III, LLC                       6900 East 2nd Street Scottsdale        Arizona      85251
                                                       Lease between The Westcor Company
                                                       Limited Partnership and Party Ciy of
                                                       Paradise Valley, Inc. dated November                                                                                       FTT Village       C/O Carbas
FTT Village Square I, LLC     Party City Corporation   30, 1998                                    949     $14,361.45   4533 E Cactus Rd                 Phoenix       AZ   85032 Square I, LLC     Properties 3573 E. Sunrise Drive Tuscon             AZ           85718

                                                       Lease by and between The Price R.E.I.T.,                                                                                                c/o Kimco
                                                       Inc. and Party City of Phoenix Metro,                            2738 W Peoria                                             Metro Square Realty
Metro Square 553, LLC         Party City Corporation   Inc. dba Party City dated June 16, 1995     943      $8,763.97   Ave                              Phoenix       AZ   85029 553, LLC     Corporation 2429 Park Avenue            Tustin           California   92782
                                                       Tenant Lease by and between John F.
                                                       Long Properties LLLP and Party City of
                                                       Phoenix West, Inc. dated March 11,                               7515 W Encanto                                            Desert Sky
Desert Sky Esplanade, LLC     Party City Corporation   2002                                        951         $0.00    Blvd                           10 Phoenix      AZ   85035 Esplanade, LLC                 1234 E. 17th Street   Santa Ana        California   92701
                                                       Shopping Center Lease by and between
                                                       DE RITO/Kimco Riverview, LLC and Party                                                                                                    c/o Kimco 500 North Broadway,
                                                       City Mesa Riverview, Inc. dated                                                                                            KIMCO          Realty      Suite 201, PO Box
KIMCO Riverview, LLC          Party City Corporation   September 14, 2006                          954     $12,127.51   821 N Dobson Rd                  Mesa          AZ   85201 Riverview, LLC Corporation 9010              Jericho                  New York     11753

                                                       Lease Agreement by and between The
                                                       Market at Estrella Falls, LLC and Party                          1805 N. Pebble                                            Estrella Falls,   c/o Stark   629 Euclid Avenue,
Estrella Falls, LLC           Party City Corporation   City Corporation dated January 26, 2018     947         $0.00    Creek Pkwy.                      Goodyear      AZ   85338 LLC               Enterprises Suite 1300             Cleveland        Ohio         44114
                                                       Lease Agreement between Barclay
                                                       Creswin Tucson Spectrum, L.P. and Party                                                                                    DDR Tucson
DDR Tucson Spectrum II                                 City of Tucson South, Inc. dated April 4,                        5367 S Calle                                              Spectrum II                    3300 Enterprise
LLC                           Party City Corporation   2008                                        945     $23,963.66   Santa Cruz                       Tucson        AZ   85706 LLC                            Parkway               Beachwood        Ohio         44122
                                                       Lease Agreement by and between DDRA
                                                       Ahwatukee Foothills LLC and Party City                                                                                     DDRA
DDRA Ahwatukee Foothills                               of Phoenix-Ahwatukee, Inc. dated July                                                                                      Ahwatukee         c/o DDR      3300 Enterprise
LLC                      Party City Corporation        29, 2013                                    952     $13,945.30   4715 E. Ray Road                 Phoenix       AZ   85044 Foothills LLC     Corp.        Parkway               Beachwood        Ohio         44122
                                                       Agreement of Lease between Tully                                                                                           Pivotal 650
Pivotal 650 California St.,                            Corners Associates, L.P. and Party City                                                                                    California St.,                2201 E. Camelback
LLC                           Party City Corporation   Corporation dated October 9, 1997           614         $0.00    1986 Tully Rd                    San Jose      CA   95122 LLC               c/o Vestar   Rd.                   Phoenix          Arizona      85016
                                                       Lease Agreement by and between                                                                                             Tristar
                                                       Haun/Newport, LLC and Party City                                                                                           International                  14730 Don Julian
Tristar International LLC     Party City Corporation   Corporation dated September 3, 2014         883         $0.00    30115 Haun Road                  Menifee       CA   92584 LLC                            Road                  City of Industry California   91746

                                                                                                                                                                                              c/o
                                                                                                                                                                                              American
                                                       Lease Agreement by and between                                                                                             AAT GATEWAY Assets Trust 3420 Carmel
AAT GATEWAY                                            Brixton-Alto Highland LLC and Party City                         40 North 4th                                              MARKETPLACE Manageme Mountain Road,
MARKETPLACE LLC               Party City Corporation   Corporation dated November 9, 2015          521         $0.00    Avenue             Suite 120     Chula Vista   CA   91910 LLC         nt, LLC      Suite 100                   San Diego        California   92121
                                                       Lease by and between BPP/Valley
                                                       Central, L.P. and PA Acquisition Corp.                                                                                                     c/o
                                                       dba Party City aka Party America dated                           44600 Valley                                              B33 Valley      Bridge33       601 Union Street,
B33 Valley Central II, LLC    Party City Corporation   December 29, 2000                           1401        $0.00    Central Way        Suite 103     Lancaster     CA   93536 Central II, LLC Capital        Suite 1115            Seattle          WA           98101
                                                                                                                                                                                                  c/o
                                                                                                                                                                                                  Browman
                                                       Lease Agreement by and between                                                                                                             Developme
                                                       Morgan Hill Retail Venture LP and Party                                                                                    Morgan Hill     nt
Morgan Hill Retail Venture                             City Corporation dated September 9,             $7,423.9719,815 1007 Cochrane                                              Retail Venture Company,
L.P.                       Party City Corporation      2013                                        867 .02             Road                              Morgan Hill   CA   95037 L.P.            Inc.           1556 Parkside Drive   Walnut Creek     California   94596
                                                                                                                                                                                  Orange Town c/o
                                                                                                                                                                                  & Country       Burnham
Orange Town & Country                                  Lease Agreement by and between EPIPD                                                                                       SPE, LLC and USA
SPE, LLC and Schiffman                                 - Town & Country, L.P. and Party City                                                                                      Schiffman       Equities,      1100 Newport Center
Place, LLC                    Party City Corporation   Corporation dated July 9, 1998              679     $16,327.93   763 S Main St                    Orange        CA   92868 Place, LLC      Inc.           Drive, Suite 200    Newport Beach California        92660




                                                                                                                                              Page 2 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 201 of 248




                                                     Lease Agreement by and between AIG                                                                                                   c/o Colliers
                                                     Baker Brentwood, L.L.C. and Party City                          2470 Sand Creek                                     Sand Creek       Internationa 1850 Mt. Diablo,
Sand Creek Crossing LLC     Party City Corporation   Corporation dated March 1, 2002              444       $0.00    Rd                         Brentwood     CA   94513 Crossing LLC     l            Suite 200               Walnut Creek     California        94596
                                                                                                                                                                         Laguna
                                                     Lease by and between Laguna Pavilion,                                                                               Pavilion SC,
Laguna Pavilion SC, LLC &                            LLC and Party America, Inc. dated May                                                                               LLC & John       c/o Cordano
John Kontoudakis            Party City Corporation   16, 2000                                    1304    $1,858.00   7440 Laguna Blvd       104 Elk Grove     CA   95758 Kontoudakis      Company     1112 11th Street         Sacramento       California        95814

                                                     Shopping Center Lease by and between                                                                                                 c/o
                                                     South River and Citrus Properties, LLC                                                                              CPF              Cornerstone
                                                     and PA Acquisition Corp. dated                                  27029 McBean                                        Promenade,       Real Estate 100 Wilshire Blvd,
CPF Promenade, LLC          Party City Corporation   September 10, 2001                          1517   $16,865.40   Pkwy                       Santa Clarita CA   91355 LLC              Advisers    Suite 700                Santa Monica     California        90401
                                                     Retail Lease by and between S & V Van
                                                     Nuys Associates, LLC and Party City                             7882 Van Nuys                                       NF Plant        c/o Decron 6222 Wilshire Blvd.,
NF Plant Enterprises, LP    Party City Corporation   Corporation dated October 1, 1997            639       $0.00    Blvd                       Van Nuys      CA   91402 Enterprises, LP Properties Suite 400                  Los Angeles      California        90048

                                                     Retail Lease by and between Irvine                                                                                               c/o
                                                     Retail Properties Company and Party                             2826 El Camino                                      The Irvine   Donahue
The Irvine Company, LLC     Party City Corporation   City Corporation dated January 21, 1997      548       $0.00    Real                       Tustin        CA   92782 Company, LLC Schriber          2777 El Camino Real Tustin              California        92680

                                                     Lease Agreement by and between                                                                                      Downey           c/o Eclipse
                                                     Downey Landing, LLC and PA Acquisition                          12076 Lakewood                                      Landing SPE,     Developme 17802 Skypark Circle
Downey Landing SPE, LLC     Party City Corporation   Corp. dated October 28, 2005                1521   $16,923.62   Blvd                       Downey        CA   90242 LLC              nt Group    #200               Irvine                 California        92618
                                                                                                                                                                                          C/O
                                                                                                                                                                                          ENGSTROM
                                                     Lease Agreement by and between W.C.                                                                                                  PROPERTIES
                                                     Investors, LLC and Party City Corporation                       1386 E. Main                                        El Tigre         INC                            West
El Tigre Holding Corp       Party City Corporation   dated January 20, 2012                       809    $5,483.87   Street                     Woodland      CA   95776 Holding Corp     TRUSTEE     837 JEFFERSON BLVD Sacramento             California        95691
                                                                                                                                                                         Asset
                                                     Lease Agreement by and between Asset                                                                                Acquisitions,    c/o Festival
                                                     Acquisitions, L.L.C. and Horowitz                                                                                   L.L.C. and       Manageme
Asset Acquisitions, L.L.C.                           Holdings, L.L.C. and Party City                                 2935 Los Feliz                                      Horowitz         nt           9841 Airport
and Horowitz Holdings, LLC Party City Corporation    Corporation dated June 13, 2002              439       $0.00    Blvd                       Los Angeles   CA   90039 Holdings, LLC    Corporation Boulevard, Suite 700 Los Angeles          California        90045
                                                     Lease Agreement by and between
                                                     Washington Square Associates, LLC and                                                                                             c/o Fulcrum
                                                     Party City Corporation dated May 23,                            373 S. McDowell                                     CCF PCG       Property
CCF PCG Petaluma LLC        Party City Corporation   2018                                        1166       $0.00    Blvd.                      Petaluma      CA   94954 Petaluma LLC Group             1530 J Street, #200    Sacramento       California        95814
                                                     Lease Agreement by and between                                                                                                    c/o Fulcrum
                                                     Investment Bankers, Ltd. and Party City                                                                             F&M           Property         1530 J Street, Suite
F&M PARTNERSHIP             Party City Corporation   Corporation dated July 1, 2002              449R       $0.00    1703 Arden Way             Sacramento CA      95815 PARTNERSHIP Group              200                    Sacramento       California        95814
                                                                                                                                                                         NTO RLR, LLC;
                                                                                                                                                                         NTO KPS, LLC
NTO RLR, LLC; NTO KPS, LLC                           Lease Agreement by and between                                                                                      and Investec c/o Investec
and Investec Capital                                 Newbury Thousand Oaks, LLC and Party                                                       Thousand                 Capital       Real Estate      200 E. Carrillo Street,
Corporation                Party City Corporation    City Corporation dated March 1, 2002         446       $0.00    2715 Teller Rd             Oaks          CA   91320 Corporation Company            Suite 200               Santa Barbara   California        93101

                                                                                                                                                                         Torrance         c/o La Caze
                                                     Shopping Center Lease by and between                                                                                Towne Center     Developme
Torrance Towne Center                                Airport Plaza Associates II and Party                           25361 Crenshaw                                      Associates,      nt Company    2601 Airport Drive,
Associates, LLC,            Party City Corporation   World, Inc. dated April 24, 1987            1506       $0.00    Blvd                       Torrance      CA   90505 LLC,             LLC           Suite 300              Torrance         California        90505
                                                     Lease Agreement by and between                                                                                      Eastvale         c/o Lewis
                                                     Eastvale Gateway II, LLC and Party City                         12339 Limonite                                      Gateway II,      Operating     1156 North
Eastvale Gateway II, LLC    Party City Corporation   Corporation dated July 25, 2006              486       $0.00    Ave                        Eastvale      CA   91752 LLC              Corp.         Mountain Avenue        Upland           California   91786-3633
                                                     Shopping Center Lease by and between
                                                     Redlands Joint Venture, LLC and PA                                                                                                 c/o Majestic    13191 Crossroads
                                                     Acquisition Corp. dated February 20,                            27588 W Lugonia                                     Redlands Joint Realty          Parkway North, 6th
Redlands Joint Venture LLC Party City Corporation    2004                                        1510    $5,838.90   Ave                        Redlands      CA   92374 Venture LLC Company            Floor                  City of Industry California   91796-3497
                                                                                                                                                                                        c/o
                                                     Lease Agreement by and between La                                                                                                  Primestor
                                                     Alameda, LLC and Party City Corporation                         7600 S Alameda             Huntington               La Alameda, Developme          201 South Figueroa
La Alameda, LLC             Party City Corporation   dated March 31, 2016                         965   $41,952.94   St                         Park          CA   90255 LLC            nt              Street, Suite 300      Los Angeles      California        90012

                                                     Lease Agreement by and between Indio
                                                     Jackson, LLC d/b/a Jackson 42, LLC and                                                                                               c/o Regency
                                                     Party City Corporation dated May 20,                            42800 Jackson                                       Indio Jackson,   Centers       265 Santa Helena,
Indio Jackson, LLC          Party City Corporation   2011                                         760       $0.00    Ave                        Indio         CA   92203 LLC              Corporation   Suite 211              Solana Beach     California        92075
                                                     Lease by and between Concord                                                                                        Concord          c/o
Concord Investment                                   Investment Company and Party                                    545 Contra Costa                                    Investment       Reynolds &    1200 Concord
Company                     Party City Corporation   America, Inc. dated July 21, 1993           1203       $0.00    Blvd                       Pleasant Hill CA   94523 Company          Brown         Avenue, Suite 200      Concord          California        94520
                                                     Shopping Center Lease between Santa
                                                     Rosa Southside and Party America, Inc.                          2675 Santa Rosa                                     Santa Rosa                     2663 Santa Rosa
Santa Rosa Southside, LLC   Party City Corporation   dated July 15, 1994                         1101     $968.56    Ave                        Santa Rosa    CA   95407 Southside, LLC c/o ROIC        Avenue                 Santa Rosa       California        95407




                                                                                                                                        Page 3 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 202 of 248




                                                                                                                                                                                Shapell SoCal
                                                     Lease Agreement by and between                                                                                             Rental        c/o Shapell
Shapell SoCal Rental                                 Shapell Industries, Inc. and PCLN, Inc.                          27110 Alicia                     Laguna                   Properties,   Properties, 8383 Wilshire
Properties, LLC             Party City Corporation   dated August 29, 2001                       751     $18,608.41   Pkwy                             Niguel        CA   92677 LLC           Inc.        Boulevard, Suite 700 Beverly Hills              California   90211

                                                     Shopping Center Lease by and between                                                                                                     c/o
                                                     Tri-Equities Investment Pool I Limited                                                                                     Facchino/LaBa Terracomm
Facchino/LaBarera Blossom                            Partnership and Food 4 Less Modesto,                             863 Blossom Hill                                          rera Blossom ercial Real 873 Blossom Hill
Hill LLC                  Party City Corporation     Inc. dated August 29, 1991                  638          $0.00   Rd                               San Jose      CA   95123 Hill LLC      Corporation Road                           San Jose         California   95123
                                                     Shopping Center Lease by and between
                                                     RB Village/Orange II, LLC, RB                                                                                                                c/o
                                                     Village/Orange III, LLC and RB Orange                                                                                      THE VILLAGE       Terramar
THE VILLAGE AT ORANGE                                Partners LLC and PA Acquisition Corp.                            1500 E Village                                            AT ORANGE         Retail          4695 MacArthur
LLC                         Party City Corporation   dated March 31, 2005                        1520    $17,336.55   Way                 Suite 2364   Orange        CA   92865 LLC               Centers, Inc.   Court, Suite 700       Newport Beach California      92660
                                                                                                                                                                                                  c/o Tri
                                                     Lease Agreement by and between                                                                                             Broadstone        Property
Broadstone Marketplace                               Broadstone Marketplace LLC and PA                                                                                          Marketplace       Manageme        2205 Plaza Drive,
LLC                         Party City Corporation   Acquisition Corp. dated January 10, 2002    1305      $126.28    2780 E Bidwell St           100 Folsom         CA   95630 LLC               nt Services     Suite 100              Rocklin          California   95765
                                                                                                                                                                                CREA/PPC
                                                     Sublease Agreement by and between                                                                                          Long Beach
CREA/PPC Long Beach                                  Vestar Development Co. and Party City                                                                                      Towne Center c/o Barings          2321 Rosecrans
Towne Center PO, L.L.C.     Party City Corporation   Corporation dated July 31, 1997             605     $31,827.27   7571 Carson Blvd                 Long Beach    CA   90808 PO, L.L.C.   LLC                  Avenue, Suite 4225     El Segundo       California   90245

                                                     Standard Industrial Lease-Gross by and
                                                     between Hansen Management and                                    1289 Veterans                    Redwood                  WPI/Village       c/o WP
WPI/Village Partners        Party City Corporation   Party America, Inc. dated April 25, 1995    1211    $31,750.32   Blvd                             City          CA   94063 Partners          Investments 2101 Woodside Road Woodside                 California   94062
                                                                                                                                                                                Encinitas         c/o Zelman
                                                     Lease by and between Encinitas Town                                                                                        Town Center       Retail
Encinitas Town Center                                Center Associates, LLC and Party City                            1016 N El Camino                                          Associates I,     Partners,   2400 E. Katella Ave.,
Associates I, LLC           Party City Corporation   Corporation dated April 15, 1996             526    $24,069.17   Real                             Encinitas     CA   92024 LLC               Inc.        Suite 760             Anaheim,              California   92806
                                                     Lease Agreement by and between                                                                                             Paramount
                                                     Turlock Investment Holdings, LLC and                                                                                       International
Paramount International                              Party City Corporation dated February                            3015 N Tegner                                             Investment,                       1398 W. Herndon
Investment, LLC             Party City Corporation   25, 2008                                    414     $13,900.61   Rd                               Turlock       CA   95380 LLC                               Avenue, Ste 105        Fresno           California   93711
                                                     Lease Agreement by and between
                                                     Fallbrook Square Partners and Party City                         6559 Fallbrook                                            ROIC                              11250 El Camino
ROIC California, LLC        Party City Corporation   Corporation dated October 2001              442     $24,971.30   Ave                              West Hills    CA   91307 California, LLC                   Real, Suite 200        San Diego        California   92130
                                                                                                                                                                                Harden Ranch
                                                     Lease Agreement by and between                                                                                             Plaza
Harden Ranch Plaza                                   Harden Ranch Associates and Party City                                                                                     Associates,                       1490 North Main
Associates, LLC             Party City Corporation   Corporation dated May 28, 2002              470          $0.00   1684 N Main St                   Salinas       CA   93906 LLC                               Street                 Salinas          California   93906
                                                                                                                                                                                                  c/o
                                                                                                                                                                                                  Crosspoint
                                                     Lease Agreement by and between                                                                                             Courtyard E       Realty
                                                     Fairfield Gateway, L.P. and Party City                           1574 Gateway                                              Associates,       Services,       20211 Patio Drive,
Courtyard E Associates, LLC Party City Corporation   Corporation dated October 9, 2007           498          $0.00   Blvd                             Fairfield     CA   94533 LLC               Inc.            Suite 145              Castro Valley    California   94546
                                                     Shopping Center Lease by and between
                                                     Harvey Capital Corp. and Party City Corp.                        2480 S Sepulveda                                          Harvey Capital                    11835 W. Olympic
Harvey Capital Corp.        Party City Corporation   dated July 5, 1995                          514          $0.00   Blvd                             Los Angeles   CA   90064 Corp.                             Blvd, Suite 300        Los Angeles      California   90064

                                                     Standard Shopping Center Lease by and                                                                                      Sierra Center
Sierra Center Investments,                           between SDC Partners, Ltd. and Party                             3060 Baldwin                                              Investments,
LLC                        Party City Corporation    City Corporation dated August 21, 1996      541          $0.00   Park Blvd           Suite C-100 Baldwin Park CA     91706 LLC                               P.O. Box 570485        Tarzana          California   91357
                                                     Lease by and between Alhambra                                    2500 W                                                    CFT NV
                                                     Redevelopment Agency and Party City                              Commonwealth                                              Developments                      1683 Walnut Grove
CFT NV Developments, LLC Party City Corporation      Corporation dated July 8, 1996              544    $116,993.29   Ave                 B            Alhambra      CA   91803 , LLC                             Avenue                 Rosemead         California   91770
                                                     Commercial Lease by and between Brea                                                                                                         c/o J.G.
                                                     Union Partners and Party City                                    2485 E Imperial                                           Brea Union        Manageme 5743 Corsa Avenue,            Westlake
Brea Union Plaza I, LLC     Party City Corporation   Corporation dated October 31, 1997          566          $0.00   Hwy                              Brea          CA   92821 Plaza I, LLC      nt Co.,, Inc. Suite 200                Village          California   91362
                                                     Shopping Center Lease Agreement by
                                                     and between Daly City Serramonte
                                                     Center LLC and Party City Corporation                            151B Serramonte Second                                    Regency                           260 California St., 4th
Regency Centers, L.P.       Party City Corporation   dated March 31, 2016                        571       $243.30    Center          Floor            Daly City     CA   94015 Centers, L.P.                     Floor                   San Francisco   California   94111
                                                     Shopping Center Lease between                                                                                              Hastings
                                                     Hastings Village Investment Company,                                                                                       Village       c/o The
Hastings Village Investment                          L.P. and Party City Corporation dated                            3353 E Foothill                                           Investment    Arba Group,         6300 Wilshire Blvd,
Company L.P.                Party City Corporation   April 8, 1997                               573          $0.00   Blvd                             Pasadena      CA   91107 Company L.P. Inc.                 Suite 1800             Los Angeles      California   90048

                                                     Lease Agreement by and between Tung                                                                                        Tung Nguyen
Tung Nguyen and Lien Thi                             Nguyen and Lien Thi Duong and Party                              2401 McHenry                                              and Lien Thi
Duong                       Party City Corporation   City Corporation dated August 16, 2013      624          $0.00   Ave                              Modesto       CA   95350 Duong                             P.O Box 3779           Modesto          California   95352




                                                                                                                                              Page 4 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 203 of 248




                                                      Lease Agreement by and between
                                                      Grand Plaza, LLC and Party City                                 157 South Las                                             Grand Plaza,
Grand Plaza, LLC            Party City Corporation    Corporation dated August 26, 2010           661        $0.00    Posas Road                       San Marcos    CA   92078 LLC                            5190 Campus Drive      Newport Beach California          92660
                                                      Standard Lease between Huntington
                                                      Executive Park and PCHB, Inc. d/b/a
                                                      Party City Huntington Beach dated                                                                Huntington               Huntington                     16168 Beach          Huntington
Huntington Executive Park Party City Corporation      March 28, 1996                              749        $0.00    16100 Beach Blvd                 Beach         CA   92647 Executive Park                 Boulevard, Suite 200 Beach             California        92647
                                                      Lease Agreement by and between Byer                                                                                       Byer
                                                      Properties, L.P. and Party City                                 20740 Stevens                                             Properties,
Byer Properties, L.P.       Party City Corporation    Corporation dated November 8, 2011          810    $14,883.77   Creek Blvd.                      Cupertino     CA   95014 L.P.                           66 Potrero Avenue      San Francisco   California        94103
                                                      Lease Agreement by and between Gray                                                                                       Gray
                                                      Enterprises, L.P. and Party City                                                                                          Enterprises,                   2200 Harbor Blvd.,
Gray Enterprises, L.P.      Party City Corporation    Corporation dated July 30, 2013             874        $0.00    2200 Harbor Blvd Suite P-110 Costa Mesa        CA   92627 L.P.                           Suite B-170            Costa Mesa      California        92627
                                                      Lease Agreement by and between
                                                      HMVP Hilltop Inc. and Party City                                1613 Hilltop                                              Hilltop Town                   319 South Robertson
Hilltop Town Center, LLC    Party City Corporation    Corporation dated September 23, 2013        876     $7,660.54   Drive               Suites E-K   Redding       CA   96002 Center, LLC                    Blvd.               Beverly Hills      California        90211

                                                      Lease Agreement by and between Peter                                                                                      Peter P.
                                                      P. Bollinger 2003 LLC and Party City                                                             Citrus                   Bollinger
Peter P. Bollinger 2003, LLC Party City Corporation   Corporation dated February 4, 2014          882        $0.00    6302 Sunrise Blvd                Heights       CA   95610 2003, LLC                      540 Fulton Avenue      Sacramento      California        95825
                                                      Lease Agreement by and between
                                                      Centennial Capital , LP and Party City                          1842 W Lacey                                              Centennial                     1850 S. Sepulveda
Centennial Capital, LP      Party City Corporation    Corporation dated June 28, 2016             968        $0.00    Ave                              Hanford       CA   93230 Capital, LP                    Blvd.                  Los Angeles     California        90025
                                                      Lease Agreement by and between
                                                      Raintree Realty LLC and Party City                              1100 Jefferson                                            Raintree                       100 Shoreline Hwy,
Raintree Realty LLC         Party City Corporation    Corporation dated May 5, 2016               976     $1,722.10   Blvd                             Culver City   CA   90230 Realty LLC                     Bldg B, #395           Mill Valley     California        94941
                                                      Lease Agreement by and between Toys
                                                      Center, LLC and Party City Corporation                          580 Francisco                                             Toys Center                    855 Lakeville Street
Toys Center LLC             Party City Corporation    dated October 12, 2021                      1167       $0.00    Blvd W                           San Rafael    CA   94901 LLC                            Suite 200              Petaluma        California        94952
                                                      Store Lease by and between 4XS Corp.
                                                      and Party World, Inc. dated February 26,                        2011 N                                                    4XS Project
4XS Project Co.             Party City Corporation    1988                                        1504    $7,459.63   Hollywood Way                    Burbank       CA   91505 Co.                            415 E. High Street     Moorpark        California        93021
                                                      Shopping Center Lease by and between                                                                                      Castle &
                                                      Castle & Cooke Corona Crossings I, Inc.                                                                                   Cooke Corona
Castle & Cooke Corona                                 and PA Acquisition Corp. dated February                                                                                   Crossings I,                   10000 Stockdale
Crossings I, Inc.           Party City Corporation    9, 2005                                     1508   $10,977.77   2415 Tuscany St Suite 101        Corona        CA   92881 Inc.                           Highway, Suite 300     Bakersfield     California        93311
                                                      Shopping Center Lease between The
                                                      SGR Development Corporation and PA
                                                      Acquisition Corporation dated August                                                                                      ETS Properties
ETS Properties LLC          Party City Corporation    11, 1999                                    1515    $2,615.00   415 Cochran St      Suite 100    Simi Valley   CA   93065 LLC                            2593 Newbern Court Thousand Oaks California              91361
                                                      Lease Agreement by and between REA
                                                      Victorville, LLC and PA Acquisition Corp.                       12410 Amargosa                                            Brittan                        24151 Ventura Blvd
Brittan Parkway LLC         Party City Corporation    dated March 24, 2006                        1519       $0.00    Rd             Suite B           Victorville   CA   92392 Parkway LLC                    Ste 350                LOS ANGELES     Calabasas         91302
                                                                                                                                                                                                 c/o Pine
                                                      Lease Agreement by and between                                                                                            GREF GG          Tree
GREF GG Eastland Center                               Eastland Shopping Center LLC and Party                          2620 E Workman                                            Eastland         Commercial    13450 Maxella
LP                          Party City Corporation    City Corporation dated May 14, 1998         560    $15,516.86   Ave            Space 2           West Covina CA     91791 Center LP        Realty LLC    Avenue, Suite 240      Marina Del Rey California         90292
                                                                                                                                                                                                 c/o
                                                                                                                                                                                                 Combined
                                                      Lease Agreement by and between                                                                                            Reseda           Properties,   7315 Wisconsin
Reseda Shopping Center II                             Reseda Shopping Center II LLC and Party                         19389 Victory                                             Shopping         Incorporate   Avenue Suite 1000
LLC                       Party City Corporation      City Corporation dated May 4, 2011          752    $16,725.23   Blvd                             Reseda        CA   91335 Center II LLC    d             West                   Bethesda        Maryland          20814

                                                      Shopping Center Lease by Cypress Creek                                                                                                  c/o Sunbelt
                                                      Co., L.P. d/b/a PTC and Party City                                                                                        Cypress Creek Investment
Cypress Creek Co., L.P.     Party City Corporation    Corporation dated August 24, 1994           507    $11,053.61   624 Palomar St                   Chula Vista   CA   91911 Co., L.P.     Holding Inc.     8095 Othello Avenue San Diego          California        92111
                                                                                                                                                                                              c/o Federal
                                                      Lease Agreement by and between FR                                                                                                       Realty           1626 East Jefferson
                                                      Westgate Mall, LLC and Party City                               1600 Saratoga                                             FR Westgate Investment         Street909 Rose         RockvilleNorth               20852-
FR Westgate Mall, LLC       Party City Corporation    Corporation dated April 3, 2014             546    $19,512.27   Ave                 Suite 303    San Jose      CA   95129 Mall, LLC     Trust            Avenue, Suite 200      Bethesda       Maryland      404120852
                                                      Lease Agreement by and between
                                                      Brixmor Proeprty Owner II, LLC and                                                                                        Brixmor       c/o Brixmor
Brixmor Property Owner II,                            Party City Corporation dated October                            13360 E.                         Santa Fe                 Property      Property         450 Lexington
LLC                        Party City Corporation     28, 2015                                    634    $19,337.59   Telegraph Road                   Springs       CA   90670 Owner II, LLC Group            Avenue, 13th Floor     New York        New York          10017
                                                      Lease Agreement by and between                                                                                                          c/o Brixmor
                                                      Brixmor Metro 580 SC, L.P. and Party                            4575 Rosewood                                             Brixmor Metro Property         450 Lexington
Brixmor Metro 580 SC, L.P. Party City Corporation     City Corporation dated March 25, 2015       644       $94.96    Drive                            Pleasanton    CA   94588 580 SC, L.P.  Group            Avenue, 13th Floor     New York        New York          10017
                                                      Restate Lease Agreement by and
                                                      between Brixmor Property Owner II, LLC                                                                                    Brixmor          c/o Brixmor
                                                      and Party City Corporation dated March                                                                                    Property         Property    450 Lexington
Brixmor Property Group      Party City Corporation    12, 2015                                    1204   $28,366.85   141 Plaza Dr        Suite B      Vallejo       CA   94591 Group            Group       Avenue, 13th Floor       New York        New York          10017




                                                                                                                                              Page 5 of 41
                                                                                                             Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 204 of 248




                                                       Shopping Center Lease by and between                                                                                               CLPF
                                                       Prism-IQ Partners, LLC and S.J. Craig                                                                                              GATEWAY
CLPF GATEWAY TOWNE                                     Corporation dba Party City dated                                   208 Towne                                                       TOWNE                         601 S. Figueroa
CENTER LP                     Party City Corporation   December 17, 2008                             622          $0.00   Center Drive                    Compton      CA           90220 CENTER LP                     Street, Suite 3600    Los Angeles   California   90017
                                                       Lease by and between California State
                                                       Teachers' Retirement System and Party                                                                                                            c/o Kimco 500 North Broadway,
                                                       City Corporation dated November 6,                                                                                                 PK II Anaheim Realty      Suite 201, PO Box
PK II Anaheim Plaza LP        Party City Corporation   1995                                          506     $16,295.15   418 N Euclid St                 Anaheim      CA           92801 Plaza LP      Corporation 9010              Jericho               New York     11753

                                                       Lease Agreement by and between                                                                                                                    c/o Kimco 500 North Broadway
                                                       Fremont Retail Partners, LP and Party                              39210 Fremont                                                   Fremont Retail Realty      Suite 201, P.O. Box
Fremont Retail Partners, LP Party City Corporation     City Corporation dated March 31, 2016        1219     $27,730.98   HUB                 Suite 211   Fremont      CA           94538 Partners, LP   Corporation 9010                Jericho            New York     11753

                                                       Lease Agreement by and between PL                                                                                                                  c/o Kimco 500 North Broadway
                                                       Roseville LP and Party City Corporation                            6748 Stanford                                                                   Realty      Suite 201, P.O. Box
PL Roseville LP               Party City Corporation   dated January 22, 2016                       1301          $0.00   Ranch Rd                        Roseville    CA           95678 PL Roseville LP Corporation 9010                Jerhico           New York     11753
                                                       Lease Agreement by and between CT
                                                       Retail Properties Finance II, LLC and                                                                                              CT Retail       c/o Kimco 500 North Broadway
CT Retail Properties                                   Party City Corporation dated February                              338 South                                                       Properties      Realty      Suite 201, P.O. Box
Finance II, LLC               Party City Corporation   12, 2014                                     1509     $12,253.91   Mountain Ave.                   Upland       CA           91786 Finance II, LLC Corporation 9010                Jericho           New York     11753
                                                       Lease Agreement by and between
                                                       Broadway Pavilion LLC and Party City                                                                                               Broadway        c/o Phillips
Broadway Pavilion LLC         Party City Corporation   Corporation dated May 14, 2013                858          $0.00   2410 S Broadway                 Santa Maria CA            93454 Pavilion LLC    Edison       11501 Northlake Dr     Steve         Ohio         45249
                                                                                                                                                                                                          c/o
                                                       Lease Agreement by and between                                                                                                                     Schottenste
                                                       Madonna Plaza SRT LP and Party City                                271-A Madonna                   San Luis                         Madonna        in Property 4300 East 5th
Madonna Plaza SRT LP          Party City Corporation   Corporation dated October 24, 2021           1163          $0.00   Road                            Obispo       CA   93405          Plaza SRT LP   Group        Avenue                 Columbus      Ohio         43218
                                                       Retail Lease by and between
                                                       BPP/Hilltop, L.P. and Party City                                                                                                   DDRM Hilltop c/o Site         3300 Enterprise
DDRM Hilltop Plaza L.P.       Party City Corporation   Corporation dated December 23, 1997           626          $0.00   3500A Klose Way                 Richmond     CA           94806 Plaza L.P.     Centers        Parkway               Beachwood     Ohio         44122
                                                       Lease Agreement by and between                                                                                                                    c/o Sarofim
                                                       Bristol Center Holding LP and Party City                                                                                           Bristol Center Realty         8115 Preston Rd.,
Bristol Center Holding LP     Party City Corporation   Corporation dated November 25, 2013            76          $0.00   3837 S Bristol St               Santa Ana    CA           92704 Holding LP     Advisors       Suite 400             Dallas        Texas        75225
                                                                                                                                                                                          Yosemite Park
                                                                                                                                                                                          Shopping
                                                                                                                                                                                          Center 05 A,
                                                       Lease Agreement by and between                                                                                                     LLC, and
Yosemite Park Shopping                                 Yosemite Park Shopping Center 05 A,                                                                                                Yosemite Park c/o ACF
Center 05 A, LLC, and                                  LLC and Yosemite Park Shopping Center                                                                                              Shopping       Property
Yosemite Park Shopping                                 15 B, LLC and Party City Corporation                               8222 S Yosemite                                                 Center 15 B, Manageme         12411 Ventura
Center 15 B, LLC.             Party City Corporation   dated January 16, 2018                        610          $0.00   St              Suite 100       Centennial   CO           80112 LLC.           nt, Inc.       Boulevard             Studio City   California   91604
                                                       Shopping Center Lease by and between
                                                       Northglenn Realty Partners Ltd. And                                                                                                Washington c/o ACF
Washington Point Lennane                               Paper Warehouse, Inc. dated October                                                                                                Point Lennane PROPERTY        12411 VENTURA
04, LLC                  Party City Corporation        20, 1995                                     1072     $10,571.21   450 E 120th Ave A-1             Northglenn   CO           80233 04, LLC       MGMT, INC.      BLVD                  STUDIO CITY   California   91604
                                                                                                                                                                                                        c/o New
                                                       Lease Agreement by and between                                                                                                                   Mark
                                                       NMMS Twin Peaks, LLC and Party City                                1240 South                                                      NMMS Twin Merrill             5850 Canoga Avenue,
NMMS Twin Peaks, LLC          Party City Corporation   Corporation dated January 28, 2015            890          $0.00   Hover St            Suite 300   Longmont     CO           80501 Peaks, LLC    Companies       Suite 650           Woodland Hills California    91367
                                                       Shopping Center Lease between Belmar                                                                                                             c/o
                                                       I, LLC and PA Acquisition Corp. dated                              7000 W Alameda                                                  B33 Belmar II Bridge33        9330 W. Sahara
B33 Belmar II LLC             Party City Corporation   April 10, 2003                               3202 $0.0017,951.26   Ave            Unit C           Lakewood     CO           80226 LLC           Capital         Avenue, Ste 270       Las Vegas     Nevada       89117
                                                       Lease Agreement by and between FC
                                                       Quebec Square, L.L.C. and Party City                                                                                               ALTO QUEBEC c/o CBRE,         1225 17th Street,
ALTO QUEBEC SQUARE LP         Party City Corporation   Corporation dated March 5, 2002              3203     $11,735.74   7757 E 36th Ave             620 Denver       CO           80238 SQUARE LP      Inc.           #3200                 Denver        Colorado     80202
                                                       Lease Agreement by and between                                                                                                                    C/o Jordon
                                                       Bowles Village Center, LLC and Party City                                                                                          Bowles Village Perlmutter     1601 Blake Street,
Bowles Village Center, LLP Party City Corporation      Corporation dated July 31, 2002               472          $0.00   7735 W Long Dr                  Littleton    CO           80123 Center, LLP    & Co.          #600                  Denver        Colorado     80202

                                                       Lease Agreement by and between
                                                       University Hills Plaza, LLC and Party City                         2530 S. Colorado                                                University Hills c/o Judd &
University Hills Plaza, LLC   Party City Corporation   Corporation dated December 3, 2012            117          $0.00   Road                            Denver       CO           80222 Plaza, LLC       Company      495 S. Pearl Street   Denver        Colorado     80209

                                                       Lease Agreement by and between First                                                                                               First & Main    c/o
First & Main South, No. 1,                             & Main South, LLC and PA Acquisition                               3036 New Center                 Colorado                        South, No. 1,   Nor'wood 111 South Tejon            Colorado
LLC                           Party City Corporation   Corp. dated February 20, 2003                3301          $0.00   Pt                              Springs      CO           80922 LLC             Limited, Inc. Street, Suite 222     Springs       Colorado     80903
                                                       Lease Agreement by and between
                                                       Weingarten/Miller/Aurora Joint Venture                                                                                             PREP Aurora     c/o Prep
PREP Aurora Real Estate                                and Party City Corporation dated May                               14160 E Ellsworth                                               Real Estate     Property      100 S. Abilene Street,
LLC                           Party City Corporation   29, 2002                                      457          $0.00   Ave                             Aurora       CO           80012 LLC             Group         Unit C                 Aurora       Colorado     80012




                                                                                                                                                 Page 6 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 205 of 248




                                                      Lease Agreement by and between
                                                      Square Shopping Center LLC and Party                                                                                            Square
Square Shopping Center                                City Corporation dated September 1,                             3500 S College                                                  Shopping                     3500 S. College
LLC                         Party City Corporation    2021                                        570R       $0.00    Ave               Unit 130    Fort Collins   CO           80525 Center LLC                   Avenue               Fort Collins    Colorado           80525
                                                      Shopping Center Lease by and between                                                                                                           c/o M&J
                                                      Southlands Power Center, LLC and PA                                                                                                            Wilkow
                                                      Acquisition Corp. dated December 2,                             23901 E Orchard                                                 Southlands PC, Properties    20 South Clark St,
Southlands PC, LLC          Party City Corporation    2004                                        3206       $0.00    Rd              Unit B        Aurora         CO           80016 LLC            Inc.          Suite 3000           Chicago         Illinois           60602
                                                      Shopping Center Lease by and between
                                                      Marketplace One Limited Liability                                                                                               Brixmor GA       c/o Brixmor
Brixmor GA Westminster                                Company and Party America, Inc. dated                           9420 Sheridan                                                   Westminster      Property    450 Lexington
LLC                         Party City Corporation    February 13, 1995                           3201      $86.92    Blvd                          Westminster CO              80031 LLC              Group       Avenue, 13th Floor   New York        New York           10017
                                                      Lease Agreement by and between DDR
                                                      MCH West LLC and Party City                                     7690 N. Academy               Colorado                          DDR MCH          c/o Site   3300 Enterprise
DDR MCH West LLC            Party City Corporation    Corporation dated April 24, 2018             642       $0.00    Blvd.           Suite 115     Springs        CO           80920 West LLC         Centers    Parkway               Beachwood       Ohio               44122
                                                      Indenture of Lease by and between                                                                                                                c/o Andreo
                                                      LMA/U.S.A., LLC and iParty Retail Stores                        15-17 Main        Putnam                                         LMA/U.S.A.,     Family
LMA/U.S.A., LLC             Party City Corporation    Corp. dated October 14, 2004                6062       $0.00    Street            Bridge Plaza East Hartford CT   06118          LLC             Enterprise 4 Main St             East Hartford   Connecticut         6040

                                                      Retail Shopping Lease between Hamden                                                                                             Hamden Plaza
Hamden Plaza Associates,                              Plaza Associates, L.L.C. and Branford                           2100 Dixwell                                                     Associates,  c/o MJB
LLC                         Party City Corporation    Party Inc. dated October 19, 2009            889       $0.00    Avenue                        Hamden         CT   06514          LLC          Real Estate 260 A Quarry Road       Milford         Connecticut         6460
                                                      Agreement of Lease by and between
                                                      Stamford Ridgeway Associates Limited
                                                      Partnership and Party City Corp. dated                                                                                           UB Stamford,
UB Stamford, L.P.           Party City Corporation    April 1996                                   545   $21,561.94   2255 Summer St                Stamford       CT   06905          L.P.                        321 Railroad Avenue Greenwich        Connecticut         6830
                                                      Lease Agreement by and between A&J                                                                                               Prime
Prime Development Group                               Equities, LLC and Party City Corporation                        292 Boston Post                                                  Development                 101 Merritt Blvd,
LLC                     Party City Corporation        dated December 18, 2009                      591       $0.00    Rd                            Orange         CT   06477          Group LLC                   Suite 208            Trumbull        Connecticut         6611

                                                      Lease between Turnpike Shopping                                                                                                  Turnpike
Turnpike Shopping Center,                             Center, LLC and JJAADS, Inc. d/b/a Party                        2009 Black Rock                                                  Shopping                    1189 Post Road,
LLC                       Party City Corporation      City of Fairfield dated April 1, 2005        913   $25,757.05   Tpke                          Fairfield      CT   06825          Center, LLC                 Suite 3B             Fairfield       Connecticut         6824
                                                                                                                                                                                                                   c/o Regency Ceners
                                                      Indenture of Lease by Samuel J. Heyman                                                                                                                       Corporation
                                                      and JJAADS II, LLC dated January 29,                            500 Connecticut                                                  Equity One                  One Independent
Equity One (Darinor) LLC    Party City Corporation    1996                                         912       $0.00    Ave                           Norwalk        CT   06854          (Darinor) LLC               Drive, Suite 114     Jacksonville    Florida            32202
                                                                                                                                                                                                       c/o M.S.
                                                                                                                                        THE PLAZA                                                      Manageme
                                                      Lease by and between Plaza at Buckland                                            AT                                             Plaza at        nt
                                                      Hills, LLC and iParty Retail Stores Corp.                       1444 Pleasant     BUCKLAND                                       Buckland Hills, Associates 111 Monument
Plaza at Buckland Hills, LLC Party City Corporation   dated January 10, 2011                      6071    $1,100.00   Valley Rd D-01    HILLS     Manchester CT         06042          LLC             Inc.       Circle, Suite 3500    Indianapolis    Indiana       46204-3438
                                                      Shopping Center Lease by and between
                                                      Waterford Commons of CT, LLC and                                                                                                 Brixmor GA  c/o Brixmor
Brixmor GA Waterford                                  iPartyRetail Stores Corp. dated                                 915 Hartford                                                     Waterford   Property    450 Lexington
Commons LLC                 Party City Corporation    November 14, 2002                           6049       $0.00    Tpke                          Waterford      CT   06385          Commons LLC Group       Avenue, 13th Floor       New York        New York           10017
                                                      Lease Agreement by and between
                                                      JPMCC 2006-LDP Centro Enfield, LLC and                                                                                           ENFIELD
ENFIELD SQUARE REALTY                                 Party City Corporation dated December                                                                                            SQUARE          c/o Namco 150 Great Neck
LLC                         Party City Corporation    19, 2016                                    6014    $7,919.34   90 Elm Street     Space 8     Enfield        CT   06082          REALTY LLC      Realty LLC Road, Suite 304       Great Neck      New York           11021
                                                                                                                                                                                       Berlin
                                                      Lease Agreement by and between Berlin                                                                                            Newington
Berlin Newington                                      Newington Associates, LLC and Party                             3087 Berlin       JoAnne's                                       Associates,
Associates, LLC             Party City Corporation    City Corporation dated June 29, 2017         575       $0.00    Turnpike          Plaza       Newington      CT   06111          LLC                         55 Watermill Lane    Great Neck      New York           11021
                                                      Lease Agreement by and between
                                                      E&A/I&G Simsbury Commons, Limited                                                                                                          c/o
                                                      Partnership and Party City Corporation                          530 Bushy Hill                                                Simsbury     Northpath         114 East 44th Street,
Simsbury Commons, LLC       Party City Corporation    dated August 5, 2014                         901       $0.00    Road              Suite 50    Simsbury       CT   06070       Commons, LLC Investments       Suite 502             New York       New York           10017
                                                                                                                                                                                                 c/o
                                                                                                                                                                                    BH Premium Lexington
                                                      Lease by and between DDRTC                                                                                                    Quality      Realty
BH Premium Quality                                    Naugatuck Valley SC LLC and Braford                             910 Wolcott                                                   Waterbury,   Internationa      911 East County Line
Waterbury, LLC              Party City Corporation    Party Inc. dated June 2, 2009                887    $6,964.64   Street                        Waterbury      CT   06705       LLC          l, LLC            Road, Suite 207      Lakewood        NJ                  8701
                                                                                                                                                                                    CENTERPOINT
                                                                                                                                                                                    CAP I, LLC,
                                                      Lease Agreement by and between                                                                                                CENTERPOINT
CENTERPOINTCAP I, LLC,                                Centerpointcap I, LLC; Centerpointap II,                                                                                      CAP II, LLC,
CENTERPOINTCAP II, LLC,                               LLC; and Centerpointcap III, LLC and                            1297                                                          and
and CENTERPOINTCAP III,                               Party City Corporation dated January 11,                        Churchman's                                                   CENTERPOINT
LLC                         Party City Corporation    2021                                        1015       $0.00    Road                          Newark         DE         19713 CAP III, LLC                   105 Foulk Road       Wilmington      Delaware           19803




                                                                                                                                           Page 7 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 206 of 248




                                                                                                                                                                                              c/o
                                                      Lease Agreement by and between CW                                                                                                       Milbrook
North Dover C ommons,                                 Dover, LLC and Party City Coporation                             1047 North                                               North Dover C Properties
LLC                          Party City Corporation   dated December 12, 2012                      852        $0.00    Dupont Hwy         Suite 1049   Dover         DE   19901 ommons, LLC LTD                  42 Bayview Avenue    Manhasset       New York     11030
                                                      Lease Agreement by and between RCG                                                                                                      c/o Harbert
                                                      Pensacola, LLC and Party City                                    6241-A North                                             Pensacola     Realty             2 North 20th Street,
Pensacola Commons, LLC       Party City Corporation   Corporation dated April 9, 2013              338        $0.00    Davis Highway                   Pensacola     FL   32504 Commons, LLC Services            Sutie 1700           Birmingham      Alabama      32502
                                                      Shopping Center Lease between NAP                                                   Market                                              c/o CBRE
                                                      Seminole Marketplace LLC and Factory                                                Place @                               SPUS8 FB      Global
SPUS8 FB Seminole JV                                  Card Outlet of America, LTD. dated                               2171 Wp Ball       Seminole                              Seminole JV   Investors,         601 S. Figueroa
PROP, LLC                    Party City Corporation   October 29, 2004                             5332       $0.00    Blvd               Towne        Sanford       FL   32771 PROP, LLC     LLC                Street, 49th Floor   Los Angeles     California   90017
                                                      Lease Agreement by and between                                                                                                          c/o
                                                      Benderson Properties, Inc. & Donald                                                                                                     Benderson
                                                      Robinson and Party City Corporation                              1745 NW St Lucie                                         Benderson     Developme          7978 Cooper Creek
Benderson Properties         Party City Corporation   dated May 2, 2011                            708    $13,210.81   West Blvd                       Port St Lucie FL   34986 Properties    nt                 Boulevard, Suite 100 University Park Florida      34201
                                                                                                                                                                                              c/o
                                                                                                                                                                                              LandQwest
                                                      Lease Agreement by and between                                                                                                          Property
                                                      Bradenton Associates and Factory Card                                                                                                   Manageme
                                                      Outlet of America, LTD. dated                                                                                             Bradenton I, nt Tampa            5601 Mariner Street,
Bradenton I, LLC             Party City Corporation   September 25, 1997                           5285       $0.00    845 Cortez Rd W Cortez Plz E Bradenton        FL   34207 LLC           Bay                Suite 220            Tampa           Florida      33907
                                                      Lease Agreement by and between
                                                      Coramar Investment, Inc. and Party City                                                                                   Coramar
                                                      Franchise Group, LLC dated March 20,                             15947 Biscayne                                           Investment,                      15923 Biscayne Blvd., North Miami
Coramar Investment, Inc      Party City Corporation   2008                                         316        $0.00    Blvd                            Miami         FL   33160 Inc                              Suite 212             Beach          Florida      33160

                                                      Lease Agreement by and between GRE                                                                                        ECA Buligo     c/o East
ECA Buligo Red Willow                                 Red Willow LP and Party City                                     5916 Red Bug                    Winter                   Red Willow     Coast             13041 W Linebaugh
Partners LP                  Party City Corporation   Corporation dated July 16, 2013              866        $0.00    Lake Rd                         Springs       FL   32708 Partners LP    Acquisitions      Avenue               Tampa           Florida      33626
                                                                                                                                                                                               c/o
                                                      Shopping Center Lease between                                                                                                            Foresight
                                                      University Commercial Center, LTD. And                                                                                                   Property
                                                      Party City of Fowler, Inc. dated                                 1719 E Fowler                                                           Services,         3980 Tampa Road,
PV-Fowler, LLC               Party City Corporation   December 2, 1994                             1104       $0.00    Ave                             Tampa         FL   33612 PV-Fowler, LLC LLC               Suite 205            Oldsmar         Florida      34677
                                                      Lease Agreement by and between                                                                                            Columbia-BBB
                                                      Columbia-BBB Westchester Shopping                                                                                         Westchester
                                                      Center Associates and Party City                                                                                          Shopping       c/o Ideal
Columbia-BBB Westchester                              Franchise Group, LLC dated November                                                                                       Center         Manageme          12568 N Kendall
Shopping Center Associates Party City Corporation     20, 2008                                     135    $18,016.43   8675 SW 24th St                 Miami         FL   33155 Associates     nt                Drive                Miami           Florida      33186
                                                      Lease Agreement by and between                                                                                            Ireland
                                                      Ireland Tallahassee, Ltd. and The Party                          1739 Apalachee                                           Tallahassee                      85 Weston Road,
Ireland Tallahassee Ltd.     Party City Corporation   Supermarket, Inc. dated May 28, 1998         327     $9,355.26   Parkway                         Tallahassee   FL   32301 Ltd.                             Suite 101            Weston          Florida      33326
                                                      Indenture of Lease between Hayday,
                                                      Inc. and Party City of Little Havana, Inc.                                                                                               c/o Leon
Hayday, Inc.                 Party City Corporation   dated September 1, 2003                      210        $0.00    3727 NW 7th St                  Miami         FL   33126 Hayday, Inc. Reithaver           401 NW 38th Court    Miami           Florida      33126
                                                                                                                                                                                               c/o
                                                      Lease Agreement by and between                                                                                                           O'Connor
                                                      Osceola Crossings Owner, LLC and Party                           641 Centerview                                           HUH DI/OCP Capital               240 Royal Palm Way,
HUH DI/OCP Crosslands LLC Party City Corporation      City Corporation dated August 17, 2015       377     $4,448.27   Blvd.                           Kissimmee     FL   34741 Crosslands LLC Partners          2nd Floor           Palm Beach       Florida      33480
                                                                                                                                                                                               c/o
                                                      Lease Agreement by and between                                                                                                           Partridge
                                                      Brixmor HTG SPE 1 LLC and Party City                             3501 N Federal                  Lighthouse               W4C LLC and Equity                                    Pompano
W4C LLC and NH 13 LLC        Party City Corporation   Corporation dated January 5, 2012            549    $52,974.75   Hwy                             Point         FL   33064 NH 13 LLC      Group             1769 NE 33rd Street. Beach           Florida      33064
                                                      Shopping Center Lease by and between
                                                      IPSC Associates, L.L.C. and Party City of                                                                                 SPG Doral         c/o Schmier
SPG Doral Retail Partners,                            Miami (Doral), Inc. dated September 12,                          10650 NW 19th      Internationa                          Retail            Property       2200 Butts Road,
LLC                          Party City Corporation   2002                                         333        $0.00    St                 l Plaza      Miami         FL   33172 Partners, LLC     Group          Suite 300            Boca Raton      Florida      33431
                                                      Lease Agreement by and between                                                                                                              c/o SEC
                                                      Savannah Square Associates, Ltd. and                                                                                        Savannah        Commercial
Savannah Square                                       Party City Corporation dated May 10,                             12540 W. Sunrise                                           Square          Realty         1541 Sunset Drive,
Associates Ltd               Party City Corporation   2013                                         326    $30,922.83   Blvd             Bay 22B        Sunrise       FL   33323   Associates Ltd Group, Inc.     Ste 300              Coral Gables    Florida      33143
                                                      Lease between Jensen Town Center, Ltd.                                                                                                      c/o Phillips
                                                      And The Party Supermarket, Inc. dated                            4189 NW Federal                                            Jensen Beach Edison &          11501 Northlake
Jensen Beach Station, LLC    Party City Corporation   October 18, 2004                             350    $12,527.61   Hwy                             Jensen Beach FL    34957   Station, LLC    Company        Drive                Cincinnati      Ohio         45249
                                                      Lease between Crossroads Associates                                                                                         Northwoods c/o The
Northwoods Limited                                    Limited and The Big Party Corporation                            1960 Tyrone                     St.                        Limited         Sembler
Partnership                  Party City Corporation   dated January 18, 1997                       6025       $0.00    Blvd.                           Petersburg    FL   33710   Partnership     Company        5858 Central Avenue St. Petersburg   Florida      33707
                                                      Lease Agreement by and between                                                                                              Aventura
Aventura Fashion Island,                              Aventura Fashion Island, L.P. and Party                          18861 Biscayne                                             Fashion Island, c/o            19501 Biscayne Blvd.,
L.P.                         Party City Corporation   City Corporation dated July 12, 2012         309        $0.00    Blvd.                           Aventura      FL   33180   L.P.            Turnberry      Suite 400             Aventura       Florida      33143




                                                                                                                                             Page 8 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 207 of 248




                                                     Lease Agreement by and between
                                                     Metropolitan Life Insurance Co. and                                                                                                     C/o Orion
                                                     Party City Corporation dated January 19,                        13615 South                                              Orion Colonial Real Estate    200 S. Biscayne Blvd.,
Orion Colonial Plaza, LLC   Party City Corporation   2011                                       317          $0.00   Dixie Hwy           Suite 119   Palmetto Bay FL    33176 Plaza, LLC     Group          7th Floor              Miami         Florida         33131
                                                     Lease Agreement by and between G & I                                                                                     G&I IX         c/o
                                                     IX Southgate Shopping Center LLC and                                                                                     Southgate      Woolbright
G&I IX Southgate Shopping                            Party City Corporation dated December                                                           New Port                 Shopping       Developme      3200 N. Military Trail,
Center LLC                Party City Corporation     22, 2021                                   6064         $0.00   5145 US-19                      Richey       FL    34652 Center LLC     nt, Inc.       4th Floor               Boca Raton   Florida         33431
                                                                                                                                                                              Palm Springs
                                                     Lease by and between Palm Springs Mile                                                                                   Mile
Palm Springs Mile                                    Associates, Ltd. and Party City                                                                                          Associates,                   419 West 49th
Associates, Ltd.            Party City Corporation   Corporation dated November 7, 1995         166      $1,480.51   775 W 49th St       Unit 2      Hialeah      FL    33012 Ltd.                          Street, Suite 300     Hialeah        Florida         33012
                                                     Lease by and between United States
                                                     Development, Ltd. and Party City of                                                                                      United States
United States                                        West Dade, Inc. dated September 20,                                              Units C20 &                             Development,                  3001 Ponce de Leon
Development, Ltd.           Party City Corporation   1996                                       207     $27,962.65   11865 SW 26th St C21         Miami           FL    33175 Ltd.                          Boulevard, Suite 101 Coral Gables    Florida         33134
                                                     Shopping Center Lease between Fraga
                                                     CR LLC and Party City Franchise Gorup,                          20831 S Dixie                                            MS Shopping
MS Shopping Center LLC      Party City Corporation   LLC dated November 20, 2007                238          $0.00   Hwy                             Miami        FL    33189 Center LLC                    845 NE 79th Street    Miami          Florida         33138
                                                     Shopping Center Lease Agreement
                                                     between Glades - Pike East, Ltd. and
                                                     Party City Corporation dated April 8,                                                                                    Investments                   215 North Federal.
Investments Limited         Party City Corporation   1996                                       523          $0.00   8095 Glades Rd                  Boca Raton   FL    33434 Limited                       Highway, Suite 1      Boca Raton     Florida         33432
                                                     Lease Agreement by and between Pine                                                                                                                    101 Plaza Real South,
                                                     Trail Square, LLC and Party City                                1901 North                      West Palm                Pine Trail                    Suite 200, Royal Palm
Pine Trail Square, LLC      Party City Corporation   Corporation dated April 13, 2018           651     $18,519.84   Military Trail                  Beach        FL    33409 Square, LLC                   Place                 Boca Raton     Florida         33432
                                                     Lease Agreement by and between
                                                     Narcoossee Acquisitions, LLC and Party                                                                                   Narcoossee
Narcoossee Acquisitions,                             City Franchise Gorup, LLC dated March                           7153 Narcoosse                                           Acquisitions,                 130 S. Orange
LLC                         Party City Corporation   23, 2010                                   655          $0.00   Road                            Orlando      FL    32822 LLC                           Avenue, Suite 202     Orlando        Florida         32801
                                                     Lease Agreement by and between                                                                                           BlueRock
                                                     Waterford Oaks, LLC and Party City                              1444 N. Alafaya                                          Developent,
BlueRock Developent, LLC    Party City Corporation   Corporation dated June 21, 2015            697     $14,545.12   Trail                           Orlando      FL    32828 LLC                           8998 Gladin Court     Orlando        Florida         32819
                                                     Lease Agreement by and between                                                                                           Vicenza Plaza
Vicenza Plaza Associates,                            Vicenza Plaza Associates, LLC and Party                         11860 Hialeah                   Hialeah                  Associates,                   703 Waterford Way,
LLC                         Party City Corporation   City Corporation dated May 4, 2012         825      $7,810.10   Gardens Blvd                    Gardens      FL    33018 LLC                           Suite 800          Miami             Florida    33126-4677
                                                     Lese by and between Developers
                                                     Diversified Finance Coporation and                                                                                                      c/o The
                                                     Factory Card Outlet of America Ltd.,                            1474 W Granada Ormond           Ormond                   J-7 Land       Jaffe
J-7 Land Partners, LLLP     Party City Corporation   dated May 16, 1997                         5245         $0.00   Blvd Ste 455   Town Sq          Beach        FL    32174 Partners, LLLP Corporation 300 North Nova Road Ormond Beach Florida                32174
                                                     Lease Agreement by and between SDC
                                                     Retail Country Club Plaza- FL, Inc. and
                                                     Party City Franchise Group, LLC dated                           18452-18538 NW                                           Jamestown                     675 Ponce De Leon
Jamestown CCP LP            Party City Corporation   November 22, 2010                          510          $0.00   67th Avenue                     Hialeah      FL    33015 CCP LP                        Ave NE, 7th Floor     Atlanta        Georgia         30308
                                                     Lease Agreement by and between RPAI                                                                                                      c/o Hiffman
                                                     Royal Palm Beach Commons, L.L.C. and                                                                                                     Asset
                                                     Party City Corporation dated December          $11,342.2540,82 521 N State Road                 Royal Palm               511 SR7         Manageme      One Oakbrook          Oakbrook
511 SR7 Owner, LLC          Party City Corporation   31, 2015                                   331 2.72            7                                Beach        FL    33411 Owner, LLC      nt            Terrace, #400         Terrace        Illinois        60181
                                                                                                                                                                                              c/o
                                                     Lease Agreement by and between                                                                                                           InvenTrust
                                                     Branch Capital Partners, L.P. and Party                         8051A Dr Martin                                          IA St.          Property
                                                     City of St. Petersburg, Inc. dated March                        Luther King Jr St                                        Petersburg      Manageme      3025 Highland
IA St. Petersburg LLC       Party City Corporation   11, 1999                                   1108    $12,627.55   N                               St Petersburg FL   33702 LLC             nt, LLC       Parkway, Suite 350    Downers Grove Illinois         60515
                                                     Lease Agreement by and between WMD
                                                     London Square, LLC and The Party
                                                     Supermarket, Inc. dated September 22,                           13550 SW 120th                                           BVK London                    222 S. Riverside Plaza
BVK London Square LLC       Party City Corporation   2006                                       374     $24,741.95   St             Suite 438        Miami        FL    33186 Square LLC      c/o RREEF     26th Floor             Chicago       Illinois        60606
                                                     Lease Agreement between Powerline                                                                                        KRG Boca        c/o Kite
KRG Boca Raton Palms                                 Associates and The Party Supermarket,                           22191 Powerline                                          Raton Palms     Realty        30 South Meridian
Plaza, LLC                  Party City Corporation   Inc. dated August 23, 1996                 323          $0.00   Rd Ste 23C                      Boca Raton   FL    33433 Plaza, LLC      Group         Street, Suite 1100    Indianapolis   Indiana         46204
                                                     Lease Agreement by and between KRG
                                                     CREC/KS Pembroke Pines, LLC and Party                                                                                    KRG           c/o Kite
                                                     City Franchise Group, LLC dated October                                                         Pembroke                 Pembroke      Realty          30 South Meridian
KRG Pembroke Pines, LLC     Party City Corporation   28, 2008                                   324          $0.00   14804 Pines Blvd                Pines        FL    33027 Pines, LLC    Group           Street, Suite 1100    Indianapolis   Indiana         46204
                                                                                                                                                                                            c/o M.S.
                                                                                                                                                                                            Manageme
                                                     Lease by and between Coconut Point                              8070                                                     Coconut Point nt
Coconut Point Developers,                            Developers, LLC and Party City of Bonita                        Mediterranean                                            Developers,   Associates      225 West
LLC                       Party City Corporation     Springs, Inc. dated March 15, 2005         348     $23,079.71   Dr                              Estero       FL    33928 LLC           Inc.            Washington Street     Indianapolis   Indiana    46204-3438




                                                                                                                                            Page 9 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 208 of 248




                                                       Standard Retail Lease between Danis
                                                       Properties Limited Partnership and
                                                       Factory Card Outlet of America, Ltd.                            4286 US Highway                                          PMAT VILLAGE c/o PMAT        109 Northpark Blvd.
PMAT VILLAGE PLAZA LLC       Party City Corporation    dated June 30, 1997                        5289         $0.00   98 N            Village Plaza Lakeland       FL    33809 PLAZA LLC      COMPANIES     Suite 300           Covington       Louisiana       70433
                                                       Lease Agreement by and between Tri-                                                                                                     c/o Federal
                                                       County Plaza Associates, Ltd. and Party                                                                                                 Realty
                                                       City Franchise Group, LLC dated August                          2134 South                                               Federal Realty Investment    909 Rose Ave, Suite
Federal Realty OP LP         Party City Corporation    17, 2010                                   302          $0.00   University Drive                Davie        FL    33324 OP LP          Trust         200                   North Bethesda Maryland       20852
                                                       Lease Agreement by and between                                                                                                          c/o
                                                       Equity One (Florida Portfolio), Inc. and                                                                                 LRF1           Longpoint
                                                       Party City Corporation dated March 15,         $11,021.5612,56 220 University                   Pembroke                 Crossroads     Realty        116 Huntington
LRF1 Crossroads Square LLC Party City Corporation      2013                                       308 7.92            Drive                            Pines        FL    33024 Square LLC     Partners      Avenue, Suite 601     Boston        Massachusetts   2116
                                                       Shopping Center Lease by and between                                                                                                    c/o
                                                       FC-WRE Realty Associates I, LP and Party                                                                                                Winstanley
                                                       City of Fort Myers, Inc. dated March 1,                         5025 S Cleveland                                         Page Field     Enterprises   150 Baker Avenue
Page Field Commons LLC       Party City Corporation    2000                                       266        $645.43   Ave                             Ft Myers     FL    33907 Commons LLC LLC              Extension, Suite 303 Concord        Massachusetts   1742
                                                                                                                                                                                               c/o
                                                       Lease Agreement between Kimco West                                                                                       ARC            American
                                                       Melbourne 668, Inc. and The Party                               1557 W New                                               SMWMBFL001 Finance           650 Fifth Avenue,
ARC SMWMBFL001 LLC           Party City Corporation    Supermarket, Inc. dated May 17, 2006       357     $15,381.96   Haven Ave                       Melbourne    FL    32904 LLC            Trust, Inc.   30th Floor            New York      New York        10019
                                                       Lese Agreement by and between                                                                                                           c/o
                                                       Weingarten Herndon Plaza, JV and Party                                                                                   ARC            American
                                                       City Franchise Group, LLC dated                                 3220 East                                                CLORLFL001 Finance           650 Fifth Avenue,
ARC CLORLFL001 LLC           Party City Corporation    February 8, 2010                           500     $12,409.40   Colonial Drive                  Orlando      FL    32803 LLC            Trust, Inc.   30th Floor            New York      New York        10019
                                                       Lease Agreement by and between                                                                                           Brixmor GA
                                                       Brixmor GA Cobblestone Village at St.                                                                                    Cobblestone c/o Brixmor
Brixmor GA Cobblestone                                 Augustine, LLC and Party City                                                                                            Village at St. Property      450 Lexington
Village at St. Augustine, LLC Party City Corporation   Corporation dated February 5, 2015         914      $9,765.68   440 CBL Drive       Suite 101   St. Augustine FL   32086 Augustine, LLC Group         Avenue, 13th Floor    New York      New York        10017
                                                       Lease Agreement by and between                                                                                                          c/o Brixmor
                                                       Brixmor Park Shore SC LLC and Party City                        4377 9th Street                                          Brixmor Park Property        450 Lexington
Brixmor Park Shore SC LLC Party City Corporation       Corporation dated March 13, 2015           923     $43,812.07   North                           Naples       FL    34104 Shore SC LLC Group           Avenue, 13th Floor    New York      New York        10017
                                                       Short Form Lease by and between                                                                                                         c/o Brixmor
                                                       Buckhead Co. III, L.P. and The Big Party                        3670 Bee Ridge                                           CA New Plans Property        450 Lexington
CA New Plans Sarasota, L.P. Party City Corporation     Corporation dated March 24, 1997           6028    $20,337.59   Rd.                             Sarasota     FL    34233 Sarasota, L.P. Group         Avenue, 13th Floor    New York      New York        10017
                                                       Store Lease between Boynton Beach                                                                                                       c/o Carlyle
                                                       Developent Associates and Party City                            339 N Congress                  Boynton                                 Manageme      254 Katonah Ave
B Comm                       Party City Corporation    Corporation dated July 15, 1997            623          $0.00   Ave                             Beach        FL    33426 B Comm         nt            Suite 203             Katonah       New York        10536
                                                       Lease Agreement by and between WRI
                                                       JT Northridge, LP and Party City                                                                                                        c/o Kimco
                                                       Franchise Group, LLC dated January 8,                           843 East                                                 WRI JT         Realty      500 North Broadway
WRI JT Northridge, LP        Party City Corporation    2010                                       304     $22,753.73   Commercial Blvd                 Oakland Park FL    33334 Northridge, LP Corporation Suite 201          Jericho            New York        11753
                                                       Shopping Center Lease by and between
                                                       Oakwood Plaza Limited Partnership and                                                                                    Oakwood         c/o Kimco
Oakwood Plaza Limited                                  Party City Franchise Gorup, LLC dated                           3911 Oakwood                                             Plaza Limited   Realty      500 North Broadway,
Partnership                  Party City Corporation    April 16, 2008                             315          $0.00   Blvd                            Hollywood    FL    33020 Partnership     Corporation Suite 201           Jericho          New York        11753
                                                       Retail Lease by and between Kendale                                                                                      Kendale
                                                       Associates Limited Partnership and The                                                                                   Associates      c/o Kimco
Kendale Associates Limited                             Party Supermarket, Inc. dated October                                                                                    Limited         Realty      500 North Broadway,
Partnership                Party City Corporation      26, 1994                                   319     $15,584.51   13865 SW 88th St                Miami        FL    33186 Partnership     Corporation Suite 201           Jericho          New York        11753

                                                       Lease Agreement by and between                                                                                           Kimco           c/o Kimco
                                                       Kimco Maplewood 673, Inc. and Party                             1270 N University                                        Maplewood       Realty      500 North Broadway,
Kimco Maplewood 673 Inc Party City Corporation         City Corporation dated June 1, 2016        332     $31,846.88   Dr                              Coral Springs FL   33071 673 Inc         Corporation Suite 201           Jericho          New York        11753

                                                       Shopping Center Lease by and between                                                                                     Kimco South     c/o Kimco
Kimco South Miami 634,                                 Kimco South Miami 634, Inc and Party                                                                                     Miami 634,      Realty      500 North Broadway,
Inc.                         Party City Corporation    City Corporation dated June 25, 1996       558      $2,770.03   6272 S Dixie Hwy                South Miami FL     33143 Inc.            Corporation Suite 201           Jericho          New York        11753
                                                       Shopping Center Lease by and between
                                                       Massachusetts Mutual Life Insurance                                                                                      Kimco         c/o Kimco
                                                       Company and Party City Corporation                              3615 S Florida                                           Lakeland 123, Realty      500 North Broadway,
Kimco Lakeland 123, Inc.     Party City Corporation    dated June 20, 1997                        595          $0.00   Ave                             Lakeland     FL    33803 Inc.          Corporation Suite 201           Jericho            New York        11753

                                                       Shopping Center Lease by and between                                                                                                    c/o Kimco
                                                       The Kimco Corporation and Party City                            911 N                                                    Kimco          Realty      500 North Broadway,
Kimco Delaware, Inc.         Party City Corporation    Corporation dated June 2, 1997             671     $13,073.41   Homestead Blvd                  Homestead    FL    33030 Delaware, Inc. Corporation Suite 201           Jericho           New York        11753

                                                       Lease Agreement by and between                                                                                                           c/o Kimco
                                                       Flagler S.C., LLC and Party City                                8301 W Flagler                                           Flagler S.C.,   Realty      500 North Broadway,
Flagler S.C., LLC            Party City Corporation    Corporation dated September 12, 2014       895     $18,687.41   St.                             Miami        FL    33144 LLC             Corporation Suite 201           Jericho          New York        11723




                                                                                                                                              Page 10 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 209 of 248




                                                      Shopping Center Lease between
                                                      Brandon Convenience Center Partners,                                                                                                      c/o Kimco
                                                      Ltd. and Blockbuster Music Retail, Inc.                          145 Brandon                                              KIR Brandon     Realty      500 North Broadway,
KIR Brandon 011 LLC          Party City Corporation   dated August 10, 1994                        1106       $0.00    Town Center Dr                  Brandon       FL   33511 011 LLC         Corporation Suite 201           Jericho           New York   11753
                                                      Shopping Center Lease by and between
                                                      Kimco Carrollwood 664, Inc. and Factory                                                                                   Kimco           c/o Kimco
                                                      Card Outlet of America, Ltd. dated May                           15064 N Dale       Carrollwood                           Carrollwood     Realty      500 North Broadway,
Kimco Carrollwood 664, Inc Party City Corporation     12, 1997                                     5249       $0.00    Mabry Hwy          Commons Tampa              FL   33618 664, Inc        Corporation Suite 201           Jericho           New York   11753

                                                      Lease between Countryside Square                                                                                                          c/o Kimco
                                                      Limited Partnership and The Big Party                            2539 Countryside                                         Kimco Realty    Realty      500 North Broadway,
Kimco Realty Corporation     Party City Corporation   Corporation dated February 17, 1997          6027   $33,938.57   Blvd                            Clearwater    FL   33761 Corporation     Corporation Suite 201           Jericho           New York   11753

                                                      Shopping Center Lease by and between                                                                                                      c/o Kimco
                                                      KIR Tampa 003, LLC and iParty Retail                             12799 Citrus       Plaza at                              KIR Tampa       Realty      500 North Broadway,
KIR Tampa 003, LLC           Party City Corporation   Stores Corp. dated March 30, 2004            6058   $10,264.25   Plaza Dr           Citrus Park Tampa          FL   33625 003, LLC        Corporation Suite 201           Jericho           New York   11753
                                                      Standard Shopping Center Lease
                                                      Agreement between C.L.D. Associates,
                                                      Ltd. And Party City of Tampa, Inc. dated                         418 N Dale                                               1220         c/o Shire   501 Madison
1220 Broadway LLC            Party City Corporation   December 20, 2004                            1102       $0.00    Mabry Hwy                       Tampa         FL   33609 Broadway LLC Realty Corp Avenue, Suite 502         New York       New York   10022
                                                      Lease Agreement by and between
                                                      Sembler Winter Garden Partnership #1,                                                                                                     c/o SITE
                                                      Ltd and Party City of Winter Garde, Inc.                                                         Winter                   DDR Winter      Centers        3300 Enterprise
DDR Winter Garden LLC        Party City Corporation   dated November 20, 2006                      376        $0.00    3089 Daniels Rd                 Garden        FL   34787 Garden LLC      Corp.          Parkway             Beachwood      Ohio       44122
                                                      Lease Agreement by and between
                                                      Millenia Crossing, LLC and Party City                                                                                                     c/o SITE
BRE DDR IVA Millenia FL                               Franchise Group, LLC dated April 30,                             4024 Eastgate                                            BRE DDR IVA Centers            3300 Enterprise
LLC                          Party City Corporation   2009                                         424        $0.00    Drive              Suite 104    Orlando       FL   32839 Millenia FL LLC Corp.          Parkway             Beachwood      Ohio       44122
                                                      Lease Agreement by and between DDR                                                                                                        c/o SITE
                                                      Miami Avenue LLC and Party City                                  3401 N Miami                                             DDR Miami       Centers        3300 Enterprise
DDR Miami Avenue, LLC        Party City Corporation   Corporation dated May 2, 2011                705    $24,169.30   Avenue #126                     Miami         FL   33127 Avenue, LLC Corp.              Parkway             Beachwood      Ohio       44122

                                                                                                                                                                                               c/o Silvestri
                                                      Lease Agreement by and between G&I                                                                                                       Investments
                                                      VIII Piedmont Plaza LLC and Party City                           2370 E Semoran                                           Lago Bello,    Incorporate
Lago Bello, L.L.C.           Party City Corporation   Corporation dated June 28, 2016              963        $0.00    Blvd.                           Apopka        FL   32703 L.L.C.         d               1215 Gessner Road   Houston        Texas      70055
                                                                                                                                                                                               c/o
                                                      Shopping Center Lease by and between                                                                                                     Crawford
                                                      NAP Camp Creek Marketplace LLC and                                                                                        G&I IX CAMP Square Real
G&I IX CAMP CREEK                                     Party City of Atlanta, Inc. dated Marh 7,                        3628                                                     CREEK          Estate          2829 Second Avenue
PROPERTY LLC                 Party City Corporation   2003                                         336     $1,691.20   Marketplace Blvd                East Point    GA   30344 PROPERTY LLC Advisors          South, Suite 310   Birmingham      Alabama    35233
                                                      Shopping Center Lease by and between                                                                                                     c/o
                                                      East-West Commons, LLC and Party City                                                                                                    American
                                                      of Atlanta, Inc. dated November 23,                                                                                       ARCP MT        Finance         650 Fifth Avenue,
ARCP MT Austell GA LLC       Party City Corporation   1998                                         139     $8,514.26   4155 Austell Rd    Suite 500    Austell       GA   30106 Austell GA LLC Trust           30th Floor          New York       New York   10019
                                                                                                                                                                                               c/o
                                                                                                                                                                                               Crawford
                                                      Lease Agreement between Dogwood                                                                                                          Square Real
                                                      Drive, L.L.C. and Party City of Atlanta,                         1390 Dogwood                                             Alto Conyers Estate            2093 Philadelphia
Alto Conyers Plaza, LP       Party City Corporation   Inc. dated May 28, 1997                      221    $15,720.15   Dr SE                           Conyers       GA   30013 Plaza, LP      Advisors        Pike, #1971         Claymont       Delaware   19703


                                                      Lease Agreement by and between                                   2100-A                                                                   c/o Regency
                                                      Branch Properties, L.P. and Party City of                        Henderson Mill                                           Regency         Realty      One Independent
Regency Centers, L.P.        Party City Corporation   Atlanta, Inc. dated May 3, 1996              183    $16,276.87   Rd NE                           Atlanta       GA   30345 Centers, L.P.   Corporation Drive, Suite 114       Jacksonville   Florida    32202
                                                      Lease Agreement by and between GRI-
                                                      EQY (Presidential Markets) LLC and                                                                                        GRI-EQY         c/o First
GRI-EQY (Presidential                                 Party City Corporation dated January 16,                         1905 Scenic                                              (Presidential   Washington 7200 Wisconsin
Markets) LLC                 Party City Corporation   2013                                         102        $0.00    Highway            Suite 710    Snellville    GA   30078 Markets) LLC    Realty Inc. Avenue, Suite 600      Bethesda       Maryland   20814

                                                      Lease Agreement by and between                                                                                            Mansell
                                                      Mansell Crossing Retail LP and Party City                        7011 North Point                                         Crossing Retail c/oLivingsto
Mansell Crossing Retail LP   Party City Corporation   Corporation dated November 19, 2015          292    $24,339.74   Parkway                         Alpharetta    GA   30022 LP              n Properties 1109 Russell Parkway Warner Robins Georgia      31088
                                                                                                                                                                                Peach Retail
                                                      Lease Agreement by and between Peach                                                                                      Center LLC
Peach Retail Center LLC                               Retail Center, LLC and Robertco                                                                                           and Robertco
and Robertco Management                               Management, LLC and Party City                                   2900 Peachtree                                           Management                   2900 Peachtree
LLC                     Party City Corporation        Corporation dated December 23, 2010          178        $0.00    Road NW            Suite 100E   Atlanta       GA   30305 LLC                          Road, NW, Suite 201 Atlanta        Georgia      30305
                                                      Lease Agreement by and between
                                                      Inland Western Gainesville Village, L.L.C.                                                                                Branch         Branch
Branch Gainesville                                    and Party City Corporation dated March                           863 Dawsonville                                          Gainesville    Properties, 3340 Peachtree
Associates, LP               Party City Corporation   30, 2012                                     223        $0.00    Highway         Suite 710       Gainesville   GA   30501 Associates, LP LLC         Road, NE, Suite 2775 Atlanta           Georgia    30326




                                                                                                                                             Page 11 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 210 of 248




                                                    Shopping Center Lease by and between
                                                    East Cobb Crossing, LLC and Party City of                                                                                    East Cobb                    182 Hilderbrand
East Cobb Crossing LLC     Party City Corporation   Atlanta, Inc. dated August 5, 2005          239     $15,289.68   4281 Roswell Rd                   Marietta       GA   30062 Crossing LLC                 Road                  Atlanta        Georgia          30328
                                                    Shopping Center Lease by and between
                                                    Faison-Sofran Partnership No. II and
1500 Highway 20 West,                               Party City of Atlanta, Inc. dated                                1554 HWY 20                                                 1500 Highway                 3350 Riverwood
LLLP                       Party City Corporation   December 20, 2000                           829      $9,940.30   West                              McDonough GA        30253 20 West, LLLP                Parkway, Suite 1800 Atlanta          Georgia          30339
                                                    Lease Agreement by and between Perlis
                                                    Nease Canton, LLC and Party City                                 2243 Cumming                                                Perlis Nease                 1220 East 16th
Perlis Nease Canton, LLC   Party City Corporation   Corporation dated April 28, 2017            980          $0.00   Highway             Suite 120     Canton         GA   30115 Canton, LLC                  Avenue                Cordele        Georgia          31015
                                                    Lease by and between Fourth Quarter                                                                                                        c/o Kite
                                                    Properties XIV, LLC and Party City of                                                                                        KRG Newnan Realty            30 South Meridian
KRG Newnan Crossing LLC    Party City Corporation   Atlanta, Inc. dated May 9, 1999             248          $0.00   553 Bullsboro Dr                  Newnan         GA   30265 Crossing LLC Group           Street, Suite 1100    Indianapolis   Indiana          46204
                                                                                                                                                                                               c/o
                                                    Lease by and between Mall of Georgia                                                                                                       Washington
                                                    Crossing LLC and Party City of Atlanta,                          3205 Woodward                                               MOG Crossing, Prime          111 Monument
MOG Crossing, LLC          Party City Corporation   Inc. dated April 24, 2003                   337      $3,911.63   Crossing Blvd                     Buford         GA   30519 LLC           Group          Circle, Suite 3500    Indianapolis   Indiana          46204
                                                    Shopping Center Lease by and between
                                                    Faison-Sofran Partnership No. II and                                                                                         NEIS
NEIS Acquisitions AUXGA                             Party City of Atlanta, Inc. dated                                4666 Presidential                                           Acquisitionsc/o Zachary      2885 Sanford Avenue
LLC                        Party City Corporation   December 20, 2000                           289      $9,895.91   Pkwy                              Macon          GA   31206 AUXGA LLC   Zurich           SW, #25343          Grandville       Michigan         49418
                                                                                                                                                                                             c/o AR
                                                    Lease Agreement by and between EIG                                                                                           ARG         Global
                                                    Albany LLC and Party City Corporation                            2709 Dawson                                                 ASALBGA001, Investments      650 5th Avenue, 30th
ARG ASALBGA001, LLC        Party City Corporation   dated March 19, 2013                        863          $0.00   Road                Suite 2       Albany         GA   31707 LLC         , LLC            Floor                New York        New York         10019
                                                    Lease by and between Columbus Park                                                                                           AVR CPC     c/o AVR
                                                    Crossing, LLC and Party City of Atlanta,                         5555 Whittlesey                                             Associates, Realty           One Executive
AVR CPC Associates, LLC    Party City Corporation   Inc. dated January 23, 2002                 310      $1,232.14   Blvd                          2400 Columbus      GA   31909 LLC         Company          Boulevard, 4th Floor Yonkers         New York         10701

                                                    Lease by and between WRI Retail Pool I,                                                                                                      c/o Kimco 500 North Broadway,
                                                    L.P. and Party City Corporation dated                            4743-A Ashford                                              WRI Retail      Realty      Suite 201, P.O. Box
WRI Retail Pool I, L.P.    Party City Corporation   December 13, 2010                           737     $16,605.92   Dunwoody Road                     Atlanta        GA   30338 Pool I, L.P.    Corporation 9010                Jericho           New York         11753
                                                    Lease Agreement by and between EIG                                                                                           PROVEST
PROVEST ALTAMA VILLAGE,                             Altama Village, LLC and Party City                               40 Altama Village                                           ALTAMA
LLC                     Party City Corporation      Corporation dated September 9, 2013         862          $0.00   Drive                             Brunswick      GA   31525 VILLAGE, LLC                 PO Box 515            Hudson         New York         12534
                                                                                                                                                                                                 C/O
                                                    Lease Agreement by and between                                                                                                               RIVERCREST
                                                    Gwinnett Market Fair Owner, LLC and                                                                                          Duluth          REALTY
                                                    Party City Corporation dated November           $26,004.4526,00 3675 Satellite                                               (Gwinnett)      ASSOCIATES
Duluth (Gwinnett) SSR LLC Party City Corporation    19, 2010                                    143 8.47            Blvd                 Suite 580     Duluth         GA   30096 SSR LLC         LLC        8816 SIX FORKS RD       RALEIGH        North Carolina   27615
                                                    Lease by and between Augusta
                                                    Exchange, L.L.C. and Party City                                  249 Robert C                                                AE Holdings I, c/o Select    400 Techne Center
AE Holdings I, LLC         Party City Corporation   Corporation dated October 29, 1997          619          $0.00   Daniel Jr Pkwy                    Augusta        GA   30909 LLC            Strategies    Drive, Suite 320      Cincinnati     Ohio             45150

                                                    Agreement of Lease by and between
                                                    Homart Development Co. and Party City                                                                                                      c/o Site       3300 Enterprise
DDR Prado, LLC             Party City Corporation   of Atlanta, Inc. dated September 6, 1995    159          $0.00   50 Barrett Pkwy     200A          Marietta       GA   30066 DT Prado, LLC Centers        Parkway               Beachwood      Ohio             44122
                                                    Lease Agreement between JDN Realty
                                                    Corporation and Party City of Atlanta,                           1150 Market                                                 JDN Realty      c/o Site     3300 Enterprise
JDN Realty Corporation     Party City Corporation   Inc. dated March 22, 2000                   264     $11,152.11   Place Blvd                        Cumming        GA   30041 Corporation Centers          Parkway               Beachwood      Ohio             44122
                                                    Lease Agreement by and between USPG                                                                                          USPG
                                                    Portfolio Five, LLC and Party City                               1892 Mount Zion                                             PORTFOLIO                    3665 Fishinger
USPG PORTFOLIO FIVE, LLC Party City Corporation     Corporation dated February 1, 2013          158      $8,599.18   Rd                                Morrow         GA   30260 FIVE, LLC                    Boulevard             Hilliard       Ohio             43026
                                                    Lease by and between Fourth Quarter                                                                                          DOUGLASVILL
DOUGLASVILLE PAVILION                               Properties XV, LLC and Party City of                             2910 Chapel Hill                                            E PAVILION                   2415 W ALABAMA
LLC                        Party City Corporation   Atlanta, Inc. dated November 30, 1997       234     $10,468.66   Rd                                Douglasville   GA   30135 LLC                          STREET, SUITE 205     HOUSTON        Texas            77098
                                                                                                                                                                                                 c/o
                                                                                                                                                                                                 Cushman &
                                                                                                                                                                                                 Wakefield
                                                    Lease Agreement by and between                                                                                               Thes Shops at Iowa
Thes Shops at Collins                               Collins Square, LLC and Party City                               1420 Twixt Town                                             Collins Square, Commercial   3737 Woodland Ave., West Des
Square, LLC                Party City Corporation   Corporation dated May 31, 2016              5151         $0.00   Rd                                Marion         IA   52302 LLC             Advisors     Suite 100           Moines           Iowa             50266
                                                    Lease Agreement by and between
                                                    Jordan Creek Investments IX, LLC and                                                                                         Jordan Creek
Jordan Creek Investments                            Party City Corporation dated October                             6503 Mills Civic                  West Des                  Investments
IX, LLC                    Party City Corporation   31, 2013                                    763          $0.00   Pkwy                              Moines         IA   50266 IX, LLC                      2540 73rd Street      Urbandale      Iowa             50322
                                                    Shopping Center Lease between DLE                                2010 SE
                                                    Seven, L.L.C. and Factory Card Outlet of                         Delaware Ave Ste Delaware                                   DLE Seven,                   2401 S.E. Tones
DLE Seven, L.L.C.          Party City Corporation   America, LTD. dated July 23, 2004           5329    $12,515.10   214              Centre Ii        Ankeny         IA   50021 L.L.C.                       Drive, P.O. Box 187   Ankeny         Iowa             50021




                                                                                                                                            Page 12 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 211 of 248




                                                     Shopping Center Lease by and between
                                                     Ryan Construction Company of
                                                     Minnesota, Inc. and Factory Card Outlet                                                                                       Agree Realty
Agree Realty Corporation    Party City Corporation   of America, LTD. dated April 26, 1996       5203    $9,916.98   5255 Elmore Ave                Davenport     IA         52807 Corporation                     720 E Long Lake Road Bloomfield Hills MI                 48304
                                                     Lease Agreement by and between                                  3271
                                                     Legacy CB, LLC and Party City                                   Marketplace                                                                  c/o RED
Legacy CB, LLC              Party City Corporation   Corporation dated March 15, 2010             907   $18,761.23   Drive           Suite A-7      Council Bluffs IA        51501 Legacy CB, LLC Legacy, LLC 4717 Central              Kansas City     Missouri            64112
                                                                                                                                                                                   Terveen
                                                     Shopping Center Lease between                                                                                                 Manufactured
Terveen Manufactured                                 Lakeport Commons, LLC and Factory                                                Lakeport                                     Homes, LLC
Homes, LLC and SJ Terveen,                           Card Outlet of America, LTD. Dated                              5001 Sergeant Rd Commons                                      and SJ
LLC                        Party City Corporation    January 31, 2005                            5334       $0.00    Ste 70           S/C           Sioux City    IA         51106 Terveen, LLC               P.O. Box 88621            Sioux Falls     South Dakota        57109
                                                                                                                                                                                                  c/o
                                                     Lease Agreement by and between 22nd                                                                                                          Downtown
                                                     Street Plaza 837, LLC and Party City                            17W740 22nd                    Oakbrook                       Rio Grande     Manageme 541 S Spring Street,
Rio Grande Investment Inc Party City Corporation     Corporation dated June 22, 2016              584       $0.00    Street                         Terrace       IL         60181 Investment Inc nt          Suite 240                 Los Angeles     California          90013
                                                     Lease Agreement by and between Shane
                                                     Stratford, LLC, Shane University, LLC,                                                                                                        c/o New
                                                     NMC Stratford, LLC and Chino Stratford,                                                                                       NMC             Mark
                                                     LLC and Party City Corporation dated                            152 S. Gary                    Bloomingdal                    Stratford, LLC, Merrill         5850 Canoga Ave,
NMC Stratford, LLC, et el   Party City Corporation   May 29, 2012                                5105       $0.00    Avenue                         e           IL           60108 et el           Companies       Suite 650            Woodland Hills California           91367
                                                                                                                                                                                                   c/o New
                                                     Lease between Winston Plaza Associates                                                                                        NMC Grove       Mark
NMC Grove Melrose, LLC,                              and Factory Card Outlet of America, Ltd.                                                                                      Melrose, LLC, Merrill           5850 Canoga Ave,
et el                       Party City Corporation   Dated August 7, 1996                        5207       $0.00    1222 Winston Plz               Melrose Park IL          60160 et el           Companies       Suite 650            Woodland Hills California           91367
                                                     Shopping Center Lease by and between
                                                     First Washington Realty Limited                                                                                               FW IL-
FW IL- Riverside/Rivers                              Partnership and Party City Corporation                                                                                        Riverside/Rive                  One Independent
Edge, LLC                   Party City Corporation   dated June 30, 1998                          664   $26,721.79   1514 W 33rd St     Units 3-9   Chicago       IL         60608 rs Edge, LLC                    Suite 114            Jacksonville    Florida             32202

                                                                                                                                                                                                 c/o Bonnie
                                                     Lease Agreement by and between Marc                                                                                            Marc Naperw Manageme
Marc Naperw LLC &                                    Naperw LLC & Naperw, LLC and Party                                                                                             LLC & Naperw nt          1350 E. Touhy
Naperw LLC                  Party City Corporation   City Corporation dated August 18, 2022     5137R       $0.00    576 S Route 59                 Naperville    IL    60540       LLC          Corporation Avenue, Suite 360E Des Plaines             Illinois            60018
                                                                                                                                                                                                 c/o
                                                                                                                                                                                                 Concordia
                                                     Retail Lease by and between Cermak                                                                                             Cermak Plaza Realty
Cermak Plaza Associates,                             Plaza Associates and Party City                                 7123 Cermak Rd                                                 Associates,  Manageme
LLC                         Party City Corporation   Corporation dated February 4, 1998           629       $0.00    Plaza                          Berwyn        IL          60402 LLC          nt, Inc.    1010 Jorie Boulevard Oak BRook             Illinois            60523

                                                     Lease Agreement by and between OTR,
                                                     an Ohio General Partnership Acting as
                                                     the Duly Authorized Nominee of the
                                                     Board of the State Teachers Retirement                                                                                                      c/o
                                                     System of Ohio and Party City                                   5651 W. Touhy                                                 DDRTC Village Fairbourne 200 S. Michigan
DDRTC Village Crossing LLC Party City Corporation    Corporation dated August 13, 2012             15       $0.00    Avenue                         Niles         IL         60714 Crossing LLC Properties Avenue, Suite 400            Chicago         Illinois       60604-2411

                                                                                                                                                                                                    c/o
                                                     Lease Agreement by and between KRC                                                                                            WC MRP           Frontline
WC MRP Calumet Center,                               Calumet City 836, Inc. and Party City                           450 River Oaks                                                Calumet          Real Estate
LLC                         Party City Corporation   Corporation dated June 23, 2011              532       $0.00    West                           Calumet City IL          60409 Center, LLC      Partners LLC   477 Elm Place        Highland Park   Illinois            60035
                                                     Amended and Restated Lease between                                                                                                             c/o Horizon
                                                     American National Bank and Trust                                                                                                               Realty
                                                     Company of Chicago and Party City                               3417 N Western                                                3415 N.          Services,      1540 E. Dundee
3415 N. Western LLC         Party City Corporation   Corporation dated August 27, 1997            171       $0.00    Ave                            Chicago       IL         60618 Western LLC      Inc.           Road, Suite 240      Palatine        Illinois            60074
                                                                                                                                                                                                    c/o Horizon
                                                     Lease by and between Washington                                                                                               Norcor Cicero    Realty
Norcor Cicero Associates,                            National Insurance Company and Party                            8141 S Cicero                                                 Associates,      Services,      1540 E. Dundee
LLC                         Party City Corporation   City Corporation dated June 29, 1994         505    $6,300.79   Ave                            Chicago       IL         60652 LLC              Inc.           Road, Suite 240      Palatine        Illinois            60074
                                                     Lease Agreement by and between                                                                                                                 c/o Mid-
                                                     Northbrook Sub, LLC, Northbrook VNBP,                                                                                         Village Square   America
Village Square of                                    LLC and Northbrook PLIC, LLC and Party                                                                                        of Northbrook    Asset
Northbrook Principal RE                              City Corporation dated September 30,                                                                                          Principal RE     Manageme       One Parkview Plaza, Oakbrook
Investors, LLC              Party City Corporation   2014                                         168     $760.00    307 Skokie Blvd                Northbrook    IL         60062 Investors, LLC   nt, Inc.       9th Floor           Terrace          Illinois            60181
                                                                                                                                                                                                    c/o Mid-
                                                                                                                                                                                                    America
                                                     Lease Agreement by and between                                                                                                Mansfield        Asset
                                                     Fullerton Plaza, L.L.C. and Party City                          1755 W Fullerton                                              Investments,     Manageme       One Parkview Plaza, Oakbrook
Mansfield Investments, LLC Party City Corporation    Corporation dated May 29, 1998               650       $0.00    Ave                            Chicago       IL         60614 LLC              nt, Inc.       9th Floor           Terrace          Illinois            60181




                                                                                                                                           Page 13 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 212 of 248




                                                                                                                                                                                                c/o Mid-
                                                      Lease Agreement by and between JDK                                                                                                        America
                                                      Townline LLC/Overlook Townline LLC                                                                                       JDK Townline     Asset
JDK Townline LLC                                      and Party City Corporation dated May                           555 East                                                  LLC /Overlook    Manageme     One Parkview Plaza, Oakbrook
/Overlook Townline LLC      Party City Corporation    31, 2011                                   5210       $0.00    Townline Road                   Vernon Hills IL     60061 Townline LLC     nt, Inc.     9th Floor           Terrace         Illinois        60181
                                                      Lease Agreement by and between                                                                                                            c/o Pine
                                                      Inland Commercial Property                                                                                                                Tree
                                                      Management Inc. and Party City                                 2019 N Prospect Baytowne                                  IRC Baytowne     Commercial   814 Commerce Drive,
IRC Baytowne Square, LLC    Party City Corporation    Corporation dated March 30, 2011           5190    $9,497.13   Ave             Sq              Champaign      IL   61822 Square, LLC      Realty LLC   Ste. 300            Oak Brook       Illinois        60523
                                                      Lease by and between 9503 North                                                                                                           c/o Pine
                                                      Milwaukee Avenue Shopping Center and                                                                                                      Tree
                                                      Factory Card Outlet of America Ltd.                            9471 N             Four Flags                             IRC Four         Commercial   814 Commerce Drive,
IRC Four Flaggs, L.L.C.     Party City Corporation    dated June 10, 1997                        5266       $0.00    Milwaukee Ave      S/C          Niles          IL   60714 Flaggs, L.L.C.   Realty LLC   Suite 300           Oak Brook       Illinois        60523
                                                      Lease Agreement by and between                                                                                                            c/o Pine
                                                      Dalan/Geneva L.L.C. and Factory Card                                                                                     IN Retail Fund   Tree
IN Retail Fund Randall                                Outlet of America, Ltd., dated                                 1548 S Randall     Randell                                Randall          Commercial   814 Commerce Drive,
Square, L.L.C.              Party City Corporation    September 10, 1997                         5295   $12,739.22   Rd                 Square S/C Geneva           IL   60134 Square, L.L.C.   Realty LLC   Suite 300           Oak Brook       Illinois        60523
                                                                                                                                                                                                c/o Pine
                                                      Lease Agreement by and between BMD                                                                                                        Tree
                                                      Crystal Lake, LLC and Party City                               5360 Northwest                                            Agree Limited    Commercial   814 Commerce Drive,
Agree Limited Partnership Party City Corporation      Corporation dated February 1, 2016         5331   $10,138.30   Highway                         Crystal Lake   IL   60014 Partnership      Realty LLC   Ste. 300            Oak Brook       Illinois        60523
                                                                                                                                                                               TNG Mokena,
                                                                                                                                                                               LP, Niki         c/o Pine
TNG Mokena, LP, Niki                                  Lease Agreement by and between                                                                                           Holdings, LP,    Tree      814 Commerce Drive,
Holdings, LP, NG21, LP, and                           Mokena Retail Associates, LLC and Party                        11375 Lincoln                                             NG21, LP, and    Commmerci Suite 300, Attn:
TNG ES, LLC                 Party City Corporation    City Corporation dated March 23, 2012       817    $8,870.01   Hwy                             Mokena         IL   60448 TNG ES, LLC      al Realty General Counsel     Oak Brook          Illinois        60523
                                                      Lease Agreement by and between Otter
                                                      Creek Shopping Center, LLC and Party                                                                                     Otter Creek      c/o Prodigy
Otter Creek Shopping                                  City Corporation dated November 26,                                                                                      Shopping         Real Estate 700 Commerce Drive,
Center LLC                  Party City Corporation    2015                                        932       $0.00    214 S Randall Rd                Elgin          IL   60123 Center LLC       LLC         Suite 500           Oak Brook        Illinois        60523

                                                      Lease Agreement by and between
                                                      Marketplace of Rockford, LLC and Party                                                                                   Marketplace      c/o Sidcor   950 N Western Ave
Marketplace of Rockford     Party City Corporation    Ctiy Corporation dated January 31, 2017     569   $10,268.17   5836 E State St                 Rockford       IL   61108 of Rockford      RE           #2                   Lake Forest    Illinois        60045
                                                      Lease Agreement by and between
                                                      Fidelity Development Group, Inc. and                                                                                     Village Square   c/o The
Village Square Retail Center                          Party City Corporation dated October                           795 W Il Route                                            Retail Center    Fidelity
LLC                          Party City Corporation   11, 2001                                    433       $0.00    22                              Lake Zurich    IL   60047 LLC              Group, Ltd. 745 Ela Road          Lake Zurich    Illinois        60047
                                                                                                                                                                               Park Pointe
                                                      Lease Agreement by and between Park                                                                                      Plaza            c/o The
Park Pointe Plaza                                     Pointe Plaza Associates and Party City                         14906 S La                                                Associates,      Fidelity
Associates, LLC             Party City Corporation    Corporation dated September 12, 2002        482       $0.00    Grange Rd                       Orland Park    IL   60462 LLC              Group, Ltd. 745 Ela Road          Lake Zurich    Illinois        60047

                                                      Lease by and between Commerce Bank
                                                      f/k/a The Peoples Bank, as Trustee
                                                      under McLean County Land Trst No. PB-                                                                                    Tentac
                                                      80, an Illinois Land Trust and Park City                       401 N Veterans                                            Commercial
Tentac Enterprises          Party City Corporation    Corporation dated June 30, 1997             601       $0.00    Pkwy               Unit 1       Bloomington IL      61704 Rentals, LLC                  1 Brickyard Drive    Bloomington    Illinois        61704
                                                      Lease Agreement by and between
                                                      Midtown Plaza, LLC and Party City                              5001 N. Big                                               Midtown                       5001 N. University
Midtown Plaza, LLC          Party City Corporation    Corporation dated August 2, 2019           5229    $9,234.20   Hollow Road                     Peoria         IL   61615 Plaza, LLC                    Street               Peoria         Illinois        61614
                                                      Direct Lease by and between Robin
                                                      Realty Management Company, as agent
                                                      for Golf Rose Shopping Center and                                                                                        Robin Realty &
Robin Realty &                                        Factory Card Outlet of America, Ltd.,                          10 Golf Ctr Ste    Golf Rose    Hoffman                   Management                    1333 North Wells
Management Company          Party City Corporation    dated November 9, 2009                     5256   $30,317.17   194                Ctr          Estates        IL   60169 Company                       Street               Chicago        Illinois        60610
                                                      Lease by and between Amerian National
                                                      Bank Trust No. 121451-08 and Factory                                                                                     Shiner
Shiner Management                                     Card Outlet of America, Ltd. Dated                             6675 Grand Ave     Stonebrook                             Management                    3201 Old Glenview
Group, Inc.                 Party City Corporation    December 30, 1997                          5283       $0.00    Ste B              Commons Gurnee              IL   60031 Group, Inc.                   Road, Suite 301      Wilmette       Illinois        60091
                                                      Lease Agreement by and between RPAI                                                                                      KRG Chicago c/o Kite
KRG Chicago Brickyard                                 Chicago Brickyard, L.L.C. and Party City                       2554 N                                                    Brickyard   Realty            30 South Meridian
L.L.C.                      Party City Corporation    Corporation dated December 31, 2015        5117   $21,460.46   Narragansett                    Chicago        IL   60639 L.L.C.      Group             Street, Suite 1100   Indianapolis   Indiana         46204
                                                      Lease Agreement by and between
                                                      Oswego Partners LLC and Party City                                                                                       Oswego                        1055 Eagle Ridge
Oswego Partners LLC         Party City Corporation    Corporation dated May 16, 2022             477R       $0.00    2406 US 34                      Oswego         IL   60543 Partners LLC                  Drive                Schererville   Indiana         46375
                                                      Lase Agreement by and between Carroll
                                                      W. Rogers and Party City Corporation                           3329 S Veterans                                           The Bosworth
The Bosworth Group LLC      Party City Corporation    dated July 24, 2015                        5209       $0.00    Pkwy                            Springfield    IL   62704 Group LLC                3 Old e Fort Road  Cape Elizabeth Maine                   4107
                                                      Lease Agreement between Gary S.                                                                                          CSM Family
                                                      Holmes and Factory Card Outlet of                                                                                        Holdings,    c/o CSM     500 Washington Ave
CSM Family Holdings, L.L.C. Party City Corporation    America Ltd. dated November 25, 1992       5139       $0.00    4371 16th St                    Moline         IL   61265 L.L.C.       Corporation S, Suite 3000      Minneapolis    Minnesota         55415-1151




                                                                                                                                           Page 14 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 213 of 248




                                                    Lease Agreement by and between Big                                                                                            Novus
Novus Crestwood Sam's,                              Red, LLC and Party City Corporation                              10845 Lincoln                  Fairview                      Crestwood                    20 Allen Ave, Suite   Webster
LLC                        Party City Corporation   dated July 15, 2010                        5162          $0.00   Trail                          Heights       IL        62208 Sam's, LLC                   400                   Groves         Missouri     63119
                                                    Lease by and between Rubloff Oakridge
                                                    Algonquin, L.L.C. and Factory Card                                                Woodscree                                   B33           c/o
B33 Woodscreek Commons                              Outlet of America, Ltd., dated March 3,                                           k Shopping                                  Woodscreek Bridge33          4001 S. Decatur
LLC                    Party City Corporation       2003                                       5318 $0.001,048.10    704 S Randall Rd Ctr        Algonquin        IL        60102 Commons LLC Capital          Blvd., Suite 6        Las Vegas      Nevada       89103
                                                    Lease Agreement by and between                                                                                                              c/o First
                                                    Inland Maple Park Place, L.L.C. and Park                                                                                                    National
                                                    City Corporation dated November 14,                              257 N. Weber                                                 Maple Park SC Realty         151 Bodman Place,
Maple Park SC LLC          Party City Corporation   2014                                        432     $16,763.89   Road                           Bolingbrook IL          60490 LLC           Partners       Suite 201             Red Bank       New Jersey   7701

                                                    Lease Agreement by and between New                                                                                            New Plan of    c/o Brixmor
New Plan of Arlington                               Plan of Arlington Heights, LLC and Party                                                        Arlington                     Arlington      Property      450 Lexington
Heights, LLC               Party City Corporation   City Corporation dated July 29, 2011        196     $23,419.57   111 W Rand Rd                  Heights       IL        60004 Heights, LLC   Group         Avenue, 13th Floor    New York       New York     10017
                                                    Lease Agreement by and between                                                                                                               c/o Brixmor
                                                    Brixmor SPE 3, LLC and Party City                                13220 S. Cicero                                              Brixmor SPE 3, Property      450 Lexington
Brixmor SPE 3, LLC         Party City Corporation   Corporation dated March 21, 2012            820     $54,125.15   Ave.                           Crestwood     IL        60418 LLC            Group         Avenue, 13th Floor    New York       New York     10017
                                                                                                                                                                                                 C/O Viking
                                                    Lease Agreement by and between KRCV                                                                                                          Partners
                                                    Corp. and Party City Corporation dated                                                          Downers                       Viking DPP     Asset Mgmt    240 Madison
Viking DPP Holdings LLC    Party City Corporation   December 28, 2011                           144     $11,895.07   1140 75th St                   Grove         IL        60516 Holdings LLC LLC             Avenue, Suite 701     New York       New York     10016
                                                    Shopping Center Lease between EMB2
                                                    Shorewood Phase II, LLC and Factory
                                                    Card Outlet of America, LTD., dated                              988 Brook Forest Shorewood                                   Shorewood      c/o Phillips
Shorewood Station LLC      Party City Corporation   August 29, 2005                            5343          $0.00   Ave              Crossing  Shorewood         IL        60404 Station LLC    Edison       11501 Northlake Dr     Cincinnati     Ohio         45249
                                                    Lease by and between Lagrange                                                                                                                c/o
                                                    Development Company Limited                                                      Coutntrysid                                  Plaza at       Washington
                                                    Partnership and Factory Card Outlet of                           102 Countryside e S/C                                        Countryside    Prime        180 E. Broad Street,
Plaza at Countryside LLC   Party City Corporation   America, Ltd., dated April 21, 1993        5119          $0.00   Plz             Sp.A2&3     Countryside      IL        60525 LLC            Group        21st Floor             Columbus       Ohio         43215
                                                    Lease by and between The Prudential                                                                                           Danada
                                                    Insurance Company of America and POD                                                                                          Square West
Danada Square West                                  Enterprises, Inc. d/b/a Party City of                                                                                         Shopping      c/o CBRE,      2100 McKinney
Shopping Center, LLC       Party City Corporation   Wheaton dated April 21, 1997                197          $0.00   116 Danada Sq W                Wheaton       IL        60189 Center, LLC   Inc.           Avenue, Suite 800     Dallas         Texas        75201
                                                    Lease Agreement by and between                                                                                                              c/o
                                                    Inland Commercial Property                                                                                                                  Berengaria
                                                    Management, Inc. and Party City                                  2661 Plainfield   Louis Joliet                                BMA Joliet   Developme      301 North Broadway,
BMA Joliet Commons, LLC    Party City Corporation   Corporation dated September 10, 2010       5113          $0.00   Rd                Pointe       Joliet        IL         60435 Commons, LLC nt LLC         Suite 300           Milwaukee        Wisconsin    60523
                                                                                                                                                                                                c/o
                                                                                                                                                                                                American
                                                                                                                                                                                                Asset
                                                    Lease Agreement by and between                                                                                                 Market Place Manageme
Market Place Valparaiso,                            Marketplace Valparaiso, L.L.C. and Party                         2410 Laporte                                                  Valparaiso,  nt Service     4711 W. Golf Road,
L.L.C.                     Party City Corporation   City Corporation dated July 21, 2022       822R          $0.00   Ave, Suite 150                 Valparaiso    IN   46383       L.L.C.       Corp.          Suite 1000            Skokie         Illinois     60076
                                                    Lease Agreement by and between
                                                    Coldwater Development Company LLC                                                                                             Coldwater      c/o Sandor    10689 N
Coldwater Development                               and Party City Corporation dated March                           283 East                                                     Development Developme        Pennsylvannia St,
Company, LLC               Party City Corporation   15, 2010                                   5150     $11,805.25   Coliseum Blvd                  Fort Wayne    IN        46805 Company, LLC nt              Suite 100             Indianapolis   Indiana      46280
                                                                                                                                                                                                 c/o
                                                    Lease by and between Centre North, LLC                                                                                        Centre North, Singleton
Centre North, LLC          Party City Corporation   and Party City, Inc. dated May 7, 1997      589          $0.00   8600 E 96th St                 Fishers       IN        46037 LLC            Companies     115 West 8th Street Anderson         Indiana      46016
                                                                                                                                                                                                 c/o
                                                    Lease by and between Centre East, LLC                            10537 E                                                      Centre East, Singleton
Centre East, LLC           Party City Corporation   and Party City, Inc. dated May 8 1997       583          $0.00   Washington St     Suite I      Indianapolis IN         46229 LLC            Companies     115 West 8th Street Anderson         Indiana      46016
                                                    Lease by and between G.B. Evansville                                                                                          Lloyd Crossing
Lloyd Crossing Shopping                             Developers LLC and Party City                                    311 N Burkhardt                                              Shopping                     350 Massachusetts
Center, LLC                Party City Corporation   Corporation August 20, 1997                 587     $11,158.13   Rd                             Evansville    IN        47715 Center, LLC                  Avenue, Suite 400     Indianapolis   Indiana      46204
                                                    Lease Agreement by and between                                                                                                Clark Station
Clark Station Shopping                              Dancor, LLC and Party City Corporation                           305 Lewis and                                                Shopping                     4201 Springhurst
Center, LLC                Party City Corporation   dated September 29, 2010                   5178          $0.00   Clark Parkway     Suite 241    Clarksville   IN        47129 Center, LLC                  Blvd., Suite 202      Louisville     Kentucky     40241
                                                    Lease Agreement by and between                                                                                                               c/o AR
                                                    Inland Western Columbus Clifty, L.L.C.                                                                                        ARG            Global
                                                    and Party City Corporation dated                                 1171 N National                                              MCCOLIN001, Investments      650 Fifth Avenue,
ARG MCCOLIN001, LLC        Party City Corporation   January 10, 2012                            813          $0.00   Avenue          Suite 14       Columbus      IN        47201 LLC            , LLC         30th Floor            New York       New York     10019
                                                    Lease Agreement by and between
                                                    Kimco Lafayette 671, Inc. and Party City                         311 Sagamore                                                 Sagamor TOV
Sagamor TOV LLC            Party City Corporation   Corporation dated March 30, 2012           5198          $0.00   Pkwy N            Suite 16     Lafayette     IN        47904 LLC                          PO Box 191116         Brooklyn       New York     11219
                                                    Lease Agreement by and between
                                                    Equity Property and Development
                                                    Company and Facotry Card Outlet of                                                 Indian Ridge                               ST Indian      c/o Chase     3333 Richmond
ST Indian Ridge LLC        Party City Corporation   America, Ltd., dated August 27, 1992       5135     $11,609.26   5816 Grape Rd     S/C          Mishawaka     IN        46545 Ridge LLC      Properties    Road, Suite 320       Beachwood      Ohio         44122




                                                                                                                                          Page 15 of 41
                                                                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 214 of 248




                                                      Lease by and between Jubilee Limited                                                                                                     Schottenste
                                                      Partnership and Party City Corporation                                                                                Crossing At        in          1798 Frebis4300 East
Crossing At Hobart-I LLC     Party City Corporation   dated June 4, 1997                        574        $0.00    2565 E 80th Ave               Merrillville   IN   46410 Hobart-I LLC       Manageme 5th Avenue              Columbus          Ohio       4320643219
                                                      Indenture of Lease by and between                                                                                     DDRM
                                                      Opus North Corporation and Factory                            10229             Highland                              Highland           c/o Site      3300 Enterprise
DDRM Highland Grove LLC Party City Corporation        Card Outlet Ltd., dated June 29, 1995     5199       $0.00    Indianapolis Blvd Grove       Highland       IN   46322 Grove LLC          Centers       Parkway                Beachwood     Ohio            44122
                                                      Lease Agreement by and between Viking                                                                                 S-I Muncie         c/o Streak    Arbor Park Offices,
S-I Muncie Investment                                 Partners Muncie, LLC and Party City                           800 E McGalliard                                        Investment         Investments   6240 SOM Center
Partners I, LLC              Party City Corporation   Corporation August 10, 2012               5276       $0.00    Rd               Suite A      Muncie         IN   47303 Partners I, LLC    , LLC         Road, #210             Solon         Ohio            44139
                                                      Lese Agreement by and between NMR                                                                                                        c/o The
                                                      LLC and Party City Corporation dated                          3622 Bethany                                                               Russ Group,   635 W. 7th Street,
NMR, LLC                     Party City Corporation   February 7, 2013                          5149       $0.00    Road                          Indianapolis IN     46268 NMR, LLC           Inc.          Suite 310              Cincinnati    Ohio            45203
                                                                                                                                                                                               c/o
                                                      Lese by and between Village Park Plaza,                                                                                                  Washington
                                                      LLC and Party City Corporation dated                          2009 East                                               Village Park       Prime         180 E. Broad Street,
Village Park Plaza, LLC      Party City Corporation   May 20, 2021                              673        $0.00    Greyhound Pass Suite D08A Carmel             IN   46032 Plaza, LLC         Group         Floor 20               Columbus      Ohio            43215
                                                                                                                                                                                               c/o
                                                      Lease by and between Markland Mall,                                                                                                      Washington
                                                      LC and Party City Corporation dated                           1371 S. Reed                                            Markland           Prime
Markland Mall, LLC           Party City Corporation   November 29, 2017                         5326       $0.00    Road                          Kokomo         IN   46902 Mall, LLC          Group         180 E Broad Street     Columbus      Ohio            43215
                                                      Lease by and between Third Street                                                                                     Hauck
                                                      Bloomington Limited Partnership and                                                                                   Holdings
Hauck Holdings                                        Factory Card Outlet of America dated                                                                                  Bloomington,                     4334 Glendale-
Bloomington, LLC             Party City Corporation   August 4, 1995                            5185    $8,759.52   2817 E 3rd St                 Bloomington IN      47401 LLC                              Milford Road           Cincinnati    Ohio            45242
                                                      Lease Agreement by and between
                                                      Aviana Company Ltd. and Party City                            10123 US Route                                          Aviana                           27500 Detroit Road,
Aviana Company LTD.          Party City Corporation   Corporation dated Febrary 18, 2016        5321       $0.00    36                            Avon           IN   46123 Company LTD.                     Suite 300           Westlake         Ohio            44145
                                                      Lease Agreement by and between OM                                                                                     OM
                                                      Enterprises, L.L.C. and Party City                            6866 W Kellogg                                          Enterprises, c/o Rekha
OM Enterprises, L.L.C.       Party City Corporation   Corporation dated December 14, 2015       937        $0.00    Dr                            Wichita        KS   67209 L.L.C.       P. Reddi            14008 Outlook Street Overland Park   Kansas          66223
                                                      Lease Agreement by and between S.LV.
                                                      Inc. and Party City Corporation dated                                                       Overland                                     c/o Rekha
S.L.V. Inc.                  Party City Corporation   December 14, 2015                         938        $0.00    8400 W 135th St               Park           KS   66223 S.L.V. Inc.        P. Reddi      14008 Outlook Street Overland Park   Kansas          66223
                                                                                                                                                                            Rekha P.
                                                      Lease Agreement by and between                                                                                        Reddi, trustee
                                                      Rekha P. Reddi, Trustee of the                                                                                        of the
                                                      Raghunath P. Reddi Descendants' Trust                                                                                 Raghunath P.
Rekha P. Reddi, trustee of                            U/T/A Dated December 13, 2012 and                                                                                     Reddi
the Raghunath P. Reddi                                Party City Corporation dated December                                                                                 descendants
descendants Trust            Party City Corporation   14, 2015                                  936        $0.00    3411 N Rock Rd    Suite 100   Wichita        KS   67226 Trust                            14008 Outlook Street Overland Park   Kansas          66223
                                                      Lease Agreement by and between
                                                      Stubbs Real Estate, LLC and Party City                        2010 S.W.                                                                                3501 SW Fairlawn
BCPB LC                      Party City Corporation   Corporation dated May 20, 2019            1190       $0.00    Westport Drive                Topeka         KS   66604 BCPB LC                          Road, Suite 200
                                                                                                                                                                                                                        Topeka                    Kansas          66614
                                                      Lese by and between Merriam Town                                                                                                   C/O The RH
                                                      Center Ltd. And Party City Corporation                                                                                DDR Merriam Johnson
DDR Merriam Village LLC      Party City Corporation   dated June 18, 1997                       939    $12,681.38   5808 Antioch Rd               Merriam        KS   66202 Village LLC  Company    4520 Madison Ave    Kansas City               Missouri        64111
                                                                                                                                                                                         c/o Core
                                                      Lese by and between Fourth Quarter                                                                                                 Property
                                                      Properties VII, Inc. and Party City                           2172 Sir Barton                                         HAP Property Manageme 410 Peachtree
HAP Property Owner, LP       Party City Corporation   Corporation dated September 29, 1997      618        $0.00    Way                           Lexington      KY   40509 Owner, LP    nt, LLC    Parkway, Suite 4165 Cumming                   Georgia         30041
                                                      Lease Agreement by and between                                                                                        Carney
                                                      Carney Bowling Green, LLC and Party                           1865 Campbell                 Bowling                   Bowling                 4500 Bowling Blvd.,
Carney Bowling Green, LLC Party City Corporation      City Corporation dated July 21, 2014      905        $0.00    Lane Suite 300                Green          KY   42104 Green, LLC              Suite 250           Louisville                Kentucky        40207
                                                      Shopping Center Lease between
                                                      Kentuckiana Development, LLC and                                                                                      Compass
Compass Capital Retail                                Factory Card Outlet of America, LTD.,                         10230 Westport                                          Capital Retail
Partners II, LLC             Party City Corporation   dated July 30, 2007                       5346       $0.00    Rd                            Louisville     KY   40241 Partners II, LLC                 131 Kentucky Avenue Lexington        Kentucky        40502

                                                      Lese between Fayette Place                                                                                                          c/o DLC
                                                      Improvements LP and Factory Card                                                                                      Fayette Place Manageme
Fayette Place                                         Outlet of America, Ltd., dated June 29,                       127 W Tiverton                                          Improvements nt
Improvements Owner LLC       Party City Corporation   2004                                      891    $12,146.25   Way               Suite 120   Lexington      KY   40503 Owner LLC     Corporation 565 Taxter Road               Elmsford      New York        10523

                                                      Lease by and between PFL Life
                                                      Insurance Company, Bankes United Life
                                                      Assurance Company, and Life Investors
                                                      Insurance Company of America and                                                                                                         c/o Kimco 500 North Broadway,
                                                      Factory Card Outlet of America, Ltd.,                                         Festival @                              Kimco Realty       Realty      Suite 201, P.O. Box
Kimco Realty Corporation     Party City Corporation   dated December 16, 1997                   5281   $13,312.21   4631 Outer Loop Jefferson Ct Louisville      KY   40219 Corporation        Corporation 9010                Jericho            New York        11753




                                                                                                                                         Page 16 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 215 of 248




                                                                                                                                                                                                        c/o Leon
                                                                                                                                                                                                        Sutton CG
                                                      Lease between Adele Sutton Trusts and                                                                                                             Commercial    424 West End
                                                      Factory Card Outlet of America, Ltd.,                          4048 Taylorsville Hikes Point                                     Adele Sutton Real Estate,      Avenue, #19EPO Box New               New
Adele Sutton Trusts          Party City Corporation   dated August 8, 1994                       5155    $2,995.00   Rd                Plaza       Louisville     KY           40220   Trusts           Inc.          43785              York,Louisville   YorkKentucky 1002440253
                                                      Lease Agreement by and between R                                                                                                                  c/o Gulf
                                                      Owensboro LLC and Party City                                   3430 Villa Point                                                                   Stream
M3 Girls, LLC                Party City Corporation   Corporation dated February 20, 2014        5204       $0.00    Drive                           Owensboro    KY           42303   M3 Girls, LLC Commercial       2960 Fairview Drive   Owensboro      NY                42303
                                                      Lezase Agreement by and between VM                                                                                               Village at the c/o Neyer
Village at the Mall                                   GFP, LLC & VM MSSP, LLC and Party City                                                                                           Mall Holdings, Manageme        3927 Brotherton
Holdings, LLC                Party City Corporation   Corporation dated March 24, 2010           5179       $0.00    7646 Mall Rd                    Florence     KY           41042   LLC              nt            Road Suite 200        Cincinnati     Ohio              45209
                                                                                                                                                                                       Inland
                                                      Lease Agreement by nd between KRG                                                                                                Commercial       c/o Inland
Inland Commercial Real                                Shreveport Regal Court, LLC and Party                          7547 Youree                                                       Real Estate      Commerical    2901 Butterfield
Estate Services, L.L.C.      Party City Corporation   City Corporation dated January 8, 2015     656        $0.00    Drive                           Shreveport   LA           71105   Services, L.L.C. Real Estate   Road                  Oakbrook       Illinois          60523
                                                      Shopping Center Lease between All
                                                      State Financial Companies and Party City                                                                                       All State                    321 Veterans
                                                      of New Orleans, #2, L.L.C. dated                               1600 West Bank                                                  Financial         C/O Wainer Memorial Boulevard,
All State Financial Company Party City Corporation    February 7, 2012                           1043   $22,625.60   Expressway     Suite A          Harvey       LA           70058 Company           Companies Suite 201            Metairie             Louisiana         70005
                                                      Net Commercial Lease Agreement by
                                                      and between ULFERS Development, LLC                                                                                              Ulfers
                                                      and Party City of New Orleans #3, L.L.C.                       3009 Veterans                                                     Development                    1520 Bonnabel
Ulfers Development LLC       Party City Corporation   dated August 26, 2013                      1044    $7,380.20   Memorial Blvd                   Metairie     LA           70002   LLC                            Boulevard             Metairie       Louisiana         70005
                                                      Shopping Center Lease between                                                                                                    Elmwood
                                                      Elmwood Village Center and Party City                                                                                            Retail
Elmwood Retail Properties,                            of Alabama and Louisiana, Inc. dated                           1000 S Clearview                                                  Properties,                    1200 South Clearview
L.L.C.                     Party City Corporation     April 14, 1998                             1046   $12,380.52   Pkwy             Suite 1030     Harahan      LA           70123   L.L.C.                         Parkway, Suite 1166 New Orleans      Louisiana         70123
                                                                                                                                                                                       SIEGEN
                                                      Lease Agreement between IRT Property                                                                                             VILLAGE
SIEGEN VILLAGE Shopping                               Company and Party City of New Orleans                                                                                            Shopping
Center LLC                   Party City Corporation   #1, L.L.C. dated May 28, 1998              1048   $12,393.75   7054 Siegen Ln                  Baton Rouge LA            70809   Center LLC                     P.O. Box 80296        Baton Rouge    Louisiana         70898
                                                                                                                                                                                       Diamond
                                                      Lease by and between Diamond                                                                                                     Properties
Diamond Properties                                    Properties Northshore LLC and Party                            3371 Highway                                                      Northshore,                    3520 North Hullen
Northshore, LLC              Party City Corporation   City Holding, LLC dated January 23, 2001   1049    $7,500.45   190                             Mandeville   LA           70471   LLC                            Street                Metairie       Louisiana         70002

                                                                                                                                                                                                       c/o Majestic
                                                      Lease by and between Realm Realty                                                                                                                Property
                                                      Company and Party City Corporation                             3140 E Prien Lake                                               OLP Lake          Manageam 60 Cutter Mill Road,
OLP Lake Charles, LLC        Party City Corporation   dated November 14, 1997                    633     $8,743.94   Rd                              Lake Charles LA           70615 Charles, LLC      ent          Suite 303        Great Neck            New York          11021
                                                      Amended and Restated Lease
                                                      Agreement by and between G&I VIII
                                                      Acadiana, LLC and Party City Corporation                                                                                       PCDF                             8811 Gaylord Drive,
PCDF Acadiana, LLC           Party City Corporation   dated June 8, 2016                         625        $0.00    5700 Johnston St Suite 1200     Lafayette    LA           70503 Acadiana, LLC                    Suite 200             Houston        Texas             77024
                                                      Shopping Center Lease by and between
                                                      Moutaingate Walpole, LLC, Spring Street                                                                                                          c/o RP
                                                      Walpole, LLC, Union Street Walpole, LLC                                            Unit 10,                                      Walpole Mall    Realty         1801 South La
Walpole Mall Associates,                              and iParty Retail Stores Corp. dated                           30 Providence       Mall at                                       Associates,     Partners,      Cienega Boulevard,
LLC                          Party City Corporation   September 4, 2008                          6046   $14,278.46   Highway             Walpole     East Walpole MA   02032           LLC             LLC            Suite 301             Los Angeles    California        90035
                                                                                                                                                                                       Pinnacle
                                                      Lease by and between Berkshire-                                                                                                  Leasing and
Pinnacle Leasing and                                  Seekonk, LLC and iParty Retail Stores                          231A Highland                                                     Management                     5865 Northpoint
Management LLC               Party City Corporation   Corp. dated January 28, 2005               6065   $10,111.19   Ave                             Seekonk      MA   02771           LLC                            Parkway               Alpharetta     GA                30022
                                                                                                                                                                                       Inland
                                                      Lease by and between Douglas Realty                                                                                              Commercial      c/o Inland
Inland Commercial Real                                Co., L.P. and The Big Party, L.P. dated                                                                                          Real Estate     Commerical 2901 Butterfield
Estate Services, LLC         Party City Corporation   January 24, 1995                           6006    $1,652.76   100 Boston Tpke.                Shrewsbury   MA   01545           Services, LLC   Real Estate Road                     Oak Brook      Illinois          60523
                                                      Shopping Center Lease by and between
                                                      Raynham Plaza Associates, LLC and SRG
                                                      Enterprises, Inc. d/b/a ITZAPARTY dated                        600 South Street                                                  R.K. Assoicates c/o RK
R.K. Assoicates VIII, Inc.   Party City Corporation   May 17, 2002                               6026       $0.00    West                            Raynham      MA   02767           VIII, Inc.      Centers        50 Cabot St           Needham        Massachusetts      2494
                                                      Lease by and between Tara Realty Trust                                                                                                           c/o The
                                                      and iParty Corp., dated December 19,                           1660 Soldiers                                                                     Haughey        1660 Soldiers Field
Tara1660, LLC                Party City Corporation   2001                                       6038   $17,178.23   Field Rd.                       Brighton     MA   02135           Tara1660, LLC Company          Road                  Brighton       Massachusetts      2135
                                                      Lease by and between Paul and Elaine
                                                      Cohen Realty Trust and The Big Party                           321 Worcester                                                                    c/o Venture 50/60 Worcester
PEC Realty LLC               Party City Corporation   L.P. dated May 13, 1994                    6004       $0.00    Rd                  Rt. 9       Natick       MA   01760           PEC Realty LLC West        Road                      Framingham     Massachusetts      1702
                                                      Indenture of Lease by and between
                                                      Bellingham North Main Street Limited                                                                                             Bellingham      c/o WS
Bellingham North Main                                 Partnership and The Big Party                                                                                                    North Main      Developme
Street II LLC                Party City Corporation   Corporation dated July 8, 1996             6018       $0.00    209 Hartford Ave.               Bellingham   MA   02019           Street II LLC   nt        1330 Boylston Street Chestnut Hill        Massachusetts      2467




                                                                                                                                            Page 17 of 41
                                                                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 216 of 248




                                                     Indenture of Lease by and between                                                                                                                 c/o WS
                                                     Route 146 Millbury LLC and iParty Retail                       70 Worcester                                                     Route 146         Developme
Route 146 Millbury LLC      Party City Corporation   Stores Corp. dated January 29, 2003        6048       $0.00    Providence Tpke Ste 190        Millbury     MA   01527           Millbury LLC      nt        1330 Boylston Street Chestnut Hill      Massachusetts          2467
                                                     Lease Agreement by and between CQX,
                                                     LLC and Party City Corporation dated                           1580 VFW                       West                                                            25 Recreation Park
CQX, LLC                    Party City Corporation   November 28, 2016                          6001   $15,977.00   Parkway                        Roxbury      MA   02132           CQX, LLC                      Drive, Suite 206      Hingham         Massachusetts          2043
                                                     Lease Agreement by and between                                                                                                  Parkingway
Parkingway Acquisitions,                             Parkingway Acquisitions, LLC and Party                         120 Walter J.                                                    Acquisitions,
LLC                         Party City Corporation   City Corporation dated June 18, 2015       6005       $0.00    Hannon Parkway                 Quincy       MA   02169           LLC                           27 Eliot Street       Jamaica Plain   Massachusetts          2130
                                                                                                                                                                                     Avon West
                                                                                                                                                                                     Associates III,
                                                                                                                                                                                     LP.
Avon West Associates III,                            Lease Agreement by and between Avon                                                                                             c/o FX
LP.          c/o FX                                  West Associates III, L.P. and Party City                       15 Stockwell                                                     Messina                       400 Franklin Street, P
Messina Enterprises         Party City Corporation   Corporation dated March 7, 2018            6022       $0.00    Drive                          Avon         MA   02322           Enterprises                   O Box 859059           Braintree      Massachusetts 02185-9059
                                                     Lease Agreement by and between Valley
                                                     MB LLC and Party City Corporation                              288 Chelmsford                                                   VALLEY MB
VALLEY MB LLC               Party City Corporation   dated June 1, 2015                         6034   $14,524.82   Street                         Chelmsford   MA   01824           LLC                       881 East Street           Tewksbury       Massachusetts          1876
                                                     Lease Agreement by and between                                                                                                                c/o Brixmor
                                                     Brixmor SPE 4 LP and Party City                                22 Watertower                                                    Brixmor SPE 4 Property    450 Lexington
Brixmor SPE 4 LP            Party City Corporation   Corporation dated September 16, 2017       6052   $10,644.85   Plaza              Space # 3D Leominster    MA   01453           LP            Group       Avenue, 13th Floor        New York        New York              10017
                                                     Restated Lease Agreement by and
                                                     between Brixmor GA Chicopee                                                                                                     CHICKOPEE
CHICKOPEE MARKETPLACE                                Marketplace LLC and Party City                                 591 W Memorial                                                   MARKETPLACE c/o Prestige 546 Fifth Avenue,
OWNERS LLC            Party City Corporation         Corporation dated November 12, 2015        6060       $0.00    Dr                             Chicopee     MA   01020           OWNERS LLC Properties 15th Floor                    New York        New York              10036
                                                     Ageement of Lease by and between
                                                     Peabody Center Limited Partnership and                                                                                          Peabody
Peabody Center Limited                               Party City Corporation dated May 29,                                                                                            Center Limited c/o Chase      3333 Richmond
Partnership                 Party City Corporation   1998                                       6068    $6,609.22   300 Andover St                 Peabody      MA   01960           Partnership    Properties     Road, Suite 320       Beachwood       Ohio                  44122
                                                     Lease Agreement by and between DDRC
                                                     Gateway LLC and Party City Corporation                         8 Mystic View                                                                  c/o Site        3300 Enterprise
Site Centers                Party City Corporation   dated May 13, 2016                         6017   $20,338.75   Road                           Everett      MA   02149           Site Centers  Centers         Parkway               Beachwood       Ohio                  44122
                                                                                                                                                                                                   c/o Edens &
                                                     Shopping Center Lease Agreement by                                                                                                            Avant
                                                     and between E & A Northeast Limited                                                                                             E&A Northeast Investments
E&A Northeast Limited                                Partnership and iParty Retail Stores                                                                                            Limited       Limited         1221 Main Street,
Partnership                 Party City Corporation   Corp. dated May 5, 2010                    6069       $0.00    8 Allstate Rd Unit Unit 85     Dorchester   MA   02125           Partnership   Partnership     Suite 1000            Columbia        South Carolina        29201
                                                     Indenture of Lease by and between B. S.                                                                                         Burlington    c/o Edens
Burlington Crossroads                                C. Company and The Big Party                                                                                                    Crossroads    Limited         1221 Main street,
(E&A), LLC                  Party City Corporation   Corporation dated August 24, 1995          6013   $19,290.12   34 Cambridge St.               Burlington   MA   01803           (E&A), LLC    Partnership     Suite 1000            Columbia        South Carolina        29201

                                                     Lease by and between State of
                                                     Maryland for the Use of the Board of                                                                                                           c/o
                                                     Trustees of the State Retirement and                                                                                                           American
                                                     Pension System and Factory Card Outlet                                         Festival @                                       SVF Riva       Realty         801 North Brand
SVF Riva Annapolis, LLC     Party City Corporation   of America, Ltd., dated August 28, 1996    5520     $177.91    2325H Forest Dr Riva           Annapolis    MD           21401   Annapolis, LLC Advisors       Blvd., Suite 800      Glendale        California            91203
                                                     Lease Agreement by and between                                                                                                  Wheaton
                                                     Wheaton Plaza Regional Shopping                                                                                                 Plaza Regional c/o
Wheaton Plaza Regional                               Center LLP and Party City of Wheaton,                          11006 Veirs Mill                                                 Shopping       Westfield,     11601 Wilshire
Shopping Center L.L.C       Party City Corporation   Inc. dated March 23, 2011                  1100       $0.00    Road             Suite L20     Wheaton      MD           20902   Center L.L.C   LLC            Boulevard, 11th Floor Los Angeles     California       90025-1738
                                                                                                                                                                                     14700
                                                     Lease Agreement by and between                                                                                                  Baltimore
14700 Baltimore Avenue                               Laurel Rising as Owner, LLC and Party                          14802 Baltimore                                                  Avenue                        30 State House Sq,
Invenstors LLC              Party City Corporation   City Corporation dated March 29, 2013      581    $14,503.61   Avenue                         Laurel       MD           20707   Invenstors LLC                Suite 15th Floor      Hartford        Connecticut            6103
                                                                                                                                                                                                    c/o            1025 Thomas
                                                                                                                                                                                                    Combined       Jefferson Street,
                                                     Lease Agreement by and between                                                                                                                 Properties,    NW7315 Wisconsin                    District of
                                                     Greenway Plaza LLC and Party City                              7483 Greenbelt                                                   Greenway       Incorporate    Avenue, Suite 700     WashingtonBet ColumbiaMary
Greenway Plaza LLC          Party City Corporation   Corporation dated July 25, 2014            515    $20,966.17   Road                           Greenbelt    MD           20770   Plaza LLC      d              1000 West             hesda         land         2000720814
                                                     Lease Agreement by and between                                                                                                                 c/o            2001 Pennsylvania
                                                     Madison Waldorf LLC and Party City                             2910 Festival                                                    Madison        Madison        Avenue, NW, 10th                      District of
Madison Waldorf LLC         Party City Corporation   Corporation dated August 13, 2013          5513       $0.00    Way                            Waldorf      MD           20601   Waldorf LLC Marquette         Floor                 Washington      Columbia              20006
                                                     Amended and Restated Lease
                                                     Agreement by and between Bel Air
                                                     Square LLC and Party City Corporation                          622 Marketplace                                                KRG Bel Air                     30 South Meridian
KRG Bel Air Square LLC      Party City Corporation   dated August 31, 2015                      5518       $0.00    Drive                          Bel Air      MD           21014 Square LLC                      Street, Suite 1100    Indianapolis    Indiana               46204
                                                                                                                                                                                                       c/o Abrams
                                                     Lease Agreement between AAK Dobbin                                                                                                                Developme
                                                     LLC and Party City of Columbia, Inc.                           6181 Old Dobbin                                                AAK Dobbin,         nt Group, 8601 Robert Fulton
AAK Dobbin, LLC             Party City Corporation   dated October 24, 2002                     1097       $0.00    Ln                             Columbia     MD           21045 LLC                 Inc.       Drive, Suit 100        Columbia        Maryland              21046




                                                                                                                                          Page 18 of 41
                                                                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 217 of 248




                                                                                                                                                                                                           C/o
                                                      Lease Agreement by and between CR                                                                                                  CR                Continental
                                                      Hagerstown, LLC and Party City                                    17682 Garland                                                    Hagerstown,       Realty      1427 Clarkview Road,
CR Hagerstown, LLC           Party City Corporation   Corporation dated May 17, 2022               1098R       $0.00    Groh Blvd                      Hagerstown MD      21740          LLC               Corporation Suite 500            Baltimore      Maryland     21209-2100

                                                      Lease Agreement by and between The                                                                                                                 c/o Heritage
The Centre at Forestville,                            Centre at Forestville, LLC and Party City                         3235 Donnell                                                    The Centre at Partners,       2568A Riva Road,
LLC                          Party City Corporation   Corporation dated February 18, 2022          600R        $0.00    Drive              Space G09   Forestville   MD           20747 Forestville, LLC LLC          Suite 200            Annapolis       Maryland          21401

                                                                                                                                                                                        Garrison       c/o M. Leo
                                                                                                                                                                                        Forest         Storch
                                                      Lease by and between Garrison Forest                                                                                              Associates     Manageme
Garrison Forest Associates                            Associates and Party City of Pikesville,                          10385                                                           Limited        nt              25 Hooks Lane, Suite
Limited Partnership        Party City Corporation     Inc. d/b/a Party City dated May 18, 2000      1090       $0.00    Reisterstown Rd                Owings Mills MD            21117 Partnership    Corporation     312                  Baltimore      Maryland          21208
                                                                                                                                                                                                       c/o
                                                      Lease Agreement by and between                                                                                                                   Maryland
                                                      Jerome Siegel and Pike Park Associates                                                                                                           Financial
                                                      Limited Partnership and Party City                                6508 Baltimore                                                  Pike Park      Investors,      9475 Deereco Road,
Pike Park Associates LLP     Party City Corporation   Baltimore West, Inc. dated April 6, 1994      1091       $0.00    National Pike                  Baltimore     MD           21228 Associates LLP Inc.            Suite 302          Timonium         Maryland          21093
                                                                                                                                                                                                       c/o
                                                                                                                                                                                                       Maryland
                                                      Shopping Center Lease by and between                                                                                                             Financial
                                                      355 Frederick L.L.C. and Party City of                            5600 Urbana Pike                                                355 Frederick Investors,       2800 Quarry Lake
355 Frederick L.L.C          Party City Corporation   Frederick, Inc. entered into July 17, 2000    1095    $2,284.07   Ste C                          Frederick     MD           21704 L.L.C          Inc.            Drive, Suite 340    Baltimore       Maryland          21209
                                                                                                                                                                                                       c/o
                                                                                                                                                                                                       Maryland
                                                      Lease Agreement by and between Texas                                                                                                             Financial
                                                      Properties II and Party City Corporation                                             Church Lane                                  Church Lane Investors,         2800 Quarry Lake
Church Lane Shops LLC        Party City Corporation   dated June 14, 2014                           5503       $0.00    9958 York Rd       Ctr         Cockeysville MD            21030 Shops LLC      Inc.            Drive, Suite 340    Baltimore       Maryland          21209

                                                      Lease Agreement by and between RERE                                                                                               RERE 1 -      c/o Rinnier
                                                      1 - Northgate 11, LLC and Party City                              2640 N Salisbury                                                NorthGate 11, Developme
RERE 1 - NorthGate 11, LLC Party City Corporation     Corporation dated May 1, 2012                 5524       $0.00    Blvd                           Salisbury     MD           21801 LLC           nt Company 218 East Main Street Salisbury            Maryland          21801

                                                      Retail Lease Agreement between                                                                                                                       c/o
                                                      Kentlands Retail, Inc. and Party City of                                                                                                             Windham
                                                      Gaithersburg, Inc. dated December 17,                             295 Kentlands                                                   Kentlands          Manageme 7501 Wisconsin
Kentlands Square LLC         Party City Corporation   2001                                          1096       $0.00    Blvd                           Gaithersburg MD            20878 Square LLC         nt Company Avenue, Suite 1500   Bethesda        Maryland     20814-6522
                                                      Lease Agreement by and between
                                                      Woodmore Towne Centre, LLC and Party                                                                                              Woodmore
Woodmore Towne Centre,                                City Corporation dated December 3,                                9101 Woodmore                                                   Towne Centre,                  1919 West Street,
LLC                    Party City Corporation         2010                                           738   $15,797.44   Centre Drive  Suite 312        Lanham        MD           20706 LLC                            Suite 100           Annapolis       Maryland          21401
                                                      Indenture of Lease by and between TRP-
                                                      MCB Eastpoint LLC and Party City
                                                      Baltimore East, Inc. dated September 3,                                                                                           TRP-MCB                        7839 Eastpoint Mall,
TRP-MCB Eastpoint LLC        Party City Corporation   2014                                          1092       $0.00    7929 Eastern Ave               Baltimore     MD           21224 Eastpoint LLC                  Suite 10             Baltimore      Maryland          21224
                                                      Lease by and between KR Trust One, Inc.
                                                      and Party City Corporation dated June 7,                                                                                          Anneslie                       911 Greenspring
Anneslie Center, LLC         Party City Corporation   1996                                          1099   $21,458.34   6311 York Rd                   Baltimore     MD           21212 Center, LLC                    Valley Road         Lutherville     Maryland          21093
                                                      Shopping Center Lease Agreement by                                                                                                              c/o
                                                      and between Arundel Property Investors                                                                                            Paramount     Paramount
Paramount Crossroads at                               Limited Partnership and J&H Party City,                                                                                           Crossroads at Newco     1195 Route 70, Suite
Pasadena, LLC                Party City Corporation   Inc. dated June 7, 2001                       1200       $0.00    8044 Ritchie Hwy               Pasadena      MD           21122 Pasadena, LLC Realty    2000                 Lakewood              New Jersey         8701
                                                      Lease between Ginn Real Estate, LLC
                                                      and The Big Party Corporation dated                               220 Maine Mall                 South
GMC, LLC                     Party City Corporation   September 13, 1996                            6019   $10,971.75   Rd.                            Portland      ME   04106          GMC, LLC                      220 Maine Mall Road South Portland Maine               4106
                                                      Lese by and between Bangor Parkade,
                                                      Inc. and iParty Retail Stores Corp. dated                         480 Stillwater                                                   Bangor                        1195 Route 70, Suite
Bangor Parkade, Inc.         Party City Corporation   April 4, 2005                                 6066       $0.00    Ave                Suite C     Bangor        ME   04401          Parkade, Inc.                 2000,                Lakewood       NJ                 8701
                                                      Lease Agreement by and between
                                                      Portage Crossing II, LLC and Party City                           6805 South                                                      Portage
Portage Crossing II, LLC     Party City Corporation   Corporation dated April 22, 2013              4109       $0.00    Westnedge Ave                  Portage       MI           49002 Crossing II, LLC               13766 Durango Drive Del Mar         California        92014
                                                                                                                                                                                                     C/O Mid-
                                                      Lease Agreement by and between                                                                                                                 America
                                                      23269 Eureka Road Investors, LLC and                                                                                              XIA Property Real Estate
XIA Property Management                               Party City Corporation dated June 6,                              23269 Eureka                                                    Management Michigan      38500 Woodward
LLC                     Party City Corporation        2014                                          4117       $0.00    Road                           Taylor        MI           48180 LLC          Inc         Ave. Suite 100            Bloomvield Hills MI               48304




                                                                                                                                              Page 19 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 218 of 248




                                                      Lease Agreement by and between S & M
                                                      Heights, a Michigan Partnership, by
                                                      Frankel-Anton Heights Partnership, a Co-
                                                      Partnership and The 1/2 Off Card Shop,                         32351 John R                   Madison                 Madison                      1334 Maple Lawn
Madison Place, L.L.C.       Party City Corporation    Inc. dated August 9, 1990                  4110       $0.00    Road                           Heights      MI   48071 Place, L.L.C.                Drive                Troy            MI          48084
                                                      Lease Agreement by and between                                                                                        NEMCO         c/o Argus
NEMCO BRIGHTON                                        Brighton Depot, L.L.C. and The 1/2 Off                                                                                BRIGHTON      Realty
HOLDINGS LLC                Party City Corporation    Card Shop, Inc. dated July 22, 1998        4133   $41,754.80   8057 Challis Rd                Brighton     MI   48116 HOLDINGS LLC Group, LLC      P.O. Box 36544       Grosse Pointe   Michigan    48236
                                                                                                                                                                                          c/o Kirco
                                                      Lease by and between Baldwin                                                                                          Baldwin       Manageme
                                                      Commons, L.L.C. and The 1/2 Off Card                           4846 S Baldwin                 Orion                   Commons,      nt Services,   101 West Big Beaver
Baldwin Commons, L.L.C      Party City Corporation    Shop, Inc. dated Septemeber 24, 1997       4134       $0.00    Rd                 Unit 8      Township     MI   48359 L.L.C         Ltd.           Road, Suite 200     Troy             Michigan    48034

                                                                                                                                                                                           c/o
                                                                                                                                                                                           Lormax/Ster
                                                      Lease Agreement by and between                                                                                                       n
                                                      Lansing Retail Center L.L.C. and Party                                                                                Lansing Retail Developme
Lansing Retail Centre L.L.C. Party City Corporation   City Corporation dated June 17, 2011       492        $0.00    420 Frandor Ave                Lansing      MI   48912 Centre L.L.C. nt Company 300 Frandor Avenue, Lansing              Michigan    48912
                                                      Lease Agreement by and between Outer
                                                      Drive 39 Development Co., LLC and                                                                                     Outer Drive 39
Outer Drive 39                                        Party City Corporation dated December                                                                                 Development                  One Towne Square,
Development Co., LLC        Party City Corporation    9, 2005                                    513        $0.00    23195 Outer Dr                 Allen Park   MI   48101 Co., LLC       c/o Redico    Suite 1000           Southfield      Michigan    48076
                                                      Lese Agreement by and between ATMF
                                                      VI, L.L.C. and Party City Corporation                          30750 Orchard                  Farmington                                           6735 Telegraph Rd,
ATMF VI, LLC                Party City Corporation    dated June 6, 2018                         476     $2,655.62   Lake Rd                        Hills        MI   48334 ATMF VI, LLC                 Suite 110            Bloomfield Hills Michigan   48301
                                                      Lease Agreement by and between                                 32469 Gratiot                                          Macomb
Macomb Center Holdings,                               Macomb Mall, LLC and Party City                                Avenue Macomb                                          Center                       38500 Woodward
LLC                         Party City Corporation    Corporation dated December 27, 2004        511        $0.00    Mall                           Roseville    MI   48066 Holdings, LLC                Avenue, Suite 200    Bloomfield Hills Michigan   48304
                                                      Lease Agreement by and between
                                                      Archie A. Van Elslander and Mary Ann                                                                                  Blue Chip
                                                      Van Elslander and Party City Corp. dated                                                      Sterling                Properties,
Blue Chip Properties, LLC   Party City Corporation    February 23, 1996                          529        $0.00    12220 Hall Rd                  Heights      MI   48313 LLC                          2940 Orchard Place   Orchard Lake    Michigan    48324
                                                      Lease Agreement by and between
                                                      Ramco-Gershenson Properties, L.P. and
                                                      Party City Cororation dated May 27,                            1316 S Rochester               Rochester               RPT REALTY,                  20750 Civic Center
RPT REALTY, LP              Party City Corporation    2016                                       551    $37,683.73   Rd                             Hills        MI   48307 LP                           Drive Suite 310      Southfields     Michigan    48076

                                                      Lease Agreement by and between GMN                                                                                    GMN
GMN INVESTMENTS                                       Miller Investment, LP and Party City                                                                                  INVESTMENTS
MILLER LP                   Party City Corporation    Corporation dated December 28, 2015        4102   $23,797.77   4339 Miller Road               Flint        MI   48507 MILLER LP                    115 W. Brown Street Birmingham       Michigan    48009

                                                      Shopping Center Lease between
                                                      Waterfall Shoppes, LLC and PA                                                                                         Waterfall
Waterfall Shoppes, LLC      Party City Corporation    Acquisition Corp. dated March 27, 2006     4107       $0.00    5114 28th St SE    Suite A     Grand Rapids MI   49512 Shoppes, LLC                 161 Ottawa NW #104 Grand Rapids      Michigan    49503
                                                      Lease Agreement by and between
                                                      Pittsfield Towne Center Limited
                                                      Partnership and The 1/2 Off Card Shop,                         2677 Oak Valley                                        Oak Valey                    6735 Telegraph Rd,
Oak Valey Centre, LLC       Party City Corporation    Inc. dated September 27, 1989              4111       $0.00    Dr                             Ann Arbor    MI   48103 Centre, LLC                  Suite 110            Bloomfield Hills Michigan   48301

                                                      Lease by and between West Oaks
                                                      Development Company and The 1/2 Off                                                                                                                20750 Civic Center
RPT REALTY LP               Party City Corporation    Card Shop, Inc. dated April 20, 1995       4124       $0.00    43741 W Oaks Dr                Novi         MI   48377 RPT REALTY LP                Drive, Suite 310     Southfiled      Michigan    49076
                                                      Lease Agreement by and between
                                                      Maxlune Realty Corporation, Tobeck                                                                                                    c/o National
                                                      Realty Corporation and Antonoff Family                                                                                                Real Estate
                                                      Trust Partnership LLP and Party City                           13477 Middlebelt                                       TMA-Livcom,     Manageme 9986 Manchester
TMA-Livcom, LLC             Party City Corporation    Corporation dated May 22, 2015             539    $21,255.93   Road                           Livonia      MI   48150 LLC             nt Corp.     Road                 St. Louis       Missouri    63122
                                                      Lease Agreement by and between
                                                      Brixmor/IA Southfield Plaza, LLC and                                                                                  Brixmor/IA     c/o Brixmor
Brixmor/IA Southfield                                 Party City Corporation dated May 28,                           29800 Southfield                                       Southfield     Property      450 Lexington
Plaza, LLC                  Party City Corporation    2015                                       924    $23,331.29   Rd                             Southfield   MI   48076 Plaza, LLC     Group         Avenue, 13th Floor   New York        New York    10017
                                                      Lease Agreement by and between                                                                                                       c/o Brixmor
                                                      Heritage Lakes Crossing, LLC and Party                         5725 South                                             Brixmor-Lakes Property       450 Lexington
Brixmor-Lakes Crossing, LLC Party City Corporation    City Corporation dated April 27, 2011      4000   $31,241.14   Harvey St                      Muskegon     MI   49444 Crossing, LLC Group          Avenue, 13th Floor   New York        New York    10017
                                                      Lease Agreement by and between New                                                                                                   c/o Brixmor
                                                      Plan of West Ridge, LLC and Party City                         35655 Warren                                           New Plan of Property         450 Lexington
New Plan of Westridge, LLC Party City Corporation     Corporation dated March 17, 2015           430    $13,681.17   Road                           Westland     MI   48185 Westridge, LLC Group         Avenue, 13th Floor   New York        New York    10017
                                                      Lease Agreement by and between
                                                      Saginaw Center LLC and Party City                              2918                                                   Saginaw         c/o Chase    3333 Richmond
Saginaw Center LLC          Party City Corporation    Corporation dated September 14, 2012       849     $9,851.20   Tittabawassee Rd               Saginaw      MI   48604 Center LLC      Properties   Road, Suite 320      Beachwood       Ohio        44122




                                                                                                                                           Page 20 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 219 of 248




                                                      Lease Agreement by and between Canal                                                                                        ROF
                                                      Street Partners, L.L.C. and Party City                         4515 Canal Ave                                               GRANDVILLE  c/o Chase         3333 Richmond
ROF GRANDVILLE LLC           Party City Corporation   Corporation dated November 16, 2001        431        $0.00    SW                                 Grandville     MI   49418 LLC         Properties        Road, Suite 320      Beachwood       Ohio        44122
                                                                                                                                                                                              c/o
                                                      Lease by and between IRET Properties                                                                                        SGO MN WEST Glenboroug        11501 Northlake
SGO MN WEST VILLAGE LLC Party City Corporation        and Newpaper, LLC dated May 1, 2010        1150       $0.00    830 W 78th St                      Chanhassen     MN   55317 VILLAGE LLC h                 Drive                Cincinnati      Ohio        45249
                                                                                                                                                                                  SVAP III    c/o The
                                                      Shopping Center Lease by and between                                                                                        RIVERDALE   Sterling
SVAP III RIVERDALE                                    Ryan Companies US, Inc. and Party City                         3360 124th Ave                                               COMMONS     Organizatio       302 Datura Street,   West Palm
COMMONS LLC                  Party City Corporation   Corporation dated January 16, 1998         1139   $20,593.69   NW                                 Coon Rapids MN      55433 LLC         n                 Suite 100            Beach           Florida     33401
                                                      Agreement of Lease by and between
                                                      River Hills Mall Partners and Factory                                                                                                       c/o
                                                      Card Outlet of America, Ltd. Dated May                                            River Hills                               River Hills     Brookfield    350 N Orleans St
River Hills Mall, LLC        Party City Corporation   14, 1997                                   1136       $0.00    1870 Adams St      Mall            Mankato        MN   56001 Mall, LLC       Properties    Suite 300            Chicago         Illinois    60654
                                                      Lease by and between Woodbury Village                                                                                       Woodbury
                                                      Green Limited Partnership and Paper                                                                                         Village Green   c/o
Woodbury Village Green                                Warehouse, Inc. dated December 20,                                                                                          Limited         Cushman       3500 American Blvd
Limited Partnership          Party City Corporation   1996                                       1151       $0.00    1505 Queens Dr              117 Woodbury          MN   55125 Partnership     Wakefield     West, Ste 200        Bloomington     Minnesota   55431
                                                      Lease by and between St. Cloud                                                                                              St. Cloud
St. Cloud Rainbow Village,                            Rainbow Village, LLC and Paper                                                                                              Rainbow         c/o Doran 7803 Glenroy Road,
LLC                          Party City Corporation   Warehouse, Inc. dated May 14, 1999         1149       $0.00    3959 2nd St S                      St Cloud       MN   56301 Village, LLC    Companies Suite 200                Bloomington     Minnesota   55439
                                                      Lease Agreement by and between
                                                      Roseville Fairview, LLC and Newpaper,                                                                                                       c/o GSR
                                                      LLC d/b/a Party America dated February                         2487 Fairview                                                Roseville       Real Estate
Roseville Fairview, LLC      Party City Corporation   12, 2004                                   1148       $0.00    Ave N                              Roseville      MN   55113 Fairview, LLC   Services    615 First Avenue NE Minneapolis        Minnesota   55413

                                                      Lease Agreement by and between Plaza
                                                      3000 Partnership, LLP and Factory Card
                                                      Outlet of America, LTD., d/b/a Factory                                                                                      Plaza 3000      GHS
Plaza 3000 Partnership,                               Card Outlet Balloons and Party Shop                            3000 White Bear                                              Partnership,    Developme 2935 County Drive,
L.L.P.                       Party City Corporation   dated December 18, 1997                    1138       $0.00    Ave N                            29 Maplewood MN       55109 L.L.P.          nt LLC    Suite 100                Little Canada   Minnesota   55117
                                                                                                                                                                                                  c/o
                                                                                                                                                                                                  Anderson
                                                      Lease Agreement by and between HTW                                                                                                          Property
                                                      Investment Partners, Inc. and Party City                                                                                    Wayne &         Manageme
Wayne & Carol Wieber         Party City Corporation   Corporation dated February 13, 1998        1140       $0.00    7365 153rd St W                    Apple Valley MN     55124 Carol Wieber    nt        3137 Alder Lane          St. Cloud       Minnesota   56301
                                                      Lease Agreement by and between Krau-                           7989 1/2                                                     Kraus-
Kraus-Anderson                                        Anderson, Incporated and Party City                            Southtown                                                    Anderson                      501 South Eighth
Incorporated                 Party City Corporation   Corporation dated May 6, 1997              1141       $0.00    Center                             Bloomington MN      55431 Incorporated                  Street               Minneapolis     Minnesota   55404
                                                      Indenture of Lease by and between
                                                      Opus Northwest, L.L.C. and Paper                                                                                                            c/o Kimco
                                                      Warehouse, Inc. dated December 24,                             12810 Elm Creek                                              KIR Maple       Realty      500 North Broadway,
KIR Maple Grove LP           Party City Corporation   1998                                       1152       $0.00    Blvd N                             Maple Grove MN      55369 Grove LP        Corporation Suite 201           Jericho            New York    11753
                                                      Indenture of Lease by and between                                                                                           Eagan
                                                      Opus Northwest, L.L.C. and Paper                               1279 Promenade                                               Promenade,      c/o Invesco 2001 Ross Avenue,
Eagan Promenade, Inc.        Party City Corporation   Warehouse, Inc. dated June 23 1996         1153       $0.00    Pl                                 Eagan          MN   55121 Inc.            Real Estate Suite 3400             Dallas          Texas       75201
                                                      Commercial Lease by and between                                                                                             OL3 BP
                                                      Olivette Associates, L.P. and Party City                                                                                    Associates,     c/o Bianco    680 Craig Road, Suite
OL3 BP Associates, LLC       Party City Corporation   Corporation dated September 17, 1996       561     $3,281.99   9612 Olive Blvd                    Olivette       MO   63132 LLC             Properties    240                   Creve Coeur    Missouri    63141
                                                      Lease by and between Capitol-Dierberg                                                                                       Caplaco Ten,
                                                      Properties One and Factory Card Outlet                                                                                      Inc. and
Caplaco Ten, Inc. and                                 of America, Ltd. dated September 21,                           2560 Lemay                                                   Dierbergs
Dierbergs Lemay, Inc.        Party City Corporation   1994                                       5163       $0.00    Ferry Rd           Lemay Plaza Saint Louis        MO   63125 Lemay, Inc.                   11850 Studt Avenue St. Louis         Missouri    63141

                                                      Lease Agreement by and between IA                                                                                           PAVILIONS AT c/o Trimont One Alliance Center,
PAVILIONS AT HARTMAN                                  Independence Hartman, L.L.C. and Party                         19850 E. Jackson                   Independenc               HARTMAN      Real Estate 3500 Lenox Road,
HERITAGE LLC                 Party City Corporation   City Corporation dated May 7, 2016         1109       $0.00    Drive                              e           MO      64057 HERITAGE LLC Advisors LLC Suite G1            Atlanta              Georgia     30326
                                                      Shopping Center Lease Agreement by
                                                      and between The Summit at Gravois                                                                                           The Summit at
The Summit at Gravois                                 Bluffs, L.L.C. and B. & P. Gateway                             790 Gravois                                                  Gravois Bluffs, c/o G.J.      9109 Watson Road,
Bluffs, L.L.C.               Party City Corporation   Enterprises, L.L.C. dated May 26, 2009     838     $8,447.53   Bluffs Plaza Dr                    Fenton         MO   63026 L.L.C.          Grewe, Inc.   Fourth Floor         St. Louis       Missouri    63126
                                                                                                                                                                                                  c/o US
                                                      Lease Agreement by and between SVC                                                                                                          Federal
                                                      Fund I, LLC and Party City Corporation                         8373 N. Booth                                                SVC Fund I,     Properties    4706 Broadway,
SVC Fund I, LLC              Party City Corporation   dated March 20, 2014                       1119       $0.00    Avenue                             Kansas City    MO   64158 LLC             Co. LLC       Suite 240            Kansas City     Missouri    64112
                                                      Lease Agreement between The Grewe
                                                      Limited Partnership and Factory Card                                                                                        The Grewe
The Grewe Limited                                     Outlet of America, Ltd. Dated April 10,                        293 Mid Rivers     Mid Rivers                                Limited                       9109 Watson Road,
Partnership                  Party City Corporation   1996                                       5202    $4,079.83   Mall Drive         Plaza           Saint Peters   MO   63376 Partnership                   Suite 302            Crestwood       Missouri    63126




                                                                                                                                           Page 21 of 41
                                                                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 220 of 248




                                                      Shopping Center Lease by and between
                                                      Drury Land Development, Inc. and                                                                                           Drury Land
Drury Land Development,                               Factory Card Outlet of America, Ltd.                                                 Cape West   Cape                      Development,                  8315 Drury Industrial
Inc.                        Party City Corporation    Dated May 2, 1996                           5205          $0.00   244 Siemers Dr     Plaza       Girardeau      MO   63701 Inc.                          Parkway               St. Louis      Missouri         63114
                                                      Lease between Broadway Crossing II,                                                                                        Broadway
Broadway Crossings II,                                LLC and Factory Card Outlet of Ameica,                            21 Conley Rd Ste Broadway                                Crossings II,                 211 North Stadium
L.L.C.                      Party City Corporation    Ltd. Dated June 6, 1996                     5231 $0.0014,577.54   K                Mktplace      Columbia       MO   65201 L.L.C.                        Boulevard, Suite 201 Columbia        Missouri         65203
                                                                                                                                                                                 DP-N & K, LLC,
                                                                                                                                                                                 Caplaco Five,
                                                      Lease Agreement by and between DP-N                                                                                        Inc., Caplaco
DP-N & K, LLC, Caplaco                                & K, LLC, Caplaco Five, Inc., Caplaco                                                                                      Sixteen, Inc.
Five, Inc., Caplaco Sixteen,                          Sixteen, Inc. & Caplao Seventeen, Inc.                                               O'Fallon                              and Caplaco
Inc. and Caplaco                                      and Party City Corporation dated                                                     Retail Walk                           Seventeen,
Seventeen, Inc.,             Party City Corporation   November 4, 2010                            5330          $0.00   2935 Highway K     S/C         O Fallon       MO   63368 Inc.,                      11850 Studt Avenue St. Louis            Missouri         63141
                                                      Lease Agreement by and between                                                                                                            c/o Brixmor
                                                      Brixmor SPE 3, LLC and Party City                                 15909                                                    Brixmor SPE 3, Property    450 Lexington
Brixmor SPE 3, LLC          Party City Corporation    Corporation dated October 31, 2014           839     $13,059.43   Manchester Rd                  Ellisville     MO   63011 LLC            Group       Avenue, 13th Floor New York             New York         10017
                                                      Lease Agreement by and between TW-
                                                      Joplin Associates and Factory Card
                                                      Outlet of America, Ltd., dated March 25,                                           Northpoint                              RAF JOPLIN       c/o Chase    3333 Richmond
RAF JOPLIN LLC              Party City Corporation    1997                                        5260          $0.00   430 Rangeline Rd Center     Joplin            MO   64801 LLC              Properties   Road, Suite 320       Beachwood      Ohio             44122

                                                      Amended and Restated Lease
                                                      Agreement by and between DDDR                                                                                                             c/o Stirling
PMAT-Stirling Crossroads                              Crossroads Center LLC and Party City of                           15224 B                                                  PMAT-Stirling Properties, 109 Northpark Blvd.,
LLC                         Party City Corporation    Gulfport, L.L.C. dated October 9, 2014      1050     $19,694.40   Crossroads Pkwy                Gulfport       MS   39503 Crossroads LLC LLC          Suite 300          Covington           Louisiana        70433

                                                      Shopping Center Lease between
                                                      Regency Centers, L.P. and P.M. Parties,                                                                                                     c/o Regency
                                                      Inc. d/b/a Party City dated August 7,                             7601-A Pineville                                         Regency          Centers     121 West Forsyth
Regency Centers, L.P.       Party City Corporation    2003                                        1068     $12,745.80   Matthews Rd                    Charlotte      NC   28226 Centers, L.P.    Corporation Street, Suite 200      Jacksonville   Florida          32202
                                                      Lease Agreement between Northlake                                                                                          ARC
                                                      Commons, L.L.C. and P.M. Parties, Inc.                            9320 Center Lake                                         NCCHRNC001, c/o NAI           One Oakbrook
ARC NCCHRNC001, LLC         Party City Corporation    dated June 1, 2012                          1070     $13,320.33   Drive            Suite 200     Charlotte      NC   28216 LLC           Hiffman         Terrace, Suite 400    Oakbrook       Illinois         60181
                                                      Indenture of Lease by and between
                                                      Hickory Ridge Associates Limited
                                                      Partnership and P.M. Parties, Inc. dated                          1942 Catawba                                             Hickory Ridge c/o Acadia      411 Theodore Fremd
Hickory Ridge Owner LLC     Party City Corporation    July 17, 1998                               1062          $0.00   Valley Blvd SE                 Hickory        NC   28602 Owner LLC     Realty          Avenue, Suite 300  Rye               New York         10580
                                                      Lease Agreement by and between                                                                                                           c/o AR
                                                      VEREIT Mt Raleigh (Sumner) NC, LLC and                                                                                     ARG           Global
                                                      Party City Corporation dated November                             3604 Sumner                                              TTRALNC001, Investments       650 5th Avenue, 30th
ARG TTRALNC001, LLC         Party City Corporation    30, 2020                                    1027          $0.00   Boulevard                      Raleigh        NC   27616 LLC           , LLC           Floor                New York        New York         10019
                                                      Indenture of Lease by and between JDN                                                                                                    c/o Brixmor
                                                      Realty Corporation and Party City                                 4715 New Centre                                          Brixmor New Property          450 Lexington
Brixmor New Centre LP       Party City Corporation    Corporation dated September 23, 1997        1057      $3,311.85   Dr Ste F                       Wilmington     NC   28405 Centre LP     Group           Avenue, 13th Floor    New York       New York         10017
                                                      Indenture of Lease by and between JDN                                                                                      Brixmor       c/o Brixmor
Brixmor Wendover Place,                               Realty Corporation and P.M. Parties, Inc.                                                                                  Wendover      Property        450 Lexington
LP                          Party City Corporation    dated May 28, 1997                          1060      $7,613.79   5408-A Sapp Rd                 Greensboro     NC   27409 Place, LP     Group           Avenue, 13th floor    New York       New York         10017

                                                                                                                                                                                                 c/o DLC
                                                      Lease by and between Fourth Quaeter                                                                                                        Manageme
                                                      Properties IX, Inc. and Party City                                2065 Skibo Rd                                            SUSO 5          nt            565 Taxter Road,
SUSO 5 Fayetteville LP      Party City Corporation    Corporation dated April 27, 1998            1058          $0.00   Unit 4                         Fayetteville   NC   28314 Fayetteville LP Corporation   Suite 400             Elmsford       New York         10523
                                                      Lease by and between AAC Services, Inc.                                                                                                    c/o DNA
                                                      and P.M. Parties, Inc. dated February 20,                         3686 E Franklin                                          Andrew          Partners,     126 Main Street,      Cold Spring
Andrew Square 85, LLC       Party City Corporation    1997                                        1064      $9,128.64   Blvd                           Gastonia       NC   28056 Square 85, LLC LLC            Suite 250             Harbor         New York         11724

                                                      Lease Agreement by and between                                                                                                            c/o Kimco
                                                      Crossroads Plaza 1743, LP and Party City                          203 Crossroads                                           Crossroads     Realty      500 North Broadway,
Crossroads Plaza 1743, LP   Party City Corporation    Corporation dated November 30, 2020         1028        $283.15   Blvd                           Cary           NC   27518 Plaza 1743, LP Corporation Suite 201           Jericho             New York         11753
                                                      Lease Agreement by and between KIR                                                                                         KIR New Hope
                                                      New Hope Commons Limited                                                                                                   Commons        c/o Kimco
KIR New Hope Commons                                  Partnership and Party City Corporation                            5402 New Hope                                            Limited        Realty      500 North Boradway,
Limited Partnership         Party City Corporation    dated November 30, 2020                     1032     $13,383.34   Commons Dr                     Durham         NC   27707 Partnership    Corporation Suite 201           Jericho             New York         11753

                                                      Lease Agreement by and between                                                                                                           c/o Kimco
                                                      Kimco Ryvola, LP and Party City                                                                                            Kimco Tyvola, Realty      500 North Broadway,
Kimco Tyvola, LP            Party City Corporation    Corporation dated April 19, 2018            1067     $14,827.25   5407 South Blvd                Charlotte      NC   28217 LP            Corporation Suite 201           Jericho              New York         11753
                                                                                                                                                                                 Pacolet
                                                      Indenture of Lease by and between JDN                                                                                      Milliken      c/o ACPM
Pacolet Milliken                                      Development Company, Inc. and P.M.                                2637 Lawndale                                            Enterprises,  Operations, 1400 Northwood
Enterprises, Inc            Party City Corporation    Parties, Inc. dated April 2, 1999           1059     $16,756.39   Dr                             Greensboro     NC   27408 Inc           LLC         Street              Greensboro           North Carolina   27408




                                                                                                                                              Page 22 of 41
                                                                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 221 of 248




                                                                                                                                                                                                         c/o
                                                     Lease Agreement by and between Brier                                                                                                                American
                                                     Creek Commons, LLC and Party City                                  8081 Brier Creek                                                                 Asset       5950 Fairview Road,
BC Retail, LLC              Party City Corporation   Corporation dated December 28, 2020          1030     $13,301.40   Parkway                          Raleigh       NC           27617 BC Retail, LLC Corporation Suite 800           Charlotte            North Carolina         2210
                                                     Indenture of Lease by and between
                                                     Glencoe Bluefield Associates, Limited                                                                                                DDRTC
DDRTC Winslow Bay                                    Partnership and P.M. Parties, Inc. dated                                                                                             Winslow Bay       c/o CBRE,     8712 Lindholm Drive,
Commons LLC                 Party City Corporation   December 3, 2002                             1063     $10,869.76   590 F River Hwy                  Mooresville   NC           28117 Commons LLC       Inc.          Suite 206            Huntersville   North Carolina        28078
                                                     Indenture of Lese by and between CK                                                                                                  Gateway           c/o
                                                     Afton Ridge Retail, LLC and P.M. Parties,                          6110 Bayfield                                                     Afton Ridge,      Childress     301 S College St,
Gateway Afton Ridge, Inc.   Party City Corporation   Inc. dated November 28, 2006                 1066          $0.00   Pkwy                             Concord       NC           28027 Inc.              Klein         Suite 2800           Charlotte      North Carolina        28202
                                                                                                                                                                                                            c/o
                                                     Lease Agreement between Progressive                                                                                                                    Providence
                                                     Development Partners of Sardis, LLC and                                                                                                                Group
                                                     P.M. Parties, Inc. d.b.a Party City dated                          1816 Galleria                                                     Galleria 1848     Manageme      300 West Summit
Galleria 1848 LLC           Party City Corporation   Deceember 11, 2003                           1069     $10,010.74   Blvd                Suite H      Charlotte     NC           28270 LLC               nt Services   Suite 250            Charlotte      North Carolina        28203
                                                                                                                                                                                                            c/o
                                                                                                                                                                                                            Rivercrest
                                                     Lease Agreement by and between NC-                                                                                                   NC-Garner         Realty
                                                     Garner White-QRX, LLC and Party City              $11,362.1411,33 280 Shenstone                                                      White–QRX,        Associates,   8816 Six Forks Road,
NC-Garner White–QRX, LLC Party City Corporation      Corporation dated January 13, 2021           1026 7.89            Blvd                              Garner        NC           27529 LLC               LLC           Suite 201            Raleigh        North Carolina        27615
                                                     Lease Agreement by and between Triple
                                                     B #3, LLC and Party City Corporation                               703 SE Greenville                                                                                 530 SE Greenville
Triple B #3 LLC             Party City Corporation   dated March 29, 2018                          995          $0.00   Blvd.             Suite 102      Greenville    NC           27858 Triple B #3 LLC                 Blvd., Suite 200     Greenville     North Carolina        27858
                                                     Indenture of Lease by and between                                                                                                    GMN
                                                     GMN Properties, LLC and P.M. Parties,                              566 S Stratford                  Winston                          Properties,
GMN Properties, LLC         Party City Corporation   Inc. dated July 17, 2009                     1061       $808.89    Rd                               Salem         NC           27103 LLC                             405 Cedar Trail      Winston Salem North Carolina         27104

                                                     Lease Agreement by and between                                                                                                       Burlington
Burlington Levcor-Harvest,                           Burlington Levcor-Harvest, LLC and Party                           635 Huffman Mill                                                  Levcor-                         7800 Washington,
LLC                        Party City Corporation    City Corporation dated August 26, 2019        997          $0.00   Road             Suite 102       Burlington    NC           27215 Harvest, LLC                    Suite 800            Houston        Texas            77007-1046
                                                     Lease Agreement by and between                                                                                                       Overlook       c/o Armada
Overlook Village Asheville,                          Overlook SPV, LLC and Party City                                                                                                     Village        Hoffler          222 Central Park
LLC                         Party City Corporation   Corporation dated August 2, 2019              998      $7,750.60   80 S Tunnel Rd      Suite 15     Asheville     NC           28805 Asheville, LLC Properties       Avenue, Suite 2100   Virginia Beach Virginia              23462
                                                     Lease Agreement by and between MEY                                                                                                   GRAND FORKS
GRAND FORKS ASSOCIATES                               Limited Liability Company and MEY, Inc.                                                                                              ASSOCIATES                      14 N PEORIA ST, UNIT
LP                     Party City Corporation        dated July 21, 2018                          1145      $3,747.31   2861 32nd Ave S                  Grand Forks ND             58201 LP                              3F                   CHICAGO                              60607
                                                     Commercial Lease by and between Real
                                                     Hardware, LLC and Bismarck Party and                                                                                                 Real
Real Hardware, LLC          Party City Corporation   Paper, Inc. dated December 2007              1191      $5,574.20   807 S. 7th Street                Bismarck      ND           58504 Hardware, LLC                   805 S. 7th Street    Bismarck       North Dakota          58504
                                                     Agreement of Lease by and between
                                                     Hallmark Village Apartments and Party
                                                     Wwarehouse, Inc. d/b/a Paper                                                                                                         TJ Center I,
TJ Center I, LLC            Party City Corporation   Warehouse dated September 29, 1994           1144          $0.00   4340 13th Ave S                  Fargo         ND           58103 LLC                             4300 E. 5th Avenue   Columbus       Ohio                  43219
                                                                                                                                                                                          CBL &
                                                     Shopping Center Lease by and between                                                                                                 Associates                      CBL Center, Suite
CBL & Associates                                     Dakota Square Mall CMBS, LLC and MEY,                                                                                                Management,                     500, 2030 Hamilton
Management, Inc.            Party City Corporation   Inc. d/b/a Party City dated May 23, 2013     1146      $6,480.74   2400 10th St. SW Suite 710       Minot         ND           58701 Inc.                            Place Boulevard      Chattanooga    Tennessee        37421-6000

                                                     Lease Agreement by and between Red                                                                                                                     c/o RED
                                                     Capital Management, LLC and Party City                             3120 Pine Lake                                                    RED CAPITAL       Developme One East Washington
RED CAPITAL MGMT, LLC       Party City Corporation   Corporation dated February 24, 2020          5189          $0.00   Road                Suite N      Lincoln       NE           68516 MGMT, LLC         nt, LLC   Street, Suite 300   Phoenix             Arizona               85004
                                                     Lease Agreement by and between
                                                     Montclair Center, LLC and Party City                                                                                                 G&I X
G&I X Montclair On Center                            Corporation dba Party City dated April                             12979 West                                                        Montclair On c/o Chase          3333 Richmond
LLC                       Party City Corporation     14, 2015                                     5157          $0.00   Center Road                      Omaha         NE           68144 Center LLC   Properties         Road, Suite 320      Beachwood      Ohio                  44122

                                                     Lease Agreement by and between                                                                                                        Centerco
                                                     Centerco Manchester LLC and Party City                                                                                                Manchester       c/o Andrew
Centerco Manchester LLC     Party City Corporation   Corporation dated December 16, 2016          6042          $0.00   1051 S Willow St                 Manchester NH      03103          LLC              Silberfein 222 West Hills Road     New Canaan     Connecticut            6840

                                                     Lease Agreement by and between                                                                                                        Kimco            c/o Kimco
                                                     Kimco Webster Square, LLC dated                                    266 Daniel                                                         Webster          Realty      500 North Broadway,
Kimco Webster Square, LLC Party City Corporation     February 17, 2022                           6047R          $0.00   Webster Hwy                      Nashua        NH   03060          Square, LLC      Corporation Suite 201           Jericho           New York              11753

                                                     Shopping Center Lease by and between                                                                                                                   c/o
                                                     Plaistow Project LLC and iParty Retail                                                 State Line                                     Plaistow         Northstar 150 East 58th Street,
Plaistow Project LLC,       Party City Corporation   Stores Corp. dated June 21, 2012             6072          $0.00   4 Plaistow Road     Plaza        Plaistow      NH   03865          Project LLC,     Centers LLC Suite 2001          New York          New York              10155




                                                                                                                                               Page 23 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 222 of 248




                                                                                                                                                                                             c/o
                                                      Lease Agreement by and between BFW                                                                                      BFW            Benderson
                                                      Associates, LLC and Party City                                                                                          Associates,    Developme     7978 Cooper Creek
BFW Associates, LLC         Party City Corporation    Corporation dated July 27, 2016             975   $36,810.76   4771 US Route 9                Howell       NJ   07731   LLC            nt            Boulevard, Suite 100 University Park Florida           34201
                                                                                                                                                                                             c/o M & J
                                                      Lease Agreement by and between US                                                                                                      Wilkow
                                                      MJW East Gate I, LLC and Party City                                                                                     US MJW East    Properties,   20 South Clark
US MJW East Gate I LLC      Party City Corporation    Corporation dated May 31, 2017              714       $0.00    1180 Nixon Drive               Mt. Laurel   NJ   08054   Gate I LLC     LLC           Street, Suite 3000   Chicago         Illinois          60603
                                                                                                                                                                                             c/o M.S.
                                                                                                                                                                                             Manageme
                                                      Lease by and between Rockaway Center                                                                                    Rockaway       nt
Rockaway Center                                       Associates and Party City Corporation                          357 Mount Hope                                           Center         Associates    225 West
Associates                  Party City Corporation    dated June 6, 2019                          734   $32,708.34   Avenue                         Rockaway     NJ   07866   Associates     Inc.          Washington Street    Indianapolis    Indiana      46204-3438
                                                      Lease Agreement between Benderson-                                                                                      B33            c/o
                                                      Wainberg Associates, L.P. and Party City                                                      Mays                      Wrangleboro    Bridge33      9330 W. Sahara Ave,
B33 Wrangleboro II LLC      Party City Corporation    Corporation dated July 24, 2007             480       $0.00    530 Consumer Sq                Landing      NJ   08330   II LLC         Capital       Suite 270           Las Vegas        Nevada            89117

                                                      Lease Agreement by and between Route                                                                                                  c/o
                                                      17 Land Co., Inc. and Party City of                                                                                     Route 17 Land Colandrea
Route 17 Land Co. Inc.      Party City Corporation    Paramus, Inc. dated November 22, 2001       746   $28,673.91   669 N Rt 17                    Paramus      NJ   07652   Co. Inc.      Enterprises 100 Route 22        Springfield         New Jersey         7081
                                                                                                                                                                              Bayshore
                                                      Lease between Bayshore Shopping                                                                                         Shopping
Bayshore Shopping Plaza                               Plaza, Inc. and Stevemor, Inc. d/b/a                                                                                    Plaza         c/o Garden
Associates                  Party City Corporation    Party City dated October 31, 1988          1024   $13,120.41   3082 Hwy 35                    Hazlet       NJ   07730   Associates    Homes       820 Morris Turnpike Short Hills         New Jersey         7078

                                                                                                                                                                                              c/o Levin
                                                      Lease by and between Levin Properties                                             Kohl's                                                Manageme
                                                      and Party City of Route 4, Inc. dated                                             Shopping                              Levin           nt
Levin Properties, L.P       Party City Corporation    June 3, 1992                                745    $6,852.94   165 W Rt 4         Center      Paramus      NJ   07652   Properties, L.P Corporation 975 U.S. Highway 22 North Plainfield New Jersey          7060

                                                                                                                                                                                            c/o Levin
                                                      Lease Agreement by and between                                                                                                        Manageme
                                                      Eatontown 36, LLC and Party City                                                                                        Eatontown 36, nt
Eatontown 36, LLC           Party City Corporation    Corporation dated November 18, 2020        1020   $14,880.46   50 NJ-36                       Eatontown    NJ   07724   LLC           Corporation PO Box 326              Plainfield      New Jersey   07061-0326
                                                      Lease Agreement by and between BRM
                                                      Parkway Center, Inc. and Party City                                                                                     BRM Parkway c/o Mocci
BRM Parkway Center, Inc.    Party City Corporation    Corporation dated May 13, 2022             402R       $0.00    Route 1 South                  Iselin       NJ   08830   Center, Inc. Industries      241 Main Street      Woodbridge      New Jersey         7095
                                                      Amended and Substituted Lease
                                                      Agreement between Brentwood Plaza
                                                      and Party City Corporation dated March                                                                                  Brentwood      c/o Pagano
Brentwood Plaza,            Party City Corporation    12, 1997                                      4   $22,427.52   1625 Route 23                  Wayne        NJ   07470   Plaza,         Company    55 Harristown Road      Glen Rock       New Jersey   07452-3303

                                                                                                                                                                                            c/o Patron
                                                      Lease Agreement by and between Clark                                                                                                  Property
                                                      Commons LLC and Party City                                     1255 Raritan                                             Clark         Manageme
Clark Commons, LLC          Party City Corporation    Corporation dated January 27, 2014          884       $0.00    Road               Unit #710   Clark        NJ   07066   Commons, LLC nt Company      700A Lake Street     Ramsey          New Jersey         7446
                                                                                                                                                                                            c/o Steiner
                                                      Agreement of Lease between 724 R202                                                                                     724 R 202     Equities
                                                      Associates, L.L.C. and Mel's Party City                                                                                 Associates,   Group,         75 Eisenhower
724 R 202 Associates, L.L.C. Party City Corporation   dated April 23, 2001                        747       $0.00    730 Rte 202                    Bridgewater NJ    08807   L.L.C.        L.L.C.         Parkway, Suite 150   Roseland        New Jersey   07068-1696
                                                      Agreement of Lease between River Road                                                                                                 c/o The
                                                      EH LLC and Party City Corporation dated                                                                                 346 Route 10 Klein Group
346 Route 10 Investors LLC Party City Corporation     June 24, 2013                                 3       $0.00    346 Route 10 W                 East Hanover NJ   07936   Investors LLC LLC            25A Hanover Rd.      East Hanover    New Jersey         7932

                                                      Indenture of Lease by and between RC                                                                                    Woodbridge
Woodbridge NJ Holdings,                               oodbridge Crossing, LLC and Party City                                                                                  NJ Holdings,                 886 Belmont Avenue,
LLC                         Party City Corporation    of Woodbridge, Inc. dated May 18, 2001      402      $97.76    455 Green St                   Woodbridge NJ     07095   LLC                          Suite B             North Haledon New Jersey            7508
                                                      Lease Agreement by and between Pop
                                                      Realty Corp. and Party City Corporation                        2450 US Highway                                          Pop Realty
Pop Realty Corp.            Party City Corporation    dated December 28, 2015                     403       $0.00    22                             Kenilworth   NJ   07033   Corp.                        275 Route 22 East.   Springfield     New Jersey         7081
                                                      Lease Agreement by and between
                                                      Treeco/Watchung Limited Partnership                                                                                     Treeco/Watch
Treeco/Watchung Limited                               and Party City Corporation dated March                         1684 Route 22                                            ung Limited
Partnership             Party City Corporation        22, 2011                                    408       $0.00    East                           Watchung     NJ   07069   Partnership              10 E. Palisade Ave       Englewood       New Jersey         7631
                                                                                                                                                                                             c/o ABS
                                                                                                                                                                                             Manageme
                                                      Lease Agreement by and between KIOP                                                                                                    nt &
                                                      Delran L.P. and Party City Corporation                                                                                  Millside Plaza Developme 1274 49th Street,
Millside Plaza LLC          Party City Corporation    dated September 21, 2012                    828    $6,903.00   4004 U.S. 130      Suite 8     Delran       NJ   08075   LLC            nt Corp.  Suite 302                Brooklyn        New York          11219




                                                                                                                                           Page 24 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 223 of 248




                                                     Shopping Center Lease by and between                                                                                                                  c/o Carlyle
                                                     Del Coop LLC and P.C. of Voorhees, Inc.                          79 Route 73 &                                                                        Manageme 254 Katonah Ave
Del Coop LLC                Party City Corporation   d/b/a Party City dated August 26, 2008      717          $0.00   Cooper Rd                        4 Voorhees    NJ    08043          Del Coop LLC     nt          Suite 203               Katonah         New York          10536

                                                     Lease between Metropolitan Edgewater                                                                                                 Edgewater     c/o Kimco
Edgewater Retail Partners,                           Associates Limited Partnership and Party                                                                                             Retail        Realty            500 North Broadway
LLC                        Party City Corporation    City Corporation dated April 19, 1996       748     $26,939.83   509 River Rd                       Edgewater   NJ    07020          Partners, LLC Corporation       , Suite 201        Jericho           New York          11753
                                                     Lease Agreement by and between                                                                                                                     c/o
                                                     FC/Treeco Columbia Park LLC and Party                                                                                                Columbia Park Madison
Columbia Park Retail                                 City of North Bergen, Inc. dated May 14,                         3149 Kennedy                                                        Retail Owner, Internationa      410 Park Avenue,
Owner, LLC                  Party City Corporation   1998                                        711          $0.00   Blvd.               Space 13       North Bergen NJ   07047          LLC           l                 10th Floor           New York        New York          10022
                                                                                                                                                                                                        c/o The
                                                     Lease Agreement between Related                                                                                                      Clifton       Related
                                                     Retail Clifton I, L.P. and Party City of                                                                                             Commons I,    Companies,
Clifton Commons I, L.L.C.   Party City Corporation   Clifton, Inc. dated April 28, 1998          710      $8,358.93   385 Route 3                        Clifton     NJ    07014          L.L.C.        LP                30 Hudson Yards      New York        New York          10001
                                                     Lease Agreement by and between
                                                     Goodmill, LLC and Party City Corporation                                                                                             108-110 E.
108-110 E. 116th St., LLC   Party City Corporation   dated August 30, 2016                       715     $21,002.26   2148 N 2nd St       Suite B        Millville   NJ    08332          116th St., LLC                  121 Tweed Boulevard Nyack            New York          10960

                                                     Lease Agreement by and between DDR                                                                                                   DDR Nassau c/o SITE
DDR Nassau Pavilion                                  Nassau Pavilion Associates LP and Party                          670 Nassau Park                                                     Pavilion      Centers           3300 Enterprise
Associates LP               Party City Corporation   City Corporation dated June 3, 2013         712         $95.63   Blvd                            28 Princeton   NJ    08540          Associates LP Corp.             Parkway              Beachwood       Ohio              44122

                                                     Lease between JDN Real Estate -                                                                                                   JDN Real            c/o SITE
JDN Real Estate- Hamlton,                            Hamilton, L.P. and Party City of Hamilton                        180 Marketplace                                                  Estate-             Centers        3300 Enterprise
L.P.                        Party City Corporation   Square, Inc. dated January 28, 2003         713     $11,425.30   Blvd                               Hamilton    NJ    08691       Hamlton, L.P.       Corp.          Parkway              Beachwood       Ohio              44122
                                                                                                                                                                                       Montgomery
                                                     Lease Agreement by and between                                                                                                    Crossing LLC
Montgomery Crossing LLC                              Academy Plaza, Ltd. And Party City of                            4410 Wyoming                                                     and Wyoming         c/o Ronco      8950 W. Olympic
and Wyoming Crossing LLC Party City Corporation      Albuquerque, Inc. dated March 1, 1995       942          $0.00   Blvd NE                            Albuquerque NM          87111 Crossing LLC        Investments    Blvd., 372           Beverly Hills   California   90211-3565
                                                     Lease Agreement by and between AP                                                                                                 Coronado            c/o Phillips
Coronado Center Station                              Century II, L.P. and Party City of Santa                         528 W Cordova                                                    Center Station      Edison &       11501 Northlake Dr,
LLC                         Party City Corporation   Fe, Inc. dated November 17, 1993            940          $0.00   Rd                                 Santa Fe    NM          87505 LLC                 Company        Suite 100           Cincinnati       Ohio              45249
                                                     Lease Agreement by and between Hunt                                                                                               Cottonwood
                                                     Building Corporation and Party City of                                                                                            Retail              c/o Fidelis
Cottonwood Retail                                    Albuquerque West, Inc. dated                                     10254 Coors Byp                                                  Associates,         Realty         4500 Bissonnet
Associates, LLC             Party City Corporation   December 15, 1998                           946 $0.00325.43      NW              Suite E            Albuquerque NM          87114 LLC                 Partners       Street, Suite 200    Bellaire        Texas             77401

                                                     Agreement of Lease by and beetween                                                                                                                c/o Hawkins
                                                     Hawkins-Smith and Party City                                     2825 Northtowne                                                    Northtowne Companies,            855 West Broad
Northtowne LLC              Party City Corporation   Corporation dated February 27, 1998         646          $0.00   Ln                                 Reno        NV            89512 LLC           LLC                Street, Suite 300    Boise           Idaho             83702
                                                     Lease Agreement by and between                                                                                                      KRG Las Vegas c/o Kite
KRG Las Vegas Centennial                             Centennial Centre, L.L.C. and Party City                         5643 Centennial                                                    Centennial    Realty             30 South Meridian
Gateway, LLC                Party City Corporation   Corporation dated October 17, 2001          426     $15,312.72   Blvd.           Suite 105          Las Vegas   NV            89149 Gateway, LLC Group               Street, Suite 1100   Indianapolis    Indiana           46204
                                                     Lease Agreement by and between
                                                     Rainbow Arroyo Commons, LLC and                                                                                                     Rainbow
Rainbow Arroyo Commons,                              Party City Corporation dated January 11,                         7285 Arroyo                                                        Arroyo       c/o Laurich 1770 North Buffalo
LLC                     Party City Corporation       2007                                        487     $18,627.13   Crossing Pkwy       Suite 130      Las Vegas   NV            89113 Commons, LLC Properties Drive, Suite 101              Las Vegas       Nevada            89128

                                                                                                                                                                                                           c/o Logic LV
                                                     Lease by and between Rainbow                                                                                                                          Property
                                                     Promenade Partners, L.L.C. and Party                                                                                                                  Manageme
                                                     City Corporation dated September 12,                             2301 N Rainbow                                                     8454 Steller      nt Company 3900 S Haulapai Way
8454 Steller Drive LLC      Party City Corporation   1996                                         550    $25,139.54   Blvd                               Las Vegas   NV            89108 Drive LLC         LLC          Suite 200         Las Vegas            Nevada            89147
                                                     Lease Agreement by and between Retail
                                                     Development Partners, LLC and Party                                                                                                 T Eastgate
T Eastgate MLR NV, LLC /                             City Corporation dated September 19,                                                                                                MLR NV, LLC / c/o Tabani         16600 Dallas
AZT Corp.                   Party City Corporation   2001                                        429     $33,757.48   520 Marks St        Suite 100      Henderson   NV            89014 AZT Corp.     Group              Parkway, Suite 300   Dallas          Texas             75248
                                                     Lease Agreement by and between
                                                     Inland Western Las Vegas, L.L.C. and                             3860 South                                                         ARC
                                                     Party City Corporation dated December                            Maryland                                                           BBLVSNV001                       2000 McKinney Ave.,
ARC BBLVSNV001 LLC          Party City Corporation   31, 2012                                    538     $12,837.90   Parkway             Suite 3        Las Vegas   NV            89119 LLC                              Suite 1000          Dallas           Texas             75201
                                                                                                                                                                                                         c/o
                                                     Shopping Center Lease between JC                                                                                                                    Hampton
                                                     Town Center Associates, LLC and Lisann                                                                                               JCTC Holdings, Properties, 2550 Bates Road,          Montreal,
JCTC Holdings, LLC          Party City Corporation   Party Corp. dated May 25, 2007              1228         $0.00   420 Harry L Drive                  Johnson City NY   13790          LLC            Inc.        Suite 110                 Quebec          Canada       H3S 1A7




                                                                                                                                             Page 25 of 41
                                                                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 224 of 248




                                                                                                                                                                                                c/o Cheryl
                                                                                                                                                                                                A. Chase,
                                                                                                                                                                                                Esq, Chase
                                                      Lease Agreement by and between One                                                                                                        Enterprises
                                                      Fordham Plaza LLC and Party City                                                                                              One Fordham Goodwin     225 Asylum Street,
One Fordham Plaza LLC        Party City Corporation   Corporation dated May 13, 2013            860     $2,697.16   1 Fordham Plaza                Bronx         NY           10458 Plaza LLC   Square      29th Floor                 Hartford        Connecticut   06103-1538

                                                      Agreement of Lease by and between
                                                      Best/Newmark Associates, LLC and Party                        3333 Crompond                  Yorktown                         UB Yorktown, c/o UB
UB Yorktown, LLC             Party City Corporation   City Corporation dated August 7, 1998     690        $0.00    Rd                             Heights       NY           10598 LLC           Properties      321 Railroad Avenue Greenwich        Connecticut         6830
                                                      Lease Agreement by and between                                                                                                              c/o
                                                      Randall Benderson 1993-1 Trust and                                                                                                          Benderson
                                                      Party City Corporation dated December                                                        Wappinger's                                    Developme       7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   3, 2013                                   880    $11,271.61   1701 Route 9                   Falls       NY             12590 93 NYRPT, LLC nt              Boulevard, Suite 100 University Park Florida            34201
                                                      Lease Agreement by and between MSF                                                                                            MSF           Benderson
                                                      Eastgate-I, LLC and Party City                                                                                                EastgateTrahw Developme       7978 Cooper Creek
MSF Eastgate-I, LLC          Party City Corporation   Corporationdated April 13, 2016           967    $14,969.85   44 Square Drive                Victor        NY           14564 en-IE, LLC    nt              Boulevard, Suite 100 University Park Florida            34201
                                                      Lease Agreement between Randall
                                                      Benderson and David H. Baldaf as
                                                      Trustees Under a Trust Agreement                                                                                                            c/o
                                                      Dated December 29, 1995 Known as the                                                                                                        Benderson
                                                      Ronald Benderson 1995 Trust and Lisann                                                                                                      Developme 7978 Cooper Creek
95 NYRPT, LLC                Party City Corporation   Party Corp. dated July 28, 2006           1221   $16,036.98   2373 Ridge Rd W                Rochester     NY   14626         95 NYRPT, LLC nt        Boulevard, Suite100 University Park Florida                   34201
                                                      Lease Agreement between 700 Jefferson
                                                      Road II, LLC known for tax purposes as                                                                                                      c/o
                                                      Ronald Benderson 1995 Trust and Lisann                                                                                                      Benderson
                                                      Party Corp. d/b/a Party City dated                            700 Jefferson                                                   700 Jefferson Developme 7978 Cooper Creek
700 Jefferson Road II, LLC   Party City Corporation   December 26, 2012                         1223       $0.00    Road                           Henrietta     NY   14623         Road II, LLC  nt        Boulevard, Suite100 University Park Florida                   34201
                                                      Lease Agreement between Ronald
                                                      Benderson, Randall Benderson and
                                                      David H. Baldauf as Trustess Under a
                                                      Trust Agreement dated Octoer 14, 1985                                                                                                       c/o
                                                      known as the Benderson 85-1 Trust and                                                                                         The           Benderson
                                                      Lisann Party Corp. d/b/a Party City                           145 Galleria                                                    Benderson 85- Developme       7978 Cooper Creek
The Benderson 85-1 Trust     Party City Corporation   dated March 28, 2011                      1224   $15,000.65   Drive                          Cheektowaga NY     14225         1 Trust       nt              Boulevard, Suite100 University Park Florida             34201
                                                      Lease Agreement between Transit-                                                                                                            c/o
                                                      Eastgate Associates, LLC and Lisann                                                                                                         Benderson
                                                      Party Corporation dated December 4,                           5097 Transit                                                                  Developme       7978 Cooper Creek
EGATE-95, LLC                Party City Corporation   2003                                      1225   $10,741.34   Road                           Williamsville NY   14221         EGATE-95, LLC nt              Boulevard, Suite100 University Park Florida             34201
                                                      Lease Agreement between Nathan
                                                      Benderson, Ronald Benderson and David
                                                      H. Baldauf, as Trustees Under a Trust
                                                      Agreement dated September 22, 1993,                                                                                                         c/o
                                                      known as the Randall Benderson 1993-1                                                                                                       Benderson
                                                      Trust and Party City Corporation dated                        2141 Elmwood                                                                  Developme 7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   August 15, 1996                           1229       $0.00    Avenue                         Buffalo       NY   14207         93 NYRPT, LLC nt        Boulevard, Suite100 University Park Florida                   34201

                                                      Lese Agreement between Nathan
                                                      Benderson, Ronald Benderson and David
                                                      H. Baldauf as Trustees under a Trust
                                                      Agreement dted September 22, 1993                                                                                                             c/o
                                                      known as the Randall Benderson 1993-1                                           Niagra Falls                                                  Benderson
                                                      Trust and Factory Card Outlet of                              7220 Niagara      Consumer                                                      Developme     7978 Cooper Creek
93 NYRPT, LLC                Party City Corporation   America, Ltd. Dated December 16, 1996     5250   $15,914.96   Falls Blvd        Sq           Niagara Falls NY           14304 93 NYRPT, LLC   nt            Boulevard, Suite 100 University Park Florida            34201
                                                                                                                                                                                                    c/o
                                                      Lease Agreement by and between                                                                                                                Benderson
                                                      Dewcom, LLC and Party City Corporation                                                                                                        Developme     7978 Cooper Creek
Dewcom, LLC                  Party City Corporation   dated December 3, 2013                    5258   $19,096.33   3409 Erie Blvd. E. Suite 240   Syracuse      NY           13214 Dewcom, LLC     nt            Boulevard, Suite 100 University Park Florida            34201
                                                      Indenture of Lease by FB Oceanside, LLC                                                                                       Alpine Income   c/o CTO
Alpine Income Property OP,                            and Party City Corporation dated                              3098 Long Beach                                                 Property OP,    Realty        1140 Williamson
LP                         Party City Corporation     October 23, 1998                          409        $0.00    Rd                             Oceanside     NY           11572 LP              Growth Inc.   Blvd. Suite 1400     Daytona Beach Florida              32114
                                                                                                                                                                                                    c/o The
                                                      Lese between DPA Realty Co. LLC and                                                                                                           Phoenix
                                                      Party City Corporation dated March 15,                        1239 Deer Park                 North                            DPA Realty      Organizatio
DPA Realty Company LLC       Party City Corporation   1997                                      565        $0.00    Ave (Rte 231)                  Babylon       NY           11703 Company LLC     n             941 A Clint Moore Rd Boca Raton      Florida            33487
                                                                                                                                                                                                    c/o M & J
                                                      Indenture of Lease between Portcal                                                                                            ML-MJW Port     Wilkow
ML-MJW Port Chester SC                                Company and R & R Party City, Inc.                            435 Boston Post                                                 Chester SC      Properties,   20 South Clark St,
Owner LLC                    Party City Corporation   dated January 11, 1994                    422        $0.00    Rd                             Portchester   NY           10573 Owner LLC       LLC           Suite 3000           Chicago         Illinois           60603




                                                                                                                                          Page 26 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 225 of 248




                                                      Shopping Center Lease by and between                                                                                        B33           c/o
                                                      Centereah Mall Associates L.P. and Party                        253 Centereach                                              Centereach II Bridge33       9330 W. Sahara Ave,
B33 Centereach II LLC        Party City Corporation   City Corporation dated October 9, 1996      525        $0.00    Mall                          Centereach   NY         11720 LLC           Capital        Suite 270           Las Vegas        Nevada       89117

                                                                                                                                                                                               c/o Reisman
                                                      Agreement of Lease by and between                               256 Northern                                                             Property
                                                      Norwill Associates and Party City                               Lights Shopping               North                         Norwill      Interests,      340 West Passaic
Norwill Associates           Party City Corporation   Corporation dated May 14, 1998              1132       $0.00    Center                        Syracuse     NY         13212 Associates   Inc.            Street               Rochelle Park   New Jersey   7662
                                                      Agreement of Lease between LH                                                                                               660 Columbus c/o The
660 Columbus Retail Owner                             Commercial Holdings LLC and Party City                          660 Columbus                                                Retail Owner Klein Group,    25 A Hanover Rd, Ste. FLORHAM
LLC                       Party City Corporation      Corporation dated March 2, 2011             741        $0.00    Avenue                        New York     NY         10025 LLC          LLC             350                   PARK           New Jersey   7932

                                                      Agreement of Lease by and between FC
                                                      Grand Avenue Associates, L.P. and Party                                                                                     Shop at Grand c/o Acadia     411 Theodore Fremd
Shop at Grand Avenue LLC Party City Corporation       City Corporation dated July 24, 1998        687    $22,259.83   7417 Grand Ave                Elmhurst     NY         11373 Avenue LLC    Realty         Ave, Suite 300     Rye               New York     10580
                                                      Lease Agreement by and between
                                                      Crossroads II, LLC and Party City                               431 Tarrytown                                               Crossroads II, c/o Acadia    411 Theodore Fremd
Crossroads II, LLC           Party City Corporation   Corporation dated August 17, 2012           836        $0.00    Rd                            White Plains NY         10607 LLC            Realty        Ave, Suite 300     Rye               New York     10580
                                                                                                                                                                                                 c/o
                                                      Lease Agreement by and between                                                                                              Rockland       American
                                                      Rockland Center Associates, LLC and                                                                                         Center         Continental
Rockland Center                                       Party City Corporation dated November                           123 Rockland                                                Associates,    Properties,   460 Park Avenue,
Associates, LLC              Party City Corporation   2, 2012                                     846        $0.00    Center                        Nanuet       NY         10954 LLC            LLC           11th Floor           New York        New York     10022
                                                                                                                                                                                                 c/o
                                                      Agreement of Lease between Country                                                                                          Nostrand       Ashkenazy
Nostrand Property Owner                               Leasing Limited Partnership and Party                           3797-3849                                                   Property       Acquisitons   150 East 58th
LLC                          Party City Corporation   City Corporation dated January 27, 1997     530    $21,378.33   Nostrand Ave                  Brooklyn     NY         11235 Owner LLC      Corp          St Suite 3900        New York        New York     10155
                                                      Lease by nd between American
CP/IPERS New Hyde Park,                               Millworks, LLC and Party City                                   2317 New Hyde                 New Hyde                      CP/IPERS New c/o Clarion 230 Park Avenue,
LLC                          Party City Corporation   Corporation dated February 19, 1997         556     $1,511.03   Park Rd                       Park         NY         11042 Hyde Park, LLC Partners  12th Floor               New York        New York     10169

                                                                                                                                                                                                  c/o DLC
                                                      Lease Agreement by and between G & I                                                                                        G & I IX        Manageme
G & I IX EmpireE Big Flats                            IX Empire Big Flats LLC and Party City                          845 County Road                                             EmpireE Big     nt          565 Taxter Road, 4th
LLC                          Party City Corporation   Corporation dated January 19, 2018          994        $0.00    64              Suite 28A     Elmira       NY         14903 Flats LLC       Corporation Floor                Elmsford         New York     10523

                                                      Agreement between Ronald Benderson,
                                                      Randall Benderson and David H. Baldauf
                                                      as Trustess Under a Trust Agreement                                                                                                       c/o DLC
                                                      dated October 14, 1985 known as the                                                                                          G&I IX       Manageme
G&I IX Mohawk Commons,                                Benderson 85-1 Trust and Party City                             4408 Milestrip                                               Mohawk       nt
LLC                    Party City Corporation         Corrporation dated July 21, 1998            1230   $26,842.89   Rd, Unit 8                    Blasdell     NY    14219       Commons, LLC Corporation 565 Taxter Road     Elmsford            New York     10523
                                                                                                                                                                                                c/o Flaum
                                                      Lease between SSMRT Latham Farms                                                                                                          Manageme
                                                      Shopping Center (8), Inc. and Factory                                                                                        LATHAM       nt
LATHAM FARMS OWNER                                    Card Outlet of America, Ltd., dated June                        579 Troy          Lathams                                    FARMS        Company,
LLC                          Party City Corporation   27, 1997                                    5242    $9,416.16   Schenectady Rd    Farm Ctr    Latham       NY          12110 OWNER LLC    Inc.        400 Andrews St #500 Rochester           New York     14604
                                                      Lease Agreement by and between
                                                      Rockaway Realty Associates, LP and                                                                                          Rockaway       c/o ISJ
Rockaway Realty                                       Party City Corporation dated April 20,                          253-01 Rockaway Level 2                                     Realty         Manageme 110 West 34th
Associates, LP               Party City Corporation   2016                                        527        $0.00    Blvd            Suite B       Rosedale     NY         11422 Associates, LP nt Corp. Street, Floor 9           New York        New York     10001

                                                      Lease Agreement by and between                                                                                              Crescent Land   c/o Jeffrey
Crescent Land                                         Crescent Land Development and Party                                                                                         Development     Manageme
Development Associates,                               City Corporation dated September 30,                            3541 Hempstead                                              Associates,     nt          7 Penn Plaza, Suite
LLC                          Party City Corporation   2002                                         478       $0.00    Tpke                          Levittown    NY         11756 LLC             Corporation 618                   New York        New York     10001
                                                      Lease by and between Philips
                                                      International Holding Corp., as agent for
                                                      Forest Avenue Shopping Associates and                                                                                                       c/o Kimco
                                                      Party City Corporation dated July 15,                                                                                       Kiop Forest     Realty      500 North Broadway,
Kiop Forest Ave. L.P         Party City Corporation   1997                                        603        $0.00    1549 Forest Ave               Staten Island NY        10302 Ave. L.P        Corporation Suite 201           Jericho           New York     11753
                                                                                                                                                                                  Smithtown
                                                      Lease by and betweenSmithtown                                                                                               Venture
                                                      Venture Limited Liabiity Company and                                                                                        Limited         c/o Kimco
Smithtown Venture Limited                             Party City Corporation dated July 17,                           58 Veterans                                                 Liability       Realty      500 North Broadway,
Liability Company         Party City Corporation      1997                                        613      $109.90    Memorial Hwy                  Commack      NY         11725 Company         Corporation Suite 201           Jericho           New York     11753

                                                      Lease Agreement by and between KIOP                                                                                                       c/o Kimco
                                                      Merrick L.P. and Party City Corporation                         1674 Merrick                                                KIOP Merrick, Realty      500 North Broadway,
KIOP Merrick, L.P.           Party City Corporation   dated September 9, 2022                     1202       $0.00    Road              Suite 4B    Merrick      NY         11566 L.P.          Corporation Suite 201           Jericho             New York     11753




                                                                                                                                           Page 27 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 226 of 248




                                                       Lease Agreement by and between Ralph                                                                                                       c/o Kimco
                                                       Avenue 1131, LLC and Party City                                 2265 Ralph                                                    Ralph Avenue Realty      500 North Broadway,
Ralph Avenue 1131, LLC        Party City Corporation   Corporation dated November 14, 2014         404    $28,348.68   Avenue                         Brooklyn       NY        11234 1131, LLC    Corporation Suite 201           Jericho             New York        11753

                                                       Agreement of Lease between Turnwood                                                                                           KK          c/o Kimco
KK MARKETPLACE 2468,                                   Associates, LLC and Party City                                  8063 Jericho                                                  MARKETPLACE Realty      500 North Broadway,
LLC                           Party City Corporation   Corporation dated January 1997              555        $0.00    Tpke                           Woodbury       NY        11797 2468, LLC   Corporation Suite 201           Jericho              New York        11753

                                                                                                                                                                                                    c/o National
                                                       Lease Agreement by and between                                                                                                               Realty &
Middletown I Resources                                 Middletown I Resources L.P. and Party                                                                                         Middletown I Developme 3 Manhattanville
L.P.                          Party City Corporation   City Corporation dated June 5, 2009         504    $17,109.84   470 Route 211 E                Middletown NY            10940 Resources L.P. nt Corp.     Road                  Purchase       New York        10577

                                                                                                                                                                                     CP Crossing,
                                                                                                                                                                                     L.L.C.; Crossing
                                                                                                                                                                                     WSA, LLC;
CP Crossing, L.L.C.; Crossing                          Lease Agreement by and between The                                                                                            Crossing M
WSA, LLC; Crossing M LLC;                              Crossing LLC and Party City Corporation                         54 The Crossing                                               LLC; Crossing c/o Nigro      20 Corporate Woods
Crossing Kings LLC            Party City Corporation   dated May 26, 2016                          964     $9,112.00   Boulevard          Suite U1    Clifton Park   NY        12065 Kings LLC        Companies   Blvd               Albany           New York        12211
                                                                                                                                                                                                      c/o
                                                       Agreement of Lease by and between                                                                                             Pergament        Pergament
Pergament Mall of Staten                               Pergament Enterprises of S.I. and Party                         2795 Richmond                                                 Mall of Staten Investments   95 Froehlich Farm
Island LLC                    Party City Corporation   City Corp. dated July 10, 1998              674    $19,906.06   Ave                            Staten Island NY         10314 Island LLC       , Inc.      Boulevard            Woodbury       New York        11797
                                                       Agreement of Lease by and between
                                                       Murray Pergament and Robert
                                                       Pergament, as T.I.C. c/o Pergament
                                                       Properties and Party City Corporation                                                                                         Sunrise          c/o       95 Froehlich Farm
Sunrise Express, LLC          Party City Corporation   dated July 27, 1998                         692        $0.00    120 Sunrise Hwy                Patchogue      NY        11772 Express, LLC     Pergament Blvd.                  Woodbury       New York        11797
                                                       Lease by and between Philips
                                                       International Holding Corp., as agent for                                                                                                      c/o Philips
                                                       S.P. Massapequa and Party City                                                                                                Sunrise Mass     Internationa 295 Madison Ave
Sunrise Mass LLC              Party City Corporation   Corporation dated September 15, 1997        615     $6,585.84   5500 Sunrise Hwy               Massapequa NY            11758 LLC              l            2nd floor           New York       New York        10017

                                                                                                                                                                                                      c/o Pyramid
                                                       Shopping Center Lease by and between                                                                                           Washington      Manageme
Washington Commons                                     Washington Commons Associates and                               165 Washington                                                 Commons         nt Group
Newco LLC                     Party City Corporation   Lisann Party Corp. dated January 2002       1227    $9,689.56   Ave Ext                        Albany         NY   12205       Newco LLC       LLC         4 Clinton Square Syracuse           New York        13202
                                                       Lease Agreement by and between FBG                                                                                             FBG Harriman    c/o RD
FBG Harriman Upper Retail,                             Harriman Upper Phase LLC and Party                              128 Bailey Farm                                                Upper Retail,   Manageme 810 Seventh Avenue,
LLC                        Party City Corporation      City Corporation dated May 28 2010          686        $0.00    Road               Suite 6     Monroe         NY         10950 LLC             nt LLC      10th Floor       New York           New York        10019
                                                       Lease between Prestige Bay Plaza
                                                       Development Corp. and Party City                                310-320                                                       PC2-Bay Plaza,               546 Fifth Avenue,
PC2-Bay Plaza, LLC            Party City Corporation   Corporation dated February 1996             522        $0.00    Baychester Ave                 Bronx          NY        10475 LLC                          15th Floor           New York       New York        10036
                                                       Agreement of Lease between Samson
                                                       Associates and Party City Corporation                                                                                         The New
The New School                Party City Corporation   dated June 1998                             681        $0.00    38 W 14th St                   New York       NY        10011 School                       55 W 13th Street     New York       New York        10011
                                                       Agreement of Lease between G. Forte                                                                                           G. Forte &
                                                       Associates, Inc. and Party City                                                                                               Associates,
G. Forte & Associates, Inc.   Party City Corporation   Corporation dated December 29, 1999         689        $0.00    2396 Sunrise Hwy               Islip          NY        11751 Inc.                         2 Saxwood Street     Deer Park      New York        11729
                                                       Lease Agreement by and between Dena                                                                                                          c/o Kaplan
                                                       Marie II, LLC and Party City Corporation                                           Dena Marie                                 Dena Marie II, Realty
Dena Marie II, LLC            Party City Corporation   dated July 13, 2010                         701        $0.00    950 Miron Lane     Plaza      Kingston        NY        12401 LLC            Group         170 West 74th Street New York       New York        10023
                                                                                                                                                                                     Wachs New
                                                       Lease Agreement by and between                                                                                                Hartford
Wachs New Hartford                                     Mistedo Enterprises, Inc. and Fay's Drug                        4525 Commercial                                               Development,                 215 West Church
Development, LLC              Party City Corporation   Company, Inc. dated September 5, 1986       411        $0.00    Dr              Rte 5A         New Hartford NY          13413 LLC                          Road, Suite 107      King of Prussia Pennsylvania   19406
                                                                                                                                                                                                    c/o C-III
                                                                                                                                                                                                    Asset
                                                                                                                                                                                                    Manageme
                                                                                                                                                                                                    nt LLC, DBA
                                                       Lease Agreement by and between FC                                                                                             PWR16-48-18 Greystone
PWR16-48-18 Northern                                   Northern Associates II, LLC and Party                           48-18 Northern                 Long Island                    Northern Blvd Special        5221 N. O'Connor
Blvd LLC                      Party City Corporation   City Corporation dated June 16, 2014        512        $0.00    Blvd                           City           NY        11101 LLC            Servicing     Blvd, Sute 800       Irving         Texas           75039
                                                       Built to Suit Lease by and between Yung-
                                                       Pong, L.L.C. and Party City Corporation                                                                                       Yung-Pong,  c/o Jia C.       7165 E. Portobello
Yung-Pong, LLC                Party City Corporation   dated August 5, 1997                        609        $0.00    4962 Monroe St                 Toledo         OH        43623 LLC         Wang             Avenue               Mesa           Arizona         85212
                                                       Lease Agreement by and between BC                                                                                             6639AIRPORT
6639AIRPORTHWYHOLLAN                                   Aiport, LLC and Party City Corporation                          6645 Airport                                                  HWYHOLLAND                   4339 Fitzwilliam
D LLC                Party City Corporation            dated June 4, 2018                          4138   $11,723.51   Highway                        Holland        OH        43528 LLC                          Street               Dublin         California      94568




                                                                                                                                             Page 28 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 227 of 248




                                                       Shopping Center Lease by and between                                               Bridgewater
                                                       Bridgewater Falls LLC and Factory Card                                             Falls                                Bridgewater
Bridgewater Falls Station                              Outlet of America, Ltd. Dated July 25,                          3431 Princeton     Shopping                             Falls Station      c/o RPT        20750 Civic Center
LLC                           Party City Corporation   2005                                        5340   $30,109.30   Rd # 105           Ctr         Hamilton      OH   45011 LLC                Realty         Drive, Suite 310       Southfield    Michigan    48076

                                                       Lease Agreement by and between North
                                                       Heights Associates and The One-Half Off                         8160 Old Troy                   Huber                   PMAT North         c/o Stirling   109 Northpark Blvd.
PMAT North Heights LLC        Party City Corporation   Card Shop, Inc. dated October 8, 1990       4139       $0.00    Pike                            Heights      OH   45424 Heights LLC        Properties     Suite 300           Covington        Louisiana   70433
                                                       Lease between B & J Development LP                                                                                      TKG Colerain       c/o TKG
TKG Colerain Towne                                     and Factory Card Outlet of America, Inc.                        10204 Colerain     Colerain                             Towne Center,      Manageme       211 N. Stadium Blvd.,
Center, LLC                   Party City Corporation   dated March 27, 1995                        5168    $1,614.30   Ave                Town Ctr     Cincinnati   OH   45251 LLC                nt, Inc.       Suite 201             Columbia       Missouri    65203
                                                       Lease Agreement between THF St.
                                                       Clairsville Development, L.P. and Factory                                                                               St. Clairsville    c/o TKG
St. Clairsville Main Parcel                            Card Outlet of America, Ltd. Dated June                         50825 Valley       Ohio Valley Saint                    Main Parcel        Manageme 211 North Stadium
L.L.C.                        Party City Corporation   17, 1996                                    5213    $1,583.98   Plaza Dr           Plaza       Clairsville   OH   43950 L.L.C.             nt, Inc. Blvd, Suite 201              Columbia      Missouri    65203
                                                       Lease Agreement by and between
                                                       Brixmor Holdings 10 SPE, LLC and Party                                                                                  Brixmor            c/o Brixmor
Brixmor Holdings 10 SPE,                               City Corporation dated November 19,                             2142 Miamisburg-                                        Holdings 10        Property    450 Lexington
LLC                           Party City Corporation   2014                                        4140   $11,616.57   Centerville Road                Dayton       OH   45459 SPE, LLC           Group       Avenue, 13th Floor        New York      New York    10017
                                                       Lease Agreement by and between                                                                                          Brixmor GA
                                                       Brixmor GA Southland Shopping Center                                                                                    Southland          c/o Brixmor
Brixmor GA Southland                                   LLC and Party City Corporation dated                            6935 Southland                  Middleburg              Shopping           Property       450 Lexington
Shopping Center LLC.          Party City Corporation   September 24, 2012                          5217    $9,563.05   Drive              Unit C       Heights      OH   44130 Center LLC.        Group          Avenue, 13th Floor     New York      New York    10017
                                                       Lease Agreement by and between Duke                                                                                                        c/o
                                                       Realty Limited Partnership and Factory                                                                                                     Hauppauge
                                                       Card Outlet of America, Ltd., dated                             5555 Glenway       Western                              Western Hills      Properties,    1975 Hempstead
Western Hills Equities, LLC Party City Corporation     November 5, 1997                            5293       $0.00    Ave                Hills        Cincinnati   OH   45238 Equities, LLC      LLC            Tpke, Suite 309        East Meadow   New York    11554
                                                                                                                                                                               First Interstate   c/o First
                                                       Lease by and between First Interstate                                                                                   Willoughby,        Interstate     The Offices at Legacy
First Interstate Willoughby,                           Willoughby, Ltd. And Party City                                                                                         Ltd. Commons       Properties,    Village, 25333 Cedar
Ltd.                         Party City Corporation    Corportion dated September 26, 1997         594        $0.00    36315 Euclid Ave                Willoughby   OH   44094 LLC                Ltd.           Road, Suite 300       Lyndhurst      Ohio        44124
                                                                                                                                                                                                  c/o First
                                                       Lese Agreement by and between                                                                                                              Interstate
                                                       Steelyard Commons, LLC and Party City                           3373 Steelyard                                          Steelyard          Properties,    25333 Cedar Road,
Steelyard Commons LLC         Party City Corporation   Corporation dated August 19, 2015           926        $0.00    Drive                           Cleveland    OH   44109 Commons LLC        Ltd.           Suite 300              Lyndhurst     Ohio        44124
                                                       Lease Agreement by and between PEBB                                                                                     RE Aurora          c/o
                                                       Cleveland, LLC and Party City                                   7555 Market                                             Ohio Family        Guggenhei      23215 Commerce
RE Aurora Ohio Family LLC Party City Corporation       Corporation dated July 29, 2015             930        $0.00    Place Drive                     Aurora       OH   44202 LLC                m Inc.         Park, #104             Beachwood     Ohio        44122
                                                                                                                                                                                                  c/o
                                                       Lease Agreement by and betwee                                                                                                              Northstar
                                                       Walkers Corner LLC and Party City                               10701 Blacklist                                         Walkers            Developme      150 E. Broad Street,
Walkers Corner, LLC           Party City Corporation   Corporation dated May 7, 2013               861        $0.00    Eastern Road       Suite 400    Pickerington OH   43147 Corner, LLC        nt             Suite 305              Columbus      Ohio        43215
                                                                                                                                                                                                  c/o Robert
                                                       Lease Agreement by and between Shops                                                                                    Shops of           L. Stark
                                                       of Fairlawn Retail LLC and Party City                           3737 W Market                                           Fairlawn Retail    Enterprises,   629 Euclid Avenue,
Shops of Fairlawn Retail LLC Party City Corporation    Corporation dated November 23, 2021         1159       $0.00    St                 Unit B       Fairlawn     OH   44333 LLC                Inc.           Suite 1300             Cleveland     Ohio        44114
                                                       Lease by and between Developers                                                                                                            c/o Robert
                                                       Diversified Realty Corporation and                                                                                                         L. Stark
                                                       Factory Card Outlet of America, Ltd.                            5557 Dressler Rd Belden Park                            Belden Park        Enterprises,   629 Euclid Avenue,
Belden Park Delaware, LLC Party City Corporation       Dated April 15, 1997                        5273       $0.00    NW               Cross       North Canton OH      44720 Delaware, LLC      Inc.           Suite 1300             Cleveland     Ohio        44114
                                                       Lease by and between Shoppes of                                                                                                            c/o
                                                       Beavercreek Ltd. And Factory Card                                                  Shops At                             Shoppes of         Schottenste
Shoppes of Beavercreek                                 Outlet of America, Ltd. Dated June 18,                          2720 Towne Dr      Beaver                               Beavercreek        in Property
LLC                           Party City Corporation   1997                                        5275       $0.00    Ste 400            Creek        Dayton       OH   45431 LLC                Group          4300 E. 5th Avenue     Columbus      Ohio        43219
                                                       Lease Agreement by and between                                                                                                             c/o SITE
                                                       Polaris Center LLC and Party City                               1297 Polaris                                                               Centers        3300 Enterprise
DDR PTC LLC                   Party City Corporation   Corporation dated May 21, 2010              649      $347.90    Parkway                         Columbus     OH   43240 DDR PTC LLC        Corp.          Parkway                Beachwood     Ohio        44122

                                                       Lease Agreement by and between                                                                                          Easton Market
                                                       Easton Market Limited Liability                                                                                         Limited       c/o SITE
Easton Market Limited                                  Company and Factory Card Outlet of                              3707 Easton                                             Liability     Centers             3300 Enterprise
Liability Company             Party City Corporation   America, Ltd. Dated February 24, 1997       5279       $0.00    Market             Easton Mkt Columbus       OH   43219 Company       Corp.               Parkway                Beachwood     Ohio        44122

                                                       Lease Agreement by and between
                                                       Jungle Jim's Eastgate, LLC and Party City                       4450 Eastgate                                           Jungle Jim's
Jungle Jim's Eastgate, LLC    Party City Corporation   Corporation dated November 30, 2012         627    $11,277.93   Blvd.              Suite 280    Cincinnati   OH   45245 Eastgate, LLC                     5440 Dixie Highway     Fairfield     Ohio        45014

                                                       Lease Agreement by and between
                                                       Whittingham Capital, LLC and Party City                         6655 Sawmill                                            Whittingham                       6689 Dublin Center
Whittingham Capital LLC       Party City Corporation   Corporation dated August 31, 2015           5193       $0.00    Road                            Dublin       OH   43017 Capital LLC                       Drive                  Dublin        Ohio        43017




                                                                                                                                             Page 29 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 228 of 248




                                                    Lease Agreement by and between                                                                                            GGF1 North   c/o                BNY Mellon Center,
GGF1 North Olmsted 2016                             NORCAR Company LLC and Party City                                24800 Brookpark                North                     Olmsted 2016 Glimcher           500 Grant Street,
LLC                     Party City Corporation      Corporation dated January 4, 2011          5177          $0.00   Road                           Olmsted       OH    44070 LLC          Group              Suite 2000           Pittsburgh    Pennsylvania   15219
                                                    Lease Agreement by and between
                                                    Chillicothe Shopping Center, LP and                                                                                       Chillicothe
Chillicothe Shopping                                Party City Corporation dated February 1,                         72 Consumer                                              Shopping
Center, LP                 Party City Corporation   2012                                        790          $0.00   Center Drive                   Chillicothe   OH    45601 Center, LP              4848 Route 8 Unit #2 Allison Park          Pennsylvania   15101
                                                    Lease Agreement by and between F.I.                                                                                       T Mentor
T Mentor Commons OH,                                Mentor I LLC and Party City Corporation                                                                                   Commons OH, c/o AZT     16600 Dallas
LLC                        Party City Corporation   dated January 4, 2016                      5175          $0.00   9134 Mentor Ave                Mentor        OH    44060 LLC         Corporation Parkway, Suite 300 Dallas                  Texas          75248

                                                    Shopping Center Lease by and between                                                                                                        c/o Smithco
                                                    Jim R. Smith and Party City of Kenwood,                          8063                                                       Smithco         Developme     1400 Post Oak Blvd.,
Smithco Cincinnati, LP.    Party City Corporation   Ohio, Inc. dated November 20, 1995          165          $0.00   Montgomery Rd                  Cincinnati    OH    45236   Cincinnati, LP. nt            Suite 900            Houston       Texas          77056
                                                                                                                                                                                                c/o Hiffman
                                                    Lease Agreement by and between                                                                                              ARC             Asset
                                                    Southroads LLC and Party City                                                                                               SRTULOK001, Manageme          One Oakbrook         Oakbrook
ARC SRTULOK001, LLC        Party City Corporation   Corporation dated July 7, 2014             1162     $12,082.08   5301 E 41st St                 Tulsa         OK    74135   LLC             nt            Terrace #400         Terrace       Illinois       60181
                                                    Lease Agreement by and between TKG                                                                                                          c/o TKG
                                                    Smith Farm, LLC and Party City                                   9002 N. 121st E.                                           TKG Smith       Manageme      211 N Stadium
TKG Smith Farm, LLC        Party City Corporation   Corporation dated January 25, 2018          991          $0.00   Avenue           #600          Owasso        OK    74055   Farm, LLC       nt, Inc.      Boulevard, Suite 201 Columbia      Missouri       65203
                                                                                                                                                                                                c/o Gulf
                                                    Lease Agreement by and between ERP                                                                                                          Coast
                                                    Mingo Marketplace, LLC and Party City                            10111 East 71st                                            Fairlawn 35, Commerical       788 W Sam Houston
Fairlawn 35, L.P.          Party City Corporation   Corporation dated July 27, 2011            1161     $17,399.28   Street             Suite 1A    Tulsa         OK    74133   L.P.            Group, Inc.   Pkwy. N., Suite 206 Houston        Texas          77024
                                                    Lease Agreement by and between CD
                                                    2007-CD5 Ed Noble Parkway, LLC and
                                                    Party City Corporation dated January 30,                         552 ED Noble                                             UNIVERSITY SP                   2221 W. Lindsey
UNIVERSITY SP LLC          Party City Corporation   2019                                       1075          $0.00   Parkway                        Norman        OK    73072 LLC                             Street, Suite 201    Norman        Oklahoma       73069
                                                    Lease Agreement by and between                                                                                            Westgate
                                                    Westgate Marketplace Developers,                                                                                          Marketplace
Westgate Marketplace                                L.L.C. and Party City Corporation, dated                                                        Oklahoma                  Developers,                     7725 W. Reno, Suite
Developers, L.L.C.         Party City Corporation   March 21, 2018                             1079     $23,191.03   6413 SW 3rd St.    Suite C     City          OK    73128 L.L.C.                          398                 Oklahoma City Oklahoma        73127
                                                    Lease Agreement by and between TPP
                                                    Bryant LLC and Party City Corporation                                                                                     TPP Bryant,      c/o Trigate 1717 Main Street,
TPP Bryant, LLC            Party City Corporation   dated May 3, 2019                          1073      $9,136.64   526 S Bryant Ave               Edmond        OK    73034 LLC              Capital     Suite 2600              Dallas        Texas          75201
                                                    Lease Agreement by and between                                                                                            Medhoof LLC,
Medhoof LLC,                                        Medhoof, LLC, Craterlakecenter, LLC and                                                                                   Craterlakecent   c/o
Craterlakecenter LLC and                            Dormouse, LLC and Party City                                     3657 Crater Lake                                         er LLC and       Dickerhoof
Dormouse LLC               Party City Corporation   Corporation dated November 6, 2011          996      $9,048.39   Highway                        Medford       OR    97504 Dormouse LLC     Properties PO Box 1800              Corvalis      Oregon         97339
                                                                                                                                                                              Schnitzer
                                                                                                                                                                              Properties FKA
Schnitzer Properties FKA                            Lease Agreement by and between                                                                                            Harsch
Harsch Investment                                   Harsch Investment Corp. and Party City                           8905 SW Cascade                                          Investment                      1121 SW Salmon
Properties                 Party City Corporation   Corporation dated February 24, 2021        1118     $21,276.03   Ave             Suite 130      Beaverton     OR    97008 Properties                      Street               Portland      Oregon         97205
                                                    Agreement of Lease by and between                                                                                         THF York         c/o TKG
                                                    THF York Development, L.P. and Party                                                                                      Development,     Manageme 211 N. Stadium Blvd.,
THF York Development, L.P. Party City Corporation   City Corporation dated June 26, 1998       1172 $0.00539.00      2801 E Market St Suite L2      York          PA    17402 L.P.             nt, Inc. Suite 201             Columbia           Missouri       65203
                                                    Lease by and between Fairless Hills                                                                                       Fairless Hills
Fairless Hills Shopping                             Shopping Center, LP and oorestown                                461 S Oxford                                             Shopping         c/o Larken     1250 Route 28, Suite
Centre, LP                 Party City Corporation   Party City LLC dated May 26, 2016          1183        $889.23   Valley Rd                      Fairless Hills PA   19030 Centre, LP       Associates     101                  Branchburg    New Jersey     8876
                                                    Shopping Center Lease by and between                                                                                      South Whit       c/o Breslin
                                                    South Whit Shopping Center Associates                                                                                     Shopping         Realty
South Whit Shopping                                 and Party City, Inc. dated August 14,                            330 W Oregon                                             Center           Developme      500 Old Country
Center Associates          Party City Corporation   1997                                       1181          $0.00   Ave                            Philadelphia PA     19148 Associates       nt Corp.       Road                 Garden City   New York       11530
                                                    Lease Agreement by and between
                                                    Brixmor GA Wilkes-Barre, LP and Party                                                                                     Brixmor GA       c/o Brixmor
                                                    City Corporation dated November 25,                              2190 Highland                                            Wilkes-Barre     Property       450 Lexington
Brixmor GA Wilkes-Barre LP Party City Corporation   2013                                        490     $16,291.64   Park Blvd.                     Wilkes Barre PA     18702 LP               Group          Avenue, 13th Floor   New York      New York       10017
                                                    Lease between Warminster Towne                                                                                            Brixmor          c/o Brixmor
Brixmor Warminster SPE                              Center Associates, L.P. and Party City                                                                                    Warminster       Property       450 Lexington
LLC                        Party City Corporation   Corporation datred March, 1997             1180     $51,350.94   924 W Street Rd                Warminster    PA    18974 SPE LLC          Group          Avenue, 13th Floor   New York      New York       10017
                                                                                                                                                                              Brixmor
                                                    Lease between Route 6 Associates, Ltd.                                                                                    Residual         c/o Brixmor
Brixmor Residual Dickson                            and Factory Card Outlet of America, Ltd.                         630 Commerce       Dickson City                          Dickson City     Property    450 Lexington
City Crossings, LLC        Party City Corporation   dated April 28, 1997                       5268     $29,112.89   Blvd               Crossing     Dickson City PA    18519 Crossings, LLC   Group       Avenue, 13th Floor      New York      New York       10017




                                                                                                                                           Page 30 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 229 of 248




                                                     Lease Agreement by and between
                                                     Samuel Carson Trust FBO Carol Johnson,
                                                     Samuel Carson Trust FBO Dorothy
                                                     Dunnion and Harry Dean Trust d/b/a                                                                                                               c/o SPM
                                                     Lemain Associates and Party City                                  1736 E. 3rd                                                  Dean/Carson       Manageme 24 West Railroad
Dean/Carson WMSPT, LLP      Party City Corporation   Corporation dated May 3, 2011                753      $7,327.54   Street                             Williamsport PA     17701 WMSPT, LLP        nt, Inc. Avenue, PMB 278           Tenafly        New Jersey      7670
                                                     Shopping Center Leasing Agreement by
                                                     and between Montgomery Square                                                                                                  Kir               c/o Kimco
                                                     Partnership and Montgomery P.C. dated                             163 Witchwood                                                Montgomery        Realty        500 North Broadway,
Kir Montgomery 049, LLC     Party City Corporation   February 11, 2000                           1179          $0.00   Dr                                 North Wales PA      19454 049, LLC          Corporation   Suite 201           Jericho         New York        11753
                                                                                                                                                                                                      c/o Pearson
                                                     Lease Agreement by and between PZ                                                                                              PZ Southland      Realty
PZ Southland Limited                                 Southland Limited Partnership and Party                                                                                        Limited           Services,     630 Fifth Avenue,
Partnership                 Party City Corporation   City Corporation dated October 29, 2013      662          $0.00   651 Clairton Blvd Suite 50         Pleasant Hills PA   15236 Partnership       Inc.          Suite 2820           New York       New York        10111

                                                     Lease Agreement by and between PZ                                                                                              PZ Southern
PZ Southern Limited                                  Southern Limited Partnership and Party                            1155 Washington                                              Limited                         610 Fifth Avenue,
Partnership                 Party City Corporation   City Corporation dated March 13, 2013        850     $12,468.05   Pike                            35 Bridgeville   PA    15017 Partnership                     Suite 516            New York       New York        10020

                                                                                                                                                                                                  c/o
                                                     Lease by and between Pocono Retail                                                                                             Pocono Retail Riverview
Pocono Retail Associates,                            Associates, L.L.C. and East Stroudsburg                           101 Pocono           Pocono                                  Associates,   Manageme          3200 West Market
L.LC.                       Party City Corporation   P.C., Inc. dated August 4, 2000              496          $0.00   Commons Dr           Commons       Stroudsburg PA      18360 L.LC.         nt Company        Street, Ste 200      Fairlawn       Ohio            44333
                                                                                                                                                                                                  c/o Abrams
                                                     Lease Agreement by and between Kmart                                                                                           ARD           Realty &
                                                     Corporation and Party City of Allentown,                          2536 Macarthur                                               MacARTHUR, Developme
ARD MacARTHUR, LLC          Party City Corporation   Inc. dated May 12, 1995                      728          $0.00   Rd                                 Whitehall     PA    18052 LLC           nt, LLC           310 Yorktown Plaza   Elkins Park    Pennsylvania    19027
                                                     Lease by and between Philadelphia                                                                                                            c/o Abrams
                                                     Center Associates and Party City of                                                                                                          Realty &
                                                     Cottman Avenue, Inc. dated June 20,                               2201 Cottman                                                 ARD Cottman, Developme
ARD Cottman, LLC            Party City Corporation   1995                                        1171          $0.00   Ave                                Philadelphia PA     19149 LLC           nt, LLC           310 Yorktown Plaza   Elkins Park    Pennsylvania    19027
                                                                                                                                                                                                  c/o Abrams
                                                     Lease by and between Whiteland                                                                                                 ARD West      Realty &
ARD West Whiteland LLC &                             Associates, Ltd. And Party City                                   201 W Lincoln                                                Whiteland LLC Developme
WTC LLC                  Party City Corporation      Corporation dated July 20, 1998             1177          $0.00   Hwy                  Space 400     Exton         PA    19341 & WTC LLC     nt, LLC           310 Yorktown Plaza   Elkins Park    Pennsylvania    19027
                                                     Lease Agrement by and between 601
                                                     Baltimore Pike Associates, L.P. and Party                                                                                      601 Baltimore c/o First
601 Baltimore Pike                                   City of Springfield, Inc. dated April 1,                          601 West                                                     Pike           Capital      600 N. 2nd Street,
Associates, LP              Party City Corporation   2010                                        1170          $0.00   Baltimore Pike                     Springfield   PA    19064 Associates, LP Realty, Inc. Suite 401                Harrisburg     Pennsylvania    17101

                                                     Lease by and between Gumberg                                                                                                   Gumberg       c/o J.J.          1051 Brinton Road,
Gumberg Associates -                                 Associates - Chapel Square and Party                                                                                           Associates -  Gumberg           Brinton Executive
Chapel Square               Party City Corporation   City Corporation dated July 23, 1997         599     $21,725.38   991 Freeport Rd Room 20            Pittsburgh    PA    15238 Chapel Square Co.               Center               Pittsburgh     Pennsylvania    15221
                                                     Lease Agreement between GH Spring                                                                                                            c/o S Ridge
                                                     Ridge Associates, Inc. and Reading Party                          2785 Papermill                                               Spring Ridge Manageme           217 Highland Terrace
Spring Ridge LP             Party City Corporation   City, Inc. dated March 27, 2001             1174          $0.00   Rd                                 Wyomissing PA       19610 LP            nt LLC            Way                  Boiling Springs Pennsylvania   17007
                                                     Lease Agreement by and between Red
                                                     Rose Commons Associates, L.P. and                                                                                              Red Rose          c/o The
Red Rose Commons Assoc                               Party City Corporation dated July 21,                             1700 Fruitville                                              Commons           Goldenberg    630 Sentry Parkway,
LP                          Party City Corporation   1998                                        1176         $47.37   Pike Ste C           S3            Lancaster     PA    17601 Assoc LP          Group         Suite 300           Blue Bell       Pennsylvania    19421
                                                     Lease between Metroplex West                                                                                                   Metroplex         c/o The
Metroplex West                                       Associates, L.P. and Party Supermarket,                           2470 Chemical                      Plymouth                  West              Goldenberg    630 Sentry Parkway,
Associates, L.P             Party City Corporation   Inc. dated April 7, 1999                    1182      $2,718.26   Rd                                 Meeting       PA    19462 Associates, L.P   Group, Inc.   Suite 300           Blue Bell       Pennsylvania    19422
                                                     Lease by and between Dominic Gigliotti
                                                     and Maria Gigliotti and Party City                                20215-20217 Rte                    Cranberry                 Nicrissa                        20120 Route 19,      Cranberry
Nicrissa Properties LLC     Party City Corporation   Corporation dated March 1998                 645        $843.16   19                                 Township      PA    16066 Properties LLC                  Suite 209            Township       Pennsylvania    15090
                                                     Indenture of Lease between Retail
                                                     Development Corporation and Party City                                                                                         Retail
Retail Development                                   of Lehigh Valley, Inc. dated January 15,                          2404 Catasauqua                                              Development
Corporation                 Party City Corporation   2008                                         727          $0.00   Rd                                 Bethlehem     PA    18018 Corporation           915 W. Broad Street Bethlehem                 Pennsylvania    18018
                                                     Lease Agreement by and between PRGL                                                                                            TKG Paxton
                                                     Paxton Limited Partnership and Party                                                                                           Towne Center c/o TKG
TKG Paxton Towne Center                              City of Bala Cynwyd, Inc. dated August                            5125 Jonestown                                               Development, Manageme 211 N. Stadium Blvd.,
Development, L.P.       Party City Corporation       31, 1999                                    1173 $0.007,554.58    Rd             Suite 385           Harrisburg    PA    17112 L.P.         nt, Inc. Suite 201             Columbia                Missouri        65203
                                                     Agreement of Lease by and between
                                                     RJH Investments, LLC and PC of                                                                       Mechanicsbu
GVS Partners                Party City Corporation   Harrisburg, LLC dated April 11, 2011        1175      $8,203.67   6499 Carlisle Pike                 rg          PA      17050 GVS Partners                    3434 Trindle Road    Camp Hill      Pennsylvania    17011
                                                     Lese by and between MCE Associates
                                                     and The Party Supermarket, Inc. dated                             10500 Roosevelt                                              MCE
MCE Associates              Party City Corporation   August 10, 1994                             1178     $11,519.05   Blvd                               Philadelphia PA     19116 Associates                      555 Henderson Road King of Prussia Pennsylvania     19406




                                                                                                                                                 Page 31 of 41
                                                                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 230 of 248




                                                     Shopping Center Lease by and between
                                                     CF Pottsgrove Associates, L.P. and                                                                                                  LMS
LMS Commercial Real                                  Stroudsburg P.C., Inc. dated July 25,                              230 Upland                                                       Commercial                        120 North Pointe
Estate                      Party City Corporation   2012                                         1185        $673.35   Square Drive                    Pottstown    PA            19464 Real Estate                       Blvd., Suite 301      Lancaster       Pennsylvania          17601
                                                     Lease Agreement by and between HFL
                                                     Benner Pike Shopping Center, LLC and                                                                                                HFL Benner
HFL Benner Pike Shopping                             Party City Corporation dated January 30,                                                                                            Pike Shopping
Center, LLC                 Party City Corporation   2018                                         5218          $0.00   319 Benner Pike                 State College PA           16801 Center, LLC                       120 W Cherry Lane     State College   Pennsylvania          16803
                                                     Lease Agreement by and between
                                                     CBL/Monroeville, L.P. and Party City                               275 Monroeville                                                  CBL/Monroevi                      2030 Hamilton Place
CBL/Monroeville, L.P.       Party City Corporation   Corporation dated March 9, 2012               816          $0.00   Mall                            Monroeville PA             15146 lle, L.P.                         Blvd., Suite 500    Chattanooga       Tennessee             37421
                                                     Lease by and between Developers
                                                     Diversified Realty Corporatiaon and                                                                                                   B33 RE         c/o
B33 RE Partners                                      Sunshine Party Corporation dated June                              1908 Keystone                                                      Partners       Bridge33         601 Union Street,
Investments II              Party City Corporation   26, 2000                                     1226 $0.0014,424.46   Drive                           Erie         PA    16509           Investments II Capital          Suite 1115            Seattle         Washington            98101
                                                     Indenture of Lease by and between
                                                     Gateway Woodside, Inc. and Party City                                                                                                 Garden City                     33 Boylston St, Suite
Garden City Owner LLC       Party City Corporation   Corporation dated January 19, 2016           6012     $47,306.63   162 Hillside Rd.                Cranston     RI    02920           Owner LLC                       3000                  Chestnut Hill   Massachusetts          2467
                                                     Lease Agreement by and between
                                                     DDRTC Warwick Center LLC and Party
                                                     City Corporation dated September 21,                               1350 Bald Hill                                                     1350 Bald Hill
1350 Bald Hill Road LLC     Party City Corporation   2015                                         6056     $10,265.56   Road                            Warwick      RI    02886           Road LLC                        259 Turnpike Road     Suthborough     Massachusetts          1772
                                                                                                                                                                                                            Charles
                                                                                                                                                                                                            Dunn Real
                                                                                                                                                                                         SBMC VAN           Estate         800 W. 6th Street,
                                                     Lease Agreement by and between                                                                                                      BUREN              Serviceso      Suite 6009665         Los
SBMC VAN BUREN                                       HEAIK, LLC and Party City Corporation                              1396 Whiskey                                                     INDUSTRIAL         Black          Wilshire Boulevard    AngelesBeverly
INDUSTRIAL LLC              Party City Corporation   dated August 7, 2013                          877          $0.00   Road                            Aiken        SC            29803 LLC                Equities LLC   #200                  Hills          California        9001790212
                                                     Shopping Center Lease Agreement by
                                                     and between Inland US Management,                                                                                                   USVI Azalea   c/o
USVI Azalea Square Owner,                            LLC and Party City of Summerville, Inc.                            432 Azalea                                                       Square Owner, Fairbourne 200 South Michigan
LLC                       Party City Corporation     dated July 1, 2009                            373          $0.00   Square Blvd        Unit 15      Summerville SC             29483 LLC           Properties Avenue, Suite 400              Chicago         Illinois              60604

                                                     Shopping Center Lease by and between                                                                                                            c/o Kite
                                                     Amerishop Woodruff, LLC and P.M.                                   1117 Woodruff                                                    KRG Plaza   Realty                30 South Meridian
KRG Plaza Green, LLC        Party City Corporation   Parties, Inc. dated February 29, 2000        1053        $863.71   Rd                 Suite G      Greenville   SC            29607 Green, LLC  Group                 Street, Suite 1100    Indianapolis    Indiana               46204
                                                                                                                                                                                                     c/o
                                                     Retail Lease by and between AIG Baker                                                                                               ARC         American
                                                     Anderson, L.L.C. and P.M. Parties, Inc.                                                                                             ASANDSC001, Finance               650 Fifth Avenue,
ARC ASANDSC001, LLC         Party City Corporation   dated March 9, 2001                          1052          $0.00   150 Station Dr                  Anderson     SC            29621 LLC         Trust, Inc.           30th Floor            New York        New York              10019
                                                     Lease Agreement by and between BVA
                                                     Woodhill LLC and Party City Corporation                            6090 Garners                                                     BVA Woodhill       c/o Big V      176 N. Main Street,
BVA Woodhill LLC            Party City Corporation   dated Novmber 15, 2021                       1198          $0.00   Ferry Road         Suite D08A Columbia       SC            29209 LLC                Properties     Suite 210             Florida         New York              10921
                                                     Lease Agreement by and between                                                                                                      BVA
                                                     Hawthorne North Rivers LLC and Party                               7800 Rivers                     North                            Promenade          c/o Big V      176 N. Main Street,
BVA Promenade LLC           Party City Corporation   City Corporation dated June 6, 2013          5523          $0.00   Avenue             Suite 1270   Charleston   SC            29406 LLC                Properties     Suite 210             Florida         New York              10921
                                                     Retail Lease Agreement between EP                                                                                                   Columbiana         c/o Edens
Columbiana Station (E&A),                            Columbia I, Inc. and P.M. Parties, Inc.                            144 Harbison                                                     Station (E&A),     Limited
LLC                       Party City Corporation     dated August 31, 1995                        1056     $16,840.01   Blvd                            Columbia     SC            29212 LLC                Partnership    PO BOX 528            Columbia        South Carolina        29202
                                                                                                                                                                                         Blackstock         c/o
                                                     Lease by and between C&T                                                                                                            Westside           Spencer/Hin
Blackstock Westside                                  Investments, L.L.C. and P.M. Parties, Inc.                         150 E Blackstock                                                 Associates,        es
Associates, LLC             Party City Corporation   dated March 28, 1996                         1054          $0.00   Rd               Suite C        Spartanburg SC             29301 LLC                Properties     380 S. Pine Street    Spartanburg     South Carolina        29402
                                                     Lease Agreement by and between SF-
                                                     Florenced_I, Ltd. and Party City                                   114 Woody Jones                                                  SF-Florence-I,                    5729 Lebanon Road,
SF-Florence-I, LTD.         Party City Corporation   Corporation dated April 1, 2014               898          $0.00   Blvd                            Florence     SC            29501 LTD.                              Suite 144          Frisco             Texas                 75034
                                                     Lease Agreement by and between Hart                                                                                                                    c/o Bayer
                                                     TC I-III, LLC and Party City Corporation                           11334 Parkside                                                   Hart TC I-III,     Properties, 2200 Magnolia Street
Hart TC I-III, LLC          Party City Corporation   dated August 9, 2012                          842     $17,070.13   Drive                           Knoxville    TN            37934 LLC                L.L.C.      South, Suite 101     Birmingham          Alabama               35205
                                                     Lease Agreement by and between
                                                     Nashville West Shopping Center, LLC                                                                                                                c/o GLL Real
                                                     and Party City of Nashville West, LLC                              6622 Charlotte                                                   Nashville West Estate       200 South Orange
Nashville West LLC          Party City Corporation   dated May 18, 2007                           1197          $0.00   Pike                            Nashville    TN            37209 LLC            Partners     Avenue, Suite 1375          Orlando         Florida               32801
                                                     Lease Agreement by and between First
                                                     Federal Plaza, LLC d/b/a Walker Springs
                                                     Plaza and Party City Corporation dated                             8503 Kingston                                                    Walker Legacy c/o BC
Walker Legacy Center, LLC Party City Corporation     June 19, 2012                                 840      $8,303.89   Pike                            Knoxville    TN            37919 Center, LLC   Properties          321 Henry Street      Lexington       Kentucky              40508
                                                     Agreement of Lese by and between JDN                                                                                                Integris
                                                     Realty Corporation and Party City                                  1979 Old Fort                   Murfreesbor                      Ventures-TC,                      1001 Craig Road,
Integris Ventures-TC, LLC   Party City Corporation   Corporation dated July 21, 1998               691        $325.00   Prkwy                           o           TN             37129 LLC                               Suite 392             St. Louis       Missouri              63146




                                                                                                                                              Page 32 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 231 of 248




                                                                                                                                                                                                 c/o Yale
                                                      Lease Agreement by and between RCG-                                                                                                        Realty
                                                      Clarksville SPE, LLC and Party City                             2850 Wilma                                                Yale             Services      10 New King Street,
Yale Clarksville, LLC       Party City Corporation    Corporation dated July 24, 2017             989     $7,431.91   Rudolph Blvd                     Clarksville   TN   37040 Clarksville, LLC Corp.         Suite 102             White Plains   New York              10604
                                                                                                                                                                                                 c/o
                                                      Lease Agreement by and between Oak                                                                                        DFG-             ShopOne
                                                      Park Partners, LLC and Party City                               5760 Highway                                              Chattanooga Centers            10100 Waterville
DFG-Chattanooga LLC         Party City Corporation    Corporation dated March 21, 2012            5208    $6,553.20   153                Suite 102     Hixson        TN   37343 LLC              REIT, INC     Street                Whitehouse     Ohio                  43571
                                                      Lease between Service-Hendon Cool                                                                                         BRE DDR Cool
BRE DDR Cool Springs                                  Springs Associates, L.L.C. and Party City                       1630 Galleria                                             Springs Pointe, c/o Site       3300 Enterprise
Pointe, LLC                 Party City Corporation    of Nashville, Inc. dated April 27, 1999     1195       $0.00    Blvd                             Brentwood     TN   37027 LLC              Centers       Parkway               Beechwood      Ohio                  44122
                                                      Lease Agreement by and between TN
                                                      Sevierville Winfield, LLC and Party City                        713 Winfield                                              TN Sevierville                 550 South Main
TN Sevierville Winfield, LLC Party City Corporation   Corporation dated June 2, 2016              970     $5,580.31   Dunn Pkwy          #7            Sevierville   TN   37876 Winfield, LLC                  Street, Suite 300     Greenville     South Carolina        29601
                                                      Shopping Center Lese by and between                                                                                                        c/o CBL &
                                                      CBL Terrace Limited Partnership and                                                                                         CBL Terrace    associates    CBL Center, Ste. 500,
CBL Terrace Limited                                   Party City of Chattanooga, LLC dated                            2210-B Hamilton                                             Limited        Manageme      2030 Hamilton Place
Partnership                 Party City Corporation    January 1, 2009                             1196   $20,927.32   Pkwy Blvd                        Chattanooga TN     37421   Partnership    nt, Inc.      Blvd.                 Chattanooga    Tennessee        37421-6000
                                                                                                                                                                                                 c/o Gary
                                                      Lease Agreement by and between PAL                                                                                                         Taylor
                                                      Properties and Party City Corporation                                                                                                      Investsment   2574 Christmasville
PAL Properties              Party City Corporation    dated January 25, 2020                      1011       $0.00    1253 Vann Drive                  Jackson       TN   38305   PAL Properties Company       Cove, Suite H         Jackson        Tennessee             38304
                                                      Lease Agreement by and between Five                                                                                         Five Oak
Five Oak Outlet Centers,                              Oaks Outlet Centers, Inc. and Party City                        2901 Tazewell                                               Outlet                       9231 Middlebrook
Inc                         Party City Corporation    Corporation dated June 21, 2012             841        $0.00    Pike                             Knoxville     TN   37918   Centers, Inc                 Pike                  Knoxville      Tennessee             37931
                                                                                                                                                                                                 c/o
                                                      Lease between CHI/Cookeville, LLC and                                                                                                      Hauppauge
                                                      Factory Card Outlet of America, Ltd.,                           377 W Jackson St                                            Jackson Plaza, Properties,   1975 Hempstead
Jackson Plaza, LLC          Party City Corporation    dated January 5, 1998                       5291       $0.00    Ste 3B                           Cookeville    TN   38501   LLC            LLC           Tpke, Suite 309       East Meadow    NY                    11554
                                                                                                                                                                                  Cobalt         c/o Divaris
                                                      Shopping Center Lease by and between                                                                                        Properties of Property
Cobalt Properties of                                  Jackson Downs, Ltd. And McClintock's                            3177 Lebanon                                                Nashville TN, Manageme       8150 Leesburg Pike,
Nashville TN, LLC           Party City Corporation    Party City, L.L.C. dated March 12, 1998     1194       $0.00    Pike                             Nashville     TN   37214   LLC            nt Corp.      Suite 501             Tysons         Virginia              22182

                                                      Lease Agreement by and between                                                                                                           c/o Johnson
                                                      Pinnacle Partners Tennessee, LLC and                                                                                                     Commercial
                                                      Party City Corporation dated July 16,                           574 Pinnacle                                              Pinnacle North Developme 601 State Street, 6th
Pinnacle North IV, LLC      Party City Corporation    2015                                        902    $24,784.62   Parkway                          Bristol       TN   37620 IV, LLC        nt          Floor               Bristol              Virginia              24201
                                                      Lease Agreement by and between                                                                                            ABJ Group
ABJ Group Advancement                                 Vineyard Village MSV, LLC and Party City                        2800 State                                                Advancement
TX LLC                      Party City Corporation    Corporation dated March 19, 2007            488        $0.00    Highway 121                      Euless        TX   76039 TX LLC                     PO Box 2617         Guasti               California            91743

                                                      Lease Agreement by and between The                                                                                                           c/o First
                                                      Shoppes at Rio Grande Valley LLC and                                                                                                         Hartford
                                                      Party City Corporation dated October 5,                         305 E. Trenton                                            Edinburg           Realty
Edinburg SRGV, LLC          Party City Corporation    2011                                        811     $2,792.24   Road                             Edinburg      TX   78539 SRGV, LLC          Corporation 149 Colonial Road     Manchester     Connecticut            6045
                                                      Lease Agreement by and between QEH
                                                      Mesquite, LLC and Paty City Corporation                         1340 N Town                                               QEH
QEH Mesquite, LLC           Party City Corporation    dated April 20, 2017                         60        $0.00    East Blvd          Suite A       Mesquite      TX   75150 Mesquite, LLC                  P.O. Box 101          Green Farms    Connecticut            6838
                                                      Lease Agreement by and between                                                                                            JBL                c/o JBL
                                                      Inland American Retail Management LLC                                                                                     NORTHWEST          Asset
JBL NORTHWEST                                         and Party City Corporation dated July 9,                        13760 Northwest                                           MARKETPLACE        Manageme 2028 Harrison St, Ste
MARKETPLACE LLC             Party City Corporation    2013                                        631        $0.00    Freeway                          Houston       TX   77040 LLC                nt LLC   202                   Hollywood         Florida               33020
                                                      Lease Agreement by and between                                                                                            Inland
                                                      Green Tree Management Trust and                                                                                           Commerical
Inland Commerical Real                                Party City Corporation dated December                           435 South Fry                                             Real Estate                    2901 Butterfield
Estate Services, LLC        Party City Corporation    29, 2014                                    413     $9,308.00   Road                             Katy          TX   77450 Services, LLC                  Road                  Oakbrook       Illinois              60523
                                                      Lease Agreement by and between                                                                                            Inland
                                                      Mansfield SEQ 287 & Debbie, Ltd. and                                                                                      Commercial    c/o Inland
Inland Commercial Real                                Party City Corporation dated February                           1551 Highway                                              Real Estate   Commerical       2901 Butterfield
Estate Services, L.L.C.     Party City Corporation    26, 2010                                    608     $3,952.94   287 North          Suite 651     Mansfield     TX   76063 Services, L.L.C.
                                                                                                                                                                                              Real Estate      Road                  Oakbrook       Illinois              60523
                                                                                                                                                                                              c/o
                                                                                                                                                                                              InvenTrust
                                                      Lease Ageement by and between SWC                                                                                         IVT Highlands Property
IVT Highlands at Flowr                                FM 2499 & FM 407, Ltd. and Party City                           6101 Long Prairie                Flower                   at Flowr      Manageme         3025 Highland
Mound LP                    Party City Corporation    Corporation dated July 3, 2002              469        $0.00    Rd                Suite 600      Mound         TX   75028 Mound LP      nt, LLC          Parkway, Suite 350    Downers Grove Illinois               60515
                                                      Lease Agreement by and between ASG
                                                      Watauga Pavilion, Ltd. and Party City                           7612 Denton                                               KRG Watauga,                   30 South Meridian
KRG Watauga, LLC            Party City Corporation    Corporation dated May 7, 2003               479        $0.00    Hwy                Suite 404     Watauga       TX   76148 LLC                            Street, Suite 1100    Indianapolis   Indiana               46204
                                                      Lease Agreement by and between KRG                                                                                        KRG Market
KRG Market Street Village,                            Market Street Village, LP and Party City                        1403 W Pipeline                                           Street Village,                30 South Meridian
LP                         Party City Corporation     Corporation dated October 18, 2016          699        $0.00    Rd                               Hurst         TX   76053 LP                             Street, Suite 1100    Indianapolis   Indiana               46204




                                                                                                                                              Page 33 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 232 of 248




                                                      Lease Agreement by and between 3503
                                                      RP Waco Central Limited Partnership                                                                                                   c/o Kite
                                                      and Party City Corporation dated June 5,                        2800 W. Loop                                             3503 RP Waco Realty           30 South Meridian
3503 RP Waco Central LP      Party City Corporation   2018                                       1130         $0.00   340                             Waco          TX   76711 Central LP   Group            Street, Suite 1100   Indianapolis    Indiana         46204
                                                                                                                                                                                            c/o Kite
                                                      Lease by and between KRG Sunland, LLC                           655 Sunland Park                                         KRG          Realty           30 South Meridian
KRG SUNLAND, LLC             Party City Corporation   and MDY, Ltd. dated December 30, 2005      1143         $0.00   Dr               C-2            El Paso       TX   79912 SUNLAND, LLC Group            Street, Suite 1100   Indianapolis    Indiana         46204

                                                      Lease Agreement by and between RPAI                                                                                      RPAI
                                                      Sugar Land Colony Limited Partnership                                                                                    Sugarland      c/o Kite
RPAI Sugarland Colony                                 and Party City Corporation dated June                           16734 Southwest                                          Colony Limited Realty         30 South Meridian
Limited Partnership          Party City Corporation   19, 2015                                   169          $0.00   Freeway                         Sugar Land    TX   77479 Partnership    Group          Street, Suite 1100   Indianapolis    Indiana         46204
                                                      Lease Agreement by and between
                                                      Inland Western Cedar Hill Pleasant Run                                                                                   KRG Cedar Hill   c/o Kite
KRG Cedar Hill Pleasant                               Limited Partnership and Party City                                                                                       Pleasant Run,    Realty       30 South Meridian
Run, LLC                     Party City Corporation   Corporation dated September 30, 2013       481          $0.00   715 N US Hwy 67 Suite 200       Cedar Hill    TX   75104 LLC              Group        Street, Suite 1100   Indianapolis    Indiana         46204
                                                                                                                                                                               RPAI Lake
                                                      Lease Agreement by and between RPAI                                                                                      Worth Towne
RPAI Lake Worth Towne                                 Lake Worth Towne Crossing Limited                                                                                        Crossing        c/o Kite
Crossing Limited                                      Partnership and Party City Corporation                          6628 Lake Worth                                          Limited         Realty        30 South Meridian
Partnership                  Party City Corporation   dated October 31, 2013                      879         $0.00   Blvd            Suite 400       Lake Worth    TX   76135 Partnership     Group         Street, Suite 1100   Indianapolis    Indiana         46204
                                                                                                                                                                                               c/o M.S.
                                                                                                                                                                                               Manageme
                                                      Lease by and between Fairfield Town                                                                                                      nt
                                                      Center, LLC and Party City Corporation                          28640 Highway                                            Fairfield Town Associates     111 Monument
Fairfield Town Center, LLC   Party City Corporation   dated January 12, 2016                     931          $0.00   290                Suite XJ     Cypress       TX   77433 Center, LLC     Inc.          Circle, Suite 3500   Indianapolis    Indiana    46204-3438
                                                                                                                                                                                               c/o
                                                      Lease by and between Lakeline Plaza,                                                                                                     Washington
                                                      LLC and Party City Corporation dated                            11066 Pecan                                              Lakeline Plaza, Prime         111 Monument
Lakeline Plaza, LLC          Party City Corporation   December 9, 2016                           621          $0.00   Park Blvd          Suite 401    Cedar Park    TX   78613 LLC             Group         Circle, Suite 3500   Indianapolis    Indiana         46204
                                                      Lease Agreement by and between BK                                                                                                        c/o Agree
                                                      PA, Ltd. and Party City Corporation                                                                                      Agree Limited Realty
Agree Limited Partnership Party City Corporation      dated December 5, 2013                     868 $0.0017,772.33   2770 Hwy 365                    Port Arthur   TX   77640 Partnership     Corporation   720 E Long Lake Road Bloomfield Hills MI             48304
                                                      Lease Agreement by and between BRE
                                                      RC Southpark Meadows II TX LP and
                                                      Party City Corporation dated December                           9600 S IH 35       Bldg. E. Ste.                         BVA SPM SPE c/o Big V         175 North Main
BVA SPM SPE LLC              Party City Corporation   27, 2017                                   992          $0.00   Frontage Rd.       14            Austin       TX   78748 LLC         Properties        Street, Suite 210    Florida         New York        10921
                                                      Shopping Cener Lease by and between
                                                      BPR Shopping Center, L.P. and                                                                                            BRE Retail       c/o Brixmor
BRE Retail Residual Owner                             Southwest Party Factory, L.L.C., dated                                                                                   Residual         Property    450 Lexington
1 LLC                     Party City Corporation      September 13, 2004                         1071     $3,827.64   3333 Preston Rd ST 1200         Frisco        TX   75034 Owner 1 LLC      Group       Avenue, 13th Floor    New York        New York        10017
                                                      Lease Agreement by and between
                                                      Brixmor/IA Central Station, LLC and                                                                                      Brixmor/IA       c/o Brixmor
Brixmor/IA Central Station,                           Erwin Distributing Company, Inc. dated                          1659 Texas                      College                  Central          Property    450 Lexington
LLC                         Party City Corporation    November 30, 2015                          1124       $112.87   Avenue South                    Station       TX   77840 Station, LLC     Group       Avenue, 13th Floor    New York        New York        10017

                                                      Lease Agreement by and between                                                                                                          c/o Kimco
                                                      Weingarten Las Tiendas JV and Party                             732 E Expressway                                         Weingarten     Realty      500 North Broadway
Weingarten Las Tiendas JV Party City Corporation      City Corporation dated June 30, 2005       440      $3,432.96   83                              McAllen       TX   78503 Las Tiendas JV Corporation Ste 201, PO Box 9010 Jericho            New York        11753

                                                      Lease by and between Atascocita                                                                                                           c/o Kimco
                                                      Commons Associates, L.P. and Party City                         6705 FM 1960                                             Atascocita       Realty      500 North Broadway,
Atascocita 1692 LLC          Party City Corporation   Corporation dated May 13, 2010             683          $0.00   East                            Humble        TX   77346 1692 LLC         Corporation Suite 201           Jericho           New York        11753

                                                      Lease Agreement by and between                                                                                                            c/o Kimco
                                                      Copperwood Village LP and Party City                            6757 Highway 6                                           Copperwood       Realty      500 North Broadway,
Copperwood Village L.P       Party City Corporation   Corporation dated December 11, 2015        758          $0.00   North                           Houston       TX   77084 Village L.P      Corporation Suite 201           Jericho           New York        11753

                                                      Lease Agreement by and between                                                                                                            c/o Kimco
                                                      Weingarten Realty Investors and Paty                            1001 Bay Area                                            KRCX WRI         Realty      500 North Broadway
KRCX WRI Holdings LLC        Party City Corporation   City Corporation dated October 13, 2015    761          $0.00   Blvd.              Suite A      Webster       TX   77598 Holdings LLC     Corporation Ste 201            Jericho            New York        11753

                                                      Lease Agreement by and between GP                                                                                        GP               c/o Kimco
                                                      Marketplace 1750, LLC and Party City                                                                                     Marketplace      Realty      500 North Broadway,
GP Marketplace 1750, LLC Party City Corporation       Coporation dated May 5, 2016               974     $21,859.16   6600 Stueber Rd                 Spring        TX   77389 1750, LLC        Corporation Suite 201           Jericho           New York        11753
                                                      Shopping Center Lease by and between
                                                      E. Barnett Companies, Inc. and
RRR Cooper ST Property                                Hammond Retail of South Arlington ated                          1520 W                                                   RRR Cooper ST                 37 W. 57th Street
LLC                          Party City Corporation   October 7, 1993                             62          $0.00   Interstate 20                   Arlington     TX   76017 Property LLC                  #900                 New York        New York        10019




                                                                                                                                             Page 34 of 41
                                                                                                        Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 233 of 248




                                                                                                                                                                             Burleson
                                                     Lease Agreement by and between                                                                                          Gateway
                                                     Burleson Gateway Station Limited                                                                                        Station         c/o Kimco
Burleson Gateway Station                             Partnership and Party City Corporation                          1107 N Burleson                                         Limited         Realty      500 North Broadway,
Limited Partnership         Party City Corporation   dated June 30, 2021                         739      $285.23    Blvd                           Burleson      TX   76028 Partnership     Corporation Suite 201           Jericho          New York         11753

                                                     Lease Agreement by and between                                                                                          Master E        C/O
                                                     Master E Squared Laredo, LLC and Party                          5506 San                                                Squared         Elevation     9541 Julian Avenue,
Master E Squared Laredo     Party City Corporation   City Corporation dated June 15, 2021        1025       $0.00    Bernando Ave      #12A         Laredo        TX   78041 Laredo          Real Estate   Suite 101           Huntersville   North Carolina   28078
                                                                                                                                                                                             c/o Amirex
                                                     Lease Agreement by and between AREP                                                                                                     Capital
Arep Baytown II Partners,                            Baytown II Partners LP and Party City                                                                                   Arep Baytown Services,        7880 San Felipe
LP                          Party City Corporation   Corporation dated August 20, 2021           1158       $0.00    6616 Garth Rd                  Baytown       TX   77521 II Partners, LP LLC           Street, Suite 120       Houston    Texas            77063
                                                     Lease Agreement by and between BK                                                                                                                     3700 Buffalo
                                                     2920, Ltd. and Party City Corporation                           28591 Tomball                                                         c/o Baker       Speedway, Suite
BK 2920, LTD.               Party City Corporation   dated March 11, 2013                        857        $0.00    Parkway                        Tomball       TX   77375 BK 2920, LTD. Katz, LLC       1020                    Houston    Texas            77098

                                                                                                                                                                                            c/o
                                                                                                                                                                                            Weitzman
                                                     Shopping Center Lease between The                                                                                       The Crossing Manageme
The Crossing at 288 Phase                            Crossing at 288 Phase 2, Ltd. And Lucky                         2608 Smith                                              at 288 Phase nt               1800 Bering Drive,
2, Ltd.                     Party City Corporation   Clover, Inc. dated October 26, 2006         807      $792.99    Ranch Rd                       Pearland      TX   77584 2, Ltd.        Corporation    Suite 550               Houston    Texas            77057
                                                     Lease Agreement by and between Josey                                                                                                   c/o
                                                     Trinity Plaza, Ltd., dated October 28,                          2540 North Josey                                        Josey Trinity Weitzman        3102 Maple Avenue,
Josey Trinity Mills JV II   Party City Corporation   2015                                         63        $0.00    Lane             Suite 126     Carrollton    TX   75006 Mills JV II    Group          Suite 500          Dallas          Texas            75201
                                                     Lease Agreement by and between The                                                                                                     c/o
                                                     Fountains at Farah, LP and MDY GP LLC                           8889 Gateway                                            The Fountains Centergy        8235 Douglas
The Fountains at Farah, LP Party City Corporation    dated March 8, 2016                         1147       $0.00    Boulevard West    Suite 590    El Paso       TX   79925 at Farah, LP   Retail, LLC    Avenue, Suite 900       Dallas     Texas            75225
                                                                                                                                                                                            c/o
                                                                                                                                                                             CH Realty VI/R Connected
                                                     Retail Lease between Boardwalk Center,                                                                                  Austin         Manageme
CH Realty VI/R Austin                                Ltd. and Party City Corporation dated                                                                                   Boardwalk,     nt Services,   221 West 6th Street,
Boardwalk, L.P.             Party City Corporation   May 16, 1998                                652        $0.00    2601 S Ih 35      B            Round Rock    TX   78664 L.P.           LLC            Suite 1030           Austin        Texas            78701
                                                     Shopping Center Lease by and between
                                                     Summit Center Ltd and Party City                                3225 Southwest                                          Summit          c/o Davis    1500 McGowen,
Summit Center Ltd.          Party City Corporation   Corporation dated Aril 29, 1997             578     $8,927.67   Fwy                            Houston       TX   77027 Center Ltd.     Holdings, LP Suite 200                Houston    Texas            77004

                                                     Lease Agreement by and between
                                                     Canyon Hub Holdings, L.P. and Party City                        6038 Marsha                                             Canyon Hub c/o De La          4514 Cole Avenue,
Canyon Hub Holdings, L.P.   Party City Corporation   Corporation dated October 19, 2016          593    $32,775.00   Sharp Fwy         Suite 100    Lubbock       TX   79407 Holdings, L.P. Vega Group     Suite 1100              Dallas     Texas            75202
                                                                                                                                                                                            c/o Epic
                                                     Lease Agreement by and between EREP                                                                                                    Real Estate
                                                     Market Place I, LLC and Party City                              3060 S. 31st                                            EERP Market Partners,         515 Congress
EERP Market Place I, LLC    Party City Corporation   Corporation dated May 1, 2018               1165       $0.00    Street                         Temple        TX   76502 Place I, LLC   LLC            Avenue, Suite 1925      Austin     Texas            78701
                                                     Lease Agreement by and between A-S                                                                                      VL TOWN
                                                     85 Victory Lakes Town Center, L.P. and                                                                                  CENTER         c/o Fidelis
VL TOWN CENTER                                       Party City Corporation dated April 26,                          2560 Gulf                                               ASSOCIATES Realty             4500 Bissonnet
ASSOCIATES LLC              Party City Corporation   2011                                        754        $0.00    Freeway South                  League City   TX   77573 LLC            Partners       Street, Suite 200       Bellaire   Texas            77401
                                                                                                                                                                             Bella Terra
                                                     Lease Agreement by and between MRPL                                                                                     Retail         c/o Fidelis
Bella Terra Retail                                   Retail Partners, Ltd. and Party City                            5466 West Grand                                         Associates,    Realty         4500 Bissonnet
Associates, LLC             Party City Corporation   Corporation dated August 5, 2011            757        $0.00    Parkway South                  Richmond      TX   77406 LLC            Partners       Street, Suite 200       Bellaire   Texas            77401

                                                     Lease Agreement by and between                                                                                          Winwood         c/o Fidelis
Winwood Shopping Center                              Brixmor Winwood Town Center, LLC and                            3875 East 42nd                                          Shopping        Realty        4500 Bissonnet
LLC                     Party City Corporation       Party City Corporation dated July 6, 2017   990     $2,463.84   Street                         Odessa        TX   79762 Center LLC      Partners      Street, Suite 200       Bellaire   Texas            77401
                                                     Lease Agreement by and between                                                                                          OVERTON
                                                     Weingarten Realty Investors and Party                                                                                   PARK PLAZA      c/o Fidelis
OVERTON PARK PLAZA                                   City Corporation dated February 11,                             4826 SW Loop                                            ASSOCIATES      Realty        4500 Bissonnet
ASSOCIATES LLC              Party City Corporation   2013                                        854     $6,209.42   820                            Fort Worth    TX   76109 LLC             Partners      Street, Suite 200       Bellaire   Texas            77401

                                                                                                                                                                                         c/o
                                                     Agreement of Lease by and between                                                                                       Hartman     Hartman
                                                     Richardson Heights Village and Party                                                                                    Income REIT Income REIT
Hartman Income REIT                                  City of Richardson, L.C. dated July 6,                          501 W Belt Line                                         Management, Manageme          2909 Hillcroft, Suite
Management, LLC             Party City Corporation   1993                                         59        $0.00    Rd                             Richardson    TX   75080 LLC         nt, Inc.          420                     Houston    Texas            77057
                                                     Lease Agreement by and between                                                                                                      c/o M&D
                                                     Panattoni Development Company, Inc.                                                                                                 Property
                                                     and Party City Corporation dated March                          2315 Colorado                                           West Coast  Manageme          2500 Discovery
West Coast Highway LLC      Party City Corporation   21, 2008                                    416     $2,782.89   Blvd              Suite 120    Denton        TX   76205 Highway LLC nt                Boulevard, Suite 200 Rockwall      Texas            75032




                                                                                                                                           Page 35 of 41
                                                                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 234 of 248




                                                     Lease Agreement by and between Roans
                                                     Prairie Development Corporation and                                                                                              c/o Mark
                                                     Party City Corporation dated May 10,                          5725 Eastex                                            SYNERGY RPC Fertitta
SYNERGY RPC LLC             Party City Corporation   2012                                       759        $0.00   Freeway                       Beaumont      TX   77706 LLC         Properties         5755 Eastex Freeway Beaumont         Texas      77706
                                                     Lease Agreement by and between Ley-                           5946 East Sam                                          Ley-Lane    c/o                8827 W. Sam
Ley-Lane Partnership No. 9,                          Lane Partnership No. 9, L.P. and Lucky                        Houston Pkwy                                           Partnership NewQuest           Houston Pkwy N.
L.P.                        Party City Corporation   Clover, Inc. dated August 19, 2008         786        $0.00   North                         Houston       TX   77049 No. 9, L.P. Properties         Suite 200           Houston          Texas      77040
                                                     Commercial Lease between Capstone CB
                                                     Investments, Ltd. and Erwin                                                                                          Pagosa Springs c/o
Pagosa Springs Property                              Distributging Company, Inc. dated                                                                                    Property       Patriarch       13241 Highway 155
Group, LLC                  Party City Corporation   October 28, 2005                           1126       $0.00   1011 Wal Street               Longview      TX   75605 Group, LLC     Real Estate     S.                    Tyler          Texas      75703
                                                                                                                                                                                         c/o
                                                     Retail Shopping Center Lease between                                                                                                Benbrook
                                                     Benbrooke Ridge Partners, L.P. and                                                                                   Benbrooke      Realty
Benbrooke Ridge Partners,                            Erwin Distributing Co., Inc. dated                                                                                   Ridge          Investment      4 West Red Oak
L.P.                      Party City Corporation     January 24, 2007                           1114       $0.00   1107 Ridge Road               Rockwall      TX   75087 Partners, L.P. Company         Lane, Suite 312       White Plains   New York   10604
                                                     Lease Agreement by and between                                                                                                      c/o
                                                     Pacific Harbor Equities, LLC and Party                                                                                              Tarantino
                                                     City Corporation dated September 29,                          3000 Pablo Kisel                                       TPI Sunrise    Properties      7887 San Felipe,
TPI Sunrise Palms           Party City Corporation   2007                                       491        $0.00   Blvd             Suite 200F   Brownsville   TX   78526 Palms          Inc.            Suite 237             Houston        Texas      77063
                                                     Lease Agreement by and between The
                                                     Prudential Insurance Company of                                                                                      B.H. 1713    c/o The
                                                     America and Party City Corporation                                                                                   Preston Road Retail     2525 McKinnon
B.H. 1713 Preston Road LLC Party City Corporation    dated December 6, 2001                      61        $0.00   1701 Preston Rd               Plano         TX   75093 LLC          Connection Street, Suite 700            Dallas         Texas      75201
                                                     Lease Agreement by and between
                                                     Inland Western Lewisville Lake, L.P. and                                                                                            c/o The
                                                     Party City Corporation dated August 4,                                                                               NADG/TRC       Retail     2525 McKinnon
NADG/TRC Lakepointe, LP     Party City Corporation   2005                                       203        $0.00   735 Hebron Pkwy               Lewisville    TX   75057 Lakepointe, LP Connection Street, Suite 700          Dallas         Texas      75201

                                                     Lease Agreement by and between Valley                                                                                Valley Ranch     c/o The       1400 Wood loch
Valley Ranch Town Center                             Ranch Town Center One, Ltd. and Party                         21680 Market                                           Town Center      Signorelli    Forest Drive, Suite
One Ltd                  Party City Corporation      City Corporation dated June 10, 2016       973        $0.00   Place Drive                   New Caney     TX   77357 One Ltd          Company       200                   The Woodlands Texas       77380
                                                     Lease Agreement by and between
                                                     Bromont Pavilion Midstar Master, LP                                           Irving
                                                     and Party City Corporation dated April                        3929 West       Market                                 Corsair Irving                 2850 N. Harwood
Corsair Irving Owner, LLC   Party City Corporation   30, 2010                                    64        $0.00   Airport Freeway Place         Irving        TX   75062 Owner, LLC                     Street, Suite 1600    Dallas         Texas      75201
                                                     Lease Agreement by and between
                                                     Margaux Westover Partners, Ltd. and                                                                                  Turner
Turner Westover Village,                             Party City Corporation dated June 18,                                                                                Westover         c/o Turner
LLC                         Party City Corporation   2008                                       418        $0.00   435 Sherry Lane               Fort Worth    TX   76114 Village, LLC     Behringer     1224 Austin Avenue    Waco           Texas      76071
                                                     Lease Agreement by and between West
                                                     Road Land, LP & Lions Den, LLC and                                                                                                    c/o Unilev
                                                     Party City Corporation dated August 2,                                                                               West Road        Manageme      One Riverway,Suite
West Road Land, LP          Party City Corporation   2016                                       971        $0.00   10245 North Fwy Suite 100     Houston       TX   77037 Land, LP         nt Corp       100                   Houston        Texas      77056
                                                                                                                                                                                           c/o Wulfe &
                                                                                                                                                                                           Co.
                                                     Lease between Houston Gulfgate                                                                                       Houston          Property      1800 Post Oak
Houston Gulfgate Partners                            Partners, L.P. and Lucky Clover, Inc.                         516 Gulfgate                                           Gulfgate         Manageme      Boulevard, 6 BLVD
L.P.                      Party City Corporation     dated June 4, 2008                         808        $0.00   Center Mall                   Houston       TX   77087 Partners L.P.    nt            Place, Suite 400      Houston        Texas      77056
                                                     Shopping Center Lease between
                                                     NationsBank of Texas, N.A., Trustee of
                                                     the W.W> Caruth, Jr. Foundation and                                                                                  MEDALLION
MEDALLION CENTER                                     Party City Medallion L.C. dated February                      305 Medallion                                          CENTER                         5803 GREENVILLE
PARTNERS LP                 Party City Corporation   1, 1995                                     65        $0.00   Ctr                           Dallas        TX   75214 PARTNERS LP                    AVE                   Dallas         Texas      75206
                                                                                                                                                                          RAINIER
                                                     Lease Agreement by and between SLF IV                                                                                WHEATLAND
RAINIER WHEATLAND                                    - Wheatland, L.P. and Party City                              39759 LBJ                                              ACQUISITION                    13760 NOEL ROAD,
ACQUISITION LLC             Party City Corporation   Corporation dated September 30, 2011       189        $0.00   Freeway           Suite 410   Dallas        TX   75237 LLC                            Suite 800             Dallas         Texas      75240
                                                     Lease Agreement by and between
                                                     Crenshaw Retail Partners, LLC and Party                       4585 East Sam                                          Crenshaw
Crenshaw Retail Partners,                            City Corporation dated February 27,                           Houston Parkway                                        Retail                         4544 Post Oak Place
LLC                         Party City Corporation   2015                                       410        $0.00   South                         Pasadena      TX   77505 Partners, LLC                  Drive, Suite 375    Houston          Texas      77027
                                                     Lease Agreement by and between 380                            2097 North
                                                     Towne Crossing, L.P. and Party City                           Central                                                380 Towne                      16000 Dallas
380 Towne Crossing, L.P.    Party City Corporation   Corporation dated August 6, 2008           421        $0.00   Expressway                    McKinney      TX   75070 Crossing, L.P.                 Parkway, Suite 300    Dallas         Texas      75248

                                                                                                                                                                          RAINIER
                                                     Lease between Staple Joint Venture                                                                                   MOORE PLAZA
RAINIER MOORE PLAZA                                  Limited and Party City Corporation                                                          Corpus                   ACQUISITIONS                   13760 Noel Road,
ACQUISITIONS LLC            Party City Corporation   dated February 4, 1998                     641        $0.00   5425 S Spid Dr                Christi       TX   78411 LLC                            Suite 1020            Dallas         Texas      75240




                                                                                                                                        Page 36 of 41
                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 235 of 248




                                                       Lese by and between Simon Property
                                                       Group (Texas), L.P. and Party City                              4801 S.                                                          Roosth Farm
Roosth Farm Rental, LLC      Party City Corporation    Corporation dated August 20, 2019           1111       $0.00    Broadway Ave        Suite 103   Tyler         TX           75703 Rental, LLC                    PO Box 8300            Tyler          Texas      75711-8300
                                                       Lease Agreement between Morris                                                                                                   Morris
                                                       Venture Partners V, LLC and Erwin                                                                                                Venture
Morris Venture Partners V,                             Distributing Co, Inc. dated March 23,                           1500B. Lowes                                                     Partners V,                    3000 S. 31st Street,
LLC                        Party City Corporation      2017                                        1125       $0.00    Blvd.                           Killeen       TX           76542 LLC                            Suite 500              Temple         Texas           76502

                                                       Standard Commercial Shopping Center
                                                       Lease by and between Pilchers Property                                                                                           Pilchers North
Pilchers North Park Limited                            of America, Inc. and Erwin Distributing                         4612 Billingsley                                                 Park Limited                   7001 PRESTON RD,
Partnership                 Party City Corporation     Co., Inc. dated July 17, 1995               1127       $0.00    Blvd.                           Midland       TX           79705 Partnership                    STE 200 LB 18          Dallas         Texas           75205
                                                       Lease Agreement between Jasper S.
                                                       Howard and Erwin Distributing, Inc.                             2315 Richmond                                                    Jasper S.
Jasper S. Howard             Party City Corporation    dated January 1, 2005                       1129       $0.00    Road                            Texarkana     TX           75503 Howard                         Post Office Box 5100 Texarkana        Texas           75505
                                                       Shopping Center Lease Agreement
                                                       between Jack G. McCulloch etal and
                                                       Erwin Distributing Co., Inc. dated                              2708 Southwest                                                   Crossroads                     4005 Call FIeld Road,
Crossroads 2708, LLC         Party City Corporation    February 17, 2005                           1131       $0.00    Pkwy                            Wichita Falls TX           76308 2708, LLC                      Suite 100             Wichita Falls   Texas           76308
                                                       Lease Agreement by and between
                                                       Abilene Village, LLC and Party City                             3536 S. Clack                                                    NOONER
NOONER HOLDINGS LTD          Party City Corporation    Corporation dated May 4, 2018               1133       $0.00    Street                          Abilene       TX           79606 HOLDINGS LTD                   4827 QUARRY RUN        SAN ANTONIO Texas              78249
                                                       Lease Agreement by and between Shops
                                                       at Valle Vista, LLC and Party City                              914 Dixieland Rd,                                                 Shops at Valle
Shops at Valle Vista III, LLC Party City Corporation   Corporation dated September 14, 2021        1134       $0.00    Suite 100                       Harlingen     TX   78552          Vista III, LLC                105 Sequoia Drive      SAN ANTONIO Texas              78232

                                                       Standard Shopping Center Lease by and
                                                       between River Oaks Properties, Ltd. And                         1842 Joe Battle                                                  River Oaks El
River Oaks El Paseo, LLC     Party City Corporation    MDY, LTD dated February 5, 2009             1142       $0.00    Blvd                            El Paso       TX           79936 Paseo, LLC                     5678 Mesa St.          El Paso        Texas           79912
                                                       Lease Agreement by and between
                                                       Towne Center Venture, LLP and Party                             1306 W. Davis                                                    Randall                        2001 Kirby Drive,
Randall Company              Party City Corporation    City Corporation dated June 19, 2018        1123       $0.00    Street              Suite B     Conroe        TX           77304 Company                        Suite 610              Houston        TX              77019
                                                                                                                                                                                                       c/o
                                                       Deed of Lease Agreement between                                                                                                                 Combined
                                                       Sugaland Plaza Limited Partnership and                                                                                           Sugarland      Properties,     7315 Wisconsin
Sugarland Plaza Limited                                Party City of Sterling, VA, LLC dated May                       47100               Sugarland                                    Plaza Limited Incorporate      Avenue, Suite 1000
Partnership                  Party City Corporation    1, 2000                                     1187       $0.00    Community Plz       Crossing    Sterling      VA           20164 Partnership    d               West                   Bethesda       Maryland        20814
                                                       Lease Agreement by and between                                                                                                                  c/o
                                                       Inland American Retail Management LLC                                                                                                           American
                                                       and Party City Corporation dated                                4107 Portsmouth                                                  Ches Cross SC, Commercial      300 Avenue of the   PALM BEACH
Ches Cross SC, LLC           Party City Corporation    September 20, 2012                          843     $8,083.13   Blvd.           Suite 116       Chesapeake    VA           23321 LLC            Realty Corp     Champions, Ste. 140 GARDENS           Florida         33418
                                                       Shopping Center Lease between
                                                       Starwood Ceruzzi Chantilly LLC and Party                                                                                                         c/o Kite
KRG Chantilly Crossing                                 City of Chantilly, LLC dated January 9,                         14409 Chantilly                                                  KRG Chantilly Realty           30 South Meridian
L.L.C.                       Party City Corporation    2004                                        1188      $77.25    Crossing Ln                     Chantilly     VA           20151 Crossing L.L.C. Group          Street, Suite 1100     Indianapolis   Indiana         46204
                                                       Lease Agreement by and between
                                                       Spotswood Valley Center Owner, LLC                                                                                               BSV               c/o Broad
                                                       and Party City Corporation dated May                            1790-40 East                                                     Spotswood         Street       7250 Woodmont
BSV Spotswood LLC            Party City Corporation    13, 2013                                    865        $0.00    Market Street                   Harrisonburg VA            22801 LLC               Realty LLC   Avenue, Suite 350      Bethesda       Maryland        20814
                                                                                                                                                                                        FEDERAL
                                                       Dead of Lease between FR Leesburg                                                                                                REALTY
FEDERAL REALTY                                         Plaza, LP and Party City of Leesburg, LLC                       510-A East                                                       INVESTMENT                     909 Rose Avenue,
INVESTMENT TRUST             Party City Corporation    dated June 29, 2004                         1189    $3,599.00   Market St                       Leesburg      VA           20176 TRUST                          Suite 200              North Bethesda Maryland        20852
                                                       Lease Agreement by and between BVA
                                                       Towne Square LLC and Party City                                 1410 Towne                                                       BVA Towne         c/o Big V    176 North Main
BVA Towne Square LLC         Party City Corporation    Corporation dated February 2, 2021          1122       $0.00    Square Blvd NW                  Roanoke       VA           24012 Square LLC        Properties   Street, Suite 210      Florida        New York        10921

                                                       Lease Agreement by and between                                                                                                   Stafford     c/o Kimco
                                                       Stafford Marketplace, LLC and Party City                        1240 Stafford                                                    Marketplace, Realty      500 North Broadway
Stafford Marketplace, LLC    Party City Corporation    Corporation dated May 11, 2012              827    $10,689.56   Market Pl.          Suite 101   Stafford      VA           22556 LLC          Corporation Suite 201          Jericho                  New York        11753
                                                       Deed of Lease by and between
                                                       Smoketown Road Associates Limited                                                                                                KIR               c/o Kimco
                                                       Partnership and Herb's Party City, Inc.                         14026 Shoppers                                                   Smoketown         Realty      500 North Broadway,
KIR Smoketown Station L.P. Party City Corporation      dated July 23, 1996                         1186    $1,108.82   Best Way                        Woodbridge VA              22192 Station L.P.      Corporation Suite 201           Jericho            New York        11753

                                                       Lease Agreement by and between DDR                                                                                               DDR
DDR Southeast Loisdale,                                Southeast Loisdale, L.L.C. and Party City                       6640 Loisdale                                                    Southeast        c/o Site      3300 Enterprise
L.L.C.                       Party City Corporation    Corporation dated January 8, 2018           688        $0.00    Road                            Springfield   VA           22150 Loisdale, L.L.C. Centers       Parkway                Beachwood      Ohio            44122
                                                       Lease Agreement between Colonial
                                                       Heights Land Associates L.P. and Factory
                                                       Card Outlet of America, Ltd. dated                              1865 Southpark      Southpark   Colonial                                           c/o David    4121 Meadowdale        North
Q&L                          Party City Corporation    October 10, 1996                            5220    $8,756.96   Blvd                Sq          Heights       VA           23834 Q&L               Oh           Blvd., Suite B         Chesterfield   Virginia        23234




                                                                                                                                              Page 37 of 41
                                                                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 236 of 248




                                                                                                                                                                                                   c/o DeVaris
                                                     Shopping Center Lease by and between                                                                                                          Property
                                                     FBJ Investors, L.P. and Party City                                  1217-1229 N                                               FBJ Investors   Manageme       4525 Main Street,
FBJ Investors LP            Party City Corporation   Corporation dated October 28, 1997             611          $0.00   Military Hwy                     Norfolk      VA    23502 LP              nt             Suite 900             Virginia Beach Virginia         23462
                                                                                                                                                                                                   c/o
                                                                                                                                                                                                   Metropolita
                                                     Lease by and between L.P. Corporation                                                                                                         n Real
                                                     and Party City of Bailey's Crossroads, Inc.                         5522 Leesburg                    Baileys                  L.P.            Estate         6205 Old Keene Mil
L.P. Corporation            Party City Corporation   dated September 1, 2003                       1168          $0.00   Pike Ste B                       Crossroads   VA    22041 Corporation     Services,LLC   Ct., Ste. 100         Springfield    Virginia         22152

                                                     Agreement of Lease by and between                                                                                                             c/o
                                                     Trade Street-Central Park Limited                                                                                                             Rappaport
                                                     Partnership and Party City Corporation                              1280 Carl D Silver               Fredericksbur            Central Park    Manageme 8405 Greensboro
Central Park Retail, LLC    Party City Corporation   dated October 28, 1997                         628          $0.00   Pkwy                             g             VA   22401 Retail, LLC     nt Company Drive, 8th Floor          McLean         Virginia     22102-5118

                                                                                                                                                                                                  c/o
                                                     Lease Agreement by and between Bull                                                                                                          Rappaport
                                                     Run Plaza LLC and Party City Corporation                            10862 Sudley                                              Bull Run Plaza Manageme        8405 Greensboro
Bull Run Plaza LLC          Party City Corporation   dated February 17, 2021                       1029          $0.00   Manor Dr                         Manassas     VA    20109 LLC            nt Company      Drive, 8th Floor      McLean         Virginia     22102-5121
                                                     Lease Agreement by and between DMK                                                                                                           c/o
                                                     Volvo Parkway, LLC and Party City                                   109 Volvo                                                 DMK Volvo      Suburban
DMK Volvo Parkway, LLC      Party City Corporation   Corporation dated October 11, 2013             137     $10,818.26   Parkway              Suite 16-19 Chesapeake   VA    23320 Parkway, LLC Capital           3600 Pacific Ave      Virginia Beach Virginia         23451
                                                                                                                                                                                                  c/o
                                                     Lease between Candlers Station Limited                                                                                        LU Candlers    Thalhimer
LU Candlers Station                                  Partnership and Factory Card Outlet of                              3700 Candlers Mt Candlers                                 Station        Commercial      1313 East Main
Holdings, LLC               Party City Corporation   America, Ltd. dated April 26, 1996            5522      $5,256.72   Rd               Station         Lynchburg    VA    24502 Holdings, LLC Real Estate      Street, Suite 400     Richmond       Virginia         23219
                                                     Lease Ageement by and between
                                                     Newport News Shopping Center, L.L.C.                                                                                                                         397 Little Neck Road
                                                     and Factory Card Outlet of America, Ltd.                            12134 Jefferson                  Newport                  LEA Company, c/o Yoder         Building 3400, Suite
LEA Company, LLC            Party City Corporation   dated November 12, 1997                       5280      $3,700.00   Ave                  Yoder Plaza News         VA    23602 LLC          Plaza             200                  Virginia Beach Virginia          23452
                                                     Lease Agreement by and between                                                                                                Birchwood
                                                     Birchwood Mall Associates, L.L.P. and                                                                                         Mall
Birchwood Mall Associates,                           Party City Corporation dated December                               3754 Virginia                    Virginia                 Associates,                    500 E. Main Street,
L.L.P.                     Party City Corporation    30, 2015                                        10          $0.00   Beach Blvd                       Beach        VA    23452 L.L.P.                         Suite 1424            Norfolk        Virginia         23510
                                                     Lease Agreement by and between                                                                                                             c/o
                                                     University Mall, LLC and Party City                                                                                           Burlington U KeyPoint
Burlington U Mall Owner,                             Corporation dated April 23, 2014 - Space                            215 Dorset                       South                    Mall Owner, Partners,          One Van De Graaff
LLC                         Party City Corporation   A                                             904-1    $18,246.35   Street, Space A                  Burlington   VT    05403 LLC          LLC               Drive, Suite 402      Burlington     VT                1793
                                                     Lease Agreement by and between                                                                                                             c/o
                                                     University Mall, LLC and Party City                                                                                           Burlington U KeyPoint
Burlington U Mall Owner,                             Corporation dated April 23, 2014 - Space                            215 Dorset                       South                    Mall Owner, Partners,          One Van De Graaff
LLC                         Party City Corporation   B                                             904-2         $0.00   Street, Space B                  Burlington   VT    05403 LLC          LLC               Drive, Suite 402      Burlington     VT                1793
                                                     Lease Agreement by and between
                                                     Vestar Alderwood Parkway, LLC and                                                                                             Vestar
Vestar Alderwood Parkway,                            Party City Corporation dated February                               2617 196th St SW                                          Alderwood                      2425 East Camelback
LLC                       Party City Corporation     25, 2022                                      1193          $0.00   Suite A                          LYNNWOOD WA        98036 Parkway, LLC    c/o Vestar     Road, Suite 750     Phoenix          Arizona          85016
                                                     Lease Agreement by and between MTD                                                                                            Inc.Realty
VEREIT, Inc.Realty Income                            Silverdale BB LLC and Party City                   $14,053.8235,42                                                            Income                         2325 E Camelback
Corporation                 Party City Corporation   Corporation dated February 22, 2017            438 2.30            9551 Ridgetop         Suite 100   Silverdale   WA    98383 Corporation                    Rd, Suite 9th fl      Phoenix        Arizona          85016
                                                                                                                                                                                                  c/o
                                                                                                                                                                                                  Browman
                                                                                                                                                                                                  Developme
                                                     Lease Agreement by and between First                                                                                                         nt
                                                     Richland LP and Party City Corporation                              2907 Queensgate                                           First Richland Company,
First Richland LP           Party City Corporation   dated September 9, 2016                        981     $12,718.32   Drive                            Richland     WA    99352 LP             inc.      1556 Parkside Drive         Walnut Creek   California       94596

                                                     Agreement of Lease by and between                                   17356                                                                     c/o Kimco
                                                     NMBK Northwest and Party City                                       Southcenter                                               Kir Tukwila     Realty         2429 Park Avenue
Kir Tukwila L.P.            Party City Corporation   Corporation dated June 16, 1998                665       $127.64    Pkwy                             Tukwila      WA    98188 L.P.            Corporation    Park Avenue           Tustin         California       92728
                                                                                                                                                                                                   c/o Pacific
                                                     Lease Agreement by and between                                                                                                                Retail
                                                     Capital Mall Land, LLC and Party City                                                                                                         Capital        2029 Century Park
CAPITAL MALL LAND LLC       Party City Corporation   Corporation dated August 14, 2012              450     $11,708.77   2315 4th Ave W.                  Olympia      WA    98502 Capital Mall LP Partners       East, Suite 1550      Los Angeles    California       90067
                                                     Lease Agreement by and between
                                                     Steadfast Everett Mall LLC and Party City                           1402 SE Everett                                           Brixton         c/o Brixton
Steadfast Everett Mall LLC Party City Corporation    Corporation dated July 24, 2012                853          $0.00   Mall Way                         Everett      WA    98208 Everett LLC     Capital LLC 120 S. Sierra Avenue Solana Beach       California       92075
                                                     Lease Agreement by and between RPAI                                 5919 Lakewood                                             KRG
                                                     Lakewood, L.L.C. and Party City                                     Town Center                                               Lakewood,                      30 South Meridian
KRG Lakewood, L.L.C.        Party City Corporation   Corporation dated January 9, 2017              977     $14,315.32   Blvd. SW                         Lakewood     WA    98499 L.L.C.                         Street, Suite 1100    Indianapolis   Indiana          46204




                                                                                                                                                 Page 38 of 41
                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 237 of 248




                                                     Lease Agreement by and between KIR                                                                                                     c/o Kimco
                                                     Federal Way 035, LLC and Party City                              31417 Pacific                                            KIR Federal  Realty      500 North Broadway,
KIR Federal Way 035, LLC    Party City Corporation   Corporation dated July 14, 2014              672    $12,690.32   Hwy South                       Federal Way WA     98003 Way 035, LLC Corporation Suite 201           Jericho                 New York     11753

                                                     Retail Project Lease by and between                                                                                       Downtown           c/o First
Downtown Woodinville,                                Downtown Woodinville, L.L.C. and Paper                           18027 Garden                                             Woodinville,       Western
LLC                         Party City Corporation   Warehouse, Inc. dated May 20, 1998           471     $1,094.69   Way NE                          Woodinville   WA   98072 LLC                Properties    11621 97th Lane NE Kirkland         Washington   98034
                                                     Lease Agreement by and between
                                                     Burlington Retail, LLC and Party City                            2030 S.                                                  Burlington                       8129 Lake Ballinger
Burlington Retail, LLC      Party City Corporation   Corporation dated March 31, 2014             474        $0.00    Burlington Blvd                 Burlington    WA   98233 Retail, LLC                      Way, #104             Edmonds       Washington   98026
                                                                                                                                                                                                  c/o Pacific
                                                     Lease Agreement by and between Pine                                                                                                          Asset
                                                     Tree-Sau Hazel Dell, LLC and Party City                                                                                   8801 Hazel         Advisors,     14205 SE 36th St.
8801 Hazel Dell LLC         Party City Corporation   Corporation dated April 14, 2014             897        $0.00    8920 NE 5th AVE                 VANCOUVER WA       98665 Dell LLC           Inc           Suite 215             Bellevue      Washington   98006
                                                     Shopping Center Lease between
                                                     Terranomics Crossroads Associates and                                                                                     Terranomics
Terranomics Crossroads                               Paper Warehouse, Inc. dated March 27,                                                                                     Crossroads                       15600 NE 8th Street,
Associates                  Party City Corporation   1998                                         463    $21,829.21   15600 NE 8th St    Suite F-17   Bellevue      WA   98008 Associates      c/o ROIC         Suite K15            Bellevue       Washington   98008
                                                                                                                                                                                               c/o
                                                     Lease Agreement by and between                                                                                                            Tarragon
                                                     Meridian Sunrise Village, L.L.C. and Party                                                                                                Property
Sunrise Village Phase I,                             City Corporation dated November 4,                               10408 156th St.                                          Sunrise Village Services         10507 156th St E,
L.L.C.                      Party City Corporation   2009                                         466    $24,878.08   East               Suite 101    Puyallup      WA   98374 Phase I, L.L.C. L.L.C.           Suite 101             South Hill    Washington   98374
                                                     Lease Agreement by and between
                                                     Covington Commercial III, LLC and                                                                                         Covington
Covington Commercial III,                            Parting City Corporation dated April 27,                         27339 Covington                                          Commercial                       1457 130th Avenue
LLC                         Party City Corporation   2015                                         464        $0.00    Way SE                          Covington     WA   98042 III, LLC                         NE                    Bellevue      Washington   98006
                                                     Lease Agreement by and between
                                                     Hanson Industried, Inc. and Party City                           13806 E. Indiana                Spokane                  Hanson
Hanson Industries, Inc.     Party City Corporation   Corporation dated April 8, 2014              892    $10,156.58   Avenue                          Valley        WA   99216 Industries, Inc.                 15807 E. Indiana Ave Spokane Valley Washington   99216
                                                     Lease Agreement by and between
                                                     Yakima Theatres, Inc. and Party City                             17 East Valley                                           Yakima
Yakima Theatres, Inc.       Party City Corporation   Corporation dated February 19, 2016          969        $0.00    Mall Blvd          Suite #1     Union Gap     WA   98903 Theatres, Inc.                   P.O. Box 50           Yakima        Washington   98907
                                                                                                                                                                               CRG Appleton
                                                     Lease Agreement by and between                                                                                            LLC and
CRG Appleton LLC and                                 Westhill Plaza, LLC and Party City                               613 N. Westhill                                          Westhill                         223 East Strawberry
Westhill Appleton, LLC      Party City Corporation   Corporation dated July 20, 2015              4002       $0.00    Blvd.                           Appleton      WI   54914 Appleton, LLC                    Drive               Mill Valley     California   94941
                                                     Shopping Center Lease between                                                                                                                c/o Bonnie
                                                     Greenfield, LP and Factory Card Outlet                                              Greenfield                            Greenfield,        Manageme 1350 E. Touhy
Greenfield, L.P.            Party City Corporation   of America, LTD. dated May 18, 2005          5337       $0.00    5058 S 74th St     Place S/C    Greenfield    WI   53220 L.P.               nt         Avenue, Suite 360E       Des Plaines   Illinois     60018
                                                     Lease Agreement by and between
                                                     Penny Racine, LLC and Party City                                 2619 S. Green                                            Penny Racine,
Penny Racine, LLC           Party City Corporation   Corporation dated June 18, 2015              5154       $0.00    Bay Road                        Racine        WI   53406 LLC                              3100 Dundee Road      Northbrook    Illinois     60062
                                                     Lease between West Allis Shopping
                                                     Center Associates and Factory Card
                                                     Outlet of America, Ltd. dated June 9,                            6718 W             West Allis                            RPT REALTY,                      20750 Civic Center
RPT REALTY, LP              Party City Corporation   1993                                         5141       $0.00    Greenfield Ave     Town Ctr     West Allis    WI   53214 LP                               Drive, Suite 310      Southfield    Michigan     48076
                                                     Lease Agreement by and between
                                                     Southport Plaza Shopping Center                                                                                                        c/o
                                                     Limited Partnership and Party City                               7150 Green Bay                                           BZA Kenosha, Friedman    34975 W. Twelve               Farmington
BZA Kenosha, LLC            Party City Corporation   Corporation dated May 19, 2010               5174       $0.00    Road                            Kenosha       WI   53142 LLC          Real Estate Mile Road                     Hills         Michigan     48331
                                                     Lease Agreement by and between USPG                                                                                       Kraus-
Kraus-Anderson                                       Portfolio Two, LLC and Party City                                1228 Crossing                                            Anderson                 501 South Eighth
Incorporated                Party City Corporation   Corporation dated January 27, 2014           4005       $0.00    Meadows Drive                   Onalaska      WI   54650 Incorporated             Street                        Minneapolis   Minnesota    55404
                                                                                                                                                                               Marketplace
                                                                                                                                                                               Brown Deer
                                                                                                                                                                               Relaty LLC,
                                                                                                                                                                               Namco Relaty
Marketplace Brown Deer                               Amended and Restated Lease                                                                                                LLC and
Relaty LLC, Namco Relaty                             Agreement by and between BRE DDR                                                                                          Marketplace c/o Namdar
LLC and Marketplace                                  Brown Deer Market LLC and Party City                             9150 N Green                                             Brown Deer   Realty      150 Great Neck
Brown Deer Nassim LLC       Party City Corporation   Corporation dated July 14, 2014              5136       $0.00    Bay Rd             Space 15     Brown Deer    WI   53209 Nassim LLC   Group       Road, Suite 304               Great Neck    New York     11021
                                                     Lease Agreement by and between
                                                     Ramco-Gershenson Properties, L.P. and
                                                     Party City Corporation dated January 14,
ZEIER TOV LLC               Party City Corporation   2016                                         5184       $0.00    2139 Zeier Road                 Madison       WI   53704 ZEIER TOV LLC              P.O. Box 10435              Brooklyn      New York     11219
                                                     Lease between MLM Shopping Center                                                                                         AAM-
                                                     Associates and Factory Card Outlet of                            831 S Military     Green Bay                             Greenbay                   833 East Michigan
AAM-Greenbay Plaza, LLC     Party City Corporation   America, Ltd. dated June 3, 1997             5259   $10,975.57   Ave                Plaza        Green Bay     WI   54304 Plaza, LLC    c/o Colliers Avenue #500                 Milwaukee     Wisconsin    53202




                                                                                                                                            Page 39 of 41
                                                                                                              Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 238 of 248




                                                                                                                                                                                                       c/o Flad
                                                         Indenture of Lease by and between                                                                                                             Developme
                                                         Junction Ridge Limited Partnership and                                                                                         Junction Ridge nt &
Junction Ridge Limited                                   Party City Corporation dated October                                                                                           Limited        Investment 7941 Tree Lane, Suite
Partnership                   Party City Corporation     24, 1996                                       518       $0.00    223 Junction Rd                 Madison      WI        53717 Partnership    Corp.      105                   Madison              Wisconsin           53717

                                                         Lease Agreement by and between                                                                                                 Shoppes at        c/o Irgens
Shoppes at the Corridor,                                 Shoppes at the Corridor, LLC and Party                            285 Discovery                                                the Corridor,     Partners,    1401 Discovery
LLC                           Party City Corporation     City Corporation dated February 4, 2019       5140       $0.00    Drive                           Brookfield   WI        53045 LLC               LLC          Parkway, Suite 100    Milwaukee       Wisconsin           53226

                                                       Lease Agreement between THF                                                                                                      THF Clarksburg
                                                       Clarksburg Development One, Limite                                                                                               Development
THF Clarksburg                                         Liability Company and Factory Card                                                                                               One, Limited c/o TKG
Development One, Limited                               Outlet of America, Ltd. dated April 21,                                                 New Pointe                               Liability      Manageme 211 N. Stadium Blvd.,
Liability Company             Party City Corporation 1997                                              5274    $2,340.53   526 Emily Dr        Plaza      Clarksburg    WV        26301 Company        nt, Inc. Suite 201             Columbia               Missouri            65203
                                                       Lease Agreement by and between TPP
                                                       Orchard Property, LLC and Party City                                14458 Delaware                                               TPP Orchard                    2415 East Camelback
TPP Orchard Property, LLC     Party City Corporation Corporation dated June 10, 2022                  1072R       $0.00    Street, Suite 600               Westminster CO         80023 Property, LLC c/o Vestar       Road, Suite 100     Phoenix           Arizona             85016
                                                       Lease Agreement between Matrix                                                                                                   Matrix
                                                       Newburgh I, LLC and Amscan, Inc. dated                              108 Route 17K,                                               Newburgh I,                    Forsgate Drive, Cn
Matrix Newburgh I, LLC        Amscan Inc.              September 19, 2016                             W021    $33,959.42   Suite 2                         Newburgh     NY        12550 LLC                            4000                  Cranbury        NJ                  08512
                                                       Parking Space Rental Agreement by and
                                                       between WF Whelan Company and
                                                       Party City Corporation dated March 1,                               8249 Haggerty                                                WF Whelan
WF Whelan Company             Party City Corporation 2022                                             W031    $15,000.00   Road                            Canton       MI        48187 Company                        41425 Joy Road        Canton          MI                  48187
                                                       Office Lease Agreement between SIG                                                                                                                 Signature
                                                       100 Tice LLC and Party City Holdings Inc.                           100 Tice                        Woodcliff                    SIG 100 Tice      Acquisitions
SIG 100 Tice LLC              Party City Holdings Inc. dated October 6, 2021                          90100   $13,916.17   Boulevard                       Lake         NJ        07677 LLC               LLC          20 Commerce Drive     Cranford        NJ                  07016
                                                       Lease Agreement by and between
                                                       Boland- Maloney Realty Co. and Deco                                                                                              Boland
                              Deco Paper Products, a Paper Products, Inc. dated March 18,                                  4006 and 4004                                                Maloney
Boland Maloney Realty Co.     division of Amscan, Inc. 1996                                           W014        $0.00    Collins Lane                    Louisville   KY        40245 Realty Co.                     4010 Collins Lane     Louisville      KY                  40223
                                                       Parking License Agreement between
                                                       Party City Corp and Par King LLC dated                                                                                                         c/o Park
Par King LLC                  Party City Corporation February 1, 2023                                 90006       $0.00    13850 S Decatur                 Sloan        NV        89054 Park King LLC King LV          13850 S. Decatur      Sloan           NV                  89054
                                                       Parking Space Lease Agreement                                       591
                                                       between PennFleet Corp and Party City                               Meetinghouse                                                 PennFleet                      591 Meetinghouse
PennFleet Corp                Party City Corporation Corp dated May 12, 2021                          W005        $0.00    Rd.                             Boothwyn     PA        19061 Corp                           Road                  Boothwyn        PA                  19061
                                                       Industrial Building Lease between
                                                       Centerpoint Realty Services Corporation                                                                                          Coleman           c/o
                                                       and Factory Card Outlet of America Ltd.                                                                                          Logistics Asets   Cushamn & 9500 W. Bryn Mawr
Coleman Logistics Asets LLC   Party City Holdings Inc. dated October 28, 1996                          1005       $0.00    2727 Diehl Road                 Naperville   IL        60563 LLC               Wakefield Avenue, Ste. 600         Rosemont        IL                  60018
                                                                                                                                                                                        FLT Northgate-
                                                                                                                                                                                        Ashton, LLC,
                                                                                                                                                                                        FLT Northgate-
                                                                                                                                                                                        Deer Glen,
                                                         Lease Agreement by and between FLT                                                                                             LLC, FLT
FLT Northgate-Ashton, LLC,                               Northgate-Ashton, LLC, FLT Northgate-                                                                                          Northgate-
FLT Northgate-Deer Glen,                                 Deer Glen, LLC, FLT Northgate-                                                                                                 Crossroads,
LLC, FLT Northgate-                                      Crossroads, LLC & FLT Northgate-                                                                                               LLC & FLT         c/o Red Tail
Crossroads, LLC & FLT                                    Western, LLC and Print Appeal, Inc.                               11330 Page Mill                                              Northgate-        Acquisitions 2082 Michelson
Northgate-Western, LLC     Print Appeal, Inc.            dated November 15, 2021                      W033        $0.00    Rd.                             Dallas       TX        75243 Western, LLC      , LLC        Boulevard, Ste. 307   Irvine          CA                  92612
                                                         Temporary Use and Occupancy
                                                         Agreement by and between GAM
                                                         Property Corp. and Party City Holdings                                                                                          GAM Property
GAM Property Corp.            Party City Holdings Inc.   Inc. dated June 30, 2022                     96872       $0.00    17 Dikeman Drive                Goshen       NY         10924 Corp.                         3 Police Drive        Goshen          NY                  10924
                                                         Lease between K.K.H. Limited Liability                                                                                          K.K.H. Limited
K.K.H. Limited Liability                                 Company and Am-Source, LLC dated                                  261 Narragansett                East                          Liability
Company                       Am-Source, LLC             April 27, 2011                               W037        $0.00    Park Dr.                        Providence   RI   02916       Company                       PO Box 16322          East Providence RI          02916
                                                         Lease by and between Burt Realty
                                                         Company, LLC and Gags and Games, Inc.                             12640, 12676
                                                         d/b/a Halloween City dated October 18,                            and 12670 Burt                                               SFG Equities,                  4118 14th Avenue,
SFG Equities, LLC             Party City Corporation     2012                                         90055       $0.00    Road                            Detroit      MI        48223 LLC                            Ste. 101              Brooklyn        NY                  11218
                                                                                                                                                                                                          c/o Spirit
                                                         Master Lease Agreement by and                                                                                                                    SPE
                                                         between Spirit Realty, L.P. and Party City                        47 Elizabeth                                                 Spirit Realty, L. Manager,     2727 N Harwood
Spirit Realty, L. P.          Party City Holdings Inc.   Holdings LLC dated June 28, 2019             W008        $0.00    Drive                           Chester      NY        10918 P.                LLC          Street, Ste. 300      Dallas          TX                  75201
                                                                                                                                                                                                          c/o Spirit
                                                         Master Lease Agreement by and                                                                                                                    SPE
                                                         between Spirit Realty, L.P. and Party City                        7700 Anagram                                                 Spirit Realty, L. Manager,     2727 N Harwood
Spirit Realty, L. P.          Party City Holdings Inc.   Holdings LLC dated June 28, 2019             W009        $0.00    Drive                           Eden Prairie MN        55344 P.                LLC          Street, Ste. 300      Dallas          TX                  75201




                                                                                                                                                  Page 40 of 41
                                                                                   Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 239 of 248




                                  Industrial Multi-Tenant Lease by and
                                  between AMB Property II, L.P. and Print                      11220 Page Mill
Tuffli Co.   Print Appeal, Inc.   Appeal, Inc. dated August 29, 2007        W032       $0.00   Road                       Dallas   TX       75243 Tuffli Co.   11220 Page Mill Road Dallas   TX   75243




                                                                                                                 Page 41 of 41
                                                                                                                          Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 240 of 248




PARTY CITY HOLDCO INC., et al
Schedule B-2(ii)
As of April 28 May 12, 2023

                                                                                                                                                                                          Property Address                                                        Landlord Address
                                                                                                   Store Number /                                                                    Street                                                        Parent          Street
        Counterparty             Debtor Counterparty           Description of Agreement                           Cure Amount    Assignee     Assignment Date      Street Address 1                City            State   Zip      Landlord                                   City           State     Zip
                                                                                                     Property ID                                                                    Address 2                                                     Company         Address
                                                                                                                                                                                                                                  PACIFIC
                                                                                                                                                                                                                                  COAST
                                                         Lease Agreement by and between Shea                                                                                                                                      HIGHWAY       C/O 1ST         2009
PACIFIC COAST HIGHWAY                                          Marina Village LLC and Party City                              Five Below,                        125 Gen Stillwell                                                PROPERTY      COMMERCIAL      PORTERFIEL
PROPERTY LLC                    Party City Corporation          Corporation dated June 15, 2012              837        $0.00 Inc.                         45107 Dr.                             Marina       CA            93933 LLC           REALTY GROUP    D WAY      UPLAND          California    91786
                                                          Lease Agreement by and between BDC                                                                                                                                                    c/o Browman     1556
                                                                   Lodi Anchor LP and Party City                              Five Below,                        2350 W                                                           BDC Lodi      Development     Parkside   Walnut
BDC Lodi Anchor LP              Party City Corporation        Corporation dated March 23, 2016               935   $16,544.76 Inc.                         45107 Kettleman Lane      Suite 130   Lodi         CA            95242 Anchor LP     Company, Inc.   Drive      Creek           California    94596
                                                                                                                                            The date of entry of
                                                                                                                                            the Sale Order or any
                                                                                                                                            such other date as
                                                                                                                                            agreed upon by the
                                                                                                                                            Debtors, the
                                                             Lease Agreement by and between                                                 counterparty to the                                                                   MGP XII                       425
                                                       Jamestown South Shore Center, L.P. and                                               Lease, and/or the                                                                     SOUTH      C/O MERLONE        California
MGP XII SOUTH SHORE                                    Party City Corporation dated January 25,                               Five Below,   proposed Assignee,    2251 S Shore                                                    SHORE      GEIER              Street, 10th San
CENTER LLC                      Party City Corporation                                    2017               987   $18,148.23 Inc.          as applicable45077    Center                         Alameda      CA            94501 CENTER LLC MANAGEMENT         Floor        Francisco     California    94104
                                                                                                                                              The date of entry of
                                                                                                                                              the Sale Order or any
                                                                                                                                              such other date as
                                                                                                                               Michaels       agreed upon by the
                                                                                                                               Stores, Inc.   Debtors, the
                                                              Lease Agreement by and between                                   and/or an      counterparty to the                                                                 MacArthur                     109
                                                          MacArthur Village Limited Partnership                                affiliate (or  Lease, and/or the                                                                   Village     c/o Stirling      Northpark
MacArthur Village Limited                                  and Party City Corporation dated July                 $10,331.4216, if applicable, proposed Assignee,    1456 MacArthur                                                Limited     Properties,       Blvd., Suite
Partnership                     Party City Corporation                                 10, 2015              928 876.23        a designee) as applicable45077       Drive                        Alexandria   LA            71301 Partnership L.L.C.            300          Covington     Louisiana     70433




                                                                                                                                             The date of entry of
                                                                                                                                             the Sale Order or any
                                                              Lease Agreement between Nathan                                                 such other date as
                                                              Benderson, Ronald Benderson and                                 Michaels       agreed upon by the
                                                           David H. Baldauf as Trustees Under a                               Stores, Inc.   Debtors, the
                                                          Trust Agreement dated September 22,                                 and/or an      counterparty to the
                                                          1993 known as the Randall Benderson                                 affiliate (or  Lease, and/or the                                                                    Irondequoit
                                                         1993-1 Trust and Factory Card Outlet of                              if applicable, proposed Assignee,                    Culver                                         TK Owner                      415 Park
Irondequoit TK Owner LLC        Party City Corporation   America, Ltd. Dated December 16, 1996              5224        $0.00 a designee) as applicable            2255 E Ridge Rd Ridge Plaza Irondequoit NY               14622 LLC                           Avenue       Rochester     New York      14607
                                                                                                                                             The date of entry of
                                                                                                                                             the Sale Order or any
                                                                                                                                             such other date as
                                                                                                                              Michaels       agreed upon by the
                                                                                                                              Stores, Inc.   Debtors, the
                                                              Lease Agreement by and between                                  and/or an      counterparty to the                                                                                                465 S.
                                                           Shops at Pinnacle Park, LLC and Party                              affiliate (or  Lease, and/or the                                                                    Shops at                      Beverly
                                                             City Corporation dated October 24,                               if applicable, proposed Assignee,    4414 DFW                                                       Pinnacle                      Drive, Suite
Shops at Pinnacle Park, LLC     Party City Corporation                                     2016              979   $17,578.25 a designee) as applicable45077       Turnpike          Suite 100   Dallas       TX            75211 Park, LLC                     200          Beverly Hills California    90212




                                                                                                                                             The date of entry of
                                                                                                                                             the Sale Order or any
                                                                                                                                             such other date as
                                                                                                                              Michaels       agreed upon by the
                                                                                                                              Stores, Inc.   Debtors, the
                                                           Lease Administration by and between                                and/or an      counterparty to the
                                                         CA New Plan Fixed Rate Partnership, LP                               affiliate (or  Lease, and/or the                                                                    Cielo Paso                   6500
                                                         and Party City Corporation dated March                               if applicable, proposed Assignee,                                  Corpus                           Parke                        Montana
Cielo Paso Parke Green LP       Party City Corporation                                  28, 2012             814        $0.00 a designee) as applicable            4101 Hwy 77       Suite K2    Christi      TX            78410 Green LP      c/o Mimco Inc. Avenue        El Paso       Texas         79925




                                                                                                                                                            Page 1 of 1
                                                                                                                         Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 241 of 248




PARTY CITY HOLDCO INC., et al
Schedule B-2(iii)
As of April 28 May 12, 2023

                                                                                                                                                                       Property Address                                                                        Landlord Address
                                                                                                       Store Number /                Agreed                       Street
         Counterparty              Debtor Counterparty          Description of Agreement                              Cure Amount               Street Address 1                City              State       Zip           Landlord       Parent Company      Street Address        City         State       Zip
                                                                                                         Property ID                Deadline                     Address 2
                                                           Indenture ofShopping Center Lease by
                                                                 and between Azalea Center RMC                                                 300 Azalea                                                                                                 PO Drawer
                                                              Investments, L.L.C. and Party City of                                            Rd1615                                                                Cummings & White                     16227708 East
Cummings & White Spunner,                                   Mobile Hoover, L.L.C. dated March 26                                               Montgomery                      MobileHoov                            Spunner, Inc.Select c/o RMC          Colonial Drive,        MobileOrlan AlabamaFlorid 36616-
Inc.Select Strategies           Party City Corporation                    December 4, 2004 1996             10361037       $0.00     5/31/2023 Hwy                 Suite E 102 er         AL              3660935216 Strategies          Investments, LLC Suite 203              do          a             022732803
                                                          Lease Agreement by and between GS II
                                                              Brook Highland LLC and Party City of                                                                                                                                         c/o First National
                                                            Birmingham, LLC dated December 17,                                                 5287 Highway                                                          Brook Highland SC     Property           151 Bodman
Brook Highland SC LLC           Party City Corporation                                         2013             1040   $40,732.14    5/31/2023 280                               Birmingham AL                 35242 LLC                   Management         Place, Suite 201   Red Bank    New Jersey         7701
                                                                 Lease Agrement by and between
                                                                  Pinnacle Hills, LLC and Party City                                           2203 S                                                                                      c/o Brookfield     350 N. Orleans
Pinnacle Hills, LLC             Party City Corporation       Corporation dated December 3, 2021                 1160       $0.00     5/31/2023 Promenade Blvd                    Rogers      AR                72758 Pinnacle Hills, LLC   Properties         Street, Suite 300 Chicago      Illinois     60654-1607
                                                             Tenant Lease by and between John F.
                                                            Long Properties LLLP and Party City of
                                                               Phoenix West, Inc. dated March 11,                                              7515 W Encanto                                                        Desert Sky                               1234 E. 17th
Desert Sky Esplanade, LLC       Party City Corporation                                         2002              951       $0.00     6/15/2023 Blvd                            10 Phoenix    AZ                85035 Esplanade, LLC                           Street             Santa Ana   California        92701
                                                           Lease Agreement by and between LHR
                                                              Renaissance Marketplace South, LLC                                               1295 W.                                                               RENAISSANCE        C/O 1ST
RENAISSANCE COMMERCIAL                                   and Party City Corporation dated March                                                Renaissance                                                           COMMERCIAL         COMMERCIAL            4016 Grand
PROPERTY LLC                    Party City Corporation                                     19, 2018              993       $0.00     5/31/2023 Pkwy.                             Rialto      CA                92376 PROPERTY LLC       REALTY GROUP          Avenue             Chino       California        91710
                                                                                                                                                                                                                                        c/o Decron
                                                         Retail Lease Agreement by and between                                                                                                                                          Properties            6222 Wilshire
                                                           S & V Van Nuys La Entrada Associates,                                               7882 Van Nuys                     Van                                 NF Plant           Ashcraft              Blvd.4401         Los
NF Plant Enterprises, LPLA                                  LLC and Party City Corporation dated                                               Blvd1109 W.                       NuysEscondi                         Enterprises, LPLA  Investment            Manchester Ave, AngelesEncin
Entrada Associates              Party City Corporation              October 1 April 11, 1997 2016             639445       $0.00     5/31/2023 Valley Parkway                    do          CA           9140292025 Entrada Associates Company               Suite 400 Ste 206 itas       California     9004892024
                                                         Lease Agreement by and between M&A                                                                                                                                             C/O Excel
                                                              GABAEE and Party City Corporation                                                11098 Foothill                    Rancho                                                 Property            9034 West Sunset West
M&A GABAEE                      Party City Corporation                      dated August 8, 2013                 443       $0.00     5/31/2023 Blvd                Suite 110     Cucamonga CA                  91730 M&A GABAEE         Management          Blvd             Hollywood       California        90069
                                                         Lease by and between Gateway Pioneer                                                                                                                                                               2429 Park
                                                            Inc. No. 1 and Party City Corporation                                              19670                                                                                       c/o Kimco Realty Avenue Park
KIR TORRANCE LP,                Party City Corporation                        dated May 29, 1998                 669       $0.00     5/31/2023 Hawthorne Blvd                    Torrance    CA                90503 KIR TORRANCE LP,      Corporation      Avenue           Tustin          California        92728
                                                            Lease Agreement by and between SY
                                                                   Ventures III, LLC and Party City                                                                                                                                       c/o Shin Yen        3808 Grand
SY Ventures III, LLC            Party City Corporation    Corporation dated November 21, 2017                    427       $0.00     5/31/2023 3850 Grand Ave                    Chino       CA                91710 SY Ventures III, LLC Equity, Inc.        Avenue, Suite B    Chino       California        91710

                                                                Lease by and between San Dimas                                                                                                                                             c/o Shin Yen
Maryland Parkway Property,                                 Marketplace Associates, LLC and Party                                               852 W Arrow                                                           Maryland Parkway      Management,        3898 Grand
LLC                             Party City Corporation    City Corporation dated August 22, 1997                 580       $0.00     5/31/2023 Hwy                               San Dimas   CA                91773 Property, LLC         Inc.               Avenue, Suite B    Chino       California        91710

                                                          Standard Shopping Center Lease by and
                                                            between SDC Partners, Ltd. and Party                                               3060 Baldwin                                                          Sierra Center
Sierra Center Investments, LLC Party City Corporation     City Corporation dated August 21, 1996                 541       $0.00     5/31/2023 Park Blvd           Suite C-100 Baldwin Park CA                 91706 Investments, LLC                         P.O. Box 570485 Tarzana        California        91357
                                                          Shopping Center Lease by and between
                                                           Castle & Cooke Corona Crossings I, Inc.                                                                                                                   Castle & Cooke                           10000 Stockdale
Castle & Cooke Corona                                    and PA Acquisition Corp. dated February                                                                                                                     Corona Crossings I,                      Highway, Suite
Crossings I, Inc.               Party City Corporation                                   9, 2005                1508   $10,977.77    5/31/2023 2415 Tuscany St Suite 101         Corona      CA                92881 Inc.                                     300             Bakersfield    California        93311

                                                            Standard Retail/Multi-Tenant Lease -
                                                         Net by and between Joan Gayle Cernich
                                                           Family Trust and PA Acquisitions Corp.                                              25410                             Mission                             OC Generations V,                                           Laguna
OC Generations V, LP            Party City Corporation                   dated December 5, 2005                 1514       $0.00     5/31/2023 Marguerite Pkwy                   Viejo       CA                92692 LP                                       625 Catalina       Beach       California        92625
                                                         Lease Agreement by and between GGP-                                                                   Otay Ranch
                                                                   Otay Ranch, L.P. and Party City                                                             Town                                                  GGP-OTAY RANCH,       c/o Brookfield     350 N Orleans St
GGP-OTAY RANCH, LP              Party City Corporation       Corporation dated October 15, 2010                  707   $14,839.87    5/31/2023 2015 Birch Road Center     Chula Vista        CA                91915 LP                    Properties         Suite 300        Chicago       Illinois          60654
                                                               Lease Agreement by and between
                                                          Vestar California XXVII, L.L.C. and Party                                                                                                                                                        500 North
                                                             City Corporation dated November 9,                                                9850 Mission                                                          Santee Trolley       c/o Kimco Realty Broadway, Suite
Santee Trolley Square 991, LP   Party City Corporation                                        2001               441       $0.00     5/31/2023 Gorge Rd                          Santee      CA                92071 Square 991, LP       Corporation      201, PO Box 9010 Jericho          New York          11753
                                                                                                                                                                                                                                                           500 North
                                                                Lease Agreement by and between                                                                                                                                                             Broadway Suite
                                                            Fremont Retail Partners, LP and Party                                              39210 Fremont                                                         Fremont Retail       c/o Kimco Realty 201, P.O. Box
Fremont Retail Partners, LP     Party City Corporation    City Corporation dated March 31, 2016                 1219   $27,730.98    5/31/2023 HUB                 Suite 211     Fremont     CA                94538 Partners, LP         Corporation      9010             Jericho          New York          11753
                                                           Lease Agreement by and between The                                                                                                                                                              500 North
                                                                     Price REIT, Inc. and Party City                                           350 N McKinley                                                                             c/o Kimco Realty Broadway, Suite
The Price REIT, Inc.            Party City Corporation      Corporation dated December 6, 2021                 1508R       $0.00     5/31/2023 St                                Corona      CA                92879 The Price REIT, Inc. Corporation      201              Jericho          New York          11753
                                                                Lease Agreement by and between
                                                          Bristol Center Holding LP and Party City                                                                                                                   Bristol Center        c/o Sarofim        8115 Preston Rd.,
Bristol Center Holding LP       Party City Corporation     Corporation dated November 25, 2013                    76       $0.00     5/31/2023 3837 S Bristol St                 Santa Ana   CA                92704 Holding LP            Realty Advisors    Suite 400         Dallas       Texas             75225




                                                                                                                                                           Page 1 of 4
                                                                                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 242 of 248




                                                                Shopping Center Lease Agreement
                                                               between Glades - Pike East, Ltd. and
                                                               Party City Corporation dated April 8,                                                                                                                                                215 North
Investments Limited             Party City Corporation                                         1996        523        $0.00    5/31/2023 8095 Glades Rd                 Boca Raton     FL           33434 Investments Limited                       Federal. Highway Boca Raton    Florida               33432
                                                              Standard Retail Lease between Danis
                                                                Properties Limited Partnership and                                                                                                     PMAT VILLAGE
                                                                  Factory Card OutletAgreement of                                                                                                      PLAZACOMM 2014-          c/o PMAT            109 Northpark
PMAT VILLAGE PLAZACOMM                                     America Lease by and between Canyon                                           4286 US Highway                                               UBS2 Canyon              COMPANIES           Blvd4980
2014-UBS2 Canyon Springs                                  Crossings I LLC and PCMV, Ltd Inc. dated                                       98 N2550 Canyon Village      LakelandRive                     Springs Parkway,         ProEquity Asset     Hillsdale Cir.,   CovingtonEl LouisianaCalifo
Parkway, LLC                    Party City Corporation                   June 30 July 15, 1997 2008     5289750       $0.00    5/31/2023 Springs Pkwy    PlazaSuite H rside        FLCA     3380992507 LLC                      Management          Suite 300 A       Dorado Hills rnia           7043375205
                                                             Shopping Center Lease Agreement by
                                                             and between Oakwood Plaza Limited
                                                          Partnership and 99, Eglin Ltd. And Party                                                                                                     Oakwood Plaza            c/o Kimco Realty    500 North
                                                               City Franchise Gorup of Fort Walton                                       3911 Oakwood                   HollywoodFt                    Limited                  Corporation Slate   Broadway121
Oakwood Plaza Limited                                         Beach, Florida LLC dated April 16 25,                                      Blvd99 Elgin                   Walton                         PartnershipSuso 2        Asset               King Street West, JerichoToron                  11753M5H
PartnershipSuso 2 Uptown LP     Party City Corporation                                    2008 2001     3151051       $0.00    5/31/2023 Pkwy              Unit 4       Beach       FL      3302032548 Uptown LP                Management L.P.     Suite 201 200     to           New YorkON       3T9

                                                          Shopping Center Lease by and between                                                                                                                                                500 North
                                                              KIR Tampa 003, LLC and iParty Retail                                       12799 Citrus      Plaza at                                                          c/o Kimco Realty Broadway, Suite
KIR Tampa 003, LLC              Party City Corporation          Stores Corp. dated March 30, 2004         6058    $10,264.25   5/31/2023 Plaza Dr          Citrus Park Tampa           FL           33625 KIR Tampa 003, LLC Corporation      201                     Jericho      New York              11753
                                                                 Lease Agreement by and between
                                                          DDRTC Fayette Pavilion I and II LLC and                                                                                                                            c/o Crawford
DDRTC Fayette Pavilion I and II                               Party City Corporation dated July 28,                                      128-A Pavilion                                                DDRTC Fayette         Square Real          1175 Peachtree
LLC                             Party City Corporation                                          2014       222        $0.00    5/31/2023 Pkwy                           Fayetteville   GA        30214 Pavilion I and II LLC Estate Advisors      St NE, Suite 1000   Atlanta      Georgia               30361
                                                                 Lease Agreement by and between                                                                                                        CenterEPPS Bridge                          2900
Peach Retail CenterEPPS                                     Peach Retail Center, LLC and Robertco                                        2900 Peachtree                                                Centre Property                            Peachtree6445
Bridge Centre Property                                      Management Epps Bridge Centre, LLC                                           Road NW1791                                                   Company LLC and                            Powers Ferry
Company LLC and Robertco                                          and Party City Corporation dated                                       Oconee            Suite 100E   AtlantaAthen                   Robertco                                   Road, NW, Suite
Management LLC                  Party City Corporation      December 23 February 20, 2010 2015          178275        $0.00    5/31/2023 Connector         340          s            GA     3030530606 Management LLC                             201 120             Atlanta      Georgia          3030530339
                                                           Lease Agreement by and between WRI                                                                                                                                                     Broadway600
                                                                    Retail Pool I, L U.PS. 41 & I 285                                    4743-A Ashford                                                                                           Madison Avenue,
                                                              Company and Party City Corporation                                         Dunwoody                                                      WRI Retail Pool I,       c/o Kimco Realty Suite 201, P.O.
WRI Retail Pool I, LU.PS. 41 & I                             dated December 13 Franchise Group,                $16,605.920.0             Road2955 Cobb                                                 LU.PS. 41 & I 285        Corporation       Box 9010 14th       JerichoNew
285 Company                      Party City Corporation            2010 LLC dated March 14, 2008        737220 0               5/31/2023 Pkwy SE           Suite 330    Atlanta        GA   3033830339 Company                  Olshan Properties Floor               York         New York         1175310022
                                                             Shopping CenterLease Agreement by
                                                               and between KRC Calumet City 836
                                                          EMB2 Shorewood Phase II, Inc. LLC and                                                                                                                                 c/o Frontline Real
                                                             Party City Corporation dated June 23                                        450 River Oaks              Calumet                           WC MRP Calumet           Estate Partners 477 Elm               Highland
WC MRP Calumet                                               Factory Card Outlet of America, 2011                           0506/3130/20 West988 Brook     Shorewood CityShorewo                       Center,Shorewood         LLC Phillips       Place11501         ParkCincinna
Center,Shorewood Station LLC Party City Corporation                    LTD., dated August 29, 2005      5325343       $0.00 23           Forest Ave        Crossing  od          IL         6040960404 Station LLC              Edison             Northlake Dr       ti           IllinoisOhio     6003545249
                                                                  Lese Agreement by and between
                                                               Gateway Arthur, Inc. and Party City                                       8703 Hardegan                                                    RCG-HRP               c/o RCG             3060 Peachtree
RCG-HRP Indianapolis, LLC       Party City Corporation         Corporation dated January 22, 2016         5148        $0.00    5/31/2023 Street                         Indianapolis IN             46227 Indianapolis, LLC     Ventures, LLC       Rd NW, Suite 400 Atlanta       Georgia               30305

                                                             Lese by and between Fourth Quarter                                                                                                                                 c/o Core Property 410 Peachtree
                                                                 Properties VII, Inc. and Party City                                     2172 Sir Barton                                                  HAP Property          Management,       Parkway, Suite
HAP Property Owner, LP          Party City Corporation     Corporation dated September 29, 1997            618        $0.00    5/31/2023 Way                            Lexington      KY           40509 Owner, LP             LLC               4165                Cumming      Georgia               30041

                                                                    Lease by and between PFL Life
                                                          Insurance Company, Bankes United Life
                                                           Assurance Company, and Life Investors                                                                                                                                                 500 North
                                                              Insurance Company of America and                                                                                                                                                   Broadway, Suite
                                                             Factory Card Outlet of America, Ltd.,                                                       Festival @                                       Kimco Realty          c/o Kimco Realty 201, P.O. Box
Kimco Realty Corporation        Party City Corporation                   dated December 16, 1997          5281    $13,312.21   5/31/2023 4631 Outer Loop Jefferson Ct Louisville       KY           40219 Corporation           Corporation      9010             Jericho          New York              11753
                                                              Shopping Center Lease between All                                                                                                                                                  321 Veterans
                                                             State Financial Companies and Party                                                                                                                                                 Memorial
                                                             City of New Orleans, #2, L.L.C. dated                                       1600 West Bank                                                   All State Financial   C/O Wainer       Boulevard, Suite
All State Financial Company     Party City Corporation                            February 7, 2012        1043    $22,625.60   5/31/2023 Expressway     Suite A         Harvey         LA           70058 Company               Companies        201              Metairie         Louisiana             70005
                                                              Indenture of Lease by and between
                                                            Bellingham North Main Street Limited
Bellingham North Main Street                                         Partnership and The Big Party                                       209 Hartford                                                      Bellingham North     c/o WS              1330 Boylston
II LLC                       Party City Corporation                 Corporation dated July 8, 1996        6018        $0.00    5/31/2023 Ave.                           Bellingham     MA   02019          Main Street II LLC   Development         Street            Chestnut Hill Massachusetts         2467

                                                               Indenture of Lease by and between
                                                          Route 146 Millbury LLC and iParty Retail                                       70 Worcester                                                      Route 146 Millbury c/o WS                1330 Boylston
Route 146 Millbury LLC          Party City Corporation        Stores Corp. dated January 29, 2003         6048        $0.00    5/31/2023 Providence Tpke Ste 190        Millbury       MA   01527          LLC                Development           Street            Chestnut Hill Massachusetts         2467
                                                           Lease Agreement by and between CQX,                                                                                                                                                      25 Recreation
                                                             LLC and Party City Corporation dated                                        1580 VFW                       West                                                                        Park Drive, Suite
CQX, LLC                        Party City Corporation                         November 28, 2016          6001    $15,977.00   5/31/2023 Parkway                        Roxbury        MA   02132          CQX, LLC                                 206               Hingham       Massachusetts         2043
                                                             Lease between Equity Properties and
                                                            Development Limited Partnership and                                                                                                                                                     200 Broad Street,
                                                          The Big Party Corporation dated April 3,                                       86 N. Dartmouth                North                              PR North             c/o PREIT           The Bellevue, 3rd
PR North Dorthmouth, LLC        Party City Corporation                                       1997         6030        $0.00    5/31/2023 Mall                           Dartmouth      MA   02747          Dorthmouth, LLC      Services, LLC       Floor             Phliladelphia Pennsylvania         19102
                                                                 Lease Agreement by and between
                                                                 Wheaton Plaza Regional Shopping                                                                                                          Wheaton Plaza                             11601 Wilshire
Wheaton Plaza Regional                                      Center LLP and Party City of Wheaton,                                        11006 Veirs Mill                                                 Regional Shopping     c/o Westfield,      Boulevard, 11th
Shopping Center L.L.C           Party City Corporation                  Inc. dated March 23, 2011         1100        $0.00    5/31/2023 Road             Suite L20     Wheaton        MD           20902 Center L.L.C          LLC                 Floor             Los Angeles California        90025-1738




                                                                                                                                                    Page 2 of 4
                                                                                                                    Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 243 of 248




                                                              Lease Agreement by and between                                                                                                                                      c/o Windham        7501 Wisconsin
                                                         Rockville Associates, Inc. and Party City                                       1500 Rockville                                                      1500 Rockville Pike, Management         Avenue, Suite
1500 Rockville Pike, LLC       Party City Corporation      of Rockville, Inc. dated June 16, 1999         1093        $0.00    5/31/2023 Pike                            Rockville      MD             20852 LLC                  Company            1500E             Bethesda      Maryland     20814-6522
                                                              Lease Agreement by and between
                                                         Cranberry-140 Limited Partnership and                                                                                                                                     c/o Windham       7501 Wisconsin
                                                            Factory Card Outlet of America, Ltd.                                         405 N Center St                                                     Cranberry Square,     Management        Avenue, Suite     East
Cranberry Square, LLC          Party City Corporation                 dated November 20, 1997             5306   $19,777.25    5/31/2023 Ste 30                          Westminster MD                21157 LLC                   Company           1500E             Bethesda      Maryland     20814-6522

                                                            Lease Agreement by and between                                                                                                                                                  20750 Civic
                                                        Ramco-Gershenson IRET Properties, L.P.                                                                           Rochester                        RPT REALTY, LPSGO                 Center11501
RPT REALTY, LPSGO MN WEST                                 and Party City Cororation Newpaper,                               0506/3130/20 1316 S Rochester                HillsChanhas                     MN WEST VILLAGE                   Northlake Drive            SouthfieldsCi
VILLAGE LLC               Party City Corporation               LLC dated May 27 1, 2016 2010           5511150        $0.00 23           Rd830 W 78th St                 sen          MIMN     4830755317 LLC               c/o Glenborough Suite 310                  ncinnati      MichiganOhio 4807645249

                                                        Lease Agreement by and between West
                                                          Oaks Development Company and The                                                                                                                                                           20750 Civic
                                                        1/2 Off Card Shop Equity Fund Advisors,                                           43741 W Oaks                                                    RPT REALTY               c/o Revesco       Center Drive2731
RPT REALTY LPBARRYWOODS                                    Inc.and Party City Corporation dated                $0.0012,997.7 0506/3115/20 Dr8321 NW                      NoviKansas                       LPBARRYWOODS             Property          17th Street, Suite Southfiled   MichiganColor
HOLDINGS LLC                   Party City Corporation                April 20 July 21, 1995 2016      41241107 6             23           Roanridge Rd                   City           MIMO   4837764151 HOLDINGS LLC             Services, LLC     210 300            Denver       ado           4907680211

                                                           Agreement of Lease by and between
RSS MSBAM2016-C29-MO CSCI                               Crossings at Halls Ferry, L.L.C. and Party                                       10861 Old Halls                                                     RSS MSBAM2016-        c/o Rialto Capital 200 S. Biscayne
LLC                       Party City Corporation         City Cororation dated September 1998              412        $0.00    5/31/2023 Ferry Rd                        Saint Louis    MO             63136 C29-MO CSCI LLC       Advisors, LLC      Blvd., Suite 3550 Miami        Florida           33131
                                                          Commercial Lease by and Agreement
                                                         between Olivette Associates The Plaza                                                                                                                                                       680 Craig
                                                            at Sunset Hills, L.PL.C. and Party City                                      9612 Olive                                                       OL3 BP                 c/o Bianco          Road120 S          Creve
OL3 BP Associates,Sunset Hills                           Corporation dated September January                                             Blvd10790                       OlivetteSaint                    Associates,Sunset      Properties          Central, Suite 240 CoeurSt
Owner LLC                      Party City Corporation                                     17, 1996      561564 $3,281.990.00   5/31/2023 Sunset Hills Plz                Louis         MO      6313263127 Hills Owner LLC        Sansone Group       500                Louis        Missouri     6314163105
                                                         Lease by and between Fourth Quaeter                                                                                                                                     c/o DLC
                                                                Properties IX, Inc. and Party City                                       2065 Skibo Rd                                                       SUSO 5 Fayetteville Management         565 Taxter Road,
SUSO 5 Fayetteville LP         Party City Corporation           Corporation dated April 27, 1998          1058        $0.00    5/31/2023 Unit 4                          Fayetteville   NC             28314 LP                  Corporation        Suite 400        Elmsford        New York          10523
                                                              Lease Agreement by and between                                                                                                                                                        500 North
                                                                 Kimco Ryvola, LP and Party City                                                                                                                                   c/o Kimco Realty Broadway, Suite
Kimco Tyvola, LP               Party City Corporation           Corporation dated April 19, 2018          1067   $14,827.25    5/31/2023 5407 South Blvd                 Charlotte      NC             28217 Kimco Tyvola, LP      Corporation      201              Jericho         New York          11753

                                                         Lease Agreement by and between Red                                                                                                                                        c/o RED           One East
                                                        Capital Management, LLC and Party City                                           3120 Pine Lake                                                      RED CAPITAL           Development,      Washington
RED CAPITAL MGMT, LLC          Party City Corporation     Corporation dated February 24, 2020             5189        $0.00    5/31/2023 Road               Suite N      Lincoln        NE             68516 MGMT, LLC             LLC               Street, Suite 300 Phoenix       Arizona           85004
                                                            Lease between Mid-America Realty
                                                              Investment, Inc. and Factory Card
                                                           Outlet of America, Ltd. Dated May 9,                                                         Ile De                                               ROEBUCK                                 512 North Eddy
ROEBUCK ENTERPRISES LLC        Party City Corporation                                      1995           5187    $5,268.08    5/31/2023 2235 N Webb Rd Grand S/C        Grand Island NE               68803 ENTERPRISES LLC                         Street            Grand Island Nebraska      68802-0139
                                                              Lease between Jersey City Leasing
                                                           Corporation and Tri-State Party, Inc.                                                                                                                                   c/o Urban Edge
Jersey City UE LLC             Party City Corporation                       dated May 31, 1994             406   $18,512.20    5/31/2023 733 Highway 440                 Jersey City    NJ     07304          Jersey City UE LLC   Properties        210 Route 4 East Paramus        New Jersey         7652

                                                               Lease Agreement by and between                                                                                                                                   c/o DLC
                                                          Longfish Improvements, LLC and Party                                           1500                                                                 Longfish          Management           565 Taxter Road,
Longfish Improvements, LLC     Party City Corporation   City Corporation dated January 21, 2015            695        $0.00    5/31/2023 Almonesson Rd      Suite B-3C   Woodbury       NJ     08096          Improvements, LLC Corporation          4th Floor        Elmsford       New York          10523
                                                        Lease between Metropolitan Edgewater
                                                              Associates Limited Partnership and                                                                                                                                                    500 North
                                                           Party City Corporation dated April 19,                                                                                                             Edgewater Retail     c/o Kimco Realty Broadway , Suite
Edgewater Retail Partners, LLC Party City Corporation                                       1996           748   $26,939.83    5/31/2023 509 River Rd                    Edgewater      NJ     07020          Partners, LLC        Corporation      201              Jericho         New York          11753
                                                             Lease Agreement by and between C
                                                             Keys LLC and Party City Corporation                                         611 Cross Keys     Suites C-329                                      Jemstone Cross Keys c/o The Jemstone 358 Fifth Avenue,
Jemstone Cross Keys LLC        Party City Corporation                  dated December 31, 2015             716        $0.00    5/31/2023 Road               and C-333 Sicklerville      NJ     08081          LLC                 Group            Suite 704         New York        New York          10001

                                                              Shopping Center Lease between JC
                                                        Town Center Associates, LLC Agreement                                                                                                                                c/o Hampton             125 Gagnon
                                                           by and Lisann between AP Century II,                                          420 Harry L                                                      JCTC               Properties, Inc.        Street11501       Montreal,
JCTC Holdings,Coronado                                  L.P. and Party Corp City of Santa Fe, Inc.                          0506/3130/20 Drive528 W                      Johnson                          Holdings,Coronado Phillips Edison &        Northlake Dr,     QuebecCinci                H4N
Center Station LLC             Party City Corporation   dated May 25 November 17, 2007 1993            1228940        $0.00 23           Cordova Rd                      CitySanta Fe NYNM     1379087505 Center Station LLC Company                 Suite 201 100     nnati       CanadaOhio     1T145249
                                                           Lese between DPA Realty Co. LLC and
                                                         Party City Corporation dated March 15,                                          1239 Deer Park                  North                               DPA Realty            c/o The Phoenix   941 A Clint
DPA Realty Company LLC         Party City Corporation                                       1997           565        $0.00    5/31/2023 Ave (Rte 231)                   Babylon        NY             11703 Company LLC           Organization      Moore Rd          Boca Raton    Florida           33487
                                                              Lease Agreement by and among SL
                                                            Mount Kisco LLC, Grobman Mt. Kisco                                                                                                               SL Mount Kisco LLC;
SL Mount Kisco LLC; Grobman                              LLC, and M&M Mt. Kisco, LLC and Party                                                                                                               Grobman Mt. Kisco                       720 E. Palisade
Mt. Kisco LLC; M&M Mt. Kisco,                             City Corporation dated September 18,                                                                                                               LLC; M&M Mt.        c/o Lerner          Avenue, Suite     Englewood
LLC                           Party City Corporation                                        2018           647        $0.00    5/31/2023 162 E MAIN ST                   Mount Kisco NY                10549 Kisco, LLC          Properties          203               Cliffs        New Jersey         7632

                                                        Lease between KGL Yonkers Associates,                                                                                                                                                        720 East Palisade
                                                         LLC and WRR-CP, LLC and Party City of                                           2630 Central                                                        Central Plaza         c/o Lerner        Avenue, Suite     Englewood
Central Plaza Associates LLC   Party City Corporation      Yonkers, Inc. dated January 13, 2003            718        $0.00    5/31/2023 Park Avenue                     Yonkers        NY             10710 Associates LLC        Properties        203               Cliffs        New Jersey         7632




                                                                                                                                                     Page 3 of 4
                                                                                                                     Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 244 of 248




                                                               Indenture ofLease by and between
                                                            Philips International Holding Corp., as                                                                                                                                              500 North
                                                                agent for Forest Avenue Shopping                                                                                                            Kiop Forest Ave.         c/o Kimco Realty
                                                                                                                                                                                                                                                 Broadway300
Kiop Forest Ave. L.PAtlantic                              Atlantic Center Fort Greene Associates,                                                                              Staten                       L.PAtlantic Center       Corporation Park Avenue,
Center Fort Greene Associates,                              L.P. and Party City Corporation dated                                           1549 Forest625                     IslandBrookl                 Fort Greene              Madison     Suite 201 3rd             JerichoNew
LLC                            Party City Corporation                           July 15, 1997 1995      603519         $0.00      5/31/2023 Atlantic Ave                       yn           NY   1030211217 Associates, LLC                      Floor
                                                                                                                                                                                                                                     International                         York         New York     1175310022
                                                         Lease Agreement by and between Ralph                                                                                                                                                    500 North
                                                                  Avenue 1131, LLC and Party City                                           2265 Ralph                                                      Ralph Avenue 1131, c/o Kimco Realty Broadway, Suite
Ralph Avenue 1131, LLC          Party City Corporation     Corporation dated November 14, 2014              404   $28,348.68      5/31/2023 Avenue                             Brooklyn     NY        11234 LLC                Corporation       201                       Jericho      New York             11753
                                                             Agreement ofShopping Center Lease                                                                                                                                                   500 North
                                                               between Turnwood Associates, LLC                                                                                                                                                  Broadway600
                                                         Montauk Shopping Center Associate and                                              8063 Jericho                                                    KK MARKETPLACE c/o Kimco Realty Madison Avenue,
KK MARKETPLACE 2468,MLO                                      Party City Corporation dated January                                           Tpke737 W                          WoodburyW                    2468,MLO Great     Corporation       Suite 201 14th            JerichoNew
Great South Bay LLC             Party City Corporation                          1997 July 24, 2001      555425         $0.00      5/31/2023 Montauk Hwy                        est Babylon NY    1179711704 South Bay LLC      Olshan Properties Floor                     York         New York     1175310022
                                                          Shopping Center Lease by and between                                                                    Bridgewater
                                                           Bridgewater Falls LLC and Factory Card                                                                 Falls                                                              c/o Premier
                                                            Outlet of America, Ltd. Dated July 25,                                          3431 Princeton        Shopping                                     Bridgewater Falls     Properties U.S.A., 5252 E. 82nd
Bridgewater Falls Station LLC   Party City Corporation                                        2005         5340        $0.00      5/31/2023 Rd # 105              Ctr         Hamilton      OH           45011 Station LLC           Inc                Street, Suite 300 Indianapolis Indiana               46250

                                                         Lease Agreement by and between North
                                                         Heights Associates and The One-Half Off                                            8160 Old Troy                      Huber                           PMAT North Heights c/o Stirling          109 Northpark
PMAT North Heights LLC          Party City Corporation     Card Shop, Inc. dated October 8, 1990           4139        $0.00      5/31/2023 Pike                               Heights      OH           45424 LLC                Properties            Blvd. Suite 300    Covington    Louisiana            70433
                                                               Lease Agreement by and between                                                                                                                                                           400 Techne
                                                            Encore Retail CGP, LLC and Party City                                           9608 S Mason-                                                      Select - Governor's   c/o Select         Center Dr, Suite
Select - Governor's Pointe, LLC Party City Corporation    Corporation dated September 21, 2017              552   $13,274.49      5/31/2023 Montgomery Rd.                     Mason        OH           45040 Pointe, LLC           Strategies         320                Cincinnati   Ohio                 45150

                                                               Lease Agreement by and between
                                                         Jungle Jim's Eastgate, LLC and Party City                                          4450 Eastgate                                                      Jungle Jim's                             5440 Dixie
Jungle Jim's Eastgate, LLC      Party City Corporation     Corporation dated November 30, 2012              627   $11,277.93      5/31/2023 Blvd.                 Suite 280    Cincinnati   OH           45245 Eastgate, LLC                            Highway            Fairfield    Ohio                 45014
                                                               Lease Agreement by and between
                                                            Memorial Square Leaseco., L.L.C. and                                            13830 North                                                                              c/o Inland
Memorial Square LeaseCo,                                    Party City Corporation dated June 14,                                           Pennsylvania                       Oklahoma                        Memorial Square       Commerical Real 2901 Butterfield
L.L.C.                          Party City Corporation                                       2018          1077   $15,890.70      5/31/2023 Avenue                             City         OK           73134 LeaseCo, L.L.C.       Estate          Road             Oak Brook         Illinois             60523
                                                          Shopping Center Leasing Agreement by
                                                               and between Montgomery Square                                                                                                                                                       500 North
                                                         Partnership and Montgomery P.C. dated                                              163 Witchwood                                                      Kir Montgomery     c/o Kimco Realty Broadway, Suite
Kir Montgomery 049, LLC         Party City Corporation                          February 11, 2000          1179        $0.00      5/31/2023 Dr                                 North Wales PA            19454 049, LLC           Corporation      201                     Jericho      New York             11753
                                                               Lease Agreement by and between                                                                                                                                                      500 North
                                                            Copperwood Village LP and Party City                                            6757 Highway 6                                                     Copperwood Village c/o Kimco Realty Broadway, Suite
Copperwood Village L.P          Party City Corporation     Corporation dated December 11, 2015              758        $0.00      5/31/2023 North                              Houston      TX           77084 L.P                Corporation      201                     Jericho      New York             11753
                                                               Lease Agreement by and between
                                                            Weingarten Realty Investors and Paty                                                                                                                                                  500 North
                                                              City Corporation dated October 13,                                            1001 Bay Area                                                      KRCX WRI Holdings c/o Kimco Realty Broadway Ste
KRCX WRI Holdings LLC           Party City Corporation                                       2015           761        $0.00      5/31/2023 Blvd.                 Suite A      Webster      TX           77598 LLC               Corporation      201                      Jericho      New York             11753

                                                               Lease Agreement by and between                                                                                                                                        c/o Weitzman       4200 North
                                                          Capital/Highway 35, Ltd. and Party City                                           5441 N Interstate                                                Capital/Highway 35,     Management         Lamar Boulevard,
Capital/Highway 35, Ltd.        Party City Corporation    Corporation dated November 16, 2021              1192        $0.00      5/31/2023 35, Ste 16                         Austin       TX   78723       Ltd.                    Corporation        Suite 200        Austin         Texas                78756
                                                                                                                                                                                                             SSS Eldridge
                                                                                                                                                                                                             Marketplace LLC,
                                                                                                                                                                                                             SSS Eldridge Town
                                                                                                                                                                                                             Center LLC, SSS
SSS Eldridge Marketplace LLC,                                                                                                                                                                                Eldridge Square
SSS Eldridge Town Center LLC,                               Lease Agreement by and between W-                                                                                                                Investors LLC, SKJ
SSS Eldridge Square Investors                             NQ Market Square Owner VIII, L.P. and                                                13441                                                         Eldridge Square LLC
LLC, SKJ Eldridge Square LLC                              Party City Corportion dated January 15,                                              Westheimer                                                    and Peach Eldridge      c/o Wu             3657 Briarpark
and Peach Eldridge LLC        Party City Corporation                                            2018           588        $0.00    5/31/2023   Road                            Houston      TX         77077 LLC                     Properties, Inc.   Drive Suite 188    Houston      Texas        77042-5264
                                                                Lease Agreement by and between                                                                                                                                                          4544 Post Oak
                                                                   Crenshaw Retail Partners Staley                                             4585 East Sam                                                                                            Place Drive901
                                                                   Investments, LLC and Party City                                             Houston Parkway                                              Crenshaw Retail                             Main Street,
Crenshaw Retail PartnersStaley                             Corporation dated February 27 April 8,                                              South8511 W I-                  PasadenaAm                   PartnersStaley                              Suite 375 1st      HoustonDall
Investments, LLC               Party City Corporation                                     2015 2022       4101113R        $0.00    5/31/2023   40                              arillo     TX     7750579121 Investments, LLC                            Floor              as          Texas         7702775202
                                                          Shopping Center Lease by and between
                                                            Saul Holdings Limited Partnership and                                                                                                                                   c/o Windham         7501 Wisconsin
                                                          Party City of Fairfax, Inc. dated October                                            10700 Fairfax                                                                        Management          Avenue, Suite
Shops at Fairfax LLC            Party City Corporation                                      22, 1998          1169    $8,490.77    5/31/2023   Blvd                            Fairfax      VA           22030 Shops at Fairfax LLC Company             1500 E             Bethesda     Maryland     20814-6522
                                                         Shopping Center Lease between
                                                         Terranomics Crossroads Associates and                                                                                                                  Terranomics
Terranomics Crossroads                                   Paper Warehouse, Inc. dated March 27,                                                                                                                  Crossroads                             10500 N.E. 8th
Associates                      Party City Corporation   1998                                        463           $21,829.21   05/31/2023     15600 NE 8th St Suite F-17      Bellevue     WA   98008          Associates           c/o Sher Partners Street, Suite 850 Bellevue       Washington   98004
                                                         Lease between West Allis Shopping
                                                         Center Associates and Factory Card                                                                                                                                                             20750 Civic
                                                         Outlet of America, Ltd. dated June 9,                                                 6718 W             West Allis                                                                            Center Drive,
RPT REALTY, LP                  Party City Corporation   1993                                        5141                 $0.00 05/31/2023     Greenfield Ave     Town Ctr     West Allis   WI   53214          RPT REALTY, LP                          Suite 310          Southfield   Michigan     48076
                                                         Lease between K.K.H. Limited Liability
K.K.H. Limited Liability                                 Company and Am-Source, LLC dated                                                      261 Narragansett                East                             K.K.H. Limited                                             East
Company                         Am-Source, LLC           April 27, 2011                              W037                 $0.00 05/31/2023     Park Dr.                        Providence   RI   02916          Liability Company                       PO Box 16322       Providence   RI           02916




                                                                                                                                                         Page 4 of 4
                                                                                                                Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 245 of 248




PARTY CITY HOLDCO INC., et al
Schedule B-2(iv)
As of April 28 May 12,
2023

                                                                                                                                                          Property Address                                                                         Landlord Address
                                                                                                Store Number /                                       Street
      Counterparty           Debtor Counterparty           Description of Agreement                            Cure Amount     Street Address 1                    City              State   Zip          Landlord          Parent Company         Street Address           City           State       Zip
                                                                                                  Property ID                                       Address 2

                                                    Shopping Center Lease by and between
                                                    RMC Investments, L.L.C. and Party City of                                  1615                                                                                        c/o RMC              708 East Colonial
Select Strategies          Party City Corporation   Hoover, L.L.C. dated December 4, 1996                1037          $0.00   Montgomery Hwy Suite 102           Hoover        AL            35216 Select Strategies      Investments, LLC     Drive, Suite 203       Orlando        Florida            32803
                                                    Lease Agreement by and between DDRA
                                                    Ahwatukee Foothills LLC and Party City of
DDRA Ahwatukee                                      Phoenix-Ahwatukee, Inc. dated July 29,                                                                                                          DDRA Ahwatukee                              3300 Enterprise
Foothills LLC              Party City Corporation   2013                                                  952     $13,945.30   4715 E. Ray Road                   Phoenix       AZ            85044 Foothills LLC          c/o DDR Corp.        Parkway                Beachwood      Ohio               44122
                                                    Lease Agreement by and between La                                                                                                                                      c/o Ashcraft
                                                    Entrada Associates and Party City                                          1109 W. Valley                                                       LA Entrada             Investment           4401 Manchester
LA Entrada Associates      Party City Corporation   Corporation dated April 11, 2016                      445          $0.00   Parkway                            Escondido     CA            92025 Associates             Company              Ave, Ste 206           Encinitas      California         92024
                                                                                                                                                                                                    NTO RLR, LLC; NTO
NTO RLR, LLC; NTO KPS,                              Lease Agreement by and between                                                                                                                  KPS, LLC and
LLC and Investec Capital                            Newbury Thousand Oaks, LLC and Party                                                                          Thousand                          Investec Capital  c/o Investec Real         200 E. Carrillo Street, Santa
Corporation                Party City Corporation   City Corporation dated March 1, 2002                  446          $0.00   2715 Teller Rd                     Oaks          CA            91320 Corporation       Estate Company            Suite 200               Barbara       California         93101
                                                    Lease Agreement by and between
Courtyard E Associates,                             Fairfield Gateway, L.P. and Party City                                     1574 Gateway                                                         Courtyard E            c/o Crosspoint        600 South Lake
LLC                        Party City Corporation   Corporation dated October 9, 2007                     498          $0.00   Blvd                               Fairfield     CA            94533 Associates, LLC        Realty Services, Inc. Avenue, Ste. 502      Pasadena       California         91106
                                                    Standard Shopping Center Lease by and
                                                    between M&H Realty Partners L.P. and
                                                    Party City Corporation dated March 1,                                      1441 W. Imperial                                                     La Habra                                    7777 Edinger Avenue, Huntington
La Habra Associates, LLC   Party City Corporation   1996                                                  520          $0.00   Hwy                                La Habra      CA            90631 Associates, LLC                             Suite 133            Beach            California         92647
                                                    Lease Agreement by and between
                                                    California Property Owner I, LLC and
Investec Real Estate                                Party City Corporation dated October 19,                                   211 W Esplanade                                                      Investec Real Estate                        200 E. Carrillo Street, Santa
Company                    Party City Corporation   2015                                                 1516          $0.00   Dr                                 Oxnard        CA            93036 Company                                     Suite 200               Barbara       California         93101

                                                    Lease Agreement by and between                                                                                                                                         c/o Combined         7315 Wisconsin
Reseda Shopping Center II                           Reseda Shopping Center II LLC and Party                                    19389 Victory                                                        Reseda Shopping        Properties,          Avenue Suite 1000
LLC                       Party City Corporation    City Corporation dated May 4, 2011                    752     $16,725.23   Blvd                               Reseda        CA            91335 Center II LLC          Incorporated         West                   Bethesda       Maryland           20814
                                                    Lease Agreement by and between
                                                    MM/PG (Bayfair) Properties, LLC and                                                                                                                                    c/o Madison
MM/PG (Bayfair)                                     Party City Corporation dated December                                      15555 E 14th                                                         MM/PG (Bayfair)        Marquette Retail     1000 Maine Avenue,                    District of
Properties, LLC            Party City Corporation   4, 2018                                               635     $16,725.05   Street              Suite 2008     San Leandro CA              94578 Properties, LLC        Services Inc.        SW, Suite 300      Washington         Columbia           20024

                                                    Shopping Center Lease by Cypress Creek                                                                                                                             c/o Sunbelt
                                                    Co., L.P. d/b/a PTC and Party City                                                                                                              Cypress Creek Co., Management               220 Congress Park
Cypress Creek Co., L.P.    Party City Corporation   Corporation dated August 24, 1994                     507     $11,053.61   624 Palomar St                     Chula Vista   CA            91911 L.P.               Company                  Drive, Suite 215       Delray Beach Florida              33445
                                                    Retail Lease by and between BPP/Hilltop,
                                                    L.P. and Party City Corporation dated                                                                                                           DDRM Hilltop Plaza                          3300 Enterprise
DDRM Hilltop Plaza L.P. Party City Corporation      December 23, 1997                                     626          $0.00   3500A Klose Way                    Richmond      CA            94806 L.P.               c/o Site Centers         Parkway                Beachwood      Ohio               44122
COMM 2014-UBS2                                      Agreement of Lease by and between                                                                                                               COMM 2014-UBS2
Canyon Springs Parkway,                             Canyon Crossings I LLC and PCMV, Inc.                                      2550 Canyon                                                          Canyon Springs     o ProEquity Asset        4980 Hillsdale Cir.,   El Dorado
LLC                     Party City Corporation      dated July 15, 2008                                   750          $0.00   Springs Pkwy        Suite H        Riverside     CA            92507 Parkway, LLC       Management               Suite A                Hills          California         75205
                                                    Lease Agreement by and between DDR
                                                    MCH West LLC and Party City                                                7690 N. Academy                    Colorado                                                                      3300 Enterprise
DDR MCH West LLC           Party City Corporation   Corporation dated April 24, 2018                      642          $0.00   Blvd.           Suite 115          Springs       CO            80920 DDR MCH West LLC c/o Site Centers           Parkway                Beachwood      Ohio               44122
                                                    Lease between Crossroads Associates
Northwoods Limited                                  Limited and The Big Party Corporation                                                                         St.                               Northwoods          c/o The Sembler                             St.
Partnership                Party City Corporation   dated January 18, 1997                               6025          $0.00   1960 Tyrone Blvd.                  Petersburg    FL            33710 Limited Partnership Company                 5858 Central Avenue Petersburg        Florida            33707

                                                    Lease by and between Coconut Point                                                                                                                                     c/o M.S.
Coconut Point                                       Developers, LLC and Party City of Bonita                                   8070                                                                 Coconut Point          Management           225 West
Developers, LLC            Party City Corporation   Springs, Inc. dated March 15, 2005                    348     $23,079.71   Mediterranean Dr                   Estero        FL            33928 Developers, LLC        Associates Inc.      Washington Street      Indianapolis   Indiana       46204-3438
                                                    Lease Agreement by and between
                                                    Millenia Crossing, LLC and Party City
BRE DDR IVA Millenia FL                             Franchise Group, LLC dated April 30,                                       4024 Eastgate                                                        BRE DDR IVA            c/o SITE Centers     3300 Enterprise
LLC                        Party City Corporation   2009                                                  424          $0.00   Drive               Suite 104      Orlando       FL            32839 Millenia FL LLC        Corp.                Parkway                Beachwood      Ohio               44122
                                                    Shopping Center Lease Agreement by
                                                    and between 99, Eglin Ltd. And Party City
                                                    of Fort Walton Beach, Florida LLC dated                                                                       Ft Walton                                                c/o Slate Asset      121 King Street West,
Suso 2 Uptown LP           Party City Corporation   April 25, 2001                                       1051          $0.00   99 Elgin Pkwy       Unit 4         Beach         FL            32548 Suso 2 Uptown LP       Management L.P.      Suite 200             Toronto         ON            M5H 3T9




                                                                                                                                                    Page 1 of 4
                                                                                                           Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 246 of 248




                                                   Lease Agreement by and between Epps                                                                                                         EPPS Bridge Centre
EPPS Bridge Centre                                 Bridge Centre, LLC and Party City                                      1791 Oconee                                                          Property Company                            6445 Powers Ferry
Property Company LLC      Party City Corporation   Corporation dated February 20, 2015              275           $0.00   Connector          Suite 340      Athens        GA             30606 LLC                                         Road, Suite 120        Atlanta       Georgia          30339
                                                   Lease Agreement by and between U.S. 41
                                                   & I 285 Company and Party City
                                                   Franchise Group, LLC dated March 14,                                   2955 Cobb Pkwy                                                       U.S. 41 & I 285        c/o Olshan           600 Madison Avenue,
U.S. 41 & I 285 Company Party City Corporation     2008                                             220           $0.00   SE             Suite 330          Atlanta       GA             30339 Company                Properties           14th Floor          New York         New York         10022

                                                   Agreement of Lease by and between
                                                   Homart Development Co. and Party City                                                                                                                                                   3300 Enterprise
DDR Prado, LLC            Party City Corporation   of Atlanta, Inc. dated September 6, 1995         159           $0.00   50 Barrett Pkwy    200A           Marietta      GA             30066 DDR Prado, LLC         c/o Site Centers     Parkway                Beachwood     Ohio             44122
                                                   Lease Agreement by and between
                                                   Northbrook Sub, LLC, Northbrook VNBP,                                                                                                       Village Square of
Village Square of                                  LLC and Northbrook PLIC, LLC and Party                                                                                                      Northbrook             c/o Mid-America
Northbrook Principal RE                            City Corporation dated September 30,                                                                                                        Principal RE           Asset Management, One Parkview Plaza,       Oakbrook
Investors, LLC            Party City Corporation   2014                                             168           $0.00   307 Skokie Blvd                   Northbrook    IL             60062 Investors, LLC         Inc.              9th Floor                 Terrace       Illinois         60181
                                                   Lease Agreement by and between Otter
                                                   Creek Shopping Center, LLC and Party                                                                                                        Otter Creek
Otter Creek Shopping                               City Corporation dated November 26,                                                                                                         Shopping Center        c/o Prodigy Real     700 Commerce Drive,
Center LLC                Party City Corporation   2015                                             932           $0.00   214 S Randall Rd                  Elgin         IL             60123 LLC                    Estate LLC           Suite 500           Oak Brook        Illinois         60523

                                                   Lease by and between Commerce Bank
                                                   f/k/a The Peoples Bank, as Trustee under
                                                   McLean County Land Trst No. PB-80, an
                                                   Illinois Land Trust and Park City                                      401 N Veterans
Tentac Enterprises        Party City Corporation   Corporation dated June 30, 1997                  601           $0.00   Pkwy               Unit 1         Bloomington IL               61704 Tentac Enterprises                          1 Brickyard Dr         Bloomington Illinois           61701

                                                   Lease Agreement by and between                                                                                                                                     c/o American Asset
Market Place Valparaiso,                           Marketplace Valparaiso, L.L.C. and Party                               2410 Laporte                                                           Market Place         Management         4711 W. Golf Road,
L.L.C.                   Party City Corporation    City Corporation dated July 21, 2022            822R           $0.00   Ave, Suite 150                    Valparaiso    IN     46383           Valparaiso, L.L.C.   Service Corp.      Suite 1000               Skokie        Illinois         60076
                                                   Indenture of Lease by and between Opus
DDRM Highland Grove                                North Corporation and Factory Card                                     10229             Highland                                           DDRM Highland                               3300 Enterprise
LLC                       Party City Corporation   Outlet Ltd., dated June 29, 1995                5199           $0.00   Indianapolis Blvd Grove           Highland      IN             46322 Grove LLC              c/o Site Centers     Parkway                Beachwood     Ohio             44122
                                                   Shopping Center Lease between
                                                   Kentuckiana Development, LLC and                                                                                                            Compass Capital
Compass Capital Retail                             Factory Card Outlet of America, LTD.,                                  10230 Westport                                                       Retail Partners II,
Partners II, LLC          Party City Corporation   dated July 30, 2007                             5346           $0.00   Rd                                Louisville    KY             40241 LLC                                         131 Kentucky Avenue Lexington        Kentucky         40502
                                                   Lease by and between Tara Realty Trust
                                                   and iParty Corp., dated December 19,                                   1660 Soldiers                                                                               c/o The Haughey      1660 Soldiers Field                  Massachusett
Tara1660, LLC             Party City Corporation   2001                                            6038      $17,178.23   Field Rd.                         Brighton      MA     02135           Tara1660, LLC        Company              Road                   Brighton      s                 2135

                                                   Lease Agreement by and between Bristol
                                                   Place Limited Partnership and Party City                               1140 Newport                                                                                                     800 Boylston St, Suite               Massachusett
Wilder Companies          Party City Corporation   Corporation dated April 4, 2016                 6015           $0.00   Ave.                              Attleboro     MA     02703           Wilder Companies                          1300                   Boston        s                 2199
                                                   Shopping Center Lease Agreement by
                                                   and between E & A Northeast Limited                                                                                                                               c/o Edens & Avant
E&A Northeast Limited                              Partnership and iParty Retail Stores Corp.                                                                                                    E&A Northeast       Investments         1221 Main Street,
Partnership               Party City Corporation   dated May 5, 2010                               6069           $0.00   8 Allstate Rd Unit Unit 85        Dorchester    MA     02125           Limited Partnership Limited Partnership Suite 1000               Columbia      South Carolina   29201

                                                   Lease by and between State of Maryland
                                                   for the Use of the Board of Trustees of
                                                   the State Retirement and Pension System
                                                   and Factory Card Outlet of America, Ltd.,                                                 Festival @                                        SVF Riva Annapolis, c/o American            801 North Brand
SVF Riva Annapolis, LLC   Party City Corporation   dated August 28, 1996                           5520           $0.00   2325H Forest Dr    Riva           Annapolis     MD             21401 LLC                 Realty Advisors         Blvd., Suite 800       Glendale      California       91203
                                                   Lease Agreement by and between
                                                   Roseville Fairview New Saugus, LLC and                                 2487 Fairview
                                                   Newpaper, LLC d/b/a Party America City                                 Ave N1160                                                         Roseville                                     615 First270
Roseville FairviewNew                              Corporation dated February 12 October                                  Broadway Space                    RosevilleSaug                   FairviewNew               c/o GSR Real Estate Belleview Avenue NE, MinneapolisN MinnesotaRho
Saugus, LLC               Party City Corporation   30, 2004 2017                                11486002          $0.00   #1160C                            us            MNMA   5511301906 Saugus, LLC               Services            PMB 183              ewport       de Island    554132840
                                                   Retail Store Lease Agreement between Kil-
                                                   Ben Excelsior, LLC and Newpaper, LLC                                   5825 Excelsior                                                       Kil-Ben Excelsoir,
Kil-Ben Excelsoir, LLC    Party City Corporation   dated September 30, 2015                        1135           $0.00   Boulevard                         St. Louis Park MN            55416 LLC                                         80 E. Arlington Ave.   St. Paul      Minnesota        55117
                                                   Lease Agreement by and between Ritter
                                                   Plaza, LLC and Party City Corporation                                  940 NE Sam                                                           Benevento                                   14139 Pepperwood
Benevento Properties, LLC Party City Corporation   dated May 23, 2014                              1115           $0.00   Walton Lane                       Lees Summit MO               64086 Properties, LLC                             Drive                  Penn Valley   California       95946
                                                   Lease Agreement by and between Equity                                                                                                                              c/o Revesco
BARRYWOODS HOLDINGS                                Fund Advisors, Inc.and Party City                                      8321 NW                                                              BARRYWOODS             Property Services,   2731 17th Street,
LLC                 Party City Corporation         Corporation dated July 21, 2016                 1107      $12,997.76   Roanridge Rd                      Kansas City   MO             64151 HOLDINGS LLC           LLC                  Suite 300              Denver        Colorado         80211
                                                   Lease Agreement between The Plaza at
                                                   Sunset Hills, L.L.C. and Party City                                    10790 Sunset                                                         Sunset Hills Owner                   120 S Central, Suite
Sunset Hills Owner LLC    Party City Corporation   Corporation dated January 17, 1996               564           $0.00   Hills Plz                         Saint Louis   MO             63127 LLC                c/o Sansone Group 500                           St Louis      Missouri         63105




                                                                                                                                              Page 2 of 4
                                                                                                       Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 247 of 248




                                                   Lease Agreement between Northlake
                                                   Commons, L.L.C. and P.M. Parties, Inc.                             9320 Center Lake                                                     ARC NCCHRNC001,                           One Oakbrook
ARC NCCHRNC001, LLC       Party City Corporation   dated June 1, 2012                           1070     $13,320.33   Drive            Suite 200          Charlotte     NC           28216 LLC             c/o NAI Hiffman           Terrace, Suite 400    Oakbrook       Illinois            60181
                                                   Lease Agreement by and between VEREIT
                                                   Mt Raleigh (Sumner) NC, LLC and Party
                                                   City Corporation dated November 30,                                3604 Sumner                                                        ARG TTRALNC001, c/o AR Global               650 5th Avenue, 30th
ARG TTRALNC001, LLC       Party City Corporation   2020                                         1027          $0.00   Boulevard                           Raleigh       NC         27616 LLC             Investments, LLC            Floor                New York        New York            10019
                                                   Lease by and between Rockaway Center                                                                                                                  c/o M.S.
Rockaway Center                                    Associates and Party City Corporation                              357 Mount Hope                                                     Rockaway Center Management                  225 West
Associates                Party City Corporation   dated June 6, 2019                            734     $32,708.34   Avenue                              Rockaway      NJ   07866       Associates      Associates Inc.             Washington Street     Indianapolis   Indiana        46204-3438
                                                   Agreement of Lease between 724 R202
724 R 202 Associates,                              Associates, L.L.C. and Mel's Party City                                                                                                  724 R 202            c/o Steiner Equities 75 Eisenhower
L.L.C.                    Party City Corporation   dated April 23, 2001                          747          $0.00   730 Rte 202                         Bridgewater NJ     08807          Associates, L.L.C.   Group, L.L.C.        Parkway, Suite 150   Roseland       New Jersey     07068-1696

                                                   Lease between JDN Real Estate -
JDN Real Estate- Hamlton,                          Hamilton, L.P. and Party City of Hamilton                          180 Marketplace                                                       JDN Real Estate-     c/o SITE Centers    3300 Enterprise
L.P.                      Party City Corporation   Square, Inc. dated January 28, 2003           713     $11,425.30   Blvd                                Hamilton      NJ   08691          Hamlton, L.P.        Corp.               Parkway               Beachwood      Ohio                44122
                                                   Lease Agreement by and between
                                                   Crossroads II, LLC and Party City                                                                                                                                                 411 Theodore Fremd
Crossroads II, LLC        Party City Corporation   Corporation dated August 17, 2012             836          $0.00   431 Tarrytown Rd                    White Plains NY            10607 Crossroads II, LLC    c/o Acadia Realty   Ave, Suite 300     Rye               New York            10580
                                                   Indenture of Lease by and between
                                                   Atlantic Center Fort Greene Associates,                                                                                                 Atlantic Center Fort
Atlantic Center Fort                               L.P. and Party City Corporation dated July                                                                                              Greene Associates, c/o Madison            300 Park Avenue, 3rd
Greene Associates, LLC    Party City Corporation   1995                                          519          $0.00   625 Atlantic Ave                    Brooklyn      NY           11217 LLC                  International        Floor                New York        New York            10022
                                                   Shopping Center Lease between
                                                   Montauk Shopping Center Associate and
                                                   Party City Corporation dated July 24,                              737 W Montauk                       West                             MLO Great South       c/o Olshan          600 Madison Avenue,
MLO Great South Bay LLC Party City Corporation     2001                                          425          $0.00   Hwy                                 Babylon       NY           11704 Bay LLC               Properties          14th Floor          New York         New York            10022

                                                   Shopping Center Lease by and between
                                                   Voice Road Limited Partnership and Party                                                                                                                                          228 Park Avenue S.,
260 Voice Road LLC        Party City Corporation   City Corporation dated July 29, 1996          562          $0.00   192 Glen Cove Rd Suite 290          Carle Place   NY           11514 260 Voice Road LLC                        Suite #81420          New York       New York            10003
                                                   Agreement of Lease between Samson
                                                   Associates and Party City Corporation                                                                                                                                             80 Fifth
The New School            Party City Corporation   dated June 1998                               681          $0.00   38 W 14th St                        New York      NY           10011 The New School                            Avenue,Room 409       New York       New York            10011
                                                   Lease Agreement by and between Easton
                                                   Market Limited Liability Company and                                                                                                    Easton Market
Easton Market Limited                              Factory Card Outlet of America, Ltd.                               3707 Easton                                                          Limited Liability     c/o SITE Centers    3300 Enterprise
Liability Company         Party City Corporation   Dated February 24, 1997                      5279          $0.00   Market               Easton Mkt Columbus          OH           43219 Company               Corp.               Parkway               Beachwood      Ohio                44122
                                                   Lease Agreement by and between ERP                                                                                                                            c/o Gulf Coast
                                                   Mingo Marketplace, LLC and Party City                              10111 East 71st                                                                            Commerical Group,   788 W Sam Houston
Fairlawn 35, L.P.         Party City Corporation   Corporation dated July 27, 2011              1161     $17,399.28   Street               Suite 1A       Tulsa         OK           74133 Fairlawn 35, L.P.     Inc.                Pkwy. N., Suite 206 Houston          Texas               77024
                                                   Lease Agreement by and between CD
                                                   2007-CD5 Ed Noble Parkway, LLC and
                                                   Party City Corporation dated January 30,                           552 ED Noble                                                                                                   2221 W. Lindsey
UNIVERSITY SP LLC         Party City Corporation   2019                                         1075          $0.00   Parkway                             Norman        OK           73072 UNIVERSITY SP LLC                         Street, Suite 201     Norman         Oklahoma            73069
                                                   Lease by and between Pocono Retail                                                                                                                            c/o Riverview
Pocono Retail Associates,                          Associates, L.L.C. and East Stroudsburg                            101 Pocono           Pocono                                          Pocono Retail         Management          3200 West Market
L.LC.                     Party City Corporation   P.C., Inc. dated August 4, 2000               496          $0.00   Commons Dr           Commons        Stroudsburg PA             18360 Associates, L.LC.     Company             Street, Ste 200       Fairlawn       Ohio                44333
                                                   Lease Agreement by and between Kmart                                                                                                                          c/o Abrams Realty
                                                   Corporation and Party City of Allentown,                           2536 Macarthur                                                       ARD MacARTHUR,        & Development,
ARD MacARTHUR, LLC        Party City Corporation   Inc. dated May 12, 1995                       728          $0.00   Rd                                  Whitehall     PA           18052 LLC                   LLC                 310 Yorktown Plaza    Elkins Park    Pennsylvania        19027
                                                   Lease by and between Whiteland                                                                                                          ARD West              c/o Abrams Realty
ARD West Whiteland LLC                             Associates, Ltd. And Party City                                    201 W Lincoln                                                        Whiteland LLC &       & Development,
& WTC LLC              Party City Corporation      Corporation dated July 20, 1998              1177          $0.00   Hwy                  Space 400      Exton         PA           19341 WTC LLC               LLC                 310 Yorktown Plaza    Elkins Park    Pennsylvania        19027
                                                   Agreement of Lease by and between RJH
                                                   Investments, LLC and PC of Harrisburg,                                                                 Mechanicsbu
GVS Partners              Party City Corporation   LLC dated April 11, 2011                     1175      $8,203.67   6499 Carlisle Pike                  rg          PA             17050 GVS Partners                              3434 Trindle Road     Camp Hill      Pennsylvania        17011
                                                   Lease between Service-Hendon Cool
BRE DDR Cool Springs                               Springs Associates, L.L.C. and Party City                                                                                               BRE DDR Cool                              3300 Enterprise
Pointe, LLC               Party City Corporation   of Nashville, Inc. dated April 27, 1999      1195          $0.00   1630 Galleria Blvd                  Brentwood     TN           37027 Springs Pointe, LLC c/o Site Centers      Parkway               Beechwood      Ohio                44122
                                                   Lease Agreement by and between                                                                                                          ABJ Group
ABJ Group Advancement                              Vineyard Village MSV, LLC and Party City                           2800 State                                                           Advancement TX      c/o Weitzman          1 E Washington
TX LLC                Party City Corporation       Corporation dated March 19, 2007              488          $0.00   Highway 121                         Euless        TX           76039 LLC                 Group                 Street, Suite 300     Phoenix        Arizona             85004
                                                   Lease Agreement by and between BK
                                                   2920, Ltd. and Party City Corporation                              28591 Tomball                                                                                                  3700 Buffalo
BK 2920, LTD.             Party City Corporation   dated March 11, 2013                          857          $0.00   Parkway                             Tomball       TX           77375 BK 2920, LTD.         c/o Baker Katz, LLC Speedway, Suite 1020 Houston         Texas               77098




                                                                                                                                            Page 3 of 4
                                                                                                            Case 23-90005 Document 1117-2 Filed in TXSB on 05/12/23 Page 248 of 248




                                                       Amended and Restated Lease Agreement
                                                       by and between Parker Central Plaza, Ltd.
                                                       and Party City Corporation effective                                3308 North                                                 Parker Central          c/o Dalsan
Parker Central Plaza Ltd   Party City Corporation      September 1, 2017                              219          $0.00   Central Expwy      Suite A        Plano         TX   75074 Plaza Ltd               Properties           2001 Preston Road       Plano        Texas              75093
                                                       Lease Agreement by and between The
                                                       Prudential Insurance Company of
B.H. 1713 Preston Road                                 America and Party City Corporation                                                                                               B.H. 1713 Preston     c/o The Retail       2525 McKinnon
LLC                        Party City Corporation      dated December 6, 2001                          61          $0.00   1701 Preston Rd                   Plano         TX   75093   Road LLC              Connection           Street, Suite 700       Dallas       Texas              75201
                                                                                                                                                                                        SSS Eldridge
                                                                                                                                                                                        Marketplace LLC,
                                                                                                                                                                                        SSS Eldridge Town
SSS Eldridge Marketplace                                                                                                                                                                Center LLC, SSS
LLC, SSS Eldridge Town                                                                                                                                                                  Eldridge Square
Center LLC, SSS Eldridge                                                                                                                                                                Investors LLC, SKJ
Square Investors LLC, SKJ                              Lease Agreement by and between W-NQ                                                                                              Eldridge Square LLC
Eldridge Square LLC and                                Market Square Owner VIII, L.P. and Party                            13441                                                        and Peach Eldridge    c/o Wu Properties, 3657 Briarpark Drive
Peach Eldridge LLC        Party City Corporation       City Corportion dated January 15, 2018         588          $0.00   Westheimer Road                   Houston       TX   77077   LLC                   Inc.               Suite 188            Houston           Texas         77042-5264
                                                       Lease Agreement by and between SLF IV -                                                                                          RAINIER
RAINIER WHEATLAND                                      Wheatland, L.P. and Party City                                      39759 LBJ                                                    WHEATLAND                                  13760 NOEL ROAD,
ACQUISITION LLC            Party City Corporation      Corporation dated September 30, 2011           189          $0.00   Freeway            Suite 410      Dallas        TX   75237   ACQUISITION LLC                            Suite 800               Dallas       Texas              75240
                                                       Lease between Staple Joint Venture                                                                                               RAINIER MOORE
RAINIER MOORE PLAZA                                    Limited and Party City Corporation dated                                                              Corpus                     PLAZA                                      13760 Noel Road,
ACQUISITIONS LLC           Party City Corporation      February 4, 1998                               641          $0.00   5425 S Spid Dr                    Christi       TX   78411   ACQUISITIONS LLC                           Suite 1020              Dallas       Texas              75240
                                                       Lese by and between Simon Property
                                                       Group (Texas), L.P. and Party City                                  4801 S. Broadway                                           Roosth Farm
Roosth Farm Rental, LLC    Party City Corporation      Corporation dated August 20, 2019             1111          $0.00   Ave              Suite 103        Tyler         TX   75703 Rental, LLC                                  PO Box 8300             Tyler        Texas         75711-8300
                                                       Lease Agreement by and between Staley
                                                       Investments, LLC and Party City                                                                                                Staley Investments,                          901 Main Street, 1st
Staley Investments, LLC    Party City Corporation      Corporation dated April 8, 2022              1113R          $0.00   8511 W I-40                       Amarillo      TX   79121 LLC                                          Floor                   Dallas       Texas              75202
                                                       Lease Agreement by and between                                                                                                 JCR Rutherford                               1010 Wisconsin
JCR Rutherford Crossing                                Rutherford Farm, LLC and Party City                                 143 Market         Rutherford                              Crossing Investors,                          Avenue, NW, Suite                    District of
Investors, LLC             Party City Corporation      Corporation dated August 12, 2010              706          $0.00   Street             Crossings  Winchester        VA   22603 LLC                                          600                     Washington   Columbia           20007
                                                       Lease Agreement by and between Inland
                                                       American Retail Management LLC and                                                                                                                c/o American
                                                       Party City Corporation dated September                              4107 Portsmouth                                                               Commercial Realty 300 Avenue of the   PALM BEACH
Ches Cross SC, LLC         Party City Corporation      20, 2012                                       843      $8,083.13   Blvd.           Suite 116         Chesapeake    VA   23321 Ches Cross SC, LLC Corp              Champions, Ste. 140 GARDENS    Florida                          33418
                                                       Lease Agreement by and between DDR
DDR Southeast Loisdale,                                Southeast Loisdale, L.L.C. and Party City                           6640 Loisdale                                              DDR Southeast                                3300 Enterprise
L.L.C.                     Party City Corporation      Corporation dated January 8, 2018              688          $0.00   Road                              Springfield   VA   22150 Loisdale, L.L.C.        c/o Site Centers     Parkway                 Beachwood    Ohio               44122
                                                       Lease Agreement by and between Capital
                                                       Mall Land, LLC and Party City Corporation                                                                                      CAPITAL MALL            c/o Pacific Retail   100 N. Pacific Coast
CAPITAL MALL LAND LLC      Party City Corporation      dated August 14, 2012                          450     $11,708.77   2315 4th Ave W.                   Olympia       WA   98502 LAND LLC                Capital Partners     Highway, Suite 1925     El Segundo   California         90245
                                                       Lease Agreement by and between
                                                       Steadfast Everett Mall LLC and Party City                           1402 SE Everett                                            Steadfast Everett       c/o Westcore         4350 La Jolla Village
Steadfast Everett Mall LLC Party City Corporation      Corporation dated July 24, 2012                853          $0.00   Mall Way                          Everett       WA   98208 Mall LLC                Properties           Dr, Suite 900           San Diego    California         92122
                                                       Lease Agreement by and between
                                                       Meridian Sunrise Village, L.L.C. and Party                                                                                                             c/o Tarragon
Sunrise Village Phase I,                               City Corporation dated November 4,                                  10408 156th St.                                            Sunrise Village         Property Services    10507 156th St E,
L.L.C.                     Party City Corporation      2009                                           466      $4,998.00   East               Suite 101      Puyallup      WA   98374 Phase I, L.L.C.         L.L.C.               Suite 101               South Hill   Washington         98374

                                                       Lease Agreement by and between
Shoppes at the Corridor,                               Shoppes at the Corridor, LLC and Party                              285 Discovery                                              Shoppes at the          c/o Irgens Partners, 1401 Discovery
LLC                        Party City Corporation      City Corporation dated February 4, 2019       5140          $0.00   Drive                             Brookfield    WI   53045 Corridor, LLC           LLC                  Parkway, Suite 100      Milwaukee    Wisconsin          53226
                                                       Office Lease between CIP 18 SW                                      2200                                                       CIP 18 SW
CIP 18 SW Orangewood                                   Orangewood Owner LLC and Tristar, Inc.                              Orangewood                                                 Orangewood              c/o Stillwater       130 Newport Center Newport
Owner LLC                  Trisar, Inc., d/b/a AmPro   dated January 30, 2019                       W004           $0.00   Avenue                            Orange        CA   92868 Owner LLC               Investment Group     Drive, Suite 230   Beach             CA                 92660
                                                       Master Lease Agreement by and
                                                       between Spirit Realty, L.P. and Party City                                                                                                             c/o Spirit SPE       2727 N Harwood
Spirit Realty, L. P.       Party City Holdings Inc.    Holdings LLC dated June 28, 2019             W003           $0.00   2800 Purple Sage                  Los Lunas     NM   87031 Spirit Realty, L. P.    Manager, LLC         Street, Ste. 300        Dallas       TX                 75201
                                                       Sublease Agreement by and between
                                                       Party City Holdings LLC and Cupertino                                                                                                                  c/o Spirit SPE       2727 N Harwood
Cupertino Electric, Inc.   Party City Holdings Inc.    Electric, Inc. dated May 1, 2022             W009S          $0.00   2800 Purple Sage                  Los Lunas     NM   87031 Spirit Realty, L. P.    Manager, LLC         Street, Ste. 300        Dallas       TX                 75201




                                                                                                                                               Page 4 of 4
